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                  EXHIBIT 2
                  EXHIBIT 2
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 2 of 654




                    IN THE UNITED
                    IN THE        STATES DISTRICT
                           UNITED STATES DISTRICT COURT
                                                  COURT
                 FOR
                 FOR THE WESTERN DISTRICT
                     THE WESTERN  DISTRICT OF
                                           OF PENNSYLVANIA
                                              PENNSYLVANIA

                                             :
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED CPAP,                ::   Master Docket:
                                                  Master Docket: No.
                                                                 No. 21-mc-1230-JFC
                                                                     21-mc-1230-JFC
BI-LEVEL  PAP, AND
BI-LEVEL PAP,  AND MECHANICAL
                   MECHANICAL                ::
VENTILATOR PRODUCTS
VENTILATOR   PRODUCTS                        ::   MDL No.
                                                  MDL No. 3014
                                                          3014
LITIGATION
LITIGATION                                   :
                                             :
This Document Relates
This Document Relates to:
                      to:                    :
                                             :
Consolidated Second
Consolidated          Amended Class
              Second Amended    Class        :
Action Complaint
Action Complaint for
                   for Medical
                       Medical Monitoring
                               Monitoring    :
and Demand
and Demand for
             for Jury Trial (ECF
                 Jury Trial (ECF No.
                                 No. 815)
                                      815)   :
                                             :



         PHILIPS RS
         PHILIPS RS NORTH
                    NORTH AMERICA
                          AMERICA LLC'S
                                   LLC’S REPLY
                                         REPLY IN
                                                IN SUPPORT
                                                   SUPPORT OF
                                                           OF
     ITS OBJECTIONS
     ITS OBJECTIONS TO  SPECIAL DISCOVERY
                     TO SPECIAL DISCOVERY MASTER’S    REPORT AND
                                           MASTER'S REPORT   AND
  RECOMMENDATION AND
  RECOMMENDATION     AND PROPOSED  ORDER RE:
                         PROPOSED ORDER   RE: DISCOVERY
                                              DISCOVERY OF
                                                         OF MEDICAL
                                                            MEDICAL
       MONITORING NAMED
       MONITORING    NAMED PLAINTIFFS'
                           PLAINTIFFS’ MEDICAL
                                       MEDICAL HISTORIES   AND
                                                 HISTORIES AND
           PREVIOUS
           PREVIOUS EXPOSURES
                     EXPOSURES TO  HAZARDOUS SUBSTANCES
                                TO HAZARDOUS   SUBSTANCES

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                                                  Counsel for Defendant
                                                  Counselfor  Defendant Philips
                                                                        Philips RS
                                                                                RS North
                                                                                   North
                                                  America LLC
                                                  America LLC
      Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 3 of 654




        Plaintiffs’ Response
        Plaintiffs' Response in Opposition to
                             in Opposition to Defendant
                                              Defendant Philips
                                                        Philips RS'
                                                                RS’ Objections
                                                                    Objections to
                                                                               to Special
                                                                                  Special

Discovery Master's
Discovery Master’s Report
                   Report and
                          and Recommendation
                              Recommendation and
                                             and Proposed
                                                 Proposed Order
                                                          Order Re:
                                                                Re: Discovery
                                                                    Discovery of
                                                                              of Medical
                                                                                 Medical

Monitoring Named
Monitoring Named Plaintiffs'
                 Plaintiffs’ Medical
                             Medical Histories
                                     Histories and
                                               and Previous
                                                   Previous Exposures to Hazardous
                                                            Exposures to Hazardous Substances
                                                                                   Substances

(“Response”) (ECF
("Response") (ECF No.
                  No. 2402)
                      2402) contains
                            contains material
                                     material misrepresentations
                                              misrepresentations regarding
                                                                 regarding facts
                                                                           facts that
                                                                                 that require
                                                                                      require

immediate correction.
immediate correction.

        First, Plaintiffs
        First, Plaintiffs argue
                          argue in their papers
                                in their papers that
                                                that they
                                                     they should
                                                          should not
                                                                 not be
                                                                     be compelled
                                                                        compelled to
                                                                                  to produce
                                                                                     produce their
                                                                                             their

medical records
medical records and
                and information
                    information in
                                in response to Request
                                   response to Request for
                                                       for Production
                                                           Production ("Request")
                                                                      (“Request”) Nos.
                                                                                  Nos. 2,
                                                                                       2, 7, 12,
                                                                                          7, 12,

15, 17,
15, 17, 19,
        19, and
            and 34
                34 because
                   because "these
                           “these Requests
                                  Requests are
                                           are duplicative,
                                               duplicative, especially
                                                            especially because
                                                                       because Plaintiffs
                                                                               Plaintiffs have
                                                                                          have

already produced
already produced responsive documents, including
                 responsive documents,           purchase receipts
                                       including purchase receipts for Recalled and
                                                                   for Recalled and other
                                                                                    other CPAP
                                                                                          CPAP

devices, prescription
devices, prescription information
                      information for Recalled Devices,
                                  for Recalled Devices, cleaning
                                                        cleaning instructions,
                                                                 instructions, accessory
                                                                               accessory

information and
information and receipts,
                receipts, etc."
                          etc.” ECF
                                ECF No.
                                    No. 2402
                                        2402 at
                                             at 8.
                                                8. This statement in
                                                   This statement    Plaintiffs’ Response
                                                                  in Plaintiffs' Response is
                                                                                          is

factually untrue
factually untrue and
                 and misleading.
                     misleading. Some Plaintiffs have
                                 Some Plaintiffs have not produced any
                                                      not produced any documents
                                                                       documents at all.1l Even
                                                                                 at al     Even

more Plaintiffs
more Plaintiffs have
                have not
                     not produced
                         produced any
                                  any documents
                                      documents at
                                                at all
                                                   all in
                                                       in response
                                                          response to
                                                                   to these Requests.2 And
                                                                      these Requests.2 And many
                                                                                           many

other Plaintiffs
other Plaintiffs have
                 have failed to make
                      failed to make aa meaningful
                                        meaningful or
                                                   or complete
                                                      complete production—
                                                               production— only
                                                                           only producing
                                                                                producing aa mere
                                                                                             mere

handful of
handful of pages
           pages in
                 in response
                    response to
                             to some,
                                some, but
                                      but not
                                          not all,
                                              all, of
                                                   of these Requests. 3 Indeed,
                                                      these Requests.3  Indeed, contrary
                                                                                contrary to
                                                                                         to Plaintiffs'
                                                                                            Plaintiffs’



11 See
   See Hugo
        Hugo Barragan's
               Barragan’s Am.Am. Resp.
                                  Resp. to to First
                                              First RFP,
                                                    RFP, attached
                                                           attached as as Ex.  A; Quinton
                                                                           Ex. A;  Quinton Goodall's
                                                                                              Goodall’s 2nd
                                                                                                         2nd Am.
                                                                                                               Am.
 Resp. to
Resp.   to First
           First RFP,
                 RFP, attached
                       attached asas Ex.   B; Jill
                                      Ex. B;  Jill Leavenworth’s
                                                   Leavenworth's Am. Am. Resp.
                                                                            Resp. to
                                                                                   to First
                                                                                      First RFP,
                                                                                             RFP, attached
                                                                                                   attached as
                                                                                                             as Ex.
                                                                                                                Ex.
 C; Michael   Wheeler’s    2nd Am.     Resp.  to First  RFP,  attached
C; Michael Wheeler's 2nd Am. Resp. to First RFP, attached as Ex. D.       as Ex. D.
 2
   See Dennis
2 See  Dennis Caling
                Caling Am.
                        Am. Resp.
                              Resp. toto First
                                         First RFP,
                                                RFP, attached
                                                      attached asas Ex.
                                                                    Ex. E;   Christine DiJohn's
                                                                         E; Christine   DiJohn’s 2nd
                                                                                                   2nd Am.
                                                                                                        Am. Resp.
                                                                                                             Resp.
 to First
to  First RFP,
          RFP, attached
                 attached as
                           as Ex.  F; Andrew
                              Ex. F;   Andrew Fisher's
                                                 Fisher’s 2nd
                                                            2nd Am.
                                                                 Am. Resp.
                                                                        Resp. to
                                                                               to First
                                                                                  First RFP,
                                                                                        RFP, attached
                                                                                               attached as
                                                                                                         as Ex.  G;
                                                                                                            Ex. G;
 Brent Hamlin's
Brent   Hamlin’s 2nd2nd Am.
                        Am. Resp.
                              Resp. to to First
                                          First RFP,
                                                RFP, attached
                                                       attached asas Ex.  H; Arthur
                                                                     Ex. H;   Arthur Hibbard's
                                                                                      Hibbard’s 2nd2nd Am.
                                                                                                        Am. Resp.
                                                                                                             Resp.
 to First
to  First RFP,
          RFP, attached
                 attached as
                           as Ex.
                              Ex. I;
                                   I; Joseph    Hoffman’s 2nd
                                      Joseph Hoffman's       2nd Am.
                                                                   Am. Resp.
                                                                         Resp. to
                                                                                to First
                                                                                   First RFP,
                                                                                         RFP, attached
                                                                                                attached as
                                                                                                          as Ex.
                                                                                                             Ex. J;
                                                                                                                  J;
 Martin Humphries'
Martin    Humphries’ 2nd2nd Am.
                              Am. Resp.
                                    Resp. toto First
                                                First RFP,
                                                      RFP, attached
                                                             attached as as Ex.  K; Brian
                                                                             Ex. K;  Brian McCarty's
                                                                                             McCarty’s 2nd
                                                                                                         2nd Am.
                                                                                                               Am.
 Resp. to
Resp.   to First
           First RFP,
                 RFP, attached
                       attached asas Ex.
                                      Ex. L.
                                           L.
 3
   See, e.g.,
3 See,  e.g., Susan   Bakaitis’ 3rd
              Susan Bakaitis'    3rd Am.
                                      Am. Resp.
                                             Resp. to
                                                    to First
                                                       First RFP,
                                                              RFP, attached
                                                                     attached asas Ex.
                                                                                   Ex. MM (three
                                                                                           (three pages);
                                                                                                   pages); Jeffrey
                                                                                                            Jeffrey
 Bartalo’s Am.
Bartalo's   Am. Resp.
                  Resp. to
                         to First
                            First RFP,
                                  RFP, attached
                                          attached asas Ex.
                                                        Ex. NN (two
                                                                (two pages);
                                                                      pages); Jeffrey    Boyle’s 2nd
                                                                                Jeffrey Boyle's    2nd Am.
                                                                                                        Am. Resp.
                                                                                                             Resp.
 to First RFP, attached   as Ex. O  (three  pages);   Sharon  Cathers’    2nd  Am.  Resp.   to First
to First RFP, attached as Ex. O (three pages); Sharon Cathers' 2nd Am. Resp. to First RFP, attached  RFP, attached
      Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 4 of 654




representation to
representation to the
                  the Court
                      Court in
                            in their
                               their papers,
                                     papers, at
                                             at least
                                                least 40%
                                                      40% of
                                                          of Plaintiffs
                                                             Plaintiffs have
                                                                        have not
                                                                             not "already
                                                                                 “already produced"
                                                                                          produced”

responsive documents
responsive           to all
           documents to all these Requests. 4
                            these Requests.'

        Second, Plaintiffs claim
        Second, Plaintiffs claim in their Response
                                 in their Response that
                                                   that Request
                                                        Request No.
                                                                No. 22 is “irrelevant …
                                                                       is "irrelevant     particularly
                                                                                      ... particularly

when Plaintiffs
when Plaintiffs have
                have already
                     already produced
                             produced the
                                      the Care
                                          Care Orchestrator
                                               Orchestrator data."
                                                            data.” ECF No. 2402
                                                                   ECF No. 2402 at
                                                                                at 8. This is
                                                                                   8. This is

similarly false.
similarly false. Zero
                 Zero Plaintiffs
                      Plaintiffs have
                                 have produced
                                      produced their
                                               their Care
                                                     Care Orchestrator
                                                          Orchestrator data.
                                                                       data. Rather,
                                                                             Rather, after
                                                                                     after extensive
                                                                                           extensive

discussion, the
discussion, the parties
                parties agreed
                        agreed that
                               that Plaintiffs
                                    Plaintiffs would
                                               would execute
                                                     execute aa limited
                                                                limited release
                                                                        release for
                                                                                for some
                                                                                    some of
                                                                                         of their
                                                                                            their Care
                                                                                                  Care

Orchestrator data.5 To
Orchestrator data.5    date, however,
                    To date, however, 25%
                                      25% of
                                          of Plaintiffs
                                             Plaintiffs have
                                                        have failed to execute
                                                             failed to         this release,
                                                                       execute this release, despite
                                                                                             despite

aa December
   December 8, 2023 deadline
            8, 2023 deadline to
                             to do so.6 Once
                                do so.6 Once aa release
                                                release is ultimately executed
                                                        is ultimately executed by
                                                                               by each remaining
                                                                                  each remaining

Plaintiff, the
Plaintiff, the information
               information will
                           will still
                                still need
                                      need to
                                           to be
                                              be obtained
                                                 obtained and
                                                          and produced.
                                                              produced.

        Third, Plaintiffs claim
        Third, Plaintiffs       they should
                          claim they should not
                                            not be
                                                be compelled
                                                   compelled to
                                                             to produce
                                                                produce their
                                                                        their medical
                                                                              medical records
                                                                                      records and
                                                                                              and

information in
information in response to Request
               response to Request No.
                                   No. 17
                                       17 because
                                          because "Plaintiffs
                                                  “Plaintiffs produced
                                                              produced other
                                                                       other documents
                                                                             documents in
                                                                                       in

response to
response to this
            this request,
                 request, including recall notices
                          including recall notices issued
                                                   issued by
                                                          by Philips
                                                             Philips itself"
                                                                     itself.” Again,
                                                                              Again, this
                                                                                     this is factually
                                                                                          is factually

untrue and
untrue and misleading.
           misleading. Numerous
                       Numerous Plaintiffs
                                Plaintiffs have
                                           have not
                                                not produced
                                                    produced any
                                                             any documents
                                                                 documents in
                                                                           in response
                                                                              response to
                                                                                       to this
                                                                                          this

Request.7 Plaintiffs'
Request.7 Plaintiffs’ assertions
                      assertions to
                                 to the
                                    the contrary
                                        contrary should
                                                 should be
                                                        be disregarded.
                                                           disregarded.



as Ex.
as Ex. PP (four
           (four pages);
                  pages); Sarah  Claunch’s 2nd
                          Sarah Claunch's      2nd Am.
                                                    Am. Resp.
                                                          Resp. toto First
                                                                     First RFP,
                                                                            RFP, attached
                                                                                   attached as
                                                                                             as Ex. Q (two
                                                                                                Ex. Q  (two pages);
                                                                                                             pages);
Danny David's
Danny    David’s 2nd2nd Am.
                         Am. Resp.
                               Resp. toto First
                                           First RFP,
                                                 RFP, attached
                                                        attached as as Ex.
                                                                        Ex. RR (three
                                                                                (three pages);
                                                                                        pages); Bruce
                                                                                                 Bruce Ginsberg's
                                                                                                         Ginsberg’s
2nd Am.
2nd  Am. Resp.
            Resp. to
                   to First
                      First RFP,
                            RFP, attached
                                   attached asas Ex.
                                                  Ex. S  (one page);
                                                      S (one  page); Christopher
                                                                        Christopher Glaub's
                                                                                       Glaub’s 2nd
                                                                                                 2nd Am.
                                                                                                      Am. Resp.
                                                                                                            Resp. to
                                                                                                                  to
First RFP,
First RFP, attached
              attached as
                        as Ex.
                           Ex. T   (five pages);
                                T (five   pages); Deana
                                                   Deana King's
                                                            King’s 2nd2nd Am.
                                                                            Am. Resp.
                                                                                  Resp. to
                                                                                         to First
                                                                                            First RFP,
                                                                                                  RFP, attached
                                                                                                         attached as
                                                                                                                  as
Ex. U (one
Ex. U   (one page);
               page); Elizabeth
                      Elizabeth Lemus’
                                  Lemus' 2nd 2nd Am.
                                                  Am. Resp.
                                                        Resp. toto First
                                                                    First RFP,
                                                                           RFP, attached
                                                                                  attached as
                                                                                            as Ex.
                                                                                               Ex. VV (two
                                                                                                       (two pages);
                                                                                                             pages);
Aaron Taylor’s
Aaron               2nd Am.
         Taylor's 2nd   Am. Resp.
                              Resp. toto First
                                          First RFP,
                                                RFP, attached
                                                      attached as as Ex.
                                                                     Ex. WW (one
                                                                              (one page);
                                                                                     page); Chad
                                                                                            Chad Wells'
                                                                                                   Wells’ 2nd
                                                                                                            2nd Am.
                                                                                                                Am.
Resp. to
Resp.   to First
            First RFP,
                  RFP, attached
                        attached asas Ex.
                                       Ex. XX (five
                                               (five pages);
                                                     pages); Debra
                                                              Debra Wilson's
                                                                        Wilson’s 2nd 2nd Am.
                                                                                         Am. Resp.
                                                                                               Resp. to
                                                                                                      to First
                                                                                                          First RFP,
                                                                                                                RFP,
attached as
attached    as Ex.
               Ex. YY (five
                      (five pages);
                            pages); Jim     Wolff’ss 2nd
                                       Jim Wolff      2nd Am.
                                                           Am. Resp.
                                                                   Resp. toto First
                                                                              First RFP,
                                                                                     RFP, attached
                                                                                           attached as
                                                                                                     as Ex.
                                                                                                         Ex. ZZ (one
                                                                                                                (one
page); see
page);   see also
              also ECF
                    ECF No.
                         No. 2376
                               2376 atat 66 (only
                                            (only aa "subset"
                                                     “subset” of of Plaintiffs
                                                                     Plaintiffs responded
                                                                                 responded to to discovery
                                                                                                 discovery and,
                                                                                                             and, of
                                                                                                                  of
those Plaintiffs,
those  Plaintiffs, they
                    they only
                         only "responded
                               “responded partially"
                                              partially” to
                                                          to the
                                                             the at-issue
                                                                   at-issue Requests).
                                                                             Requests).
4
  See supra
4 See  supra footnotes
               footnotes 1-3.
                          1-3.
5
  See E.
5 See     Avery Email
       E. Avery           to E.
                   Email to     Attridge dated
                             E. Attridge           November 21,
                                            dated November       21, 2023,
                                                                      2023, atat 1-2,
                                                                                 1-2, 6,
                                                                                      6, attached
                                                                                         attached as
                                                                                                   as Ex.  AA.
                                                                                                      Ex. AA.
6
  See E.
6 See     Attridge Email
       E. Attridge          to E.
                     Email to      Avery dated
                                E. Avery    dated January
                                                   January 5,   2023, at
                                                             5, 2023,    at 1-2,
                                                                            1-2, attached
                                                                                  attached as
                                                                                            as Ex. BB.
                                                                                               Ex. BB.
7
  See, e.g.,
7 See,  e.g., supra
              supra footnotes
                     footnotes 11 and
                                   and 22 (Plaintiffs
                                           (Plaintiffs Bakaitis,
                                                       Bakaitis, Barragan,
                                                                   Barragan, Bartalo,
                                                                                 Bartalo, Caling,
                                                                                          Caling, Cathers,
                                                                                                   Cathers, David,
                                                                                                              David,
DiJohn, Fisher,
DiJohn,   Fisher, Ginsberg,
                    Ginsberg, Glaub,     Goodall, Hamlin,
                               Glaub, Goodall,      Hamlin, Hibbard,
                                                              Hibbard, Hoffman,
                                                                           Hoffman, Humphries,
                                                                                       Humphries, Leavenworth,
                                                                                                     Leavenworth,
Lemus,     McCarty, Taylor,
Lemus, McCarty,                  Wells, Wheeler,
                       Taylor, Wells,      Wheeler, Wilson,
                                                      Wilson, and and Wolff
                                                                        Wolff state
                                                                                 state they
                                                                                        they do
                                                                                              do not
                                                                                                  not possess
                                                                                                       possess any
                                                                                                                 any
responsive documents
responsive                 regarding Request
              documents regarding       Request No.No. 17).
                                                       17).


                                                         22
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 5 of 654




Dated: January
Dated:         8, 2024
       January 8, 2024                  Respectfully Submitted,
                                        Respectfully Submitted,

                                        /s/ Wendy
                                        /s/ Wendy West   Feinstein
                                                   West Feinstein
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                                                       15219-6401
                                        Tel: 412.560.3300
                                        Tel: 412.560.3300

                                        Counsel for Defendant
                                        Counselfor  Defendant Philips
                                                              Philips RS
                                                                      RS North
                                                                         North
                                        America LLC
                                        America LLC




                                    3
                                    3
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 6 of 654




                               CERTIFICATE OF SERVICE
                               CERTIFICATE OF SERVICE

       II hereby
          hereby certify
                 certify that
                         that on
                              on January
                                 January 8, 2024, the
                                         8, 2024, the foregoing document was
                                                      foregoing document was electronically filed
                                                                             electronically filed

with the
with the Clerk
         Clerk of
               of the
                  the Court
                      Court and
                            and served
                                served upon
                                       upon counsel
                                            counsel of
                                                    of record
                                                       record through
                                                              through the
                                                                      the Court's
                                                                          Court’s ECF system.
                                                                                  ECF system.


                                                   /s/ Wendy
                                                   /s/ Wendy West Feinstein
                                                             West Feinstein
                                                   Wendy  West
                                                   Wendy West  Feinstein
                                                               Feinstein
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                   EXHIBIT A
                   EXHIBIT A
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 8 of 654




                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                           )
IN RE: PHILIPS RECALLED CPAP, BI-LEVEL     )
PAP, AND MECHANICAL VENTILATOR             )
                                             Case No. 2:21-mc-1230-JFC
PRODUCTS LIABILITY LITIGATION              )
                                             MDL No. 3014
                                           )
THIS DOCUMENT RELATES TO: All Actions      )
                                             Honorable Joy Flowers Conti
Asserting Medical Monitoring               )
                                           )
                                           )
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   PLAINTIFF HUGO BARRAGAN AMENDED RESPONSES AND OBJECTIONS TO
                       RS’ FIRST REQUEST FOR PRODUCTION
               PHILIPS RS'
          OF DOCUMENTS TO MEDICAL MONITORING PLAINTIFFS


REQUEST 1: Documents sufficient to show the model name, model number, and serial number
REOUEST
of each and every Recalled Device You Acquired, the date on which You Acquired it, and the date
on which You no longer had possession of the Recalled Device (if applicable).

                    REQUEST NO. 1:
AMENDED RESPONSE TO REOUEST

                                   (“Plaintiff”) objects to this Request on grounds that it is vague,
        Plaintiff Hugo Barragan ("Plaintiff")
unduly burdensome, overbroad, irrelevant, cumulative, and/or because the burden or expense of
the discovery outweighs its likely benefit. Plaintiff further objects to this Request to the extent it
seeks matters immune from discovery under either the attorney-client privilege and/or the work
product doctrine, or any other privilege, immunity, or protection. Plaintiff further objects to the
term "Acquired"
term  “Acquired” because
                   because as
                           as defined
                              defined itit seeks
                                           seeks to
                                                 to obtain
                                                    obtain information
                                                           information not relevant to any claims or
defenses of any party. Plaintiff further objects on grounds that this Request seeks information that
              Defendant’s possession, custody, and/or control.
is already in Defendant's

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 2: All Documents and Communications Regarding Your Acquisition of a Recalled
REOUEST
Device, including but not limited to receipts, insurance payments, explanations of benefits, or
prescriptions for the Recalled Device by any Health Care Provider or DME. This Request includes,
but is not limited to, all Documents that support or refute the allegation in Paragraph 22 of the
Medical Monitoring
Medical   Monitoring CSAC
                       CSAC that
                              that each
                                   each of
                                        of the
                                           the Medical
                                               Medical Monitoring
                                                        Monitoring Plaintiffs
                                                                     Plaintiffs "used
                                                                                “used the
                                                                                      the Recalled
                                                                                          Recalled
Devices.”
Devices."

                    REQUEST NO. 2:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to the scope of this Request to the extent it seeks
information not relevant to the claims or defenses of any party. Plaintiff further objects to this
Request on grounds that it seeks information already in the possession, custody, and/or control of
Defendant.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

              REQUEST 3: All Documents and Communications Regarding any payments or
AMENDED REOUEST
reimbursements for a Recalled Device, including but not limited to payments made by You and any
payments made on Your behalf by any government entity, insurer, health savings account, or
flexible spending account.
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RESPONSE TO REOUEST
            REQUEST NO. 3:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to this Request on grounds that it seeks
information already in the possession, custody, and/or control of Defendant.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 4: All Documents that You reviewed, relied upon, or considered in making the
REOUEST
decision to Acquire a Recalled Device, including but not limited to Documents that You reviewed,
relied upon, or considered and contend contain any misrepresentation concerning a Recalled
Device.

                    REQUEST NO. 4:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to the scope of this request to the extent this
Request seeks information that is not relevant to any claims or defenses of any party. Additionally,
the broad scope and unnecessary difficulties of this Request are compounded by the fact that
Defendant seeks materials that are equally available to it, and that is already in its possession,
custody, and/or control.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 5: All Documents and Communications Regarding Your prescription for the Recalled
REOUEST
Device by any Health Care Provider, including but not limited to documents sufficient to show the
name and address of the Health Care Provider who prescribed You a Recalled Device and the
name and address of any DME involved in Your Acquisition of a Recalled Device, as well as all
Documents reflecting the instructions for using the Recalled Device, recommended frequency of
use for the Recalled Device, recommended duration of use for the Recalled Device, and any
changes to Your prescription over time.

                    REQUEST NO. 5:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under


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either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to the scope of this Request to the extent it seeks
information not relevant to any claims or defenses of any party. Plaintiff further objects to this
Request on grounds that it seeks information already in the possession, custody, and/or control of
Defendant.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 6: All Communications with any Person —
REOUEST                                             – including but not limited to any Health
Care Provider or DME —  – who was involved in, or who You consulted in connection with, Your
Acquisition of a Recalled Device.

                    REQUEST NO. 6:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on
Request   on grounds
             grounds that
                      that it violates Plaintiffs
                           it violates Plaintiff’s right
                                                   right to
                                                         to privacy.
                                                            privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party, including but not limited to all Communications with any Person Plaintiff consulted with in
the Acquisition of a Recalled Device. A claim for medical monitoring costs does not put present
physical condition at issue. See e.g. Bower v. Westinghouse
                                                       Westinghouse Elec. Corp., 522 S.E.2d 424,430
(W.Va. 1999) (citations omitted) (the injury in question is the increase in risk that requires one to
incur the cost of monitoring); Meyer v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon
Mobil Corp. v. Albright, 71 A.3d 30, 75-77 (Md. 2013) (exposure itself and the need for medical
testing is the compensable injury in a medical monitoring claim); Sadler v. PacifiCare of           of Nev.,
Inc., 340 P.3d, 264, 1270-72 (Nev. 2014) (inquiry is whether the negligent act of the defendant
caused the plaintiff to have a medical need to undergo monitoring); Potter v. Firestone Tire &
Rubber Co., 863 P.2d 795, 823 (Cal. 1993). Plaintiff has not waived the physician-patient privilege
as to any medical condition for his medical monitoring claims in this case since Plaintiff is not
claiming present physical injury in this case. The injury that Plaintiff claims is the significant
exposure, increased risk of disease and medical necessity of diagnostic testing and the economic
loss associated therewith. Plaintiff and class members base their claims only on their significant
exposure to the proven hazardous Foam Toxins released by PE-PUR foam in the Recalled Devices.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 7: Documents and Communications Regarding any other CPAP or BiPAP device that
REOUEST
You Acquired or considered Acquiring, or that was proposed to you as an alternative for the
Recalled Device, before Your Acquisition of a Recalled Device. This Request includes but is not
limited to marketing materials for any CPAP or BiPAP device that You received.




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AMENDED RESPONSE TO REOUEST
                    REQUEST NO 7:

         Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
The broad scope and unnecessary difficulties of this Request are compounded by the fact that
Defendant seeks publicly available materials that are within its possession, custody, and/or control
or are equally available to it. Plaintiff has already produced responsive documents to this Request
for settlement purposes. Plaintiff further objects to the scope of this Request to the extent it seeks
information not relevant to any claims or defenses of any party. Plaintiff further objects to this
Request to the extent it seeks matters immune from discovery under either the attorney-client
privilege and/or the work product doctrine, or any other privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 8: All Documents, including medical records, Regarding the use of the Recalled
REOUEST
Device, including from any Health Care Provider who treated You concerning any condition You
claim is related to the use of the Recalled Device.

RESPONSE TO REOUEST
            REQUEST NO. 8:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
                                     Plaintiff’s right
Request on grounds that it violates Plaintiff's  right to
                                                       to privacy.
                                                          privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party, including but not limited to all Communications with any Person Plaintiff consulted with in
the Acquisition of a Recalled Device. A claim for medical monitoring costs does not put present
physical condition at issue. See e.g. Bower v. Westinghouse
                                                     Westinghouse Elec. Corp., 522 S.E.2d 424,430
(W.Va. 1999) (citations omitted) (the injury in question is the increase in risk that requires one to
incur the cost of monitoring); Meyer v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon
Mobil Corp. v. Albright, 71 A.3d 30, 75-77 (Md. 2013) (exposure itself and the need for medical
testing is the compensable injury in a medical monitoring claim); Sadler v. PacifiCare of         of Nev.,
Inc., 340 P.3d, 264, 1270-72 (Nev. 2014) (inquiry is whether the negligent act of the defendant
caused the plaintiff to have a medical need to undergo monitoring); Potter v. Firestone Tire &
Rubber Co., 863 P.2d 795, 823 (Cal. 1993). Plaintiff has not waived the physician-patient privilege
as to any medical condition for his medical monitoring claims in this case since Plaintiff is not
claiming present physical injury in this case. The injury that Plaintiff claims is the significant
exposure, increased risk of disease and medical necessity of diagnostic testing and the economic
loss associated therewith. Plaintiff and class members base their claims only on their significant
exposure to the proven hazardous Foam Toxins released by PE-PUR foam in the Recalled Devices.

REQUEST 9: All Documents in Your possession, custody, or control Regarding Your use of and
REOUEST
storage of a Recalled Device. This Request includes, but is not limited to, all data Regarding Your


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                                                  -4
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Recalled Device from Care Orchestrator, DreamMapper, and/or EncoreAnywhere, which we will
obtain upon your signing the attached Authorization to Disclose Health Information.

RESPONSE TO REOUEST
            REQUEST NO. 9:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further
Plaintiff further objects
                   objects to
                            to the
                               the term
                                   term "Regarding,"
                                         “Regarding,” as
                                                       as used
                                                           used in this Request
                                                                in this Request on
                                                                                 on grounds
                                                                                    grounds that
                                                                                            that it  is
                                                                                                 it is
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of
any party.
any party. Plaintiff
            Plaintiff further objects to
                      further objects to the
                                         the terms
                                             terms "data,"
                                                   “data,” "Care
                                                           “Care Orchestrator,"
                                                                 Orchestrator,” "DreamMapper,"
                                                                                “DreamMapper,” andand
“EncoreAnywhere” as
"EncoreAnywhere"       as used
                           used in  this Request
                                 in this Request on
                                                  on grounds
                                                     grounds that
                                                               that they
                                                                    they are
                                                                         are undefined
                                                                             undefined and
                                                                                        and make
                                                                                            make no no
attempt to limit the scope of this Request. Plaintiff further objects to this Request to the extent it
seeks matters immune from discovery under either the attorney-client privilege and/or the work
product doctrine, or any other privilege, immunity, or protection. Plaintiff further objects to this
Request on grounds that it seeks information already in the possession, custody, and/or control of
Defendant.

REQUEST 10: The SD card or cards that you used with Your Recalled Device.
REOUEST

RESPONSE TO REOUEST
            REQUEST NO. 10:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the extent that the information sought in this Request is already in the
possession, custody, and/or control of Defendant. Plaintiff further objects to this Request on
grounds that
grounds    that the
                the term
                    term "SD
                          “SD card"
                                card” is  undefined and
                                       is undefined   and that
                                                          that it
                                                                it is
                                                                   is not
                                                                      not apparent
                                                                          apparent toto Plaintiff
                                                                                        Plaintiff what
                                                                                                  what
information is held on the SD cards and what information Defendant seeks in this Request that is
relevant to any claims or defenses of any party. Plaintiff further objects to this Request on grounds
that the information sought in this Request is not within the possession, custody, and/or control of
Plaintiff.

REQUEST 11: All Documents Regarding the condition of Your Recalled Device, including the
REOUEST
extent to which its condition changed over time, if at all.

                    REQUEST NO. 11:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the scope of this Request on grounds that it seeks information not
relevant to any claims or defenses ofof any
                                         any party.
                                             party. Plaintiff
                                                    Plaintiff further objects that
                                                              further objects that the
                                                                                   the term
                                                                                       term "condition"
                                                                                            “condition”
is undefined. Plaintiff further objects to this Request to the extent that the burden or expense of the
requested discovery outweighs its likely benefit, and/or that the information is already in
Defendant’s possession,
Defendant's   possession, custody,
                           custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                        objects to
                                                                                 to this
                                                                                    this Request
                                                                                         Request to
                                                                                                 to the
                                                                                                    the
extent Plaintiff has already provided information responsive to this Request. Plaintiff further
objects to this Request to the extent it seeks matters immune from discovery under either the
attorney-client privilege and/or the work product doctrine, or any other privilege, immunity, or
protection.


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      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 12: All Documents Regarding the cleaning of a Recalled Device, including but not
REOUEST
limited to all Documents reflecting the products used to clean a Recalled Device, the frequency of
the cleaning of a Recalled Device, or any Communication with any Person Regarding the cleaning
of a Recalled Device.

                    REQUEST NO. 12:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the scope of this Request to the extent it impermissibly seeks
information not relevant to any claims or defenses of any party, including but not limited to any
Communication with any Person Regarding the cleaning of a Recalled Device. Plaintiff further
objects to the extent that the information sought in this Request is already in the possession,
custody, and/or control of Defendant. Plaintiff further objects to this Request to the extent Plaintiff
has already provided information responsive to this Request. Plaintiff further objects to this
Request to the extent it seeks matters immune from discovery under either the attorney-client
privilege and/or the work product doctrine, or any other privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 13: All user manuals and other communications from any Philips entity that came
REOUEST
with the Recalled Device You Acquired.

                    REQUEST NO. 13:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff objects to this Request to the extent that the information sought in this Request is already
in the possession, custody, and/or control of Defendant. The broad scope and unnecessary
difficulties of this Request are compounded by the fact that Defendant seeks materials that it is
responsible for administering to Plaintiff.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 14: All Documents Regarding your Acquisition or use of any cleaners or cleaning
REOUEST
devices for Your Recalled Device, including but not limited to any ozone cleaning devices and
any ultraviolent light cleaning devices.




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RESPONSE TO REOUEST
            REQUEST NO. 14:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant
to any claims or defenses of any party. The broad scope and unnecessary difficulties of this Request
are compounded by the fact that Defendant seeks materials that it is responsible for administering
to Plaintiff. Plaintiff further objects to the extent that the information sought in this Request is
already in the possession, custody, and/or control of Defendant. Plaintiff further objects to this
Request to the extent it seeks matters immune from discovery under either the attorney-client
privilege and/or the work product doctrine, or any other privilege, immunity, or protection.


REQUEST 15: All Documents and Communications Regarding Your use, purchase or
REOUEST
Acquisition of any accessory to be used in combination with a Recalled Device, including but not
limited to any humidifier, cleaner, wipe, mask, headgear, tubing hose, filter (including inlet filters
and bacterial filters), adapter, or nasal cushion.

                    REQUEST NO. 15:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant
to any claims or defenses of any party. The broad scope and unnecessary difficulties of this Request
are compounded by the fact that Defendant seeks materials that are within their control. Plaintiff
further objects
further  objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that it
                                           extent that it seeks
                                                          seeks information    already in
                                                                information already       Defendant’s
                                                                                       in Defendant's
possession, custody, and/or control. Plaintiff further objects to this Request to the extent that
information sought in this Request has already been provided by Plaintiff. Plaintiff further objects
to this Request to the extent it seeks matters immune from discovery under either the attorney-
client privilege and/or the work product doctrine, or any other privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 16: All Documents Regarding any particulate or dark matter in Your Recalled Device,
REOUEST
including but not limited to any photos or videos of the Recalled Device and any other evidence
showing that the foam in Your Recalled Device actually degraded.

                    REQUEST NO. 16:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the extent this Request seeks a concession that evidence of degradation
can be seen by the naked eye. Plaintiff further objects to this Request on grounds that the term
“particulate” and
"particulate"  and "dark
                    “dark matter"
                           matter” are
                                    are undefined.
                                         undefined. Plaintiff
                                                       Plaintiff further objects to
                                                                 further objects to the
                                                                                    the use
                                                                                        use of
                                                                                            of the
                                                                                               the term
                                                                                                   term
“Regarding,” in
"Regarding,"      this Request
               in this Request on
                               on grounds
                                  grounds that
                                            that it
                                                 it is
                                                    is overbroad,
                                                       overbroad, vague,
                                                                   vague, ambiguous,
                                                                          ambiguous, and
                                                                                      and impermissibly
                                                                                          impermissibly


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seeks information not relevant to any claims or defenses of any party. Plaintiff further objects to
this Request on grounds that it is duplicative of Request No. 11. Plaintiff further objects to this
Request to the extent that the burden or expense of the requested discovery outweighs its likely
benefit, and/or
benefit, and/or that
                that the
                     the information
                         information is already in
                                     is already    Defendant’s possession,
                                                in Defendant's  possession, custody,
                                                                             custody, and/or
                                                                                      and/or control.
                                                                                              control.
Plaintiff further objects to this Request to the extent Plaintiff has already provided information
responsive to this Request. Plaintiff further objects to this Request to the extent it seeks matters
immune from discovery under either the attorney-client privilege and/or the work product doctrine,
or any other privilege, immunity, or protection. Plaintiff further objects to the extent this Request
seeks premature expert testimony.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 17: All Documents related to the recall of a Recalled Device, including but not limited
REOUEST
to Communications with any Person Regarding the recall; Your Communications with any Health
Care Provider or DME Regarding the recall; Documents regarding Your decision whether to
participate in the recall; and Documents sufficient to show when and how You became aware of
the recall.

                    REQUEST NO. 17:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant
to any claims or defenses of any party, including but not limited to Communications with Any
Person Regarding the recall. The broad scope and unnecessary difficulties of this Request are
compounded by the fact that Defendant seeks materials that are equally available to it. As the
manufacturer of the Recalled Devices, Defendant is in the position to obtain information
responsive to this Request. Plaintiff further objects to this Request to the extent that the burden or
expense of the requested discovery outweighs its likely benefit, and/or that the information sought
is already
is already in
            in Defendant's
                Defendant’s possession,
                              possession, custody,
                                           custody, and/or
                                                     and/or control.   Plaintiff further
                                                              control. Plaintiff further objects
                                                                                         objects to
                                                                                                 to this
                                                                                                    this
Request to the extent Plaintiff has already provided information responsive to this Request.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 18: All Documents Regarding Your registration, if any, for the Philips RS repair or
REOUEST
replacement program concerning a Recalled Device.

                    REQUEST NO. 18:
AMENDED RESPONSE TO REOUEST

       Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,


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cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
The broad scope and unnecessary difficulties of this Request are compounded by the fact that
Defendant seeks materials that are within its possession, custody, and/or control. Plaintiff further
objects to
objects to the
           the use
               use of
                    of the
                       the term
                           term "Regarding,"
                                “Regarding,” in   this Request
                                               in this Request onon grounds  that it
                                                                    grounds that  it is
                                                                                     is overbroad,
                                                                                        overbroad, vague,
                                                                                                   vague,
ambiguous, and impermissibly seeks information not relevant to any claims or defenses of any
party. Plaintiff further objects to this Request to the extent it seeks matters immune from discovery
under either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 19: All Documents and Communications relating to any other CPAP, BiPAP or
REOUEST
ventilator device that You used prior to, or after, Your Acquisition of a Recalled Device.

                    REQUEST NO. 19:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
The broad scope and unnecessary difficulties of this Request are compounded by the fact that
Defendant seeks materials that are equally available to it. Plaintiff further objects to the use of the
terms "Communications"
terms  “Communications” andand "Acquisition"
                                “Acquisition” in
                                               in this
                                                  this Request
                                                       Request on
                                                               on grounds
                                                                   grounds that
                                                                             that they
                                                                                  they are
                                                                                       are overbroad,
                                                                                           overbroad,
vague, ambiguous, and impermissibly seek information not relevant to any claims or defenses of
any party. Plaintiff further objects to this Request to the extent it seeks matters immune from
discovery under either the attorney-client privilege and/or the work product doctrine, or any other
privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 20: All Documents and Communications relating to any injuries You allege You have
REOUEST
suffered from the use of a Recalled Device. This request includes but is not limited to the
“subcellular injury
"subcellular injury or
                    or other
                       other physiological
                             physiological changes” You allege You have suffered in Paragraphs
                                           changes" You
26-88 of the Medical Monitoring C CSAC.
                                    SAC.

                    REQUEST NO. 20:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on
Request   on grounds
             grounds that
                      that it violates Plaintiffs
                           it violates Plaintiff’s right
                                                   right to
                                                         to privacy.
                                                            privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See


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e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare of of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.

                                                           Plaintiff will
       Without waiving and subject to these objections, Plaintiff    will adhere
                                                                          adhere to
                                                                                 to the
                                                                                    the Court's
                                                                                        Court’s
scheduling Order, the Federal Rules of Civil Procedure, and the Federal Rules of Evidence
regarding the disclosure of expert testimony and evidence.

        Plaintiff does not possess any responsive documents.

REQUEST 21: All Documents and Communications relating to any treatment and/or testing
REOUEST
prescribed to
prescribed   to You
                You byby aa Health
                            Health Care
                                     Care Provider
                                          Provider relating
                                                     relating to
                                                              to the
                                                                 the "subcellular
                                                                      “subcellular injury  or other
                                                                                    injury or other
physiological changes"
physiological  changes” You
                          You allege in Paragraphs 26-88 of the Medical Monitoring CSAC. This
request includes
request            but is
         includes but  is not
                          not limited to any
                              limited to any "testing
                                              “testing and
                                                        and screening;
                                                            screening; blood
                                                                       blood and
                                                                              and laboratory
                                                                                   laboratory tests;
                                                                                              tests;
physical examinations; imaging; colonoscopies, endoscopies, and other similar methods for
examination; biopsies; pathologic, histologic, and oncologic evaluations; oncologic, histologic,
surgical, and other necessary medical consultations; and medical and surgical procedures
necessary for
necessary       diagnosis and
           for diagnosis  and treatment"
                               treatment” that
                                          that You
                                               You allege
                                                     allege are
                                                            are necessary
                                                                necessary in
                                                                          in Paragraph
                                                                             Paragraph 382 of the
Medical Monitoring CSAC.

                    REQUEST NO. 21:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
                                     Plaintiff’s right
Request on grounds that it violates Plaintiff's  right to
                                                       to privacy.
                                                          privacy. Plaintiff
                                                                    Plaintiff further
                                                                              further objects
                                                                                      objects to
                                                                                              to the
                                                                                                 the scope
                                                                                                     scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d
30, 75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury
in a medical monitoring claim); Sadler v. PacifiCare of    of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev.
2014) (inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical



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need to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal.
1993). Plaintiff has not waived the physician-patient privilege as to any medical condition for his
medical monitoring claims in this case since Plaintiff is not claiming present physical injury in this
case. The injury that Plaintiff claims is the significant exposure, increased risk of disease and
medical necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and
class members base their claims only on their significant exposure to the proven hazardous Foam
Toxins released by PE-PUR foam in the Recalled Devices.

REQUEST 22: All Documents and Communications from the past 10 years Relating to any
treatment and/or testing prescribed to You by a Health Care Provider even if unrelated to the
“subcellular injury or other physiological changes”
"subcellular                               changes" You allege in Paragraphs 26-88 of the Medical
Monitoring CSAC. ThisThis request  includes but
                           request includes but is
                                                is not
                                                   not limited to any
                                                       limited to any "testing
                                                                      “testing and
                                                                               and screening;
                                                                                   screening; blood
                                                                                              blood
and laboratory tests; physical examinations; imaging; colonoscopies, endoscopies, and other
similar methods for examination; biopsies; pathologic, histologic, and oncologic evaluations;
oncologic, histologic, surgical, and other necessary medical consultations; and medical and
surgical procedures
surgical procedures necessary
                     necessary for diagnosis and
                               for diagnosis and treatment."
                                                  treatment.”

                    REQUEST NO. 22:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on
Request   on grounds
             grounds that
                      that it violates Plaintiffs
                           it violates Plaintiff’s right
                                                   right to
                                                         to privacy.
                                                            privacy. Plaintiff
                                                                      Plaintiff further
                                                                                further objects
                                                                                        objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d
30, 75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury
in a medical monitoring claim); Sadler v. PacifiCare of      of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev.
2014) (inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical
need to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal.
1993). Plaintiff has not waived the physician-patient privilege as to any medical condition for his
medical monitoring claims in this case since Plaintiff is not claiming present physical injury in this
case. The injury that Plaintiff claims is the significant exposure, increased risk of disease and
medical necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and
class members base their claims only on their significant exposure to the proven hazardous Foam
Toxins released by PE-PUR foam in the Recalled Devices.

REQUEST 23: All Documents and Communications related to any tissue specimens, tissue
REOUEST
slides, biopsy specimens, and any other pathologic material taken from You by any Health Care
Provider related
Provider           to the
           related to the "subcellular
                          “subcellular injury or other
                                       injury or other physiological
                                                       physiological changes"
                                                                      changes” You
                                                                               You allege
                                                                                    allege in
                                                                                           in
Paragraphs 26-88 of the Medical Monitoring CSAC.




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                                                   -11
                                                   -
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                    REQUEST NO. 23:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it    violates Plaintiffs
                           it violates Plaintiff’s right
                                                   right to
                                                         to privacy.
                                                            privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                      of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.

REQUEST 24: All
REOUEST         All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of the Medical Monitoring CSAC.

                    REQUEST NO. 24
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on
Request   on grounds
             grounds that
                      that it violates Plaintiffs
                           it violates Plaintiff’s right
                                                   right to
                                                         to privacy.
                                                            privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                      of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.



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                                                   -
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The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.


                                  Provider’s reports of any diagnostic radiologic procedure related
REQUEST 25: All Health Care Provider's
REOUEST
to the “subcellular injury or other physiological changes"
to the "subcellular injury or other physiological changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of the
Medical Monitoring CSAC.

                    REQUEST NO. 25
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request onon grounds
             grounds that
                      that it violates Plaintiffs
                           it violates Plaintiff’s right
                                                   right to
                                                         to privacy.
                                                            privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare of    of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.

REQUEST 26: All other Documents Regarding any and all additional diagnosed medical
conditions or injuries suffered within the last 10 years and any medications or treatments that You
have been prescribed within the last 10 years.

                    REQUEST NO. 26:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on
Request   on grounds
             grounds that
                      that it violates Plaintiffs
                           it violates Plaintiff’s right
                                                   right to
                                                         to privacy.
                                                            privacy. Plaintiff further objects to the scope



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                                                   -
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of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                   of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.

REQUEST 27: All Documents, photographs, films, movies, or videotapes that depict or refer to
REOUEST
Your present condition, injuries, and/or damages.

                    REQUEST NO. 27:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on
Request   on grounds
             grounds that
                      that it violates Plaintiffs
                           it violates Plaintiff’s right
                                                   right to
                                                         to privacy.
                                                            privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                      of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.


REQUEST 28: All Documents Regarding the damages You seek in this Litigation. This request
REOUEST
                                                                                  “need to incur
includes but is not limited to Documents Regarding the costs associated with Your "need
the cost of medically necessary monitoring, diagnostic testing, clinical examinations, and


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                                                   -
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consultations for
consultations for the
                  the early detection of
                      early detection of illness,
                                         illness, disease, and disease
                                                  disease, and disease processes"
                                                                       processes” as
                                                                                  as described
                                                                                     described in
                                                                                               in
(among other places) Paragraphs 375, 379 and 385 of the Medical Monitoring CSAC.

                    REQUEST NO. 28:
AMENDED RESPONSE TO REOUEST

         Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, attorney client and attorney work product privilege, and/or because the burden or
expense of the discovery outweighs its likely benefit. Plaintiff objects to this Request to the extent
it seeks premature information because Plaintiff does notnot yet
                                                             yet know
                                                                 know "all
                                                                        “all damages"
                                                                             damages” suffered
                                                                                       suffered because
                                                                                                because
of the
of  the defect.
        defect. Some  “damages” may
                Some "damages"     may be
                                       be subject
                                           subject to
                                                   to expert
                                                      expert testimony,
                                                             testimony, such
                                                                          such as
                                                                               as the
                                                                                  the medical necessity
of monitoring, diagnostic testing, clinic examinations, and consultations, because of the defect.
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant
to any claims or defenses of any party. Plaintiff further objects to this Request to the extent it seeks
matters immune from discovery under either the attorney-client privilege and/or the work product
doctrine, or any other privilege, immunity, or protection. The damages that Plaintiff claims is the
cost of medically necessary diagnostic testing caused by Plaintiffs
                                                             Plaintiff’s and class members'
                                                                                   members’ significant
exposure to the proven hazardous Foam Toxins released by PE-PUR foam in the Recalled Devices.

                                                           Plaintiff will
       Without waiving and subject to these objections, Plaintiff    will adhere
                                                                          adhere to
                                                                                 to the
                                                                                    the Court's
                                                                                        Court’s
scheduling Order, the Federal Rules of Civil Procedure, and the Federal Rules of Evidence
regarding the disclosure of expert testimony and evidence.

       Plaintiff does not possess any responsive documents.

REQUEST 29: All Communications Regarding (i) any CPAP, BiPAP, or other mechanical
REOUEST
ventilator device manufactured or marketed by Philips; (ii) a Recalled Device; or (iii) the
Litigation.

                    REQUEST NO. 29
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, attorney client and attorney work product privilege, and/or because the burden or
expense of the discovery outweighs its likely benefit. Plaintiff further objects to the scope of this
Request to the extent it seeks information not relevant to any claims or defenses of any party.
Plaintiff further objects to this Request to the extent that information sought in this Request has
already been provided by Plaintiff. Plaintiff further objects to this Request to the extent it seeks
matters immune from discovery under either the attorney-client privilege and/or the work product
doctrine, or any other privilege, immunity, or protection. Plaintiff further objects to this Request
as duplicative
as duplicative of
                of many
                   many of
                         of Defendant's
                            Defendant’s Requests.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 30: All social media or blog posts that You have made relating to a Recalled Device
REOUEST
or any Philips entity.




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                    REQUEST NO. 30:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to the scope of this Request to the extent it seeks
information not relevant to the claims or defenses of any party. For example, this Request fails to
include language restricting the scope of this Request to the defects at issue, and instead
impermissibly seeks to discover information related to any Philips entity. Moreover, Plaintiff
objects that the burden of combing through all social media or blog posts imposes additional time
burdens on Plaintiff which substantially outweighs its likely benefit.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 31: All Documents and Communications You reviewed or consulted in the
REOUEST
preparation of any complaint in this Litigation.

RESPONSE TO REOUEST
            REQUEST NO. 31:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request on grounds that it seeks matters immune from discovery
under either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection.

REQUEST 32: All Documents and Communications with Your insurance provider or broker
REOUEST
Regarding a Recalled Device.

                    REQUEST NO. 32:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent that information sought in this Request has
already been provided by Plaintiff. Plaintiff further objects to this Request on grounds that it seeks
matters immune from discovery under HIPAA, the attorney-client privilege and/or the work
product doctrine, or any other privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 33: All Documents and Communications with Your insurance provider or broker
REOUEST
Regarding any claims associated with the injury You allege was caused by a Recalled Device.




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                    REQUEST NO. 33:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent that information sought in this Request has
already been provided by Plaintiff. Plaintiff further objects to this Request on grounds that it seeks
matters immune from discovery under HIPAA, the attorney-client privilege and/or the work
product doctrine, or any other privilege, immunity, or protection.

       Without waiving and subject to these objections, Plaintiff does not possess any
responsive documents.

REQUEST 34: If You claim to have acquired a replacement device not manufactured by Philips,
REOUEST
all Documents Regarding that replacement device, including but not limited to receipts, insurance
payments, co-payments, and explanations of benefits; and Documents sufficient to show the
manufacturer, model name, model number, serial number, purchase date, and amount paid for such
replacement device both by You and by any third-party payor.

                    REQUEST NO. 34:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request on grounds that it seeks matters immune from discovery
under the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to this Request to the extent that information
sought in this Request has already been provided by Plaintiff.

       Without waiving and subject to these objections, Plaintiff does not possess any
responsive documents.

REQUEST 35: All
REOUEST         All Documents
                    Documents Regarding
                                Regarding the
                                          the "express
                                              “express warranty"
                                                       warranty” or
                                                                 or "warranties"
                                                                    “warranties” referenced
                                                                                  referenced in
                                                                                             in
Counts IX, X and XI of the Medical Monitoring CSAC, including but not limited to a copy of such
warranty and any Communications Regarding the warranty.

                    REQUEST NO. 35:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, and cumulative. The
unnecessary difficulties of this Request are compounded by the fact that Defendant seeks materials
that are equally available to it and/or are already within its possession, custody, and/or control. As
the manufacturer of the Recalled Devices, Defendant is in the better position to obtain the
information this Request seeks. Plaintiff further objects to this Request on grounds that it seeks
matters immune from discovery under the attorney-client privilege and/or the work product
doctrine, or any other privilege, immunity, or protection.

       Without waiving and subject to these objections, Plaintiff does not possess any
responsive documents.



                                                - 17
                                                -
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REQUEST 36: All Documents required to be produced under Federal Rule 26(a)(2)(b).
REOUEST

RESPONSE TO REOUEST
            REQUEST NO. 36:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, cumulative,
and/or because the burden or expense of the discovery outweighs its likely benefit. Plaintiff further
objects to this Request as premature because it seeks information and evidence to be elicited from
and developed
and developed with
                with the
                     the assistance
                         assistance of
                                    of experts. Plaintiff will
                                       experts. Plaintiff will adhere
                                                               adhere to
                                                                      to the
                                                                         the Court's
                                                                             Court’s scheduling
                                                                                     scheduling Order,
                                                                                                Order,
the Federal Rules of Civil Procedure, and the Federal Rules of Evidence regarding the disclosure
of expert testimony and evidence.

REQUEST 37: All Documents that You intend to use as an exhibit in support of class certification
REOUEST
or at trial.


RESPONSE TO REOUEST
            REQUEST NO. 37:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, cumulative,
and/or because the burden or expense of the discovery outweighs its likely benefit. Plaintiff further
objects to this Request as it seeks a premature legal concession by calling for a legal conclusion.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to this Request as premature because it seeks
information and evidence to be elicited from and developed with the assistance of experts. Plaintiff
will adhere
will adhere to
             to the
                the Court's
                    Court’s scheduling
                             scheduling Order,
                                        Order, the
                                                the Federal
                                                    Federal Rules
                                                             Rules of
                                                                   of Civil
                                                                      Civil Procedure,
                                                                            Procedure, and
                                                                                       and the Federal
Rules of Evidence regarding the disclosure of expert testimony and evidence.

REQUEST 38: Any agreement between You and Your attorneys concerning the Litigation.
REOUEST

RESPONSE TO REOUEST
            REQUEST NO. 38:

         Plaintiff objects to this Request as unduly burdensome, overbroad, disproportionate, and
not relevant
not           to any
     relevant to any parties'
                     parties’ claims
                              claims or
                                     or defenses.
                                        defenses. Plaintiff
                                                  Plaintiff further
                                                            further objects
                                                                    objects to
                                                                            to this
                                                                               this Request
                                                                                    Request to
                                                                                            to the
                                                                                               the extent
                                                                                                   extent
it seeks matters immune from discovery under either the attorney-client privilege and/or the work
product doctrine, or any other privilege, immunity, or protection.

REQUEST 39: Any attorney advertisements appearing on television, the Internet (including
REOUEST
social media such as Facebook or Twitter), received by mail or other delivery service, or
information communicated to you in any other medium, You reviewed which solicited your
participation in the Litigation, including advertisements by the attorneys You retained.

                    REQUEST NO. 39:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,



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                                                  -
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cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. The broad scope and unnecessary difficulties of this Request are
compounded by the fact that Defendant seeks materials that are equally available to it.

       Without waiving and subject to these objections, Plaintiff does not possess any
responsive documents.


REQUEST 40: All Documents Regarding any Medical Monitoring in which You have
REOUEST
participated in the last five years, including documents sufficient to show the frequency of such
Medical Monitoring, the nature of the Medical Monitoring, and the condition(s) and/or diagnosed
illness for which You are or were monitored.

                    REQUEST NO. 40:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on
Request   on grounds
             grounds that
                      that it violates Plaintiffs
                           it violates Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare of    of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.


 Dated: August 30, 2023

 /s/ Sandra L. Duggan
 /5/                                                            K. Iverson
                                                      /s/ Kelly K
 Sandra L. Duggan, Esquire                            Kelly K. Iverson, Esquire
 LEVIN SEDRAN & BERMAN LLP                            LYNCH CARPENTER, LLP
                                                                           th
 510 Walnut Street, Suite 500                         1133 Penn Avenue, 55th  Floor



                                                   - 19
                                                   -
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Philadelphia, PA 19106                        Pittsburgh, PA 15222
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/s/ Christopher A. Seeger
Is/                                           /s/ Steven A. Schwartz
Christopher A. Seeger, Esquire                Steven A. Schwartz, Esquire
SEEGER WEISS LLP                              CHIMICLES SCHWARTZ 'MINER   KRINER &
                      th
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Ridgefield Park, NJ 07660                     361 West Lancaster Avenue
(973) 639-9100 (phone)                        One Haverford Centre
cseeger@seegerweiss.com                       Haverford, PA 19041
                                              (610) 642-8500 (phone)
                                              steveschwartz@chimicles.com


                            Counselfor
                                   for Plaintiffs'
                                       Plaintiffs and the Class




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                                           -
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on August 30, 2023, I served a true and correct copy of PLAINTIFF

HUGO BARRAGAN'S
HUGO BARRAGAN’S AMENDED RESPONSES
                        RESPONSES AND
                                  AND OBJECTIONS
                                      OBJECTIONS TO PHILIPS RS'
                                                 TO PHILIPS RS’

FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO MEDICAL MONITORING

PLAINTIFFS via electronic mail on the following recipients:

                                    John P. Lavelle, Jr.
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                              Philadelphia, PA 19103-2921
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                             john.lavelle@morganlewis.com

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                                        for Defendant Philips
                                  RS North America, LLC
                                  RS

                                   Michael H. Steinberg
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                         Counsel for
                                 for Defendants Koninklijke Philips
                      NV, Philips North America LLC, Philips Holding
                USA Inc., and Philips RS
                                      RS North America Holding Corporation
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                          Eric Scott Thompson
                      FRANKLIN & PROKOPIK
                     500 Creek View Road, Suite 502
                           Newark, DE 19711
                             (302) 594-9780
                       ethompson@fandpnet.com

                  Counsel for
                          for Polymer Technologies, Inc.


                                        /s/ Kelly K
                                        /s/       K. Iverson
                                        Kelly K. Iverson
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                   EXHIBIT B
                   EXHIBIT B
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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      PLAINTIFF QUINTON GOODALL’S
      PLAINTIFF QUINTON GOODALL'S SECOND    AMENDED RESPONSES
                                     SECOND AMENDED  RESPONSES AND
                                                               AND
        OBJECTIONS TO
        OBJECTIONS  TO PHILIPS RS’ FIRST
                       PHILIPS RS'       REQUEST FOR
                                   FIRST REQUEST FOR PRODUCTION
                                                     PRODUCTION
            OF DOCUMENTS
           OF  DOCUMENTS TO
                          TO MEDICAL
                             MEDICAL MONITORING
                                        MONITORING PLAINTIFFS
                                                   PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,  model number,
                                                          name, model            and serial
                                                                       number, and   serial number
                                                                                            number
of each
of      and every
   each and every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,  and the
                                                                                    it, and the date
                                                                                                date
on which
on which You
          You no  longer had
               no longer     possession of
                         had possession  of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Quinton
         Plaintiff Quinton Goodall
                             Goodall ("Plaintiff')
                                        (“Plaintiff”) objects
                                                      objects to
                                                               to this
                                                                  this Request
                                                                       Request onon grounds
                                                                                    grounds that
                                                                                              that it is vague,
                                                                                                   it is vague,
unduly burdensome,
unduly   burdensome, overbroad,       irrelevant, cumulative,
                        overbroad, irrelevant,                   and/or because
                                                   cumulative, and/or    because the
                                                                                   the burden
                                                                                       burden oror expense
                                                                                                   expense of of
the discovery
the  discovery outweighs
                outweighs its    likely benefit.
                             its likely  benefit. Plaintiff
                                                  Plaintiff further
                                                            further objects
                                                                    objects to
                                                                             to this
                                                                                this Request
                                                                                     Request toto the
                                                                                                  the extent
                                                                                                       extent it
                                                                                                               it
seeks matters
seeks   matters immune
                immune fromfrom discovery
                                  discovery under
                                              under either   the attorney-client
                                                     either the  attorney-client privilege
                                                                                  privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                           work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, or or protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further  objects to
                                                                                       further objects    to the
                                                                                                             the
term "Acquired"
term  “Acquired” because
                    because as as defined
                                  defined it
                                           it seeks
                                              seeks to
                                                     to obtain
                                                        obtain information
                                                                information not
                                                                              not relevant
                                                                                   relevant to
                                                                                            to any
                                                                                                any claims
                                                                                                      claims or
                                                                                                              or
defenses of
defenses   of any
              any party.
                   party. Plaintiff
                          Plaintiff further
                                    further objects
                                             objects on
                                                      on grounds
                                                         grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                      seeks information
                                                                                             information that
                                                                                                            that
is already
is already in
            in Defendant's
               Defendant’s possession,
                              possession, custody,
                                            custody, and/or
                                                      and/or control.
                                                              control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                        any other    privilege,
                                                                                              other privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REOUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                         Communications Regarding
                                                                           Regarding any
                                                                                       any payments
                                                                                            payments or
                                                                                                      or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including butbut not
                                                          not limited to payments
                                                              limited to payments made
                                                                                   made by
                                                                                         by You
                                                                                            You and
                                                                                                and any
                                                                                                    any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                            entity, insurer,
                                                                    insurer, health
                                                                             health savings
                                                                                    savings account,
                                                                                             account, or
                                                                                                      or
flexible spending account.
flexible spending account.
                                                -- 11 --
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information already
information   already in
                       in the
                          the possession,
                               possession, custody,
                                           custody, and/or
                                                    and/or control
                                                             control of
                                                                      of Defendant.
                                                                         Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further objects to this Request   to the extent  it seeks   matters immune     from  discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                                product doctrine,
                                                                          doctrine, oror any
                                                                                          any other   privilege,
                                                                                               other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                             irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                     its likely benefit.
                                                                                         likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                 from discovery
                                                                                       discovery under
                                                                                                  under


                                                     -2-
                                                     -2
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either the
either the attorney-client
           attorney-client privilege
                             privilege and/or
                                        and/or the
                                                the work
                                                     work product
                                                            product doctrine,
                                                                     doctrine, oror any
                                                                                    any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,  or protection.
              protection. Plaintiff
                          Plaintiff further
                                     further objects
                                             objects to
                                                     to the
                                                        the scope
                                                            scope of
                                                                   of this
                                                                      this Request
                                                                           Request toto the
                                                                                        the extent
                                                                                            extent it
                                                                                                   it seeks
                                                                                                      seeks
information not
information  not relevant
                 relevant to
                           to any
                              any claims
                                    claims or
                                           or defenses
                                               defenses of
                                                         of any
                                                            any party.
                                                                 party. Plaintiff
                                                                         Plaintiff further
                                                                                   further objects
                                                                                            objects to
                                                                                                    to this
                                                                                                        this
Request on
Request  on grounds
            grounds that
                     that it
                          it seeks
                             seeks information
                                    information already
                                                 already in
                                                          in the
                                                             the possession,
                                                                 possession, custody,
                                                                              custody, and/or
                                                                                         and/or control
                                                                                                control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REOUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative,      and/or    because      the  burden    or  expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.               its  likely  benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since       Plaintiff isis not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REOUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.




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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                 Request areare compounded
                                                                                 compounded by   by the
                                                                                                     the fact   that
                                                                                                          fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its  possession, custody,
                                                                       its possession,             and/or control
                                                                                        custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                       responsive documents
                                                                                    documents to  to this
                                                                                                     this Request
                                                                                                          Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                 scope ofof this
                                                                            this Request
                                                                                 Request toto the
                                                                                              the extent
                                                                                                   extent it
                                                                                                           it seeks
                                                                                                              seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses
                                        claims or  defenses of of any
                                                                  any party.
                                                                       party. Plaintiff
                                                                               Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                 discovery under
                                                                              under either   the attorney-client
                                                                                     either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                   privilege, immunity,
                                                                               immunity, or or protection.
                                                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative,      and/or    because      the  burden    or  expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.               its  likely  benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since       Plaintiff isis not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REQUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your


                                                               -4-
                                                               -4
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Recalled Device
Recalled Device from
                from Care
                      Care Orchestrator,
                           Orchestrator, DreamMapper,
                                         DreamMapper, and/or
                                                        and/or EncoreAnywhere,    which we
                                                                EncoreAnywhere, which   we will
                                                                                           will
obtain upon
obtain      your signing
       upon your signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims or
                                                                                                     or defenses
                                                                                                         defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REQUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought inin this
                                                                               this Request
                                                                                     Request is    already in
                                                                                                is already      the
                                                                                                             in the
possession,    custody,  and/or   control   of Defendant.    Plaintiff  further  objects   to
possession, custody, and/or control of Defendant. Plaintiff further objects to this Request on this   Request    on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” is
                                          is undefined
                                              undefined and
                                                          and that
                                                                that it
                                                                      it is
                                                                         is not   apparent to
                                                                            not apparent      to Plaintiff
                                                                                                  Plaintiff what
                                                                                                              what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                 seeks in  this Request
                                                                                        in this   Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects   to this
                                                                          objects to  this Request
                                                                                           Request on on grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                    custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff is
                                                                    is no
                                                                       no longer
                                                                          longer in possession of
                                                                                 in possession of
the SD
the    card that
    SD card that was
                 was within
                     within his
                            his Recalled
                                Recalled Device.
                                          Device.


REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request asas vague,
                                                   vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative,    and/or because   the burden  or  expense  of the discovery  outweighs     its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.     benefit.
Plaintiff further
Plaintiff          objects to
           further objects  to the
                               the scope
                                    scope of
                                           of this
                                              this Request
                                                    Request on
                                                             on grounds
                                                                 grounds that
                                                                          that it
                                                                                it seeks
                                                                                   seeks information
                                                                                           information not
                                                                                                        not
relevant to
relevant  to any
             any claims
                  claims or
                         or defenses
                             defenses of
                                       of any
                                          any party.
                                              party. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                       objects that
                                                                               that the
                                                                                     the term
                                                                                         term "condition"
                                                                                                “condition”


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is undefined.
is             Plaintiff further
   undefined. Plaintiff          objects to
                         further objects to this
                                             this Request
                                                  Request to
                                                          to the
                                                             the extent
                                                                 extent that
                                                                         that the
                                                                              the burden
                                                                                  burden or
                                                                                          or expense
                                                                                             expense of
                                                                                                      of the
                                                                                                         the
requested discovery
requested                outweighs its
            discovery outweighs      its likely   benefit, and/or
                                          likely benefit,  and/or that
                                                                    that the
                                                                          the information
                                                                               information is    already in
                                                                                              is already  in
Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                      and/or control.
                                               control. Plaintiff
                                                        Plaintiff further
                                                                  further objects
                                                                           objects to
                                                                                    to this
                                                                                       this Request
                                                                                            Request toto the
                                                                                                         the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                 provided information
                                            information responsive
                                                          responsive toto this
                                                                           this Request.
                                                                                Request. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                   extent it
                                           it seeks
                                              seeks matters
                                                     matters immune
                                                              immune from
                                                                        from discovery
                                                                               discovery under
                                                                                           under either
                                                                                                  either the
                                                                                                         the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                    the work
                                        work product
                                                product doctrine,
                                                        doctrine, or
                                                                   or any
                                                                      any other
                                                                            other privilege,
                                                                                   privilege, immunity,
                                                                                              immunity, oror
protection.
protection.
        Without waiving
        Without   waiving and
                            and subject
                                 subject to
                                         to these
                                            these objections,
                                                   objections, Plaintiff
                                                               Plaintiff does
                                                                         does not
                                                                               not possess
                                                                                   possess any
                                                                                            any responsive
                                                                                                 responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.



RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but  not limited to any photos or videos of the Recalled  Device   and any other evidence
including but not limited to any photos or videos of the Recalled Device and any other evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:


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                                                        -7
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         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                         Request as   as vague,
                                                          vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                               overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden or  or expense
                                                       expense of  of the
                                                                      the discovery
                                                                           discovery outweighs
                                                                                        outweighs itsits likely    benefit.
                                                                                                         likely benefit.
Plaintiff further
Plaintiff  further objects
                   objects toto the
                                 the extent
                                     extent this
                                               this Request
                                                     Request seeks
                                                                seeks aa concession
                                                                          concession that
                                                                                        that evidence
                                                                                             evidence of of degradation
                                                                                                             degradation
can be
can  be seen
        seen byby the
                   the naked
                        naked eye.
                                 eye. Plaintiff
                                       Plaintiff further
                                                    further objects
                                                               objects to
                                                                        to this
                                                                            this Request
                                                                                 Request onon grounds
                                                                                                grounds that
                                                                                                           that the
                                                                                                                  the term
                                                                                                                       term
“particulate” and
"particulate"    and "dark
                      “dark matter"
                               matter” areare undefined.
                                                undefined. Plaintiff
                                                                Plaintiff further   objects to
                                                                           further objects    to the
                                                                                                  the use
                                                                                                       use ofof the
                                                                                                                 the term
                                                                                                                       term
“Regarding,” in
"Regarding,"    in this
                   this Request
                        Request on  on grounds
                                        grounds that
                                                   that it
                                                         it is
                                                            is overbroad,
                                                               overbroad, vague,
                                                                             vague, ambiguous,
                                                                                     ambiguous, and and impermissibly
                                                                                                         impermissibly
seeks information
seeks  information notnot relevant
                          relevant to  to any
                                           any claims
                                                 claims oror defenses
                                                               defenses ofof any
                                                                              any party.
                                                                                  party. Plaintiff
                                                                                          Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto
this Request
this Request on on grounds
                    grounds that
                               that it
                                     it is
                                        is duplicative
                                            duplicative of  of Request
                                                                Request No.No. 11.
                                                                                11. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                         objects to to this
                                                                                                                        this
Request to
Request    to the
              the extent
                  extent that
                          that the
                                 the burden
                                      burden or  or expense
                                                     expense of  of the
                                                                    the requested
                                                                         requested discovery
                                                                                     discovery outweighs
                                                                                                  outweighs its  its likely
                                                                                                                     likely
benefit, and/or
benefit,  and/or that
                  that the
                       the information
                            information is   is already
                                                already in in Defendant's
                                                               Defendant’s possession,
                                                                               possession, custody,
                                                                                             custody, and/or
                                                                                                        and/or control.
                                                                                                                   control.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                        Request to  to the
                                                        the extent
                                                             extent Plaintiff
                                                                      Plaintiff has
                                                                                 has already
                                                                                      already provided
                                                                                                provided information
                                                                                                             information
responsive to
responsive    to this
                 this Request.
                      Request. Plaintiff
                                   Plaintiff further
                                               further objects
                                                         objects toto this
                                                                       this Request
                                                                             Request toto the
                                                                                          the extent
                                                                                               extent it  seeks matters
                                                                                                       it seeks    matters
immune from
immune    from discovery
                 discovery under
                             under either
                                      either the
                                              the attorney-client
                                                   attorney-client privilege
                                                                       privilege and/or
                                                                                  and/or the
                                                                                          the work
                                                                                               work product
                                                                                                     product doctrine,
                                                                                                                 doctrine,
or any
or any other
        other privilege,
               privilege, immunity,
                           immunity, or    or protection.
                                              protection. Plaintiff
                                                              Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent this
                                                                                                            this Request
                                                                                                                   Request
seeks premature
seeks premature expert
                    expert testimony.
                            testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REQUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



                                                           -8
                                                            8-
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REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request as as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative,   and/or  because   the  burden   or  expense    of the  discovery   outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.its likely  benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties ofof this
                                                           this Request
                                                                Request are are compounded
                                                                                compounded by    by the
                                                                                                     the fact  that
                                                                                                          fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                 its possession,
                                                     possession, custody,
                                                                   custody, and/or
                                                                               and/or control.
                                                                                      control. Plaintiff
                                                                                                 Plaintiff further
                                                                                                            further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in   in this
                                                      this Request
                                                           Request on on grounds
                                                                          grounds that
                                                                                   that it
                                                                                        it is overbroad, vague,
                                                                                           is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information not not relevant
                                                                relevant to to any
                                                                               any claims
                                                                                    claims oror defenses
                                                                                                 defenses ofof any
                                                                                                               any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request to to the
                                                        the extent
                                                            extent it  seeks matters
                                                                    it seeks  matters immune
                                                                                       immune from      discovery
                                                                                                  from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or thethe work
                                                             work product
                                                                   product doctrine,
                                                                              doctrine, or
                                                                                        or any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                        privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 19:
REQUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                           other CPAP,
                                                                                 CPAP, BiPAP
                                                                                        BiPAP or
                                                                                              or
ventilator device that You used prior to, or after, Your Acquisition of a Recalled Device.
ventilator device that You used prior to, or after, Your Acquisition of a Recalled Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular  injury  or other  physiological changes” You  allege  You  have  suffered  in Paragraphs
"subcellular injury or other physiological changes" You allege You have suffered in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                         Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff objects to
                          to this
                             this Request
                                  Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                           burdensome, overbroad,
                                                                       overbroad, irrelevant,
                                                                                  irrelevant,


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cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                             burden or or expense
                                                           expense of  of the
                                                                           the discovery
                                                                                 discovery outweighs
                                                                                               outweighs its  its likely  benefit.
                                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                          Request to  to the
                                                         the extent
                                                              extent it   seeks matters
                                                                       it seeks   matters immune
                                                                                             immune from from discovery
                                                                                                                discovery under
                                                                                                                            under
either the
either   the attorney-client
              attorney-client privilege
                                    privilege and/orand/or the
                                                             the work
                                                                   work product
                                                                            product doctrine,
                                                                                        doctrine, or or any
                                                                                                          any other
                                                                                                                other privilege,
                                                                                                                        privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                    physician-patient privilege.
                                                                            privilege. Plaintiff
                                                                                          Plaintiff further
                                                                                                       further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                   violates Plaintiffs
                                                 Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                         privacy. Plaintiff
                                                                                      Plaintiff further
                                                                                                 further objects
                                                                                                           objects toto the
                                                                                                                        the scope
                                                                                                                            scope
of this
of  this Request
          Request to to the
                        the extent
                             extent it   it seeks
                                            seeks information
                                                     information not  not relevant
                                                                            relevant to to any
                                                                                            any claims
                                                                                                  claims or or defenses
                                                                                                                defenses ofof any
                                                                                                                               any
party. A
party.  A claim
           claim for
                   for medical
                        medical monitoring
                                    monitoring costs  costs does
                                                             does not
                                                                    not put
                                                                          put present
                                                                               present physical
                                                                                          physical condition
                                                                                                      condition at  at issue.  See
                                                                                                                       issue. See
e.g. Bower    v. Westinghouse        Elec.    Corp.,    522  S.E.2d    424,430     (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the       (citations   omitted)   (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in   in risk
                                                  risk that
                                                        that requires
                                                              requires oneone toto incur
                                                                                    incur the
                                                                                           the cost
                                                                                                 cost of
                                                                                                       of monitoring);
                                                                                                           monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                             714, 716716 (Mo.
                                                          (Mo. 2007);
                                                                  2007); Exxon
                                                                           Exxon Mobil
                                                                                     Mobil Corp.
                                                                                              Corp. v.   Albright, 71
                                                                                                     v. Albright,        A.3d 30,
                                                                                                                      71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.     2013) (exposure
                       (exposure itselfitself and
                                                and the
                                                      the need
                                                           need for    medical testing
                                                                  for medical     testing is is the
                                                                                                the compensable
                                                                                                    compensable injury injury in
                                                                                                                               in aa
medical monitoring
medical    monitoring claim);
                         claim); Sadler
                                     Sadler v.      PacifiCare of
                                                 v. PacifiCare     of Nev.,
                                                                      Nev., Inc.,    340 P.3d,
                                                                              Inc., 340    P.3d, 264,
                                                                                                  264, 1270-72
                                                                                                          1270-72 (Nev.
                                                                                                                     (Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry   is whether
              whether thethe negligent
                              negligent act   act ofof the
                                                       the defendant
                                                            defendant caused
                                                                           caused thethe plaintiff
                                                                                          plaintiff toto have
                                                                                                          have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to undergo monitoring);
               monitoring); Potter
                                 Potter v.       Firestone Tire
                                             v. Firestone      Tire && Rubber
                                                                         Rubber Co.,      863 P.2d
                                                                                     Co., 863    P.2d 795,
                                                                                                        795, 823     (Cal. 1993).
                                                                                                               823 (Cal.   1993).
Plaintiff has
Plaintiff  has not
                not waived
                     waived thethe physician-patient
                                     physician-patient privilege
                                                               privilege as as to
                                                                               to any
                                                                                  any medical
                                                                                         medical condition
                                                                                                   condition for      his medical
                                                                                                                 for his  medical
monitoring claims
monitoring     claims inin this
                            this case
                                  case since
                                           since Plaintiff
                                                    Plaintiff isis not
                                                                   not claiming
                                                                        claiming present
                                                                                     present physical
                                                                                                physical injury
                                                                                                            injury inin this
                                                                                                                        this case.
                                                                                                                             case.
The   injury  that  Plaintiff   claims      is  the  significant    exposure,     increased     risk
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical   of  disease    and  medical
necessity of
necessity    of diagnostic
                 diagnostic testing
                               testing and  and thethe economic
                                                        economic loss        associated therewith.
                                                                      loss associated       therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and class
                                                                                                                             class
members base
members     base their
                  their claims
                         claims onlyonly on on their
                                                their significant
                                                       significant exposure
                                                                      exposure to  to the
                                                                                       the proven
                                                                                           proven hazardous
                                                                                                     hazardous FoamFoam Toxins
                                                                                                                           Toxins
released by
released   by PE-PUR
               PE-PUR foam foam in  in the
                                        the Recalled
                                              Recalled Devices.
                                                          Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

          Plaintiff does
          Plaintiff does not
                         not possess
                             possess any
                                     any responsive
                                         responsive documents.
                                                    documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of
                                                             of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                 outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it
                                                             it seeks
                                                                seeks matters
                                                                       matters immune
                                                                               immune fromfrom discovery
                                                                                                 discovery under
                                                                                                             under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                  privilege. Plaintiff
                                                                             Plaintiff further
                                                                                        further objects
                                                                                                  objects toto this
                                                                                                               this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                      right to
                                                            to privacy.
                                                                privacy. Plaintiff
                                                                         Plaintiff further
                                                                                   further objects
                                                                                            objects toto the
                                                                                                         the scope
                                                                                                             scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not
                                                            not relevant
                                                                  relevant to
                                                                           to any
                                                                              any claims
                                                                                    claims oror defenses
                                                                                                 defenses ofof any
                                                                                                               any



                                                               -- 10
                                                                  10
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party. A
party.  A claim
           claim for
                  for medical
                      medical monitoring
                                 monitoring costscosts does
                                                         does not
                                                               not put
                                                                    put present
                                                                        present physical
                                                                                 physical condition
                                                                                             condition at
                                                                                                        at issue.
                                                                                                           issue. See
                                                                                                                   See
e.g. Bower
e.g.  Bower v.v. Westinghouse            Corp., 522
                                  Elec. Corp.,
                 Westinghouse Elec.                522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430              1999) (citations
                                                                            (W.Va. 1999)                omitted) (the
                                                                                             (citations omitted)   (the
injury in
injury  in question
           question isis the
                         the increase
                             increase in in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                        to incur  the cost
                                                                            incur the  cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                               Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220              712, 714,
                         S.W.3d 712,      714, 716
                                                 716 (Mo.      2007); Exxon
                                                        (Mo. 2007);    Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.    Albright, 71
                                                                                                v. Albright,      A.3d
                                                                                                              71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
             (Md. 2013)    (exposure itself     and the
                                        itself and     the need
                                                           need for
                                                                  for medical
                                                                      medical testing
                                                                                testing is
                                                                                        is the
                                                                                            the compensable
                                                                                                 compensable injury
                                                                                                                injury
in aa medical
in    medical monitoring
                monitoring claim);
                              claim); Sadler
                                        Sadler v.     PacifiCare of
                                                  v. PacifiCare     of Nev.,  Inc., 340
                                                                       Nev., Inc.,       P.3d, 264,
                                                                                    340 P.3d,    264, 1270-72
                                                                                                      1270-72 (Nev.
                                                                                                                 (Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether   the negligent
                                    negligent act act of
                                                       of the
                                                          the defendant
                                                               defendant caused
                                                                           caused the
                                                                                    the plaintiff
                                                                                        plaintiff to
                                                                                                   to have
                                                                                                      have aa medical
                                                                                                              medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                      Potter v.    Firestone Tire
                                                v. Firestone     Tire &             Co., 863
                                                                          Rubber Co.,
                                                                       & Rubber                 P.2d 795,
                                                                                         863 P.2d     795, 823
                                                                                                            823 (Cal.
                                                                                                                  (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not   waived the
                        not waived    the physician-patient
                                            physician-patient privilege
                                                                   privilege as
                                                                              as to
                                                                                 to any
                                                                                     any medical
                                                                                         medical condition
                                                                                                    condition for   his
                                                                                                               for his
medical monitoring
medical   monitoring claims
                        claims in   this case
                                 in this        since Plaintiff
                                          case since     Plaintiff is
                                                                   is not claiming present
                                                                      not claiming   present physical
                                                                                              physical injury
                                                                                                         injury in this
                                                                                                                in this
case. The
case.        injury that
       The injury    that Plaintiff
                           Plaintiff claims
                                      claims is  is the
                                                     the significant
                                                          significant exposure,
                                                                       exposure, increased
                                                                                    increased risk
                                                                                                 risk of
                                                                                                      of disease
                                                                                                          disease and
                                                                                                                   and
medical necessity
medical   necessity ofof diagnostic
                          diagnostic testing
                                       testing andand the
                                                        the economic
                                                             economic loss    associated therewith.
                                                                         loss associated   therewith. Plaintiff
                                                                                                         Plaintiff and
                                                                                                                   and
class members
class  members base
                  base their
                        their claims
                               claims only
                                        only onon their
                                                    their significant
                                                           significant exposure
                                                                        exposure toto the
                                                                                      the proven
                                                                                           proven hazardous
                                                                                                    hazardous Foam
                                                                                                                 Foam
Toxins   released by
Toxins released    by PE-PUR
                       PE-PUR foam foam in in the
                                              the Recalled
                                                   Recalled Devices.
                                                                Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents andand Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request  includes but
                                              but is
                                                   is not
                                                      not limited
                                                          limited to
                                                                   to any
                                                                      any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,      and other
                                                                                 endoscopies, and    other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for
                                 for diagnosis  and treatment."
                                     diagnosis and   treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                           Request as  as vague,
                                                            vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the the burden
                                          burden or or expense
                                                        expense of of the
                                                                       the discovery
                                                                            discovery outweighs
                                                                                         outweighs itsits likely   benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
           further objects    to this
                                 this Request
                                        Request to to the
                                                      the extent
                                                           extent it
                                                                   it seeks
                                                                      seeks matters
                                                                             matters immune
                                                                                       immune from
                                                                                                 from discovery
                                                                                                        discovery under
                                                                                                                      under
either the
either  the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or thethe work
                                                                work product
                                                                       product doctrine,
                                                                                  doctrine, oror any
                                                                                                  any other     privilege,
                                                                                                        other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects to to this
                                                                                                                        this
Request on
Request    on grounds
               grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                              Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                      scope
of this
of  this Request
         Request to to the
                        the extent
                             extent it it seeks
                                          seeks information
                                                  information not not relevant
                                                                        relevant to
                                                                                  to any
                                                                                      any claims
                                                                                           claims oror defenses
                                                                                                        defenses of of any
                                                                                                                        any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                 not put
                                                                      put present
                                                                           present physical
                                                                                    physical condition
                                                                                               condition at at issue.
                                                                                                               issue. See
                                                                                                                        See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec. Elec. Corp.,     522 S.E.2d
                                            Corp., 522             424,430 (W.Va.
                                                          S.E.2d 424,430      (W.Va. 1999)
                                                                                        1999) (citations    omitted) (the
                                                                                               (citations omitted)      (the
injury in
injury  in question
            question isis the
                          the increase
                               increase in  in risk
                                               risk that
                                                     that requires
                                                           requires one
                                                                      one to
                                                                           to incur
                                                                              incur the
                                                                                     the cost
                                                                                          cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220     S.W.3d 712, 712, 714,
                                             714, 716    (Mo. 2007);
                                                   716 (Mo.      2007); Exxon
                                                                          Exxon Mobil
                                                                                  Mobil Corp.
                                                                                          Corp. v.   Albright, 71
                                                                                                  v. Albright,    71 A.3d
                                                                                                                       A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.    2013) (exposure
                            (exposure itself
                                           itself and
                                                  and the
                                                        the need
                                                              need for   medical testing
                                                                    for medical   testing is
                                                                                           is the
                                                                                              the compensable
                                                                                                   compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                               claim); Sadler
                                           Sadler v.   PacifiCare of
                                                    v. PacifiCare     of Nev.,
                                                                          Nev., Inc.,  340 P.3d,
                                                                                Inc., 340   P.3d, 264,
                                                                                                   264, 1270-72
                                                                                                         1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the the negligent
                                       negligent actact of
                                                        of the
                                                             the defendant
                                                                 defendant caused
                                                                              caused the
                                                                                       the plaintiff
                                                                                           plaintiff to
                                                                                                     to have
                                                                                                         have aa medical
                                                                                                                  medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); PotterPotter v.   Firestone Tire
                                                  v. Firestone     Tire && Rubber      Co., 863
                                                                             Rubber Co.,          P.2d 795,
                                                                                            863 P.2d            823 (Cal.
                                                                                                         795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                               waived the the physician-patient
                                               physician-patient privilege
                                                                      privilege as
                                                                                 as to
                                                                                    to any
                                                                                        any medical
                                                                                            medical condition
                                                                                                       condition forfor his
                                                                                                                         his
medical monitoring
medical    monitoring claims
                         claims in     this case
                                   in this        since Plaintiff
                                             case since   Plaintiff is
                                                                     is not claiming present
                                                                        not claiming    present physical
                                                                                                 physical injury
                                                                                                            injury in   this
                                                                                                                     in this



                                                           - 11
                                                           -11
      Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 44 of 654




case. The
case. The injury that Plaintiff
          injury that Plaintiff claims
                                claims isis the
                                             the significant
                                                 significant exposure,
                                                              exposure, increased
                                                                         increased risk
                                                                                    risk of
                                                                                         of disease
                                                                                             disease and
                                                                                                      and
medical necessity
medical necessity of
                  of diagnostic  testing and
                     diagnostic testing   and the
                                               the economic
                                                    economic loss   associated therewith.
                                                               loss associated therewith. Plaintiff
                                                                                            Plaintiff and
                                                                                                      and
class members
class members base
               base their
                    their claims
                          claims only
                                  only on
                                        on their
                                            their significant
                                                  significant exposure
                                                              exposure to
                                                                        to the
                                                                           the proven
                                                                               proven hazardous
                                                                                       hazardous Foam
                                                                                                   Foam
Toxins released by
Toxins released by PE-PUR
                   PE-PUR foam     in the
                             foam in   the Recalled
                                           Recalled Devices.
                                                      Devices.

REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related to the "subcellular injury or other physiological changes" You allege in
Provider   related to  the “subcellular injury  or other physiological  changes”  You  allege  in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 24
                                24

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,



                                                              -- 12
                                                                 12
      Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 45 of 654




immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                  physician-patient privilege.
                                                                       privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                 further objects
                                                                                                          objects to
                                                                                                                   to this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                               Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                            further objects
                                                                                                     objects to
                                                                                                             to the
                                                                                                                the scope
                                                                                                                    scope
of this
of this Request
         Request to to the
                       the extent
                            extent it  it seeks
                                          seeks information
                                                   information not not relevant
                                                                       relevant toto any
                                                                                      any claims
                                                                                             claims or
                                                                                                     or defenses   of any
                                                                                                         defenses of   any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs costs does
                                                           does not
                                                                 not put
                                                                      put present
                                                                          present physical
                                                                                     physical condition
                                                                                                 condition at
                                                                                                            at issue.
                                                                                                               issue. See
                                                                                                                       See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.          Corp., 522
                                    Elec. Corp.,      522 S.E.2d    424,430 (W.Va.
                                                           S.E.2d 424,430                1999) (citations
                                                                              (W.Va. 1999)                  omitted) (the
                                                                                                 (citations omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in  in risk
                                                risk that
                                                      that requires
                                                           requires one
                                                                      one to
                                                                           to incur   the cost
                                                                               incur the    cost of
                                                                                                 of monitoring);
                                                                                                     monitoring); Meyer
                                                                                                                   Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                           714, 716     (Mo. 2007);
                                                   716 (Mo.            Exxon Mobil
                                                               2007); Exxon     Mobil Corp.
                                                                                         Corp. v.  Albright, 71
                                                                                                v. Albright,     A.3d 30,
                                                                                                              71 A.3d   30,
75-77  (Md.   2013)   (exposure      itself   and   the  need  for  medical  testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable   is the compensable     injury
                                                                                                               injury  in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler            PacifiCare ofNev.,
                                               v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                         Inc., 340   P.3d, 264,
                                                                                             264, 1270-72
                                                                                                   1270-72 (Nev.
                                                                                                             (Nev. 2014)
                                                                                                                    2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act  act ofof the
                                                     the defendant
                                                          defendant caused
                                                                      caused thethe plaintiff
                                                                                     plaintiff to
                                                                                                to have
                                                                                                    have aa medical
                                                                                                            medical need
                                                                                                                      need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.      Firestone Tire
                                           v. Firestone     Tire && Rubber
                                                                     Rubber Co.,Co., 863    P.2d 795,
                                                                                     863 P.2d     795, 823
                                                                                                        823 (Cal.  1993).
                                                                                                             (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                            privilege as
                                                                       as to
                                                                          to any
                                                                             any medical
                                                                                   medical condition
                                                                                              condition for   his medical
                                                                                                          for his medical
monitoring claims
monitoring    claims inin this
                           this case     since Plaintiff
                                 case since       Plaintiff is
                                                             is not
                                                                not claiming    present physical
                                                                    claiming present       physical injury
                                                                                                      injury in this case.
                                                                                                             in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is      the significant
                                          is the   significant exposure,
                                                                 exposure, increased
                                                                             increased risk      of disease
                                                                                           risk of           and medical
                                                                                                    disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing         and thethe economic
                                                      economic loss     associated therewith.
                                                                   loss associated     therewith. Plaintiff
                                                                                                      Plaintiff and
                                                                                                                and class
                                                                                                                     class
members base
members    base their
                 their claims
                        claims onlyonly onon their
                                              their significant
                                                     significant exposure
                                                                  exposure to to the
                                                                                 the proven
                                                                                      proven hazardous
                                                                                                hazardous Foam
                                                                                                            Foam Toxins
                                                                                                                   Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                      the Recalled
                                            Recalled Devices.
                                                        Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.


REQUEST 25:
REQUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                           Request as  as vague,
                                                           vague, unduly
                                                                     unduly burdensome,
                                                                                burdensome, overbroad,
                                                                                                  overbroad, irrelevant,
                                                                                                                  irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden or  or expense
                                                        expense of of the
                                                                       the discovery
                                                                             discovery outweighs
                                                                                         outweighs its   its likely  benefit.
                                                                                                             likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request to  to the
                                                      the extent
                                                          extent it   seeks matters
                                                                   it seeks   matters immune
                                                                                       immune from from discovery
                                                                                                           discovery under
                                                                                                                       under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                                 and/or the
                                                         the work
                                                               work product
                                                                        product doctrine,
                                                                                  doctrine, or or any
                                                                                                    any other
                                                                                                           other privilege,
                                                                                                                   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                                 physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                 further objects
                                                                                                            objects toto this
                                                                                                                          this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                              Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects
                                                                                                      objects toto the
                                                                                                                   the scope
                                                                                                                       scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                  information not not relevant
                                                                        relevant toto any
                                                                                      any claims
                                                                                            claims or or defenses
                                                                                                           defenses ofof any
                                                                                                                          any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                      put present
                                                                           present physical
                                                                                     physical condition
                                                                                                condition at   at issue.
                                                                                                                  issue. See
                                                                                                                          See
e.g. Bower   v. Westinghouse       Elec.   Corp.,    522  S.E.2d   424,430     (W.Va.   1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the (citations    omitted)   (the
injury in
injury  in question  is the
           question is   the increase
                              increase in  in risk
                                               risk that
                                                     that requires
                                                          requires oneone toto incur  the cost
                                                                               incur the   cost of
                                                                                                 of monitoring);
                                                                                                     monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716     (Mo. 2007);
                                                  716 (Mo.             Exxon Mobil
                                                              2007); Exxon      Mobil Corp.
                                                                                        Corp. v.   Albright, 71
                                                                                               v. Albright,         A.3d 30,
                                                                                                                 71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure        itself and
                                             and the
                                                   the need   for medical
                                                        need for  medical testing
                                                                              testing is
                                                                                       is the
                                                                                          the compensable
                                                                                              compensable injury  injury in
                                                                                                                          in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler            PacifiCare ofNev.,
                                              v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                          Inc., 340  P.3d, 264,
                                                                                            264, 1270-72
                                                                                                    1270-72 (Nev.
                                                                                                                (Nev. 2014)
                                                                                                                       2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act ofof the
                                                    the defendant
                                                         defendant caused       the plaintiff
                                                                       caused the    plaintiff to
                                                                                                to have
                                                                                                    have aa medical
                                                                                                              medical need
                                                                                                                         need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.      Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                     Rubber Co.,Co., 863   P.2d 795,
                                                                                     863 P.2d     795, 823823 (Cal.   1993).
                                                                                                                (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                           privilege as as to
                                                                           to any
                                                                              any medical
                                                                                   medical condition
                                                                                             condition for       his medical
                                                                                                            for his  medical
monitoring claims
monitoring    claims in
                      in this
                          this case     since Plaintiff
                                case since       Plaintiff is
                                                            is not
                                                               not claiming     present physical
                                                                    claiming present      physical injury
                                                                                                       injury in   this case.
                                                                                                                in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is      the significant
                                         is the   significant exposure,
                                                                exposure, increased
                                                                              increased risk    of disease
                                                                                          risk of    disease andand medical
                                                                                                                     medical



                                                            -- 13
                                                               13
      Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 46 of 654




necessity of
necessity of diagnostic
             diagnostic testing
                          testing and
                                  and the
                                       the economic
                                            economic loss
                                                       loss associated
                                                            associated therewith.
                                                                        therewith. Plaintiff
                                                                                   Plaintiff and
                                                                                             and class
                                                                                                 class
members base
members   base their
               their claims
                     claims only
                             only on
                                  on their
                                     their significant
                                           significant exposure
                                                       exposure to
                                                                to the
                                                                   the proven
                                                                       proven hazardous
                                                                              hazardous Foam
                                                                                        Foam Toxins
                                                                                               Toxins
released by
released by PE-PUR
            PE-PUR foam      in the
                       foam in  the Recalled
                                    Recalled Devices.
                                              Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last
                                            last 10
                                                 10 years
                                                    years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either  the  attorney-client       privilege       and/or   the   work     product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,      or   any   other   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                     Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant to to any
                                                                                           any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340    P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo    monitoring);      Potter      v.  Firestone    Tire   &   Rubber      Co., 863
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).   P.2d   795,   823   (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                        medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                      the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present condition, injuries, and/or damages.
Your present condition, injuries, and/or damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 27:
                                27:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                 this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs itsits likely  benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it  seeks matters
                                                           it seeks  matters immune
                                                                             immune fromfrom discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                         any other
                                                                                              other privilege,
                                                                                                      privilege,
immunity, or
immunity,    or protection,
                protection, including
                              including physician-patient
                                          physician-patient privilege.
                                                                privilege. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                      that it
                           it violates
                               violates Plaintiffs
                                        Plaintiff’s right
                                                    right to
                                                          to privacy.
                                                             privacy. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects
                                                                                          objects to
                                                                                                   to the
                                                                                                      the scope
                                                                                                          scope



                                                              -- 14
                                                                 14
      Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 47 of 654




of this
of this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party. A claim
          claim for
                  for medical
                      medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition
                                                                                                condition at
                                                                                                           at issue.
                                                                                                              issue. See
                                                                                                                      See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,      522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                  omitted) (the
                                                                                                (citations omitted)   (the
injury in
injury  in question
           question isis the
                         the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur   the cost
                                                                              incur the    cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716     (Mo. 2007);
                                                  716 (Mo.            Exxon Mobil
                                                             2007); Exxon      Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure       itself and
                                             and the
                                                   the need   for medical
                                                        need for   medical testing
                                                                            testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                        claim); Sadler           PacifiCare ofNev.,
                                              v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,Co., 863    P.2d 795,
                                                                                    863 P.2d     795, 823
                                                                                                       823 (Cal.  1993).
                                                                                                            (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case    since Plaintiff
                                 case since      Plaintiff is
                                                           is not
                                                               not claiming    present physical
                                                                   claiming present       physical injury
                                                                                                     injury in this case.
                                                                                                            in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is     the significant
                                         is the   significant exposure,
                                                                exposure, increased
                                                                            increased risk      of disease
                                                                                          risk of           and medical
                                                                                                   disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing        and thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims     only on
                        claims only      on their
                                             their significant
                                                    significant exposure
                                                                 exposure to to the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.


REQUEST 28:
REQUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost  of medically    necessary   diagnostic  testing  caused   by  Plaintiff’s  and class   members’
cost of medically necessary diagnostic testing caused by Plaintiffs and class members' significant        significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.


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                                                             15
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent   it seeks
                                                                                                 extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 30:
REQUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of  of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                             it seeks
                                                                seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                  discovery under
                                                                                                                under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other     privilege,
                                                                                                  other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects toto the
                                                             the scope
                                                                   scope of
                                                                          of this
                                                                             this Request
                                                                                   Request to
                                                                                            to the
                                                                                               the extent
                                                                                                    extent itit seeks
                                                                                                                seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses of of any
                                                               any party.
                                                                     party. For
                                                                            For example,
                                                                                  example, this
                                                                                             this Request
                                                                                                  Request fails
                                                                                                              fails to
                                                                                                                    to
include   language    restricting  the  scope    of  this  Request     to  the  defects   at
include language restricting the scope of this Request to the defects at issue, and instead   issue,   and   instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related to to any
                                                                     any Philips
                                                                           Philips entity.
                                                                                    entity. Moreover,
                                                                                             Moreover, Plaintiff
                                                                                                            Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                                media oror blog
                                                                           blog posts
                                                                                  posts imposes
                                                                                        imposes additional
                                                                                                   additional time
                                                                                                                 time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs its its likely
                                                                 likely benefit.
                                                                         benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                   All Documents
                       Documents and and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of any complaint in this Litigation.
preparation of any complaint in this Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.




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                                                           16
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REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                the discovery
                                                                      discovery outweighs
                                                                                 outweighs its
                                                                                             its likely  benefit.
                                                                                                 likely benefit.
Plaintiff  further objects  to this Request   to  the extent   that  information  sought  in  this
Plaintiff further objects to this Request to the extent that information sought in this Request hasRequest    has
already been
already  been provided
                provided by
                          by Plaintiff.
                              Plaintiff. Plaintiff
                                         Plaintiff further  objects to
                                                   further objects    to this
                                                                         this Request
                                                                              Request on
                                                                                      on grounds
                                                                                         grounds that
                                                                                                    that it seeks
                                                                                                         it seeks
matters immune
matters             from discovery
          immune from                   under HIPAA,
                           discovery under      HIPAA, the the attorney-client
                                                                 attorney-client privilege
                                                                                  privilege and/or
                                                                                              and/or the
                                                                                                       the work
                                                                                                            work
product doctrine,
product   doctrine, or
                    or any
                        any other
                            other privilege,
                                   privilege, immunity,
                                              immunity, or  or protection.
                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                            provider or
                                                                                     or broker
                                                                                        broker
Regarding any claims associated with the injury You allege was caused by a Recalled Device.
Regarding any claims associated with the injury You allege was caused by a Recalled Device.


AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.




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                                                         17
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       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to this Request as premature because it seeks information and evidence to be elicited from
objects to this Request  as premature   because   it seeks information  and  evidence  to  be elicited from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REQUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                        overbroad, cumulative,
                                                                                                      cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                 outweighs its
                                                                            its likely
                                                                                likely benefit.
                                                                                        benefit. Plaintiff
                                                                                                  Plaintiff further
                                                                                                            further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession byby calling
                                                                                calling for
                                                                                         for aa legal conclusion.
                                                                                                legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                  discovery under
                                                                                                              under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                          doctrine, or or any
                                                                                           any other     privilege,
                                                                                                  other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                this Request
                                                                     Request asas premature
                                                                                   premature because
                                                                                                 because itit seeks
                                                                                                              seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                      with the
                                                                           the assistance
                                                                                 assistance of
                                                                                             of experts.
                                                                                                 experts. Plaintiff
                                                                                                          Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                   Rules of
                                                                         of Civil
                                                                             Civil Procedure,
                                                                                    Procedure, andand the
                                                                                                       the Federal
                                                                                                           Federal



                                                      -- 18
                                                         18
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Rules of
Rules of Evidence
         Evidence regarding
                  regarding the
                            the disclosure
                                disclosure of
                                           of expert
                                              expert testimony
                                                     testimony and
                                                               and evidence.
                                                                   evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not  relevant to any  parties’ claims  or defenses. Plaintiff further objects to this Request to the extent
not relevant to any parties' claims or defenses. Plaintiff further objects to this Request to the extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse     Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d
                                        Corp., 522            424,430 (W.Va.
                                                      S.E.2d 424,430     (W.Va. 1999)
                                                                                 1999) (citations     omitted) (the
                                                                                         (citations omitted)    (the
injury in
injury  in question
           question is
                     is the
                        the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur
                                                                         incur the
                                                                               the cost
                                                                                   cost of
                                                                                         of monitoring);
                                                                                             monitoring); Meyer
                                                                                                              Meyer



                                                       -- 19
                                                          19
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v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon     Mobil Corp.
                                                                                     Corp. v.  Albright, 71
                                                                                            v. Albright,     A.3d 30,
                                                                                                          71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                           injury in
                                                                                                                  in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                         (Nev. 2014)
                                                                                                                2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                        medical need
                                                                                                                 need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber     Co., 863
                                                                  Rubber Co.,           P.2d 795,
                                                                                 863 P.2d     795, 823
                                                                                                    823 (Cal.  1993).
                                                                                                         (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for   his medical
                                                                                                      for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present      physical injury
                                                                                                 injury in  this case.
                                                                                                         in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk    of  disease  and  medical
                                                                                       risk of disease and medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                  Plaintiff and
                                                                                                            and class
                                                                                                                 class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                        Foam Toxins
                                                                                                               Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


 Dated: January
 Dated:         3, 2024
        January 3, 2024

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                       /s/ Kelly
                                                            /s/ Kelly K
                                                                      K. Iverson
                                                                         Iverson
 Sandra
 Sandra L. Duggan, Esquire
         L. Duggan,  Esquire                                Kelly K. Iverson, Esquire
                                                            Kelly  K. Iverson,  Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
                       BERMAN LLP                           LYNCH CARPENTER,
                                                            LYNCH      CARPENTER, LLP    LLP
                                                                                   th
 510  Walnut Street,
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                     Suite 500
                           500                              1133 Penn
                                                            1133  Penn Avenue,
                                                                        Avenue, 55th  Floor
                                                                                      Floor
 Philadelphia, PA
 Philadelphia, PA 19106
                  19106                                     Pittsburgh, PA
                                                            Pittsburgh,  PA 15222
                                                                             15222
 (215)592-1500
 (215)592-1500 (phone)
                (phone)                                     (412) 322-9243
                                                            (412) 322-9243 (phone)
                                                                              (phone)
 (215)592-4633
 (215)592-4633 (fax)
                (fax)                                       kelly@lcllp.com
                                                            kelly@lcllp.com
 sduggan@lfsblaw.com
 sduggan@lfsblaw.com

 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                                  /s/ Steven
                                                            /s/ Steven A.
                                                                       A. Schwartz
                                                                          Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                           Steven  A. Schwartz,
                                                            Steven A.  Schwartz, Esquire
                                                                                 Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                    CHIMICLES       SCHWARTZ 'MINER
                                                            CHIMICLES SCHWARTZ           KRINER &
                                                                                                &
                        th
 55  Challenger Road,
 55 Challenger  Road, 66th Floor
                           Floor                            DONALDSON-SMITH LLP
                                                            DONALDSON-SMITH          LLP
 Ridgefield Park,
 Ridgefield  Park, NJ
                   NJ 07660
                      07660                                 361  West Lancaster
                                                            361 West             Avenue
                                                                       Lancaster Avenue
 (973)
 (973) 639-9100   (phone)
       639-9100 (phone)                                     One Haverford
                                                            One   Haverford Centre
                                                                            Centre
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 cseeger@seegerweiss.com                                    Haverford, PA
                                                            Haverford,  PA 19041
                                                                            19041
                                                            (610)
                                                            (610) 642-8500   (phone)
                                                                   642-8500 (phone)
                                                            steveschwartz@chimicles.com
                                                            steveschwartz@chimicles.com


                                     Counsel for Plaintiffs
                                     Counselfor  Plaintiffs and
                                                            and the
                                                                the Class
                                                                    Class




                                                        -- 20
                                                           20
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                               CERTIFICATE OF SERVICE
                               CERTIFICATE OF SERVICE

       II hereby certify that,
          hereby certify that, on
                               on January 3, 2024,
                                  January 3, 2024, II served
                                                      served aa true
                                                                true and
                                                                     and correct
                                                                         correct copy of PLAINTIFF
                                                                                 copy of PLAINTIFF

QUINTON GOODALL'S
QUINTON GOODALL’S AMENDED
                  AMENDED RESPONSES
                          RESPONSES AND
                                    AND OBJECTIONS
                                        OBJECTIONS TO
                                                   TO PHILIPS
                                                      PHILIPS RS'
                                                              RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
                           MORGAN,    LEWIS &
                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
                                                           LLP
                                    1701 Market
                                    1701 Market Street
                                                 Street
                              Philadelphia, PA
                              Philadelphia, PA 19103-2921
                                                19103-2921
                                      T 215.963.5000
                                      T 215.963.5000
                             john.lavelle@morganlewis.com
                             john.lavelle@morganlewis.com

                                 Wendy West
                                 Wendy    West Feinstein
                                               Feinstein
                           MORGAN,   LEWIS &
                           MORGAN, LEWIS     & BOCKIUS
                                                BOCKIUS LLP  LLP
                             One Oxford
                             One  Oxford Center,
                                          Center, 32nd
                                                  32nd Floor
                                                       Floor
                               Pittsburgh, PA
                               Pittsburgh, PA 15219-6401
                                              15219-6401
                                     T 412.560.3300
                                     T 412.560.3300
                            wendy.feinstein@morganlewis.com
                            wendy.feinstein@morganlewis.com

                                 Counsel for Defendant
                                 Counselfor  Defendant Philips
                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                       LLC

                                   Michael H.
                                   Michael H. Steinberg
                                               Steinberg
                             SULLIVAN &
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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                          Eric Scott
                          Eric       Thompson
                               Scott Thompson
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                                       PROKOPIK
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                  Counselfor  Polymer Technologies, Inc.
                                      Technologies, Inc.


                                        /s/ Kelly
                                        /s/ Kelly K
                                                  K. Iverson
                                                     Iverson
                                        Kelly K.
                                        Kelly  K. Iverson
                                                  Iverson
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                   EXHIBIT C
                   EXHIBIT C
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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 PLAINTIFF JILL LEAVENWORTH'S
 PLAINTIFF JILL LEAVENWORTH’S AMENDED
                                  AMENDED RESPONSES
                                           RESPONSES AND
                                                     AND OBJECTIONS
                                                         OBJECTIONS
             TO PHILIPS
             TO         RS’ FIRST
                PHILIPS RS'       REQUEST FOR
                            FIRST REQUEST FOR PRODUCTION
                                              PRODUCTION
          OF DOCUMENTS
          OF  DOCUMENTS TOTO MEDICAL  MONITORING PLAINTIFFS
                              MEDICAL MONITORING  PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO REQUEST NO.
                 TO REQUEST NO. 1:
                                1:

         Plaintiff Jill
         Plaintiff      Leavenworth ("Plaintiff")
                   Jill Leavenworth     (“Plaintiff”) objects
                                                      objects to
                                                               to this
                                                                  this Request
                                                                       Request onon grounds
                                                                                    grounds that
                                                                                              that it is vague,
                                                                                                   it is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                         overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                   cumulative, and/or
                                                                 and/or because
                                                                         because the
                                                                                   the burden
                                                                                       burden oror expense
                                                                                                   expense of of
the discovery
the  discovery outweighs
                outweighs itsits likely  benefit. Plaintiff
                                 likely benefit.  Plaintiff further
                                                            further objects
                                                                    objects to
                                                                             to this
                                                                                this Request
                                                                                     Request toto the
                                                                                                  the extent
                                                                                                       extent it
                                                                                                               it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                     either the
                                                             the attorney-client
                                                                 attorney-client privilege
                                                                                  privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                           work
product doctrine,
product   doctrine, or
                     or any
                         any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, or or protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further  objects to
                                                                                       further objects    to the
                                                                                                             the
term  “Acquired”    because    as defined  it seeks  to obtain  information   not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims or any   claims  or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects   on grounds
                                                         grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                      seeks information
                                                                                             information that
                                                                                                            that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                      and/or control.
                                                              control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to  this Request  to the extent it seeks   matters  immune   from   discovery
          further objects to this Request to the extent it seeks matters immune from discovery under      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                        any other
                                                                                              other privilege,
                                                                                                     privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                         Communications Regarding
                                                                           Regarding any
                                                                                       any payments
                                                                                            payments or
                                                                                                      or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including butbut not
                                                          not limited to payments
                                                              limited to payments made
                                                                                   made by
                                                                                         by You
                                                                                            You and
                                                                                                and any
                                                                                                    any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                            entity, insurer,
                                                                    insurer, health
                                                                             health savings
                                                                                    savings account,
                                                                                             account, or
                                                                                                      or
flexible spending account.
flexible spending account.
                                                -- 11 --
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information already
information   already in
                       in the
                          the possession,
                               possession, custody,
                                           custody, and/or
                                                    and/or control
                                                             control of
                                                                      of Defendant.
                                                                         Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further objects to this Request   to the extent  it seeks   matters immune     from  discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                                product doctrine,
                                                                          doctrine, oror any
                                                                                          any other   privilege,
                                                                                               other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                             irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                     its likely benefit.
                                                                                         likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                 from discovery
                                                                                       discovery under
                                                                                                  under


                                                     -2-
                                                     -2
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either the
either the attorney-client
           attorney-client privilege
                             privilege and/or
                                        and/or the
                                                the work
                                                     work product
                                                            product doctrine,
                                                                     doctrine, oror any
                                                                                    any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,  or protection.
              protection. Plaintiff
                          Plaintiff further
                                     further objects
                                             objects to
                                                     to the
                                                        the scope
                                                            scope of
                                                                   of this
                                                                      this Request
                                                                           Request toto the
                                                                                        the extent
                                                                                            extent it
                                                                                                   it seeks
                                                                                                      seeks
information not
information  not relevant
                 relevant to
                           to any
                              any claims
                                    claims or
                                           or defenses
                                               defenses of
                                                         of any
                                                            any party.
                                                                 party. Plaintiff
                                                                         Plaintiff further
                                                                                   further objects
                                                                                            objects to
                                                                                                    to this
                                                                                                        this
Request on
Request  on grounds
            grounds that
                     that it
                          it seeks
                             seeks information
                                    information already
                                                 already in
                                                          in the
                                                             the possession,
                                                                 possession, custody,
                                                                              custody, and/or
                                                                                         and/or control
                                                                                                control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REOUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative,      and/or    because      the  burden    or  expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.               its  likely  benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since       Plaintiff isis not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REOUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.




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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                 Request areare compounded
                                                                                 compounded by   by the
                                                                                                     the fact   that
                                                                                                          fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its  possession, custody,
                                                                       its possession,             and/or control
                                                                                        custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                       responsive documents
                                                                                    documents to  to this
                                                                                                     this Request
                                                                                                          Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                 scope ofof this
                                                                            this Request
                                                                                 Request toto the
                                                                                              the extent
                                                                                                   extent it
                                                                                                           it seeks
                                                                                                              seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses
                                        claims or  defenses of of any
                                                                  any party.
                                                                       party. Plaintiff
                                                                               Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                 discovery under
                                                                              under either   the attorney-client
                                                                                     either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                   privilege, immunity,
                                                                               immunity, or or protection.
                                                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative,      and/or    because      the  burden    or  expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.               its  likely  benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since       Plaintiff isis not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REQUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your


                                                               -4-
                                                               -4
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Recalled Device
Recalled Device from
                from Care
                      Care Orchestrator,
                           Orchestrator, DreamMapper,
                                         DreamMapper, and/or
                                                        and/or EncoreAnywhere,    which we
                                                                EncoreAnywhere, which   we will
                                                                                           will
obtain upon
obtain      your signing
       upon your signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims or
                                                                                                     or defenses
                                                                                                         defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REQUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought inin this
                                                                               this Request
                                                                                     Request is    already in
                                                                                                is already      the
                                                                                                             in the
possession,    custody,  and/or   control   of Defendant.    Plaintiff  further  objects   to
possession, custody, and/or control of Defendant. Plaintiff further objects to this Request on this   Request    on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” is
                                          is undefined
                                              undefined and
                                                          and that
                                                                that it
                                                                      it is
                                                                         is not   apparent to
                                                                            not apparent      to Plaintiff
                                                                                                  Plaintiff what
                                                                                                              what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                 seeks in  this Request
                                                                                        in this   Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects   to this
                                                                          objects to  this Request
                                                                                           Request on on grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                    custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from his
                                                                                               his
Recalled Device(s).
Recalled Device(s).

REQUEST 11:
REOUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of
                                                           of the
                                                              the discovery
                                                                  discovery outweighs
                                                                              outweighs itsits likely benefit.
                                                                                               likely benefit.
Plaintiff  further  objects  to the  scope  of  this  Request  on  grounds  that  it seeks   information
Plaintiff further objects to the scope of this Request on grounds that it seeks information not            not
relevant to
relevant  to any
             any claims
                  claims oror defenses
                              defenses of
                                        of any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                         objects that
                                                                                 that the
                                                                                       the term
                                                                                           term "condition"
                                                                                                  “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff           objects to
                          further objects to this
                                             this Request
                                                   Request to
                                                           to the
                                                              the extent
                                                                  extent that
                                                                         that the
                                                                              the burden
                                                                                  burden oror expense
                                                                                               expense of
                                                                                                        of the
                                                                                                           the


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requested discovery
requested               outweighs its
            discovery outweighs     its likely  benefit, and/or
                                         likely benefit,  and/or that
                                                                   that the
                                                                         the information
                                                                              information is   already in
                                                                                            is already   in
Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                              control. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                          objects to
                                                                                   to this
                                                                                      this Request
                                                                                           Request toto the
                                                                                                        the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                           information responsive
                                                         responsive toto this
                                                                          this Request.
                                                                               Request. Plaintiff
                                                                                          Plaintiff further
                                                                                                    further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                          it seeks
                                             seeks matters
                                                   matters immune
                                                            immune fromfrom discovery
                                                                              discovery under
                                                                                         under either
                                                                                                 either the
                                                                                                        the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                        work product
                                              product doctrine,
                                                       doctrine, or
                                                                  or any
                                                                     any other
                                                                           other privilege,
                                                                                 privilege, immunity,
                                                                                             immunity, oror
protection.
protection.
        Without waiving
        Without   waiving and
                            and subject
                                subject to
                                        to these
                                           these objections,
                                                 objections, Plaintiff
                                                             Plaintiff does
                                                                        does not
                                                                              not possess
                                                                                  possess any
                                                                                           any responsive
                                                                                               responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 13:
REOUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.




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                                                       6-
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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.



RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 16:
                                16:



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         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as  as vague,
                                                          vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                               overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                         burden or or expense
                                                       expense of  of the
                                                                      the discovery
                                                                           discovery outweighs
                                                                                        outweighs itsits likely    benefit.
                                                                                                         likely benefit.
Plaintiff further
Plaintiff  further objects
                   objects toto the
                                 the extent
                                     extent this
                                               this Request
                                                     Request seeks
                                                                seeks aa concession
                                                                          concession that
                                                                                        that evidence
                                                                                             evidence of of degradation
                                                                                                             degradation
can be
can  be seen
        seen byby the
                   the naked
                        naked eye.
                                 eye. Plaintiff
                                        Plaintiff further
                                                    further objects
                                                               objects to
                                                                        to this
                                                                            this Request
                                                                                 Request onon grounds
                                                                                                grounds that
                                                                                                           that the
                                                                                                                  the term
                                                                                                                       term
“particulate” and
"particulate"    and "dark
                      “dark matter"
                               matter” areare undefined.
                                                undefined. Plaintiff
                                                                Plaintiff further   objects to
                                                                           further objects    to the
                                                                                                  the use
                                                                                                       use ofof the
                                                                                                                 the term
                                                                                                                       term
“Regarding,” in
"Regarding,"    in this
                   this Request
                        Request on  on grounds
                                        grounds that
                                                   that it
                                                         it is
                                                            is overbroad,
                                                               overbroad, vague,
                                                                             vague, ambiguous,
                                                                                     ambiguous, and and impermissibly
                                                                                                         impermissibly
seeks information
seeks  information notnot relevant
                          relevant to  to any
                                           any claims
                                                 claims oror defenses
                                                               defenses ofof any
                                                                              any party.
                                                                                  party. Plaintiff
                                                                                          Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto
this Request    on  grounds    that  it is  duplicative     of  Request    No.  11. Plaintiff   further
this Request on grounds that it is duplicative of Request No. 11. Plaintiff further objects to this      objects    to  this
Request to
Request    to the
              the extent
                  extent that
                          that the
                                 the burden
                                      burden or  or expense
                                                     expense of  of the
                                                                    the requested
                                                                         requested discovery
                                                                                     discovery outweighs
                                                                                                  outweighs its  its likely
                                                                                                                     likely
benefit, and/or
benefit,  and/or that
                  that the
                       the information
                            information is   is already
                                                already in in Defendant's
                                                               Defendant’s possession,
                                                                               possession, custody,
                                                                                             custody, and/or
                                                                                                        and/or control.
                                                                                                                   control.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                        Request to  to the
                                                        the extent
                                                             extent Plaintiff
                                                                      Plaintiff has
                                                                                 has already
                                                                                      already provided
                                                                                                provided information
                                                                                                             information
responsive to
responsive    to this
                 this Request.
                      Request. Plaintiff
                                   Plaintiff further
                                               further objects
                                                         objects toto this
                                                                       this Request
                                                                             Request toto the
                                                                                          the extent
                                                                                               extent it  seeks matters
                                                                                                       it seeks    matters
immune from
immune    from discovery
                 discovery under
                             under either
                                      either the
                                              the attorney-client
                                                   attorney-client privilege
                                                                       privilege and/or
                                                                                  and/or the
                                                                                          the work
                                                                                               work product
                                                                                                     product doctrine,
                                                                                                                 doctrine,
or any
or any other
        other privilege,
               privilege, immunity,
                           immunity, or    or protection.
                                              protection. Plaintiff
                                                              Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent this
                                                                                                            this Request
                                                                                                                   Request
seeks premature
seeks premature expert
                    expert testimony.
                            testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in the recall; and Documents     sufficient  to  show when   and how  You  became
participate in the recall; and Documents sufficient to show when and how You became aware of    aware  of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.




                                                           -8
                                                            8-
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REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely benefit.
                                                                                                  likely benefit.
The  broad  scope   and  unnecessary     difficulties  of this Request     are compounded
The broad scope and unnecessary difficulties of this Request are compounded by the fact that    by  the fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                          further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,   vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant to to any
                                                                              any claims
                                                                                   claims oror defenses
                                                                                                defenses of
                                                                                                          of any
                                                                                                             any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden or or expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                           its likely benefit.
                                                                                               likely benefit.
The  broad scope
The broad    scope and
                    and unnecessary
                         unnecessary difficulties
                                        difficulties of
                                                      of this
                                                          this Request
                                                                Request are
                                                                          are compounded
                                                                               compounded by by the
                                                                                                 the fact
                                                                                                     fact that
                                                                                                          that
Defendant seeks
Defendant    seeks materials
                   materials that
                              that are
                                   are equally
                                       equally available
                                                 available to
                                                            to it.
                                                               it. Plaintiff
                                                                   Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                             to the
                                                                                                the use
                                                                                                    use of
                                                                                                        of the
                                                                                                           the
terms "Communications"
terms  “Communications” and   and "Acquisition"
                                   “Acquisition” in    this Request
                                                    in this Request on on grounds
                                                                           grounds that
                                                                                    that they
                                                                                         they are
                                                                                              are overbroad,
                                                                                                   overbroad,
vague, ambiguous,
vague,  ambiguous, andand impermissibly     seek information
                           impermissibly seek     information not not relevant  to any
                                                                      relevant to  any claims
                                                                                       claims or
                                                                                               or defenses
                                                                                                  defenses of
                                                                                                            of
any  party.   Plaintiff further  objects to  this Request    to  the extent  it seeks matters
any party. Plaintiff further objects to this Request to the extent it seeks matters immune fromimmune    from
discovery under
discovery   under either  the attorney-client
                   either the attorney-client privilege
                                                privilege and/or
                                                           and/or the
                                                                   the work
                                                                        work product
                                                                              product doctrine,  or any
                                                                                       doctrine, or any other
                                                                                                         other
privilege, immunity,
privilege, immunity, or or protection.
                           protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in
                                                                                         in Paragraphs
                                                                                            Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


                                                      - 99 -
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Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                              discovery under
                                                                                                                         under
either the
either   the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                   and/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                       doctrine, or or any
                                                                                                         any other
                                                                                                              other privilege,
                                                                                                                     privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                               objects to
                                                                                                                        to this
                                                                                                                            this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                   violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                     Plaintiff further
                                                                                                further objects
                                                                                                          objects to
                                                                                                                  to the
                                                                                                                     the scope
                                                                                                                         scope
of this
of  this Request
          Request to to the
                        the extent
                             extent it  it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant to to any
                                                                                           any claims
                                                                                                 claims or or defenses  of any
                                                                                                              defenses of   any
party. A
party.  A claim
           claim for
                   for medical
                        medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition atat issue.  See
                                                                                                                    issue. See
e.g. Bower
e.g. Bower v. v. Westinghouse
                 Westinghouse Elec.  Elec. Corp.,
                                             Corp., 522522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430        (W.Va. 1999)
                                                                                             1999) (citations
                                                                                                      (citations omitted)
                                                                                                                 omitted) (the
                                                                                                                            (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur
                                                                                   incur the
                                                                                          the cost
                                                                                                cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                        Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716716 (Mo.
                                                         (Mo. 2007);
                                                                 2007); Exxon
                                                                          Exxon Mobil
                                                                                    Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,      A.3d 30,
                                                                                                                   71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.             (exposure itself
               2013) (exposure        itself and
                                               and the
                                                     the need
                                                          need for    medical testing
                                                                 for medical     testing is is the
                                                                                               the compensable
                                                                                                   compensable injury
                                                                                                                    injury in
                                                                                                                            in aa
medical monitoring
medical    monitoring claim);        Sadler v.
                         claim); Sadler            PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340    P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                  (Nev. 2014)
                                                                                                                         2014)
(inquiry is
(inquiry   is whether
              whether thethe negligent
                              negligent act  act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                 medical need
                                                                                                                           need
to undergo
to undergo monitoring);
               monitoring); Potter
                                 Potter v.      Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co.,      863 P.2d
                                                                                    Co., 863    P.2d 795,
                                                                                                       795, 823   (Cal. 1993).
                                                                                                             823 (Cal.  1993).
Plaintiff has
Plaintiff  has not
                not waived
                     waived thethe physician-patient
                                     physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                        medical condition
                                                                                                  condition for    his medical
                                                                                                               for his medical
monitoring claims
monitoring     claims inin this
                            this case
                                  case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming
                                                                       claiming present
                                                                                    present physical
                                                                                               physical injury
                                                                                                           injury in
                                                                                                                  in this
                                                                                                                     this case.
                                                                                                                          case.
The   injury that
The injury    that Plaintiff
                    Plaintiff claims
                                claims is  is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease and
                                                                                                                  and medical
                                                                                                                       medical
necessity of
necessity    of diagnostic
                diagnostic testing
                               testing and and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                     and class
                                                                                                                          class
members base
members     base their
                  their claims
                         claims onlyonly onon their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                      the proven
                                                                                          proven hazardous
                                                                                                    hazardous Foam
                                                                                                                 Foam Toxins
                                                                                                                        Toxins
released by
released   by PE-PUR
               PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REQUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed   to  You   by   a Health   Care   Provider  relating  to  the  “subcellular
prescribed to You by a Health Care Provider relating to the "subcellular injury or other  injury  or  other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;    biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it
                                                              it seeks
                                                                 seeks matters
                                                                        matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other     privilege,
                                                                                                  other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See



                                                             -- 10
                                                                10
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e.g. Bower
e.g.  Bower v.v. Westinghouse     Elec. Corp.,
                 Westinghouse Elec.      Corp., 522522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430     (W.Va. 1999)
                                                                                     1999) (citations   omitted) (the
                                                                                             (citations omitted)   (the
injury in
injury  in question
           question isis the
                         the increase
                             increase in in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                        to incur
                                                                            incur the
                                                                                  the cost
                                                                                       cost of
                                                                                             of monitoring);
                                                                                                monitoring); Meyer
                                                                                                               Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220    S.W.3d 712,
                                   712, 714,     716 (Mo.
                                          714, 716      (Mo. 2007);
                                                               2007); Exxon
                                                                       Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.               71 A.3d
                                                                                                   Albright, 71
                                                                                               v. Albright,       A.3d
30, 75-77
30,  75-77 (Md.
            (Md. 2013)     (exposure itself
                   2013) (exposure              and the
                                        itself and     the need
                                                           need for
                                                                  for medical
                                                                      medical testing
                                                                                testing is
                                                                                        is the
                                                                                            the compensable
                                                                                                compensable injury
                                                                                                                injury
in aa medical
in    medical monitoring
                monitoring claim);
                              claim); Sadler
                                        Sadler v.     PacifiCare of
                                                  v. PacifiCare     of Nev.,  Inc., 340
                                                                       Nev., Inc.,       P.3d, 264,
                                                                                    340 P.3d,    264, 1270-72
                                                                                                      1270-72 (Nev.
                                                                                                                 (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                               the negligent
                                    negligent act act of
                                                       of the
                                                          the defendant
                                                               defendant caused
                                                                           caused the
                                                                                    the plaintiff
                                                                                        plaintiff to
                                                                                                   to have
                                                                                                      have aa medical
                                                                                                              medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                      Potter v.    Firestone Tire
                                                v. Firestone     Tire && Rubber     Co., 863
                                                                          Rubber Co.,           P.2d 795,
                                                                                         863 P.2d     795, 823
                                                                                                            823 (Cal.
                                                                                                                  (Cal.
1993).
1993).   Plaintiff
         Plaintiff has  not  waived   the   physician-patient      privilege  as to  any medical    condition
                   has not waived the physician-patient privilege as to any medical condition for his          for  his
medical monitoring
medical   monitoring claims
                        claims inin this
                                    this case
                                          case since
                                                since Plaintiff
                                                         Plaintiff is
                                                                   is not
                                                                      not claiming
                                                                          claiming present
                                                                                     present physical
                                                                                              physical injury
                                                                                                         injury in
                                                                                                                in this
                                                                                                                   this
case. The
case.        injury that
       The injury    that Plaintiff
                           Plaintiff claims
                                      claims is  is the
                                                     the significant
                                                          significant exposure,
                                                                       exposure, increased
                                                                                    increased risk
                                                                                                 risk of
                                                                                                      of disease
                                                                                                          disease and
                                                                                                                   and
medical necessity
medical   necessity ofof diagnostic
                          diagnostic testing
                                       testing andand the
                                                        the economic
                                                             economic loss
                                                                        loss associated
                                                                              associated therewith.
                                                                                           therewith. Plaintiff
                                                                                                         Plaintiff and
                                                                                                                   and
class members
class  members base
                  base their
                        their claims
                               claims only
                                        only onon their
                                                    their significant
                                                           significant exposure
                                                                        exposure toto the
                                                                                      the proven
                                                                                           proven hazardous
                                                                                                    hazardous Foam
                                                                                                                 Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foam foam in in the
                                              the Recalled
                                                   Recalled Devices.
                                                                Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,      and other
                                                                                 endoscopies, and    other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                           Request as  as vague,
                                                            vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the the burden
                                          burden or or expense
                                                        expense of of the
                                                                       the discovery
                                                                            discovery outweighs
                                                                                         outweighs itsits likely   benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
           further objects    to this
                                 this Request
                                        Request to to the
                                                      the extent
                                                           extent it
                                                                   it seeks
                                                                      seeks matters
                                                                             matters immune
                                                                                       immune from
                                                                                                 from discovery
                                                                                                        discovery under
                                                                                                                      under
either the
either  the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or thethe work
                                                                work product
                                                                       product doctrine,
                                                                                  doctrine, oror any
                                                                                                  any other     privilege,
                                                                                                        other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects to to this
                                                                                                                        this
Request on
Request    on grounds
               grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                              Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                      scope
of this
of  this Request
         Request to to the
                        the extent
                             extent it it seeks
                                          seeks information
                                                  information not not relevant
                                                                        relevant to
                                                                                  to any
                                                                                      any claims
                                                                                           claims oror defenses
                                                                                                        defenses of of any
                                                                                                                        any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                 not put
                                                                      put present
                                                                           present physical
                                                                                    physical condition
                                                                                               condition at at issue.
                                                                                                               issue. See
                                                                                                                        See
e.g.  Bower   v. Westinghouse       Elec.   Corp.,   522  S.E.2d   424,430    (W.Va.    1999)  (citations
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the            omitted)    (the
injury in
injury  in question
            question isis the
                          the increase
                               increase in  in risk
                                               risk that
                                                     that requires
                                                           requires one
                                                                      one to
                                                                           to incur
                                                                              incur the
                                                                                     the cost
                                                                                          cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220     S.W.3d 712, 712, 714,
                                             714, 716    (Mo. 2007);
                                                   716 (Mo.      2007); Exxon
                                                                          Exxon Mobil
                                                                                  Mobil Corp.
                                                                                          Corp. v.   Albright, 71
                                                                                                  v. Albright,    71 A.3d
                                                                                                                       A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.    2013) (exposure
                            (exposure itself
                                           itself and
                                                  and the
                                                        the need
                                                              need for   medical testing
                                                                    for medical   testing is
                                                                                           is the
                                                                                              the compensable
                                                                                                   compensable injuryinjury
in aa medical
in    medical monitoring
                 monitoring claim);
                               claim); Sadler
                                           Sadler v.   PacifiCare of
                                                    v. PacifiCare     of Nev.,
                                                                          Nev., Inc.,  340 P.3d,
                                                                                Inc., 340   P.3d, 264,
                                                                                                   264, 1270-72
                                                                                                         1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the the negligent
                                       negligent actact of
                                                        of the
                                                             the defendant
                                                                 defendant caused
                                                                              caused the
                                                                                       the plaintiff
                                                                                           plaintiff to
                                                                                                     to have
                                                                                                         have aa medical
                                                                                                                  medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); PotterPotter v.   Firestone Tire
                                                  v. Firestone     Tire && Rubber      Co., 863
                                                                             Rubber Co.,          P.2d 795,
                                                                                            863 P.2d            823 (Cal.
                                                                                                         795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                               waived the the physician-patient
                                               physician-patient privilege
                                                                      privilege as
                                                                                 as to
                                                                                    to any
                                                                                        any medical
                                                                                            medical condition
                                                                                                       condition forfor his
                                                                                                                         his
medical monitoring
medical    monitoring claims
                         claims in     this case
                                   in this        since Plaintiff
                                             case since   Plaintiff is
                                                                     is not claiming present
                                                                        not claiming    present physical
                                                                                                 physical injury
                                                                                                            injury in   this
                                                                                                                     in this
case. The
case.        injury that
       The injury     that Plaintiff
                            Plaintiff claims
                                         claims is is the
                                                      the significant
                                                            significant exposure,
                                                                          exposure, increased
                                                                                       increased risk
                                                                                                   risk of
                                                                                                         of disease
                                                                                                             disease andand



                                                           - 11
                                                           -11
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medical necessity
medical necessity of
                  of diagnostic  testing and
                     diagnostic testing   and the
                                              the economic
                                                   economic loss   associated therewith.
                                                              loss associated therewith. Plaintiff
                                                                                         Plaintiff and
                                                                                                   and
class members
class members base
               base their
                    their claims
                          claims only
                                  only on
                                        on their
                                           their significant
                                                 significant exposure
                                                             exposure to
                                                                       to the
                                                                          the proven
                                                                              proven hazardous
                                                                                     hazardous Foam
                                                                                                Foam
Toxins released by
Toxins released by PE-PUR
                   PE-PUR foam     in the
                             foam in   the Recalled
                                           Recalled Devices.
                                                     Devices.

REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs   26-88 of the
Paragraphs 26-88 of the   Medical
                          Medical Monitoring  CSAC.
                                  Monitoring CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request   on  grounds    that  it  violates     Plaintiff’s  right to  privacy.    Plaintiff   further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope   objects   to the scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                  case since       Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                 discovery outweighs
                                                                            outweighs its
                                                                                        its likely benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks  matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                     under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other
                                                                                          other privilege,
                                                                                                 privilege,
immunity, or
immunity,    or protection,
                protection, including
                             including physician-patient
                                        physician-patient privilege.
                                                             privilege. Plaintiff
                                                                        Plaintiff further
                                                                                  further objects
                                                                                           objects to
                                                                                                    to this
                                                                                                       this



                                                              -- 12
                                                                 12
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Request on
Request   on grounds
              grounds that
                         that it  violates Plaintiff's
                               it violates    Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                    privacy. Plaintiff
                                                                               Plaintiff further
                                                                                           further objects  to the
                                                                                                    objects to the scope
                                                                                                                   scope
of this
of this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party. A claim
          claim for   medical monitoring
                  for medical      monitoring costscosts does   not put
                                                          does not   put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,      522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                  omitted) (the
                                                                                                (citations omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur   the cost
                                                                              incur the    cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716     (Mo. 2007);
                                                  716 (Mo.            Exxon Mobil
                                                              2007); Exxon     Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure       itself and
                                             and the
                                                   the need   for medical
                                                        need for   medical testing
                                                                            testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                        claim); Sadler           PacifiCare ofNev.,
                                              v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,Co., 863    P.2d 795,
                                                                                    863 P.2d     795, 823
                                                                                                       823 (Cal.  1993).
                                                                                                            (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case    since Plaintiff
                                 case since      Plaintiff is
                                                            is not
                                                               not claiming    present physical
                                                                   claiming present       physical injury
                                                                                                     injury in this case.
                                                                                                            in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is     the significant
                                         is the   significant exposure,
                                                                exposure, increased
                                                                            increased risk      of disease
                                                                                          risk of           and medical
                                                                                                   disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing        and thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims     only on
                        claims only      on their
                                             their significant
                                                    significant exposure
                                                                 exposure to to the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.


REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                           Request as  as vague,
                                                           vague, unduly
                                                                     unduly burdensome,
                                                                                burdensome, overbroad,
                                                                                                   overbroad, irrelevant,
                                                                                                                   irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden or  or expense
                                                        expense of of the
                                                                       the discovery
                                                                             discovery outweighs
                                                                                          outweighs its   its likely  benefit.
                                                                                                              likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request to  to the
                                                      the extent
                                                          extent it   seeks matters
                                                                   it seeks   matters immune
                                                                                        immune from from discovery
                                                                                                            discovery under
                                                                                                                        under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                                 and/or the
                                                         the work
                                                               work product
                                                                        product doctrine,
                                                                                  doctrine, or  or any
                                                                                                     any other
                                                                                                            other privilege,
                                                                                                                    privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                                 physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                  further objects
                                                                                                             objects toto this
                                                                                                                           this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                              Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                            further objects
                                                                                                       objects toto the
                                                                                                                    the scope
                                                                                                                        scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                  information not not relevant
                                                                        relevant toto any
                                                                                      any claims
                                                                                             claims or or defenses
                                                                                                            defenses ofof any
                                                                                                                           any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                      put present
                                                                           present physical
                                                                                     physical condition
                                                                                                 condition at   at issue.
                                                                                                                   issue. See
                                                                                                                           See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,      522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                 1999) (citations
                                                                               (W.Va. 1999)                     omitted) (the
                                                                                                  (citations omitted)      (the
injury in
injury  in question  is the
           question is   the increase
                              increase in  in risk
                                               risk that
                                                     that requires
                                                          requires oneone toto incur  the cost
                                                                               incur the    cost of
                                                                                                  of monitoring);
                                                                                                      monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716     (Mo. 2007);
                                                  716 (Mo.             Exxon Mobil
                                                              2007); Exxon      Mobil Corp.
                                                                                         Corp. v.   Albright, 71
                                                                                                v. Albright,         A.3d 30,
                                                                                                                  71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure        itself and
                                             and the
                                                   the need   for medical
                                                        need for   medical testing
                                                                              testing isis the
                                                                                           the compensable
                                                                                               compensable injury  injury in
                                                                                                                           in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler            PacifiCare ofNev.,
                                              v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                          Inc., 340  P.3d, 264,
                                                                                             264, 1270-72
                                                                                                     1270-72 (Nev.
                                                                                                                 (Nev. 2014)
                                                                                                                        2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act ofof the
                                                    the defendant
                                                         defendant caused       the plaintiff
                                                                       caused the    plaintiff toto have
                                                                                                     have aa medical
                                                                                                               medical need
                                                                                                                          need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.      Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                     Rubber Co.,Co., 863    P.2d 795,
                                                                                     863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                 (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                           privilege as as to
                                                                           to any
                                                                              any medical
                                                                                   medical condition
                                                                                              condition for       his medical
                                                                                                             for his  medical
monitoring claims
monitoring    claims in
                      in this
                          this case     since Plaintiff
                                case since       Plaintiff is
                                                            is not
                                                               not claiming     present physical
                                                                    claiming present       physical injury
                                                                                                        injury in   this case.
                                                                                                                 in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is      the significant
                                         is the   significant exposure,
                                                                exposure, increased
                                                                              increased risk     of disease
                                                                                           risk of    disease andand medical
                                                                                                                      medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing        and thethe economic
                                                     economic loss       associated therewith.
                                                                  loss associated      therewith. Plaintiff
                                                                                                        Plaintiff and
                                                                                                                    and class
                                                                                                                         class



                                                             -- 13
                                                                13
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members base
members   base their
               their claims
                     claims only
                            only on
                                 on their
                                    their significant
                                          significant exposure
                                                      exposure to
                                                               to the
                                                                  the proven
                                                                      proven hazardous
                                                                             hazardous Foam
                                                                                       Foam Toxins
                                                                                            Toxins
released by
released by PE-PUR
            PE-PUR foam     in the
                       foam in the Recalled
                                   Recalled Devices.
                                             Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding anyany and
                                                               and all
                                                                   all additional
                                                                       additional diagnosed
                                                                                  diagnosed medical
                                                                                              medical
conditions or injuries suffered within  the last 10 years  and any medications or treatments that You
conditions or injuries suffered within the last 10 years and any medications or treatments that You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of
                                                             of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                 outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it seeks matters
                                                             it seeks  matters immune
                                                                               immune fromfrom discovery
                                                                                                 discovery under
                                                                                                             under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                         privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                  privilege. Plaintiff
                                                                             Plaintiff further
                                                                                        further objects
                                                                                                  objects toto this
                                                                                                               this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                      right to
                                                            to privacy.
                                                                privacy. Plaintiff
                                                                         Plaintiff further
                                                                                   further objects
                                                                                            objects toto the
                                                                                                         the scope
                                                                                                             scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not
                                                            not relevant
                                                                  relevant to
                                                                           to any
                                                                              any claims
                                                                                    claims oror defenses
                                                                                                 defenses ofof any
                                                                                                               any



                                                              -- 14
                                                                 14
      Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 71 of 654




party. A
party. A claim
          claim for
                  for medical
                      medical monitoring
                                  monitoring costscosts does
                                                         does not
                                                               not put
                                                                    put present
                                                                        present physical
                                                                                   physical condition
                                                                                              condition atat issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                   Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430                1999) (citations
                                                                            (W.Va. 1999)                  omitted) (the
                                                                                               (citations omitted)   (the
injury in
injury in question
           question isis the
                         the increase
                               increase inin risk
                                              risk that
                                                    that requires
                                                         requires one
                                                                    one to
                                                                         to incur   the cost
                                                                             incur the    cost of
                                                                                               of monitoring);
                                                                                                  monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                         714, 716     (Mo. 2007);
                                                 716 (Mo.            Exxon Mobil
                                                            2007); Exxon      Mobil Corp.
                                                                                       Corp. v.  Albright, 71
                                                                                              v. Albright,     A.3d 30,
                                                                                                            71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure       itself and
                                            and the
                                                  the need   for medical
                                                       need for   medical testing
                                                                           testing is is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                             injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                        claim); Sadler          PacifiCare ofNev.,
                                             v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                       Inc., 340   P.3d, 264,
                                                                                           264, 1270-72
                                                                                                 1270-72 (Nev.
                                                                                                           (Nev. 2014)
                                                                                                                  2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent actact ofof the
                                                   the defendant
                                                        defendant caused
                                                                    caused thethe plaintiff
                                                                                   plaintiff to
                                                                                              to have
                                                                                                 have aa medical
                                                                                                          medical need
                                                                                                                    need
to undergo    monitoring);      Potter   v.  Firestone    Tire  &  Rubber     Co., 863    P.2d
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).   795,  823  (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                   physician-patient privilege
                                                          privilege as
                                                                     as to
                                                                        to any
                                                                           any medical
                                                                                 medical condition
                                                                                            condition for   his medical
                                                                                                        for his medical
monitoring claims
monitoring    claims inin this
                           this case   since Plaintiff
                                 case since     Plaintiff is
                                                          is not
                                                              not claiming    present physical
                                                                  claiming present       physical injury
                                                                                                    injury in this case.
                                                                                                           in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is    the significant
                                        is the   significant exposure,
                                                               exposure, increased
                                                                           increased risk     of disease
                                                                                         risk of           and medical
                                                                                                  disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing       and thethe economic
                                                    economic loss     associated therewith.
                                                                 loss associated     therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                              and class
                                                                                                                   class
members base
members    base their
                 their claims     only on
                        claims only     on their
                                            their significant
                                                   significant exposure
                                                                exposure to to the
                                                                               the proven
                                                                                    proven hazardous
                                                                                             hazardous Foam
                                                                                                          Foam Toxins
                                                                                                                 Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                          Recalled Devices.
                                                      Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                   All Communications
                       Communications Regarding
                                      Regarding (i)
                                                (i) any
                                                    any CPAP,
                                                         CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator  device  manufactured or marketed by Philips; (ii) a Recalled
ventilator device manufactured or marketed by Philips; (ii) a Recalled   Device;
                                                                         Device;  or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.



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                                                             15
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already  been   provided   by  Plaintiff.
already been provided by Plaintiff.       Plaintiff
                                          Plaintiff further objects   to this  Request  to the   extent it
                                                    further objects to this Request to the extent it seeks seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any Philips entity.
or any Philips entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST 32: All
            All Documents
                Documents and
                          and Communications
                              Communications with
                                             with Your
                                                  Your insurance
                                                       insurance provider
                                                                 provider or
                                                                          or broker
                                                                             broker



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                                                          16
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Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already  been   provided by  Plaintiff.
already been provided by Plaintiff.     Plaintiff
                                        Plaintiff further  objects   to this Request on grounds   that it
                                                  further objects to this Request on grounds that it seeksseeks
matters immune
matters             from discovery
          immune from                   under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.


AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REQUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff does
                                                                   does not
                                                                        not possess
                                                                            possess any
                                                                                    any



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                                                        17
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responsive documents.
responsive documents.

REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 36:
REQUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden oror expense
                                 expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request asas premature
                             premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed   with  the assistance of experts.
and developed with the assistance of experts.     Plaintiff
                                                  Plaintiff will adhere to the Court’s  scheduling   Order,
                                                            will adhere to the Court's scheduling Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                              Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.



                                                       -- 18
                                                          18
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REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative,    and/or  because    the  burden   or  expense   of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. its  likely  benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                               under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects to to the
                                                                                                           the scope
                                                                                                               scope
of this
of  this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses of of any
                                                                                                                 any
party. A
party.  A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at  at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse     Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d
                                         Corp., 522           424,430 (W.Va.
                                                      S.E.2d 424,430     (W.Va. 1999)
                                                                                 1999) (citations      omitted) (the
                                                                                         (citations omitted)     (the
injury in
injury  in question
           question is
                     is the
                        the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur
                                                                         incur the
                                                                               the cost
                                                                                   cost of
                                                                                         of monitoring);
                                                                                             monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220             712, 714,
                       S.W.3d 712,      714, 716
                                             716 (Mo.
                                                   (Mo. 2007);
                                                         2007); Exxon
                                                                  Exxon Mobil
                                                                          Mobil Corp.
                                                                                 Corp. v.  Albright, 71
                                                                                        v. Albright,        A.3d 30,
                                                                                                        71 A.3d   30,



                                                       -- 19
                                                          19
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75-77  (Md. 2013)
75-77 (Md.    2013) (exposure
                     (exposure itself
                                   itself and
                                           and the
                                                 the need
                                                     need for
                                                            for medical
                                                                 medical testing
                                                                          testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                          injury in
                                                                                                                 in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                        (Nev. 2014)
                                                                                                               2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                       medical need
                                                                                                                need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber
                                                                  Rubber Co.,    863 P.2d
                                                                            Co., 863    P.2d 795,
                                                                                              795, 823
                                                                                                   823 (Cal.  1993).
                                                                                                        (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for  his medical
                                                                                                     for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                       physical injury
                                                                                                 injury in
                                                                                                        in this
                                                                                                           this case.
                                                                                                                case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased risk
                                                                                       risk of
                                                                                            of disease
                                                                                               disease and
                                                                                                        and medical
                                                                                                             medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                 Plaintiff and
                                                                                                           and class
                                                                                                                class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                       Foam Toxins
                                                                                                              Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                       /s/ Kelly
                                                            /s/ Kelly K
                                                                      K. Iverson
                                                                         Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                                Kelly K.
                                                            Kelly  K. Iverson,
                                                                      Iverson, Esquire
                                                                                Esquire
 LEVIN SEDRAN & BERMAN
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                       BERMAN LLP                           LYNCH      CARPENTER,
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                                                                                   th
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                                                                                      Floor
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                                                                             15222
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                                  /s/ Steven
                                                            /s/ Steven A.
                                                                       A. Schwartz
                                                                          Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                           Steven  A. Schwartz,
                                                            Steven A.  Schwartz, Esquire
                                                                                 Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                    CHIMICLES       SCHWARTZ 'MINER
                                                            CHIMICLES SCHWARTZ           KRINER &
                                                                                                &
                        th
 55  Challenger Road,
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                   NJ 07660
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                                                                       Lancaster Avenue
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                                                                            Centre
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                                                            Haverford,  PA 19041
                                                                            19041
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                                     Counsel for Plaintiffs
                                     Counselfor  Plaintiffs and
                                                            and the
                                                                the Class
                                                                    Class




                                                        -- 20
                                                           20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 77 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy of PLAINTIFF
                                                                                  copy of PLAINTIFF

JILL
JILL LEAVENWORTH’S AMENDED RESPONSES
     LEAVENWORTH'S AMENDED RESPONSES AND
                                     AND OBJECTIONS
                                         OBJECTIONS TO PHILIPS RS'
                                                    TO PHILIPS RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
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                                   1701  Market Street
                                                 Street
                              Philadelphia, PA
                              Philadelphia, PA 19103-2921
                                                19103-2921
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                                 Counselfor  Defendant Philips
                                                       Philips
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                                   RS North America,
                                             America, LLC
                                                      LLC

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                                                Steinberg
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                           Counsel for Defendants
                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                          Eric Scott
                          Eric       Thompson
                               Scott Thompson
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                      FRANKLIN &   & PROKOPIK
                                       PROKOPIK
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                  Counsel for Polymer
                  Counselfor  Polymer Technologies, Inc.
                                      Technologies, Inc.


                                        /s/ Kelly
                                        /s/ Kelly K
                                                  K. Iverson
                                                     Iverson
                                        Kelly K.
                                        Kelly  K. Iverson
                                                  Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 79 of 654




                   EXHIBIT D
                   EXHIBIT D
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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     PLAINTIFF MICHAEL
     PLAINTIFF           WHEELER’S SECOND
               MICHAEL WHEELER'S    SECOND AMENDED
                                            AMENDED RESPONSES
                                                    RESPONSES AND
                                                              AND
                              OBJECTIONS TO
                              OBJECTIONS  TO
                PHILIPS RS’ FIRST
                PHILIPS RS'       REQUEST FOR
                            FIRST REQUEST FOR PRODUCTION
                                              PRODUCTION
           OF DOCUMENTS
           OF DOCUMENTS TO  TO MEDICAL MONITORING PLAINTIFFS
                               MEDICAL MONITORING  PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Michael
         Plaintiff Michael Wheeler
                             Wheeler ("Plaintiff')
                                        (“Plaintiff”) objects to this
                                                      objects to  this Request
                                                                       Request onon grounds
                                                                                     grounds that
                                                                                               that it
                                                                                                    it is
                                                                                                        is vague,
                                                                                                           vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                 and/or because
                                                                         because the
                                                                                   the burden
                                                                                        burden oror expense
                                                                                                    expense of  of
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit.           further objects
                                                 Plaintiff further  objects to
                                                                             to this
                                                                                this Request
                                                                                      Request toto the
                                                                                                   the extent
                                                                                                         extent it
                                                                                                                 it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                     either the
                                                            the attorney-client
                                                                 attorney-client privilege
                                                                                  privilege and/or
                                                                                              and/or the
                                                                                                       the work
                                                                                                             work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further   objects to
                                                                                        further objects     to the
                                                                                                               the
term "Acquired"
term  “Acquired” because
                    because as as defined
                                  defined it
                                           it seeks
                                              seeks to
                                                    to obtain
                                                        obtain information    not relevant
                                                                information not    relevant to
                                                                                             to any
                                                                                                 any claims
                                                                                                       claims oror
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                         grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                       seeks information
                                                                                              information thatthat
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                      and/or control.
                                                             control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for
prescriptions for the
                  the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,   and/or  because    the burden  or  expense  of   the  discovery   outweighs   its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                        any other
                                                                                              other privilege,
                                                                                                     privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REQUEST
AMENDED     REQUEST 3:    3: All
                              All Documents
                                  Documents and
                                              and Communications
                                                        Communications Regarding
                                                                          Regarding any
                                                                                      any payments
                                                                                           payments or
                                                                                                     or
reimbursements for
reimbursements for aa Recalled
                      Recalled Device,
                               Device, including
                                       including butbut not
                                                         not limited to payments
                                                             limited to payments made
                                                                                  made by
                                                                                        by You
                                                                                           You and
                                                                                               and any
                                                                                                   any
payments made
payments made on
               on Your
                    Your behalf
                          behalf by
                                  by any
                                     any government
                                          government entity,
                                                           entity, insurer,
                                                                   insurer, health
                                                                            health savings
                                                                                   savings account,
                                                                                            account, or
                                                                                                     or
                                               -- 11 --
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flexible spending account.
flexible spending account.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the  attorney-client    privilege and/or  the  work    product  doctrine, or  any  other
either the attorney-client privilege and/or the work product doctrine, or any other privilege,   privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information already
information   already in
                       in the
                          the possession,
                               possession, custody,
                                           custody, and/or
                                                     and/or control
                                                             control of
                                                                      of Defendant.
                                                                         Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative,   and/or  because   the burden   or  expense   of   the discovery   outweighs    its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.   likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                           under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                                product doctrine,
                                                                          doctrine, oror any
                                                                                          any other    privilege,
                                                                                               other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                 the extent
                                                                                                      extent this
                                                                                                             this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                   Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                    the fact
                                                                                                        fact that
                                                                                                             that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                 its possession,
                                                                                                     possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REQUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


                                                      -2-
                                                      -2
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Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                    matters immune
                                                                             immune from
                                                                                       from discovery
                                                                                             discovery under
                                                                                                         under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                        doctrine, oror any
                                                                                        any other  privilege,
                                                                                             other privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                               scope of
                                                                      of this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent
                                                                                               extent it
                                                                                                      it seeks
                                                                                                         seeks
information not
information   not relevant
                   relevant to
                             to any
                                any claims
                                      claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                               any party.
                                                                    party. Plaintiff
                                                                            Plaintiff further  objects to
                                                                                      further objects  to this
                                                                                                           this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                the possession,
                                                                    possession, custody,
                                                                                 custody, and/or
                                                                                            and/or control
                                                                                                   control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REOUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as   as vague,
                                                               vague, unduly
                                                                         unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                        overbroad, irrelevant,
                                                                                                                         irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or  or expense
                                                            expense of of the
                                                                           the discovery
                                                                                discovery outweighs
                                                                                              outweighs its    its likely   benefit.
                                                                                                                    likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to  to the
                                                          the extent
                                                               extent it  seeks matters
                                                                       it seeks  matters immune
                                                                                            immune from  from discovery
                                                                                                                 discovery under
                                                                                                                               under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or the the work
                                                                   work product
                                                                           product doctrine,
                                                                                       doctrine, or  or any
                                                                                                          any other
                                                                                                                 other privilege,
                                                                                                                          privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                            privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                       further objects
                                                                                                                  objects to to this
                                                                                                                                 this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                         privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                            objects to to the
                                                                                                                          the scope
                                                                                                                               scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                      information not not relevant
                                                                           relevant to to any
                                                                                           any claims
                                                                                                 claims or   or defenses
                                                                                                                 defenses of  of any
                                                                                                                                 any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with    with any
                                                                                  any Person
                                                                                       Person Plaintiff
                                                                                                  Plaintiff consulted
                                                                                                               consulted withwith in
                                                                                                                                   in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A    A claim
                                                          claim for   medical monitoring
                                                                  for medical     monitoring costscosts does
                                                                                                           does not
                                                                                                                  not put
                                                                                                                        put present
                                                                                                                             present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.     Bower v.
                                                e.g. Bower      v. Westinghouse
                                                                    Westinghouse Elec.         Corp., 522
                                                                                       Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                 S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury
                                                     injury inin question
                                                                 question is is the
                                                                                the increase
                                                                                     increase in in risk    that requires
                                                                                                     risk that    requires oneone to
                                                                                                                                   to
incur  the   cost  of monitoring);        Meyer    v.  Fluor   Corp.,   220   S.W.3d    712,
incur the cost of monitoring); Meyer v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon714,   716    (Mo.    2007);   Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77     (Md. 2013)
                                                    75-77 (Md.      2013) (exposure
                                                                             (exposure itself
                                                                                           itself and
                                                                                                   and thethe need
                                                                                                               need forfor medical
                                                                                                                            medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                       medical monitoring
                                                                  monitoring claim);
                                                                                  claim); Sadler
                                                                                             Sadler v.      PacifiCare of
                                                                                                       v. PacifiCare        of Nev.,
                                                                                                                                Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                            (inquiry isis whether
                                                                           whether thethe negligent
                                                                                            negligent act  act of
                                                                                                                of the
                                                                                                                    the defendant
                                                                                                                         defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical need need toto undergo
                                                                  undergo monitoring);
                                                                              monitoring); Potter
                                                                                                Potter v.     Firestone Tire
                                                                                                           v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).     Plaintiff has
                                                                        has not  waived the
                                                                             not waived     the physician-patient
                                                                                                physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical      monitoring claims
                                                                              claims in     this case
                                                                                        in this           since Plaintiff
                                                                                                  case since      Plaintiff is is not
                                                                                                                                  not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The      injury that
                                                                  The injury     that Plaintiff
                                                                                       Plaintiff claims
                                                                                                    claims is      the significant
                                                                                                               is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                        medical necessity
                                                                   necessity of of diagnostic
                                                                                    diagnostic testing
                                                                                                   testing andand thethe economic
                                                                                                                          economic
loss  associated     therewith.
loss associated therewith.            Plaintiff
                                      Plaintiff   and   class   members     base
                                                  and class members base their     their  claims
                                                                                          claims    only
                                                                                                    only    on
                                                                                                            on   their
                                                                                                                 their  significant
                                                                                                                        significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins       released by
                                                        Toxins released      by PE-PUR
                                                                                PE-PUR foam  foam in in the
                                                                                                         the Recalled
                                                                                                              Recalled Devices.
                                                                                                                           Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REOUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.



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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                 Request areare compounded
                                                                                 compounded by   by the
                                                                                                     the fact   that
                                                                                                          fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its  possession, custody,
                                                                       its possession,             and/or control
                                                                                        custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                       responsive documents
                                                                                    documents to  to this
                                                                                                     this Request
                                                                                                          Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                 scope ofof this
                                                                            this Request
                                                                                 Request toto the
                                                                                              the extent
                                                                                                   extent it
                                                                                                           it seeks
                                                                                                              seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses
                                        claims or  defenses of of any
                                                                  any party.
                                                                       party. Plaintiff
                                                                               Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                 discovery under
                                                                              under either   the attorney-client
                                                                                     either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                   privilege, immunity,
                                                                               immunity, or or protection.
                                                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated     therewith.       Plaintiff   and  class   members     base   their  claims
loss associated therewith. Plaintiff and class members base their claims only on their significant only    on   their  significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST 9: All
           All Documents
               Documents in
                         in Your
                            Your possession,
                                 possession, custody,
                                             custody, or
                                                      or control
                                                         control Regarding
                                                                 Regarding Your
                                                                           Your use
                                                                                use of
                                                                                    of and
                                                                                       and


                                                               -4-
                                                               -4
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storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                                This Request
                                     Request includes,
                                             includes, but
                                                        but is
                                                            is not
                                                               not limited to, all
                                                                   limited to, all data
                                                                                   data Regarding
                                                                                        Regarding Your
                                                                                                  Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                             and/or EncoreAnywhere,      which we
                                                                     EncoreAnywhere, which      we will
                                                                                                   will
obtain upon
obtain        your signing
       upon your   signing the
                           the attached
                               attached Authorization
                                        Authorization to
                                                       to Disclose
                                                          Disclose Health
                                                                     Health Information.
                                                                             Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative,    and/or  because     the  burden   or  expense   of  the  discovery    outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.  its  likely   benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds thatthat it
                                                                                                                  it is
                                                                                                                      is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims oror defenses
                                                                                                          defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and     and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined and and make
                                                                                                             make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request toto the
                                                                                                         the extent
                                                                                                              extent it
                                                                                                                      it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or thethe work
                                                                                                                 work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                      objects toto this
                                                                                                                   this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                            control of
                                                                                                                     of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.


REQUEST 10:
REQUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative,    and/or  because   the  burden   or  expense   of the  discovery   outweighs    its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.    likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                      information sought
                                                                    sought inin this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” is
                                          is undefined
                                              undefined andand that
                                                                 that it
                                                                       it is
                                                                          is not   apparent to
                                                                             not apparent     to Plaintiff
                                                                                                  Plaintiff what
                                                                                                              what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                       information Defendant
                                                                     Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                        Plaintiff further
                                                                  further objects   to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is    not within
                                                   is not within the
                                                                  the possession,
                                                                      possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from his
                                                                                               his
Recalled Device(s).
Recalled Device(s).

REQUEST 11:
REOUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff objects to
                          to this
                             this Request
                                   Request as
                                            as vague,
                                                vague, unduly
                                                       unduly burdensome,
                                                                burdensome, overbroad,
                                                                              overbroad, irrelevant,
                                                                                           irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                              the burden
                                  burden or
                                         or expense
                                             expense of
                                                      of the
                                                         the discovery
                                                             discovery outweighs
                                                                       outweighs its
                                                                                   its likely benefit.
                                                                                       likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to the
                             the scope
                                  scope of
                                        of this
                                           this Request
                                                 Request on
                                                          on grounds
                                                             grounds that
                                                                      that it
                                                                           it seeks
                                                                              seeks information
                                                                                     information not
                                                                                                  not


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relevant to
relevant  to any
             any claims
                 claims oror defenses
                              defenses of
                                        of any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                         objects that
                                                                                  that the
                                                                                       the term
                                                                                           term "condition"
                                                                                                 “condition”
is undefined.
is             Plaintiff further
   undefined. Plaintiff           objects to
                         further objects  to this
                                              this Request
                                                   Request to
                                                           to the
                                                              the extent
                                                                  extent that
                                                                          that the
                                                                               the burden
                                                                                   burden or
                                                                                           or expense
                                                                                              expense of
                                                                                                       of the
                                                                                                          the
requested discovery
requested                outweighs its
            discovery outweighs       its likely   benefit, and/or
                                           likely benefit,  and/or that
                                                                     that the
                                                                           the information
                                                                                information is    already in
                                                                                               is already  in
Defendant’s possession,
Defendant's    possession, custody,
                             custody, and/or
                                       and/or control.
                                                control. Plaintiff
                                                         Plaintiff further
                                                                   further objects
                                                                            objects to
                                                                                     to this
                                                                                        this Request
                                                                                             Request toto the
                                                                                                          the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                  provided information
                                             information responsive
                                                           responsive toto this
                                                                            this Request.
                                                                                 Request. Plaintiff
                                                                                            Plaintiff further
                                                                                                      further
objects to
objects  to this
            this Request
                 Request to to the
                                the extent
                                    extent it
                                            it seeks
                                               seeks matters
                                                      matters immune
                                                               immune from
                                                                         from discovery
                                                                                discovery under
                                                                                            under either
                                                                                                   either the
                                                                                                          the
attorney-client privilege
attorney-client  privilege and/or
                             and/or the
                                     the work
                                         work product
                                                 product doctrine,
                                                         doctrine, or
                                                                    or any
                                                                       any other
                                                                             other privilege,
                                                                                    privilege, immunity,
                                                                                               immunity, oror
protection.
protection.
        Without waiving
        Without   waiving andand subject
                                  subject to
                                          to these
                                             these objections,
                                                    objections, Plaintiff
                                                                Plaintiff does
                                                                          does not
                                                                                not possess
                                                                                    possess any
                                                                                             any responsive
                                                                                                  responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the
                                  the burden
                                      burden or
                                              or expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects     to the
                      objects to   the scope
                                        scope of
                                               of this
                                                   this Request
                                                         Request to to the
                                                                        the extent
                                                                             extent it  impermissibly seeks
                                                                                     it impermissibly      seeks
information not
information    not relevant
                    relevant to
                              to any
                                 any claims
                                      claims or
                                              or defenses
                                                 defenses ofof any
                                                               any party,
                                                                    party, including
                                                                            including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication        with any
                          any Person
                                Person Regarding
                                        Regarding thethe cleaning
                                                         cleaning ofof aa Recalled
                                                                          Recalled Device.
                                                                                     Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                  extent that
                          that the
                                the information
                                     information sought
                                                   sought inin this
                                                               this Request
                                                                     Request isis already
                                                                                  already in
                                                                                           in the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                   control of
                            of Defendant.
                               Defendant. Plaintiff
                                            Plaintiff further
                                                      further objects
                                                              objects to
                                                                       to this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                           information responsive
                                          responsive toto this
                                                           this Request.
                                                                Request. Plaintiff
                                                                            Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request   to  the  extent  it seeks   matters immune     from   discovery   under  either  the
Request to the extent it seeks matters immune from discovery under either the attorney-client   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,   or any
                                        doctrine, or  any other  privilege, immunity,
                                                           other privilege,  immunity, oror protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 13:
REOUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff does not possess
                                                                   does not possess any
                                                                                    any responsive
                                                                                        responsive



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documents.
documents.

REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.



RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already  in the  possession,     custody,  and/or   control  of
already in the possession, custody, and/or control of Defendant. Defendant.     Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REQUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.



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                                                        -7
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                         Request as   as vague,
                                                          vague, unduly
                                                                     unduly burdensome,
                                                                                burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                                irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden or  or expense
                                                       expense of  of the
                                                                       the discovery
                                                                            discovery outweighs
                                                                                         outweighs itsits likely    benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff  further objects
                   objects toto the
                                 the extent
                                     extent this
                                               this Request
                                                     Request seeks
                                                                 seeks aa concession
                                                                           concession that
                                                                                         that evidence
                                                                                              evidence of of degradation
                                                                                                              degradation
can be
can  be seen
        seen byby the
                   the naked
                        naked eye.
                                 eye. Plaintiff
                                       Plaintiff further
                                                    further objects
                                                               objects toto this
                                                                             this Request
                                                                                  Request onon grounds
                                                                                                 grounds that
                                                                                                            that the
                                                                                                                   the term
                                                                                                                        term
“particulate” and
"particulate"    and "dark
                      “dark matter"
                               matter” areare undefined.
                                                undefined. Plaintiff
                                                                Plaintiff further    objects to
                                                                            further objects    to the
                                                                                                   the use
                                                                                                        use ofof the
                                                                                                                  the term
                                                                                                                        term
“Regarding,”    in this Request     on  grounds    that  it is overbroad,     vague,  ambiguous,
"Regarding," in this Request on grounds that it is overbroad, vague, ambiguous, and impermissibly    and  impermissibly
seeks information
seeks  information notnot relevant
                          relevant to  to any
                                           any claims
                                                 claims oror defenses
                                                               defenses of of any
                                                                               any party.
                                                                                   party. Plaintiff
                                                                                           Plaintiff further
                                                                                                      further objects
                                                                                                                 objects toto
this Request
this Request on on grounds
                    grounds that
                               that it
                                     it is
                                        is duplicative
                                            duplicative of   of Request
                                                                Request No. No. 11.
                                                                                 11. Plaintiff
                                                                                     Plaintiff further
                                                                                                 further objects
                                                                                                          objects to to this
                                                                                                                         this
Request to
Request    to the
              the extent
                  extent that
                          that the
                                 the burden
                                      burden or  or expense
                                                     expense of  of the
                                                                     the requested
                                                                          requested discovery
                                                                                      discovery outweighs
                                                                                                   outweighs its  its likely
                                                                                                                      likely
benefit, and/or
benefit,  and/or that
                  that the
                       the information
                            information is   is already
                                                already in  in Defendant's
                                                                Defendant’s possession,
                                                                                possession, custody,
                                                                                              custody, and/or
                                                                                                         and/or control.
                                                                                                                    control.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                        Request to  to the
                                                        the extent
                                                              extent Plaintiff
                                                                       Plaintiff has
                                                                                  has already
                                                                                       already provided
                                                                                                 provided information
                                                                                                              information
responsive to
responsive    to this
                 this Request.
                      Request. Plaintiff
                                   Plaintiff further
                                               further objects
                                                         objects to to this
                                                                        this Request
                                                                              Request toto the
                                                                                           the extent
                                                                                                extent it  seeks matters
                                                                                                        it seeks    matters
immune from
immune    from discovery
                 discovery under
                             under either
                                      either the
                                              the attorney-client
                                                   attorney-client privilege
                                                                        privilege and/or
                                                                                   and/or the
                                                                                           the work
                                                                                                work product
                                                                                                      product doctrine,
                                                                                                                  doctrine,
or any
or any other
        other privilege,
               privilege, immunity,
                           immunity, or    or protection.
                                              protection. Plaintiff
                                                               Plaintiff further
                                                                          further objects
                                                                                   objects to
                                                                                            to the
                                                                                               the extent
                                                                                                    extent this
                                                                                                             this Request
                                                                                                                    Request
seeks premature     expert  testimony.
seeks premature expert testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications     with  any Person Regarding     the recall;
to Communications with any Person Regarding the recall; Your     Your  Communications
                                                                       Communications   with
                                                                                        with  any
                                                                                              any  Health
                                                                                                  Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                                Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


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REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant to to any
                                                                              any claims
                                                                                   claims oror defenses
                                                                                                defenses ofof any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of  of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                           its likely benefit.
                                                                                               likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties ofof this
                                                          this Request
                                                               Request areare compounded
                                                                               compounded by by the
                                                                                                 the fact
                                                                                                     fact that
                                                                                                          that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available toto it.
                                                               it. Plaintiff
                                                                   Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                             to the
                                                                                                the use
                                                                                                    use of
                                                                                                        of the
                                                                                                           the
terms  “Communications”      and  “Acquisition”    in  this Request    on  grounds  that they
terms "Communications" and "Acquisition" in this Request on grounds that they are overbroad,  are  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not  not relevant  to any
                                                                      relevant to  any claims
                                                                                       claims or
                                                                                               or defenses
                                                                                                  defenses of
                                                                                                            of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to  to the
                                                                 the extent
                                                                     extent it
                                                                             it seeks
                                                                                seeks matters
                                                                                      matters immune
                                                                                               immune from
                                                                                                         from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                           and/or the
                                                                   the work
                                                                        work product
                                                                              product doctrine,  or any
                                                                                       doctrine, or any other
                                                                                                         other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REQUEST       20: All
                  All Documents
                      Documents and
                                  and Communications
                                      Communications relating   to any
                                                       relating to any injuries
                                                                       injuries You
                                                                                You allege
                                                                                     allege You
                                                                                            You have
                                                                                                 have
suffered  from   the  use  of a Recalled Device.  This request  includes  but  is not  limited
suffered from the use of a Recalled Device. This request includes but is not limited to the    to the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                               physiological changes"
                                             changes” You
                                                      You allege
                                                           allege You
                                                                   You have
                                                                        have suffered
                                                                              suffered in
                                                                                        in Paragraphs
                                                                                           Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:



                                                      - 99 -
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          Plaintiff objects
          Plaintiff   objects to to this
                                     this Request
                                              Request as  as vague,
                                                               vague, unduly
                                                                         unduly burdensome,
                                                                                     burdensome, overbroad,
                                                                                                        overbroad, irrelevant,
                                                                                                                       irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                             burden or or expense
                                                           expense of  of the
                                                                           the discovery
                                                                                 discovery outweighs
                                                                                               outweighs its  its likely  benefit.
                                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                          Request to  to the
                                                         the extent
                                                              extent it   seeks matters
                                                                       it seeks   matters immune
                                                                                             immune from from discovery
                                                                                                                discovery under
                                                                                                                            under
either the
either   the attorney-client
              attorney-client privilege
                                    privilege and/orand/or the
                                                             the work
                                                                   work product
                                                                            product doctrine,
                                                                                        doctrine, or or any
                                                                                                          any other
                                                                                                                other privilege,
                                                                                                                        privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                    physician-patient privilege.
                                                                            privilege. Plaintiff
                                                                                          Plaintiff further
                                                                                                       further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                   violates Plaintiffs
                                                 Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                         privacy. Plaintiff
                                                                                      Plaintiff further
                                                                                                 further objects
                                                                                                           objects toto the
                                                                                                                        the scope
                                                                                                                            scope
of this
of  this Request
          Request to to the
                        the extent
                             extent it   it seeks
                                            seeks information
                                                     information not  not relevant
                                                                            relevant to to any
                                                                                            any claims
                                                                                                  claims or or defenses
                                                                                                                defenses ofof any
                                                                                                                               any
party. A
party.  A claim
           claim for
                   for medical
                        medical monitoring
                                    monitoring costs  costs does
                                                             does not
                                                                    not put
                                                                          put present
                                                                               present physical
                                                                                          physical condition        at issue.
                                                                                                      condition at issue. See  See
e.g. Bower
e.g. Bower v. v. Westinghouse
                 Westinghouse Elec.  Elec. Corp.,
                                              Corp., 522522 S.E.2d     424,430 (W.Va.
                                                             S.E.2d 424,430        (W.Va. 1999)
                                                                                              1999) (citations
                                                                                                       (citations omitted)
                                                                                                                    omitted) (the
                                                                                                                               (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in   in risk
                                                  risk that
                                                        that requires
                                                              requires oneone toto incur
                                                                                    incur the
                                                                                           the cost
                                                                                                 cost of
                                                                                                       of monitoring);
                                                                                                           monitoring); Meyer
                                                                                                                            Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                             714, 716716 (Mo.
                                                          (Mo. 2007);
                                                                  2007); Exxon
                                                                           Exxon Mobil
                                                                                     Mobil Corp.
                                                                                              Corp. v.   Albright, 71
                                                                                                     v. Albright,        A.3d 30,
                                                                                                                      71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.     2013) (exposure
                       (exposure itselfitself and
                                                and the
                                                      the need
                                                           need for    medical testing
                                                                  for medical     testing is is the
                                                                                                the compensable
                                                                                                    compensable injury injury in
                                                                                                                               in aa
medical monitoring
medical    monitoring claim);
                         claim); Sadler
                                     Sadler v.      PacifiCare of
                                                 v. PacifiCare     of Nev.,
                                                                      Nev., Inc.,    340 P.3d,
                                                                              Inc., 340    P.3d, 264,
                                                                                                  264, 1270-72
                                                                                                          1270-72 (Nev.
                                                                                                                     (Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry   is whether
              whether thethe negligent
                              negligent act   act ofof the
                                                       the defendant
                                                            defendant caused
                                                                           caused thethe plaintiff
                                                                                          plaintiff toto have
                                                                                                          have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to undergo monitoring);
               monitoring); Potter
                                 Potter v.       Firestone Tire
                                             v. Firestone      Tire && Rubber
                                                                         Rubber Co.,      863 P.2d
                                                                                     Co., 863    P.2d 795,
                                                                                                        795, 823     (Cal. 1993).
                                                                                                               823 (Cal.   1993).
Plaintiff has
Plaintiff  has not
                not waived
                     waived thethe physician-patient
                                     physician-patient privilege
                                                               privilege as as to
                                                                               to any
                                                                                  any medical
                                                                                         medical condition
                                                                                                   condition for      his medical
                                                                                                                 for his  medical
monitoring claims
monitoring     claims inin this
                            this case
                                  case since
                                           since Plaintiff
                                                    Plaintiff isis not
                                                                   not claiming
                                                                        claiming present
                                                                                     present physical
                                                                                                physical injury
                                                                                                            injury inin this
                                                                                                                        this case.
                                                                                                                             case.
The   injury that
The injury    that Plaintiff
                    Plaintiff claims
                                claims is   is the
                                                the significant
                                                     significant exposure,
                                                                    exposure, increased
                                                                                  increased riskrisk of
                                                                                                      of disease
                                                                                                          disease andand medical
                                                                                                                          medical
necessity of
necessity    of diagnostic
                diagnostic testing
                               testing and  and thethe economic
                                                        economic loss        associated therewith.
                                                                      loss associated       therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and class
                                                                                                                             class
members base
members     base their
                  their claims
                         claims onlyonly on on their
                                                their significant
                                                       significant exposure
                                                                      exposure to  to the
                                                                                       the proven
                                                                                           proven hazardous
                                                                                                     hazardous FoamFoam Toxins
                                                                                                                           Toxins
released by
released   by PE-PUR
               PE-PUR foam foam in  in the
                                        the Recalled
                                              Recalled Devices.
                                                          Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

          Plaintiff does
          Plaintiff does not
                         not possess
                             possess any
                                     any responsive
                                         responsive documents.
                                                    documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                 this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs itsits likely  benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                         any other    privilege,
                                                                                              other privilege,
immunity, or
immunity,    or protection,
                protection, including
                              including physician-patient
                                          physician-patient privilege.
                                                                privilege. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                      that it
                           it violates
                               violates Plaintiffs
                                        Plaintiff’s right
                                                    right to
                                                          to privacy.
                                                             privacy. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects
                                                                                          objects to
                                                                                                   to the
                                                                                                      the scope
                                                                                                          scope



                                                               -- 10
                                                                  10
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of this
of  this Request
         Request toto the
                       the extent
                             extent it  seeks information
                                     it seeks    information not  not relevant
                                                                       relevant toto any
                                                                                     any claims
                                                                                           claims oror defenses  of any
                                                                                                       defenses of   any
party. A
party.  A claim
           claim for
                  for medical
                      medical monitoring
                                  monitoring costscosts does
                                                          does not
                                                                not put
                                                                     put present
                                                                          present physical
                                                                                    physical condition
                                                                                               condition at
                                                                                                          at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.       Corp., 522
                                   Elec. Corp.,     522 S.E.2d     424,430 (W.Va.
                                                          S.E.2d 424,430                1999) (citations
                                                                              (W.Va. 1999)                omitted) (the
                                                                                               (citations omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                              increase in in risk
                                              risk that
                                                    that requires
                                                          requires one
                                                                     one to
                                                                          to incur   the cost
                                                                              incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220               712, 714,
                          S.W.3d 712,      714, 716
                                                  716 (Mo.      2007); Exxon
                                                         (Mo. 2007);     Exxon Mobil
                                                                                 Mobil Corp.
                                                                                          Corp. v.   Albright, 71
                                                                                                  v. Albright,      A.3d
                                                                                                                71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
             (Md. 2013)     (exposure itself     and the
                                         itself and     the need
                                                            need for
                                                                   for medical
                                                                        medical testing
                                                                                  testing is
                                                                                           is the
                                                                                              the compensable
                                                                                                   compensable injury
                                                                                                                  injury
in aa medical
in    medical monitoring
                monitoring claim);
                               claim); Sadler
                                         Sadler v.     PacifiCare of
                                                   v. PacifiCare     of Nev.,   Inc., 340
                                                                         Nev., Inc.,        P.3d, 264,
                                                                                       340 P.3d,   264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                   (Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether    the negligent
                                     negligent act act of
                                                        of the
                                                           the defendant
                                                                defendant caused
                                                                             caused thethe plaintiff
                                                                                           plaintiff to
                                                                                                     to have  a medical
                                                                                                        have a medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                       Potter v.    Firestone Tire
                                                 v. Firestone     Tire &    Rubber Co.,
                                                                        & Rubber       Co., 863   P.2d 795,
                                                                                            863 P.2d    795, 823
                                                                                                              823 (Cal.
                                                                                                                    (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not    waived the
                        not waived     the physician-patient
                                             physician-patient privilege
                                                                    privilege asas to
                                                                                    to any
                                                                                        any medical
                                                                                            medical condition
                                                                                                      condition for   his
                                                                                                                 for his
medical monitoring
medical   monitoring claims
                        claims in    this case
                                  in this        since Plaintiff
                                           case since     Plaintiff is
                                                                    is not  claiming present
                                                                       not claiming     present physical
                                                                                                physical injury
                                                                                                           injury in this
                                                                                                                  in this
case. The
case.        injury that
       The injury    that Plaintiff
                            Plaintiff claims
                                       claims is  is the
                                                      the significant
                                                           significant exposure,
                                                                         exposure, increased
                                                                                       increased risk
                                                                                                   risk of
                                                                                                        of disease
                                                                                                            disease and
                                                                                                                     and
medical necessity
medical   necessity ofof diagnostic
                           diagnostic testing
                                        testing andand the
                                                         the economic
                                                              economic loss     associated therewith.
                                                                           loss associated   therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                     and
class members
class  members base
                  base their
                         their claims
                                claims only
                                         only onon their
                                                     their significant
                                                            significant exposure
                                                                          exposure to to the
                                                                                         the proven
                                                                                             proven hazardous
                                                                                                      hazardous Foam
                                                                                                                   Foam
Toxins   released by
Toxins released    by PE-PUR
                        PE-PUR foam foam in in the
                                               the Recalled
                                                    Recalled Devices.
                                                                 Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This
                      This request
                            request includes  but is
                                     includes but  is not limited to
                                                      not limited  to any
                                                                      any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;     imaging; colonoscopies,
                                   examinations; imaging;      colonoscopies, endoscopies,
                                                                                 endoscopies, and
                                                                                                and other
                                                                                                     other
similar methods
similar  methods for    examination; biopsies;
                   for examination;    biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,                surgical, and
            histologic, surgical,   and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for
                                 for diagnosis  and treatment."
                                     diagnosis and   treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                           Request as  as vague,
                                                            vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the the burden
                                          burden or or expense
                                                        expense of of the
                                                                       the discovery
                                                                            discovery outweighs
                                                                                        outweighs its its likely   benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
           further objects    to this
                                 this Request
                                        Request to to the
                                                      the extent
                                                           extent it
                                                                   it seeks
                                                                      seeks matters
                                                                             matters immune
                                                                                      immune fromfrom discovery
                                                                                                        discovery under
                                                                                                                     under
either the
either  the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or thethe work
                                                                work product
                                                                       product doctrine,
                                                                                  doctrine, oror any
                                                                                                  any other     privilege,
                                                                                                        other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects to to this
                                                                                                                        this
Request on
Request    on grounds
               grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                              Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                     scope
of this
of  this Request
         Request to to the
                        the extent
                             extent it it seeks
                                          seeks information
                                                  information not not relevant
                                                                       relevant toto any
                                                                                     any claims
                                                                                           claims oror defenses
                                                                                                        defenses of of any
                                                                                                                        any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                 not put
                                                                      put present
                                                                           present physical
                                                                                    physical condition
                                                                                               condition at at issue.
                                                                                                               issue. See
                                                                                                                        See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec. Elec. Corp.,     522 S.E.2d
                                            Corp., 522             424,430 (W.Va.
                                                          S.E.2d 424,430      (W.Va. 1999)
                                                                                       1999) (citations     omitted) (the
                                                                                               (citations omitted)      (the
injury in
injury  in question
            question isis the
                          the increase
                               increase in  in risk
                                               risk that
                                                     that requires
                                                           requires one
                                                                      one to
                                                                           to incur
                                                                              incur the
                                                                                     the cost
                                                                                         cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220     S.W.3d 712, 712, 714,
                                             714, 716    (Mo. 2007);
                                                   716 (Mo.      2007); Exxon
                                                                         Exxon Mobil
                                                                                  Mobil Corp.
                                                                                          Corp. v.   Albright, 71
                                                                                                  v. Albright,    71 A.3d
                                                                                                                       A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.    2013) (exposure
                            (exposure itself
                                           itself and
                                                  and the
                                                        the need
                                                              need for  medical testing
                                                                    for medical   testing is
                                                                                           is the
                                                                                              the compensable
                                                                                                   compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                               claim); Sadler
                                           Sadler v.   PacifiCare of
                                                    v. PacifiCare     of Nev.,
                                                                         Nev., Inc.,  340 P.3d,
                                                                                Inc., 340   P.3d, 264,
                                                                                                   264, 1270-72
                                                                                                         1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the the negligent
                                       negligent actact of
                                                        of the
                                                             the defendant
                                                                 defendant caused
                                                                              caused the
                                                                                      the plaintiff
                                                                                           plaintiff to
                                                                                                     to have
                                                                                                         have aa medical
                                                                                                                  medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); PotterPotter v.   Firestone Tire
                                                  v. Firestone     Tire && Rubber     Co., 863
                                                                             Rubber Co.,          P.2d 795,
                                                                                            863 P.2d            823 (Cal.
                                                                                                         795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                               waived the the physician-patient
                                               physician-patient privilege
                                                                      privilege as
                                                                                 as to
                                                                                    to any
                                                                                       any medical
                                                                                            medical condition
                                                                                                       condition forfor his
                                                                                                                         his



                                                           - 11
                                                           -11
      Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 92 of 654




medical monitoring
medical monitoring claims
                    claims in
                            in this
                               this case
                                    case since
                                          since Plaintiff
                                                 Plaintiff is
                                                           is not
                                                              not claiming
                                                                  claiming present
                                                                            present physical
                                                                                    physical injury
                                                                                              injury in
                                                                                                     in this
                                                                                                        this
case. The
case.     injury that
      The injury that Plaintiff
                      Plaintiff claims
                                 claims isis the
                                              the significant
                                                  significant exposure,
                                                               exposure, increased
                                                                           increased risk
                                                                                      risk of
                                                                                           of disease
                                                                                               disease and
                                                                                                        and
medical necessity
medical necessity of
                  of diagnostic
                     diagnostic testing
                                  testing and
                                           and the
                                                the economic
                                                     economic loss    associated therewith.
                                                                 loss associated therewith. Plaintiff
                                                                                              Plaintiff and
                                                                                                        and
class members
class members base
               base their
                    their claims
                          claims only
                                   only on
                                         on their
                                             their significant
                                                   significant exposure
                                                                exposure to
                                                                          to the
                                                                             the proven
                                                                                 proven hazardous
                                                                                         hazardous Foam
                                                                                                      Foam
Toxins released by
Toxins released by PE-PUR
                   PE-PUR foamfoam inin the
                                        the Recalled
                                            Recalled Devices.
                                                       Devices.

REQUEST 23:
REQUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy  specimens, and any  other pathologic material taken from You  by any Health
slides, biopsy specimens, and any other pathologic material taken from You by any Health CareCare
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either  the  attorney-client       privilege       and/or  the   work     product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,     or   any    other   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340    P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo    monitoring);      Potter      v.  Firestone    Tire  &   Rubber      Co., 863
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).  P.2d   795,    823   (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                       medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                     the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                             irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                     its likely benefit.
                                                                                         likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks matters immune
                                                                         immune from
                                                                                 from discovery
                                                                                       discovery under
                                                                                                  under



                                                              -- 12
                                                                 12
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either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/or
                                                  and/or the
                                                          the work
                                                                work product
                                                                       product doctrine,
                                                                                  doctrine, or  or any
                                                                                                    any other    privilege,
                                                                                                          other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                  physician-patient privilege.
                                                                       privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                  further objects
                                                                                                           objects to
                                                                                                                    to this
                                                                                                                        this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                               Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                            further objects
                                                                                                      objects to
                                                                                                              to the
                                                                                                                 the scope
                                                                                                                     scope
of this
of this Request
         Request to to the
                       the extent
                            extent it  it seeks
                                          seeks information
                                                   information not not relevant
                                                                       relevant toto any
                                                                                      any claims
                                                                                             claims oror defenses   of any
                                                                                                          defenses of   any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs costs does
                                                           does not
                                                                 not put
                                                                      put present
                                                                          present physical
                                                                                     physical condition
                                                                                                 condition atat issue.
                                                                                                                issue. See
                                                                                                                        See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.          Corp., 522
                                    Elec. Corp.,      522 S.E.2d    424,430 (W.Va.
                                                           S.E.2d 424,430                1999) (citations
                                                                              (W.Va. 1999)                   omitted) (the
                                                                                                  (citations omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in  in risk
                                                risk that
                                                      that requires
                                                           requires one
                                                                      one to
                                                                           to incur   the cost
                                                                               incur the    cost of
                                                                                                  of monitoring);
                                                                                                     monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                           714, 716     (Mo. 2007);
                                                   716 (Mo.            Exxon Mobil
                                                               2007); Exxon     Mobil Corp.
                                                                                         Corp. v.   Albright, 71
                                                                                                v. Albright,      A.3d 30,
                                                                                                               71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure        itself and
                                              and the
                                                    the need   for medical
                                                         need for   medical testing
                                                                             testing is is the
                                                                                           the compensable
                                                                                               compensable injury
                                                                                                                injury in
                                                                                                                        in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler            PacifiCare ofNev.,
                                               v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                         Inc., 340   P.3d, 264,
                                                                                             264, 1270-72
                                                                                                    1270-72 (Nev.
                                                                                                              (Nev. 2014)
                                                                                                                     2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act  act ofof the
                                                     the defendant
                                                          defendant caused
                                                                      caused thethe plaintiff
                                                                                     plaintiff toto have
                                                                                                    have aa medical
                                                                                                             medical need
                                                                                                                       need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.      Firestone Tire
                                           v. Firestone     Tire && Rubber
                                                                     Rubber Co.,Co., 863    P.2d 795,
                                                                                     863 P.2d      795, 823
                                                                                                         823 (Cal.  1993).
                                                                                                              (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                            privilege as
                                                                       as to
                                                                          to any
                                                                             any medical
                                                                                   medical condition
                                                                                              condition for    his medical
                                                                                                           for his medical
monitoring claims
monitoring    claims inin this
                           this case     since Plaintiff
                                 case since       Plaintiff is
                                                             is not
                                                                not claiming    present physical
                                                                    claiming present       physical injury
                                                                                                       injury in this case.
                                                                                                              in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is      the significant
                                          is the   significant exposure,
                                                                 exposure, increased
                                                                             increased risk      of disease
                                                                                           risk of            and medical
                                                                                                     disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing         and thethe economic
                                                      economic loss     associated therewith.
                                                                   loss associated     therewith. Plaintiff
                                                                                                       Plaintiff and
                                                                                                                 and class
                                                                                                                      class
members    base  their  claims     only   on  their  significant  exposure    to the  proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxinshazardous    Foam   Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                      the Recalled
                                            Recalled Devices.
                                                        Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.


REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as as vague,
                                                         vague, unduly
                                                                   unduly burdensome,
                                                                              burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden oror expense
                                                      expense of of the
                                                                     the discovery
                                                                           discovery outweighs
                                                                                       outweighs its  its likely  benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request toto the
                                                    the extent
                                                        extent it   seeks matters
                                                                 it seeks   matters immune
                                                                                     immune from from discovery
                                                                                                        discovery under
                                                                                                                    under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                               and/or the
                                                       the work
                                                             work product
                                                                      product doctrine,
                                                                                doctrine, or or any
                                                                                                  any other
                                                                                                        other privilege,
                                                                                                                privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                               physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                         objects toto this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                            Plaintiff’s right
                                                         right to
                                                               to privacy.
                                                                   privacy. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                    scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                information not not relevant
                                                                      relevant toto any
                                                                                    any claims
                                                                                          claims or or defenses
                                                                                                        defenses ofof any
                                                                                                                       any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                 costs does
                                                        does not
                                                              not put
                                                                    put present
                                                                         present physical
                                                                                   physical condition
                                                                                              condition at  at issue.
                                                                                                               issue. See
                                                                                                                       See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                   omitted) (the
                                                                                               (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                              increase in in risk
                                             risk that
                                                   that requires
                                                        requires oneone toto incur  the cost
                                                                             incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716   (Mo. 2007);
                                                716 (Mo.             Exxon Mobil
                                                            2007); Exxon      Mobil Corp.
                                                                                      Corp. v.   Albright, 71
                                                                                             v. Albright,        A.3d 30,
                                                                                                              71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure        itself and
                                            and the
                                                 the need   for medical
                                                      need for  medical testing
                                                                            testing is
                                                                                     is the
                                                                                        the compensable
                                                                                            compensable injury injury in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                        Inc., 340  P.3d, 264,
                                                                                          264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev. 2014)
                                                                                                                    2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act of
                                               of the
                                                  the defendant
                                                       defendant caused       the plaintiff
                                                                     caused the    plaintiff to
                                                                                              to have
                                                                                                  have aa medical
                                                                                                           medical need
                                                                                                                      need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                         v. Firestone    Tire && Rubber
                                                                   Rubber Co.,Co., 863   P.2d 795,
                                                                                   863 P.2d     795, 823
                                                                                                       823 (Cal.   1993).
                                                                                                             (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                         privilege as as to
                                                                         to any
                                                                            any medical
                                                                                 medical condition
                                                                                           condition for      his medical
                                                                                                         for his  medical
monitoring claims
monitoring    claims in
                      in this
                          this case     since Plaintiff
                                case since     Plaintiff is
                                                          is not
                                                             not claiming     present physical
                                                                  claiming present      physical injury
                                                                                                    injury in   this case.
                                                                                                             in this case.



                                                           -- 13
                                                              13
      Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 94 of 654




The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                            claims is the significant
                                   is the significant exposure,
                                                      exposure, increased
                                                                 increased risk   of disease
                                                                             risk of          and medical
                                                                                     disease and  medical
necessity of
necessity  of diagnostic
              diagnostic testing
                           testing and
                                   and the
                                        the economic
                                             economic loss
                                                        loss associated
                                                             associated therewith.
                                                                          therewith. Plaintiff
                                                                                       Plaintiff and
                                                                                                 and class
                                                                                                     class
members base
members   base their
               their claims
                     claims only
                              only on
                                   on their
                                      their significant
                                            significant exposure
                                                        exposure to
                                                                  to the
                                                                     the proven
                                                                         proven hazardous
                                                                                 hazardous Foam
                                                                                            Foam Toxins
                                                                                                   Toxins
released by
released by PE-PUR
             PE-PUR foam
                       foam inin the
                                 the Recalled
                                     Recalled Devices.
                                               Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last
                                            last 10
                                                 10 years
                                                    years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                         unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects   to  this    Request     to the  extent   it seeks   matters    immune      from   discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                         privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare     of Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to   to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REQUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                 discovery outweighs
                                                                            outweighs its
                                                                                        its likely benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks  matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                     under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other
                                                                                          other privilege,
                                                                                                 privilege,
immunity, or
immunity,    or protection,
                protection, including
                             including physician-patient
                                        physician-patient privilege.
                                                             privilege. Plaintiff
                                                                        Plaintiff further
                                                                                  further objects
                                                                                           objects to
                                                                                                    to this
                                                                                                       this



                                                              -- 14
                                                                 14
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Request on
Request   on grounds
              grounds that
                         that it  violates Plaintiff's
                               it violates    Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                    privacy. Plaintiff
                                                                               Plaintiff further
                                                                                           further objects  to the
                                                                                                    objects to the scope
                                                                                                                   scope
of this
of this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party. A claim
          claim for   medical monitoring
                  for medical      monitoring costscosts does   not put
                                                          does not   put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,      522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                  omitted) (the
                                                                                                (citations omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur   the cost
                                                                              incur the    cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716     (Mo. 2007);
                                                  716 (Mo.            Exxon Mobil
                                                              2007); Exxon     Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure       itself and
                                             and the
                                                   the need   for medical
                                                        need for   medical testing
                                                                            testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                        claim); Sadler           PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,Co., 863    P.2d 795,
                                                                                    863 P.2d     795, 823
                                                                                                       823 (Cal.  1993).
                                                                                                            (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case    since Plaintiff
                                 case since      Plaintiff is
                                                            is not
                                                               not claiming    present physical
                                                                   claiming present       physical injury
                                                                                                     injury in this case.
                                                                                                            in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is     the significant
                                         is the   significant exposure,
                                                                exposure, increased
                                                                            increased risk      of disease
                                                                                          risk of           and medical
                                                                                                   disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing        and thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims     only on
                        claims only      on their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST      29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the


                                                          -- 15
                                                             15
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Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent   it seeks
                                                                                                 extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information    not relevant  to the claims  or  defenses   of  any  party. For   example,   this Request
information not relevant to the claims or defenses of any party. For example, this Request fails to          fails to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                   burden of
                           of combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REQUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.



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                                                          16
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REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,    and/or because   the burden   or  expense    of the   discovery  outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REQUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.


AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                                the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product  doctrine,  or any  other privilege,
product doctrine, or any other privilege,    immunity,
                                             immunity,     or
                                                           or  protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REQUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.



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                                                        17
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       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 36:
REQUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request as
                                             as vague,
                                                 vague, unduly
                                                         unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                 overbroad, cumulative,
                                                                                              cumulative,
and/or because   the burden  or expense  of the discovery  outweighs  its
and/or because the burden or expense of the discovery outweighs its likelylikely benefit.
                                                                                 benefit. Plaintiff
                                                                                          Plaintiff further
                                                                                                    further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it  seeks information
                                                 it seeks              and evidence
                                                          information and             to be
                                                                            evidence to   be elicited
                                                                                             elicited from
                                                                                                      from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts. Plaintiff will
                                        experts. Plaintiff will adhere
                                                                adhere to
                                                                       to the
                                                                          the Court's
                                                                              Court’s scheduling
                                                                                       scheduling Order,
                                                                                                    Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                              the Federal
                                                   Federal Rules
                                                           Rules of
                                                                  of Evidence   regarding the
                                                                     Evidence regarding     the disclosure
                                                                                                disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                        overbroad, cumulative,
                                                                                                      cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                 outweighs its
                                                                            its likely
                                                                                likely benefit.
                                                                                        benefit. Plaintiff
                                                                                                  Plaintiff further
                                                                                                            further
objects to
objects to this
            this Request
                 Request asas it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession byby calling
                                                                                calling for
                                                                                         for aa legal conclusion.
                                                                                                legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                  discovery under
                                                                                                             under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                          doctrine, or or any
                                                                                           any other    privilege,
                                                                                                  other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                this Request
                                                                     Request asas premature
                                                                                   premature because
                                                                                                 because it
                                                                                                          it seeks
                                                                                                             seeks
information and
information   and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                      with the
                                                                           the assistance
                                                                                 assistance of
                                                                                             of experts.
                                                                                                 experts. Plaintiff
                                                                                                          Plaintiff



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                                                         18
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will adhere
will adhere to
            to the
               the Court's
                   Court’s scheduling
                           scheduling Order,
                                       Order, the
                                              the Federal
                                                  Federal Rules
                                                          Rules of
                                                                of Civil
                                                                   Civil Procedure,
                                                                         Procedure, and
                                                                                    and the
                                                                                        the Federal
                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                    regarding the
                              the disclosure
                                  disclosure of
                                             of expert
                                                expert testimony
                                                       testimony and
                                                                 and evidence.
                                                                     evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REQUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse     Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d
                                        Corp., 522            424,430 (W.Va.
                                                      S.E.2d 424,430     (W.Va. 1999)
                                                                                 1999) (citations     omitted) (the
                                                                                         (citations omitted)    (the



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                                                          19
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 100 of 654




injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
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                                                                   one to
                                                                        to incur
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                                                                                   the cost
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                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                  injury in  this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                        /s/ Kelly
                                                             /s/ Kelly K
                                                                       K. Iverson
                                                                          Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                                 Kelly K.
                                                             Kelly  K. Iverson,
                                                                       Iverson, Esquire
                                                                                 Esquire
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 /s/             A. Seeger
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                                                             /s/ Steven A.
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                                                                           Schwartz
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                 Seeger, Esquire
                          Esquire                            Steven  A. Schwartz,
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                                                                                  Esquire
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                                      Counselfor  Plaintiffs and
                                                             and the
                                                                 the Class
                                                                     Class




                                                         -- 20
                                                            20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 101 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

MICHAEL WHEELER’S
MICHAEL           AMENDED RESPONSES
        WHEELER'S AMENDED RESPONSES AND
                                    AND OBJECTIONS
                                        OBJECTIONS TO PHILIPS RS'
                                                   TO PHILIPS RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

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                                    John P. Lavelle, Jr.
                                                     Jr.
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                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 102 of 654




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                           Eric       Thompson
                                Scott Thompson
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 103 of 654




                    EXHIBIT
                    EXHIBIT E
                            E
   Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 104 of 654




                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                           )
IN RE: PHILIPS RECALLED CPAP, BI-LEVEL     )
PAP, AND MECHANICAL VENTILATOR             )
                                             Case No. 2:21-mc-1230-JFC
PRODUCTS LIABILITY LITIGATION              )
                                             MDL No. 3014
                                           )
THIS DOCUMENT RELATES TO: All Actions      )
                                             Honorable Joy Flowers Conti
Asserting Medical Monitoring               )
                                           )
                                           )
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 105 of 654



   PLAINTIFF DENNIS CALING'S
                    CALING’S AMENDED RESPONSES AND OBJECTIONS TO
               PHILIPS RS'
                       RS’ FIRST REQUEST FOR PRODUCTION
          OF DOCUMENTS TO MEDICAL MONITORING PLAINTIFFS


REQUEST 1: Documents sufficient to show the model name, model number, and serial number
REOUEST
of each and every Recalled Device You Acquired, the date on which You Acquired it, and the date
on which You no longer had possession of the Recalled Device (if applicable).

                    REQUEST NO. 1:
AMENDED RESPONSE TO REOUEST

                                  (“Plaintiff”) objects to this Request on grounds that it is vague,
        Plaintiff Dennis Caling ("Plaintiff')
unduly burdensome, overbroad, irrelevant, cumulative, and/or because the burden or expense of
the discovery outweighs its likely benefit. Plaintiff further objects to this Request to the extent it
seeks matters immune from discovery under either the attorney-client privilege and/or the work
product doctrine, or any other privilege, immunity, or protection. Plaintiff further objects to the
term "Acquired"
      “Acquired” because as defined it seeks to obtain information not relevant to any claims or
defenses of any party. Plaintiff further objects on grounds that this Request seeks information that
              Defendant’s possession, custody, and/or control.
is already in Defendant's

    Without waiving and subject to these objections, see MMCALINGDENNIS00000001-
MMCALINGDENNIS00000002

REQUEST 2: All Documents and Communications Regarding Your Acquisition of a Recalled
REOUEST
Device, including but not limited to receipts, insurance payments, explanations of benefits, or
prescriptions for the Recalled Device by any Health Care Provider or DME. This Request includes,
but is not limited to, all Documents that support or refute the allegation in Paragraph 22 of the
Medical Monitoring CSAC that each of the Medical Monitoring Plaintiffs "used   “used the Recalled
Devices.”
Devices."

                    REQUEST NO. 2:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to the scope of this Request to the extent it seeks
information not relevant to the claims or defenses of any party. Plaintiff further objects to this
Request on grounds that it seeks information already in the possession, custody, and/or control of
Defendant.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

              REQUEST 3: All Documents and Communications Regarding any payments or
AMENDED REOUEST
reimbursements for a Recalled Device, including but not limited to payments made by You and any
payments made on Your behalf by any government entity, insurer, health savings account, or
flexible spending account.

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            REQUEST NO. 3:
RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to this Request on grounds that it seeks
information already in the possession, custody, and/or control of Defendant.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 4: All Documents that You reviewed, relied upon, or considered in making the
REOUEST
decision to Acquire a Recalled Device, including but not limited to Documents that You reviewed,
relied upon, or considered and contend contain any misrepresentation concerning a Recalled
Device.

                    REQUEST NO. 4:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to the scope of this request to the extent this
Request seeks information that is not relevant to any claims or defenses of any party. Additionally,
the broad scope and unnecessary difficulties of this Request are compounded by the fact that
Defendant seeks materials that are equally available to it, and that is already in its possession,
custody, and/or control.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 5: All Documents and Communications Regarding Your prescription for the Recalled
REOUEST
Device by any Health Care Provider, including but not limited to documents sufficient to show the
name and address of the Health Care Provider who prescribed You a Recalled Device and the
name and address of any DME involved in Your Acquisition of a Recalled Device, as well as all
Documents reflecting the instructions for using the Recalled Device, recommended frequency of
use for the Recalled Device, recommended duration of use for the Recalled Device, and any
changes to Your prescription over time.

AMENDED RESPONSE TO REQUEST NO. 5:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,


                                               -2-
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immunity, or protection. Plaintiff further objects to the scope of this Request to the extent it seeks
information not relevant to any claims or defenses of any party. Plaintiff further objects to this
Request on grounds that it seeks information already in the possession, custody, and/or control of
Defendant.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 6: All Communications with any Person —
REOUEST                                             – including but not limited to any Health
Care Provider or DME —  – who was involved in, or who You consulted in connection with, Your
Acquisition of a Recalled Device.

AMENDED RESPONSE TO REQUEST NO. 6:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party, including but not limited to all Communications with any Person Plaintiff consulted with in
the Acquisition of a Recalled Device. A claim for medical monitoring costs does not put present
physical condition at issue. See e.g. Bower v. Westinghouse
                                                     Westinghouse Elec. Corp., 522 S.E.2d 424,430
(W.Va. 1999) (citations omitted) (the injury in question is the increase in risk that requires one to
incur the cost of monitoring); Meyer v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon
Mobil Corp. v. Albright, 71 A.3d 30, 75-77 (Md. 2013) (exposure itself and the need for medical
testing is the compensable injury in a medical monitoring claim); Sadler v. PacifiCare of         of Nev.,
Inc., 340 P.3d, 264, 1270-72 (Nev. 2014) (inquiry is whether the negligent act of the defendant
caused the plaintiff to have a medical need to undergo monitoring); Potter v. Firestone Tire &
Rubber Co., 863 P.2d 795, 823 (Cal. 1993). Plaintiff has not waived the physician-patient privilege
as to any medical condition for his medical monitoring claims in this case since Plaintiff is not
claiming present physical injury in this case. The injury that Plaintiff claims is the significant
exposure, increased risk of disease and medical necessity of diagnostic testing and the economic
loss associated therewith. Plaintiff and class members base their claims only on their significant
exposure to the proven hazardous Foam Toxins released by PE-PUR foam in the Recalled Devices.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 7: Documents and Communications Regarding any other CPAP or BiPAP device that
You Acquired or considered Acquiring, or that was proposed to you as an alternative for the
Recalled Device, before Your Acquisition of a Recalled Device. This Request includes but is not
limited to marketing materials for any CPAP or BiPAP device that You received.

AMENDED RESPONSE TO REQUEST NO 7:



                                                  -3-
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         Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
The broad scope and unnecessary difficulties of this Request are compounded by the fact that
Defendant seeks publicly available materials that are within its possession, custody, and/or control
or are equally available to it. Plaintiff has already produced responsive documents to this Request
for settlement purposes. Plaintiff further objects to the scope of this Request to the extent it seeks
information not relevant to any claims or defenses of any party. Plaintiff further objects to this
Request to the extent it seeks matters immune from discovery under either the attorney-client
privilege and/or the work product doctrine, or any other privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 8: All Documents, including medical records, Regarding the use of the Recalled
REOUEST
Device, including from any Health Care Provider who treated You concerning any condition You
claim is related to the use of the Recalled Device.

RESPONSE TO REQUEST NO. 8:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party, including but not limited to all Communications with any Person Plaintiff consulted with in
the Acquisition of a Recalled Device. A claim for medical monitoring costs does not put present
physical condition at issue. See e.g. Bower v. Westinghouse
                                                     Westinghouse Elec. Corp., 522 S.E.2d 424,430
(W.Va. 1999) (citations omitted) (the injury in question is the increase in risk that requires one to
incur the cost of monitoring); Meyer v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon
Mobil Corp. v. Albright, 71 A.3d 30, 75-77 (Md. 2013) (exposure itself and the need for medical
testing is the compensable injury in a medical monitoring claim); Sadler v. PacifiCare of         of Nev.,
Inc., 340 P.3d, 264, 1270-72 (Nev. 2014) (inquiry is whether the negligent act of the defendant
caused the plaintiff to have a medical need to undergo monitoring); Potter v. Firestone Tire &
Rubber Co., 863 P.2d 795, 823 (Cal. 1993). Plaintiff has not waived the physician-patient privilege
as to any medical condition for his medical monitoring claims in this case since Plaintiff is not
claiming present physical injury in this case. The injury that Plaintiff claims is the significant
exposure, increased risk of disease and medical necessity of diagnostic testing and the economic
loss associated therewith. Plaintiff and class members base their claims only on their significant
exposure to the proven hazardous Foam Toxins released by PE-PUR foam in the Recalled Devices.

REQUEST 9: All Documents in Your possession, custody, or control Regarding Your use of and
storage of a Recalled Device. This Request includes, but is not limited to, all data Regarding Your
Recalled Device from Care Orchestrator, DreamMapper, and/or EncoreAnywhere, which we will


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obtain upon your signing the attached Authorization to Disclose Health Information.

            REQUEST NO. 9:
RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the term "Regarding,"
                                        “Regarding,” as used in this Request on grounds that it is
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of
                                                  “data,” "Care
any party. Plaintiff further objects to the terms "data," “Care Orchestrator,"
                                                                Orchestrator,” "DreamMapper,"
                                                                               “DreamMapper,” and
“EncoreAnywhere” as used in this Request on grounds that they are undefined and make no
"EncoreAnywhere"
attempt to limit the scope of this Request. Plaintiff further objects to this Request to the extent it
seeks matters immune from discovery under either the attorney-client privilege and/or the work
product doctrine, or any other privilege, immunity, or protection. Plaintiff further objects to this
Request on grounds that it seeks information already in the possession, custody, and/or control of
Defendant.

REQUEST 10: The SD card or cards that you used with Your Recalled Device.
REOUEST

RESPONSE TO REQUEST NO. 10:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the extent that the information sought in this Request is already in the
possession, custody, and/or control of Defendant. Plaintiff further objects to this Request on
grounds that the term "SD “SD card"
                                card” is undefined and that it is not apparent to Plaintiff what
information is held on the SD cards and what information Defendant seeks in this Request that is
relevant to any claims or defenses of any party. Plaintiff further objects to this Request on grounds
that the information sought in this Request is not within the possession, custody, and/or control of
Plaintiff.

REQUEST 11: All Documents Regarding the condition of Your Recalled Device, including the
REOUEST
extent to which its condition changed over time, if at all.

                    REQUEST NO. 11:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the scope of this Request on grounds that it seeks information not
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition"
                                                                                           “condition”
is undefined. Plaintiff further objects to this Request to the extent that the burden or expense of the
requested discovery outweighs its likely benefit, and/or that the information is already in
Defendant’s possession, custody, and/or control. Plaintiff further objects to this Request to the
Defendant's
extent Plaintiff has already provided information responsive to this Request. Plaintiff further
objects to this Request to the extent it seeks matters immune from discovery under either the
attorney-client privilege and/or the work product doctrine, or any other privilege, immunity, or
protection.



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      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 12: All Documents Regarding the cleaning of a Recalled Device, including but not
REOUEST
limited to all Documents reflecting the products used to clean a Recalled Device, the frequency of
the cleaning of a Recalled Device, or any Communication with any Person Regarding the cleaning
of a Recalled Device.

                    REQUEST NO. 12:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the scope of this Request to the extent it impermissibly seeks
information not relevant to any claims or defenses of any party, including but not limited to any
Communication with any Person Regarding the cleaning of a Recalled Device. Plaintiff further
objects to the extent that the information sought in this Request is already in the possession,
custody, and/or control of Defendant. Plaintiff further objects to this Request to the extent Plaintiff
has already provided information responsive to this Request. Plaintiff further objects to this
Request to the extent it seeks matters immune from discovery under either the attorney-client
privilege and/or the work product doctrine, or any other privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 13: All user manuals and other communications from any Philips entity that came
with the Recalled Device You Acquired.

AMENDED RESPONSE TO REQUEST NO. 13:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff objects to this Request to the extent that the information sought in this Request is already
in the possession, custody, and/or control of Defendant. The broad scope and unnecessary
difficulties of this Request are compounded by the fact that Defendant seeks materials that it is
responsible for administering to Plaintiff.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 14: All Documents Regarding your Acquisition or use of any cleaners or cleaning
REOUEST
devices for Your Recalled Device, including but not limited to any ozone cleaning devices and
any ultraviolent light cleaning devices.

RESPONSE TO REQUEST NO. 14:



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        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant
to any claims or defenses of any party. The broad scope and unnecessary difficulties of this Request
are compounded by the fact that Defendant seeks materials that it is responsible for administering
to Plaintiff. Plaintiff further objects to the extent that the information sought in this Request is
already in the possession, custody, and/or control of Defendant. Plaintiff further objects to this
Request to the extent it seeks matters immune from discovery under either the attorney-client
privilege and/or the work product doctrine, or any other privilege, immunity, or protection.


REQUEST 15: All Documents and Communications Regarding Your use, purchase or
Acquisition of any accessory to be used in combination with a Recalled Device, including but not
limited to any humidifier, cleaner, wipe, mask, headgear, tubing hose, filter (including inlet filters
and bacterial filters), adapter, or nasal cushion.

AMENDED RESPONSE TO REQUEST NO. 15:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant
to any claims or defenses of any party. The broad scope and unnecessary difficulties of this Request
are compounded by the fact that Defendant seeks materials that are within their control. Plaintiff
further objects to this Request to the extent that it seeks information already in Defendant's
                                                                                         Defendant’s
possession, custody, and/or control. Plaintiff further objects to this Request to the extent that
information sought in this Request has already been provided by Plaintiff. Plaintiff further objects
to this Request to the extent it seeks matters immune from discovery under either the attorney-
client privilege and/or the work product doctrine, or any other privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 16: All Documents Regarding any particulate or dark matter in Your Recalled Device,
REOUEST
including but not limited to any photos or videos of the Recalled Device and any other evidence
showing that the foam in Your Recalled Device actually degraded.

AMENDED RESPONSE TO REQUEST NO. 16:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the extent this Request seeks a concession that evidence of degradation
can be seen by the naked eye. Plaintiff further objects to this Request on grounds that the term
“particulate” and "dark
"particulate"       “dark matter"
                           matter” are undefined. Plaintiff further objects to the use of the term
“Regarding,” in this Request on grounds that it is overbroad, vague, ambiguous, and impermissibly
"Regarding,"
seeks information not relevant to any claims or defenses of any party. Plaintiff further objects to
this Request on grounds that it is duplicative of Request No. 11. Plaintiff further objects to this


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Request to the extent that the burden or expense of the requested discovery outweighs its likely
benefit, and/or that the information is already in Defendant's
                                                   Defendant’s possession, custody, and/or control.
Plaintiff further objects to this Request to the extent Plaintiff has already provided information
responsive to this Request. Plaintiff further objects to this Request to the extent it seeks matters
immune from discovery under either the attorney-client privilege and/or the work product doctrine,
or any other privilege, immunity, or protection. Plaintiff further objects to the extent this Request
seeks premature expert testimony.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 17: All Documents related to the recall of a Recalled Device, including but not limited
to Communications with any Person Regarding the recall; Your Communications with any Health
Care Provider or DME Regarding the recall; Documents regarding Your decision whether to
participate in the recall; and Documents sufficient to show when and how You became aware of
the recall.

                    REQUEST NO. 17:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant
to any claims or defenses of any party, including but not limited to Communications with Any
Person Regarding the recall. The broad scope and unnecessary difficulties of this Request are
compounded by the fact that Defendant seeks materials that are equally available to it. As the
manufacturer of the Recalled Devices, Defendant is in the position to obtain information
responsive to this Request. Plaintiff further objects to this Request to the extent that the burden or
expense of the requested discovery outweighs its likely benefit, and/or that the information sought
                Defendant’s possession, custody, and/or control. Plaintiff further objects to this
is already in Defendant's
Request to the extent Plaintiff has already provided information responsive to this Request.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 18: All Documents Regarding Your registration, if any, for the Philips RS repair or
replacement program concerning a Recalled Device.

AMENDED RESPONSE TO REQUEST NO. 18:

      Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
The broad scope and unnecessary difficulties of this Request are compounded by the fact that
Defendant seeks materials that are within its possession, custody, and/or control. Plaintiff further


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                                “Regarding,” in this Request on grounds that it is overbroad, vague,
objects to the use of the term "Regarding,"
ambiguous, and impermissibly seeks information not relevant to any claims or defenses of any
party. Plaintiff further objects to this Request to the extent it seeks matters immune from discovery
under either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 19: All Documents and Communications relating to any other CPAP, BiPAP or
ventilator device that You used prior to, or after, Your Acquisition of a Recalled Device.

AMENDED RESPONSE TO REQUEST NO. 19:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
The broad scope and unnecessary difficulties of this Request are compounded by the fact that
Defendant seeks materials that are equally available to it. Plaintiff further objects to the use of the
       “Communications” and "Acquisition"
terms "Communications"          “Acquisition” in this Request on grounds that they are overbroad,
vague, ambiguous, and impermissibly seek information not relevant to any claims or defenses of
any party. Plaintiff further objects to this Request to the extent it seeks matters immune from
discovery under either the attorney-client privilege and/or the work product doctrine, or any other
privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 20: All Documents and Communications relating to any injuries You allege You have
REOUEST
suffered from the use of a Recalled Device. This request includes but is not limited to the
“subcellular injury or other physiological changes"
"subcellular                               changes” You allege You have suffered in Paragraphs
26-88 of the Medical Monitoring CSAC.

                    REQUEST NO. 20:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a


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medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                   of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.

                                                                                     Court’s
       Without waiving and subject to these objections, Plaintiff will adhere to the Court's
scheduling Order, the Federal Rules of Civil Procedure, and the Federal Rules of Evidence
regarding the disclosure of expert testimony and evidence.

        Plaintiff does not possess any responsive documents.

REQUEST 21: All Documents and Communications relating to any treatment and/or testing
REOUEST
                                                                  “subcellular injury or other
prescribed to You by a Health Care Provider relating to the "subcellular
              changes” You allege in Paragraphs 26-88 of the Medical Monitoring CSAC. This
physiological changes"
request includes but is not limited to any "testing
                                            “testing and screening; blood and laboratory tests;
physical examinations; imaging; colonoscopies, endoscopies, and other similar methods for
examination; biopsies; pathologic, histologic, and oncologic evaluations; oncologic, histologic,
surgical, and other necessary medical consultations; and medical and surgical procedures
necessary for diagnosis and treatment"
                             treatment” that You allege are necessary in Paragraph 382 of the
Medical Monitoring CSAC.

                    REQUEST NO. 21:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d
30, 75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury
in a medical monitoring claim); Sadler v. PacifiCare of    of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev.
2014) (inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical
need to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal.
1993). Plaintiff has not waived the physician-patient privilege as to any medical condition for his
medical monitoring claims in this case since Plaintiff is not claiming present physical injury in this
case. The injury that Plaintiff claims is the significant exposure, increased risk of disease and



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medical necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and
class members base their claims only on their significant exposure to the proven hazardous Foam
Toxins released by PE-PUR foam in the Recalled Devices.

REQUEST 22: All Documents and Communications from the past 10 years Relating to any
treatment and/or testing prescribed to You by a Health Care Provider even if unrelated to the
“subcellular injury or other physiological changes”
"subcellular                               changes" You allege in Paragraphs 26-88 of the Medical
Monitoring CSAC. This request includes but is not limited to any "testing
                                                                    “testing and screening; blood
and laboratory tests; physical examinations; imaging; colonoscopies, endoscopies, and other
similar methods for examination; biopsies; pathologic, histologic, and oncologic evaluations;
oncologic, histologic, surgical, and other necessary medical consultations; and medical and
surgical procedures necessary for diagnosis and treatment."
                                                 treatment.”

                    REQUEST NO. 22:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d
30, 75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury
in a medical monitoring claim); Sadler v. PacifiCare of    of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev.
2014) (inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical
need to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal.
1993). Plaintiff has not waived the physician-patient privilege as to any medical condition for his
medical monitoring claims in this case since Plaintiff is not claiming present physical injury in this
case. The injury that Plaintiff claims is the significant exposure, increased risk of disease and
medical necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and
class members base their claims only on their significant exposure to the proven hazardous Foam
Toxins released by PE-PUR foam in the Recalled Devices.

REQUEST 23: All Documents and Communications related to any tissue specimens, tissue
REOUEST
slides, biopsy specimens, and any other pathologic material taken from You by any Health Care
Provider related to the "subcellular
                          “subcellular injury or other physiological changes”
                                                                      changes" You allege in
Paragraphs 26-88 of the Medical Monitoring CSAC.

                    REQUEST NO. 23:
AMENDED RESPONSE TO REOUEST

      Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.



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Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                    of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.

REQUEST 24: All records of any diagnostic imaging related to the "subcellular
REOUEST                                                            “subcellular injury or other
              changes” You allege in Paragraphs 26-88 of the Medical Monitoring CSAC.
physiological changes"

                    REQUEST NO. 24
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                    of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.



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REQUEST 25: All Health Care Provider's
REOUEST                           Provider’s reports of any diagnostic radiologic procedure related
       “subcellular injury or other physiological changes"
to the "subcellular                               changes” You allege in Paragraphs 26-88 of the
Medical Monitoring CSAC.

                    REQUEST NO. 25
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                    of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.

REQUEST 26: All other Documents Regarding any and all additional diagnosed medical
conditions or injuries suffered within the last 10 years and any medications or treatments that You
have been prescribed within the last 10 years.

                    REQUEST NO. 26:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer



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v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                   of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.

REQUEST 27: All Documents, photographs, films, movies, or videotapes that depict or refer to
REOUEST
Your present condition, injuries, and/or damages.

                    REQUEST NO. 27:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                    of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.


REQUEST 28: All Documents Regarding the damages You seek in this Litigation. This request
REOUEST
                                                                                   “need to incur
includes but is not limited to Documents Regarding the costs associated with Your "need
the cost of medically necessary monitoring, diagnostic testing, clinical examinations, and
consultations for the early detection of illness, disease, and disease processes"
                                                                       processes” as described in
(among other places) Paragraphs 375, 379 and 385 of the Medical Monitoring CSAC.

AMENDED RESPONSE TO REQUEST NO. 28:


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        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, attorney client and attorney work product privilege, and/or because the burden or
expense of the discovery outweighs its likely benefit. Plaintiff objects to this Request to the extent
it seeks premature information because Plaintiff does not yet know "all“all damages"
                                                                            damages” suffered because
of the defect. Some "damages"
                      “damages” may be subject to expert testimony, such as the medical necessity
of monitoring, diagnostic testing, clinic examinations, and consultations, because of the defect.
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant
to any claims or defenses of any party. Plaintiff further objects to this Request to the extent it seeks
matters immune from discovery under either the attorney-client privilege and/or the work product
doctrine, or any other privilege, immunity, or protection. The damages that Plaintiff claims is the
cost of medically necessary diagnostic testing caused by Plaintiff's
                                                            Plaintiff’s and class members'
                                                                                  members’ significant
exposure to the proven hazardous Foam Toxins released by PE-PUR foam in the Recalled Devices.

                                                                                     Court’s
       Without waiving and subject to these objections, Plaintiff will adhere to the Court's
scheduling Order, the Federal Rules of Civil Procedure, and the Federal Rules of Evidence
regarding the disclosure of expert testimony and evidence.

       Plaintiff does not possess any responsive documents.

REQUEST 29: All Communications Regarding (i) any CPAP, BiPAP, or other mechanical
REOUEST
ventilator device manufactured or marketed by Philips; (ii) a Recalled Device; or (iii) the
Litigation.

                    REQUEST NO. 29
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, attorney client and attorney work product privilege, and/or because the burden or
expense of the discovery outweighs its likely benefit. Plaintiff further objects to the scope of this
Request to the extent it seeks information not relevant to any claims or defenses of any party.
Plaintiff further objects to this Request to the extent that information sought in this Request has
already been provided by Plaintiff. Plaintiff further objects to this Request to the extent it seeks
matters immune from discovery under either the attorney-client privilege and/or the work product
doctrine, or any other privilege, immunity, or protection. Plaintiff further objects to this Request
                            Defendant’s Requests.
as duplicative of many of Defendant's

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 30: All social media or blog posts that You have made relating to a Recalled Device
or any Philips entity.

AMENDED RESPONSE TO REQUEST NO. 30:

       Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,



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cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to the scope of this Request to the extent it seeks
information not relevant to the claims or defenses of any party. For example, this Request fails to
include language restricting the scope of this Request to the defects at issue, and instead
impermissibly seeks to discover information related to any Philips entity. Moreover, Plaintiff
objects that the burden of combing through all social media or blog posts imposes additional time
burdens on Plaintiff which substantially outweighs its likely benefit.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 31: All Documents and Communications You reviewed or consulted in the
REOUEST
preparation of any complaint in this Litigation.

RESPONSE TO REQUEST NO. 31:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request on grounds that it seeks matters immune from discovery
under either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection.

REQUEST 32: All Documents and Communications with Your insurance provider or broker
REOUEST
Regarding a Recalled Device.

AMENDED RESPONSE TO REQUEST NO. 32:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent that information sought in this Request has
already been provided by Plaintiff. Plaintiff further objects to this Request on grounds that it seeks
matters immune from discovery under HIPAA, the attorney-client privilege and/or the work
product doctrine, or any other privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.

REQUEST 33: All Documents and Communications with Your insurance provider or broker
REOUEST
Regarding any claims associated with the injury You allege was caused by a Recalled Device.

                    REQUEST NO. 33:
AMENDED RESPONSE TO REOUEST

      Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.



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Plaintiff further objects to this Request to the extent that information sought in this Request has
already been provided by Plaintiff. Plaintiff further objects to this Request on grounds that it seeks
matters immune from discovery under HIPAA, the attorney-client privilege and/or the work
product doctrine, or any other privilege, immunity, or protection.

       Without waiving and subject to these objections, Plaintiff does not possess any
responsive documents.

REQUEST 34: If You claim to have acquired a replacement device not manufactured by Philips,
REOUEST
all Documents Regarding that replacement device, including but not limited to receipts, insurance
payments, co-payments, and explanations of benefits; and Documents sufficient to show the
manufacturer, model name, model number, serial number, purchase date, and amount paid for such
replacement device both by You and by any third-party payor.

AMENDED RESPONSE TO REQUEST NO. 34:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request on grounds that it seeks matters immune from discovery
under the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to this Request to the extent that information
sought in this Request has already been provided by Plaintiff.

       Without waiving and subject to these objections, Plaintiff does not possess any
responsive documents.


REQUEST 35: All Documents Regarding the "express
REOUEST                                       “express warranty"
                                                       warranty” or "warranties"
                                                                    “warranties” referenced in
Counts IX, X and XI of the Medical Monitoring CSAC, including but not limited to a copy of such
warranty and any Communications Regarding the warranty.

AMENDED RESPONSE TO REQUEST NO. 35:

        Plaintiff objects to this Request as vague, unduly burdensome, and cumulative. The
unnecessary difficulties of this Request are compounded by the fact that Defendant seeks materials
that are equally available to it and/or are already within its possession, custody, and/or control. As
the manufacturer of the Recalled Devices, Defendant is in the better position to obtain the
information this Request seeks. Plaintiff further objects to this Request on grounds that it seeks
matters immune from discovery under the attorney-client privilege and/or the work product
doctrine, or any other privilege, immunity, or protection.

      Without waiving and subject to these objections, Plaintiff does not possess any responsive
documents.


REQUEST 36: All Documents required to be produced under Federal Rule 26(a)(2)(b).
REOUEST



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            REQUEST NO. 36:
RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, cumulative,
and/or because the burden or expense of the discovery outweighs its likely benefit. Plaintiff further
objects to this Request as premature because it seeks information and evidence to be elicited from
                                                                           Court’s scheduling Order,
and developed with the assistance of experts. Plaintiff will adhere to the Court's
the Federal Rules of Civil Procedure, and the Federal Rules of Evidence regarding the disclosure
of expert testimony and evidence.

REQUEST 37: All Documents that You intend to use as an exhibit in support of class certification
REOUEST
or at trial.


RESPONSE TO REQUEST NO. 37:

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, cumulative,
and/or because the burden or expense of the discovery outweighs its likely benefit. Plaintiff further
objects to this Request as it seeks a premature legal concession by calling for a legal conclusion.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection. Plaintiff further objects to this Request as premature because it seeks
information and evidence to be elicited from and developed with the assistance of experts. Plaintiff
                   Court’s scheduling Order, the Federal Rules of Civil Procedure, and the Federal
will adhere to the Court's
Rules of Evidence regarding the disclosure of expert testimony and evidence.

REQUEST 38: Any agreement between You and Your attorneys concerning the Litigation.

            REQUEST NO. 38:
RESPONSE TO REOUEST

        Plaintiff objects to this Request as unduly burdensome, overbroad, disproportionate, and
not relevant to any parties'
                    parties’ claims or defenses. Plaintiff further objects to this Request to the extent
it seeks matters immune from discovery under either the attorney-client privilege and/or the work
product doctrine, or any other privilege, immunity, or protection.

REQUEST 39: Any attorney advertisements appearing on television, the Internet (including
REOUEST
social media such as Facebook or Twitter), received by mail or other delivery service, or
information communicated to you in any other medium, You reviewed which solicited your
participation in the Litigation, including advertisements by the attorneys You retained.

                    REQUEST NO. 39:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,



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immunity, or protection. The broad scope and unnecessary difficulties of this Request are
compounded by the fact that Defendant seeks materials that are equally available to it.

       Without waiving and subject to these objections, Plaintiff does not possess any
responsive documents.


REQUEST 40: All Documents Regarding any Medical Monitoring in which You have
REOUEST
participated in the last five years, including documents sufficient to show the frequency of such
Medical Monitoring, the nature of the Medical Monitoring, and the condition(s) and/or diagnosed
illness for which You are or were monitored.

                    REQUEST NO. 40:
AMENDED RESPONSE TO REOUEST

        Plaintiff objects to this Request as vague, unduly burdensome, overbroad, irrelevant,
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
either the attorney-client privilege and/or the work product doctrine, or any other privilege,
immunity, or protection, including physician-patient privilege. Plaintiff further objects to this
Request on grounds that it violates Plaintiff's
                                     Plaintiff’s right to privacy. Plaintiff further objects to the scope
of this Request to the extent it seeks information not relevant to any claims or defenses of any
party. A claim for medical monitoring costs does not put present physical condition at issue. See
e.g. Bower v. Westinghouse
               Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the
injury in question is the increase in risk that requires one to incur the cost of monitoring); Meyer
v. Fluor Corp., 220 S.W.3d 712, 714, 716 (Mo. 2007); Exxon Mobil Corp. v. Albright, 71 A.3d 30,
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injury in a
medical monitoring claim); Sadler v. PacifiCare ofNev.,
                                                    of Nev., Inc., 340 P.3d, 264, 1270-72 (Nev. 2014)
(inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical need
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).
Plaintiff has not waived the physician-patient privilege as to any medical condition for his medical
monitoring claims in this case since Plaintiff is not claiming present physical injury in this case.
The injury that Plaintiff claims is the significant exposure, increased risk of disease and medical
necessity of diagnostic testing and the economic loss associated therewith. Plaintiff and class
members base their claims only on their significant exposure to the proven hazardous Foam Toxins
released by PE-PUR foam in the Recalled Devices.


 Dated: August 30, 2023

 /s/ Sandra L. Duggan
 /5/                                                           K. Iverson
                                                     /s/ Kelly K
 Sandra L. Duggan, Esquire                           Kelly K. Iverson, Esquire
 LEVIN SEDRAN & BERMAN LLP                           LYNCH CARPENTER, LLP
                                                                           th
 510 Walnut Street, Suite 500                        1133 Penn Avenue, 5  5th Floor
 Philadelphia, PA 19106                              Pittsburgh, PA 15222
 (215)592-1500 (phone)                               (412) 322-9243 (phone)
 (215)592-4633 (fax)                                 kelly@lcllp.com



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sduggan@lfsblaw.com

/s/ Christopher A. Seeger
Is/                                           /s/ Steven A. Schwartz
Christopher A. Seeger, Esquire                Steven A. Schwartz, Esquire
SEEGER WEISS LLP                              CHIMICLES SCHWARTZ 'MINER   KRINER &
                      th
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Ridgefield Park, NJ 07660                     361 West Lancaster Avenue
(973) 639-9100 (phone)                        One Haverford Centre
cseeger@seegerweiss.com                       Haverford, PA 19041
                                              (610) 642-8500 (phone)
                                              steveschwartz@chimicles.com


                            Counselfor
                                    for Plaintiffs and the Class




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                               CERTIFICATE OF SERVICE

       I hereby certify that, on August 30, 2023, I served a true and correct copy of PLAINTIFF

       CALING’S AMENDED RESPONSES AND OBJECTIONS TO PHILIPS RS'
DENNIS CALING'S                                             RS’ FIRST

REQUEST FOR PRODUCTION OF DOCUMENTS TO MEDICAL MONITORING

PLAINTIFFS via electronic mail on the following recipients:

                                    John P. Lavelle, Jr.
                           MORGAN, LEWIS & BOCKIUS LLP
                                   1701 Market Street
                              Philadelphia, PA 19103-2921
                                      T 215.963.5000
                             john.lavelle@morganlewis.com

                                 Wendy West Feinstein
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                                Counsel for
                                        for Defendant Philips
                                  RS North America, LLC
                                  RS

                                   Michael H. Steinberg
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                         Counsel for
                                  for Defendants Koninklijke Philips
                      NV, Philips North America LLC, Philips Holding
                USA Inc., and Philips RS
                                      RS North America Holding Corporation
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                           Eric Scott Thompson
                       FRANKLIN & PROKOPIK
                      500 Creek View Road, Suite 502
                            Newark, DE 19711
                              (302) 594-9780
                        ethompson@fandpnet.com

                   Counsel for
                            for Polymer Technologies, Inc.


                                                    K. Iverson
                                          /s/ Kelly K
                                          Kelly K. Iverson
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                    EXHIBIT
                    EXHIBIT F
                            F
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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      PLAINTIFF
      PLAINTIFF CHRISTINE DIJOHN’S SECOND
                CHRISTINE DIJOHN'S          AMENDED RESPONSES
                                    SECOND AMENDED   RESPONSES AND
                                                               AND
        OBJECTIONS TO
        OBJECTIONS  TO PHILIPS RS’ FIRST
                       PHILIPS RS'       REQUEST FOR
                                   FIRST REQUEST FOR PRODUCTION
                                                     PRODUCTION
            OF DOCUMENTS
            OF DOCUMENTS TO
                          TO MEDICAL    MONITORING PLAINTIFFS
                              MEDICAL MONITORING   PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Christine
         Plaintiff Christine DiJohn
                              DiJohn ("Plaintiff")
                                        (“Plaintiff”) objects
                                                      objects to
                                                              to this
                                                                 this Request
                                                                      Request onon grounds
                                                                                    grounds that
                                                                                              that it  is vague,
                                                                                                   it is  vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                and/or because
                                                                        because the
                                                                                  the burden
                                                                                       burden oror expense
                                                                                                   expense of  of
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                   objects to
                                                                            to this
                                                                               this Request
                                                                                    Request to to the
                                                                                                  the extent
                                                                                                        extent it
                                                                                                                it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                    either the
                                                            the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                            work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                               protection. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                       further objects     to the
                                                                                                              the
term  “Acquired”    because    as defined  it seeks to obtain  information   not  relevant  to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims or any   claims   or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                        grounds that
                                                                  that this
                                                                       this Request
                                                                            Request seeks
                                                                                      seeks information
                                                                                             information thatthat
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                     and/or control.
                                                             control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMDIJOHNCHRISTINE00000001,
                                                     see MMDIJOHNCHRISTINE00000001,
MMDIJOHNCHRISTINE00000005 and
MMDIJOHNCHRISTINE00000005        and MMDIJOHNCHRISTINE00000007.
                                     MMDIJOHNCHRISTINE00000007.

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


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                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either    the attorney-client
                                                        either the   attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,     and/or control
                                                                                        custody, and/or    control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

        Without waiving
        Without waiving and
                        and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff was
                                                                    was not
                                                                        not required to have
                                                                            required to have an
                                                                                             an SD
                                                                                                SD
card in
card in her
        her Recalled
            Recalled Device,
                     Device, per
                             per her
                                 her insurance, and so
                                     insurance, and  so does
                                                        does not have one
                                                             not have      to submit.
                                                                      one to  submit.

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as as vague,
                                                    vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of
                                                          of the
                                                              the discovery
                                                                  discovery outweighs
                                                                              outweighs itsits likely benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects   to the
                                the scope
                                     scope of
                                            of this
                                                this Request
                                                     Request onon grounds
                                                                   grounds that
                                                                            that it
                                                                                  it seeks
                                                                                     seeks information
                                                                                             information not
                                                                                                           not
relevant to
relevant  to any
             any claims
                  claims oror defenses
                              defenses of
                                        of any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                         objects that
                                                                                 that the
                                                                                       the term
                                                                                           term "condition"
                                                                                                  “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff           objects to
                          further objects to this
                                             this Request
                                                   Request to
                                                           to the
                                                              the extent
                                                                  extent that
                                                                         that the
                                                                              the burden
                                                                                  burden oror expense
                                                                                               expense of
                                                                                                        of the
                                                                                                           the



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requested discovery
requested               outweighs its
            discovery outweighs     its likely  benefit, and/or
                                        likely benefit,   and/or that
                                                                   that the
                                                                         the information
                                                                              information is   already in
                                                                                            is already   in
Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                              control. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                          objects to
                                                                                   to this
                                                                                      this Request
                                                                                           Request toto the
                                                                                                        the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                           information responsive
                                                        responsive to to this
                                                                          this Request.
                                                                               Request. Plaintiff
                                                                                          Plaintiff further
                                                                                                    further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                          it seeks
                                             seeks matters
                                                   matters immune
                                                            immune fromfrom discovery
                                                                              discovery under
                                                                                         under either
                                                                                                 either the
                                                                                                        the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                              product doctrine,
                                                       doctrine, or
                                                                  or any
                                                                     any other
                                                                           other privilege,
                                                                                 privilege, immunity,
                                                                                             immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REOUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff does not possess
                                                                   does not possess any
                                                                                    any responsive
                                                                                        responsive



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                                                       6-
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documents.
documents.

REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 16:
                                16:



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                                                        -7
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         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as  as vague,
                                                          vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                               overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                         burden or or expense
                                                       expense of  of the
                                                                      the discovery
                                                                           discovery outweighs
                                                                                        outweighs itsits likely    benefit.
                                                                                                         likely benefit.
Plaintiff further
Plaintiff  further objects
                   objects toto the
                                 the extent
                                     extent this
                                               this Request
                                                     Request seeks
                                                                seeks aa concession
                                                                          concession that
                                                                                        that evidence
                                                                                             evidence of of degradation
                                                                                                             degradation
can be
can  be seen
        seen byby the
                   the naked
                        naked eye.
                                 eye. Plaintiff
                                        Plaintiff further
                                                    further objects
                                                               objects to
                                                                        to this
                                                                            this Request
                                                                                 Request onon grounds
                                                                                                grounds that
                                                                                                           that the
                                                                                                                  the term
                                                                                                                       term
“particulate” and
"particulate"    and "dark
                      “dark matter"
                               matter” areare undefined.
                                                undefined. Plaintiff
                                                                Plaintiff further   objects to
                                                                           further objects    to the
                                                                                                  the use
                                                                                                       use ofof the
                                                                                                                 the term
                                                                                                                       term
“Regarding,” in
"Regarding,"    in this
                   this Request
                        Request on  on grounds
                                        grounds that
                                                   that it
                                                         it is
                                                            is overbroad,
                                                               overbroad, vague,
                                                                             vague, ambiguous,
                                                                                     ambiguous, and and impermissibly
                                                                                                         impermissibly
seeks information
seeks  information notnot relevant
                          relevant to  to any
                                           any claims
                                                 claims oror defenses
                                                               defenses ofof any
                                                                              any party.
                                                                                  party. Plaintiff
                                                                                          Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto
this Request    on  grounds    that  it is  duplicative     of  Request    No.  11. Plaintiff   further
this Request on grounds that it is duplicative of Request No. 11. Plaintiff further objects to this      objects    to  this
Request to
Request    to the
              the extent
                  extent that
                          that the
                                 the burden
                                      burden or  or expense
                                                     expense of  of the
                                                                    the requested
                                                                         requested discovery
                                                                                     discovery outweighs
                                                                                                  outweighs its  its likely
                                                                                                                     likely
benefit, and/or
benefit,  and/or that
                  that the
                       the information
                            information is   is already
                                                already in in Defendant's
                                                               Defendant’s possession,
                                                                               possession, custody,
                                                                                             custody, and/or
                                                                                                        and/or control.
                                                                                                                   control.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                        Request to  to the
                                                        the extent
                                                             extent Plaintiff
                                                                      Plaintiff has
                                                                                 has already
                                                                                      already provided
                                                                                                provided information
                                                                                                             information
responsive to
responsive    to this
                 this Request.
                      Request. Plaintiff
                                   Plaintiff further
                                               further objects
                                                         objects toto this
                                                                       this Request
                                                                             Request toto the
                                                                                          the extent
                                                                                               extent it  seeks matters
                                                                                                       it seeks    matters
immune from
immune    from discovery
                 discovery under
                             under either
                                      either the
                                              the attorney-client
                                                   attorney-client privilege
                                                                       privilege and/or
                                                                                  and/or the
                                                                                          the work
                                                                                               work product
                                                                                                     product doctrine,
                                                                                                                 doctrine,
or any
or any other
        other privilege,
               privilege, immunity,
                           immunity, or    or protection.
                                              protection. Plaintiff
                                                              Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent this
                                                                                                            this Request
                                                                                                                   Request
seeks premature
seeks premature expert
                    expert testimony.
                            testimony.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMDIJOHNCHRISTINE00000002-
                                                     see MMDIJOHNCHRISTINE00000002-
MMDIJOHNCHRISTINE00000006
MMDIJOHNCHRISTINE00000006


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in the recall; and Documents     sufficient  to  show when   and how  You  became
participate in the recall; and Documents sufficient to show when and how You became aware of    aware  of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REOUEST 18: All
            All Documents
                Documents Regarding
                          Regarding Your
                                    Your registration,
                                         registration, if
                                                       if any,
                                                          any, for
                                                               for the
                                                                   the Philips
                                                                       Philips RS
                                                                               RS repair or
                                                                                  repair or


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                                                            8-
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replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant   seeks  materials  that  are within  its possession,   custody,    and/or
Defendant seeks materials that are within its possession, custody, and/or control.   control.   Plaintiff
                                                                                                Plaintiff  further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant to to any
                                                                              any claims
                                                                                   claims oror defenses
                                                                                                defenses ofof any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in
                                                                                         in Paragraphs
                                                                                            Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,


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immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                  physician-patient privilege.
                                                                       privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                 further objects
                                                                                                          objects to
                                                                                                                   to this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                               Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                     objects to
                                                                                                             to the
                                                                                                                the scope
                                                                                                                    scope
of this
of  this Request
         Request to to the
                       the extent
                            extent it  it seeks
                                          seeks information
                                                   information not not relevant
                                                                       relevant to to any
                                                                                       any claims
                                                                                             claims or
                                                                                                     or defenses   of any
                                                                                                         defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs costs does
                                                           does not
                                                                 not put
                                                                      put present
                                                                          present physical
                                                                                     physical condition     at issue.
                                                                                                 condition at          See
                                                                                                               issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.  Elec. Corp.,
                                            Corp., 522522 S.E.2d    424,430 (W.Va.
                                                           S.E.2d 424,430     (W.Va. 1999)
                                                                                         1999) (citations
                                                                                                 (citations omitted)
                                                                                                            omitted) (the
                                                                                                                       (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in  in risk
                                                risk that
                                                      that requires
                                                           requires one
                                                                      one to
                                                                           to incur
                                                                               incur the
                                                                                      the cost
                                                                                            cost of
                                                                                                 of monitoring);
                                                                                                     monitoring); Meyer
                                                                                                                   Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                           714, 716716 (Mo.
                                                        (Mo. 2007);
                                                               2007); Exxon
                                                                       Exxon Mobil
                                                                                Mobil Corp.
                                                                                         Corp. v.  Albright, 71
                                                                                                v. Albright,     A.3d 30,
                                                                                                              71 A.3d   30,
75-77   (Md.  2013)   (exposure      itself   and   the  need  for  medical  testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable   is the compensable     injury
                                                                                                               injury  in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                    Sadler v.     PacifiCare of
                                               v. PacifiCare    of Nev.,
                                                                   Nev., Inc.,  340 P.3d,
                                                                         Inc., 340    P.3d, 264,
                                                                                             264, 1270-72
                                                                                                   1270-72 (Nev.
                                                                                                             (Nev. 2014)
                                                                                                                    2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act  act ofof the
                                                     the defendant
                                                          defendant caused
                                                                      caused thethe plaintiff
                                                                                     plaintiff to
                                                                                                to have
                                                                                                    have aa medical
                                                                                                            medical need
                                                                                                                      need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.      Firestone Tire
                                           v. Firestone     Tire && Rubber
                                                                     Rubber Co.,     863 P.2d
                                                                                Co., 863    P.2d 795,
                                                                                                  795, 823   (Cal. 1993).
                                                                                                        823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                            privilege as
                                                                       as to
                                                                          to any
                                                                             any medical
                                                                                    medical condition
                                                                                              condition for   his medical
                                                                                                          for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                         since Plaintiff
                                                  Plaintiff is
                                                             is not
                                                                not claiming
                                                                    claiming present
                                                                                present physical
                                                                                           physical injury
                                                                                                      injury in
                                                                                                             in this
                                                                                                                this case.
                                                                                                                     case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is  is the
                                              the significant
                                                   significant exposure,
                                                                 exposure, increased
                                                                             increased riskrisk of
                                                                                                 of disease
                                                                                                    disease and
                                                                                                             and medical
                                                                                                                  medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and and thethe economic
                                                      economic loss     associated therewith.
                                                                   loss associated     therewith. Plaintiff
                                                                                                      Plaintiff and
                                                                                                                and class
                                                                                                                     class
members base
members    base their
                 their claims
                        claims onlyonly onon their
                                              their significant
                                                     significant exposure
                                                                   exposure toto the
                                                                                  the proven
                                                                                      proven hazardous
                                                                                                hazardous Foam
                                                                                                            Foam Toxins
                                                                                                                   Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                      the Recalled
                                            Recalled Devices.
                                                        Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request  includes   but is  not limited  to any  “testing  and  screening;  blood   and  laboratory
request includes but is not limited to any "testing and screening; blood and laboratory tests;        tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it
                                                              it seeks
                                                                 seeks matters
                                                                        matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other     privilege,
                                                                                                  other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); Meyer
                                                                                                              Meyer



                                                           -- 10
                                                              10
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 139 of 654




v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220    S.W.3d 712,
                                  712, 714,    716 (Mo.
                                         714, 716    (Mo. 2007);
                                                            2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.              71 A.3d
                                                                                               Albright, 71
                                                                                            v. Albright,      A.3d
30, 75-77
30,  75-77 (Md.
            (Md. 2013)     (exposure itself
                   2013) (exposure            and the
                                       itself and   the need
                                                        need for
                                                               for medical
                                                                   medical testing
                                                                             testing is
                                                                                     is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                            injury
in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                                v. PacifiCare    of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,   264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.   Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,          P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                           physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                             risk of
                                                                                                  of disease
                                                                                                      disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated   therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and
class members
class  members base
                  base their
                        their claims
                              claims only
                                       only on
                                             on their
                                                 their significant
                                                        significant exposure
                                                                     exposure toto the
                                                                                   the proven
                                                                                        proven hazardous
                                                                                                hazardous Foam
                                                                                                             Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                 Recalled Devices.
                                                             Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                    to any
                                                                                                        any
treatment  and/or  testing  prescribed  to You   by  a Health  Care   Provider   even if  unrelated
treatment and/or testing prescribed to You by a Health Care Provider even if unrelated to the        to the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                     blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,
                                                                                 endoscopies, and
                                                                                                and other
                                                                                                      other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical andand
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                     this Request
                                            Request as   as vague,
                                                              vague, unduly
                                                                       unduly burdensome,
                                                                                 burdensome, overbroad,
                                                                                                   overbroad, irrelevant,
                                                                                                                   irrelevant,
cumulative,     and/or   because      the  burden    or   expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.          its  likely   benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                  this Request
                                         Request to to the
                                                       the extent
                                                             extent it
                                                                     it seeks
                                                                        seeks matters
                                                                               matters immune
                                                                                         immune fromfrom discovery
                                                                                                           discovery underunder
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                 and/or the the work
                                                                  work product
                                                                         product doctrine,
                                                                                    doctrine, or or any
                                                                                                     any other      privilege,
                                                                                                           other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                 physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                       Plaintiff further
                                                                                                  further objects
                                                                                                             objects to to this
                                                                                                                            this
Request on
Request    on grounds
               grounds that
                         that it   violates Plaintiff's
                                it violates    Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                       privacy. Plaintiff
                                                                                  Plaintiff further
                                                                                             further objects
                                                                                                      objects to to the
                                                                                                                    the scope
                                                                                                                          scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it    seeks information
                                        it seeks   information not  not relevant
                                                                          relevant to
                                                                                    to any
                                                                                        any claims
                                                                                              claims oror defenses
                                                                                                           defenses of  of any
                                                                                                                            any
party. A
party.  A claim
           claim for   medical monitoring
                  for medical       monitoring costscosts does     not put
                                                            does not    put present
                                                                             present physical
                                                                                      physical condition
                                                                                                  condition at  at issue.   See
                                                                                                                   issue. See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.          Corp., 522
                                     Elec. Corp.,     522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                 1999) (citations
                                                                                (W.Va. 1999)                    omitted) (the
                                                                                                  (citations omitted)       (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                risk that
                                                      that requires
                                                             requires one
                                                                        one to
                                                                             to incur   the cost
                                                                                incur the    cost of
                                                                                                  of monitoring);
                                                                                                      monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716
                                                    716 (Mo.       2007); Exxon
                                                           (Mo. 2007);      Exxon Mobil
                                                                                    Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                     v. Albright,          A.3d
                                                                                                                      71 A.3d
30, 75-77
30,  75-77 (Md.
             (Md. 2013)      (exposure itself
                   2013) (exposure                 and the
                                            itself and    the need
                                                                need for   medical testing
                                                                      for medical    testing is
                                                                                              is the
                                                                                                 the compensable
                                                                                                      compensable injury injury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.    PacifiCare of
                                                     v. PacifiCare      of Nev.,  Inc., 340
                                                                            Nev., Inc.,        P.3d, 264,
                                                                                          340 P.3d,   264, 1270-72
                                                                                                             1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether      the negligent
                                        negligent actact of
                                                          of the
                                                               the defendant
                                                                   defendant caused
                                                                                caused thethe plaintiff
                                                                                              plaintiff to
                                                                                                        to have
                                                                                                            have aa medical
                                                                                                                      medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.   Firestone Tire
                                                   v. Firestone      Tire &    Rubber Co.,
                                                                           & Rubber       Co., 863   P.2d 795,
                                                                                               863 P.2d      795, 823
                                                                                                                    823 (Cal.
                                                                                                                           (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                physician-patient privilege
                                                                        privilege as
                                                                                   as to
                                                                                       to any
                                                                                           any medical
                                                                                               medical condition
                                                                                                          condition for      his
                                                                                                                        for his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                    in this        since Plaintiff
                                              case since    Plaintiff is
                                                                       is not claiming present
                                                                          not claiming     present physical
                                                                                                    physical injury
                                                                                                                injury in   this
                                                                                                                         in this
case. The
case.  The injury     that Plaintiff
             injury that     Plaintiff claims
                                          claims is     the significant
                                                    is the    significant exposure,       increased risk
                                                                            exposure, increased       risk ofof disease
                                                                                                                 disease andand
medical necessity
medical    necessity ofof diagnostic       testing and
                            diagnostic testing       and the
                                                           the economic
                                                                 economic loss     associated therewith.
                                                                             loss associated    therewith. Plaintiff
                                                                                                                Plaintiff and
                                                                                                                            and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only on
                                                  on their
                                                       their significant
                                                               significant exposure
                                                                             exposure to to the
                                                                                            the proven
                                                                                                proven hazardous
                                                                                                          hazardous Foam  Foam



                                                             - 11
                                                             -11
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Toxins released by
Toxins released by PE-PUR
                   PE-PUR foam in the
                          foam in the Recalled
                                      Recalled Devices.
                                               Devices.

REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A  claim   for  medical     monitoring        costs  does  not   put  present    physical
party. A claim for medical monitoring costs does not put present physical condition at issue. See   condition      at issue.  See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of
                                                             of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                 outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it seeks matters
                                                             it seeks  matters immune
                                                                               immune fromfrom discovery
                                                                                                 discovery under
                                                                                                             under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                         privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                  privilege. Plaintiff
                                                                             Plaintiff further
                                                                                        further objects
                                                                                                  objects toto this
                                                                                                               this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                      right to
                                                            to privacy.
                                                                privacy. Plaintiff
                                                                         Plaintiff further
                                                                                   further objects
                                                                                            objects toto the
                                                                                                         the scope
                                                                                                             scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not
                                                            not relevant
                                                                  relevant to
                                                                           to any
                                                                              any claims
                                                                                    claims oror defenses
                                                                                                 defenses ofof any
                                                                                                               any



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 141 of 654




party. A
party. A claim
          claim for
                  for medical
                      medical monitoring
                                  monitoring costscosts does
                                                         does not
                                                               not put
                                                                    put present
                                                                        present physical
                                                                                   physical condition
                                                                                              condition atat issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                   Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430                1999) (citations
                                                                            (W.Va. 1999)                  omitted) (the
                                                                                               (citations omitted)   (the
injury in
injury in question
           question isis the
                         the increase
                               increase inin risk
                                              risk that
                                                    that requires
                                                         requires one
                                                                    one to
                                                                         to incur   the cost
                                                                             incur the    cost of
                                                                                               of monitoring);
                                                                                                  monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                         714, 716     (Mo. 2007);
                                                 716 (Mo.            Exxon Mobil
                                                            2007); Exxon      Mobil Corp.
                                                                                       Corp. v.  Albright, 71
                                                                                              v. Albright,     A.3d 30,
                                                                                                            71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure       itself and
                                            and the
                                                  the need   for medical
                                                       need for   medical testing
                                                                           testing is is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                             injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                        claim); Sadler          PacifiCare ofNev.,
                                             v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                       Inc., 340   P.3d, 264,
                                                                                           264, 1270-72
                                                                                                 1270-72 (Nev.
                                                                                                           (Nev. 2014)
                                                                                                                  2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent actact ofof the
                                                   the defendant
                                                        defendant caused
                                                                    caused thethe plaintiff
                                                                                   plaintiff to
                                                                                              to have
                                                                                                 have aa medical
                                                                                                          medical need
                                                                                                                    need
to undergo    monitoring);      Potter   v.  Firestone    Tire  &  Rubber     Co., 863    P.2d
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).   795,  823  (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                   physician-patient privilege
                                                          privilege as
                                                                     as to
                                                                        to any
                                                                           any medical
                                                                                 medical condition
                                                                                            condition for   his medical
                                                                                                        for his medical
monitoring claims
monitoring    claims inin this
                           this case   since Plaintiff
                                 case since     Plaintiff is
                                                          is not
                                                              not claiming    present physical
                                                                  claiming present       physical injury
                                                                                                    injury in this case.
                                                                                                           in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is    the significant
                                        is the   significant exposure,
                                                               exposure, increased
                                                                           increased risk     of disease
                                                                                         risk of           and medical
                                                                                                  disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing       and thethe economic
                                                    economic loss     associated therewith.
                                                                 loss associated     therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                              and class
                                                                                                                   class
members base
members    base their
                 their claims     only on
                        claims only     on their
                                            their significant
                                                   significant exposure
                                                                exposure to to the
                                                                               the proven
                                                                                    proven hazardous
                                                                                             hazardous Foam
                                                                                                          Foam Toxins
                                                                                                                 Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                          Recalled Devices.
                                                      Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either  the  attorney-client       privilege       and/or  the   work     product    doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,     or   any    other   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.




                                                              -- 13
                                                                 13
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 142 of 654




       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A  claim   for  medical     monitoring        costs  does   not   put  present    physical
party. A claim for medical monitoring costs does not put present physical condition at issue. See    condition     at issue.  See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); Meyer
                                                                                                              Meyer



                                                              -- 14
                                                                 14
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v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon     Mobil Corp.
                                                                                     Corp. v.  Albright, 71
                                                                                            v. Albright,     A.3d 30,
                                                                                                          71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                           injury in
                                                                                                                  in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                         (Nev. 2014)
                                                                                                                2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                        medical need
                                                                                                                 need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber     Co., 863
                                                                  Rubber Co.,           P.2d 795,
                                                                                 863 P.2d     795, 823
                                                                                                    823 (Cal.  1993).
                                                                                                         (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for   his medical
                                                                                                      for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present      physical injury
                                                                                                 injury in  this case.
                                                                                                         in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk    of  disease  and  medical
                                                                                       risk of disease and medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                  Plaintiff and
                                                                                                            and class
                                                                                                                 class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                        Foam Toxins
                                                                                                               Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REQUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                    Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the  cost  of  medically   necessary  monitoring,    diagnostic  testing,
the cost of medically necessary monitoring, diagnostic testing, clinical   clinical examinations,
                                                                                    examinations,    and
                                                                                                     and
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling  Order,  the Federal Rules   of  Civil Procedure,  and  the  Federal Rules  of
scheduling Order, the Federal Rules of Civil Procedure, and the Federal Rules of Evidence Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

         Plaintiff objects
         Plaintiff objects to
                           to this
                              this Request
                                   Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                            burdensome, overbroad,
                                                                        overbroad, irrelevant,
                                                                                   irrelevant,


                                                         -- 15
                                                            15
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cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                 extent it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other  privilege, immunity,
                   other privilege,   immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens
burdens onon  Plaintiff
              Plaintiff which   substantially  outweighs    its likely  benefit.
                        which substantially outweighs its likely benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REQUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.




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                                                          16
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                                the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product  doctrine,  or any  other privilege,
product doctrine, or any other privilege,    immunity,
                                             immunity,     or
                                                           or  protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                           unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative,   and/or  because   the  burden  or  expense  of  the  discovery outweighs    its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.       benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds   that it
                                                 grounds that   it seeks
                                                                   seeks matters
                                                                         matters immune
                                                                                  immune fromfrom discovery
                                                                                                    discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                  the work
                                                      work product
                                                              product doctrine,
                                                                        doctrine, or
                                                                                   or any
                                                                                      any other     privilege,
                                                                                            other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                 objects to
                                                         to this
                                                             this Request
                                                                  Request to
                                                                           to the
                                                                               the extent  that information
                                                                                   extent that   information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                       by Plaintiff.
                                                           Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.




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                                                        17
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REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary    difficulties of this  Request  are  compounded    by  the  fact that Defendant  seeks
unnecessary difficulties of this Request are compounded by the fact that Defendant seeks materials   materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because    the burden   or  expense   of the discovery     outweighs
and/or because the burden or expense of the discovery outweighs its likely   its likely  benefit.
                                                                                         benefit.  Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                  objects toto this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.



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                                                          18
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REQUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative,   and/or  because   the burden or  expense   of the discovery   outweighs   its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.     benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REQUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in the last five  years, including documents sufficient to show  the frequency  of such
participated in the last five years, including documents sufficient to show the frequency of such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                      monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                           burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of of the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                    outweighs its its likely  benefit.
                                                                                                      likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it   seeks matters
                                                               it seeks  matters immune
                                                                                  immune fromfrom discovery
                                                                                                    discovery under
                                                                                                                under
either  the  attorney-client    privilege    and/or  the   work    product   doctrine,    or
either the attorney-client privilege and/or the work product doctrine, or any other privilege,any   other   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                             physician-patient privilege.
                                                                    privilege. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                 privacy. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto the
                                                                                                            the scope
                                                                                                                scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not not relevant
                                                                   relevant toto any
                                                                                 any claims
                                                                                       claims oror defenses
                                                                                                    defenses ofof any
                                                                                                                  any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                  put present
                                                                       present physical
                                                                                physical condition
                                                                                           condition at at issue.
                                                                                                           issue. See
                                                                                                                   See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d    424,430 (W.Va.
                                                      S.E.2d 424,430               1999) (citations
                                                                          (W.Va. 1999)                  omitted) (the
                                                                                           (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires oneone to
                                                                       to incur  the cost
                                                                          incur the   cost of
                                                                                           of monitoring);
                                                                                               monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                              716 (Mo.   2007); Exxon
                                                                   Exxon Mobil
                                                                           Mobil Corp.
                                                                                   Corp. v.  Albright, 71
                                                                                          v. Albright,       A.3d 30,
                                                                                                         71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure      itself and
                                          and the
                                               the need   for medical
                                                    need for  medical testing
                                                                         testing is
                                                                                  is the
                                                                                     the compensable
                                                                                         compensable injuryinjury in
                                                                                                                  in aa
medical monitoring
medical   monitoring claim);     Sadler v.
                       claim); Sadler        PacifiCare of
                                          v. PacifiCare    of Nev.,
                                                              Nev., Inc.,  340 P.3d,
                                                                     Inc., 340  P.3d, 264,
                                                                                       264, 1270-72
                                                                                              1270-72 (Nev.     2014)
                                                                                                         (Nev. 2014)



                                                        -- 19
                                                           19
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(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact of
                                              of the
                                                 the defendant
                                                     defendant caused
                                                                 caused thethe plaintiff
                                                                               plaintiff to
                                                                                         to have
                                                                                            have aa medical
                                                                                                    medical need
                                                                                                             need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone   Tire && Rubber
                                                                Rubber Co.,    863 P.2d
                                                                          Co., 863  P.2d 795,
                                                                                           795, 823  (Cal. 1993).
                                                                                                823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                       privilege as
                                                                  as to
                                                                     to any
                                                                        any medical
                                                                              medical condition
                                                                                       condition for  his medical
                                                                                                  for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                              Plaintiff is
                                                        is not
                                                           not claiming
                                                               claiming present
                                                                           present physical
                                                                                    physical injury
                                                                                              injury in
                                                                                                     in this
                                                                                                        this case.
                                                                                                             case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                               significant exposure,
                                                            exposure, increased
                                                                        increased risk
                                                                                    risk of
                                                                                         of disease
                                                                                            disease and
                                                                                                     and medical
                                                                                                          medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and the
                                             the economic
                                                  economic loss    associated therewith.
                                                             loss associated     therewith. Plaintiff
                                                                                              Plaintiff and
                                                                                                        and class
                                                                                                             class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                 significant exposure
                                                             exposure to to the
                                                                            the proven
                                                                                proven hazardous
                                                                                        hazardous Foam
                                                                                                    Foam Toxins
                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                    Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                     /s/ Kelly
                                                          /s/ Kelly K
                                                                    K. Iverson
                                                                       Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                              Kelly K.
                                                          Kelly  K. Iverson,
                                                                    Iverson, Esquire
                                                                              Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
                       BERMAN LLP                         LYNCH CARPENTER,
                                                          LYNCH      CARPENTER, LLP    LLP
                                                                                 th
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 510 Walnut  Street, Suite
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                                                          1133  Penn Avenue,
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                                                                                    Floor
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                                                          kelly@lcllp.com
 sduggan@lfsblaw.com
 sduggan@lfsblaw.com

 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                                /s/ Steven
                                                          /s/ Steven A.
                                                                     A. Schwartz
                                                                        Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                         Steven  A. Schwartz,
                                                          Steven A.  Schwartz, Esquire
                                                                               Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                  CHIMICLES       SCHWARTZ 'MINER
                                                          CHIMICLES SCHWARTZ           KRINER &
                                                                                              &
                        th
 55  Challenger Road,
 55 Challenger  Road, 66th Floor
                           Floor                          DONALDSON-SMITH LLP
                                                          DONALDSON-SMITH          LLP
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 Ridgefield  Park, NJ
                   NJ 07660
                      07660                               361  West Lancaster
                                                          361 West             Avenue
                                                                     Lancaster Avenue
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                                                          One   Haverford Centre
                                                                          Centre
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                                                          Haverford,  PA 19041
                                                                          19041
                                                          (610)
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                                                          steveschwartz@chimicles.com


                                    Counsel for Plaintiffs
                                    Counselfor  Plaintiffs and
                                                           and the
                                                               the Class
                                                                   Class




                                                      -- 20
                                                         20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 149 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

CHRISTINE DIJOHN'S
CHRISTINE DIJOHN’S AMENDED
                   AMENDED RESPONSES
                           RESPONSES AND
                                     AND OBJECTIONS
                                         OBJECTIONS TO PHILIPS RS'
                                                    TO PHILIPS RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                           MORGAN, LEWIS      & BOCKIUS
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                                 Wendy    West Feinstein
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                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

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                                                Steinberg
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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 150 of 654




                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                       FRANKLIN &   & PROKOPIK
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                    EXHIBIT
                    EXHIBIT G
                            G
   Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 152 of 654




                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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        PLAINTIFF ANDREW FISHER'S
        PLAINTIFF ANDREW  FISHER’S SECOND
                                    SECOND AMENDED
                                            AMENDED RESPONSES
                                                    RESPONSES AND
                                                               AND
         OBJECTIONS TO
         OBJECTIONS  TO PHILIPS
                        PHILIPS RS'
                                RS’ FIRST REQUEST FOR
                                    FIRST REQUEST FOR PRODUCTION
                                                      PRODUCTION
            OF DOCUMENTS
            OF DOCUMENTS TOTO MEDICAL   MONITORING PLAINTIFFS
                              MEDICAL MONITORING    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO REQUEST NO.
                 TO REQUEST NO. 1:
                                1:

         Plaintiff Andrew
         Plaintiff Andrew Fisher
                             Fisher ("Plaintiff")
                                      (“Plaintiff”) objects
                                                    objects to
                                                             to this
                                                                 this Request
                                                                      Request onon grounds
                                                                                    grounds that
                                                                                             that it  is vague,
                                                                                                   it is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                 and/or because
                                                                         because the
                                                                                   the burden
                                                                                       burden oror expense
                                                                                                    expense ofof
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                     objects to
                                                                             to this
                                                                                this Request
                                                                                     Request toto the
                                                                                                  the extent
                                                                                                       extent it
                                                                                                               it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                     either the
                                                            the attorney-client
                                                                 attorney-client privilege
                                                                                  privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                           work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further  objects to
                                                                                       further objects    to the
                                                                                                             the
term  “Acquired”    because    as defined  it seeks to  obtain  information   not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims or any   claims  or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                         grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                      seeks information
                                                                                             information that
                                                                                                            that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                      and/or control.
                                                              control.

     Without waiving
     Without waiving and
                     and subject
                         subject to
                                 to these
                                    these objections,
                                          objections, see MMFISHERANDREW00000001-
                                                      see MMFISHERANDREW00000001-
MMFISHERANDREW00000002.
MMFISHERANDREW00000002.

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

                                                      - 11 -
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


                                                               -4-
                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either    the attorney-client
                                                        either the   attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,     and/or control
                                                                                        custody, and/or    control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from his
                                                                                               his
Recalled Device(s).
Recalled Device(s).

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

         Plaintiff objects
         Plaintiff objects to
                           to this
                              this Request
                                   Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                            burdensome, overbroad,
                                                                        overbroad, irrelevant,
                                                                                   irrelevant,


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cumulative, and/or
cumulative,   and/or because
                      because the the burden
                                       burden or  or expense
                                                      expense of  of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                       outweighs itsits likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                         concession that
                                                                                       that evidence
                                                                                            evidence of of degradation
                                                                                                            degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                              objects to
                                                                       to this
                                                                           this Request
                                                                                Request onon grounds
                                                                                               grounds that
                                                                                                          that the
                                                                                                                the term
                                                                                                                     term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                               Plaintiff further   objects to
                                                                          further objects    to the
                                                                                                 the use
                                                                                                      use ofof the
                                                                                                               the term
                                                                                                                     term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                        it is
                                                           is overbroad,
                                                              overbroad, vague,
                                                                            vague, ambiguous,
                                                                                    ambiguous, and and impermissibly
                                                                                                        impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims
                                                claims oror defenses
                                                              defenses ofof any
                                                                             any party.
                                                                                 party. Plaintiff
                                                                                         Plaintiff further    objects to
                                                                                                    further objects     to
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                               Request No.No. 11.
                                                                               11. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                        objects toto this
                                                                                                                      this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of  of the
                                                                   the requested
                                                                        requested discovery
                                                                                    discovery outweighs
                                                                                                 outweighs its its likely
                                                                                                                   likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                              possession, custody,
                                                                                            custody, and/or
                                                                                                       and/or control.
                                                                                                                 control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                       the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                                has already
                                                                                     already provided
                                                                                               provided information
                                                                                                            information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                        objects toto this
                                                                      this Request
                                                                            Request toto the
                                                                                         the extent
                                                                                              extent it  seeks matters
                                                                                                      it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                      privilege and/or
                                                                                 and/or the
                                                                                         the work
                                                                                              work product
                                                                                                    product doctrine,
                                                                                                               doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                        further objects
                                                                                 objects to
                                                                                          to the
                                                                                             the extent
                                                                                                  extent this
                                                                                                           this Request
                                                                                                                 Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REQUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.


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                                                           8-
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant to to any
                                                                              any claims
                                                                                   claims oror defenses
                                                                                                defenses ofof any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REQUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in
                                                                                         in Paragraphs
                                                                                            Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                 discovery outweighs
                                                                            outweighs its
                                                                                        its likely benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks  matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                     under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other
                                                                                          other privilege,
                                                                                                 privilege,
immunity, or
immunity,    or protection,
                protection, including
                             including physician-patient
                                        physician-patient privilege.
                                                             privilege. Plaintiff
                                                                        Plaintiff further
                                                                                  further objects
                                                                                           objects to
                                                                                                    to this
                                                                                                       this


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Request on
Request   on grounds
              grounds that
                         that it  violates Plaintiff's
                               it violates    Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                    privacy. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects  to the
                                                                                                    objects to the scope
                                                                                                                   scope
of this
of  this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant to to any
                                                                                      any claims    or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                           Corp., 522522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430     (W.Va. 1999)
                                                                                        1999) (citations
                                                                                                (citations omitted)
                                                                                                           omitted) (the
                                                                                                                      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur
                                                                              incur the
                                                                                     the cost
                                                                                           cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716716 (Mo.
                                                       (Mo. 2007);
                                                              2007); Exxon
                                                                      Exxon Mobil
                                                                               Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                             and the
                                                   the need
                                                        need for   medical testing
                                                              for medical   testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.     PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340    P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,     863 P.2d
                                                                               Co., 863    P.2d 795,
                                                                                                 795, 823   (Cal. 1993).
                                                                                                       823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                   medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                        since Plaintiff
                                                 Plaintiff is
                                                            is not
                                                               not claiming
                                                                   claiming present
                                                                               present physical
                                                                                          physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this case.
                                                                                                                    case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is is the
                                             the significant
                                                  significant exposure,
                                                                exposure, increased
                                                                            increased riskrisk of
                                                                                                of disease
                                                                                                   disease and
                                                                                                            and medical
                                                                                                                 medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing andand thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims
                        claims only
                                  only onon their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                 the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request             but is
         includes but   is not  limited to
                            not limited  to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical  examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                           burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative,    and/or  because    the  burden   or  expense    of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.  its  likely   benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                       extent it
                                                               it seeks
                                                                  seeks matters
                                                                         matters immune
                                                                                 immune fromfrom discovery
                                                                                                   discovery under
                                                                                                                 under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                             doctrine, oror any
                                                                                             any other      privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                    privilege. Plaintiff
                                                                               Plaintiff further
                                                                                          further objects
                                                                                                     objects to to this
                                                                                                                   this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                 privacy. Plaintiff
                                                                           Plaintiff further
                                                                                     further objects
                                                                                              objects to to the
                                                                                                            the scope
                                                                                                                 scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not not relevant
                                                                   relevant to
                                                                             to any
                                                                                any claims
                                                                                      claims oror defenses
                                                                                                   defenses of  of any
                                                                                                                   any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                             not put
                                                                  put present
                                                                       present physical
                                                                               physical condition
                                                                                          condition at  at issue.
                                                                                                           issue. See
                                                                                                                   See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d    424,430 (W.Va.
                                                      S.E.2d 424,430              1999) (citations
                                                                          (W.Va. 1999)                  omitted) (the
                                                                                          (citations omitted)      (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                       requires one
                                                                  one to
                                                                       to incur the cost
                                                                          incur the cost of
                                                                                          of monitoring);
                                                                                              monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712,712, 714,
                                         714, 716
                                               716 (Mo.     2007); Exxon
                                                     (Mo. 2007);     Exxon Mobil
                                                                             Mobil Corp.
                                                                                     Corp. v.   Albright, 71
                                                                                             v. Albright,         A.3d
                                                                                                              71 A.3d



                                                          -- 10
                                                             10
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30, 75-77
30,  75-77 (Md.
            (Md. 2013)    (exposure itself
                   2013) (exposure            and the
                                       itself and   the need
                                                        need for
                                                               for medical
                                                                   medical testing
                                                                             testing is
                                                                                     is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                            injury
in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                               v. PacifiCare     of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,   264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.  Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,          P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                           physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                             risk of
                                                                                                  of disease
                                                                                                      disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated   therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and
class members
class  members base
                  base their
                        their claims
                              claims only
                                       only on
                                             on their
                                                 their significant
                                                        significant exposure
                                                                     exposure toto the
                                                                                   the proven
                                                                                        proven hazardous
                                                                                                hazardous Foam
                                                                                                             Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                Recalled Devices.
                                                            Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the    past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury  or other physiological  changes”   You  allege  in Paragraphs  26-88  of the
"subcellular injury or other physiological changes" You allege in Paragraphs 26-88 of the Medical Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,
                                                                                 endoscopies, and
                                                                                                and other
                                                                                                     other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                        consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                         unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                           the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff  further  objects    to  this  Request     to the   extent  it seeks   matters   immune
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under   from   discovery     under
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                  and/or the the work
                                                                   work product
                                                                           product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other     privilege,
                                                                                                              other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                            privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                    violates Plaintiffs
                                                Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                         privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                            scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                               present physical
                                                                                        physical condition
                                                                                                     condition at at issue.
                                                                                                                     issue. See
                                                                                                                              See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations     omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one toto incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,    71 A.3d
                                                                                                                             A.3d
30,  75-77   (Md.   2013)    (exposure      itself  and    the   need  for  medical    testing
30, 75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injuryis  the  compensable       injury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare       of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                         264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the  the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire & & Rubber
                                                                                 Rubber Co.,Co., 863    P.2d 795,
                                                                                                 863 P.2d             823 (Cal.
                                                                                                               795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition forfor his
                                                                                                                               his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                            not claiming     present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                              exposure, increased
                                                                                            increased risk
                                                                                                         risk of
                                                                                                               of disease
                                                                                                                   disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                   proven hazardous
                                                                                                             hazardous Foam Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.



                                                              - 11
                                                              -11
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REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower   v. Westinghouse        Elec.    Corp.,    522  S.E.2d   424,430     (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the     (citations    omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
                diagnostic testing         and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members    base  their  claims     only    on  their  significant   exposure     to the  proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxins   hazardous      Foam    Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 165 of 654




e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.Elec. Corp.,
                                         Corp., 522522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430     (W.Va. 1999)
                                                                                      1999) (citations   omitted) (the
                                                                                              (citations omitted)  (the
injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                   injury in this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, Plaintiff
                                                           Plaintiff has
                                                                     has not
                                                                         not been
                                                                             been diagnosed
                                                                                  diagnosed with
                                                                                            with



                                                              -- 13
                                                                 13
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 166 of 654




subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower   v. Westinghouse        Elec.    Corp.,    522  S.E.2d    424,430     (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the      (citations   omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
                diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members    base  their  claims     only    on  their  significant    exposure     to the  proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxins    hazardous     Foam    Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REQUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative,    and/or  because    the  burden   or  expense   of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. its  likely  benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                               under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects to to the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses of of any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at  at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                         (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                 Corp. v.  Albright, 71
                                                                                        v. Albright,        A.3d 30,
                                                                                                        71 A.3d   30,



                                                              -- 14
                                                                 14
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 167 of 654




75-77  (Md. 2013)
75-77 (Md.    2013) (exposure
                     (exposure itself
                                   itself and
                                           and the
                                                 the need
                                                     need for
                                                            for medical
                                                                 medical testing
                                                                          testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                          injury in
                                                                                                                 in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                        (Nev. 2014)
                                                                                                               2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                       medical need
                                                                                                                need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber
                                                                  Rubber Co.,    863 P.2d
                                                                            Co., 863    P.2d 795,
                                                                                              795, 823
                                                                                                   823 (Cal.  1993).
                                                                                                        (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for  his medical
                                                                                                     for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                       physical injury
                                                                                                 injury in
                                                                                                        in this
                                                                                                           this case.
                                                                                                                case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased risk
                                                                                       risk of
                                                                                            of disease
                                                                                               disease and
                                                                                                        and medical
                                                                                                             medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                 Plaintiff and
                                                                                                           and class
                                                                                                                class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                       Foam Toxins
                                                                                                              Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                           Regarding thethe costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations   for the early detection of illness, disease,  and  disease  processes”  as described
consultations for the early detection of illness, disease, and disease processes" as described in     in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

      Plaintiff objects
      Plaintiff  objects to
                          to this
                             this Request
                                  Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                             burdensome, overbroad,
                                                                           overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, attorney
cumulative, attorney client
                      client and
                             and attorney
                                  attorney work
                                           work product
                                                product privilege,
                                                        privilege, and/or
                                                                   and/or because
                                                                          because the
                                                                                  the burden
                                                                                      burden or
                                                                                              or


                                                         -- 15
                                                            15
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expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                         it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided by
                          by Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                 extent it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                         privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many of
                          of Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:



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                                                          16
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        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REQUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                              device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents Regarding  that replacement  device,  including but not limited to receipts, insurance
all Documents Regarding that replacement device, including but not limited to receipts, insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further objects to  this  Request  on grounds  that it seeks matters  immune     from
Plaintiff further objects to this Request on grounds that it seeks matters immune from discovery   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other      privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REOUEST 35: All
            All Documents
                Documents Regarding
                          Regarding the
                                    the "express
                                        “express warranty"
                                                 warranty” or
                                                           or "warranties"
                                                              “warranties” referenced
                                                                           referenced in
                                                                                      in



                                                     -- 17
                                                        17
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Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                              CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                  this Request
                                       Request as  as vague,
                                                      vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                    expense ofof the
                                                 the discovery
                                                     discovery outweighs
                                                                   outweighs its
                                                                              its likely
                                                                                  likely benefit.
                                                                                          benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to  this  Request  as  it  seeks  a premature    legal concession    by   calling  for a legal
objects to this Request as it seeks a premature legal concession by calling for a legal conclusion.    conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                     Request toto the
                                                  the extent
                                                       extent it
                                                              it seeks
                                                                  seeks matters
                                                                        matters immune
                                                                                  immune from
                                                                                            from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                             and/or the
                                                      the work
                                                           work product
                                                                    product doctrine,
                                                                            doctrine, or or any
                                                                                             any other    privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                          further objects
                                                    objects to
                                                             to this
                                                                  this Request
                                                                       Request asas premature
                                                                                     premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto bebe elicited
                                      elicited from
                                               from and
                                                      and developed
                                                           developed with
                                                                        with the
                                                                             the assistance
                                                                                   assistance of
                                                                                               of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                              Order, the
                                                      the Federal
                                                          Federal Rules
                                                                     Rules of
                                                                           of Civil
                                                                               Civil Procedure,
                                                                                      Procedure, and
                                                                                                   and the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding the the disclosure
                                        disclosure ofof expert
                                                        expert testimony
                                                                 testimony and
                                                                            and evidence.
                                                                                   evidence.

REQUEST 38:
REQUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.




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                                                          18
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters  immune    from  discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under  under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five
                         five years,
                               years, including
                                      including documents sufficient to
                                                documents sufficient to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                        that it
                             it violates
                                 violates Plaintiffs
                                           Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                  privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                 objects toto the
                                                                                                              the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.   2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                           71 A.3d    30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.     2014)
                                                                                                           (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need



                                                          -- 19
                                                             19
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to undergo
to undergo monitoring);
             monitoring); Potter
                              Potter v.    Firestone Tire
                                       v. Firestone   Tire && Rubber
                                                               Rubber Co.,    863 P.2d
                                                                         Co., 863  P.2d 795,
                                                                                         795, 823   (Cal. 1993).
                                                                                               823 (Cal.  1993).
Plaintiff has
Plaintiff has not
              not waived
                  waived thethe physician-patient
                                 physician-patient privilege
                                                      privilege as
                                                                 as to
                                                                    to any
                                                                       any medical
                                                                             medical condition
                                                                                      condition for  his medical
                                                                                                 for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                               case since
                                     since Plaintiff
                                             Plaintiff is
                                                       is not
                                                          not claiming
                                                              claiming present
                                                                          present physical
                                                                                   physical injury
                                                                                            injury in
                                                                                                    in this
                                                                                                       this case.
                                                                                                            case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims isis the
                                          the significant
                                              significant exposure,
                                                           exposure, increased
                                                                       increased risk
                                                                                   risk of
                                                                                        of disease
                                                                                           disease and
                                                                                                    and medical
                                                                                                         medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                      and the
                                            the economic
                                                 economic loss    associated therewith.
                                                            loss associated     therewith. Plaintiff
                                                                                             Plaintiff and
                                                                                                       and class
                                                                                                            class
members base
members    base their
                their claims
                      claims only
                                only on
                                      on their
                                          their significant
                                                significant exposure
                                                            exposure to to the
                                                                           the proven
                                                                               proven hazardous
                                                                                       hazardous Foam
                                                                                                   Foam Toxins
                                                                                                          Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam in in the
                                   the Recalled
                                        Recalled Devices.
                                                   Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                    /s/ Kelly
                                                         /s/ Kelly K
                                                                   K. Iverson
                                                                      Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                             Kelly K.
                                                         Kelly  K. Iverson,
                                                                   Iverson, Esquire
                                                                             Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
                       BERMAN LLP                        LYNCH CARPENTER,
                                                         LYNCH      CARPENTER, LLP    LLP
                                                                                th
 510  Walnut Street,
 510 Walnut  Street, Suite
                     Suite 500
                           500                           1133 Penn
                                                         1133  Penn Avenue,
                                                                     Avenue, 55th Floor
                                                                                   Floor
 Philadelphia, PA
 Philadelphia, PA 19106
                  19106                                  Pittsburgh, PA
                                                         Pittsburgh,  PA 15222
                                                                          15222
 (215)592-1500
 (215)592-1500 (phone)
                (phone)                                  (412) 322-9243
                                                         (412) 322-9243 (phone)
                                                                           (phone)
 (215)592-4633
 (215)592-4633 (fax)
                (fax)                                    kelly@lcllp.com
                                                         kelly@lcllp.com
 sduggan@lfsblaw.com
 sduggan@lfsblaw.com

 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                               /s/ Steven
                                                         /s/ Steven A.
                                                                    A. Schwartz
                                                                       Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                        Steven  A. Schwartz,
                                                         Steven A.  Schwartz, Esquire
                                                                              Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                 CHIMICLES       SCHWARTZ 'MINER
                                                         CHIMICLES SCHWARTZ           KRINER &
                                                                                             &
                        th
 55  Challenger Road,
 55 Challenger  Road, 66th Floor
                           Floor                         DONALDSON-SMITH LLP
                                                         DONALDSON-SMITH          LLP
 Ridgefield Park,
 Ridgefield  Park, NJ
                   NJ 07660
                      07660                              361  West Lancaster
                                                         361 West             Avenue
                                                                    Lancaster Avenue
 (973)
 (973) 639-9100   (phone)
       639-9100 (phone)                                  One Haverford
                                                         One   Haverford Centre
                                                                         Centre
 cseeger@seegerweiss.com
 cseeger@seegerweiss.com                                 Haverford, PA
                                                         Haverford,  PA 19041
                                                                         19041
                                                         (610)
                                                         (610) 642-8500   (phone)
                                                                642-8500 (phone)
                                                         steveschwartz@chimicles.com
                                                         steveschwartz@chimicles.com


                                   Counsel for Plaintiffs
                                   Counselfor  Plaintiffs and
                                                          and the
                                                              the Class
                                                                  Class




                                                      -- 20
                                                         20
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                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

ANDREW FISHER'S
ANDREW FISHER’S AMENDED
                AMENDED RESPONSES
                        RESPONSES AND
                                  AND OBJECTIONS
                                      OBJECTIONS TO PHILIPS RS'
                                                 TO PHILIPS RS’ FIRST
                                                                FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
                           MORGAN,    LEWIS &
                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
                                                           LLP
                                    1701 Market
                                    1701 Market Street
                                                 Street
                              Philadelphia, PA
                              Philadelphia, PA 19103-2921
                                                19103-2921
                                      T 215.963.5000
                                      T 215.963.5000
                             john.lavelle@morganlewis.com
                             john.lavelle@morganlewis.com

                                 Wendy West
                                 Wendy         Feinstein
                                          West Feinstein
                           MORGAN,   LEWIS &
                           MORGAN, LEWIS     & BOCKIUS
                                                BOCKIUS LLP  LLP
                             One Oxford
                             One  Oxford Center,
                                          Center, 32nd Floor
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                               Pittsburgh, PA
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                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

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                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                    EXHIBIT H
                    EXHIBIT H
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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         PLAINTIFF BRENT HAMLIN'S
         PLAINTIFF BRENT HAMLIN’S SECOND   AMENDED RESPONSES
                                   SECOND AMENDED   RESPONSES AND
                                                               AND
          OBJECTIONS TO
          OBJECTIONS TO PHILIPS
                        PHILIPS RS'
                                RS’ FIRST REQUEST FOR
                                    FIRST REQUEST FOR PRODUCTION
                                                      PRODUCTION
             OF DOCUMENTS
             OF DOCUMENTS TO
                           TO MEDICAL
                              MEDICAL MONITORING
                                        MONITORING PLAINTIFFS
                                                    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,  model number,
                                                          name, model            and serial
                                                                       number, and   serial number
                                                                                            number
of each
of      and every
   each and every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,  and the
                                                                                    it, and the date
                                                                                                date
on which
on which You
          You no  longer had
               no longer     possession of
                         had possession  of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Brent
         Plaintiff Brent Hamlin
                          Hamlin ("Plaintiff')
                                     (“Plaintiff”) objects
                                                   objects to
                                                            to this
                                                               this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                            that it
                                                                                                  it is vague,
                                                                                                     is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                and/or because
                                                                        because the
                                                                                  the burden
                                                                                      burden oror expense
                                                                                                   expense ofof
the discovery
the  discovery outweighs
                outweighs itsits likely
                                 likely benefit.
                                        benefit. Plaintiff
                                                 Plaintiff further
                                                           further objects
                                                                    objects to
                                                                            to this
                                                                               this Request
                                                                                    Request toto the
                                                                                                 the extent
                                                                                                      extent it
                                                                                                              it
seeks matters
seeks   matters immune
                immune fromfrom discovery
                                  discovery under
                                              under either
                                                    either the
                                                            the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                               protection. Plaintiff
                                                                            Plaintiff further  objects to
                                                                                      further objects    to the
                                                                                                            the
term "Acquired"
term  “Acquired” because
                    because as as defined
                                  defined it
                                           it seeks
                                              seeks to
                                                    to obtain
                                                       obtain information
                                                               information not
                                                                             not relevant
                                                                                  relevant to
                                                                                           to any
                                                                                               any claims
                                                                                                     claims or
                                                                                                             or
defenses of
defenses   of any
              any party.
                   party. Plaintiff
                          Plaintiff further
                                    further objects
                                             objects on
                                                     on grounds
                                                        grounds that
                                                                  that this
                                                                       this Request
                                                                            Request seeks
                                                                                     seeks information
                                                                                            information that
                                                                                                           that
is already
is already in
            in Defendant's
               Defendant’s possession,
                              possession, custody,
                                            custody, and/or
                                                     and/or control.
                                                             control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMHAMLINBRENT00000001-
                                                     see MMHAMLINBRENT00000001-
MMHAMLINBRENT00000002.
MMHAMLINBRENT00000002.

REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REOUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



                                                               - 33 -
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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


                                                               -4-
                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either    the attorney-client
                                                        either the   attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,     and/or control
                                                                                        custody, and/or    control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without  waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff has
                                                                   has already
                                                                       already returned
                                                                               returned his Recalled
                                                                                        his Recalled
Device, including
Device, including any
                  any SD card, to
                      SD card, to Philips.
                                  Philips.

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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                                                       6-
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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


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Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                        concession that
                                                                                      that evidence
                                                                                           evidence of of degradation
                                                                                                           degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                             objects to
                                                                      to this
                                                                          this Request
                                                                               Request onon grounds
                                                                                              grounds that
                                                                                                         that the
                                                                                                               the term
                                                                                                                    term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to the
                                                                                                the use
                                                                                                    use of of the
                                                                                                              the term
                                                                                                                    term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                       it is
                                                          is overbroad,
                                                             overbroad, vague,
                                                                           vague, ambiguous,
                                                                                   ambiguous, and and impermissibly
                                                                                                       impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims    or defenses
                                                claims or    defenses ofof any
                                                                            any party.
                                                                                party. Plaintiff
                                                                                        Plaintiff further
                                                                                                   further objects
                                                                                                             objects toto
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                              Request No.No. 11.
                                                                              11. Plaintiff
                                                                                  Plaintiff further
                                                                                              further objects
                                                                                                       objects toto this
                                                                                                                     this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of of the
                                                                   the requested
                                                                       requested discovery
                                                                                   discovery outweighs
                                                                                                outweighs its its likely
                                                                                                                  likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                             possession, custody,
                                                                                           custody, and/or
                                                                                                      and/or control.
                                                                                                                control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                      the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                               has already
                                                                                    already provided
                                                                                              provided information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                       objects to to this
                                                                     this Request
                                                                           Request toto the
                                                                                        the extent
                                                                                             extent it  seeks matters
                                                                                                     it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                     privilege and/or
                                                                                and/or the
                                                                                        the work
                                                                                             work product
                                                                                                   product doctrine,
                                                                                                              doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                       further objects
                                                                                objects to
                                                                                         to the
                                                                                            the extent
                                                                                                 extent this
                                                                                                          this Request
                                                                                                                Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.



                                                         -8
                                                          8-
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information     not relevant    to any  claims   or  defenses
                                            information not relevant to any claims or defenses of          of any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as  as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,   and/or because   the burden    or  expense    of the  discovery   outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties ofof this
                                                          this Request
                                                               Request areare compounded
                                                                               compounded by by the
                                                                                                  the fact
                                                                                                      fact that
                                                                                                           that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available toto it.
                                                               it. Plaintiff
                                                                   Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                             to the
                                                                                                 the use
                                                                                                     use of
                                                                                                         of the
                                                                                                            the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in     this Request
                                                    in this Request on on grounds
                                                                           grounds that
                                                                                    that they
                                                                                         they are
                                                                                               are overbroad,
                                                                                                    overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek      information not not relevant  to any
                                                                      relevant to  any claims
                                                                                       claims or
                                                                                               or defenses
                                                                                                   defenses of
                                                                                                             of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                  Request to to the
                                                                 the extent
                                                                     extent it
                                                                             it seeks
                                                                                seeks matters
                                                                                      matters immune
                                                                                                immune from
                                                                                                          from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                           and/or the
                                                                   the work
                                                                        work product
                                                                              product doctrine,   or any
                                                                                       doctrine, or  any other
                                                                                                          other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REQUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in
                                                                                         in Paragraphs
                                                                                            Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                 this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs itsits likely  benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it  seeks matters
                                                           it seeks  matters immune
                                                                             immune fromfrom discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                         any other
                                                                                              other privilege,
                                                                                                      privilege,
immunity, or
immunity,    or protection,
                protection, including
                              including physician-patient
                                          physician-patient privilege.
                                                                privilege. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                      that it
                           it violates
                               violates Plaintiffs
                                        Plaintiff’s right
                                                    right to
                                                          to privacy.
                                                             privacy. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects
                                                                                          objects to
                                                                                                   to the
                                                                                                      the scope
                                                                                                          scope


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of this
of  this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                           Corp., 522522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430     (W.Va. 1999)
                                                                                        1999) (citations
                                                                                                (citations omitted)
                                                                                                           omitted) (the
                                                                                                                      (the
injury in
injury  in question
           question isis the
                         the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur
                                                                              incur the
                                                                                     the cost
                                                                                           cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716716 (Mo.
                                                       (Mo. 2007);
                                                             2007); Exxon
                                                                      Exxon Mobil
                                                                               Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                             and the
                                                   the need
                                                        need for   medical testing
                                                              for medical   testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.     PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,     863 P.2d
                                                                               Co., 863    P.2d 795,
                                                                                                 795, 823   (Cal. 1993).
                                                                                                       823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                        since Plaintiff
                                                 Plaintiff is
                                                           is not
                                                               not claiming
                                                                   claiming present
                                                                               present physical
                                                                                          physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this case.
                                                                                                                    case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is is the
                                             the significant
                                                  significant exposure,
                                                                exposure, increased
                                                                            increased riskrisk of
                                                                                                of disease
                                                                                                   disease and
                                                                                                            and medical
                                                                                                                 medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing andand thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims
                        claims only
                                  only onon their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REQUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination;   biopsies;   pathologic,  histologic, and  oncologic   evaluations;  oncologic,
examination; biopsies; pathologic, histologic, and oncologic evaluations; oncologic, histologic,histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as  as vague,
                                                          vague, unduly
                                                                    unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden or or expense
                                                      expense of of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                      outweighs itsits likely   benefit.
                                                                                                       likely benefit.
Plaintiff further  objects  to this   Request    to the  extent  it seeks  matters  immune    from
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under discovery    under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or thethe work
                                                              work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                               any other     privilege,
                                                                                                     other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                      objects to to this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                       that it
                             it violates
                                violates Plaintiffs
                                            Plaintiff’s right
                                                          right to
                                                                to privacy.
                                                                    privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                objects toto the
                                                                                                             the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                                information not not relevant
                                                                      relevant to
                                                                               to any
                                                                                   any claims
                                                                                        claims oror defenses
                                                                                                     defenses of of any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costscosts does
                                                        does not
                                                               not put
                                                                    put present
                                                                         present physical
                                                                                 physical condition
                                                                                            condition at at issue.
                                                                                                            issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                  Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430               1999) (citations
                                                                            (W.Va. 1999)                 omitted) (the
                                                                                            (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                             increase in  in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                         to incur  the cost
                                                                            incur the  cost of
                                                                                            of monitoring);
                                                                                                monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712, 712, 714,
                                           714, 716
                                                 716 (Mo.     2007); Exxon
                                                       (Mo. 2007);      Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.   Albright, 71
                                                                                               v. Albright,        A.3d
                                                                                                               71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
            (Md. 2013)    (exposure itself      and the
                                         itself and   the need
                                                            need for
                                                                  for medical
                                                                       medical testing
                                                                                testing is
                                                                                        is the
                                                                                           the compensable
                                                                                                compensable injuryinjury



                                                          -- 10
                                                             10
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in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                               v. PacifiCare     of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,  264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.  Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,         P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                          physical injury
                                                                                                    injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                            risk of
                                                                                                  of disease
                                                                                                     disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated  therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                               and
class  members    base  their claims   only  on  their  significant  exposure   to the proven
class members base their claims only on their significant exposure to the proven hazardous Foam hazardous    Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                Recalled Devices.
                                                            Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,      and other
                                                                                 endoscopies, and    other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                 matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                            under
either  the   attorney-client       privilege     and/or     the   work   product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,     or   any   other   privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                    violates Plaintiffs
                                                Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                            scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                              present physical
                                                                                        physical condition
                                                                                                     condition at at issue.
                                                                                                                     issue. See
                                                                                                                              See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations     omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,    71 A.3d
                                                                                                                             A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical     testing is
                                                                                                is the
                                                                                                    the compensable
                                                                                                         compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                         264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the  the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                 Rubber Co.,Co., 863    P.2d 795,
                                                                                                 863 P.2d             823 (Cal.
                                                                                                               795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition forfor his
                                                                                                                               his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                           not claiming      present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                            increased risk
                                                                                                         risk of
                                                                                                               of disease
                                                                                                                   disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                  proven hazardous
                                                                                                             hazardous Foam Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.




                                                              - 11
                                                              -11
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REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 189 of 654




injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                  injury in  this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REQUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request   on  grounds    that  it  violates     Plaintiff’s  right to  privacy.     Plaintiff  further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope   objects   to the scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340    P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo    monitoring);      Potter      v.  Firestone    Tire  &   Rubber      Co., 863
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).  P.2d   795,    823   (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                       medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                  case since       Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                     the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.



                                                              -- 13
                                                                 13
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REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                   outweighs its its likely  benefit.
                                                                                                     likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects to  this  Request   to the extent  it seeks  matters  immune     from   discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                           work product
                                                                  product doctrine,
                                                                            doctrine, or or any
                                                                                             any other
                                                                                                   other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                               Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                 privacy. Plaintiff
                                                                          Plaintiff further
                                                                                     further objects
                                                                                              objects toto the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                   relevant to
                                                                             to any
                                                                                any claims
                                                                                      claims oror defenses
                                                                                                   defenses ofof any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                               physical condition
                                                                                          condition at at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430              1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                          (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur  the cost
                                                                         incur the   cost of
                                                                                          of monitoring);
                                                                                              monitoring); Meyer
                                                                                                               Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                  Corp. v.  Albright, 71
                                                                                         v. Albright,       A.3d 30,
                                                                                                        71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                          and the
                                               the need   for medical
                                                    need for  medical testing
                                                                        testing is
                                                                                 is the
                                                                                    the compensable
                                                                                        compensable injuryinjury in
                                                                                                                 in aa



                                                              -- 14
                                                                 14
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 191 of 654




medical monitoring
medical   monitoring claim);
                       claim); Sadler
                                  Sadler v.    PacifiCare ofNev.,
                                            v. PacifiCare   of Nev., Inc.,  340 P.3d,
                                                                     Inc., 340   P.3d, 264,
                                                                                       264, 1270-72
                                                                                             1270-72 (Nev.
                                                                                                      (Nev. 2014)
                                                                                                             2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                  caused thethe plaintiff
                                                                                plaintiff to
                                                                                          to have
                                                                                             have aa medical
                                                                                                     medical need
                                                                                                              need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone    Tire && Rubber
                                                                 Rubber Co.,    863 P.2d
                                                                           Co., 863  P.2d 795,
                                                                                            795, 823  (Cal. 1993).
                                                                                                 823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege as
                                                                   as to
                                                                      to any
                                                                         any medical
                                                                               medical condition
                                                                                        condition for  his medical
                                                                                                   for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                            not claiming
                                                                claiming present
                                                                            present physical
                                                                                     physical injury
                                                                                               injury in
                                                                                                      in this
                                                                                                         this case.
                                                                                                              case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                             exposure, increased
                                                                         increased risk
                                                                                     risk of
                                                                                          of disease
                                                                                             disease and
                                                                                                      and medical
                                                                                                           medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss    associated therewith.
                                                               loss associated    therewith. Plaintiff
                                                                                               Plaintiff and
                                                                                                         and class
                                                                                                              class
members    base  their claims    only  on  their  significant exposure    to the proven  hazardous
members base their claims only on their significant exposure to the proven hazardous Foam Toxins     Foam   Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among   other places)  Paragraphs 375, 379   and  385 of the Medical  Monitoring
(among other places) Paragraphs 375, 379 and 385 of the Medical Monitoring CSAC.    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REQUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

       Plaintiff objects
       Plaintiff objects to
                          to this
                             this Request
                                  Request as as vague,
                                                 vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                             irrelevant,
cumulative, attorney
cumulative, attorney client
                      client and
                             and attorney
                                  attorney work
                                             work product
                                                   product privilege,
                                                            privilege, and/or
                                                                        and/or because
                                                                                because the
                                                                                         the burden
                                                                                              burden or
                                                                                                      or
expense of
expense of the
           the discovery
               discovery outweighs
                           outweighs its
                                      its likely
                                          likely benefit.
                                                 benefit. Plaintiff
                                                          Plaintiff further
                                                                    further objects
                                                                            objects to
                                                                                    to the
                                                                                       the scope
                                                                                           scope of
                                                                                                 of this
                                                                                                    this


                                                         -- 15
                                                            15
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Request to
Request   to the
             the extent
                  extent it
                         it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant to
                                                                to any
                                                                    any claims
                                                                         claims oror defenses
                                                                                     defenses ofof any
                                                                                                   any party.
                                                                                                         party.
Plaintiff further
Plaintiff further objects
                   objects to
                            to this
                               this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                             that information
                                                                  information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request has
                                                                                                           has
already been
already  been provided
               provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects to
                                                                     to this
                                                                        this Request
                                                                              Request to
                                                                                       to the
                                                                                          the extent  it seeks
                                                                                               extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                         privilege and/or
                                                                                    and/or the
                                                                                           the work
                                                                                                work product
                                                                                                      product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                         privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                  Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                              to this
                                                                                                 this Request
                                                                                                      Request
as duplicative
as duplicative of
                of many
                   many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REQUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request asas vague,
                                                 vague, unduly
                                                         unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                               irrelevant,
cumulative,   and/or  because  the burden  or  expense of the   discovery outweighs   its  likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.   benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds   that it
                                               grounds that  it seeks
                                                                seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                                discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                         other privilege,
                                                                                                privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 32:
                                32:




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                                                          16
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        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,    and/or because   the burden   or  expense    of the   discovery  outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REQUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                          the "express
                                              “express warranty"
                                                       warranty” or
                                                                 or "warranties"
                                                                    “warranties” referenced
                                                                                    referenced in
                                                                                               in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                              CSAC, including
                                                     including but
                                                               but not
                                                                   not limited to aa copy
                                                                       limited to    copy of
                                                                                          of such
                                                                                             such



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                                                        17
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warranty and
warranty and any
             any Communications
                 Communications Regarding
                                Regarding the
                                          the warranty.
                                              warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                          burdensome, andand cumulative.
                                                                                               cumulative. The
                                                                                                             The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                      the fact  that Defendant
                                                                           fact that Defendant seeks
                                                                                                seeks materials
                                                                                                      materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,     custody, and/or
                                                                                             and/or control.
                                                                                                    control. As
                                                                                                              As
the  manufacturer     of the   Recalled   Devices,    Defendant    is   in  the  better position
the manufacturer of the Recalled Devices, Defendant is in the better position to obtain the      to  obtain   the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                       this Request
                                                                             Request onon grounds
                                                                                          grounds that
                                                                                                   that it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                         privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                 work product
                                                                                                        product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REQUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:



                                                       -- 18
                                                          18
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         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REQUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social  media  such   as Facebook    or  Twitter), received by  mail   or other  delivery
social media such as Facebook or Twitter), received by mail or other delivery service, or  service, or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the  attorney-client   privilege and/or  the work    product   doctrine,  or  any  other
either the attorney-client privilege and/or the work product doctrine, or any other privilege,    privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five
                         five years,
                               years, including
                                      including documents sufficient to
                                                documents sufficient to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request   on  grounds   that it  violates  Plaintiff’s  right to  privacy.   Plaintiff further   objects
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope    to the scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.   2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                            71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.     2014)
                                                                                                           (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need
to undergo
to            monitoring); Potter
   undergo monitoring);       Potter v.    Firestone Tire
                                        v. Firestone    Tire && Rubber      Co., 863
                                                                  Rubber Co.,          P.2d 795,
                                                                                 863 P.2d     795, 823
                                                                                                     823 (Cal.   1993).
                                                                                                           (Cal. 1993).



                                                          -- 19
                                                             19
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Plaintiff has
Plaintiff has not waived the
              not waived    the physician-patient
                                physician-patient privilege
                                                    privilege as
                                                               as to
                                                                  to any
                                                                     any medical
                                                                           medical condition
                                                                                    condition for  his medical
                                                                                               for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                              case since
                                    since Plaintiff
                                           Plaintiff is
                                                     is not
                                                        not claiming    present physical
                                                            claiming present     physical injury
                                                                                           injury in this case.
                                                                                                  in this case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims    is the
                             claims is  the significant
                                            significant exposure,
                                                         exposure, increased
                                                                     increased risk
                                                                                 risk of
                                                                                      of disease
                                                                                         disease and
                                                                                                  and medical
                                                                                                       medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                     and the
                                          the economic
                                               economic loss
                                                          loss associated
                                                                associated therewith.
                                                                              therewith. Plaintiff
                                                                                           Plaintiff and
                                                                                                     and class
                                                                                                          class
members base
members    base their
                their claims
                      claims only
                               only on
                                     on their
                                        their significant
                                              significant exposure
                                                          exposure to to the
                                                                         the proven
                                                                             proven hazardous
                                                                                     hazardous Foam
                                                                                                 Foam Toxins
                                                                                                        Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam inin the
                                  the Recalled
                                       Recalled Devices.
                                                 Devices.


 Dated: December
 Dated: December 14,
                 14, 2023
                     2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                   /s/ Kelly
                                                        /s/ Kelly K
                                                                  K. Iverson
                                                                     Iverson
 Sandra  L. Duggan,
 Sandra L.  Duggan, Esquire
                     Esquire                            Kelly K.
                                                        Kelly  K. Iverson,
                                                                  Iverson, Esquire
                                                                            Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
                       BERMAN LLP                       LYNCH CARPENTER,
                                                        LYNCH      CARPENTER, LLP    LLP
                                                                               th
 510 Walnut
 510  Walnut Street,
             Street, Suite
                     Suite 500
                           500                          1133 Penn
                                                        1133  Penn Avenue,
                                                                    Avenue, 55th  Floor
                                                                                  Floor
 Philadelphia, PA
 Philadelphia, PA 19106
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                                                        Pittsburgh,  PA 15222
                                                                         15222
 (215)592-1500 (phone)
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                                                        (412) 322-9243 (phone)
                                                                          (phone)
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                                                        kelly@lcllp.com
 sduggan@lfsblaw.com
 sduggan@lfsblaw.com

 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                              /s/ Steven
                                                        /s/ Steven A.
                                                                   A. Schwartz
                                                                      Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                       Steven  A. Schwartz,
                                                        Steven A.  Schwartz, Esquire
                                                                             Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                CHIMICLES       SCHWARTZ 'MINER
                                                        CHIMICLES SCHWARTZ           KRINER &
                                                                                            &
                        th
 55 Challenger
 55  Challenger Road,
                Road, 66th Floor
                           Floor                        DONALDSON-SMITH LLP
                                                        DONALDSON-SMITH          LLP
 Ridgefield Park,
 Ridgefield  Park, NJ
                   NJ 07660
                      07660                             361  West Lancaster
                                                        361 West             Avenue
                                                                   Lancaster Avenue
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       639-9100 (phone)                                 One Haverford
                                                        One   Haverford Centre
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 cseeger@seegerweiss.com                                Haverford, PA
                                                        Haverford,  PA 19041
                                                                        19041
                                                        (610)
                                                        (610) 642-8500   (phone)
                                                               642-8500 (phone)
                                                        steveschwartz@chimicles.com
                                                        steveschwartz@chimicles.com


                                   Counsel for Plaintiffs
                                   Counselfor  Plaintiffs and
                                                          and the
                                                              the Class
                                                                  Class




                                                     -- 20
                                                        20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 197 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 14,
                                           14, 2023,
                                               2023, II served
                                                        served aa true
                                                                  true and
                                                                       and correct copy of
                                                                           correct copy of PLAINTIFF
                                                                                           PLAINTIFF

BRENT HAMLIN'S
BRENT HAMLIN’S AMENDED
               AMENDED RESPONSES
                       RESPONSES AND
                                 AND OBJECTIONS
                                     OBJECTIONS TO PHILIPS RS'
                                                TO PHILIPS RS’ FIRST
                                                               FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
                           MORGAN, LEWIS
                           MORGAN,    LEWIS & & BOCKIUS
                                                 BOCKIUS LLP
                                                           LLP
                                    1701 Market
                                    1701 Market Street
                                                 Street
                              Philadelphia, PA
                              Philadelphia, PA 19103-2921
                                                19103-2921
                                      T 215.963.5000
                                      T 215.963.5000
                             john.lavelle@morganlewis.com
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                                 Wendy West
                                 Wendy    West Feinstein
                                               Feinstein
                           MORGAN,   LEWIS &
                           MORGAN, LEWIS     & BOCKIUS
                                                BOCKIUS LLP  LLP
                             One Oxford
                             One  Oxford Center,
                                          Center, 32nd
                                                  32nd Floor
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                                 Counselfor  Defendant Philips
                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                       LLC

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                                    Michael H.  Steinberg
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                              SULLIVAN    & CROMWELL
                                            CROMWELL LLP   LLP
                                   1888 Century
                                   1888  Century Park
                                                 Park East
                                                      East
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                                                     90067
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                                   William B.
                                   William B. Monahan
                                              Monahan
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                              SULLIVAN  & CROMWELL
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                                     125 Broad Street
                                               Street
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                                   New  York, NY
                                              NY 10004
                                                 10004
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                                 monahanw@sullcrom.com

                           Counsel for Defendants
                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
                       FRANKLIN
                       FRANKLIN &   & PROKOPIK
                                        PROKOPIK
                      500 Creek
                      500 Creek View
                                View Road,
                                       Road, Suite 502
                                             Suite 502
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                                         19711
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                              (302) 594-9780
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                        ethompson@fandpnet.com

                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                     EXHIBIT
                     EXHIBIT II
   Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 200 of 654




                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 201 of 654



       PLAINTIFF ARTHUR HIBBARD'S
       PLAINTIFF ARTHUR HIBBARD’S SECOND   AMENDED RESPONSES
                                    SECOND AMENDED  RESPONSES AND
                                                              AND
         OBJECTIONS TO
         OBJECTIONS TO PHILIPS RS’ FIRST
                       PHILIPS RS'       REQUEST FOR
                                   FIRST REQUEST FOR PRODUCTION
                                                     PRODUCTION
            OF DOCUMENTS
            OF DOCUMENTS TO
                          TO MEDICAL    MONITORING PLAINTIFFS
                             MEDICAL MONITORING    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Arthur
         Plaintiff Arthur Hibbard
                            Hibbard ("Plaintiff')
                                      (“Plaintiff”) objects
                                                    objects to
                                                             to this
                                                                this Request
                                                                     Request onon grounds
                                                                                   grounds that
                                                                                             that it is vague,
                                                                                                  it is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                and/or because
                                                                        because the
                                                                                  the burden
                                                                                      burden oror expense
                                                                                                  expense of of
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                   objects to
                                                                            to this
                                                                               this Request
                                                                                    Request toto the
                                                                                                 the extent
                                                                                                      extent it
                                                                                                              it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                    either the
                                                            the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                               protection. Plaintiff
                                                                            Plaintiff further  objects to
                                                                                      further objects    to the
                                                                                                            the
term  “Acquired”    because    as defined  it seeks to obtain  information   not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims orany   claims  or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                        grounds that
                                                                  that this
                                                                       this Request
                                                                            Request seeks
                                                                                     seeks information
                                                                                            information that
                                                                                                           that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                     and/or control.
                                                             control.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMHIBBARDARTHUR00000001-
                                                         see MMHIBBARDARTHUR00000001-
        MMHIBBARDARTHUR00000004.
        MMHIBBARDARTHUR00000004.

REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REOUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 6:
REOUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative,      and/or    because      the  burden    or  expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.               its  likely  benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.       2007); Exxon
                                                                                                                             Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since       Plaintiff isis not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REOUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.




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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                 Request areare compounded
                                                                                 compounded by   by the
                                                                                                     the fact   that
                                                                                                          fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its  possession, custody,
                                                                       its possession,             and/or control
                                                                                        custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                       responsive documents
                                                                                    documents to  to this
                                                                                                     this Request
                                                                                                          Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                 scope ofof this
                                                                            this Request
                                                                                 Request toto the
                                                                                              the extent
                                                                                                   extent it
                                                                                                           it seeks
                                                                                                              seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses
                                        claims or  defenses of of any
                                                                  any party.
                                                                       party. Plaintiff
                                                                               Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                 discovery under
                                                                              under either   the attorney-client
                                                                                     either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                   privilege, immunity,
                                                                               immunity, or or protection.
                                                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative,      and/or    because      the  burden    or  expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.               its  likely  benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since       Plaintiff isis not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REQUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your


                                                               -4-
                                                               -4
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Recalled Device
Recalled Device from
                from Care
                      Care Orchestrator,
                           Orchestrator, DreamMapper,
                                         DreamMapper, and/or
                                                        and/or EncoreAnywhere,    which we
                                                                EncoreAnywhere, which   we will
                                                                                           will
obtain upon
obtain      your signing
       upon your signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims or
                                                                                                     or defenses
                                                                                                         defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REQUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought inin this
                                                                               this Request
                                                                                     Request is    already in
                                                                                                is already      the
                                                                                                             in the
possession,    custody,  and/or   control   of Defendant.    Plaintiff  further  objects   to
possession, custody, and/or control of Defendant. Plaintiff further objects to this Request on this   Request    on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” is
                                          is undefined
                                              undefined and
                                                          and that
                                                                that it
                                                                      it is
                                                                         is not   apparent to
                                                                            not apparent      to Plaintiff
                                                                                                  Plaintiff what
                                                                                                              what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                 seeks in  this Request
                                                                                        in this   Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects   to this
                                                                          objects to  this Request
                                                                                           Request on on grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                    custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff will
                                                                   will submit
                                                                        submit the
                                                                               the SD card from
                                                                                   SD card from
his Recalled
his Recalled Device(s).
             Device(s).

REQUEST 11:
REOUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of
                                                           of the
                                                              the discovery
                                                                  discovery outweighs
                                                                              outweighs itsits likely benefit.
                                                                                               likely benefit.
Plaintiff  further  objects  to the  scope  of  this  Request  on  grounds  that  it seeks   information
Plaintiff further objects to the scope of this Request on grounds that it seeks information not            not
relevant to
relevant  to any
             any claims
                  claims oror defenses
                              defenses of
                                        of any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                         objects that
                                                                                 that the
                                                                                       the term
                                                                                           term "condition"
                                                                                                  “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff           objects to
                          further objects to this
                                             this Request
                                                   Request to
                                                           to the
                                                              the extent
                                                                  extent that
                                                                         that the
                                                                              the burden
                                                                                  burden oror expense
                                                                                               expense of
                                                                                                        of the
                                                                                                           the


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requested discovery
requested               outweighs its
            discovery outweighs     its likely  benefit, and/or
                                        likely benefit,   and/or that
                                                                   that the
                                                                         the information
                                                                              information is   already in
                                                                                            is already   in
Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                              control. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                          objects to
                                                                                   to this
                                                                                      this Request
                                                                                           Request toto the
                                                                                                        the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                           information responsive
                                                        responsive to to this
                                                                          this Request.
                                                                               Request. Plaintiff
                                                                                          Plaintiff further
                                                                                                    further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                          it seeks
                                             seeks matters
                                                   matters immune
                                                            immune fromfrom discovery
                                                                              discovery under
                                                                                         under either
                                                                                                 either the
                                                                                                        the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                              product doctrine,
                                                       doctrine, or
                                                                  or any
                                                                     any other
                                                                           other privilege,
                                                                                 privilege, immunity,
                                                                                             immunity, oror
protection.
protection.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMHIBBARDARTHUR00000001-
                                                         see MMHIBBARDARTHUR00000001-
        MMHIBBARDARTHUR00000004.
        MMHIBBARDARTHUR00000004.

REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

         Plaintiff objects
         Plaintiff objects to
                           to this
                              this Request
                                   Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                            burdensome, overbroad,
                                                                        overbroad, irrelevant,
                                                                                   irrelevant,


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cumulative, and/or
cumulative,   and/or because
                      because the the burden
                                       burden or  or expense
                                                      expense of  of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                       outweighs itsits likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                         concession that
                                                                                       that evidence
                                                                                            evidence of of degradation
                                                                                                            degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                              objects to
                                                                       to this
                                                                           this Request
                                                                                Request onon grounds
                                                                                               grounds that
                                                                                                          that the
                                                                                                                the term
                                                                                                                     term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                               Plaintiff further   objects to
                                                                          further objects    to the
                                                                                                 the use
                                                                                                      use ofof the
                                                                                                               the term
                                                                                                                     term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                        it is
                                                           is overbroad,
                                                              overbroad, vague,
                                                                            vague, ambiguous,
                                                                                    ambiguous, and and impermissibly
                                                                                                        impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims
                                                claims oror defenses
                                                              defenses ofof any
                                                                             any party.
                                                                                 party. Plaintiff
                                                                                         Plaintiff further
                                                                                                    further objects
                                                                                                              objects toto
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                               Request No.No. 11.
                                                                               11. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                        objects toto this
                                                                                                                      this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of  of the
                                                                   the requested
                                                                        requested discovery
                                                                                    discovery outweighs
                                                                                                 outweighs its its likely
                                                                                                                   likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                              possession, custody,
                                                                                            custody, and/or
                                                                                                       and/or control.
                                                                                                                 control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                       the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                                has already
                                                                                     already provided
                                                                                               provided information
                                                                                                            information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                        objects toto this
                                                                      this Request
                                                                            Request toto the
                                                                                         the extent
                                                                                              extent it  seeks matters
                                                                                                      it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                      privilege and/or
                                                                                 and/or the
                                                                                         the work
                                                                                              work product
                                                                                                    product doctrine,
                                                                                                               doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                        further objects
                                                                                 objects to
                                                                                          to the
                                                                                             the extent
                                                                                                  extent this
                                                                                                           this Request
                                                                                                                 Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 18:
REOUEST 18: All
            All Documents
                Documents Regarding
                          Regarding Your
                                    Your registration,
                                         registration, if
                                                       if any,
                                                          any, for
                                                               for the
                                                                   the Philips
                                                                       Philips RS
                                                                               RS repair or
                                                                                  repair or


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replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant   seeks  materials  that  are within  its possession,   custody,    and/or
Defendant seeks materials that are within its possession, custody, and/or control.   control.   Plaintiff
                                                                                                Plaintiff  further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant to to any
                                                                              any claims
                                                                                   claims oror defenses
                                                                                                defenses ofof any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in
                                                                                         in Paragraphs
                                                                                            Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                             irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                     its likely benefit.
                                                                                         likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks matters immune
                                                                         immune from
                                                                                 from discovery
                                                                                       discovery under
                                                                                                  under


                                                      - 99 -
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either the
either   the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                   and/or the
                                                            the work
                                                                  work product
                                                                         product doctrine,
                                                                                     doctrine, or or any
                                                                                                      any other    privilege,
                                                                                                            other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                   physician-patient privilege.
                                                                         privilege. Plaintiff
                                                                                       Plaintiff further
                                                                                                    further objects
                                                                                                             objects to
                                                                                                                      to this
                                                                                                                          this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                   violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                              further objects
                                                                                                        objects to
                                                                                                                to the
                                                                                                                   the scope
                                                                                                                       scope
of this
of  this Request
          Request to to the
                        the extent
                             extent it  it seeks
                                           seeks information
                                                    information not  not relevant
                                                                         relevant to to any
                                                                                         any claims
                                                                                               claims oror defenses   of any
                                                                                                            defenses of   any
party. A
party.  A claim
           claim for
                   for medical
                        medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                   not put
                                                                        put present
                                                                            present physical
                                                                                       physical condition
                                                                                                   condition atat issue.  See
                                                                                                                  issue. See
e.g. Bower
e.g. Bower v. v. Westinghouse
                 Westinghouse Elec.  Elec. Corp.,
                                             Corp., 522522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430      (W.Va. 1999)
                                                                                           1999) (citations
                                                                                                    (citations omitted)
                                                                                                               omitted) (the
                                                                                                                          (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                             requires one
                                                                        one to
                                                                             to incur
                                                                                 incur the
                                                                                        the cost
                                                                                              cost of
                                                                                                    of monitoring);
                                                                                                       monitoring); Meyer
                                                                                                                      Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716716 (Mo.
                                                         (Mo. 2007);
                                                                 2007); Exxon
                                                                         Exxon Mobil
                                                                                  Mobil Corp.
                                                                                           Corp. v.   Albright, 71
                                                                                                  v. Albright,      A.3d 30,
                                                                                                                 71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.     2013) (exposure
                       (exposure itself
                                      itself and
                                               and the
                                                     the need
                                                          need for    medical testing
                                                                 for medical   testing is is the
                                                                                             the compensable
                                                                                                 compensable injury
                                                                                                                  injury in
                                                                                                                          in aa
medical monitoring
medical    monitoring claim);
                         claim); Sadler
                                     Sadler v.     PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,  340 P.3d,
                                                                           Inc., 340    P.3d, 264,
                                                                                               264, 1270-72
                                                                                                      1270-72 (Nev.
                                                                                                                (Nev. 2014)
                                                                                                                       2014)
(inquiry is
(inquiry   is whether
              whether thethe negligent
                              negligent act  act ofof the
                                                      the defendant
                                                           defendant caused
                                                                        caused thethe plaintiff
                                                                                       plaintiff toto have
                                                                                                      have aa medical
                                                                                                               medical need
                                                                                                                         need
to undergo
to undergo monitoring);
               monitoring); Potter
                                 Potter v.      Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                       Rubber Co.,     863 P.2d
                                                                                  Co., 863    P.2d 795,
                                                                                                     795, 823   (Cal. 1993).
                                                                                                           823 (Cal.  1993).
Plaintiff has
Plaintiff  has not
                not waived
                     waived thethe physician-patient
                                     physician-patient privilege
                                                              privilege as
                                                                         as to
                                                                            to any
                                                                               any medical
                                                                                      medical condition
                                                                                                condition for    his medical
                                                                                                             for his medical
monitoring claims
monitoring     claims inin this
                            this case
                                  case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming
                                                                      claiming present
                                                                                  present physical
                                                                                             physical injury
                                                                                                         injury in
                                                                                                                in this
                                                                                                                   this case.
                                                                                                                        case.
The   injury that
The injury    that Plaintiff
                    Plaintiff claims
                                claims is  is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                               increased riskrisk of
                                                                                                   of disease
                                                                                                       disease and
                                                                                                                and medical
                                                                                                                     medical
necessity of
necessity    of diagnostic
                diagnostic testing
                               testing and and thethe economic
                                                       economic loss      associated therewith.
                                                                     loss associated     therewith. Plaintiff
                                                                                                         Plaintiff and
                                                                                                                   and class
                                                                                                                        class
members     base  their  claims     only   on  their  significant    exposure   to  the proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxins  hazardous    Foam   Toxins
released by
released   by PE-PUR
               PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological   changes”   You  allege  in Paragraphs  26-88   of the Medical
physiological changes" You allege in Paragraphs 26-88 of the Medical Monitoring Monitoring    CSAC.
                                                                                              CSAC.    This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it
                                                              it seeks
                                                                 seeks matters
                                                                        matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other     privilege,
                                                                                                  other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the



                                                            -- 10
                                                               10
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injury in
injury  in question
           question isis the
                         the increase
                             increase in in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                         to incur
                                                                            incur the
                                                                                  the cost
                                                                                       cost of
                                                                                             of monitoring);
                                                                                                monitoring); Meyer
                                                                                                              Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220    S.W.3d 712,
                                   712, 714,     716 (Mo.
                                          714, 716      (Mo. 2007);
                                                               2007); Exxon
                                                                       Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.              71 A.3d
                                                                                                  Albright, 71
                                                                                               v. Albright,      A.3d
30, 75-77
30,  75-77 (Md.
            (Md. 2013)     (exposure itself
                   2013) (exposure              and the
                                        itself and     the need
                                                           need for
                                                                  for medical
                                                                      medical testing
                                                                                testing is
                                                                                        is the
                                                                                            the compensable
                                                                                                compensable injury
                                                                                                               injury
in aa medical
in    medical monitoring
                monitoring claim);
                              claim); Sadler
                                        Sadler v.     PacifiCare of
                                                  v. PacifiCare     of Nev.,  Inc., 340
                                                                       Nev., Inc.,       P.3d, 264,
                                                                                    340 P.3d,   264, 1270-72
                                                                                                     1270-72 (Nev.
                                                                                                                (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                               the negligent
                                    negligent act act of
                                                       of the
                                                          the defendant
                                                               defendant caused
                                                                           caused the
                                                                                    the plaintiff
                                                                                        plaintiff to
                                                                                                  to have
                                                                                                     have aa medical
                                                                                                             medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                      Potter v.    Firestone Tire
                                                v. Firestone     Tire && Rubber     Co., 863
                                                                          Rubber Co.,          P.2d 795,
                                                                                         863 P.2d          823 (Cal.
                                                                                                     795, 823    (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                        not waived
                             waived the
                                      the physician-patient
                                            physician-patient privilege
                                                                   privilege as
                                                                              as to
                                                                                 to any
                                                                                     any medical
                                                                                         medical condition
                                                                                                   condition for   his
                                                                                                              for his
medical monitoring
medical   monitoring claims
                        claims inin this
                                    this case
                                          case since
                                                since Plaintiff
                                                         Plaintiff is
                                                                   is not
                                                                      not claiming
                                                                          claiming present
                                                                                     present physical
                                                                                              physical injury
                                                                                                        injury in
                                                                                                               in this
                                                                                                                  this
case. The
case.        injury that
       The injury    that Plaintiff
                           Plaintiff claims
                                      claims is  is the
                                                     the significant
                                                          significant exposure,
                                                                       exposure, increased
                                                                                    increased risk
                                                                                                risk of
                                                                                                     of disease
                                                                                                         disease and
                                                                                                                  and
medical necessity
medical   necessity ofof diagnostic
                          diagnostic testing
                                       testing andand the
                                                        the economic
                                                             economic loss    associated therewith.
                                                                         loss associated   therewith. Plaintiff
                                                                                                        Plaintiff and
                                                                                                                  and
class members
class  members base
                  base their
                        their claims
                               claims only
                                        only onon their
                                                    their significant
                                                           significant exposure
                                                                        exposure toto the
                                                                                      the proven
                                                                                           proven hazardous
                                                                                                   hazardous Foam
                                                                                                                Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foam foam in in the
                                              the Recalled
                                                   Recalled Devices.
                                                                Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,      and other
                                                                                 endoscopies, and    other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                           Request as  as vague,
                                                            vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                                 overbroad, irrelevant,
                                                                                                                irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the the burden
                                          burden or or expense
                                                        expense of of the
                                                                       the discovery
                                                                            discovery outweighs
                                                                                         outweighs its its likely   benefit.
                                                                                                           likely benefit.
Plaintiff further
Plaintiff          objects to
           further objects    to this
                                 this Request
                                        Request to to the
                                                      the extent
                                                           extent it
                                                                   it seeks
                                                                      seeks matters
                                                                             matters immune
                                                                                       immune fromfrom discovery
                                                                                                         discovery under
                                                                                                                       under
either the
either  the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or thethe work
                                                                work product
                                                                       product doctrine,
                                                                                  doctrine, oror any
                                                                                                   any other     privilege,
                                                                                                         other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                further objects
                                                                                                          objects to to this
                                                                                                                         this
Request on
Request    on grounds
               grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                              Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto the
                                                                                                                 the scope
                                                                                                                       scope
of this
of  this Request
         Request to to the
                        the extent
                             extent it it seeks
                                          seeks information
                                                  information not not relevant
                                                                        relevant to
                                                                                  to any
                                                                                      any claims
                                                                                           claims or or defenses
                                                                                                         defenses of of any
                                                                                                                         any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                 not put
                                                                      put present
                                                                           present physical
                                                                                    physical condition
                                                                                                condition at at issue.
                                                                                                                issue. See
                                                                                                                         See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec. Elec. Corp.,     522 S.E.2d
                                            Corp., 522             424,430 (W.Va.
                                                          S.E.2d 424,430      (W.Va. 1999)
                                                                                        1999) (citations     omitted) (the
                                                                                                (citations omitted)      (the
injury in
injury  in question
            question isis the
                          the increase
                               increase in  in risk
                                               risk that
                                                     that requires
                                                           requires one
                                                                      one to
                                                                           to incur
                                                                              incur the
                                                                                      the cost
                                                                                          cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                     Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220     S.W.3d 712, 712, 714,
                                             714, 716    (Mo. 2007);
                                                   716 (Mo.      2007); Exxon
                                                                          Exxon Mobil
                                                                                  Mobil Corp.
                                                                                          Corp. v.    Albright, 71
                                                                                                   v. Albright,    71 A.3d
                                                                                                                        A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.    2013) (exposure
                            (exposure itself
                                           itself and
                                                  and the
                                                        the need
                                                              need for   medical testing
                                                                    for medical    testing is
                                                                                           is the
                                                                                               the compensable
                                                                                                    compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                               claim); Sadler
                                           Sadler v.   PacifiCare of
                                                    v. PacifiCare     of Nev.,
                                                                          Nev., Inc.,  340 P.3d,
                                                                                Inc., 340   P.3d, 264,
                                                                                                    264, 1270-72
                                                                                                          1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the the negligent
                                       negligent actact of
                                                        of the
                                                             the defendant
                                                                 defendant caused
                                                                              caused the
                                                                                       the plaintiff
                                                                                           plaintiff to
                                                                                                      to have
                                                                                                          have aa medical
                                                                                                                   medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); PotterPotter v.   Firestone Tire
                                                  v. Firestone     Tire && Rubber      Co., 863
                                                                             Rubber Co.,           P.2d 795,
                                                                                            863 P.2d             823 (Cal.
                                                                                                          795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                               waived the the physician-patient
                                               physician-patient privilege
                                                                      privilege as
                                                                                 as to
                                                                                     to any
                                                                                        any medical
                                                                                            medical condition
                                                                                                        condition forfor his
                                                                                                                          his
medical monitoring
medical    monitoring claims
                         claims in     this case
                                   in this        since Plaintiff
                                             case since   Plaintiff is
                                                                     is not claiming present
                                                                        not claiming    present physical
                                                                                                  physical injury
                                                                                                             injury in   this
                                                                                                                      in this
case. The
case.        injury that
       The injury     that Plaintiff
                            Plaintiff claims
                                         claims is is the
                                                      the significant
                                                            significant exposure,
                                                                          exposure, increased
                                                                                       increased risk
                                                                                                    risk of
                                                                                                          of disease
                                                                                                              disease andand
medical necessity
medical    necessity ofof diagnostic
                           diagnostic testing
                                          testing and
                                                    and the
                                                         the economic
                                                               economic loss     associated therewith.
                                                                           loss associated    therewith. Plaintiff
                                                                                                             Plaintiff and
                                                                                                                         and



                                                           - 11
                                                           -11
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class members
class members base
               base their
                    their claims
                          claims only
                                 only on
                                      on their
                                         their significant
                                               significant exposure
                                                           exposure to
                                                                    to the
                                                                       the proven
                                                                           proven hazardous
                                                                                  hazardous Foam
                                                                                            Foam
Toxins released by
Toxins released by PE-PUR
                   PE-PUR foam    in the
                             foam in the Recalled
                                         Recalled Devices.
                                                   Devices.

REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its  its likely  benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                          under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                              other privilege,
                                                                                                                      privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                               objects toto this
                                                                                                                             this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                          scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                              defenses ofof any
                                                                                                                             any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at  at issue.
                                                                                                                     issue. See
                                                                                                                             See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                     omitted) (the
                                                                                                     (citations omitted)     (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,        A.3d 30,
                                                                                                                    71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury injury in
                                                                                                                             in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                   (Nev. 2014)
                                                                                                                          2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                 medical need
                                                                                                                            need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823
                                                                                                             823 (Cal.   1993).
                                                                                                                   (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for      his medical
                                                                                                               for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                          injury in   this case.
                                                                                                                   in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of  disease    and  medical
                                                                                              risk of disease and medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                          Plaintiff and
                                                                                                                      and class
                                                                                                                           class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous FoamFoam Toxins
                                                                                                                         Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes” You  allege in Paragraphs 26-88 of the Medical  Monitoring   CSAC.
physiological changes" You allege in Paragraphs 26-88 of the Medical Monitoring CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 24
                                24

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                 this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs itsits likely  benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it  seeks matters
                                                           it seeks  matters immune
                                                                             immune fromfrom discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                         any other
                                                                                              other privilege,
                                                                                                      privilege,
immunity, or
immunity,    or protection,
                protection, including
                              including physician-patient
                                          physician-patient privilege.
                                                                privilege. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                      that it
                           it violates
                               violates Plaintiffs
                                        Plaintiff’s right
                                                    right to
                                                          to privacy.
                                                             privacy. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects
                                                                                          objects to
                                                                                                   to the
                                                                                                      the scope
                                                                                                          scope



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 213 of 654




of this
of this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party. A claim
          claim for
                  for medical
                      medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition
                                                                                                condition at
                                                                                                           at issue.
                                                                                                              issue. See
                                                                                                                      See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,      522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                  omitted) (the
                                                                                                (citations omitted)   (the
injury in
injury  in question
           question isis the
                         the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur   the cost
                                                                              incur the    cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716     (Mo. 2007);
                                                  716 (Mo.            Exxon Mobil
                                                             2007); Exxon      Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure       itself and
                                             and the
                                                   the need   for medical
                                                        need for   medical testing
                                                                            testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                        claim); Sadler           PacifiCare ofNev.,
                                              v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,Co., 863    P.2d 795,
                                                                                    863 P.2d     795, 823
                                                                                                       823 (Cal.  1993).
                                                                                                            (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case    since Plaintiff
                                 case since      Plaintiff is
                                                           is not
                                                               not claiming    present physical
                                                                   claiming present       physical injury
                                                                                                     injury in this case.
                                                                                                            in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is     the significant
                                         is the   significant exposure,
                                                                exposure, increased
                                                                            increased risk      of disease
                                                                                          risk of           and medical
                                                                                                   disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing        and thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims     only on
                        claims only      on their
                                             their significant
                                                    significant exposure
                                                                 exposure to to the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                              outweighs its   its likely  benefit.
                                                                                                                  likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects   to  this    Request     to the extent   it seeks   matters    immune       from    discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or   or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                        privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                                further objects
                                                                                                           objects toto the
                                                                                                                        the scope
                                                                                                                            scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                 claims or or defenses
                                                                                                                defenses ofof any
                                                                                                                               any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                     condition at   at issue.
                                                                                                                       issue. See
                                                                                                                               See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                       omitted) (the
                                                                                                      (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost ofof monitoring);
                                                                                                          monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.    Albright, 71
                                                                                                    v. Albright,         A.3d 30,
                                                                                                                      71 A.3d   30,
75-77  (Md.   2013)   (exposure       itself   and   the  need  for  medical    testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable      is the  compensable         injury
                                                                                                                       injury  in
                                                                                                                               in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                     (Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff to to have
                                                                                                         have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d       795, 823823 (Cal.   1993).
                                                                                                                     (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                  condition for       his medical
                                                                                                                 for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                            injury in   this case.
                                                                                                                     in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk       of disease
                                                                                               risk of    disease andand medical
                                                                                                                          medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and class
                                                                                                                             class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                    hazardous Foam Foam Toxins
                                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.



                                                               -- 13
                                                                  13
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       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last
                                            last 10
                                                 10 years
                                                    years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its  its likely  benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                          under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                              other privilege,
                                                                                                                      privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                               objects toto this
                                                                                                                             this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                          scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                              defenses ofof any
                                                                                                                             any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at  at issue.
                                                                                                                     issue. See
                                                                                                                             See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)        (citations omitted)
                                                                                                                  omitted) (the
                                                                                                                             (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the   cost ofof monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,     71 A.3d
                                                                                                                       A.3d 30,
                                                                                                                              30,
75-77 (Md.
75-77  (Md. 2013)
              2013) (exposure
                      (exposure itselfitself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing isis the
                                                                                             the compensable
                                                                                                  compensable injury injury in
                                                                                                                             in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.     2014)
                                                                                                                   (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                 medical need
                                                                                                                            need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863   P.2d 795,
                                                                                        863 P.2d      795, 823
                                                                                                             823 (Cal.   1993).
                                                                                                                   (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for      his medical
                                                                                                               for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present       physical injury
                                                                                                          injury in   this case.
                                                                                                                   in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                  exposure, increased
                                                                                increased riskrisk of
                                                                                                    of disease
                                                                                                        disease andand medical
                                                                                                                        medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic lossloss associated
                                                                           associated therewith.
                                                                                          therewith. Plaintiff
                                                                                                          Plaintiff and
                                                                                                                      and class
                                                                                                                           class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous FoamFoam Toxins
                                                                                                                         Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REQUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the



                                                              -- 14
                                                                 14
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injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                  injury in  this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes  but is not limited to Documents   Regarding   the costs associated  with Your  “need
includes but is not limited to Documents Regarding the costs associated with Your "need to incurto incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29



                                                         -- 15
                                                            15
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        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                 extent it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens
burdens onon  Plaintiff
              Plaintiff which   substantially  outweighs    its likely  benefit.
                        which substantially outweighs its likely benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REQUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.




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                                                          16
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                                the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product  doctrine,  or any  other privilege,
product doctrine, or any other privilege,    immunity,
                                             immunity,     or
                                                           or  protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                           unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,   and/or  because   the  burden  or  expense  of  the  discovery outweighs    its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds   that it
                                                 grounds that   it seeks
                                                                   seeks matters
                                                                         matters immune
                                                                                  immune fromfrom discovery
                                                                                                     discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                  the work
                                                      work product
                                                              product doctrine,
                                                                        doctrine, or
                                                                                   or any
                                                                                      any other
                                                                                            other privilege,
                                                                                                     privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                 objects to
                                                         to this
                                                             this Request
                                                                  Request to
                                                                           to the
                                                                               the extent  that information
                                                                                   extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                       by Plaintiff.
                                                           Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.




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                                                        17
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REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary    difficulties of this  Request  are  compounded    by  the  fact that Defendant  seeks
unnecessary difficulties of this Request are compounded by the fact that Defendant seeks materials   materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because    the burden   or  expense   of the discovery     outweighs
and/or because the burden or expense of the discovery outweighs its likely   its likely  benefit.
                                                                                         benefit.  Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                  objects toto this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.



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                                                          18
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REQUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative,   and/or  because   the burden or  expense   of the discovery   outweighs   its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.     benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REQUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in the last five  years, including documents sufficient to show  the frequency  of such
participated in the last five years, including documents sufficient to show the frequency of such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                      monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                           burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of of the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                    outweighs its its likely  benefit.
                                                                                                      likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it   seeks matters
                                                               it seeks  matters immune
                                                                                  immune fromfrom discovery
                                                                                                    discovery under
                                                                                                                under
either  the  attorney-client    privilege    and/or  the   work    product   doctrine,    or
either the attorney-client privilege and/or the work product doctrine, or any other privilege,any   other   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                             physician-patient privilege.
                                                                    privilege. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                 privacy. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto the
                                                                                                            the scope
                                                                                                                scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not not relevant
                                                                   relevant toto any
                                                                                 any claims
                                                                                       claims oror defenses
                                                                                                    defenses ofof any
                                                                                                                  any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                  put present
                                                                       present physical
                                                                                physical condition
                                                                                           condition at at issue.
                                                                                                           issue. See
                                                                                                                   See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d    424,430 (W.Va.
                                                      S.E.2d 424,430               1999) (citations
                                                                          (W.Va. 1999)                  omitted) (the
                                                                                           (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires oneone to
                                                                       to incur  the cost
                                                                          incur the   cost of
                                                                                           of monitoring);
                                                                                               monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                              716 (Mo.   2007); Exxon
                                                                   Exxon Mobil
                                                                           Mobil Corp.
                                                                                   Corp. v.  Albright, 71
                                                                                          v. Albright,       A.3d 30,
                                                                                                         71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure      itself and
                                          and the
                                               the need   for medical
                                                    need for  medical testing
                                                                         testing is
                                                                                  is the
                                                                                     the compensable
                                                                                         compensable injuryinjury in
                                                                                                                  in aa
medical monitoring
medical   monitoring claim);     Sadler v.
                       claim); Sadler        PacifiCare of
                                          v. PacifiCare    of Nev.,
                                                              Nev., Inc.,  340 P.3d,
                                                                     Inc., 340  P.3d, 264,
                                                                                       264, 1270-72
                                                                                              1270-72 (Nev.     2014)
                                                                                                         (Nev. 2014)



                                                        -- 19
                                                           19
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(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact of
                                              of the
                                                 the defendant
                                                     defendant caused
                                                                 caused thethe plaintiff
                                                                               plaintiff to
                                                                                         to have
                                                                                            have aa medical
                                                                                                    medical need
                                                                                                             need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone   Tire && Rubber
                                                                Rubber Co.,    863 P.2d
                                                                          Co., 863  P.2d 795,
                                                                                           795, 823  (Cal. 1993).
                                                                                                823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                       privilege as
                                                                  as to
                                                                     to any
                                                                        any medical
                                                                              medical condition
                                                                                       condition for  his medical
                                                                                                  for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                              Plaintiff is
                                                        is not
                                                           not claiming
                                                               claiming present
                                                                           present physical
                                                                                    physical injury
                                                                                              injury in
                                                                                                     in this
                                                                                                        this case.
                                                                                                             case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                               significant exposure,
                                                            exposure, increased
                                                                        increased risk
                                                                                    risk of
                                                                                         of disease
                                                                                            disease and
                                                                                                     and medical
                                                                                                          medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and the
                                             the economic
                                                  economic loss    associated therewith.
                                                             loss associated     therewith. Plaintiff
                                                                                              Plaintiff and
                                                                                                        and class
                                                                                                             class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                 significant exposure
                                                             exposure to to the
                                                                            the proven
                                                                                proven hazardous
                                                                                        hazardous Foam
                                                                                                    Foam Toxins
                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                    Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                     /s/ Kelly
                                                          /s/ Kelly K
                                                                    K. Iverson
                                                                       Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                              Kelly K.
                                                          Kelly  K. Iverson,
                                                                    Iverson, Esquire
                                                                              Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                                /s/ Steven
                                                          /s/ Steven A.
                                                                     A. Schwartz
                                                                        Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                         Steven  A. Schwartz,
                                                          Steven A.  Schwartz, Esquire
                                                                               Esquire
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                                                                                              &
                        th
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                                                                     Lancaster Avenue
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                                    Counsel for Plaintiffs
                                    Counselfor  Plaintiffs and
                                                           and the
                                                               the Class
                                                                   Class




                                                      -- 20
                                                         20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 221 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

ARTHUR HIBBARD'S
ARTHUR HIBBARD’S AMENDED
                 AMENDED RESPONSES
                         RESPONSES AND
                                   AND OBJECTIONS
                                       OBJECTIONS TO PHILIPS RS'
                                                  TO PHILIPS RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                                                       Philips
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                                   RS North America,
                                             America, LLC
                                                      LLC

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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 222 of 654




                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 223 of 654




                     EXHIBIT
                     EXHIBIT JJ
   Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 224 of 654




                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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       PLAINTIFF JOSEPH HOFFMAN'S
       PLAINTIFF JOSEPH HOFFMAN’S SECOND
                                     SECOND AMENDED
                                            AMENDED RESPONSES
                                                     RESPONSES AND
                                                               AND
         OBJECTIONS TO
         OBJECTIONS  TO PHILIPS RS’ FIRST
                        PHILIPS RS'       REQUEST FOR
                                    FIRST REQUEST FOR PRODUCTION
                                                      PRODUCTION
            OF DOCUMENTS
            OF DOCUMENTS TOTO MEDICAL    MONITORING PLAINTIFFS
                              MEDICAL MONITORING    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Joseph
         Plaintiff          Hoffman ("Plaintiff')
                   Joseph Hoffman      (“Plaintiff”) objects
                                                     objects to
                                                              to this
                                                                  this Request
                                                                       Request on
                                                                                on grounds
                                                                                    grounds that
                                                                                              that it
                                                                                                   it is
                                                                                                      is vague,
                                                                                                         vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                 and/or because
                                                                         because the
                                                                                   the burden
                                                                                       burden oror expense
                                                                                                   expense of of
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                     objects to
                                                                             to this
                                                                                this Request
                                                                                     Request toto the
                                                                                                  the extent
                                                                                                       extent it
                                                                                                               it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                    either the
                                                            the attorney-client
                                                                 attorney-client privilege
                                                                                  privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                           work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further  objects to
                                                                                       further objects    to the
                                                                                                             the
term  “Acquired”    because    as defined  it seeks to obtain   information   not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims or any   claims  or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                        grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                      seeks information
                                                                                             information that
                                                                                                            that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                     and/or control.
                                                             control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMHOFFMANJOSEPH00000001-
                                                     see MMHOFFMANJOSEPH00000001-
MMHOFFMANJOSEPH00000002.
MMHOFFMANJOSEPH00000002.

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

                                                      - 11 -
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


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                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either    the attorney-client
                                                        either the   attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,     and/or control
                                                                                        custody, and/or    control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff will
                                                                   will submit
                                                                        submit the
                                                                               the SD card from
                                                                                   SD card from
his Recalled
his Recalled Device(s).
             Device(s).

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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                                                       6-
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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


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                                                        -7
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Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                        concession that
                                                                                      that evidence
                                                                                           evidence of of degradation
                                                                                                           degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                             objects to
                                                                      to this
                                                                          this Request
                                                                               Request onon grounds
                                                                                              grounds that
                                                                                                         that the
                                                                                                               the term
                                                                                                                    term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to the
                                                                                                the use
                                                                                                    use of of the
                                                                                                              the term
                                                                                                                    term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                       it is
                                                          is overbroad,
                                                             overbroad, vague,
                                                                           vague, ambiguous,
                                                                                   ambiguous, and and impermissibly
                                                                                                       impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims    or defenses
                                                claims or    defenses ofof any
                                                                            any party.
                                                                                party. Plaintiff
                                                                                        Plaintiff further
                                                                                                   further objects
                                                                                                             objects toto
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                              Request No.No. 11.
                                                                              11. Plaintiff
                                                                                  Plaintiff further
                                                                                              further objects
                                                                                                       objects toto this
                                                                                                                     this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of of the
                                                                   the requested
                                                                       requested discovery
                                                                                   discovery outweighs
                                                                                                outweighs its its likely
                                                                                                                  likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                             possession, custody,
                                                                                           custody, and/or
                                                                                                      and/or control.
                                                                                                                control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                      the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                               has already
                                                                                    already provided
                                                                                              provided information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                       objects to to this
                                                                     this Request
                                                                           Request toto the
                                                                                        the extent
                                                                                             extent it  seeks matters
                                                                                                     it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                     privilege and/or
                                                                                and/or the
                                                                                        the work
                                                                                             work product
                                                                                                   product doctrine,
                                                                                                              doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                       further objects
                                                                                objects to
                                                                                         to the
                                                                                            the extent
                                                                                                 extent this
                                                                                                          this Request
                                                                                                                Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.



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                                                          8-
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information     not relevant    to any  claims   or  defenses
                                            information not relevant to any claims or defenses of          of any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as  as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,   and/or because   the burden    or  expense    of the  discovery   outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties ofof this
                                                          this Request
                                                               Request areare compounded
                                                                               compounded by by the
                                                                                                  the fact
                                                                                                      fact that
                                                                                                           that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available toto it.
                                                               it. Plaintiff
                                                                   Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                             to the
                                                                                                 the use
                                                                                                     use of
                                                                                                         of the
                                                                                                            the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in     this Request
                                                    in this Request on on grounds
                                                                           grounds that
                                                                                    that they
                                                                                         they are
                                                                                               are overbroad,
                                                                                                    overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek      information not not relevant  to any
                                                                      relevant to  any claims
                                                                                       claims or
                                                                                               or defenses
                                                                                                   defenses of
                                                                                                             of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                  Request to to the
                                                                 the extent
                                                                     extent it
                                                                             it seeks
                                                                                seeks matters
                                                                                      matters immune
                                                                                                immune from
                                                                                                          from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                           and/or the
                                                                   the work
                                                                        work product
                                                                              product doctrine,   or any
                                                                                       doctrine, or  any other
                                                                                                          other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REQUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in
                                                                                         in Paragraphs
                                                                                            Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                 this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs itsits likely  benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it  seeks matters
                                                           it seeks  matters immune
                                                                             immune fromfrom discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                         any other
                                                                                              other privilege,
                                                                                                      privilege,
immunity, or
immunity,    or protection,
                protection, including
                              including physician-patient
                                          physician-patient privilege.
                                                                privilege. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                      that it
                           it violates
                               violates Plaintiffs
                                        Plaintiff’s right
                                                    right to
                                                          to privacy.
                                                             privacy. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects
                                                                                          objects to
                                                                                                   to the
                                                                                                      the scope
                                                                                                          scope


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of this
of  this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                           Corp., 522522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430     (W.Va. 1999)
                                                                                        1999) (citations
                                                                                                (citations omitted)
                                                                                                           omitted) (the
                                                                                                                      (the
injury in
injury  in question
           question isis the
                         the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur
                                                                              incur the
                                                                                     the cost
                                                                                           cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716716 (Mo.
                                                       (Mo. 2007);
                                                             2007); Exxon
                                                                      Exxon Mobil
                                                                               Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                             and the
                                                   the need
                                                        need for   medical testing
                                                              for medical   testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.     PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,     863 P.2d
                                                                               Co., 863    P.2d 795,
                                                                                                 795, 823   (Cal. 1993).
                                                                                                       823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                        since Plaintiff
                                                 Plaintiff is
                                                           is not
                                                               not claiming
                                                                   claiming present
                                                                               present physical
                                                                                          physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this case.
                                                                                                                    case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is is the
                                             the significant
                                                  significant exposure,
                                                                exposure, increased
                                                                            increased riskrisk of
                                                                                                of disease
                                                                                                   disease and
                                                                                                            and medical
                                                                                                                 medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing andand thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims
                        claims only
                                  only onon their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REQUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request             but is
         includes but   is not  limited to
                            not limited  to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical  examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination;   biopsies;   pathologic,  histologic, and  oncologic   evaluations;  oncologic,
examination; biopsies; pathologic, histologic, and oncologic evaluations; oncologic, histologic,histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as  as vague,
                                                          vague, unduly
                                                                    unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden or or expense
                                                      expense of of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                      outweighs itsits likely   benefit.
                                                                                                       likely benefit.
Plaintiff further  objects  to this   Request    to the  extent  it seeks  matters  immune    from
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under discovery    under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or thethe work
                                                              work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                               any other     privilege,
                                                                                                     other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                      objects to to this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                       that it
                             it violates
                                violates Plaintiffs
                                            Plaintiff’s right
                                                          right to
                                                                to privacy.
                                                                    privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                objects toto the
                                                                                                             the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                                information not not relevant
                                                                      relevant to
                                                                               to any
                                                                                   any claims
                                                                                        claims oror defenses
                                                                                                     defenses of of any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costscosts does
                                                        does not
                                                               not put
                                                                    put present
                                                                         present physical
                                                                                 physical condition
                                                                                            condition at at issue.
                                                                                                            issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                  Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430               1999) (citations
                                                                            (W.Va. 1999)                 omitted) (the
                                                                                            (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                             increase in  in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                         to incur  the cost
                                                                            incur the  cost of
                                                                                            of monitoring);
                                                                                                monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712, 712, 714,
                                           714, 716
                                                 716 (Mo.     2007); Exxon
                                                       (Mo. 2007);      Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.   Albright, 71
                                                                                               v. Albright,        A.3d
                                                                                                               71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
            (Md. 2013)    (exposure itself      and the
                                         itself and   the need
                                                            need for
                                                                  for medical
                                                                       medical testing
                                                                                testing is
                                                                                        is the
                                                                                           the compensable
                                                                                                compensable injuryinjury



                                                          -- 10
                                                             10
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in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                               v. PacifiCare     of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,  264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.  Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,         P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                          physical injury
                                                                                                    injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                            risk of
                                                                                                  of disease
                                                                                                     disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated  therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                               and
class  members    base  their claims   only  on  their  significant  exposure   to the proven
class members base their claims only on their significant exposure to the proven hazardous Foam hazardous    Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                Recalled Devices.
                                                            Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,
                                                                                 endoscopies, and
                                                                                                and other
                                                                                                     other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                 matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                            under
either  the   attorney-client       privilege     and/or     the   work   product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,     or   any   other   privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                    violates Plaintiffs
                                                Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                            scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                              present physical
                                                                                        physical condition
                                                                                                     condition at at issue.
                                                                                                                     issue. See
                                                                                                                              See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations     omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,    71 A.3d
                                                                                                                             A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical     testing is
                                                                                                is the
                                                                                                    the compensable
                                                                                                         compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                         264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the  the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                 Rubber Co.,Co., 863    P.2d 795,
                                                                                                 863 P.2d             823 (Cal.
                                                                                                               795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition forfor his
                                                                                                                               his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                           not claiming      present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                            increased risk
                                                                                                         risk of
                                                                                                               of disease
                                                                                                                   disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                  proven hazardous
                                                                                                             hazardous Foam Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.




                                                              - 11
                                                              -11
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 236 of 654




REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the



                                                              -- 12
                                                                 12
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injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                  injury in  this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REQUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other      privilege,
                                                                                                               other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request   on  grounds    that  it  violates     Plaintiff’s  right to  privacy.     Plaintiff  further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope   objects   to the scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340    P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo    monitoring);      Potter      v.  Firestone    Tire  &   Rubber      Co., 863
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).  P.2d   795,    823   (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                       medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                  case since       Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                     the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.



                                                              -- 13
                                                                 13
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 238 of 654




REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                   outweighs its its likely  benefit.
                                                                                                     likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects to  this  Request   to the extent  it seeks  matters  immune     from   discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                           work product
                                                                  product doctrine,
                                                                            doctrine, or or any
                                                                                             any other
                                                                                                   other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                               Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                 privacy. Plaintiff
                                                                          Plaintiff further
                                                                                     further objects
                                                                                              objects toto the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                   relevant to
                                                                             to any
                                                                                any claims
                                                                                      claims oror defenses
                                                                                                   defenses ofof any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                               physical condition
                                                                                          condition at at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430              1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                          (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur  the cost
                                                                         incur the   cost of
                                                                                          of monitoring);
                                                                                              monitoring); Meyer
                                                                                                               Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                  Corp. v.  Albright, 71
                                                                                         v. Albright,       A.3d 30,
                                                                                                        71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                          and the
                                               the need   for medical
                                                    need for  medical testing
                                                                        testing is
                                                                                 is the
                                                                                    the compensable
                                                                                        compensable injuryinjury in
                                                                                                                 in aa



                                                              -- 14
                                                                 14
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medical monitoring
medical   monitoring claim);
                       claim); Sadler
                                  Sadler v.    PacifiCare ofNev.,
                                            v. PacifiCare   of Nev., Inc.,  340 P.3d,
                                                                     Inc., 340   P.3d, 264,
                                                                                       264, 1270-72
                                                                                             1270-72 (Nev.
                                                                                                      (Nev. 2014)
                                                                                                             2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                  caused thethe plaintiff
                                                                                plaintiff to
                                                                                          to have
                                                                                             have aa medical
                                                                                                     medical need
                                                                                                              need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone    Tire && Rubber
                                                                 Rubber Co.,    863 P.2d
                                                                           Co., 863  P.2d 795,
                                                                                            795, 823  (Cal. 1993).
                                                                                                 823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege as
                                                                   as to
                                                                      to any
                                                                         any medical
                                                                               medical condition
                                                                                        condition for  his medical
                                                                                                   for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                            not claiming
                                                                claiming present
                                                                            present physical
                                                                                     physical injury
                                                                                               injury in
                                                                                                      in this
                                                                                                         this case.
                                                                                                              case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                             exposure, increased
                                                                         increased risk
                                                                                     risk of
                                                                                          of disease
                                                                                             disease and
                                                                                                      and medical
                                                                                                           medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss    associated therewith.
                                                               loss associated    therewith. Plaintiff
                                                                                               Plaintiff and
                                                                                                         and class
                                                                                                              class
members    base  their claims    only  on  their  significant exposure    to the proven  hazardous
members base their claims only on their significant exposure to the proven hazardous Foam Toxins     Foam   Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among   other places)  Paragraphs 375, 379   and  385 of the Medical  Monitoring
(among other places) Paragraphs 375, 379 and 385 of the Medical Monitoring CSAC.    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REQUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

       Plaintiff objects
       Plaintiff objects to
                          to this
                             this Request
                                  Request as as vague,
                                                 vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                             irrelevant,
cumulative, attorney
cumulative, attorney client
                      client and
                             and attorney
                                  attorney work
                                             work product
                                                   product privilege,
                                                            privilege, and/or
                                                                        and/or because
                                                                                because the
                                                                                         the burden
                                                                                              burden or
                                                                                                      or
expense of
expense of the
           the discovery
               discovery outweighs
                           outweighs its
                                      its likely
                                          likely benefit.
                                                 benefit. Plaintiff
                                                          Plaintiff further
                                                                    further objects
                                                                            objects to
                                                                                    to the
                                                                                       the scope
                                                                                           scope of
                                                                                                 of this
                                                                                                    this


                                                         -- 15
                                                            15
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Request to
Request   to the
             the extent
                  extent it
                         it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant to
                                                                to any
                                                                    any claims
                                                                         claims oror defenses
                                                                                     defenses ofof any
                                                                                                   any party.
                                                                                                         party.
Plaintiff further
Plaintiff further objects
                   objects to
                            to this
                               this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                             that information
                                                                  information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request has
                                                                                                           has
already been
already  been provided
               provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects to
                                                                     to this
                                                                        this Request
                                                                              Request to
                                                                                       to the
                                                                                          the extent  it seeks
                                                                                               extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                         privilege and/or
                                                                                    and/or the
                                                                                           the work
                                                                                                work product
                                                                                                      product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                         privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                  Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                              to this
                                                                                                 this Request
                                                                                                      Request
as duplicative
as duplicative of
                of many
                   many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REQUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request asas vague,
                                                 vague, unduly
                                                         unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                               irrelevant,
cumulative,   and/or  because  the burden  or  expense of the   discovery outweighs   its  likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.   benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds   that it
                                               grounds that  it seeks
                                                                seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                                discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                         other privilege,
                                                                                                privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 32:
                                32:




                                                       -- 16
                                                          16
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        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,    and/or because   the burden   or  expense    of the   discovery  outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other     privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that   information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REQUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                          the "express
                                              “express warranty"
                                                       warranty” or
                                                                 or "warranties"
                                                                    “warranties” referenced
                                                                                    referenced in
                                                                                               in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                              CSAC, including
                                                     including but
                                                               but not
                                                                   not limited to aa copy
                                                                       limited to    copy of
                                                                                          of such
                                                                                             such



                                                     -- 17
                                                        17
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warranty and
warranty and any
             any Communications
                 Communications Regarding
                                Regarding the
                                          the warranty.
                                              warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                          burdensome, andand cumulative.
                                                                                               cumulative. The
                                                                                                             The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                      the fact  that Defendant
                                                                           fact that Defendant seeks
                                                                                                seeks materials
                                                                                                      materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,     custody, and/or
                                                                                             and/or control.
                                                                                                    control. As
                                                                                                              As
the  manufacturer     of the   Recalled   Devices,    Defendant    is   in  the  better position
the manufacturer of the Recalled Devices, Defendant is in the better position to obtain the      to  obtain   the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                       this Request
                                                                             Request onon grounds
                                                                                          grounds that
                                                                                                   that it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                         privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                 work product
                                                                                                        product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REQUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:



                                                       -- 18
                                                          18
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         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REQUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social  media  such   as Facebook    or  Twitter), received by  mail   or other  delivery
social media such as Facebook or Twitter), received by mail or other delivery service, or  service, or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the  attorney-client   privilege and/or  the work    product   doctrine,  or  any  other
either the attorney-client privilege and/or the work product doctrine, or any other privilege,    privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five
                         five years,
                               years, including
                                      including documents sufficient to
                                                documents sufficient to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request   on  grounds   that it  violates  Plaintiff’s  right to  privacy.   Plaintiff further   objects
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope    to the scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.   2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                            71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.     2014)
                                                                                                           (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need
to undergo
to            monitoring); Potter
   undergo monitoring);       Potter v.    Firestone Tire
                                        v. Firestone    Tire && Rubber      Co., 863
                                                                  Rubber Co.,          P.2d 795,
                                                                                 863 P.2d     795, 823
                                                                                                     823 (Cal.   1993).
                                                                                                           (Cal. 1993).



                                                          -- 19
                                                             19
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Plaintiff has
Plaintiff has not waived the
              not waived    the physician-patient
                                physician-patient privilege
                                                    privilege as
                                                               as to
                                                                  to any
                                                                     any medical
                                                                           medical condition
                                                                                    condition for  his medical
                                                                                               for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                              case since
                                    since Plaintiff
                                           Plaintiff is
                                                     is not
                                                        not claiming    present physical
                                                            claiming present     physical injury
                                                                                           injury in this case.
                                                                                                  in this case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims    is the
                             claims is  the significant
                                            significant exposure,
                                                         exposure, increased
                                                                     increased risk
                                                                                 risk of
                                                                                      of disease
                                                                                         disease and
                                                                                                  and medical
                                                                                                       medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                     and the
                                          the economic
                                               economic loss
                                                          loss associated
                                                                associated therewith.
                                                                              therewith. Plaintiff
                                                                                           Plaintiff and
                                                                                                     and class
                                                                                                          class
members base
members    base their
                their claims
                      claims only
                               only on
                                     on their
                                        their significant
                                              significant exposure
                                                          exposure to to the
                                                                         the proven
                                                                             proven hazardous
                                                                                     hazardous Foam
                                                                                                 Foam Toxins
                                                                                                        Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam inin the
                                  the Recalled
                                       Recalled Devices.
                                                 Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                   /s/ Kelly
                                                        /s/ Kelly K
                                                                  K. Iverson
                                                                     Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                            Kelly K.
                                                        Kelly  K. Iverson,
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                                                                            Esquire
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 /s/             A. Seeger
     Christopher A. Seeger                              /s/ Steven
                                                        /s/ Steven A.
                                                                   A. Schwartz
                                                                      Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                       Steven  A. Schwartz,
                                                        Steven A.  Schwartz, Esquire
                                                                             Esquire
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                                                                                            &
                        th
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                                                          and the
                                                              the Class
                                                                  Class




                                                     -- 20
                                                        20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 245 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

JOSEPH HOFFMAN’S AMENDED
JOSEPH HOFFMAN'S AMENDED RESPONSES
                         RESPONSES AND
                                   AND OBJECTIONS
                                       OBJECTIONS TO
                                                  TO PHILIPS
                                                     PHILIPS RS'
                                                             RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following
                                      following recipients:
                                                recipients:

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                                    John P. Lavelle, Jr.
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                                             America, LLC
                                                      LLC

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                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                    EXHIBIT K
                    EXHIBIT K
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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     PLAINTIFF MARTIN HUMPHRIES’S
     PLAINTIFF MARTIN               SECOND AMENDED
                      HUMPHRIES'S SECOND   AMENDED RESPONSES
                                                    RESPONSES AND
                                                              AND
        OBJECTIONS TO
        OBJECTIONS TO PHILIPS RS’ FIRST
                      PHILIPS RS'       REQUEST FOR
                                  FIRST REQUEST FOR PRODUCTION
                                                    PRODUCTION
           OF DOCUMENTS
           OF  DOCUMENTS TO
                         TO MEDICAL    MONITORING PLAINTIFFS
                            MEDICAL MONITORING    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Martin
         Plaintiff Martin Humphries
                           Humphries ("Plaintiff')
                                         (“Plaintiff”) objects
                                                       objects to
                                                               to this
                                                                   this Request
                                                                        Request on
                                                                                 on grounds
                                                                                     grounds that
                                                                                              that it
                                                                                                   it is vague,
                                                                                                      is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                 and/or because
                                                                         because the
                                                                                   the burden
                                                                                       burden oror expense
                                                                                                   expense of of
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                    objects to
                                                                             to this
                                                                                this Request
                                                                                     Request toto the
                                                                                                  the extent
                                                                                                       extent it
                                                                                                               it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                     either the
                                                            the attorney-client
                                                                 attorney-client privilege
                                                                                  privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                           work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further  objects to
                                                                                       further objects    to the
                                                                                                             the
term  “Acquired”    because    as defined  it seeks to  obtain  information   not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims or any  claims   or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                         grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                      seeks information
                                                                                             information that
                                                                                                            that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                      and/or control.
                                                             control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, see MMHUMPHRIESMARTIN0000001
                                                       see MMHUMPHRIESMARTIN0000001
-- MMHUMPHRIESMARTIN0000003.
   MMHUMPHRIESMARTIN0000003.

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

                                                      - 11 -
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                                product doctrine,
                                                                          doctrine, oror any
                                                                                          any other   privilege,
                                                                                               other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request asas vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                 discovery outweighs
                                                                             outweighs its
                                                                                         its likely benefit.
                                                                                             likely benefit.
Plaintiff further objects to this Request  to the extent it seeks matters  immune   from   discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                      work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                           other privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                      further objects
                                              objects to
                                                      to the
                                                         the scope
                                                              scope of
                                                                    of this
                                                                       this Request
                                                                            Request to
                                                                                     to the
                                                                                        the extent
                                                                                             extent it
                                                                                                    it seeks
                                                                                                       seeks


                                                     -2-
                                                     -2
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information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or          of any
                                            defenses of  any party.
                                                             party. Plaintiff
                                                                    Plaintiff further
                                                                              further objects to this
                                                                                      objects to this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                              already in
                                                      in the
                                                         the possession,
                                                             possession, custody,
                                                                         custody, and/or
                                                                                   and/or control
                                                                                          control of
                                                                                                   of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REOUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either   the   attorney-client        privilege    and/or    the  work    product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,      or   any    other    privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.       2007); Exxon
                                                                                                                             Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REOUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO
                            NO 7:
                               7:




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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                 Request areare compounded
                                                                                 compounded by   by the
                                                                                                     the fact   that
                                                                                                          fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its  possession, custody,
                                                                       its possession,             and/or control
                                                                                        custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                       responsive documents
                                                                                    documents to  to this
                                                                                                     this Request
                                                                                                          Request
for settlement purposes.
for settlement   purposes. Plaintiff
                              Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                 scope ofof this
                                                                            this Request
                                                                                 Request toto the
                                                                                              the extent
                                                                                                   extent it
                                                                                                           it seeks
                                                                                                              seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses
                                        claims or  defenses of of any
                                                                  any party.
                                                                       party. Plaintiff
                                                                               Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request   to  the  extent  it seeks   matters   immune    from   discovery    under  either
Request to the extent it seeks matters immune from discovery under either the attorney-clientthe  attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                   privilege, immunity,
                                                                               immunity, or or protection.
                                                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either   the   attorney-client        privilege    and/or    the  work    product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,      or   any    other    privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents inin Your
                                    Your possession,
                                         possession, custody,
                                                     custody, oror control
                                                                   control Regarding
                                                                           Regarding Your
                                                                                        Your use
                                                                                             use of
                                                                                                 of and
                                                                                                    and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                                This Request
                                     Request includes,
                                             includes, but
                                                        but is
                                                            is not
                                                               not limited to, all
                                                                   limited to, all data
                                                                                   data Regarding
                                                                                        Regarding Your
                                                                                                  Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                             and/or EncoreAnywhere,      which we
                                                                     EncoreAnywhere, which      we will
                                                                                                    will
obtain upon
obtain        your signing
       upon your   signing the
                           the attached
                               attached Authorization
                                        Authorization to
                                                       to Disclose
                                                          Disclose Health
                                                                     Health Information.
                                                                             Information.


                                                               -4-
                                                               -4
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims or
                                                                                                     or defenses
                                                                                                         defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely  benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought inin this
                                                                               this Request
                                                                                     Request is   already in
                                                                                               is already      the
                                                                                                            in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further   objects to
                                                                        further objects    to this
                                                                                              this Request
                                                                                                     Request on on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” is
                                          is undefined
                                              undefined and
                                                          and that
                                                                that it
                                                                      it is
                                                                         is not   apparent to
                                                                            not apparent     to Plaintiff
                                                                                                 Plaintiff what
                                                                                                             what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                 seeks in  this Request
                                                                                        in this  Request that
                                                                                                           that is
                                                                                                                 is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects   to this
                                                                          objects to  this Request
                                                                                           Request onon grounds
                                                                                                         grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                    custody, and/or
                                                                                              and/or control    of
                                                                                                       control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff will
                                                                   will submit
                                                                        submit the
                                                                               the SD card from
                                                                                   SD card from
his Recalled
his Recalled Device(s).
             Device(s).

REQUEST 11:
REOUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects toto this
                                 this Request
                                      Request as   as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or  or expense
                                                    expense of
                                                             of the
                                                                the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects   to the
                                the scope
                                     scope of of this
                                                  this Request
                                                       Request onon grounds
                                                                     grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant to
relevant  to any
             any claims
                  claims oror defenses
                              defenses ofof any
                                            any party.
                                                  party. Plaintiff
                                                         Plaintiff further
                                                                   further objects
                                                                           objects that
                                                                                    that the
                                                                                          the term
                                                                                              term "condition"
                                                                                                     “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff           objects to
                          further objects  to this
                                               this Request
                                                     Request to
                                                             to the
                                                                the extent
                                                                    extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs       its likely    benefit, and/or
                                            likely benefit,   and/or that
                                                                       that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in
Defendant’s possession,
Defendant's     possession, custody,    and/or control.
                              custody, and/or     control. Plaintiff
                                                           Plaintiff further  objects to
                                                                      further objects   to this
                                                                                           this Request
                                                                                                 Request toto the
                                                                                                              the


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extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive   to this
                                                       responsive to   this Request.
                                                                            Request. Plaintiff
                                                                                      Plaintiff further
                                                                                                further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                          immune from
                                                                    from discovery
                                                                           discovery under
                                                                                      under either
                                                                                             either the
                                                                                                    the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                     doctrine, or
                                                               or any
                                                                  any other
                                                                        other privilege,
                                                                              privilege, immunity,
                                                                                         immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 12:
REQUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative,    and/or  because   the burden  or  expense   of the  discovery   outweighs     its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.   likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly        seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not    limited to
                                                                                            not limited    to any
                                                                                                              any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                          further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                     possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent    Plaintiff
                                                                                                 extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects toto this
                                                                                                              this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the    attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 13:
REOUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                    overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                             outweighs itsits likely  benefit.
                                                                                              likely benefit.
Plaintiff objects to this Request  to the extent  that  the information  sought in  this Request   is
Plaintiff objects to this Request to the extent that the information sought in this Request is alreadyalready
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                        Defendant. TheThe broad
                                                                           broad scope
                                                                                  scope and
                                                                                          and unnecessary
                                                                                                unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                       the fact  that Defendant
                                                            fact that Defendant seeks
                                                                                 seeks materials
                                                                                         materials that
                                                                                                    that it
                                                                                                          it is
                                                                                                             is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 14:
REQUEST     14: All
                All Documents
                    Documents Regarding
                               Regarding your
                                          your Acquisition
                                                Acquisition or
                                                            or use
                                                               use of
                                                                   of any
                                                                      any cleaners
                                                                           cleaners or
                                                                                    or cleaning
                                                                                       cleaning
devices for
devices     Your Recalled
        for Your Recalled Device,
                          Device, including
                                  including but
                                            but not
                                                not limited
                                                    limited to
                                                            to any
                                                               any ozone
                                                                   ozone cleaning
                                                                          cleaning devices
                                                                                   devices and
                                                                                            and



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                                                       6-
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any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative,    and/or  because    the   burden   or  expense  of the  discovery    outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. its  likely   benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                     Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative,   and/or  because  the  burden  or  expense  of the  discovery  outweighs   its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.    benefit.
Plaintiff further
Plaintiff further objects
                  objects to
                          to the
                             the extent
                                 extent this
                                        this Request
                                              Request seeks
                                                      seeks aa concession
                                                                concession that
                                                                            that evidence
                                                                                 evidence ofof degradation
                                                                                               degradation
can be
can be seen
        seen by
              by the
                  the naked
                      naked eye.
                             eye. Plaintiff
                                   Plaintiff further
                                             further objects
                                                     objects to
                                                              to this
                                                                  this Request
                                                                       Request on
                                                                               on grounds
                                                                                   grounds that
                                                                                             that the
                                                                                                  the term
                                                                                                      term
“particulate” and
"particulate"  and "dark
                    “dark matter"
                           matter” are
                                     are undefined.
                                         undefined. Plaintiff
                                                      Plaintiff further  objects to
                                                                 further objects  to the
                                                                                     the use
                                                                                          use of
                                                                                               of the
                                                                                                  the term
                                                                                                      term


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“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on on grounds
                                      grounds that
                                                 that it
                                                      it is
                                                         is overbroad,
                                                            overbroad, vague,
                                                                         vague, ambiguous,
                                                                                 ambiguous, andand impermissibly
                                                                                                    impermissibly
seeks information
seeks information notnot relevant
                         relevant to to any
                                         any claims
                                              claims oror defenses
                                                            defenses ofof any
                                                                          any party.
                                                                              party. Plaintiff
                                                                                      Plaintiff further
                                                                                                further objects
                                                                                                         objects toto
this Request
this Request onon grounds
                   grounds that
                             that it
                                   it is
                                      is duplicative
                                          duplicative of  of Request
                                                             Request No.No. 11.
                                                                            11. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects
                                                                                                    objects to
                                                                                                             to this
                                                                                                                 this
Request to
Request   to the
             the extent
                 extent that
                         that the
                               the burden
                                    burden or or expense
                                                   expense of of the
                                                                 the requested
                                                                      requested discovery
                                                                                 discovery outweighs
                                                                                             outweighs itsits likely
                                                                                                              likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is  is already
                                              already in in Defendant's
                                                             Defendant’s possession,
                                                                           possession, custody,
                                                                                         custody, and/or
                                                                                                   and/or control.
                                                                                                            control.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request to  to the
                                                     the extent
                                                           extent Plaintiff
                                                                   Plaintiff has
                                                                             has already
                                                                                  already provided
                                                                                           provided information
                                                                                                       information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                             further objects
                                                      objects toto this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it  seeks matters
                                                                                                  it seeks  matters
immune from
immune    from discovery
                discovery under
                            under either
                                    either the
                                            the attorney-client
                                                attorney-client privilege
                                                                    privilege and/or
                                                                              and/or the
                                                                                      the work
                                                                                          work product
                                                                                                product doctrine,
                                                                                                          doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or   or protection.
                                            protection. Plaintiff
                                                            Plaintiff further
                                                                      further objects
                                                                              objects to
                                                                                       to the
                                                                                          the extent
                                                                                              extent this
                                                                                                      this Request
                                                                                                           Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications     with  any Person Regarding     the recall;
to Communications with any Person Regarding the recall; Your     Your  Communications
                                                                       Communications   with
                                                                                        with  any
                                                                                              any  Health
                                                                                                  Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                                Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

         Plaintiff objects
         Plaintiff objects to
                           to this
                              this Request
                                   Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                            burdensome, overbroad,
                                                                        overbroad, irrelevant,
                                                                                   irrelevant,


                                                         -8
                                                          8-
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cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request areare compounded
                                                                              compounded by    by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                             and/or control.
                                                                                    control. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                        grounds that
                                                                                 that it
                                                                                      it is overbroad, vague,
                                                                                         is overbroad,   vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant toto any
                                                                             any claims
                                                                                  claims oror defenses
                                                                                               defenses of
                                                                                                         of any
                                                                                                            any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it
                                                                   it seeks
                                                                      seeks matters
                                                                            matters immune
                                                                                     immune fromfrom discovery
                                                                                                      discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                            doctrine, or
                                                                                      or any
                                                                                          any other
                                                                                                other privilege,
                                                                                                      privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely  benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                     fact that
                                                                                                          that
Defendant   seeks materials  that are equally   available
Defendant seeks materials that are equally available to it.to it. Plaintiff
                                                                  Plaintiff further objects to the  use of the
                                                                            further objects to the use of the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses ofof
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune fromfrom
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or  any other
                                                                                                         other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request  includes but
                                                                           but is
                                                                                is not
                                                                                   not limited  to the
                                                                                        limited to the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in  Paragraphs
                                                                                         in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring C CSAC.
                                       SAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects to  this  Request   to the extent  it seeks  matters immune     from   discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                 privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                   relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.  See
                                                                                                         issue. See


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e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430                1999) (citations
                                                                           (W.Va. 1999)       (citations omitted)
                                                                                                         omitted) (the
                                                                                                                   (the
injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                  monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                        physical injury
                                                                                                   injury in
                                                                                                          in this
                                                                                                             this case.
                                                                                                                  case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased riskrisk of
                                                                                             of disease
                                                                                                 disease and
                                                                                                          and medical
                                                                                                               medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REQUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff   objects toto this
                                   this Request
                                          Request as  as vague,
                                                           vague, unduly
                                                                    unduly burdensome,
                                                                              burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,     and/or because
                        because the the burden
                                         burden or or expense
                                                       expense of of the
                                                                      the discovery
                                                                           discovery outweighs
                                                                                       outweighs itsits likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
           further objects   to this
                                this Request
                                       Request to to the
                                                     the extent
                                                          extent it
                                                                  it seeks
                                                                     seeks matters
                                                                            matters immune
                                                                                     immune from
                                                                                               from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either  the attorney-client
              attorney-client privilege
                                  privilege and/or
                                               and/or thethe work
                                                               work product
                                                                      product doctrine,
                                                                                doctrine, oror any
                                                                                                any other     privilege,
                                                                                                      other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                 including physician-patient
                                               physician-patient privilege.
                                                                       privilege. Plaintiff
                                                                                   Plaintiff further
                                                                                             further objects
                                                                                                       objects to to this
                                                                                                                      this
Request on
Request   on grounds
               grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                             Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                    privacy. Plaintiff
                                                                              Plaintiff further
                                                                                        further objects
                                                                                                 objects toto the
                                                                                                              the scope
                                                                                                                   scope
of this
of  this Request
         Request to to the
                       the extent
                            extent it it seeks
                                         seeks information
                                                 information not not relevant
                                                                      relevant toto any
                                                                                    any claims
                                                                                         claims oror defenses
                                                                                                      defenses of of any
                                                                                                                      any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                  monitoring costscosts does
                                                         does not
                                                                not put
                                                                     put present
                                                                          present physical
                                                                                   physical condition
                                                                                             condition at at issue.
                                                                                                             issue. See
                                                                                                                      See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.        Corp., 522
                                   Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430               1999) (citations
                                                                             (W.Va. 1999)                 omitted) (the
                                                                                             (citations omitted)      (the
injury in
injury  in question   is the
            question is  the increase
                              increase in  in risk
                                              risk that
                                                    that requires
                                                          requires one
                                                                     one to
                                                                          to incur  the cost
                                                                             incur the  cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716
                                                  716 (Mo.      2007); Exxon
                                                        (Mo. 2007);     Exxon Mobil
                                                                                Mobil Corp.
                                                                                        Corp. v.   Albright, 71
                                                                                                v. Albright,         A.3d
                                                                                                                71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
             (Md. 2013)    (exposure itself      and the
                                          itself and   the need
                                                             need for
                                                                   for medical
                                                                       medical testing
                                                                                 testing is
                                                                                         is the
                                                                                            the compensable
                                                                                                 compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                              claim); Sadler
                                          Sadler v.   PacifiCare of
                                                   v. PacifiCare     of Nev.,  Inc., 340
                                                                        Nev., Inc.,       P.3d, 264,
                                                                                     340 P.3d,   264, 1270-72
                                                                                                       1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether    the negligent
                                      negligent actact of
                                                       of the
                                                            the defendant
                                                                defendant caused
                                                                            caused the
                                                                                     the plaintiff
                                                                                         plaintiff to
                                                                                                   to have
                                                                                                       have aa medical
                                                                                                                medical



                                                          -- 10
                                                             10
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need to
need  to undergo
         undergo monitoring);
                   monitoring); Potter
                                    Potter v.  Firestone Tire
                                            v. Firestone    Tire && Rubber     Co., 863
                                                                     Rubber Co.,         P.2d 795,
                                                                                    863 P.2d   795, 823
                                                                                                     823 (Cal.
                                                                                                           (Cal.
1993). Plaintiff
1993).  Plaintiff has
                  has not
                      not waived
                           waived the
                                    the physician-patient
                                         physician-patient privilege
                                                              privilege as
                                                                         as to
                                                                            to any
                                                                                any medical
                                                                                    medical condition
                                                                                             condition for   his
                                                                                                        for his
medical monitoring
medical  monitoring claims
                      claims inin this
                                  this case
                                       case since
                                             since Plaintiff
                                                    Plaintiff is
                                                              is not
                                                                 not claiming
                                                                     claiming present
                                                                                present physical
                                                                                        physical injury
                                                                                                  injury in
                                                                                                         in this
                                                                                                            this
case. The
case.       injury that
      The injury   that Plaintiff
                         Plaintiff claims
                                    claims isis the
                                                 the significant
                                                     significant exposure,
                                                                  exposure, increased
                                                                               increased risk
                                                                                          risk of
                                                                                               of disease
                                                                                                   disease and
                                                                                                            and
medical necessity
medical  necessity of
                    of diagnostic
                        diagnostic testing
                                     testing and
                                              and the
                                                   the economic
                                                        economic loss    associated therewith.
                                                                    loss associated  therewith. Plaintiff
                                                                                                  Plaintiff and
                                                                                                            and
class members
class members base
                 base their
                       their claims
                             claims only
                                      only on
                                            on their
                                                their significant
                                                      significant exposure
                                                                   exposure toto the
                                                                                 the proven
                                                                                     proven hazardous
                                                                                             hazardous Foam
                                                                                                          Foam
Toxins  released by
Toxins released   by PE-PUR
                      PE-PUR foamfoam inin the
                                           the Recalled
                                               Recalled Devices.
                                                          Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,      and other
                                                                                 endoscopies, and    other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                 matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                            under
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                  and/or the the work
                                                                   work product
                                                                          product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other     privilege,
                                                                                                              other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request    on  grounds    that  it  violates    Plaintiff’s    right to privacy.    Plaintiff  further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope  objects   to the   scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                              present physical
                                                                                        physical condition
                                                                                                     condition at at issue.
                                                                                                                     issue. See
                                                                                                                              See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations     omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,    71 A.3d
                                                                                                                             A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical     testing is
                                                                                                is the
                                                                                                    the compensable
                                                                                                         compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                         264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the   the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                 Rubber Co.,Co., 863    P.2d 795,
                                                                                                 863 P.2d             823 (Cal.
                                                                                                               795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition forfor his
                                                                                                                               his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                           not claiming      present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                            increased risk
                                                                                                         risk of
                                                                                                               of disease
                                                                                                                   disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                  proven hazardous
                                                                                                             hazardous Foam Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.

REQUEST 23:
REQUEST      23: All
                  All Documents
                      Documents and
                                  and Communications
                                      Communications related
                                                        related to
                                                                to any
                                                                   any tissue
                                                                       tissue specimens,
                                                                              specimens, tissue
                                                                                         tissue
slides, biopsy
slides, biopsy specimens,
               specimens, and
                          and any
                              any other
                                  other pathologic
                                        pathologic material
                                                   material taken
                                                            taken from
                                                                  from You
                                                                       You by
                                                                            by any
                                                                               any Health
                                                                                   Health Care
                                                                                           Care



                                                              - 11
                                                              -11
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 260 of 654




Provider related
Provider related to
                 to the
                     the "subcellular
                         “subcellular injury
                                      injury or
                                             or other
                                                other physiological
                                                      physiological changes"
                                                                    changes” You
                                                                             You allege
                                                                                 allege in
                                                                                        in
Paragraphs 26-88
Paragraphs 26-88 of
                 of the
                    the Medical
                        Medical Monitoring
                                Monitoring CSAC.
                                            CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                              outweighs its   its likely  benefit.
                                                                                                                  likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects   to  this    Request     to the extent   it seeks   matters    immune       from    discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or   or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                        privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                                further objects
                                                                                                           objects toto the
                                                                                                                        the scope
                                                                                                                            scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                 claims or or defenses
                                                                                                                defenses ofof any
                                                                                                                               any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                     condition at   at issue.
                                                                                                                       issue. See
                                                                                                                               See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                       omitted) (the
                                                                                                      (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost ofof monitoring);
                                                                                                          monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.    Albright, 71
                                                                                                    v. Albright,         A.3d 30,
                                                                                                                      71 A.3d   30,
75-77  (Md.   2013)   (exposure       itself   and   the  need  for  medical    testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable      is the  compensable         injury
                                                                                                                       injury  in
                                                                                                                               in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                     (Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff to to have
                                                                                                         have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d       795, 823823 (Cal.   1993).
                                                                                                                     (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                  condition for       his medical
                                                                                                                 for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                            injury in   this case.
                                                                                                                     in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk       of disease
                                                                                               risk of    disease andand medical
                                                                                                                          medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and class
                                                                                                                             class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                    hazardous Foam Foam Toxins
                                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative,    and/or  because    the  burden   or  expense   of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. its  likely  benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                               under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects to to the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses of of any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at  at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                         (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                 Corp. v.  Albright, 71
                                                                                        v. Albright,        A.3d 30,
                                                                                                        71 A.3d   30,



                                                               -- 12
                                                                  12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 261 of 654




75-77  (Md. 2013)
75-77 (Md.    2013) (exposure
                     (exposure itself
                                   itself and
                                           and the
                                                 the need
                                                     need for
                                                            for medical
                                                                 medical testing
                                                                          testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                          injury in
                                                                                                                 in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                        (Nev. 2014)
                                                                                                               2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                       medical need
                                                                                                                need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber
                                                                  Rubber Co.,    863 P.2d
                                                                            Co., 863    P.2d 795,
                                                                                              795, 823
                                                                                                   823 (Cal.  1993).
                                                                                                        (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for  his medical
                                                                                                     for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                       physical injury
                                                                                                 injury in
                                                                                                        in this
                                                                                                           this case.
                                                                                                                case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased risk
                                                                                       risk of
                                                                                            of disease
                                                                                               disease and
                                                                                                        and medical
                                                                                                             medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                 Plaintiff and
                                                                                                           and class
                                                                                                                class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                       Foam Toxins
                                                                                                              Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical  Monitoring   CSAC.
Medical Monitoring CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST 26: All
            All other Documents Regarding
                other Documents Regarding any
                                          any and
                                              and all
                                                  all additional
                                                      additional diagnosed
                                                                 diagnosed medical
                                                                           medical



                                                              -- 13
                                                                 13
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conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last
                                            last 10
                                                 10 years
                                                    years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                         unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                        overbroad, irrelevant,
                                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                               outweighs its  its likely  benefit.
                                                                                                                  likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects   to  this    Request     to the  extent   it seeks   matters    immune       from   discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or   or any
                                                                                                          any other
                                                                                                                other privilege,
                                                                                                                        privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                       further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                         privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                 further objects
                                                                                                           objects toto the
                                                                                                                        the scope
                                                                                                                            scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                  claims or or defenses
                                                                                                                defenses ofof any
                                                                                                                               any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                      condition at  at issue.
                                                                                                                       issue. See
                                                                                                                               See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)         (citations omitted)
                                                                                                                    omitted) (the
                                                                                                                               (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost ofof monitoring);
                                                                                                           monitoring); Meyer
                                                                                                                            Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.    Albright, 71
                                                                                                     v. Albright,        A.3d 30,
                                                                                                                      71 A.3d   30,
75-77  (Md.   2013)   (exposure       itself   and   the  need   for  medical    testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable       is the  compensable        injury
                                                                                                                       injury  in
                                                                                                                               in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare     of Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                  264, 1270-72
                                                                                                          1270-72 (Nev.
                                                                                                                     (Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff to to have
                                                                                                          have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d       795, 823
                                                                                                               823 (Cal.   1993).
                                                                                                                     (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                   condition for      his medical
                                                                                                                 for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                            injury in   this case.
                                                                                                                     in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased risk risk of
                                                                                                      of disease
                                                                                                          disease andand medical
                                                                                                                          medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and class
                                                                                                                             class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to   to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                     hazardous FoamFoam Toxins
                                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                        that it
                             it violates
                                 violates Plaintiffs
                                           Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                  privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                 objects toto the
                                                                                                              the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.             Exxon Mobil
                                                          2007); Exxon      Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                           71 A.3d    30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                           (Nev. 2014)
                                                                                                                  2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need



                                                               -- 14
                                                                  14
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 263 of 654




to undergo
to undergo monitoring);
             monitoring); Potter
                              Potter v.    Firestone Tire
                                       v. Firestone   Tire && Rubber
                                                               Rubber Co.,    863 P.2d
                                                                         Co., 863  P.2d 795,
                                                                                         795, 823   (Cal. 1993).
                                                                                               823 (Cal.  1993).
Plaintiff has
Plaintiff has not
              not waived
                  waived thethe physician-patient
                                 physician-patient privilege
                                                      privilege as
                                                                 as to
                                                                    to any
                                                                       any medical
                                                                             medical condition
                                                                                      condition for  his medical
                                                                                                 for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                               case since
                                     since Plaintiff
                                             Plaintiff is
                                                       is not
                                                          not claiming
                                                              claiming present
                                                                          present physical
                                                                                   physical injury
                                                                                            injury in
                                                                                                    in this
                                                                                                       this case.
                                                                                                            case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims isis the
                                          the significant
                                              significant exposure,
                                                           exposure, increased
                                                                       increased risk
                                                                                   risk of
                                                                                        of disease
                                                                                           disease and
                                                                                                    and medical
                                                                                                         medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                      and the
                                            the economic
                                                 economic loss    associated therewith.
                                                            loss associated     therewith. Plaintiff
                                                                                             Plaintiff and
                                                                                                       and class
                                                                                                            class
members base
members    base their
                their claims
                      claims only
                                only on
                                      on their
                                          their significant
                                                significant exposure
                                                            exposure to to the
                                                                           the proven
                                                                               proven hazardous
                                                                                       hazardous Foam
                                                                                                   Foam Toxins
                                                                                                          Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam in in the
                                   the Recalled
                                        Recalled Devices.
                                                   Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REQUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, attorney
cumulative,   attorney client
                        client and
                               and attorney
                                     attorney work
                                                work product
                                                      product privilege,
                                                                privilege, and/or
                                                                            and/or because
                                                                                    because the
                                                                                              the burden
                                                                                                   burden or
                                                                                                           or
expense   of the discovery   outweighs   its likely benefit.  Plaintiff further objects to the  scope
expense of the discovery outweighs its likely benefit. Plaintiff further objects to the scope of this of this
Request to
Request   to the
             the extent
                 extent it
                         it seeks
                            seeks information
                                   information notnot relevant
                                                      relevant toto any
                                                                    any claims
                                                                         claims or
                                                                                 or defenses
                                                                                    defenses ofof any
                                                                                                  any party.
                                                                                                       party.
Plaintiff further
Plaintiff further objects  to this
                  objects to  this Request
                                   Request to to the
                                                 the extent
                                                     extent that
                                                             that information
                                                                  information sought
                                                                                sought in  this Request
                                                                                        in this  Request has
                                                                                                         has


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                                                            15
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already been
already been provided
              provided byby Plaintiff.
                            Plaintiff. Plaintiff
                                       Plaintiff further
                                                 further objects
                                                         objects to
                                                                 to this
                                                                    this Request
                                                                          Request to
                                                                                   to the
                                                                                      the extent
                                                                                           extent it
                                                                                                  it seeks
                                                                                                     seeks
matters immune
matters immune from     discovery under
                  from discovery          either the
                                   under either  the attorney-client
                                                     attorney-client privilege
                                                                     privilege and/or
                                                                                and/or the
                                                                                       the work
                                                                                            work product
                                                                                                  product
doctrine, or
doctrine, or any
             any other
                  other privilege,
                        privilege, immunity,
                                   immunity, oror protection.
                                                   protection. Plaintiff
                                                               Plaintiff further objects to
                                                                         further objects  to this
                                                                                             this Request
                                                                                                  Request
as duplicative
as duplicative of
               of many
                  many ofof Defendant's
                            Defendant’s Requests.
                                          Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 30:
REQUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the  attorney-client    privilege   and/or   the  work    product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,   other   privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity,   or protection.
immunity, or protection.

REQUEST 32:
REQUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                         unduly burdensome,
                                                                  burdensome, overbroad,
                                                                              overbroad, irrelevant,
                                                                                            irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or
                                          or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                    its likely benefit.
                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request to
                                          to the
                                              the extent
                                                  extent that
                                                         that information
                                                              information sought
                                                                          sought in
                                                                                 in this
                                                                                     this Request
                                                                                          Request has
                                                                                                   has



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                                                          16
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already been
already been provided
             provided by
                       by Plaintiff.
                          Plaintiff. Plaintiff
                                     Plaintiff further  objects to
                                               further objects  to this
                                                                   this Request
                                                                        Request on
                                                                                on grounds
                                                                                   grounds that
                                                                                           that it seeks
                                                                                                it seeks
matters immune
matters           from discovery
         immune from                 under HIPAA,
                        discovery under     HIPAA, the the attorney-client
                                                            attorney-client privilege
                                                                            privilege and/or
                                                                                      and/or the
                                                                                             the work
                                                                                                   work
product doctrine,
product doctrine, or
                  or any
                     any other
                         other privilege,
                               privilege, immunity,
                                          immunity, or  or protection.
                                                           protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REQUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:



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                                                        17
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         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information    and evidence   to  be elicited from   and  developed    with the   assistance
information and evidence to be elicited from and developed with the assistance of experts.    of  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REQUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

        Plaintiff objects
        Plaintiff objects to
                          to this
                             this Request
                                  Request as
                                          as unduly
                                             unduly burdensome,
                                                     burdensome, overbroad,
                                                                     overbroad, disproportionate,
                                                                                  disproportionate, and
                                                                                                    and
not relevant
not          to any
    relevant to any parties'
                    parties’ claims
                             claims or
                                    or defenses. Plaintiff further
                                       defenses. Plaintiff further objects
                                                                   objects to
                                                                           to this
                                                                              this Request
                                                                                   Request to
                                                                                           to the
                                                                                              the extent
                                                                                                  extent



                                                       -- 18
                                                          18
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it seeks
it seeks matters
         matters immune
                 immune from
                          from discovery
                                discovery under
                                           under either
                                                 either the
                                                        the attorney-client
                                                            attorney-client privilege
                                                                            privilege and/or
                                                                                      and/or the
                                                                                             the work
                                                                                                 work
product doctrine,
product  doctrine, or
                   or any
                      any other
                          other privilege,
                                privilege, immunity,
                                           immunity, or
                                                      or protection.
                                                         protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other
                                                                                          other privilege,
                                                                                                  privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.


       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REQUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as as vague,
                                                         vague, unduly
                                                                   unduly burdensome,
                                                                              burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden oror expense
                                                      expense of of the
                                                                     the discovery
                                                                           discovery outweighs
                                                                                       outweighs its  its likely  benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request toto the
                                                    the extent
                                                        extent it   seeks matters
                                                                 it seeks   matters immune
                                                                                     immune from from discovery
                                                                                                        discovery under
                                                                                                                    under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                               and/or the
                                                       the work
                                                             work product
                                                                      product doctrine,
                                                                                doctrine, or or any
                                                                                                  any other
                                                                                                        other privilege,
                                                                                                                privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                               physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                         objects toto this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                            Plaintiff’s right
                                                         right to
                                                               to privacy.
                                                                   privacy. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                    scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                information not not relevant
                                                                      relevant toto any
                                                                                    any claims
                                                                                          claims or or defenses
                                                                                                        defenses ofof any
                                                                                                                       any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                 costs does
                                                        does not
                                                              not put
                                                                    put present
                                                                         present physical
                                                                                   physical condition
                                                                                              condition at  at issue.
                                                                                                               issue. See
                                                                                                                       See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                   omitted) (the
                                                                                               (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                              increase in in risk
                                             risk that
                                                   that requires
                                                        requires oneone toto incur  the cost
                                                                             incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716   (Mo. 2007);
                                                716 (Mo.    2007); Exxon
                                                                     Exxon Mobil
                                                                              Mobil Corp.
                                                                                      Corp. v.   Albright, 71
                                                                                             v. Albright,        A.3d 30,
                                                                                                              71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure        itself and
                                            and the
                                                 the need   for medical
                                                      need for  medical testing
                                                                            testing is
                                                                                     is the
                                                                                        the compensable
                                                                                            compensable injury injury in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,   340 P.3d,
                                                                        Inc., 340  P.3d, 264,
                                                                                          264, 1270-72
                                                                                                  1270-72 (Nev.     2014)
                                                                                                             (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act of
                                               of the
                                                  the defendant
                                                       defendant caused       the plaintiff
                                                                     caused the    plaintiff to
                                                                                              to have
                                                                                                  have aa medical
                                                                                                           medical need
                                                                                                                      need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                         v. Firestone    Tire && Rubber
                                                                   Rubber Co.,Co., 863   P.2d 795,
                                                                                   863 P.2d     795, 823
                                                                                                       823 (Cal.   1993).
                                                                                                             (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                         privilege as as to
                                                                         to any
                                                                            any medical
                                                                                 medical condition
                                                                                           condition for      his medical
                                                                                                         for his  medical
monitoring claims
monitoring    claims in
                      in this
                          this case     since Plaintiff
                                case since     Plaintiff is
                                                          is not
                                                             not claiming     present physical
                                                                  claiming present      physical injury
                                                                                                    injury in   this case.
                                                                                                             in this case.



                                                           -- 19
                                                              19
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The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                            claims is the significant
                                   is the significant exposure,
                                                      exposure, increased
                                                                 increased risk   of disease
                                                                             risk of          and medical
                                                                                     disease and  medical
necessity of
necessity  of diagnostic
              diagnostic testing
                           testing and
                                   and the
                                        the economic
                                             economic loss
                                                        loss associated
                                                             associated therewith.
                                                                          therewith. Plaintiff
                                                                                       Plaintiff and
                                                                                                 and class
                                                                                                     class
members base
members   base their
               their claims
                     claims only
                              only on
                                   on their
                                      their significant
                                            significant exposure
                                                        exposure to
                                                                  to the
                                                                     the proven
                                                                         proven hazardous
                                                                                 hazardous Foam
                                                                                            Foam Toxins
                                                                                                   Toxins
released by
released by PE-PUR
             PE-PUR foam
                       foam inin the
                                 the Recalled
                                     Recalled Devices.
                                               Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                 /s/ Kelly
                                                      /s/ Kelly K
                                                                K. Iverson
                                                                   Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                          Kelly K.
                                                      Kelly  K. Iverson,
                                                                Iverson, Esquire
                                                                          Esquire
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 /s/ Christopher
 /s/             A. Seeger
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                                                      /s/ Steven A.
                                                                 A. Schwartz
                                                                    Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                     Steven  A. Schwartz,
                                                      Steven A.  Schwartz, Esquire
                                                                           Esquire
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                                                                                          &
                        th
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                   NJ 07660
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                                                      361 West             Avenue
                                                                 Lancaster Avenue
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                                                      One   Haverford Centre
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                                                      Haverford,  PA 19041
                                                                      19041
                                                      (610)
                                                      (610) 642-8500   (phone)
                                                             642-8500 (phone)
                                                      steveschwartz@chimicles.com
                                                      steveschwartz@chimicles.com


                                 Counsel for Plaintiffs
                                 Counselfor  Plaintiffs and
                                                        and the
                                                            the Class
                                                                Class




                                                  -- 20
                                                     20
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                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

MARTIN HUMPHRIES'S
MARTIN HUMPHRIES’S AMENDED
                   AMENDED RESPONSES
                           RESPONSES AND
                                     AND OBJECTIONS
                                         OBJECTIONS TO PHILIPS RS'
                                                    TO PHILIPS RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                           MORGAN, LEWIS      & BOCKIUS
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                                 Wendy    West Feinstein
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                                 Counselfor  Defendant Philips
                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

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                                    Michael H. Steinberg
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                                               Street
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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
                       FRANKLIN
                       FRANKLIN &   & PROKOPIK
                                        PROKOPIK
                      500 Creek
                      500 Creek View
                                View Road,
                                       Road, Suite 502
                                             Suite 502
                            Newark, DE
                            Newark,   DE 19711
                                         19711
                              (302) 594-9780
                              (302) 594-9780
                        ethompson@fandpnet.com
                        ethompson@fandpnet.com

                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                    EXHIBIT
                    EXHIBIT L
                            L
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 273 of 654



        PLAINTIFF
        PLAINTIFF BRIAN
                  BRIAN MCCARTY’S   SECOND AMENDED
                        MCCARTY'S SECOND    AMENDED RESPONSES
                                                    RESPONSES AND
                                                               AND
         OBJECTIONS TO
         OBJECTIONS  TO PHILIPS RS’ FIRST
                        PHILIPS RS'       REQUEST FOR
                                    FIRST REQUEST FOR PRODUCTION
                                                      PRODUCTION
            OF DOCUMENTS
            OF DOCUMENTS TOTO MEDICAL   MONITORING PLAINTIFFS
                              MEDICAL MONITORING    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Brian
         Plaintiff Brian McCarty
                          McCarty ("Plaintiff')
                                      (“Plaintiff”) objects
                                                    objects to
                                                             to this
                                                                this Request
                                                                     Request onon grounds
                                                                                   grounds that
                                                                                            that it
                                                                                                  it is vague,
                                                                                                     is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                and/or because
                                                                        because the
                                                                                  the burden
                                                                                      burden oror expense
                                                                                                  expense of of
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                    objects to
                                                                            to this
                                                                               this Request
                                                                                    Request toto the
                                                                                                 the extent
                                                                                                      extent it
                                                                                                              it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                    either the
                                                            the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                               protection. Plaintiff
                                                                            Plaintiff further  objects to
                                                                                      further objects    to the
                                                                                                            the
term  “Acquired”    because    as defined  it seeks to obtain  information   not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims orany   claims  or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                        grounds that
                                                                  that this
                                                                       this Request
                                                                            Request seeks
                                                                                     seeks information
                                                                                            information that
                                                                                                           that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                     and/or control.
                                                             control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMMCCARTYBRIAN00000001 --
                                                     see MMMCCARTYBRIAN00000001
MMMCCARTYBRIAN00000002
MMMCCARTYBRIAN00000002

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.       2007); Exxon
                                                                                                                             Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


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                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either    the attorney-client
                                                        either the   attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,     and/or control
                                                                                        custody, and/or    control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff will
                                                                   will submit
                                                                        submit the
                                                                               the SD card from
                                                                                   SD card from
his Recalled
his Recalled Device(s).
             Device(s).


REQUEST 11:
REOUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of
                                                           of the
                                                              the discovery
                                                                  discovery outweighs
                                                                              outweighs itsits likely benefit.
                                                                                               likely benefit.
Plaintiff  further  objects  to the  scope  of  this  Request  on  grounds  that  it seeks   information
Plaintiff further objects to the scope of this Request on grounds that it seeks information not            not
relevant to
relevant  to any
             any claims
                  claims oror defenses
                              defenses of
                                        of any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                         objects that
                                                                                 that the
                                                                                       the term
                                                                                           term "condition"
                                                                                                  “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff           objects to
                          further objects to this
                                             this Request
                                                   Request to
                                                           to the
                                                              the extent
                                                                  extent that
                                                                         that the
                                                                              the burden
                                                                                  burden oror expense
                                                                                               expense of
                                                                                                        of the
                                                                                                           the


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requested discovery
requested               outweighs its
            discovery outweighs     its likely  benefit, and/or
                                        likely benefit,   and/or that
                                                                   that the
                                                                         the information
                                                                              information is   already in
                                                                                            is already   in
Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                              control. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                          objects to
                                                                                   to this
                                                                                      this Request
                                                                                           Request toto the
                                                                                                        the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                           information responsive
                                                        responsive to to this
                                                                          this Request.
                                                                               Request. Plaintiff
                                                                                          Plaintiff further
                                                                                                    further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                          it seeks
                                             seeks matters
                                                   matters immune
                                                            immune fromfrom discovery
                                                                              discovery under
                                                                                         under either
                                                                                                 either the
                                                                                                        the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                              product doctrine,
                                                       doctrine, or
                                                                  or any
                                                                     any other
                                                                           other privilege,
                                                                                 privilege, immunity,
                                                                                             immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REOUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff does not possess
                                                                   does not possess any
                                                                                    any responsive
                                                                                        responsive



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documents.
documents.

REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 16:
                                16:



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                                                        -7
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         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as  as vague,
                                                          vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                               overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                         burden or or expense
                                                       expense of  of the
                                                                      the discovery
                                                                           discovery outweighs
                                                                                        outweighs itsits likely    benefit.
                                                                                                         likely benefit.
Plaintiff further
Plaintiff  further objects
                   objects toto the
                                 the extent
                                     extent this
                                               this Request
                                                     Request seeks
                                                                seeks aa concession
                                                                          concession that
                                                                                        that evidence
                                                                                             evidence of of degradation
                                                                                                             degradation
can be
can  be seen
        seen byby the
                   the naked
                        naked eye.
                                 eye. Plaintiff
                                        Plaintiff further
                                                    further objects
                                                               objects to
                                                                        to this
                                                                            this Request
                                                                                 Request onon grounds
                                                                                                grounds that
                                                                                                           that the
                                                                                                                  the term
                                                                                                                       term
“particulate” and
"particulate"    and "dark
                      “dark matter"
                               matter” areare undefined.
                                                undefined. Plaintiff
                                                                Plaintiff further   objects to
                                                                           further objects    to the
                                                                                                  the use
                                                                                                       use ofof the
                                                                                                                 the term
                                                                                                                       term
“Regarding,” in
"Regarding,"    in this
                   this Request
                        Request on  on grounds
                                        grounds that
                                                   that it
                                                         it is
                                                            is overbroad,
                                                               overbroad, vague,
                                                                             vague, ambiguous,
                                                                                     ambiguous, and and impermissibly
                                                                                                         impermissibly
seeks information
seeks  information notnot relevant
                          relevant to  to any
                                           any claims
                                                 claims oror defenses
                                                               defenses ofof any
                                                                              any party.
                                                                                  party. Plaintiff
                                                                                          Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto
this Request    on  grounds    that  it is  duplicative     of  Request    No.  11. Plaintiff   further
this Request on grounds that it is duplicative of Request No. 11. Plaintiff further objects to this      objects    to  this
Request to
Request    to the
              the extent
                  extent that
                          that the
                                 the burden
                                      burden or  or expense
                                                     expense of  of the
                                                                    the requested
                                                                         requested discovery
                                                                                     discovery outweighs
                                                                                                  outweighs its  its likely
                                                                                                                     likely
benefit, and/or
benefit,  and/or that
                  that the
                       the information
                            information is   is already
                                                already in in Defendant's
                                                               Defendant’s possession,
                                                                               possession, custody,
                                                                                             custody, and/or
                                                                                                        and/or control.
                                                                                                                   control.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                        Request to  to the
                                                        the extent
                                                             extent Plaintiff
                                                                      Plaintiff has
                                                                                 has already
                                                                                      already provided
                                                                                                provided information
                                                                                                             information
responsive to
responsive    to this
                 this Request.
                      Request. Plaintiff
                                   Plaintiff further
                                               further objects
                                                         objects toto this
                                                                       this Request
                                                                             Request toto the
                                                                                          the extent
                                                                                               extent it  seeks matters
                                                                                                       it seeks    matters
immune from
immune    from discovery
                 discovery under
                             under either
                                      either the
                                              the attorney-client
                                                   attorney-client privilege
                                                                       privilege and/or
                                                                                  and/or the
                                                                                          the work
                                                                                               work product
                                                                                                     product doctrine,
                                                                                                                 doctrine,
or any
or any other
        other privilege,
               privilege, immunity,
                           immunity, or    or protection.
                                              protection. Plaintiff
                                                              Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent this
                                                                                                            this Request
                                                                                                                   Request
seeks premature
seeks premature expert
                    expert testimony.
                            testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in the recall; and Documents     sufficient  to  show when   and how  You  became
participate in the recall; and Documents sufficient to show when and how You became aware of    aware  of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REOUEST 18: All
            All Documents
                Documents Regarding
                          Regarding Your
                                    Your registration,
                                         registration, if
                                                       if any,
                                                          any, for
                                                               for the
                                                                   the Philips
                                                                       Philips RS
                                                                               RS repair or
                                                                                  repair or


                                                           -8
                                                            8-
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replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant   seeks  materials  that  are within  its possession,   custody,    and/or
Defendant seeks materials that are within its possession, custody, and/or control.   control.   Plaintiff
                                                                                                Plaintiff  further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant to to any
                                                                              any claims
                                                                                   claims oror defenses
                                                                                                defenses ofof any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request  includes but
                                                                           but is
                                                                                is not
                                                                                   not limited  to the
                                                                                        limited to the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in  Paragraphs
                                                                                         in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring C CSAC.
                                       SAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,


                                                      - 99 -
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immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                  physician-patient privilege.
                                                                       privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                 further objects
                                                                                                          objects to
                                                                                                                   to this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                               Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                     objects to
                                                                                                             to the
                                                                                                                the scope
                                                                                                                    scope
of this
of  this Request
         Request to to the
                       the extent
                            extent it  it seeks
                                          seeks information
                                                   information not not relevant
                                                                       relevant to to any
                                                                                       any claims
                                                                                             claims or
                                                                                                     or defenses   of any
                                                                                                         defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs costs does
                                                           does not
                                                                 not put
                                                                      put present
                                                                          present physical
                                                                                     physical condition     at issue.
                                                                                                 condition at          See
                                                                                                               issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.  Elec. Corp.,
                                            Corp., 522522 S.E.2d    424,430 (W.Va.
                                                           S.E.2d 424,430     (W.Va. 1999)
                                                                                         1999) (citations
                                                                                                 (citations omitted)
                                                                                                            omitted) (the
                                                                                                                       (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in  in risk
                                                risk that
                                                      that requires
                                                           requires one
                                                                      one to
                                                                           to incur
                                                                               incur the
                                                                                      the cost
                                                                                            cost of
                                                                                                 of monitoring);
                                                                                                     monitoring); Meyer
                                                                                                                   Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                           714, 716716 (Mo.
                                                        (Mo. 2007);
                                                               2007); Exxon
                                                                       Exxon Mobil
                                                                                Mobil Corp.
                                                                                         Corp. v.  Albright, 71
                                                                                                v. Albright,     A.3d 30,
                                                                                                              71 A.3d   30,
75-77   (Md.  2013)   (exposure      itself   and   the  need  for  medical  testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable   is the compensable     injury
                                                                                                               injury  in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                    Sadler v.     PacifiCare of
                                               v. PacifiCare    of Nev.,
                                                                   Nev., Inc.,  340 P.3d,
                                                                         Inc., 340    P.3d, 264,
                                                                                             264, 1270-72
                                                                                                   1270-72 (Nev.
                                                                                                             (Nev. 2014)
                                                                                                                    2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act  act ofof the
                                                     the defendant
                                                          defendant caused
                                                                      caused thethe plaintiff
                                                                                     plaintiff to
                                                                                                to have
                                                                                                    have aa medical
                                                                                                            medical need
                                                                                                                      need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.      Firestone Tire
                                           v. Firestone     Tire && Rubber
                                                                     Rubber Co.,     863 P.2d
                                                                                Co., 863    P.2d 795,
                                                                                                  795, 823   (Cal. 1993).
                                                                                                        823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                            privilege as
                                                                       as to
                                                                          to any
                                                                             any medical
                                                                                    medical condition
                                                                                              condition for   his medical
                                                                                                          for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                         since Plaintiff
                                                  Plaintiff is
                                                             is not
                                                                not claiming
                                                                    claiming present
                                                                                present physical
                                                                                           physical injury
                                                                                                      injury in
                                                                                                             in this
                                                                                                                this case.
                                                                                                                     case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is  is the
                                              the significant
                                                   significant exposure,
                                                                 exposure, increased
                                                                             increased riskrisk of
                                                                                                 of disease
                                                                                                    disease and
                                                                                                             and medical
                                                                                                                  medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and and thethe economic
                                                      economic loss     associated therewith.
                                                                   loss associated     therewith. Plaintiff
                                                                                                      Plaintiff and
                                                                                                                and class
                                                                                                                     class
members base
members    base their
                 their claims
                        claims onlyonly onon their
                                              their significant
                                                     significant exposure
                                                                   exposure toto the
                                                                                  the proven
                                                                                      proven hazardous
                                                                                                hazardous Foam
                                                                                                            Foam Toxins
                                                                                                                   Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                      the Recalled
                                            Recalled Devices.
                                                        Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request  includes   but is  not limited  to any  “testing  and  screening;  blood   and  laboratory
request includes but is not limited to any "testing and screening; blood and laboratory tests;        tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it
                                                              it seeks
                                                                 seeks matters
                                                                        matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other     privilege,
                                                                                                  other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); Meyer
                                                                                                              Meyer



                                                           -- 10
                                                              10
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v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220    S.W.3d 712,
                                  712, 714,    716 (Mo.
                                         714, 716    (Mo. 2007);
                                                            2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.              71 A.3d
                                                                                               Albright, 71
                                                                                            v. Albright,      A.3d
30, 75-77
30,  75-77 (Md.
            (Md. 2013)     (exposure itself
                   2013) (exposure            and the
                                       itself and   the need
                                                        need for
                                                               for medical
                                                                   medical testing
                                                                             testing is
                                                                                     is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                            injury
in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                                v. PacifiCare    of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,   264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.   Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,          P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                           physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                             risk of
                                                                                                  of disease
                                                                                                      disease and
                                                                                                               and
medical necessity
medical    necessity of
                      of diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated   therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and
class members
class  members base
                  base their
                        their claims
                              claims only
                                       only on
                                             on their
                                                 their significant
                                                        significant exposure
                                                                     exposure toto the
                                                                                   the proven
                                                                                        proven hazardous
                                                                                                hazardous Foam
                                                                                                             Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                 Recalled Devices.
                                                             Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                    to any
                                                                                                        any
treatment  and/or  testing  prescribed  to You   by  a Health  Care   Provider   even if  unrelated
treatment and/or testing prescribed to You by a Health Care Provider even if unrelated to the        to the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited
                                                          limited to
                                                                   to any
                                                                      any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                     blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,
                                                                                 endoscopies, and
                                                                                                and other
                                                                                                      other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical andand
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                           Request as   as vague,
                                                             vague, unduly
                                                                      unduly burdensome,
                                                                                 burdensome, overbroad,
                                                                                                    overbroad, irrelevant,
                                                                                                                    irrelevant,
cumulative,     and/or   because     the  burden    or   expense    of  the   discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.           its  likely   benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                        Request to to the
                                                      the extent
                                                            extent it
                                                                    it seeks
                                                                       seeks matters
                                                                               matters immune
                                                                                         immune from from discovery
                                                                                                            discovery underunder
either the
either  the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or the the work
                                                                 work product
                                                                        product doctrine,
                                                                                    doctrine, or or any
                                                                                                      any other      privilege,
                                                                                                            other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                         privilege. Plaintiff
                                                                                       Plaintiff further
                                                                                                   further objects
                                                                                                              objects to to this
                                                                                                                             this
Request on
Request    on grounds
               grounds that
                         that it
                               it violates
                                   violates Plaintiffs
                                              Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                      privacy. Plaintiff
                                                                                  Plaintiff further
                                                                                             further objects
                                                                                                       objects to to the
                                                                                                                     the scope
                                                                                                                           scope
of this
of  this Request
         Request to to the
                        the extent
                             extent it it seeks
                                          seeks information
                                                  information not  not relevant
                                                                         relevant toto any
                                                                                        any claims
                                                                                              claims or or defenses
                                                                                                            defenses of  of any
                                                                                                                             any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                    monitoring costs
                                                   costs does
                                                           does not
                                                                  not put
                                                                       put present
                                                                            present physical
                                                                                      physical condition
                                                                                                   condition at  at issue.
                                                                                                                    issue. See
                                                                                                                             See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.  Elec. Corp.,    522 S.E.2d
                                            Corp., 522              424,430 (W.Va.
                                                           S.E.2d 424,430       (W.Va. 1999)
                                                                                           1999) (citations      omitted) (the
                                                                                                   (citations omitted)       (the
injury in
injury  in question
            question isis the
                          the increase
                               increase in  in risk
                                               risk that
                                                     that requires
                                                            requires one
                                                                       one to
                                                                            to incur
                                                                                incur the
                                                                                        the cost
                                                                                             cost of
                                                                                                   of monitoring);
                                                                                                       monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220     S.W.3d 712, 712, 714,
                                             714, 716     (Mo. 2007);
                                                   716 (Mo.       2007); Exxon
                                                                           Exxon Mobil
                                                                                    Mobil Corp.
                                                                                             Corp. v.    Albright, 71
                                                                                                      v. Albright,     71 A.3d
                                                                                                                            A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                            (exposure itself
                                           itself and
                                                  and thethe need
                                                               need for   medical testing
                                                                     for medical     testing is
                                                                                              is the
                                                                                                  the compensable
                                                                                                       compensable injury injury
in aa medical
in    medical monitoring
                monitoring claim);
                               claim); Sadler
                                           Sadler v.    PacifiCare of
                                                    v. PacifiCare      of Nev.,
                                                                           Nev., Inc.,    340 P.3d,
                                                                                  Inc., 340    P.3d, 264,
                                                                                                       264, 1270-72
                                                                                                              1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the the negligent
                                       negligent actact of
                                                         of the
                                                              the defendant
                                                                  defendant caused
                                                                                caused thethe plaintiff
                                                                                              plaintiff to
                                                                                                         to have
                                                                                                             have aa medical
                                                                                                                       medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); PotterPotter v.   Firestone Tire
                                                  v. Firestone      Tire && Rubber
                                                                               Rubber Co.,Co., 863    P.2d 795,
                                                                                               863 P.2d              823 (Cal.
                                                                                                              795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                               waived the the physician-patient
                                               physician-patient privilege
                                                                       privilege asas to
                                                                                       to any
                                                                                           any medical
                                                                                               medical condition
                                                                                                           condition for for his
                                                                                                                              his
medical monitoring
medical    monitoring claims
                         claims in     this case
                                    in this       since Plaintiff
                                             case since    Plaintiff is
                                                                      is not  claiming present
                                                                         not claiming      present physical
                                                                                                     physical injury
                                                                                                                 injury in   this
                                                                                                                          in this
case. The
case.        injury that
       The injury     that Plaintiff
                            Plaintiff claims
                                         claims is is the
                                                       the significant
                                                             significant exposure,
                                                                           exposure, increased
                                                                                          increased risk
                                                                                                       risk ofof disease
                                                                                                                  disease andand
medical necessity
medical    necessity ofof diagnostic
                           diagnostic testing
                                          testing and
                                                    and the
                                                          the economic
                                                                economic loss      associated therewith.
                                                                             loss associated     therewith. Plaintiff
                                                                                                                 Plaintiff and
                                                                                                                             and
class members
class  members basebase their
                         their claims
                                 claims only
                                           only on
                                                 on their
                                                      their significant
                                                              significant exposure
                                                                            exposure to  to the
                                                                                            the proven
                                                                                                proven hazardous
                                                                                                           hazardous Foam  Foam



                                                             - 11
                                                             -11
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Toxins released by
Toxins released by PE-PUR
                   PE-PUR foam in the
                          foam in the Recalled
                                      Recalled Devices.
                                               Devices.

REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A  claim   for  medical     monitoring        costs  does  not   put  present    physical
party. A claim for medical monitoring costs does not put present physical condition at issue. See   condition      at issue.  See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of
                                                             of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                 outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it seeks matters
                                                             it seeks  matters immune
                                                                               immune fromfrom discovery
                                                                                                 discovery under
                                                                                                             under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                         privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                  privilege. Plaintiff
                                                                             Plaintiff further
                                                                                        further objects
                                                                                                  objects toto this
                                                                                                               this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                      right to
                                                            to privacy.
                                                                privacy. Plaintiff
                                                                         Plaintiff further
                                                                                   further objects
                                                                                            objects toto the
                                                                                                         the scope
                                                                                                             scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not
                                                            not relevant
                                                                  relevant to
                                                                           to any
                                                                              any claims
                                                                                    claims oror defenses
                                                                                                 defenses ofof any
                                                                                                               any



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 285 of 654




party. A
party. A claim
          claim for
                  for medical
                      medical monitoring
                                  monitoring costscosts does
                                                         does not
                                                               not put
                                                                    put present
                                                                        present physical
                                                                                   physical condition
                                                                                              condition atat issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                   Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430                1999) (citations
                                                                            (W.Va. 1999)                  omitted) (the
                                                                                               (citations omitted)   (the
injury in
injury in question
           question isis the
                         the increase
                               increase inin risk
                                              risk that
                                                    that requires
                                                         requires one
                                                                    one to
                                                                         to incur   the cost
                                                                             incur the    cost of
                                                                                               of monitoring);
                                                                                                  monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                         714, 716     (Mo. 2007);
                                                 716 (Mo.            Exxon Mobil
                                                            2007); Exxon      Mobil Corp.
                                                                                       Corp. v.  Albright, 71
                                                                                              v. Albright,     A.3d 30,
                                                                                                            71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure       itself and
                                            and the
                                                  the need   for medical
                                                       need for   medical testing
                                                                           testing is is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                             injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                        claim); Sadler          PacifiCare ofNev.,
                                             v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                       Inc., 340   P.3d, 264,
                                                                                           264, 1270-72
                                                                                                 1270-72 (Nev.
                                                                                                           (Nev. 2014)
                                                                                                                  2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent actact ofof the
                                                   the defendant
                                                        defendant caused
                                                                    caused thethe plaintiff
                                                                                   plaintiff to
                                                                                              to have
                                                                                                 have aa medical
                                                                                                          medical need
                                                                                                                    need
to undergo    monitoring);      Potter   v.  Firestone    Tire  &  Rubber     Co., 863    P.2d
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).   795,  823  (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                   physician-patient privilege
                                                          privilege as
                                                                     as to
                                                                        to any
                                                                           any medical
                                                                                 medical condition
                                                                                            condition for   his medical
                                                                                                        for his medical
monitoring claims
monitoring    claims inin this
                           this case   since Plaintiff
                                 case since     Plaintiff is
                                                          is not
                                                              not claiming    present physical
                                                                  claiming present       physical injury
                                                                                                    injury in this case.
                                                                                                           in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is    the significant
                                        is the   significant exposure,
                                                               exposure, increased
                                                                           increased risk     of disease
                                                                                         risk of           and medical
                                                                                                  disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing       and thethe economic
                                                    economic loss     associated therewith.
                                                                 loss associated     therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                              and class
                                                                                                                   class
members base
members    base their
                 their claims     only on
                        claims only     on their
                                            their significant
                                                   significant exposure
                                                                exposure to to the
                                                                               the proven
                                                                                    proven hazardous
                                                                                             hazardous Foam
                                                                                                          Foam Toxins
                                                                                                                 Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                          Recalled Devices.
                                                      Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.


REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                              outweighs its   its likely  benefit.
                                                                                                                  likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects   to  this    Request     to the extent   it seeks   matters    immune       from    discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or   or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                        privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                                further objects
                                                                                                           objects toto the
                                                                                                                        the scope
                                                                                                                            scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                 claims or or defenses
                                                                                                                defenses ofof any
                                                                                                                               any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                     condition at   at issue.
                                                                                                                       issue. See
                                                                                                                               See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                       omitted) (the
                                                                                                      (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost ofof monitoring);
                                                                                                          monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.    Albright, 71
                                                                                                    v. Albright,         A.3d 30,
                                                                                                                      71 A.3d   30,
75-77  (Md.   2013)   (exposure       itself   and   the  need  for  medical    testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable      is the  compensable         injury
                                                                                                                       injury  in
                                                                                                                               in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                     (Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff to to have
                                                                                                         have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d       795, 823823 (Cal.   1993).
                                                                                                                     (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                  condition for       his medical
                                                                                                                 for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                            injury in   this case.
                                                                                                                     in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk       of disease
                                                                                               risk of    disease andand medical
                                                                                                                          medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and class
                                                                                                                             class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                    hazardous Foam Foam Toxins
                                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.



                                                               -- 13
                                                                  13
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       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare     of Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to   to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REQUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the



                                                              -- 14
                                                                 14
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injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                  injury in  this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes  but is not limited to Documents   Regarding   the costs associated  with Your  “need
includes but is not limited to Documents Regarding the costs associated with Your "need to incurto incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                     privilege, and/or
                                                                                  and/or because
                                                                                           because thethe burden
                                                                                                            burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                           objects toto this
                                                                                        this Request
                                                                                              Request to to the
                                                                                                             the extent
                                                                                                                  extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                     yet know
                                                                         know "all
                                                                                 “all damages"
                                                                                      damages” suffered
                                                                                                    suffered because
                                                                                                               because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                     testimony, such
                                                                                   such as
                                                                                         as the
                                                                                             the medical
                                                                                                  medical necessity
                                                                                                              necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, and and consultations,      because of
                                                                         consultations, because        of the
                                                                                                           the defect.
                                                                                                                 defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                       extent it
                                                                               it seeks
                                                                                  seeks information
                                                                                         information not  not relevant
                                                                                                               relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects   to this
                                                                  objects to  this Request
                                                                                    Request to to the
                                                                                                  the extent
                                                                                                       extent it   seeks
                                                                                                                it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                             privilege and/or
                                                                                         and/or thethe work
                                                                                                        work product
                                                                                                                product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                           damages thatthat Plaintiff
                                                                                             Plaintiff claims
                                                                                                        claims is  is the
                                                                                                                      the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                  and class
                                                                                      class members'
                                                                                              members’ significant
                                                                                                           significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foam foam inin the
                                                                                             the Recalled
                                                                                                 Recalled Devices.
                                                                                                              Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29



                                                         -- 15
                                                            15
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        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent   it seeks
                                                                                                 extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMMCCARTYBRIAN00000001 --
                                                     see MMMCCARTYBRIAN00000001
MMMCCARTYBRIAN00000002
MMMCCARTYBRIAN00000002

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens
burdens onon  Plaintiff
              Plaintiff which   substantially  outweighs    its likely  benefit.
                        which substantially outweighs its likely benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REQUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.




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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                                the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product  doctrine,  or any  other privilege,
product doctrine, or any other privilege,    immunity,
                                             immunity,     or
                                                           or  protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                           unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative,   and/or  because   the  burden  or  expense  of  the  discovery outweighs    its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.       benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds   that it
                                                 grounds that   it seeks
                                                                   seeks matters
                                                                         matters immune
                                                                                  immune fromfrom discovery
                                                                                                    discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                  the work
                                                      work product
                                                              product doctrine,
                                                                        doctrine, or
                                                                                   or any
                                                                                      any other
                                                                                            other privilege,
                                                                                                    privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                 objects to
                                                         to this
                                                             this Request
                                                                  Request to
                                                                           to the
                                                                               the extent  that information
                                                                                   extent that   information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                       by Plaintiff.
                                                           Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.




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REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary    difficulties of this  Request  are  compounded    by  the  fact that Defendant  seeks
unnecessary difficulties of this Request are compounded by the fact that Defendant seeks materials   materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because    the burden   or  expense   of the discovery     outweighs
and/or because the burden or expense of the discovery outweighs its likely   its likely  benefit.
                                                                                         benefit.  Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                  objects toto this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.



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                                                          18
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REQUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative,   and/or  because   the burden or  expense   of the discovery   outweighs   its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.     benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REQUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in the last five  years, including documents sufficient to show  the frequency  of such
participated in the last five years, including documents sufficient to show the frequency of such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                      monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                           burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of of the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                    outweighs its its likely  benefit.
                                                                                                      likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it   seeks matters
                                                               it seeks  matters immune
                                                                                  immune fromfrom discovery
                                                                                                    discovery under
                                                                                                                under
either  the  attorney-client    privilege    and/or  the   work    product   doctrine,    or
either the attorney-client privilege and/or the work product doctrine, or any other privilege,any   other   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                             physician-patient privilege.
                                                                    privilege. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                 privacy. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto the
                                                                                                            the scope
                                                                                                                scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not not relevant
                                                                   relevant toto any
                                                                                 any claims
                                                                                       claims oror defenses
                                                                                                    defenses ofof any
                                                                                                                  any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                  put present
                                                                       present physical
                                                                                physical condition
                                                                                           condition at at issue.
                                                                                                           issue. See
                                                                                                                   See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d    424,430 (W.Va.
                                                      S.E.2d 424,430               1999) (citations
                                                                          (W.Va. 1999)                  omitted) (the
                                                                                           (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires oneone to
                                                                       to incur  the cost
                                                                          incur the   cost of
                                                                                           of monitoring);
                                                                                               monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                              716 (Mo.   2007); Exxon
                                                                   Exxon Mobil
                                                                           Mobil Corp.
                                                                                   Corp. v.  Albright, 71
                                                                                          v. Albright,       A.3d 30,
                                                                                                         71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure      itself and
                                          and the
                                               the need   for medical
                                                    need for  medical testing
                                                                         testing is
                                                                                  is the
                                                                                     the compensable
                                                                                         compensable injuryinjury in
                                                                                                                  in aa
medical monitoring
medical   monitoring claim);     Sadler v.
                       claim); Sadler        PacifiCare of
                                          v. PacifiCare    of Nev.,
                                                              Nev., Inc.,  340 P.3d,
                                                                     Inc., 340  P.3d, 264,
                                                                                       264, 1270-72
                                                                                              1270-72 (Nev.     2014)
                                                                                                         (Nev. 2014)



                                                        -- 19
                                                           19
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(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact of
                                              of the
                                                 the defendant
                                                     defendant caused
                                                                 caused thethe plaintiff
                                                                               plaintiff to
                                                                                         to have
                                                                                            have aa medical
                                                                                                    medical need
                                                                                                             need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone   Tire && Rubber
                                                                Rubber Co.,    863 P.2d
                                                                          Co., 863  P.2d 795,
                                                                                           795, 823  (Cal. 1993).
                                                                                                823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                       privilege as
                                                                  as to
                                                                     to any
                                                                        any medical
                                                                              medical condition
                                                                                       condition for  his medical
                                                                                                  for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                              Plaintiff is
                                                        is not
                                                           not claiming
                                                               claiming present
                                                                           present physical
                                                                                    physical injury
                                                                                              injury in
                                                                                                     in this
                                                                                                        this case.
                                                                                                             case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                               significant exposure,
                                                            exposure, increased
                                                                        increased risk
                                                                                    risk of
                                                                                         of disease
                                                                                            disease and
                                                                                                     and medical
                                                                                                          medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and the
                                             the economic
                                                  economic loss    associated therewith.
                                                             loss associated     therewith. Plaintiff
                                                                                              Plaintiff and
                                                                                                        and class
                                                                                                             class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                 significant exposure
                                                             exposure to to the
                                                                            the proven
                                                                                proven hazardous
                                                                                        hazardous Foam
                                                                                                    Foam Toxins
                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                    Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                     /s/ Kelly
                                                          /s/ Kelly K
                                                                    K. Iverson
                                                                       Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                              Kelly K.
                                                          Kelly  K. Iverson,
                                                                    Iverson, Esquire
                                                                              Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
                       BERMAN LLP                         LYNCH CARPENTER,
                                                          LYNCH      CARPENTER, LLP    LLP
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 sduggan@lfsblaw.com
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                                /s/ Steven
                                                          /s/ Steven A.
                                                                     A. Schwartz
                                                                        Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                         Steven  A. Schwartz,
                                                          Steven A.  Schwartz, Esquire
                                                                               Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                  CHIMICLES       SCHWARTZ 'MINER
                                                          CHIMICLES SCHWARTZ           KRINER &
                                                                                              &
                        th
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                                    Counsel for Plaintiffs
                                    Counselfor  Plaintiffs and
                                                           and the
                                                               the Class
                                                                   Class




                                                      -- 20
                                                         20
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                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

BRIAN MCCARTY'S
BRIAN MCCARTY’S AMENDED
                AMENDED RESPONSES
                        RESPONSES AND
                                  AND OBJECTIONS
                                      OBJECTIONS TO PHILIPS RS'
                                                 TO PHILIPS RS’ FIRST
                                                                FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following
                                      following recipients:
                                                recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
                           MORGAN,    LEWIS &
                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
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                                 Wendy         Feinstein
                                          West Feinstein
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                                 Counselfor  Defendant Philips
                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

                                    Michael H.
                                    Michael H. Steinberg
                                                Steinberg
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                                            CROMWELL LLP   LLP
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                                   William B. Monahan
                                              Monahan
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                                               Street
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                           Counsel for Defendants
                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 294 of 654




                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                       FRANKLIN &   & PROKOPIK
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 295 of 654




                   EXHIBIT M
                   EXHIBIT M
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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 PLAINTIFFSUSAN  BAKAITIS’ THIRD
 PLAINTIFFSUSAN BAKAITIS'          AMENDED RESPONSES
                            THIRD AMENDED  RESPONSES AND
                                                     AND OBJECTIONS
                                                         OBJECTIONS
             TO
             TO PHILIPS RS’ FIRST
                PHILIPS RS'       REQUEST FOR
                            FIRST REQUEST FOR PRODUCTION
                                              PRODUCTION
          OF DOCUMENTS
          OF DOCUMENTS TOTO MEDICAL
                             MEDICAL MONITORING
                                      MONITORING PLAINTIFFS
                                                 PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,  model number,
                                                          name, model            and serial
                                                                       number, and   serial number
                                                                                            number
of each
of      and every
   each and every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,  and the
                                                                                    it, and the date
                                                                                                date
on which
on which You
          You no  longer had
               no longer     possession of
                         had possession  of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Susan
         Plaintiff         Bakaitis ("Plaintiff')
                   Susan Bakaitis     (“Plaintiff”) objects   to this
                                                     objects to   this Request
                                                                       Request onon grounds    that it
                                                                                      grounds that   it is
                                                                                                        is vague,
                                                                                                           vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                       irrelevant, cumulative,
                                                   cumulative, and/or
                                                                   and/or because
                                                                           because the
                                                                                     the burden
                                                                                         burden oror expense
                                                                                                      expense ofof
the discovery
the  discovery outweighs
                outweighs itsits likely
                                 likely benefit.
                                         benefit. Plaintiff
                                                  Plaintiff further
                                                            further objects
                                                                      objects to
                                                                               to this
                                                                                  this Request
                                                                                       Request toto the
                                                                                                    the extent
                                                                                                         extent it
                                                                                                                 it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery      under either
                                                      either the
                                                             the attorney-client
                                                                  attorney-client privilege
                                                                                    privilege and/or
                                                                                               and/or the
                                                                                                        the work
                                                                                                             work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                 immunity, oror protection.
                                                                 protection. Plaintiff
                                                                               Plaintiff further  objects to
                                                                                         further objects    to the
                                                                                                               the
term "Acquired"
term   “Acquired” because
                    because as as defined
                                  defined itit seeks
                                               seeks to
                                                     to obtain
                                                         obtain information
                                                                 information notnot relevant
                                                                                     relevant to
                                                                                              to any
                                                                                                  any claims
                                                                                                        claims or
                                                                                                                or
defenses of
defenses   of any
              any party.
                   party. Plaintiff
                          Plaintiff further
                                    further objects
                                              objects on
                                                      on grounds
                                                          grounds that
                                                                     that this
                                                                          this Request
                                                                               Request seeks
                                                                                        seeks information
                                                                                               information that
                                                                                                              that
is already
is already in
            in Defendant's
               Defendant’s possession,
                              possession, custody,
                                             custody, and/or
                                                       and/or control.
                                                               control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMBAKAITISSUSAN00000001-
                                                     see MMBAKAITISSUSAN00000001-
MMBAKAITISSUSAN00000005.
MMBAKAITISSUSAN00000005.

REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMBAKAITISSUSAN00000001-
                                                     see MMBAKAITISSUSAN00000001-
MMBAKAITISSUSAN00000003.
MMBAKAITISSUSAN00000003.

AMENDED REOUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMBAKAITISSUSAN00000001-
                                                     see MMBAKAITISSUSAN00000001-
MMBAKAITISSUSAN00000003.
MMBAKAITISSUSAN00000003.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly        burdensome, overbroad,
                                                                        unduly burdensome,                              irrelevant,
                                                                                                       overbroad, irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


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                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit
             limit the
                   the scope
                        scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product   doctrine, or
                     or any
                         any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in
                                                                                         in this
                                                                                            this Request
                                                                                                  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from the
                                                                                               the
Recalled Device.
Recalled Device.

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMBAKAITISSUSAN00000001-
                                                     see MMBAKAITISSUSAN00000001-
MMBAKAITISSUSAN00000003.
MMBAKAITISSUSAN00000003.

REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


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                                                        -7
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Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                        concession that
                                                                                      that evidence
                                                                                           evidence of of degradation
                                                                                                           degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                             objects to
                                                                      to this
                                                                          this Request
                                                                               Request onon grounds
                                                                                              grounds that
                                                                                                         that the
                                                                                                               the term
                                                                                                                    term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to the
                                                                                                the use
                                                                                                    use of of the
                                                                                                              the term
                                                                                                                    term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                       it is
                                                          is overbroad,
                                                             overbroad, vague,
                                                                           vague, ambiguous,
                                                                                   ambiguous, and and impermissibly
                                                                                                       impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims    or defenses
                                                claims or    defenses ofof any
                                                                            any party.
                                                                                party. Plaintiff
                                                                                        Plaintiff further
                                                                                                   further objects
                                                                                                             objects toto
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                              Request No.No. 11.
                                                                              11. Plaintiff
                                                                                  Plaintiff further
                                                                                              further objects
                                                                                                       objects toto this
                                                                                                                     this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of of the
                                                                   the requested
                                                                       requested discovery
                                                                                   discovery outweighs
                                                                                                outweighs its its likely
                                                                                                                  likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                             possession, custody,
                                                                                           custody, and/or
                                                                                                      and/or control.
                                                                                                                control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                      the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                               has already
                                                                                    already provided
                                                                                              provided information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                       objects to to this
                                                                     this Request
                                                                           Request toto the
                                                                                        the extent
                                                                                             extent it  seeks matters
                                                                                                     it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                     privilege and/or
                                                                                and/or the
                                                                                        the work
                                                                                             work product
                                                                                                   product doctrine,
                                                                                                              doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                       further objects
                                                                                objects to
                                                                                         to the
                                                                                            the extent
                                                                                                 extent this
                                                                                                          this Request
                                                                                                                Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.



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                                                          8-
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information     not relevant    to any  claims   or  defenses
                                            information not relevant to any claims or defenses of          of any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as  as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,   and/or because   the burden    or  expense    of the  discovery   outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties ofof this
                                                          this Request
                                                               Request areare compounded
                                                                               compounded by by the
                                                                                                  the fact
                                                                                                      fact that
                                                                                                           that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available toto it.
                                                               it. Plaintiff
                                                                   Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                             to the
                                                                                                 the use
                                                                                                     use of
                                                                                                         of the
                                                                                                            the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in     this Request
                                                    in this Request on on grounds
                                                                           grounds that
                                                                                    that they
                                                                                         they are
                                                                                               are overbroad,
                                                                                                    overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek      information not not relevant  to any
                                                                      relevant to  any claims
                                                                                       claims or
                                                                                               or defenses
                                                                                                   defenses of
                                                                                                             of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                  Request to to the
                                                                 the extent
                                                                     extent it
                                                                             it seeks
                                                                                seeks matters
                                                                                      matters immune
                                                                                                immune from
                                                                                                          from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                           and/or the
                                                                   the work
                                                                        work product
                                                                              product doctrine,   or any
                                                                                       doctrine, or  any other
                                                                                                          other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REQUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in
                                                                                         in Paragraphs
                                                                                            Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                 this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs itsits likely  benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it  seeks matters
                                                           it seeks  matters immune
                                                                             immune fromfrom discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                         any other
                                                                                              other privilege,
                                                                                                      privilege,
immunity, or
immunity,    or protection,
                protection, including
                              including physician-patient
                                          physician-patient privilege.
                                                                privilege. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                      that it
                           it violates
                               violates Plaintiffs
                                        Plaintiff’s right
                                                    right to
                                                          to privacy.
                                                             privacy. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects
                                                                                          objects to
                                                                                                   to the
                                                                                                      the scope
                                                                                                          scope


                                                      - 99 -
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of this
of  this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                           Corp., 522522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430     (W.Va. 1999)
                                                                                        1999) (citations
                                                                                                (citations omitted)
                                                                                                           omitted) (the
                                                                                                                      (the
injury in
injury  in question
           question isis the
                         the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur
                                                                              incur the
                                                                                     the cost
                                                                                           cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716716 (Mo.
                                                       (Mo. 2007);
                                                             2007); Exxon
                                                                      Exxon Mobil
                                                                               Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                             and the
                                                   the need
                                                        need for   medical testing
                                                              for medical   testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.     PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,     863 P.2d
                                                                               Co., 863    P.2d 795,
                                                                                                 795, 823   (Cal. 1993).
                                                                                                       823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                        since Plaintiff
                                                 Plaintiff is
                                                           is not
                                                               not claiming
                                                                   claiming present
                                                                               present physical
                                                                                          physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this case.
                                                                                                                    case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is is the
                                             the significant
                                                  significant exposure,
                                                                exposure, increased
                                                                            increased riskrisk of
                                                                                                of disease
                                                                                                   disease and
                                                                                                            and medical
                                                                                                                 medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing andand thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims
                        claims only
                                  only onon their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REQUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination;   biopsies;   pathologic,  histologic, and  oncologic   evaluations;  oncologic,
examination; biopsies; pathologic, histologic, and oncologic evaluations; oncologic, histologic,histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as  as vague,
                                                          vague, unduly
                                                                    unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden or or expense
                                                      expense of of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                      outweighs itsits likely   benefit.
                                                                                                       likely benefit.
Plaintiff further  objects  to this   Request    to the  extent  it seeks  matters  immune    from
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under discovery    under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or thethe work
                                                              work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                               any other     privilege,
                                                                                                     other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                      objects to to this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                       that it
                             it violates
                                violates Plaintiffs
                                            Plaintiff’s right
                                                          right to
                                                                to privacy.
                                                                    privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                objects toto the
                                                                                                             the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                                information not not relevant
                                                                      relevant to
                                                                               to any
                                                                                   any claims
                                                                                        claims oror defenses
                                                                                                     defenses of of any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costscosts does
                                                        does not
                                                               not put
                                                                    put present
                                                                         present physical
                                                                                 physical condition
                                                                                            condition at at issue.
                                                                                                            issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                  Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430               1999) (citations
                                                                            (W.Va. 1999)                 omitted) (the
                                                                                            (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                             increase in  in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                         to incur  the cost
                                                                            incur the  cost of
                                                                                            of monitoring);
                                                                                                monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712, 712, 714,
                                           714, 716
                                                 716 (Mo.     2007); Exxon
                                                       (Mo. 2007);      Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.   Albright, 71
                                                                                               v. Albright,        A.3d
                                                                                                               71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
            (Md. 2013)    (exposure itself      and the
                                         itself and   the need
                                                            need for
                                                                  for medical
                                                                       medical testing
                                                                                testing is
                                                                                        is the
                                                                                           the compensable
                                                                                                compensable injuryinjury



                                                          -- 10
                                                             10
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in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                               v. PacifiCare     of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,  264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.  Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,         P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                          physical injury
                                                                                                    injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                            risk of
                                                                                                  of disease
                                                                                                     disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated  therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                               and
class  members    base  their claims   only  on  their  significant  exposure   to the proven
class members base their claims only on their significant exposure to the proven hazardous Foam hazardous    Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                Recalled Devices.
                                                            Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,      and other
                                                                                 endoscopies, and    other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                 matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                            under
either  the   attorney-client       privilege     and/or     the   work   product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,     or   any   other   privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                    violates Plaintiffs
                                                Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                            scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                              present physical
                                                                                        physical condition
                                                                                                     condition at at issue.
                                                                                                                     issue. See
                                                                                                                              See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations     omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,    71 A.3d
                                                                                                                             A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical     testing is
                                                                                                is the
                                                                                                    the compensable
                                                                                                         compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                         264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the  the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                 Rubber Co.,Co., 863    P.2d 795,
                                                                                                 863 P.2d             823 (Cal.
                                                                                                               795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition forfor his
                                                                                                                               his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                           not claiming      present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                            increased risk
                                                                                                         risk of
                                                                                                               of disease
                                                                                                                   disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                  proven hazardous
                                                                                                             hazardous Foam Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.




                                                              - 11
                                                              -11
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REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the



                                                              -- 12
                                                                 12
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injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                  injury in  this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REQUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request   on  grounds    that  it  violates     Plaintiff’s  right to  privacy.     Plaintiff  further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope   objects   to the scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340    P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo    monitoring);      Potter      v.  Firestone    Tire  &   Rubber      Co., 863
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).  P.2d   795,    823   (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                       medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                  case since       Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                     the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.



                                                              -- 13
                                                                 13
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 310 of 654




REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last
                                            last 10
                                                 10 years
                                                    years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                   outweighs its its likely  benefit.
                                                                                                     likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects to  this  Request   to the extent  it seeks  matters  immune     from   discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                           work product
                                                                  product doctrine,
                                                                            doctrine, or or any
                                                                                             any other
                                                                                                   other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                               Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                 privacy. Plaintiff
                                                                          Plaintiff further
                                                                                     further objects
                                                                                              objects toto the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                   relevant to
                                                                             to any
                                                                                any claims
                                                                                      claims oror defenses
                                                                                                   defenses ofof any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                               physical condition
                                                                                          condition at at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430              1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                          (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur  the cost
                                                                         incur the   cost of
                                                                                          of monitoring);
                                                                                              monitoring); Meyer
                                                                                                               Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                  Corp. v.  Albright, 71
                                                                                         v. Albright,       A.3d 30,
                                                                                                        71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                          and the
                                               the need   for medical
                                                    need for  medical testing
                                                                        testing is
                                                                                 is the
                                                                                    the compensable
                                                                                        compensable injuryinjury in
                                                                                                                 in aa



                                                              -- 14
                                                                 14
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medical monitoring
medical   monitoring claim);
                       claim); Sadler
                                  Sadler v.    PacifiCare ofNev.,
                                            v. PacifiCare   of Nev., Inc.,  340 P.3d,
                                                                     Inc., 340   P.3d, 264,
                                                                                       264, 1270-72
                                                                                             1270-72 (Nev.
                                                                                                      (Nev. 2014)
                                                                                                             2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                  caused thethe plaintiff
                                                                                plaintiff to
                                                                                          to have
                                                                                             have aa medical
                                                                                                     medical need
                                                                                                              need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone    Tire && Rubber
                                                                 Rubber Co.,    863 P.2d
                                                                           Co., 863  P.2d 795,
                                                                                            795, 823  (Cal. 1993).
                                                                                                 823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege as
                                                                   as to
                                                                      to any
                                                                         any medical
                                                                               medical condition
                                                                                        condition for  his medical
                                                                                                   for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                            not claiming
                                                                claiming present
                                                                            present physical
                                                                                     physical injury
                                                                                               injury in
                                                                                                      in this
                                                                                                         this case.
                                                                                                              case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                             exposure, increased
                                                                         increased risk
                                                                                     risk of
                                                                                          of disease
                                                                                             disease and
                                                                                                      and medical
                                                                                                           medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss    associated therewith.
                                                               loss associated    therewith. Plaintiff
                                                                                               Plaintiff and
                                                                                                         and class
                                                                                                              class
members    base  their claims    only  on  their  significant exposure    to the proven  hazardous
members base their claims only on their significant exposure to the proven hazardous Foam Toxins     Foam   Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among   other places)  Paragraphs 375, 379   and  385 of the Medical  Monitoring
(among other places) Paragraphs 375, 379 and 385 of the Medical Monitoring CSAC.    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REQUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

       Plaintiff objects
       Plaintiff objects to
                          to this
                             this Request
                                  Request as as vague,
                                                 vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                             irrelevant,
cumulative, attorney
cumulative, attorney client
                      client and
                             and attorney
                                  attorney work
                                             work product
                                                   product privilege,
                                                            privilege, and/or
                                                                        and/or because
                                                                                because the
                                                                                         the burden
                                                                                              burden or
                                                                                                      or
expense of
expense of the
           the discovery
               discovery outweighs
                           outweighs its
                                      its likely
                                          likely benefit.
                                                 benefit. Plaintiff
                                                          Plaintiff further
                                                                    further objects
                                                                            objects to
                                                                                    to the
                                                                                       the scope
                                                                                           scope of
                                                                                                 of this
                                                                                                    this


                                                         -- 15
                                                            15
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Request to
Request   to the
             the extent
                  extent it
                         it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant to
                                                                to any
                                                                    any claims
                                                                         claims oror defenses
                                                                                     defenses ofof any
                                                                                                   any party.
                                                                                                         party.
Plaintiff further
Plaintiff further objects
                   objects to
                            to this
                               this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                             that information
                                                                  information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request has
                                                                                                           has
already been
already  been provided
               provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects to
                                                                     to this
                                                                        this Request
                                                                              Request to
                                                                                       to the
                                                                                          the extent  it seeks
                                                                                               extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                         privilege and/or
                                                                                    and/or the
                                                                                           the work
                                                                                                work product
                                                                                                      product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                         privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                  Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                              to this
                                                                                                 this Request
                                                                                                      Request
as duplicative
as duplicative of
                of many
                   many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REQUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request asas vague,
                                                 vague, unduly
                                                         unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                               irrelevant,
cumulative,   and/or  because  the burden  or  expense of the   discovery outweighs   its  likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.   benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds   that it
                                               grounds that  it seeks
                                                                seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                                discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                         other privilege,
                                                                                                privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 32:
                                32:




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                                                          16
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        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,    and/or because   the burden   or  expense    of the   discovery  outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REQUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                          the "express
                                              “express warranty"
                                                       warranty” or
                                                                 or "warranties"
                                                                    “warranties” referenced
                                                                                    referenced in
                                                                                               in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                              CSAC, including
                                                     including but
                                                               but not
                                                                   not limited to aa copy
                                                                       limited to    copy of
                                                                                          of such
                                                                                             such



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                                                        17
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warranty and
warranty and any
             any Communications
                 Communications Regarding
                                Regarding the
                                          the warranty.
                                              warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                          burdensome, andand cumulative.
                                                                                               cumulative. The
                                                                                                             The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                      the fact  that Defendant
                                                                           fact that Defendant seeks
                                                                                                seeks materials
                                                                                                      materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,     custody, and/or
                                                                                             and/or control.
                                                                                                    control. As
                                                                                                              As
the  manufacturer     of the   Recalled   Devices,    Defendant    is   in  the  better position
the manufacturer of the Recalled Devices, Defendant is in the better position to obtain the      to  obtain   the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                       this Request
                                                                             Request onon grounds
                                                                                          grounds that
                                                                                                   that it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                         privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                 work product
                                                                                                        product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REQUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:



                                                       -- 18
                                                          18
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         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REQUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social  media  such   as Facebook    or  Twitter), received by  mail   or other  delivery
social media such as Facebook or Twitter), received by mail or other delivery service, or  service, or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the  attorney-client   privilege and/or  the work    product   doctrine,  or  any  other
either the attorney-client privilege and/or the work product doctrine, or any other privilege,    privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties     of this
                                                                       difficulties of  this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact that Defendant
                      fact that  Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request   on  grounds   that it  violates  Plaintiff’s  right to  privacy.   Plaintiff further   objects
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope    to the scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)      (citations omitted)
                                                                                                          omitted) (the
                                                                                                                     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.   2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                            71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.     2014)
                                                                                                           (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need
to undergo
to            monitoring); Potter
   undergo monitoring);       Potter v.    Firestone Tire
                                        v. Firestone    Tire && Rubber      Co., 863
                                                                  Rubber Co.,          P.2d 795,
                                                                                 863 P.2d     795, 823
                                                                                                     823 (Cal.   1993).
                                                                                                           (Cal. 1993).



                                                          -- 19
                                                             19
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Plaintiff has
Plaintiff has not waived the
              not waived    the physician-patient
                                physician-patient privilege
                                                    privilege as
                                                               as to
                                                                  to any
                                                                     any medical
                                                                           medical condition
                                                                                    condition for  his medical
                                                                                               for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                              case since
                                    since Plaintiff
                                           Plaintiff is
                                                     is not
                                                        not claiming    present physical
                                                            claiming present     physical injury
                                                                                           injury in this case.
                                                                                                  in this case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims    is the
                             claims is  the significant
                                            significant exposure,
                                                         exposure, increased
                                                                     increased risk
                                                                                 risk of
                                                                                      of disease
                                                                                         disease and
                                                                                                  and medical
                                                                                                       medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                     and the
                                          the economic
                                               economic loss
                                                          loss associated
                                                                associated therewith.
                                                                              therewith. Plaintiff
                                                                                           Plaintiff and
                                                                                                     and class
                                                                                                          class
members base
members    base their
                their claims
                      claims only
                               only on
                                     on their
                                        their significant
                                              significant exposure
                                                          exposure to to the
                                                                         the proven
                                                                             proven hazardous
                                                                                     hazardous Foam
                                                                                                 Foam Toxins
                                                                                                        Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam inin the
                                  the Recalled
                                       Recalled Devices.
                                                 Devices.


 Dated: December
 Dated: December 14,
                 14, 2023
                     2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                   /s/ Kelly
                                                        /s/ Kelly K
                                                                  K. Iverson
                                                                     Iverson
 Sandra  L. Duggan,
 Sandra L.  Duggan, Esquire
                     Esquire                            Kelly K.
                                                        Kelly  K. Iverson,
                                                                  Iverson, Esquire
                                                                            Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
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 sduggan@lfsblaw.com
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                              /s/ Steven
                                                        /s/ Steven A.
                                                                   A. Schwartz
                                                                      Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                       Steven  A. Schwartz,
                                                        Steven A.  Schwartz, Esquire
                                                                             Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                CHIMICLES       SCHWARTZ 'MINER
                                                        CHIMICLES SCHWARTZ           KRINER &
                                                                                            &
                        th
 55 Challenger
 55  Challenger Road,
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                      07660                             361  West Lancaster
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                                   Counsel for Plaintiffs
                                   Counselfor  Plaintiffs and
                                                          and the
                                                              the Class
                                                                  Class




                                                     -- 20
                                                        20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 317 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 14,
                                           14, 2023,
                                               2023, II served
                                                        served aa true
                                                                  true and
                                                                       and correct copy of
                                                                           correct copy of PLAINTIFF
                                                                                           PLAINTIFF

SUSAN BAKAITIS’ AMENDED
SUSAN BAKAITIS' AMENDED RESPONSES
                        RESPONSES AND
                                  AND OBJECTIONS
                                      OBJECTIONS TO
                                                 TO PHILIPS
                                                    PHILIPS RS'
                                                            RS’ FIRST
                                                                FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                                                 BOCKIUS LLP
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                              Philadelphia, PA 19103-2921
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                                   RS North America,
                                             America, LLC
                                                       LLC

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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 319 of 654




                    EXHIBIT N
                    EXHIBIT N
   Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 320 of 654




                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 321 of 654



 PLAINTIFF JEFFREY BARTALO’S
 PLAINTIFF JEFFREY             AMENDED RESPONSES
                   BARTALO'S AMENDED    RESPONSES AND
                                                  AND OBJECTIONS
                                                      OBJECTIONS TO
                                                                 TO
              PHILIPS RS’ FIRST
              PHILIPS RS'       REQUEST FOR
                          FIRST REQUEST FOR PRODUCTION
                                            PRODUCTION
          OF DOCUMENTS
          OF DOCUMENTS TO TO MEDICAL
                             MEDICAL MONITORING
                                     MONITORING PLAINTIFFS
                                                 PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,  model number,
                                                          name, model            and serial
                                                                       number, and   serial number
                                                                                            number
of each
of      and every
   each and every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,  and the
                                                                                    it, and the date
                                                                                                date
on which
on which You
          You no  longer had
               no longer     possession of
                         had possession  of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Jeffrey
         Plaintiff          Bartalo ("Plaintiff")
                   Jeffrey Bartalo    (“Plaintiff”) objects
                                                    objects to
                                                             to this
                                                                 this Request
                                                                      Request onon grounds
                                                                                    grounds that
                                                                                             that it
                                                                                                   it is
                                                                                                      is vague,
                                                                                                         vague,
unduly burdensome,
unduly   burdensome, overbroad,       irrelevant, cumulative,
                        overbroad, irrelevant,                   and/or because
                                                  cumulative, and/or     because the
                                                                                   the burden
                                                                                       burden oror expense
                                                                                                    expense ofof
the discovery
the  discovery outweighs
                outweighs its    likely benefit.
                             its likely benefit. Plaintiff
                                                 Plaintiff further
                                                           further objects
                                                                     objects to
                                                                             to this
                                                                                this Request
                                                                                     Request toto the
                                                                                                  the extent
                                                                                                       extent it
                                                                                                               it
seeks matters
seeks   matters immune
                immune fromfrom discovery
                                  discovery under
                                              under either  the attorney-client
                                                     either the  attorney-client privilege
                                                                                  privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                           work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further  objects to
                                                                                       further objects    to the
                                                                                                             the
term "Acquired"
term  “Acquired” because
                    because as as defined
                                  defined it
                                           it seeks
                                              seeks to
                                                    to obtain
                                                        obtain information
                                                                information not
                                                                              not relevant
                                                                                   relevant to
                                                                                            to any
                                                                                                any claims
                                                                                                      claims or
                                                                                                              or
defenses of
defenses   of any
              any party.
                   party. Plaintiff
                          Plaintiff further
                                    further objects
                                             objects on
                                                     on grounds
                                                         grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                      seeks information
                                                                                             information that
                                                                                                            that
is already
is already in
            in Defendant's
               Defendant’s possession,
                              possession, custody,
                                            custody, and/or
                                                      and/or control.
                                                              control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMBARTALOJEFFREY00000001-
                                                     see MMBARTALOJEFFREY00000001-
MMBARTALOJEFFREY00000004.
MMBARTALOJEFFREY00000004.

REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,     MMBARTALOJEFFREY00000001-
                                                     see MMBARTALOJEFFREY00000001-
                                         objections, see
MMBARTALOJEFFREY00000002.
MMBARTALOJEFFREY00000002.

AMENDED REOUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

                                                      - 11 -
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMBARTALOJEFFREY00000001-
                                                     see MMBARTALOJEFFREY00000001-
MMBARTALOJEFFREY00000002.
MMBARTALOJEFFREY00000002.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly        burdensome, overbroad,
                                                                        unduly burdensome,                              irrelevant,
                                                                                                       overbroad, irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit
             limit the
                   the scope
                        scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product   doctrine, or
                     or any
                         any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from his
                                                                                               his
Recalled Device(s).
Recalled Device(s).

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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                                                       6-
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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


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                                                        -7
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Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                        concession that
                                                                                      that evidence
                                                                                           evidence of of degradation
                                                                                                           degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                             objects to
                                                                      to this
                                                                          this Request
                                                                               Request onon grounds
                                                                                              grounds that
                                                                                                         that the
                                                                                                               the term
                                                                                                                    term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to the
                                                                                                the use
                                                                                                    use of of the
                                                                                                              the term
                                                                                                                    term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                       it is
                                                          is overbroad,
                                                             overbroad, vague,
                                                                           vague, ambiguous,
                                                                                   ambiguous, and and impermissibly
                                                                                                       impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims    or defenses
                                                claims or    defenses ofof any
                                                                            any party.
                                                                                party. Plaintiff
                                                                                        Plaintiff further
                                                                                                   further objects
                                                                                                             objects toto
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                              Request No.No. 11.
                                                                              11. Plaintiff
                                                                                  Plaintiff further
                                                                                              further objects
                                                                                                       objects toto this
                                                                                                                     this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of of the
                                                                   the requested
                                                                       requested discovery
                                                                                   discovery outweighs
                                                                                                outweighs its its likely
                                                                                                                  likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                             possession, custody,
                                                                                           custody, and/or
                                                                                                      and/or control.
                                                                                                                control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                      the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                               has already
                                                                                    already provided
                                                                                              provided information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                       objects to to this
                                                                     this Request
                                                                           Request toto the
                                                                                        the extent
                                                                                             extent it  seeks matters
                                                                                                     it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                     privilege and/or
                                                                                and/or the
                                                                                        the work
                                                                                             work product
                                                                                                   product doctrine,
                                                                                                              doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                       further objects
                                                                                objects to
                                                                                         to the
                                                                                            the extent
                                                                                                 extent this
                                                                                                          this Request
                                                                                                                Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                              irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its  its likely   benefit.
                                                                                                         likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                     Request to to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                           information not  not relevant
                                                                                                                 relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited     to Communications
                                                                                       Communications with     with Any
                                                                                                                     Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties ofof this
                                                                                                      this Request
                                                                                                            Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                   seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                             available to  to it.
                                                                                                               it. As
                                                                                                                   As the
                                                                                                                       the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                    Defendant is   is in    the position
                                                                       in the    position to to obtain
                                                                                                 obtain information
                                                                                                            information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                           extent that
                                                                                                    that the
                                                                                                          the burden
                                                                                                               burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                        that the
                                                                                             the information       sought
                                                                                                  information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further      objects to
                                                                                             further objects       to this
                                                                                                                      this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                      responsive to   to this
                                                                                                          this Request.
                                                                                                                Request.
Plaintiff further
Plaintiff further objects  to this
                  objects to   this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune fromfrom discovery
                                                                                                       discovery under
                                                                                                                    under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, or or any
                                                                                                any other      privilege,
                                                                                                       other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.



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                                                           8-
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information     not relevant    to any  claims   or  defenses
                                            information not relevant to any claims or defenses of          of any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as  as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,   and/or because   the burden    or  expense    of the  discovery   outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties ofof this
                                                          this Request
                                                               Request areare compounded
                                                                               compounded by by the
                                                                                                  the fact
                                                                                                      fact that
                                                                                                           that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available toto it.
                                                               it. Plaintiff
                                                                   Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                             to the
                                                                                                 the use
                                                                                                     use of
                                                                                                         of the
                                                                                                            the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in     this Request
                                                    in this Request on on grounds
                                                                           grounds that
                                                                                    that they
                                                                                         they are
                                                                                               are overbroad,
                                                                                                    overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek      information not not relevant  to any
                                                                      relevant to  any claims
                                                                                       claims or
                                                                                               or defenses
                                                                                                   defenses of
                                                                                                             of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                  Request to to the
                                                                 the extent
                                                                     extent it
                                                                             it seeks
                                                                                seeks matters
                                                                                      matters immune
                                                                                                immune from
                                                                                                          from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                           and/or the
                                                                   the work
                                                                        work product
                                                                              product doctrine,   or any
                                                                                       doctrine, or  any other
                                                                                                          other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REQUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request  includes but
                                                                           but is
                                                                                is not
                                                                                   not limited  to the
                                                                                        limited to the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in  Paragraphs
                                                                                         in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring C CSAC.
                                       SAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                 this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs itsits likely  benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it  seeks matters
                                                           it seeks  matters immune
                                                                             immune fromfrom discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                         any other
                                                                                              other privilege,
                                                                                                      privilege,
immunity, or
immunity,    or protection,
                protection, including
                              including physician-patient
                                          physician-patient privilege.
                                                                privilege. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                      that it
                           it violates
                               violates Plaintiffs
                                        Plaintiff’s right
                                                    right to
                                                          to privacy.
                                                             privacy. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects
                                                                                          objects to
                                                                                                   to the
                                                                                                      the scope
                                                                                                          scope


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of this
of  this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                           Corp., 522522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430     (W.Va. 1999)
                                                                                        1999) (citations
                                                                                                (citations omitted)
                                                                                                           omitted) (the
                                                                                                                      (the
injury in
injury  in question
           question isis the
                         the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur
                                                                              incur the
                                                                                     the cost
                                                                                           cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716716 (Mo.
                                                       (Mo. 2007);
                                                             2007); Exxon
                                                                      Exxon Mobil
                                                                               Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                             and the
                                                   the need
                                                        need for   medical testing
                                                              for medical   testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.     PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,     863 P.2d
                                                                               Co., 863    P.2d 795,
                                                                                                 795, 823   (Cal. 1993).
                                                                                                       823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                        since Plaintiff
                                                 Plaintiff is
                                                           is not
                                                               not claiming
                                                                   claiming present
                                                                               present physical
                                                                                          physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this case.
                                                                                                                    case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is is the
                                             the significant
                                                  significant exposure,
                                                                exposure, increased
                                                                            increased riskrisk of
                                                                                                of disease
                                                                                                   disease and
                                                                                                            and medical
                                                                                                                 medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing andand thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims
                        claims only
                                  only onon their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REQUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination;   biopsies;   pathologic,  histologic, and  oncologic   evaluations;  oncologic,
examination; biopsies; pathologic, histologic, and oncologic evaluations; oncologic, histologic,histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as  as vague,
                                                          vague, unduly
                                                                    unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden or or expense
                                                      expense of of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                      outweighs itsits likely   benefit.
                                                                                                       likely benefit.
Plaintiff further  objects  to this   Request    to the  extent  it seeks  matters  immune    from
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under discovery    under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or thethe work
                                                              work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                               any other     privilege,
                                                                                                     other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                      objects to to this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                       that it
                             it violates
                                violates Plaintiffs
                                            Plaintiff’s right
                                                          right to
                                                                to privacy.
                                                                    privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                objects toto the
                                                                                                             the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                                information not not relevant
                                                                      relevant to
                                                                               to any
                                                                                   any claims
                                                                                        claims oror defenses
                                                                                                     defenses of of any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costscosts does
                                                        does not
                                                               not put
                                                                    put present
                                                                         present physical
                                                                                 physical condition
                                                                                            condition at at issue.
                                                                                                            issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                  Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430               1999) (citations
                                                                            (W.Va. 1999)                 omitted) (the
                                                                                            (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                             increase in  in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                         to incur  the cost
                                                                            incur the  cost of
                                                                                            of monitoring);
                                                                                                monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712, 712, 714,
                                           714, 716
                                                 716 (Mo.     2007); Exxon
                                                       (Mo. 2007);      Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.   Albright, 71
                                                                                               v. Albright,        A.3d
                                                                                                               71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
            (Md. 2013)    (exposure itself      and the
                                         itself and   the need
                                                            need for
                                                                  for medical
                                                                       medical testing
                                                                                testing is
                                                                                        is the
                                                                                           the compensable
                                                                                                compensable injuryinjury



                                                          -- 10
                                                             10
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in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                               v. PacifiCare     of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,  264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.  Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,         P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                          physical injury
                                                                                                    injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                            risk of
                                                                                                  of disease
                                                                                                     disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated  therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                               and
class  members    base  their claims   only  on  their  significant  exposure   to the proven
class members base their claims only on their significant exposure to the proven hazardous Foam hazardous    Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                Recalled Devices.
                                                            Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,
                                                                                 endoscopies, and
                                                                                                and other
                                                                                                     other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                 matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                            under
either  the   attorney-client       privilege     and/or     the   work   product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,     or   any   other   privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                    violates Plaintiffs
                                                Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                            scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                              present physical
                                                                                        physical condition
                                                                                                     condition at at issue.
                                                                                                                     issue. See
                                                                                                                              See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations     omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,    71 A.3d
                                                                                                                             A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical     testing is
                                                                                                is the
                                                                                                    the compensable
                                                                                                         compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                         264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the  the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                 Rubber Co.,Co., 863    P.2d 795,
                                                                                                 863 P.2d             823 (Cal.
                                                                                                               795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition forfor his
                                                                                                                               his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                           not claiming      present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                            increased risk
                                                                                                         risk of
                                                                                                               of disease
                                                                                                                   disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                  proven hazardous
                                                                                                             hazardous Foam Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.




                                                              - 11
                                                              -11
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 332 of 654




REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

          Plaintiff objects
          Plaintiff   objects to to this
                                     this Request
                                              Request as  as vague,
                                                               vague, unduly
                                                                         unduly burdensome,
                                                                                     burdensome, overbroad,
                                                                                                        overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                             burden or or expense
                                                           expense of  of the
                                                                           the discovery
                                                                                 discovery outweighs
                                                                                               outweighs its   its likely  benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                          Request to  to the
                                                         the extent
                                                              extent it   seeks matters
                                                                       it seeks   matters immune
                                                                                             immune from from discovery
                                                                                                                 discovery under
                                                                                                                             under
either the
either   the attorney-client
              attorney-client privilege
                                    privilege and/orand/or the
                                                             the work
                                                                   work product
                                                                            product doctrine,
                                                                                       doctrine, or  or any
                                                                                                          any other
                                                                                                                 other privilege,
                                                                                                                         privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                    physician-patient privilege.
                                                                            privilege. Plaintiff
                                                                                          Plaintiff further
                                                                                                       further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                   violates Plaintiffs
                                                 Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                         privacy. Plaintiff
                                                                                     Plaintiff further
                                                                                                 further objects
                                                                                                            objects toto the
                                                                                                                         the scope
                                                                                                                             scope
of this
of  this Request
          Request to to the
                        the extent
                             extent it   it seeks
                                            seeks information
                                                     information not  not relevant
                                                                            relevant toto any
                                                                                           any claims
                                                                                                  claims or or defenses
                                                                                                                 defenses ofof any
                                                                                                                                any
party. A
party.  A claim
           claim for
                   for medical
                        medical monitoring
                                    monitoring costs  costs does
                                                             does not
                                                                    not put
                                                                          put present
                                                                               present physical
                                                                                          physical condition
                                                                                                      condition at   at issue.
                                                                                                                        issue. See
                                                                                                                                See
e.g. Bower
e.g. Bower v. v. Westinghouse
                 Westinghouse Elec.  Elec. Corp.,
                                              Corp., 522522 S.E.2d     424,430 (W.Va.
                                                             S.E.2d 424,430        (W.Va. 1999)
                                                                                              1999) (citations       omitted) (the
                                                                                                       (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in   in risk
                                                  risk that
                                                        that requires
                                                              requires oneone toto incur
                                                                                    incur the
                                                                                           the cost
                                                                                                 cost of
                                                                                                       of monitoring);
                                                                                                           monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                             714, 716716 (Mo.
                                                          (Mo. 2007);      Exxon Mobil
                                                                  2007); Exxon       Mobil Corp.
                                                                                              Corp. v.   Albright, 71
                                                                                                     v. Albright,         A.3d 30,
                                                                                                                       71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.             (exposure itself
               2013) (exposure         itself and
                                                and the
                                                      the need
                                                           need for    medical testing
                                                                  for medical     testing is is the
                                                                                                the compensable
                                                                                                    compensable injury  injury in
                                                                                                                                in aa
medical monitoring
medical    monitoring claim);        Sadler v.
                         claim); Sadler             PacifiCare of
                                                 v. PacifiCare     of Nev.,
                                                                      Nev., Inc.,    340 P.3d,
                                                                              Inc., 340   P.3d, 264,
                                                                                                  264, 1270-72
                                                                                                          1270-72 (Nev.
                                                                                                                      (Nev. 2014)
                                                                                                                             2014)
(inquiry is
(inquiry   is whether
              whether thethe negligent
                              negligent act   act ofof the
                                                       the defendant
                                                            defendant caused
                                                                           caused thethe plaintiff
                                                                                          plaintiff toto have
                                                                                                          have aa medical
                                                                                                                    medical need
                                                                                                                               need
to undergo
to             monitoring); Potter
   undergo monitoring);          Potter v.       Firestone Tire
                                             v. Firestone      Tire && Rubber
                                                                         Rubber Co., Co., 863    P.2d 795,
                                                                                          863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                      (Cal. 1993).
Plaintiff has
Plaintiff  has not   waived the
                not waived     the physician-patient
                                     physician-patient privilege
                                                               privilege as as to
                                                                               to any
                                                                                  any medical
                                                                                        medical condition
                                                                                                   condition for       his medical
                                                                                                                  for his  medical
monitoring claims
monitoring     claims inin this
                            this case      since Plaintiff
                                  case since        Plaintiff isis not
                                                                   not claiming      present physical
                                                                        claiming present        physical injury
                                                                                                             injury in   this case.
                                                                                                                      in this case.
The   injury that
The injury    that Plaintiff
                    Plaintiff claims
                                claims is       the significant
                                            is the   significant exposure,
                                                                    exposure, increased
                                                                                  increased risk      of disease
                                                                                                risk of    disease andand medical
                                                                                                                           medical
necessity of
necessity    of diagnostic     testing and
                diagnostic testing          and thethe economic
                                                        economic loss        associated therewith.
                                                                      loss associated       therewith. Plaintiff
                                                                                                             Plaintiff and
                                                                                                                         and class
                                                                                                                              class
members base
members     base their
                  their claims
                         claims onlyonly on on their
                                                their significant
                                                       significant exposure
                                                                      exposure to  to the
                                                                                      the proven
                                                                                           proven hazardous
                                                                                                     hazardous Foam Foam Toxins
                                                                                                                            Toxins
released by
released   by PE-PUR
               PE-PUR foam foam in  in the
                                        the Recalled
                                              Recalled Devices.
                                                          Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the



                                                               -- 12
                                                                  12
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injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                  injury in  this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REQUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request   on  grounds    that  it  violates     Plaintiff’s  right to  privacy.     Plaintiff  further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope   objects   to the scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340    P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo    monitoring);      Potter      v.  Firestone    Tire  &   Rubber      Co., 863
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).  P.2d   795,    823   (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                       medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                  case since       Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                     the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.



                                                              -- 13
                                                                 13
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REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                   outweighs its its likely  benefit.
                                                                                                     likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects to  this  Request   to the extent  it seeks  matters  immune     from   discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                           work product
                                                                  product doctrine,
                                                                            doctrine, or or any
                                                                                             any other
                                                                                                   other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                               Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                 privacy. Plaintiff
                                                                          Plaintiff further
                                                                                     further objects
                                                                                              objects toto the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                   relevant to
                                                                             to any
                                                                                any claims
                                                                                      claims oror defenses
                                                                                                   defenses ofof any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                               physical condition
                                                                                          condition at at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430              1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                          (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur  the cost
                                                                         incur the   cost of
                                                                                          of monitoring);
                                                                                              monitoring); Meyer
                                                                                                               Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                  Corp. v.  Albright, 71
                                                                                         v. Albright,       A.3d 30,
                                                                                                        71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                          and the
                                               the need   for medical
                                                    need for  medical testing
                                                                        testing is
                                                                                 is the
                                                                                    the compensable
                                                                                        compensable injuryinjury in
                                                                                                                 in aa



                                                              -- 14
                                                                 14
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medical monitoring
medical   monitoring claim);
                       claim); Sadler
                                  Sadler v.    PacifiCare ofNev.,
                                            v. PacifiCare   of Nev., Inc.,  340 P.3d,
                                                                     Inc., 340   P.3d, 264,
                                                                                       264, 1270-72
                                                                                             1270-72 (Nev.
                                                                                                      (Nev. 2014)
                                                                                                             2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                  caused thethe plaintiff
                                                                                plaintiff to
                                                                                          to have
                                                                                             have aa medical
                                                                                                     medical need
                                                                                                              need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone    Tire && Rubber
                                                                 Rubber Co.,    863 P.2d
                                                                           Co., 863  P.2d 795,
                                                                                            795, 823  (Cal. 1993).
                                                                                                 823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege as
                                                                   as to
                                                                      to any
                                                                         any medical
                                                                               medical condition
                                                                                        condition for  his medical
                                                                                                   for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                            not claiming
                                                                claiming present
                                                                            present physical
                                                                                     physical injury
                                                                                               injury in
                                                                                                      in this
                                                                                                         this case.
                                                                                                              case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                             exposure, increased
                                                                         increased risk
                                                                                     risk of
                                                                                          of disease
                                                                                             disease and
                                                                                                      and medical
                                                                                                           medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss    associated therewith.
                                                               loss associated    therewith. Plaintiff
                                                                                               Plaintiff and
                                                                                                         and class
                                                                                                              class
members    base  their claims    only  on  their  significant exposure    to the proven  hazardous
members base their claims only on their significant exposure to the proven hazardous Foam Toxins     Foam   Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among   other places)  Paragraphs 375, 379   and  385 of the Medical  Monitoring
(among other places) Paragraphs 375, 379 and 385 of the Medical Monitoring CSAC.    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                     privilege, and/or
                                                                                  and/or because
                                                                                           because thethe burden
                                                                                                            burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                           objects toto this
                                                                                        this Request
                                                                                              Request to to the
                                                                                                             the extent
                                                                                                                  extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                     yet know
                                                                         know "all
                                                                                 “all damages"
                                                                                      damages” suffered
                                                                                                    suffered because
                                                                                                               because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                     testimony, such
                                                                                   such as
                                                                                         as the
                                                                                             the medical
                                                                                                  medical necessity
                                                                                                              necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, and and consultations,      because of
                                                                         consultations, because        of the
                                                                                                           the defect.
                                                                                                                 defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                       extent it
                                                                               it seeks
                                                                                  seeks information
                                                                                         information not  not relevant
                                                                                                               relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects   to this
                                                                  objects to  this Request
                                                                                    Request to to the
                                                                                                  the extent
                                                                                                       extent it   seeks
                                                                                                                it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                             privilege and/or
                                                                                         and/or thethe work
                                                                                                        work product
                                                                                                                product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                           damages thatthat Plaintiff
                                                                                             Plaintiff claims
                                                                                                        claims is  is the
                                                                                                                      the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                  and class
                                                                                      class members'
                                                                                              members’ significant
                                                                                                           significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foam foam inin the
                                                                                             the Recalled
                                                                                                 Recalled Devices.
                                                                                                              Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REQUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

       Plaintiff objects
       Plaintiff objects to
                          to this
                             this Request
                                  Request as as vague,
                                                 vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                             irrelevant,
cumulative, attorney
cumulative, attorney client
                      client and
                             and attorney
                                  attorney work
                                             work product
                                                   product privilege,
                                                            privilege, and/or
                                                                        and/or because
                                                                                because the
                                                                                         the burden
                                                                                              burden or
                                                                                                      or
expense of
expense of the
           the discovery
               discovery outweighs
                           outweighs its
                                      its likely
                                          likely benefit.
                                                 benefit. Plaintiff
                                                          Plaintiff further
                                                                    further objects
                                                                            objects to
                                                                                    to the
                                                                                       the scope
                                                                                           scope of
                                                                                                 of this
                                                                                                    this


                                                         -- 15
                                                            15
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Request to
Request   to the
             the extent
                  extent it
                         it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant to
                                                                to any
                                                                    any claims
                                                                         claims oror defenses
                                                                                     defenses ofof any
                                                                                                   any party.
                                                                                                         party.
Plaintiff further
Plaintiff further objects
                   objects to
                            to this
                               this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                             that information
                                                                  information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request has
                                                                                                           has
already been
already  been provided
               provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects to
                                                                     to this
                                                                        this Request
                                                                              Request to
                                                                                       to the
                                                                                          the extent  it seeks
                                                                                               extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                         privilege and/or
                                                                                    and/or the
                                                                                           the work
                                                                                                work product
                                                                                                      product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                         privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                  Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                              to this
                                                                                                 this Request
                                                                                                      Request
as duplicative
as duplicative of
                of many
                   many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REQUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request asas vague,
                                                 vague, unduly
                                                         unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                               irrelevant,
cumulative,   and/or  because  the burden  or  expense of the   discovery outweighs   its  likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.   benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds   that it
                                               grounds that  it seeks
                                                                seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                                discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                         other privilege,
                                                                                                privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 32:
                                32:




                                                       -- 16
                                                          16
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        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,    and/or because   the burden   or  expense    of the   discovery  outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that   information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REQUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                          the "express
                                              “express warranty"
                                                       warranty” or
                                                                 or "warranties"
                                                                    “warranties” referenced
                                                                                    referenced in
                                                                                               in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                              CSAC, including
                                                     including but
                                                               but not
                                                                   not limited to aa copy
                                                                       limited to    copy of
                                                                                          of such
                                                                                             such



                                                     -- 17
                                                        17
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warranty and
warranty and any
             any Communications
                 Communications Regarding
                                Regarding the
                                          the warranty.
                                              warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                          burdensome, andand cumulative.
                                                                                               cumulative. The
                                                                                                             The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                      the fact  that Defendant
                                                                           fact that Defendant seeks
                                                                                                seeks materials
                                                                                                      materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,     custody, and/or
                                                                                             and/or control.
                                                                                                    control. As
                                                                                                              As
the  manufacturer     of the   Recalled   Devices,    Defendant    is   in  the  better position
the manufacturer of the Recalled Devices, Defendant is in the better position to obtain the      to  obtain   the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                       this Request
                                                                             Request onon grounds
                                                                                          grounds that
                                                                                                   that it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                         privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                 work product
                                                                                                        product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REQUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:



                                                       -- 18
                                                          18
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         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REQUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social  media  such   as Facebook    or  Twitter), received by  mail   or other  delivery
social media such as Facebook or Twitter), received by mail or other delivery service, or  service, or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the  attorney-client   privilege and/or  the work    product   doctrine,  or  any  other
either the attorney-client privilege and/or the work product doctrine, or any other privilege,    privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five
                         five years,
                               years, including
                                      including documents sufficient to
                                                documents sufficient to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request   on  grounds   that it  violates  Plaintiff’s  right to  privacy.   Plaintiff further   objects
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope    to the scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.   2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                            71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.     2014)
                                                                                                           (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need
to undergo
to            monitoring); Potter
   undergo monitoring);       Potter v.    Firestone Tire
                                        v. Firestone    Tire && Rubber      Co., 863
                                                                  Rubber Co.,          P.2d 795,
                                                                                 863 P.2d     795, 823
                                                                                                     823 (Cal.   1993).
                                                                                                           (Cal. 1993).



                                                          -- 19
                                                             19
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Plaintiff has
Plaintiff has not waived the
              not waived    the physician-patient
                                physician-patient privilege
                                                    privilege as
                                                               as to
                                                                  to any
                                                                     any medical
                                                                           medical condition
                                                                                    condition for  his medical
                                                                                               for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                              case since
                                    since Plaintiff
                                           Plaintiff is
                                                     is not
                                                        not claiming    present physical
                                                            claiming present     physical injury
                                                                                           injury in this case.
                                                                                                  in this case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims    is the
                             claims is  the significant
                                            significant exposure,
                                                         exposure, increased
                                                                     increased risk
                                                                                 risk of
                                                                                      of disease
                                                                                         disease and
                                                                                                  and medical
                                                                                                       medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                     and the
                                          the economic
                                               economic loss
                                                          loss associated
                                                                associated therewith.
                                                                              therewith. Plaintiff
                                                                                           Plaintiff and
                                                                                                     and class
                                                                                                          class
members base
members    base their
                their claims
                      claims only
                               only on
                                     on their
                                        their significant
                                              significant exposure
                                                          exposure to to the
                                                                         the proven
                                                                             proven hazardous
                                                                                     hazardous Foam
                                                                                                 Foam Toxins
                                                                                                        Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam inin the
                                  the Recalled
                                       Recalled Devices.
                                                 Devices.


 Dated: December
 Dated: December 14,
                 14, 2023
                     2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                   /s/ Kelly
                                                        /s/ Kelly K
                                                                  K. Iverson
                                                                     Iverson
 Sandra  L. Duggan,
 Sandra L.  Duggan, Esquire
                     Esquire                            Kelly K.
                                                        Kelly  K. Iverson,
                                                                  Iverson, Esquire
                                                                            Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
                       BERMAN LLP                       LYNCH CARPENTER,
                                                        LYNCH      CARPENTER, LLP    LLP
                                                                               th
 510 Walnut
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             Street, Suite
                     Suite 500
                           500                          1133 Penn
                                                        1133  Penn Avenue,
                                                                    Avenue, 55th  Floor
                                                                                  Floor
 Philadelphia, PA
 Philadelphia, PA 19106
                  19106                                 Pittsburgh, PA
                                                        Pittsburgh,  PA 15222
                                                                         15222
 (215)592-1500 (phone)
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                                                        (412) 322-9243 (phone)
                                                                          (phone)
 (215)592-4633 (fax)
 (215)592-4633  (fax)                                   kelly@lcllp.com
                                                        kelly@lcllp.com
 sduggan@lfsblaw.com
 sduggan@lfsblaw.com

 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                              /s/ Steven
                                                        /s/ Steven A.
                                                                   A. Schwartz
                                                                      Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                       Steven  A. Schwartz,
                                                        Steven A.  Schwartz, Esquire
                                                                             Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                CHIMICLES       SCHWARTZ 'MINER
                                                        CHIMICLES SCHWARTZ           KRINER &
                                                                                            &
                        th
 55 Challenger
 55  Challenger Road,
                Road, 66th Floor
                           Floor                        DONALDSON-SMITH LLP
                                                        DONALDSON-SMITH          LLP
 Ridgefield Park,
 Ridgefield  Park, NJ
                   NJ 07660
                      07660                             361  West Lancaster
                                                        361 West             Avenue
                                                                   Lancaster Avenue
 (973) 639-9100
 (973)            (phone)
       639-9100 (phone)                                 One Haverford
                                                        One   Haverford Centre
                                                                        Centre
 cseeger@seegerweiss.com
 cseeger@seegerweiss.com                                Haverford, PA
                                                        Haverford,  PA 19041
                                                                        19041
                                                        (610)
                                                        (610) 642-8500   (phone)
                                                               642-8500 (phone)
                                                        steveschwartz@chimicles.com
                                                        steveschwartz@chimicles.com


                                   Counsel for Plaintiffs
                                   Counselfor  Plaintiffs and
                                                          and the
                                                              the Class
                                                                  Class




                                                     -- 20
                                                        20
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                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify
                 certify that,
                         that, on
                               on December
                                  December 14,
                                           14, 2023,
                                               2023, II served
                                                        served aa true
                                                                  true and
                                                                       and correct
                                                                           correct copy
                                                                                   copy of
                                                                                        of PLAINTIFF
                                                                                           PLAINTIFF

JEFFREY BARTALO’S AMENDED
JEFFREY BARTALO'S AMENDED RESPONSES
                          RESPONSES AND
                                    AND OBJECTIONS
                                        OBJECTIONS TO PHILIPS RS'
                                                   TO PHILIPS RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                                 Counselfor  Defendant Philips
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                                   RS North America,
                                             America, LLC
                                                       LLC

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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                       FRANKLIN &   & PROKOPIK
                                        PROKOPIK
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                      500 Creek View
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                    EXHIBIT
                    EXHIBIT O
                            0
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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        PLAINTIFF JEFFREY BOYLE'S
        PLAINTIFF JEFFREY BOYLE’S SECOND
                                    SECOND AMENDED
                                            AMENDED RESPONSES
                                                    RESPONSES AND
                                                               AND
         OBJECTIONS TO
         OBJECTIONS  TO PHILIPS RS’ FIRST
                        PHILIPS RS'       REQUEST FOR
                                    FIRST REQUEST FOR PRODUCTION
                                                      PRODUCTION
            OF DOCUMENTS
            OF DOCUMENTS TO   MEDICAL MONITORING
                           TO MEDICAL   MONITORING PLAINTIFFS
                                                    PLAINTIFFS


REQUEST 1:
REQUEST     1: Documents
               Documents sufficient
                          sufficient to
                                     to show
                                        show the
                                             the model
                                                  model name,
                                                        name, model
                                                               model number,
                                                                       number, and
                                                                                and serial
                                                                                    serial number
                                                                                            number
of each
of      and every
   each and every Recalled
                  Recalled Device
                            Device You
                                    You Acquired,
                                         Acquired, the
                                                    the date
                                                        date on
                                                             on which
                                                                which You
                                                                        You Acquired
                                                                             Acquired it,
                                                                                        it, and
                                                                                            and the
                                                                                                the
date on
date on which
        which You
              You no
                  no longer had possession
                     longer had  possession of
                                            of the
                                               the Recalled
                                                   Recalled Device
                                                            Device (if
                                                                   (if applicable).
                                                                       applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO REQUEST NO.
                 TO REQUEST NO. 1:
                                1:

         Plaintiff Jeffrey
         Plaintiff          Boyle ("Plaintiff")
                   Jeffrey Boyle    (“Plaintiff”) objects
                                                   objects to
                                                            to this
                                                               this Request
                                                                     Request onon grounds
                                                                                   grounds that
                                                                                             that it   is vague,
                                                                                                    it is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,    cumulative, and/or
                                      irrelevant, cumulative,   and/or because
                                                                         because the
                                                                                   the burden
                                                                                        burden oror expense
                                                                                                     expense ofof
the discovery
the  discovery outweighs
                outweighs itsits likely
                                 likely benefit.
                                        benefit. Plaintiff
                                                 Plaintiff further  objects to
                                                           further objects   to this
                                                                                this Request
                                                                                     Request to to the
                                                                                                   the extent   it
                                                                                                        extent it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either  the attorney-client
                                                    either the   attorney-client privilege
                                                                                  privilege and/or
                                                                                              and/or the
                                                                                                       the work
                                                                                                            work
product doctrine,
product              or any
          doctrine, or  any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further
                                                                                        further objects
                                                                                                 objects toto the
                                                                                                              the
term   “Acquired”   because    as defined  it seeks to obtain  information    not  relevant  to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims or  any   claims  or
defenses of
defenses   of any
              any party.
                   party. Plaintiff
                          Plaintiff further
                                    further objects
                                             objects on
                                                     on grounds
                                                        grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                       seeks information     that
                                                                                              information that
is already
is already in  Defendant’s possession,
            in Defendant's   possession, custody,
                                           custody, and/or
                                                     and/or control.
                                                             control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMBOYLEJEFFREY00000001-
                                                     see MMBOYLEJEFFREY00000001-
MMBOYLEJEFFREY00000003.
MMBOYLEJEFFREY00000003.

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This
                                                                                 This Request
                                                                                      Request includes,
                                                                                                includes,
but is
but    not limited
    is not limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the allegation in
                                                                the allegation     Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                       CSAC that
                               that each  of the
                                    each of  the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO REQUEST NO.
                 TO REQUEST NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery   outweighs its
                                                                    discovery outweighs     its likely
                                                                                                likely benefit.
                                                                                                       benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery     under
                                                                                              discovery under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it seeks
                                                                                                       it seeks
information not
information   not relevant   to the
                   relevant to  the claims   or defenses
                                     claims or   defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                        to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information   already in
                                      information already    in the
                                                                 the possession,
                                                                     possession, custody,
                                                                                 custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMBOYLEJEFFREY00000001-
                                                     see MMBOYLEJEFFREY00000001-
MMBOYLEJEFFREY00000003.
MMBOYLEJEFFREY00000003.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                       payments or
                                                                                                 or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                    by You
                                                                                       You and
                                                                                           and any
                                                                                               any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                        account, or
                                                                                                 or
flexible spending account.
flexible spending account.

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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



                                                               - 33 -
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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


                                                               -4-
                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit
             limit the
                   the scope
                        scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product   doctrine, or
                     or any
                         any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from his
                                                                                               his
Recalled Device(s).
Recalled Device(s).

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

         Plaintiff objects
         Plaintiff objects to
                           to this
                              this Request
                                   Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                            burdensome, overbroad,
                                                                        overbroad, irrelevant,
                                                                                   irrelevant,


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cumulative, and/or
cumulative,   and/or because
                      because the the burden
                                       burden or  or expense
                                                      expense of  of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                       outweighs itsits likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                         concession that
                                                                                       that evidence
                                                                                            evidence of of degradation
                                                                                                            degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                              objects to
                                                                       to this
                                                                           this Request
                                                                                Request onon grounds
                                                                                               grounds that
                                                                                                          that the
                                                                                                                the term
                                                                                                                     term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                               Plaintiff further   objects to
                                                                          further objects    to the
                                                                                                 the use
                                                                                                      use ofof the
                                                                                                               the term
                                                                                                                     term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                        it is
                                                           is overbroad,
                                                              overbroad, vague,
                                                                            vague, ambiguous,
                                                                                    ambiguous, and and impermissibly
                                                                                                        impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims
                                                claims oror defenses
                                                              defenses ofof any
                                                                             any party.
                                                                                 party. Plaintiff
                                                                                         Plaintiff further    objects to
                                                                                                    further objects     to
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                               Request No.No. 11.
                                                                               11. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                        objects toto this
                                                                                                                      this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of  of the
                                                                   the requested
                                                                        requested discovery
                                                                                    discovery outweighs
                                                                                                 outweighs its its likely
                                                                                                                   likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                              possession, custody,
                                                                                            custody, and/or
                                                                                                       and/or control.
                                                                                                                 control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                       the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                                has already
                                                                                     already provided
                                                                                               provided information
                                                                                                            information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                        objects toto this
                                                                      this Request
                                                                            Request toto the
                                                                                         the extent
                                                                                              extent it  seeks matters
                                                                                                      it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                      privilege and/or
                                                                                 and/or the
                                                                                         the work
                                                                                              work product
                                                                                                    product doctrine,
                                                                                                               doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                        further objects
                                                                                 objects to
                                                                                          to the
                                                                                             the extent
                                                                                                  extent this
                                                                                                           this Request
                                                                                                                 Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

         Without waiving
         Without waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, see MMBOYLEJEFFREY00000001.
                                                          see MMBOYLEJEFFREY00000001.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.



                                                          -8
                                                           8-
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information     not relevant    to any  claims   or  defenses
                                            information not relevant to any claims or defenses of          of any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMBOYLEJEFFREY00000001.
                                                         see MMBOYLEJEFFREY00000001.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                           other CPAP,
                                                                                 CPAP, BiPAP
                                                                                        BiPAP or
                                                                                              or
ventilator device that You used prior to, or after, Your Acquisition of a Recalled Device.
ventilator device that You used prior to, or after, Your Acquisition of a Recalled Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request  includes but
                                                                           but is
                                                                                is not
                                                                                   not limited  to the
                                                                                        limited to the
“subcellular  injury  or other  physiological changes” You  allege  You  have  suffered  in Paragraphs
"subcellular injury or other physiological changes" You allege You have suffered in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                         Monitoring CCSAC.
                                       SAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 20:
                                20:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of
                                                             of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                 outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it seeks matters
                                                             it seeks  matters immune
                                                                               immune fromfrom discovery
                                                                                                 discovery under
                                                                                                             under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                         privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                  privilege. Plaintiff
                                                                             Plaintiff further
                                                                                        further objects
                                                                                                  objects toto this
                                                                                                               this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                      right to
                                                            to privacy.
                                                                privacy. Plaintiff
                                                                         Plaintiff further
                                                                                   further objects
                                                                                            objects toto the
                                                                                                         the scope
                                                                                                             scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not
                                                            not relevant
                                                                  relevant to
                                                                           to any
                                                                              any claims
                                                                                    claims oror defenses
                                                                                                 defenses ofof any
                                                                                                               any


                                                       - 99 -
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party. A
party. A claim
          claim for
                  for medical
                      medical monitoring
                                  monitoring costscosts does
                                                         does not
                                                               not put
                                                                    put present
                                                                        present physical
                                                                                   physical condition
                                                                                              condition atat issue.  See
                                                                                                             issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                          Corp., 522522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430     (W.Va. 1999)
                                                                                       1999) (citations
                                                                                               (citations omitted)
                                                                                                          omitted) (the
                                                                                                                     (the
injury in
injury in question
           question isis the
                         the increase
                               increase inin risk
                                              risk that
                                                    that requires
                                                         requires one
                                                                    one to
                                                                         to incur
                                                                             incur the
                                                                                    the cost
                                                                                          cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                         714, 716716 (Mo.
                                                      (Mo. 2007);
                                                            2007); Exxon
                                                                     Exxon Mobil
                                                                              Mobil Corp.
                                                                                       Corp. v.  Albright, 71
                                                                                              v. Albright,     A.3d 30,
                                                                                                            71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                            and the
                                                  the need
                                                       need for   medical testing
                                                             for medical   testing is is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                             injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.    PacifiCare of
                                             v. PacifiCare    of Nev.,
                                                                 Nev., Inc.,  340 P.3d,
                                                                       Inc., 340   P.3d, 264,
                                                                                           264, 1270-72
                                                                                                 1270-72 (Nev.
                                                                                                           (Nev. 2014)
                                                                                                                  2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent actact ofof the
                                                   the defendant
                                                        defendant caused
                                                                    caused thethe plaintiff
                                                                                   plaintiff to
                                                                                              to have
                                                                                                 have aa medical
                                                                                                          medical need
                                                                                                                    need
to undergo    monitoring);      Potter   v.  Firestone    Tire  &  Rubber     Co., 863    P.2d
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).   795,  823  (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                          privilege as
                                                                     as to
                                                                        to any
                                                                           any medical
                                                                                 medical condition
                                                                                            condition for   his medical
                                                                                                        for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                       since Plaintiff
                                                Plaintiff is
                                                          is not
                                                              not claiming
                                                                  claiming present
                                                                              present physical
                                                                                         physical injury
                                                                                                    injury in
                                                                                                           in this
                                                                                                              this case.
                                                                                                                   case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims isis the
                                            the significant
                                                 significant exposure,
                                                               exposure, increased
                                                                           increased riskrisk of
                                                                                              of disease
                                                                                                  disease and
                                                                                                           and medical
                                                                                                                medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and
                                        and thethe economic
                                                    economic loss     associated therewith.
                                                                 loss associated     therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                              and class
                                                                                                                   class
members base
members    base their
                 their claims
                        claims only
                                  only on
                                        on their
                                            their significant
                                                   significant exposure
                                                                 exposure toto the
                                                                               the proven
                                                                                    proven hazardous
                                                                                             hazardous Foam
                                                                                                          Foam Toxins
                                                                                                                 Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                          Recalled Devices.
                                                      Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling  Order,  the Federal Rules   of  Civil Procedure,  and  the  Federal Rules  of
scheduling Order, the Federal Rules of Civil Procedure, and the Federal Rules of Evidence Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as  as vague,
                                                          vague, unduly
                                                                   unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden or or expense
                                                      expense of of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                      outweighs itsits likely   benefit.
                                                                                                       likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                               this Request
                                      Request to to the
                                                    the extent
                                                         extent it
                                                                 it seeks
                                                                    seeks matters
                                                                           matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                     discovery under
                                                                                                                  under
either  the  attorney-client     privilege    and/or    the   work   product   doctrine,   or
either the attorney-client privilege and/or the work product doctrine, or any other privilege, any   other   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                      objects to to this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                       that it
                             it violates
                                violates Plaintiffs
                                            Plaintiff’s right
                                                          right to
                                                                to privacy.
                                                                   privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                objects toto the
                                                                                                             the scope
                                                                                                                  scope
of this
of  this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                                information not not relevant
                                                                     relevant toto any
                                                                                   any claims
                                                                                        claims oror defenses
                                                                                                     defenses of of any
                                                                                                                     any
party. A
party.  A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costscosts does
                                                        does not
                                                               not put
                                                                    put present
                                                                         present physical
                                                                                  physical condition
                                                                                            condition at at issue.
                                                                                                            issue. See
                                                                                                                     See
e.g. Bower
e.g.  Bower v.
             v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                  Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430               1999) (citations
                                                                            (W.Va. 1999)                 omitted) (the
                                                                                            (citations omitted)      (the
injury in
injury  in question  is the
           question is  the increase
                             increase in  in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                         to incur  the cost
                                                                            incur the  cost of
                                                                                            of monitoring);
                                                                                                monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712, 712, 714,
                                           714, 716
                                                 716 (Mo.     2007); Exxon
                                                       (Mo. 2007);     Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.   Albright, 71
                                                                                               v. Albright,         A.3d
                                                                                                               71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
            (Md. 2013)    (exposure itself      and the
                                         itself and   the need
                                                            need for
                                                                  for medical
                                                                      medical testing
                                                                                testing is
                                                                                        is the
                                                                                           the compensable
                                                                                                compensable injuryinjury
in aa medical
in    medical monitoring
               monitoring claim);
                             claim); Sadler
                                         Sadler v.   PacifiCare of
                                                  v. PacifiCare     of Nev.,  Inc., 340
                                                                       Nev., Inc.,       P.3d, 264,
                                                                                    340 P.3d,   264, 1270-72
                                                                                                      1270-72 (Nev.(Nev.



                                                          -- 10
                                                             10
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 355 of 654




2014) (inquiry
2014)  (inquiry is
                 is whether
                    whether the
                             the negligent
                                  negligent act
                                              act of
                                                   of the
                                                      the defendant
                                                           defendant caused
                                                                       caused the
                                                                                the plaintiff
                                                                                    plaintiff to
                                                                                              to have
                                                                                                 have aa medical
                                                                                                         medical
need to
need  to undergo
         undergo monitoring);
                    monitoring); Potter
                                    Potter v.  Firestone Tire
                                            v. Firestone     Tire && Rubber     Co., 863
                                                                      Rubber Co.,         P.2d 795,
                                                                                     863 P.2d    795, 823
                                                                                                       823 (Cal.
                                                                                                             (Cal.
1993). Plaintiff
1993).  Plaintiff has
                  has not
                      not waived
                           waived the
                                    the physician-patient
                                         physician-patient privilege
                                                               privilege as
                                                                          as to
                                                                             to any
                                                                                 any medical
                                                                                     medical condition
                                                                                               condition for   his
                                                                                                          for his
medical monitoring
medical  monitoring claims
                       claims in
                               in this
                                  this case
                                       case since
                                             since Plaintiff
                                                     Plaintiff is
                                                               is not
                                                                  not claiming
                                                                      claiming present
                                                                                 present physical
                                                                                         physical injury
                                                                                                   injury in
                                                                                                           in this
                                                                                                              this
case. The
case.       injury that
      The injury    that Plaintiff
                         Plaintiff claims
                                    claims isis the
                                                 the significant
                                                      significant exposure,
                                                                   exposure, increased
                                                                                increased risk
                                                                                           risk of
                                                                                                 of disease
                                                                                                    disease and
                                                                                                              and
medical necessity
medical  necessity ofof diagnostic
                        diagnostic testing
                                     testing and
                                              and the
                                                    the economic
                                                         economic loss
                                                                    loss associated
                                                                          associated therewith.
                                                                                      therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                              and
class members
class members base
                 base their
                       their claims
                             claims only
                                      only on
                                            on their
                                                their significant
                                                       significant exposure
                                                                    exposure toto the
                                                                                  the proven
                                                                                      proven hazardous
                                                                                               hazardous Foam
                                                                                                            Foam
Toxins  released by
Toxins released    by PE-PUR
                      PE-PUR foamfoam inin the
                                           the Recalled
                                               Recalled Devices.
                                                           Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and  laboratory  tests;  physical  examinations;    imaging;   colonoscopies,    endoscopies,
and laboratory tests; physical examinations; imaging; colonoscopies, endoscopies, and other     and  other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely   benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                 matters immune
                                                                                           immune from  from discovery
                                                                                                               discovery under
                                                                                                                             under
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                  and/or the the work
                                                                   work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other     privilege,
                                                                                                               other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects to to this
                                                                                                                               this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                    violates Plaintiffs
                                                Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                             scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses of of any
                                                                                                                               any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                              present physical
                                                                                        physical condition
                                                                                                      condition at at issue.
                                                                                                                      issue. See
                                                                                                                               See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations      omitted) (the
                                                                                                      (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost ofof monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.     Albright, 71
                                                                                                         v. Albright,    71 A.3d
                                                                                                                              A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical     testing isis the
                                                                                                     the compensable
                                                                                                          compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340     P.3d, 264,
                                                                                                          264, 1270-72
                                                                                                                1270-72 (Nev.(Nev.
2014)   (inquiry  is whether      the   negligent     act  of   the defendant     caused    the  plaintiff
2014) (inquiry is whether the negligent act of the defendant caused the plaintiff to have a medical         to  have   a medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                 Rubber Co.,Co., 863     P.2d 795,
                                                                                                  863 P.2d             823 (Cal.
                                                                                                                795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                  medical condition
                                                                                                              condition forfor his
                                                                                                                                his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                           not claiming      present physical
                                                                                                        physical injury
                                                                                                                   injury in   this
                                                                                                                            in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                            increased riskrisk of
                                                                                                                of disease
                                                                                                                    disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated      therewith. Plaintiff
                                                                                                                   Plaintiff and
                                                                                                                               and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                   proven hazardous
                                                                                                              hazardous Foam Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.

REQUEST 23:
REOUEST 23: All
            All Documents
                Documents and
                          and Communications
                              Communications related
                                             related to
                                                     to any
                                                        any tissue
                                                            tissue specimens,
                                                                   specimens, tissue
                                                                              tissue



                                                              - 11
                                                              -11
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slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                             by any
                                                                                any Health
                                                                                    Health Care
                                                                                           Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                 You allege
                                                                                      allege in
                                                                                             in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

          Plaintiff objects
          Plaintiff   objects to to this
                                     this Request
                                              Request as  as vague,
                                                               vague, unduly
                                                                         unduly burdensome,
                                                                                     burdensome, overbroad,
                                                                                                        overbroad, irrelevant,
                                                                                                                         irrelevant,
cumulative,     and/or   because      the    burden    or  expense     of  the   discovery
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.outweighs       its  likely  benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                          Request to  to the
                                                         the extent
                                                              extent it   seeks matters
                                                                       it seeks   matters immune
                                                                                             immune from from discovery
                                                                                                                 discovery under
                                                                                                                              under
either the
either   the attorney-client
              attorney-client privilege
                                    privilege and/orand/or the
                                                             the work
                                                                   work product
                                                                            product doctrine,
                                                                                       doctrine, or  or any
                                                                                                          any other
                                                                                                                 other privilege,
                                                                                                                          privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                    physician-patient privilege.
                                                                            privilege. Plaintiff
                                                                                          Plaintiff further
                                                                                                       further objects
                                                                                                                   objects toto this
                                                                                                                                 this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                   violates Plaintiffs
                                                 Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                         privacy. Plaintiff
                                                                                     Plaintiff further
                                                                                                 further objects
                                                                                                            objects to to the
                                                                                                                          the scope
                                                                                                                              scope
of this
of  this Request
          Request to to the
                        the extent
                             extent it   it seeks
                                            seeks information
                                                     information not  not relevant
                                                                            relevant toto any
                                                                                           any claims
                                                                                                  claims or or defenses
                                                                                                                 defenses of of any
                                                                                                                                 any
party. A
party.  A claim
           claim for
                   for medical
                        medical monitoring
                                    monitoring costs  costs does
                                                             does not
                                                                    not put
                                                                          put present
                                                                               present physical
                                                                                          physical condition
                                                                                                      condition at    at issue.
                                                                                                                         issue. See
                                                                                                                                 See
e.g. Bower
e.g. Bower v. v. Westinghouse
                 Westinghouse Elec.  Elec. Corp.,
                                              Corp., 522522 S.E.2d     424,430 (W.Va.
                                                             S.E.2d 424,430        (W.Va. 1999)
                                                                                              1999) (citations        omitted) (the
                                                                                                       (citations omitted)       (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in   in risk
                                                  risk that
                                                        that requires
                                                              requires oneone toto incur
                                                                                    incur the
                                                                                           the cost
                                                                                                 cost of
                                                                                                       of monitoring);
                                                                                                           monitoring); Meyer Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                             714, 716716 (Mo.
                                                          (Mo. 2007);      Exxon Mobil
                                                                  2007); Exxon       Mobil Corp.
                                                                                              Corp. v.   Albright, 71
                                                                                                     v. Albright,          A.3d 30,
                                                                                                                        71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.             (exposure itself
               2013) (exposure         itself and
                                                and the
                                                      the need
                                                           need for    medical testing
                                                                  for medical     testing is is the
                                                                                                the compensable
                                                                                                    compensable injury   injury in
                                                                                                                                 in aa
medical monitoring
medical    monitoring claim);        Sadler v.
                         claim); Sadler             PacifiCare of
                                                 v. PacifiCare     of Nev.,
                                                                      Nev., Inc.,    340 P.3d,
                                                                              Inc., 340   P.3d, 264,
                                                                                                  264, 1270-72
                                                                                                          1270-72 (Nev.(Nev. 2014)
                                                                                                                              2014)
(inquiry is
(inquiry   is whether
              whether thethe negligent
                              negligent act   act ofof the
                                                       the defendant
                                                            defendant caused
                                                                           caused thethe plaintiff
                                                                                          plaintiff toto have
                                                                                                          have aa medical
                                                                                                                     medical need
                                                                                                                                need
to undergo
to             monitoring); Potter
   undergo monitoring);          Potter v.       Firestone Tire
                                             v. Firestone      Tire && Rubber
                                                                         Rubber Co., Co., 863    P.2d 795,
                                                                                          863 P.2d      795, 823823 (Cal.    1993).
                                                                                                                       (Cal. 1993).
Plaintiff has
Plaintiff  has not   waived the
                not waived     the physician-patient
                                     physician-patient privilege
                                                               privilege as as to
                                                                               to any
                                                                                  any medical
                                                                                        medical condition
                                                                                                   condition for        his medical
                                                                                                                   for his  medical
monitoring claims
monitoring     claims inin this
                            this case      since Plaintiff
                                  case since        Plaintiff isis not
                                                                   not claiming      present physical
                                                                        claiming present        physical injury
                                                                                                             injury in    this case.
                                                                                                                       in this case.
The   injury that
The injury    that Plaintiff
                    Plaintiff claims
                                claims is       the significant
                                            is the   significant exposure,
                                                                    exposure, increased
                                                                                  increased risk      of disease
                                                                                                risk of    disease and and medical
                                                                                                                            medical
necessity of
necessity    of diagnostic     testing and
                diagnostic testing          and thethe economic
                                                        economic loss        associated therewith.
                                                                      loss associated       therewith. Plaintiff
                                                                                                             Plaintiff andand class
                                                                                                                               class
members base
members     base their
                  their claims
                         claims onlyonly on on their
                                                their significant
                                                       significant exposure
                                                                      exposure to  to the
                                                                                      the proven
                                                                                           proven hazardous
                                                                                                     hazardous Foam  Foam Toxins
                                                                                                                             Toxins
released by
released   by PE-PUR
               PE-PUR foam foam in  in the
                                        the Recalled
                                              Recalled Devices.
                                                          Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); Meyer
                                                                                                              Meyer



                                                                -- 12
                                                                   12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 357 of 654




v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon     Mobil Corp.
                                                                                     Corp. v.  Albright, 71
                                                                                            v. Albright,     A.3d 30,
                                                                                                          71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                           injury in
                                                                                                                  in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                         (Nev. 2014)
                                                                                                                2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                        medical need
                                                                                                                 need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber     Co., 863
                                                                  Rubber Co.,           P.2d 795,
                                                                                 863 P.2d     795, 823
                                                                                                    823 (Cal.  1993).
                                                                                                         (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for   his medical
                                                                                                      for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present      physical injury
                                                                                                 injury in  this case.
                                                                                                         in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk    of  disease  and  medical
                                                                                       risk of disease and medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                  Plaintiff and
                                                                                                            and class
                                                                                                                 class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                        Foam Toxins
                                                                                                               Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the “subcellular injury or other physiological changes”  You  allege in Paragraphs 26-88
to the "subcellular injury or other physiological changes" You allege in Paragraphs 26-88 of of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.




                                                              -- 13
                                                                 13
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REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                   outweighs its its likely  benefit.
                                                                                                     likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects to  this  Request   to the extent  it seeks  matters  immune     from   discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                           work product
                                                                  product doctrine,
                                                                            doctrine, or or any
                                                                                             any other
                                                                                                   other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                               Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                 privacy. Plaintiff
                                                                          Plaintiff further
                                                                                     further objects
                                                                                              objects toto the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                   relevant to
                                                                             to any
                                                                                any claims
                                                                                      claims oror defenses
                                                                                                   defenses ofof any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                               physical condition
                                                                                          condition at at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430              1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                          (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur  the cost
                                                                         incur the   cost of
                                                                                          of monitoring);
                                                                                              monitoring); Meyer
                                                                                                               Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                  Corp. v.  Albright, 71
                                                                                         v. Albright,       A.3d 30,
                                                                                                        71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                          and the
                                               the need   for medical
                                                    need for  medical testing
                                                                        testing is
                                                                                 is the
                                                                                    the compensable
                                                                                        compensable injuryinjury in
                                                                                                                 in aa



                                                              -- 14
                                                                 14
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 359 of 654




medical monitoring
medical   monitoring claim);
                       claim); Sadler
                                  Sadler v.    PacifiCare ofNev.,
                                            v. PacifiCare   of Nev., Inc.,  340 P.3d,
                                                                     Inc., 340   P.3d, 264,
                                                                                       264, 1270-72
                                                                                             1270-72 (Nev.
                                                                                                      (Nev. 2014)
                                                                                                             2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                  caused thethe plaintiff
                                                                                plaintiff to
                                                                                          to have
                                                                                             have aa medical
                                                                                                     medical need
                                                                                                              need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone    Tire && Rubber
                                                                 Rubber Co.,    863 P.2d
                                                                           Co., 863  P.2d 795,
                                                                                            795, 823  (Cal. 1993).
                                                                                                 823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege as
                                                                   as to
                                                                      to any
                                                                         any medical
                                                                               medical condition
                                                                                        condition for  his medical
                                                                                                   for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                            not claiming
                                                                claiming present
                                                                            present physical
                                                                                     physical injury
                                                                                               injury in
                                                                                                      in this
                                                                                                         this case.
                                                                                                              case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                             exposure, increased
                                                                         increased risk
                                                                                     risk of
                                                                                          of disease
                                                                                             disease and
                                                                                                      and medical
                                                                                                           medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss    associated therewith.
                                                               loss associated    therewith. Plaintiff
                                                                                               Plaintiff and
                                                                                                         and class
                                                                                                              class
members    base  their claims    only  on  their  significant exposure    to the proven  hazardous
members base their claims only on their significant exposure to the proven hazardous Foam Toxins     Foam   Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among   other places)  Paragraphs 375, 379   and  385 of the Medical  Monitoring
(among other places) Paragraphs 375, 379 and 385 of the Medical Monitoring CSAC.    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                     privilege, and/or
                                                                                  and/or because
                                                                                           because thethe burden
                                                                                                            burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                           objects toto this
                                                                                        this Request
                                                                                              Request to to the
                                                                                                             the extent
                                                                                                                  extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                     yet know
                                                                         know "all
                                                                                 “all damages"
                                                                                      damages” suffered
                                                                                                    suffered because
                                                                                                               because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                     testimony, such
                                                                                   such as
                                                                                         as the
                                                                                             the medical
                                                                                                  medical necessity
                                                                                                              necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, and and consultations,      because of
                                                                         consultations, because        of the
                                                                                                           the defect.
                                                                                                                 defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                       extent it
                                                                               it seeks
                                                                                  seeks information
                                                                                         information not  not relevant
                                                                                                               relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects   to this
                                                                  objects to  this Request
                                                                                    Request to to the
                                                                                                  the extent
                                                                                                       extent it   seeks
                                                                                                                it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                             privilege and/or
                                                                                         and/or thethe work
                                                                                                        work product
                                                                                                                product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                           damages thatthat Plaintiff
                                                                                             Plaintiff claims
                                                                                                        claims is  is the
                                                                                                                      the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                  and class
                                                                                      class members'
                                                                                              members’ significant
                                                                                                           significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foam foam inin the
                                                                                             the Recalled
                                                                                                 Recalled Devices.
                                                                                                              Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REQUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

       Plaintiff objects
       Plaintiff objects to
                          to this
                             this Request
                                  Request as as vague,
                                                 vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                             irrelevant,
cumulative, attorney
cumulative, attorney client
                      client and
                             and attorney
                                  attorney work
                                             work product
                                                   product privilege,
                                                            privilege, and/or
                                                                        and/or because
                                                                                because the
                                                                                         the burden
                                                                                              burden or
                                                                                                      or
expense of
expense of the
           the discovery
               discovery outweighs
                           outweighs its
                                      its likely
                                          likely benefit.
                                                 benefit. Plaintiff
                                                          Plaintiff further
                                                                    further objects
                                                                            objects to
                                                                                    to the
                                                                                       the scope
                                                                                           scope of
                                                                                                 of this
                                                                                                    this


                                                         -- 15
                                                            15
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Request to
Request   to the
             the extent
                  extent it
                         it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant to
                                                                to any
                                                                    any claims
                                                                         claims oror defenses
                                                                                     defenses ofof any
                                                                                                   any party.
                                                                                                         party.
Plaintiff further
Plaintiff further objects
                   objects to
                            to this
                               this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                             that information
                                                                  information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request has
                                                                                                           has
already been
already  been provided
               provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects to
                                                                     to this
                                                                        this Request
                                                                              Request to
                                                                                       to the
                                                                                          the extent  it seeks
                                                                                               extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                         privilege and/or
                                                                                    and/or the
                                                                                           the work
                                                                                                work product
                                                                                                      product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                         privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                  Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                              to this
                                                                                                 this Request
                                                                                                      Request
as duplicative
as duplicative of
                of many
                   many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

         Without waiving
         Without waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, see
                                                          see MMBOYLEJEFFREY00000001.
                                                              MMBOYLEJEFFREY00000001.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further  objects to this Request   to the  extent it seeks  matters   immune    from   discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under           under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.



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                                                          16
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Plaintiff further
Plaintiff  further objects
                   objects to
                           to this
                              this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                             that information
                                                                   information sought
                                                                                sought in
                                                                                        in this
                                                                                           this Request
                                                                                                Request has
                                                                                                          has
already been
already  been provided
               provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects   to this
                                                                       this Request
                                                                            Request on
                                                                                    on grounds
                                                                                       grounds that
                                                                                                that it seeks
                                                                                                     it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                               attorney-client privilege
                                                                                privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                        work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                              protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REQUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already  been   provided by  Plaintiff.
already been provided by Plaintiff.     Plaintiff
                                        Plaintiff further  objects   to this Request on grounds   that it
                                                  further objects to this Request on grounds that it seeksseeks
matters immune
matters             from discovery
          immune from                   under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that   information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.




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                                                        17
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

        Plaintiff objects
        Plaintiff objects to
                          to this
                             this Request
                                  Request as
                                          as unduly
                                             unduly burdensome,
                                                    burdensome, overbroad,
                                                                overbroad, disproportionate,
                                                                           disproportionate, and
                                                                                             and



                                                       -- 18
                                                          18
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not relevant
not           to any
     relevant to any parties'
                     parties’ claims
                              claims or
                                      or defenses. Plaintiff further
                                         defenses. Plaintiff further objects
                                                                     objects to
                                                                             to this
                                                                                this Request
                                                                                     Request to
                                                                                             to the
                                                                                                the extent
                                                                                                    extent
it seeks
it seeks matters
         matters immune
                  immune from
                           from discovery
                                  discovery under
                                             under either
                                                   either the
                                                          the attorney-client
                                                               attorney-client privilege
                                                                                privilege and/or
                                                                                          and/or the
                                                                                                 the work
                                                                                                     work
product doctrine,
product   doctrine, or
                    or any
                       any other
                           other privilege,
                                  privilege, immunity,
                                             immunity, or
                                                        or protection.
                                                            protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded     by the fact that  Defendant seeks  materials  that are equally  available
compounded by the fact that Defendant seeks materials that are equally available to it.   to it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REQUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five
                         five years,
                               years, including
                                      including documents sufficient to
                                                documents sufficient to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as as vague,
                                                         vague, unduly
                                                                   unduly burdensome,
                                                                              burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden oror expense
                                                      expense of of the
                                                                     the discovery
                                                                           discovery outweighs
                                                                                       outweighs its  its likely  benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request toto the
                                                    the extent
                                                        extent it   seeks matters
                                                                 it seeks   matters immune
                                                                                     immune from from discovery
                                                                                                        discovery under
                                                                                                                    under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                               and/or the
                                                       the work
                                                             work product
                                                                      product doctrine,
                                                                                doctrine, or or any
                                                                                                  any other
                                                                                                        other privilege,
                                                                                                                privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                               physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                         objects toto this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                            Plaintiff’s right
                                                         right to
                                                               to privacy.
                                                                   privacy. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                    scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                information not not relevant
                                                                      relevant toto any
                                                                                    any claims
                                                                                          claims or or defenses
                                                                                                        defenses ofof any
                                                                                                                       any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                 costs does
                                                        does not
                                                              not put
                                                                    put present
                                                                         present physical
                                                                                   physical condition
                                                                                              condition at  at issue.
                                                                                                               issue. See
                                                                                                                       See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                   omitted) (the
                                                                                               (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                              increase in in risk
                                             risk that
                                                   that requires
                                                        requires oneone toto incur  the cost
                                                                             incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716   (Mo. 2007);
                                                716 (Mo.    2007); Exxon
                                                                     Exxon Mobil
                                                                              Mobil Corp.
                                                                                      Corp. v.   Albright, 71
                                                                                             v. Albright,        A.3d 30,
                                                                                                              71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure        itself and
                                            and the
                                                 the need   for medical
                                                      need for  medical testing
                                                                            testing is
                                                                                     is the
                                                                                        the compensable
                                                                                            compensable injury injury in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,   340 P.3d,
                                                                        Inc., 340  P.3d, 264,
                                                                                          264, 1270-72
                                                                                                  1270-72 (Nev.     2014)
                                                                                                             (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act of
                                               of the
                                                  the defendant
                                                       defendant caused       the plaintiff
                                                                     caused the    plaintiff to
                                                                                              to have
                                                                                                  have aa medical
                                                                                                           medical need
                                                                                                                      need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                         v. Firestone    Tire && Rubber
                                                                   Rubber Co.,Co., 863   P.2d 795,
                                                                                   863 P.2d     795, 823
                                                                                                       823 (Cal.   1993).
                                                                                                             (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                         privilege as as to
                                                                         to any
                                                                            any medical
                                                                                 medical condition
                                                                                           condition for      his medical
                                                                                                         for his  medical
monitoring claims
monitoring    claims in
                      in this
                          this case     since Plaintiff
                                case since     Plaintiff is
                                                          is not
                                                             not claiming     present physical
                                                                  claiming present      physical injury
                                                                                                    injury in   this case.
                                                                                                             in this case.



                                                           -- 19
                                                              19
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The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                            claims is the significant
                                   is the significant exposure,
                                                      exposure, increased
                                                                 increased risk   of disease
                                                                             risk of          and medical
                                                                                     disease and  medical
necessity of
necessity  of diagnostic
              diagnostic testing
                           testing and
                                   and the
                                        the economic
                                             economic loss
                                                        loss associated
                                                             associated therewith.
                                                                          therewith. Plaintiff
                                                                                       Plaintiff and
                                                                                                 and class
                                                                                                     class
members base
members   base their
               their claims
                     claims only
                              only on
                                   on their
                                      their significant
                                            significant exposure
                                                        exposure to
                                                                  to the
                                                                     the proven
                                                                         proven hazardous
                                                                                 hazardous Foam
                                                                                            Foam Toxins
                                                                                                   Toxins
released by
released by PE-PUR
             PE-PUR foam
                       foam inin the
                                 the Recalled
                                     Recalled Devices.
                                               Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                 /s/ Kelly
                                                      /s/ Kelly K
                                                                K. Iverson
                                                                   Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                          Kelly K.
                                                      Kelly  K. Iverson,
                                                                Iverson, Esquire
                                                                          Esquire
 LEVIN SEDRAN
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                                                                                Floor
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                                                      Pittsburgh,  PA 15222
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                                                      (412) 322-9243 (phone)
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                            /s/ Steven
                                                      /s/ Steven A.
                                                                 A. Schwartz
                                                                    Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                     Steven  A. Schwartz,
                                                      Steven A.  Schwartz, Esquire
                                                                           Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                              CHIMICLES       SCHWARTZ 'MINER
                                                      CHIMICLES SCHWARTZ           KRINER &
                                                                                          &
                        th
 55  Challenger Road,
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                                                      361 West             Avenue
                                                                 Lancaster Avenue
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       639-9100 (phone)                               One Haverford
                                                      One   Haverford Centre
                                                                      Centre
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                                                      Haverford,  PA 19041
                                                                      19041
                                                      (610)
                                                      (610) 642-8500   (phone)
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                                                      steveschwartz@chimicles.com
                                                      steveschwartz@chimicles.com


                                 Counsel for Plaintiffs
                                 Counselfor  Plaintiffs and
                                                        and the
                                                            the Class
                                                                Class




                                                  -- 20
                                                     20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 365 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

JEFFREY BOYLE’S AMENDED
JEFFREY BOYLE'S AMENDED RESPONSES
                        RESPONSES AND
                                  AND OBJECTIONS
                                      OBJECTIONS TO
                                                 TO PHILIPS
                                                    PHILIPS RS'
                                                            RS’ FIRST
                                                                FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
                           MORGAN,    LEWIS &
                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
                                                           LLP
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                                    1701 Market Street
                                                 Street
                              Philadelphia, PA
                              Philadelphia, PA 19103-2921
                                                19103-2921
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                                 Wendy         Feinstein
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                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

                                    Michael H.
                                    Michael H. Steinberg
                                                Steinberg
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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
                       FRANKLIN
                       FRANKLIN &   & PROKOPIK
                                        PROKOPIK
                      500 Creek
                      500 Creek View
                                View Road,
                                       Road, Suite 502
                                             Suite 502
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                            Newark,   DE 19711
                                         19711
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                              (302) 594-9780
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                    EXHIBIT
                    EXHIBIT P
                            P
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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       PLAINTIFF SHARON
       PLAINTIFF SHARON CATHERS’S   SECOND AMENDED
                        CATHERS'S SECOND   AMENDED RESPONSES
                                                    RESPONSES AND
                                                              AND
         OBJECTIONS TO
         OBJECTIONS TO PHILIPS
                       PHILIPS RS'
                               RS’ FIRST REQUEST FOR
                                   FIRST REQUEST FOR PRODUCTION
                                                     PRODUCTION
            OF DOCUMENTS
            OF DOCUMENTS TO
                          TO MEDICAL
                             MEDICAL MONITORING
                                       MONITORING PLAINTIFFS
                                                   PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,  model number,
                                                          name, model            and serial
                                                                       number, and   serial number
                                                                                            number
of each
of      and every
   each and every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,  and the
                                                                                    it, and the date
                                                                                                date
on which
on which You
          You no  longer had
               no longer     possession of
                         had possession  of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Sharon
         Plaintiff          Cathers ("Plaintiff")
                   Sharon Cathers     (“Plaintiff”) objects
                                                    objects to
                                                             to this
                                                                this Request
                                                                     Request onon grounds    that it
                                                                                   grounds that   it is
                                                                                                     is vague,
                                                                                                        vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,   and/or because
                                                  cumulative, and/or    because the
                                                                                  the burden
                                                                                      burden oror expense
                                                                                                   expense ofof
the discovery
the  discovery outweighs
                outweighs its    likely benefit.
                             its likely benefit. Plaintiff
                                                 Plaintiff further
                                                           further objects
                                                                   objects to
                                                                            to this
                                                                               this Request
                                                                                    Request toto the
                                                                                                 the extent
                                                                                                      extent it
                                                                                                              it
seeks matters
seeks   matters immune
                immune fromfrom discovery
                                  discovery under
                                              under either  the attorney-client
                                                    either the  attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                               protection. Plaintiff
                                                                            Plaintiff further  objects to
                                                                                      further objects    to the
                                                                                                            the
term "Acquired"
term   “Acquired” because
                    because as as defined
                                  defined it
                                           it seeks
                                              seeks to
                                                    to obtain
                                                       obtain information
                                                               information not
                                                                             not relevant
                                                                                  relevant to
                                                                                           to any
                                                                                               any claims
                                                                                                     claims or
                                                                                                             or
defenses of
defenses   of any
              any party.
                   party. Plaintiff
                          Plaintiff further
                                    further objects
                                             objects on
                                                     on grounds
                                                        grounds that
                                                                  that this
                                                                       this Request
                                                                            Request seeks
                                                                                     seeks information
                                                                                            information that
                                                                                                           that
is already
is already in
            in Defendant's
               Defendant’s possession,
                              possession, custody,
                                            custody, and/or
                                                     and/or control.
                                                             control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                        any other    privilege,
                                                                                              other privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMCATHERSSHARON00000001.
                                                         see MMCATHERSSHARON00000001.

AMENDED REOUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMCATHERSSHARON00000001.
                                                         see MMCATHERSSHARON00000001.

REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                                product doctrine,
                                                                          doctrine, oror any
                                                                                          any other   privilege,
                                                                                               other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents     reflecting  the instructions  for using the Recalled  Device,   recommended
Documents reflecting the instructions for using the Recalled Device, recommended frequency of frequency   of
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                  discovery outweighs
                                                                              outweighs itsits likely benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                   matters immune
                                                                            immune from
                                                                                      from discovery
                                                                                             discovery under
                                                                                                         under
either the  attorney-client    privilege  and/or  the  work   product  doctrine,   or  any   other
either the attorney-client privilege and/or the work product doctrine, or any other privilege,      privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                               scope of
                                                                     of this
                                                                        this Request
                                                                             Request toto the
                                                                                          the extent
                                                                                               extent it
                                                                                                      it seeks
                                                                                                         seeks
information not
information   not relevant
                   relevant to
                             to any
                                any claims
                                      claims or
                                             or defenses
                                                 defenses ofof any
                                                               any party.
                                                                   party. Plaintiff
                                                                           Plaintiff further   objects to
                                                                                     further objects   to this
                                                                                                           this


                                                     -2-
                                                     -2
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Request on
Request on grounds
           grounds that
                   that it
                        it seeks
                           seeks information
                                 information already
                                             already in
                                                     in the
                                                        the possession,
                                                            possession, custody,
                                                                        custody, and/or
                                                                                 and/or control
                                                                                        control of
                                                                                                of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 6:
REOUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including
                                                       including but
                                                                 but not
                                                                     not limited
                                                                          limited to
                                                                                  to any
                                                                                     any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either   the   attorney-client        privilege    and/or    the  work    product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,      or   any    other    privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REOUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO
                            NO 7:
                               7:




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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                 Request areare compounded
                                                                                 compounded by   by the
                                                                                                     the fact   that
                                                                                                          fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its  possession, custody,
                                                                       its possession,             and/or control
                                                                                        custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                       responsive documents
                                                                                    documents to  to this
                                                                                                     this Request
                                                                                                          Request
for settlement purposes.
for settlement   purposes. Plaintiff
                              Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                 scope ofof this
                                                                            this Request
                                                                                 Request toto the
                                                                                              the extent
                                                                                                   extent it
                                                                                                           it seeks
                                                                                                              seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses
                                        claims or  defenses of of any
                                                                  any party.
                                                                       party. Plaintiff
                                                                               Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request   to  the  extent  it seeks   matters   immune    from   discovery    under  either
Request to the extent it seeks matters immune from discovery under either the attorney-clientthe  attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                   privilege, immunity,
                                                                               immunity, or or protection.
                                                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either   the   attorney-client        privilege    and/or    the  work    product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,      or   any    other    privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents inin Your
                                    Your possession,
                                         possession, custody,
                                                     custody, oror control
                                                                   control Regarding
                                                                           Regarding Your
                                                                                        Your use
                                                                                             use of
                                                                                                 of and
                                                                                                    and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                                This Request
                                     Request includes,
                                             includes, but
                                                        but is
                                                            is not
                                                               not limited to, all
                                                                   limited to, all data
                                                                                   data Regarding
                                                                                        Regarding Your
                                                                                                  Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                             and/or EncoreAnywhere,      which we
                                                                     EncoreAnywhere, which      we will
                                                                                                    will
obtain upon
obtain        your signing
       upon your   signing the
                           the attached
                               attached Authorization
                                        Authorization to
                                                       to Disclose
                                                          Disclose Health
                                                                     Health Information.
                                                                             Information.


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                                                               -4
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims or
                                                                                                     or defenses
                                                                                                         defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit
             limit the
                   the scope
                        scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product   doctrine, or
                     or any
                         any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely  benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought inin this
                                                                               this Request
                                                                                     Request is   already in
                                                                                               is already      the
                                                                                                            in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further   objects to
                                                                        further objects    to this
                                                                                              this Request
                                                                                                     Request on on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” is
                                          is undefined
                                              undefined and
                                                          and that
                                                                that it
                                                                      it is
                                                                         is not   apparent to
                                                                            not apparent     to Plaintiff
                                                                                                 Plaintiff what
                                                                                                             what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                 seeks in  this Request
                                                                                        in this  Request that
                                                                                                           that is
                                                                                                                 is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects   to this
                                                                          objects to  this Request
                                                                                           Request onon grounds
                                                                                                         grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                    custody, and/or
                                                                                              and/or control    of
                                                                                                       control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff will
                                                                   will submit
                                                                        submit the
                                                                               the SD card from
                                                                                   SD card from
his Recalled
his Recalled Device(s).
             Device(s).


REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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                                                       6-
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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

         Without waiving
         Without waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, see MMCATHERSSHARON00000002-
                                                          see MMCATHERSSHARON00000002-
04.
04.

REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


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                                                        -7
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Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                        concession that
                                                                                      that evidence
                                                                                           evidence of of degradation
                                                                                                           degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                             objects to
                                                                      to this
                                                                          this Request
                                                                               Request onon grounds
                                                                                              grounds that
                                                                                                         that the
                                                                                                               the term
                                                                                                                    term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to the
                                                                                                the use
                                                                                                    use of of the
                                                                                                              the term
                                                                                                                    term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                       it is
                                                          is overbroad,
                                                             overbroad, vague,
                                                                           vague, ambiguous,
                                                                                   ambiguous, and and impermissibly
                                                                                                       impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims    or defenses
                                                claims or    defenses ofof any
                                                                            any party.
                                                                                party. Plaintiff
                                                                                        Plaintiff further
                                                                                                   further objects
                                                                                                             objects toto
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                              Request No.No. 11.
                                                                              11. Plaintiff
                                                                                  Plaintiff further
                                                                                              further objects
                                                                                                       objects toto this
                                                                                                                     this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of of the
                                                                   the requested
                                                                       requested discovery
                                                                                   discovery outweighs
                                                                                                outweighs its its likely
                                                                                                                  likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                             possession, custody,
                                                                                           custody, and/or
                                                                                                      and/or control.
                                                                                                                control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                      the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                               has already
                                                                                    already provided
                                                                                              provided information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                       objects to to this
                                                                     this Request
                                                                           Request toto the
                                                                                        the extent
                                                                                             extent it  seeks matters
                                                                                                     it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                     privilege and/or
                                                                                and/or the
                                                                                        the work
                                                                                             work product
                                                                                                   product doctrine,
                                                                                                              doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                       further objects
                                                                                objects to
                                                                                         to the
                                                                                            the extent
                                                                                                 extent this
                                                                                                          this Request
                                                                                                                Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 18:
REQUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.


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                                                          8-
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant to to any
                                                                              any claims
                                                                                   claims oror defenses
                                                                                                defenses ofof any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request  includes but
                                                                           but is
                                                                                is not
                                                                                   not limited  to the
                                                                                        limited to the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in  Paragraphs
                                                                                         in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring C CSAC.
                                       SAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,


                                                      - 99 -
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immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                  physician-patient privilege.
                                                                       privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                 further objects
                                                                                                          objects to
                                                                                                                   to this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                               Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                     objects to
                                                                                                             to the
                                                                                                                the scope
                                                                                                                    scope
of this
of  this Request
         Request to to the
                       the extent
                            extent it  it seeks
                                          seeks information
                                                   information not not relevant
                                                                       relevant to to any
                                                                                       any claims
                                                                                             claims or
                                                                                                     or defenses   of any
                                                                                                         defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs costs does
                                                           does not
                                                                 not put
                                                                      put present
                                                                          present physical
                                                                                     physical condition     at issue.
                                                                                                 condition at          See
                                                                                                               issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.  Elec. Corp.,
                                            Corp., 522522 S.E.2d    424,430 (W.Va.
                                                           S.E.2d 424,430     (W.Va. 1999)
                                                                                         1999) (citations
                                                                                                 (citations omitted)
                                                                                                            omitted) (the
                                                                                                                       (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in  in risk
                                                risk that
                                                      that requires
                                                           requires one
                                                                      one to
                                                                           to incur
                                                                               incur the
                                                                                      the cost
                                                                                            cost of
                                                                                                 of monitoring);
                                                                                                     monitoring); Meyer
                                                                                                                   Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                           714, 716716 (Mo.
                                                        (Mo. 2007);
                                                               2007); Exxon
                                                                       Exxon Mobil
                                                                                Mobil Corp.
                                                                                         Corp. v.  Albright, 71
                                                                                                v. Albright,     A.3d 30,
                                                                                                              71 A.3d   30,
75-77   (Md.  2013)   (exposure      itself   and   the  need  for  medical  testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable   is the compensable     injury
                                                                                                               injury  in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                    Sadler v.     PacifiCare of
                                               v. PacifiCare    of Nev.,
                                                                   Nev., Inc.,  340 P.3d,
                                                                         Inc., 340    P.3d, 264,
                                                                                             264, 1270-72
                                                                                                   1270-72 (Nev.
                                                                                                             (Nev. 2014)
                                                                                                                    2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act  act ofof the
                                                     the defendant
                                                          defendant caused
                                                                      caused thethe plaintiff
                                                                                     plaintiff to
                                                                                                to have
                                                                                                    have aa medical
                                                                                                            medical need
                                                                                                                      need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.      Firestone Tire
                                           v. Firestone     Tire && Rubber
                                                                     Rubber Co.,     863 P.2d
                                                                                Co., 863    P.2d 795,
                                                                                                  795, 823   (Cal. 1993).
                                                                                                        823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                            privilege as
                                                                       as to
                                                                          to any
                                                                             any medical
                                                                                    medical condition
                                                                                              condition for   his medical
                                                                                                          for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                         since Plaintiff
                                                  Plaintiff is
                                                             is not
                                                                not claiming
                                                                    claiming present
                                                                                present physical
                                                                                           physical injury
                                                                                                      injury in
                                                                                                             in this
                                                                                                                this case.
                                                                                                                     case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is  is the
                                              the significant
                                                   significant exposure,
                                                                 exposure, increased
                                                                             increased riskrisk of
                                                                                                 of disease
                                                                                                    disease and
                                                                                                             and medical
                                                                                                                  medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and and thethe economic
                                                      economic loss     associated therewith.
                                                                   loss associated     therewith. Plaintiff
                                                                                                      Plaintiff and
                                                                                                                and class
                                                                                                                     class
members base
members    base their
                 their claims
                        claims onlyonly onon their
                                              their significant
                                                     significant exposure
                                                                   exposure toto the
                                                                                  the proven
                                                                                      proven hazardous
                                                                                                hazardous Foam
                                                                                                            Foam Toxins
                                                                                                                   Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                      the Recalled
                                            Recalled Devices.
                                                        Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request  includes   but is  not limited  to any  “testing  and  screening;  blood   and  laboratory
request includes but is not limited to any "testing and screening; blood and laboratory tests;        tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it
                                                              it seeks
                                                                 seeks matters
                                                                        matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other     privilege,
                                                                                                  other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); Meyer
                                                                                                              Meyer



                                                           -- 10
                                                              10
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 379 of 654




v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220    S.W.3d 712,
                                  712, 714,    716 (Mo.
                                         714, 716    (Mo. 2007);
                                                            2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.              71 A.3d
                                                                                               Albright, 71
                                                                                            v. Albright,      A.3d
30, 75-77
30,  75-77 (Md.
            (Md. 2013)     (exposure itself
                   2013) (exposure            and the
                                       itself and   the need
                                                        need for
                                                               for medical
                                                                   medical testing
                                                                             testing is
                                                                                     is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                            injury
in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                                v. PacifiCare    of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,   264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.   Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,          P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                           physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                             risk of
                                                                                                  of disease
                                                                                                      disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated   therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and
class members
class  members base
                  base their
                        their claims
                              claims only
                                       only on
                                             on their
                                                 their significant
                                                        significant exposure
                                                                     exposure toto the
                                                                                   the proven
                                                                                        proven hazardous
                                                                                                hazardous Foam
                                                                                                             Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                 Recalled Devices.
                                                             Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                    to any
                                                                                                        any
treatment  and/or  testing  prescribed  to You   by  a Health  Care   Provider   even if  unrelated
treatment and/or testing prescribed to You by a Health Care Provider even if unrelated to the        to the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                     blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,
                                                                                 endoscopies, and
                                                                                                and other
                                                                                                      other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical andand
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                           Request as   as vague,
                                                             vague, unduly
                                                                      unduly burdensome,
                                                                                 burdensome, overbroad,
                                                                                                    overbroad, irrelevant,
                                                                                                                    irrelevant,
cumulative,     and/or   because     the  burden    or   expense    of  the   discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.           its  likely   benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                        Request to to the
                                                      the extent
                                                            extent it
                                                                    it seeks
                                                                       seeks matters
                                                                               matters immune
                                                                                         immune from from discovery
                                                                                                            discovery underunder
either the
either  the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or the the work
                                                                 work product
                                                                        product doctrine,
                                                                                    doctrine, or or any
                                                                                                      any other
                                                                                                            other privilege,
                                                                                                                     privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                         privilege. Plaintiff
                                                                                       Plaintiff further
                                                                                                   further objects
                                                                                                              objects to to this
                                                                                                                             this
Request on
Request    on grounds
               grounds that
                         that it
                               it violates
                                   violates Plaintiffs
                                              Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                      privacy. Plaintiff
                                                                                  Plaintiff further
                                                                                             further objects
                                                                                                       objects to to the
                                                                                                                     the scope
                                                                                                                           scope
of this
of  this Request
         Request to to the
                        the extent
                             extent it it seeks
                                          seeks information
                                                  information not  not relevant
                                                                         relevant toto any
                                                                                        any claims
                                                                                              claims or or defenses
                                                                                                            defenses of  of any
                                                                                                                             any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                    monitoring costs
                                                   costs does
                                                           does not
                                                                  not put
                                                                       put present
                                                                            present physical
                                                                                      physical condition
                                                                                                   condition at  at issue.
                                                                                                                    issue. See
                                                                                                                             See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.  Elec. Corp.,    522 S.E.2d
                                            Corp., 522              424,430 (W.Va.
                                                           S.E.2d 424,430       (W.Va. 1999)
                                                                                           1999) (citations      omitted) (the
                                                                                                   (citations omitted)       (the
injury in
injury  in question
            question isis the
                          the increase
                               increase in  in risk
                                               risk that
                                                     that requires
                                                            requires one
                                                                       one to
                                                                            to incur
                                                                                incur the
                                                                                        the cost
                                                                                             cost of
                                                                                                   of monitoring);
                                                                                                       monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220     S.W.3d 712, 712, 714,
                                             714, 716     (Mo. 2007);
                                                   716 (Mo.       2007); Exxon
                                                                           Exxon Mobil
                                                                                    Mobil Corp.
                                                                                             Corp. v.    Albright, 71
                                                                                                      v. Albright,     71 A.3d
                                                                                                                            A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                            (exposure itself
                                           itself and
                                                  and thethe need
                                                               need for   medical testing
                                                                     for medical     testing is
                                                                                              is the
                                                                                                  the compensable
                                                                                                       compensable injury injury
in aa medical
in    medical monitoring
                monitoring claim);
                               claim); Sadler
                                           Sadler v.    PacifiCare of
                                                    v. PacifiCare      of Nev.,
                                                                           Nev., Inc.,    340 P.3d,
                                                                                  Inc., 340    P.3d, 264,
                                                                                                       264, 1270-72
                                                                                                              1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the the negligent
                                       negligent actact of
                                                         of the
                                                              the defendant
                                                                  defendant caused
                                                                                caused thethe plaintiff
                                                                                              plaintiff to
                                                                                                         to have
                                                                                                             have aa medical
                                                                                                                       medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); PotterPotter v.   Firestone Tire
                                                  v. Firestone      Tire && Rubber
                                                                               Rubber Co.,Co., 863    P.2d 795,
                                                                                               863 P.2d              823 (Cal.
                                                                                                              795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                               waived the the physician-patient
                                               physician-patient privilege
                                                                       privilege asas to
                                                                                       to any
                                                                                           any medical
                                                                                               medical condition
                                                                                                           condition for for his
                                                                                                                              his
medical monitoring
medical    monitoring claims
                         claims in     this case
                                    in this       since Plaintiff
                                             case since    Plaintiff is
                                                                      is not  claiming present
                                                                         not claiming      present physical
                                                                                                     physical injury
                                                                                                                 injury in   this
                                                                                                                          in this
case. The
case.        injury that
       The injury     that Plaintiff
                            Plaintiff claims
                                         claims is is the
                                                       the significant
                                                             significant exposure,
                                                                           exposure, increased
                                                                                          increased risk
                                                                                                       risk ofof disease
                                                                                                                  disease andand
medical necessity
medical    necessity ofof diagnostic
                           diagnostic testing
                                          testing and
                                                    and the
                                                          the economic
                                                                economic loss      associated therewith.
                                                                             loss associated     therewith. Plaintiff
                                                                                                                 Plaintiff and
                                                                                                                             and
class members
class  members basebase their
                         their claims
                                 claims only
                                           only on
                                                 on their
                                                      their significant
                                                              significant exposure
                                                                            exposure to  to the
                                                                                            the proven
                                                                                                proven hazardous
                                                                                                           hazardous Foam  Foam



                                                             - 11
                                                             -11
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Toxins released by
Toxins released by PE-PUR
                   PE-PUR foam in the
                          foam in the Recalled
                                      Recalled Devices.
                                               Devices.

REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A  claim   for  medical     monitoring        costs  does  not   put  present    physical
party. A claim for medical monitoring costs does not put present physical condition at issue. See   condition      at issue.  See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of
                                                             of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                 outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it seeks matters
                                                             it seeks  matters immune
                                                                               immune fromfrom discovery
                                                                                                 discovery under
                                                                                                             under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                         privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                  privilege. Plaintiff
                                                                             Plaintiff further
                                                                                        further objects
                                                                                                  objects toto this
                                                                                                               this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                      right to
                                                            to privacy.
                                                                privacy. Plaintiff
                                                                         Plaintiff further
                                                                                   further objects
                                                                                            objects toto the
                                                                                                         the scope
                                                                                                             scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not
                                                            not relevant
                                                                  relevant to
                                                                           to any
                                                                              any claims
                                                                                    claims oror defenses
                                                                                                 defenses ofof any
                                                                                                               any



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 381 of 654




party. A
party. A claim
          claim for
                  for medical
                      medical monitoring
                                  monitoring costscosts does
                                                         does not
                                                               not put
                                                                    put present
                                                                        present physical
                                                                                   physical condition
                                                                                              condition atat issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                   Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430                1999) (citations
                                                                            (W.Va. 1999)                  omitted) (the
                                                                                               (citations omitted)   (the
injury in
injury in question
           question isis the
                         the increase
                               increase inin risk
                                              risk that
                                                    that requires
                                                         requires one
                                                                    one to
                                                                         to incur   the cost
                                                                             incur the    cost of
                                                                                               of monitoring);
                                                                                                  monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                         714, 716     (Mo. 2007);
                                                 716 (Mo.            Exxon Mobil
                                                            2007); Exxon      Mobil Corp.
                                                                                       Corp. v.  Albright, 71
                                                                                              v. Albright,     A.3d 30,
                                                                                                            71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure       itself and
                                            and the
                                                  the need   for medical
                                                       need for   medical testing
                                                                           testing is is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                             injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                        claim); Sadler          PacifiCare ofNev.,
                                             v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                       Inc., 340   P.3d, 264,
                                                                                           264, 1270-72
                                                                                                 1270-72 (Nev.
                                                                                                           (Nev. 2014)
                                                                                                                  2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent actact ofof the
                                                   the defendant
                                                        defendant caused
                                                                    caused thethe plaintiff
                                                                                   plaintiff to
                                                                                              to have
                                                                                                 have aa medical
                                                                                                          medical need
                                                                                                                    need
to undergo    monitoring);      Potter   v.  Firestone    Tire  &  Rubber     Co., 863    P.2d
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).   795,  823  (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                   physician-patient privilege
                                                          privilege as
                                                                     as to
                                                                        to any
                                                                           any medical
                                                                                 medical condition
                                                                                            condition for   his medical
                                                                                                        for his medical
monitoring claims
monitoring    claims inin this
                           this case   since Plaintiff
                                 case since     Plaintiff is
                                                          is not
                                                              not claiming    present physical
                                                                  claiming present       physical injury
                                                                                                    injury in this case.
                                                                                                           in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is    the significant
                                        is the   significant exposure,
                                                               exposure, increased
                                                                           increased risk     of disease
                                                                                         risk of           and medical
                                                                                                  disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing       and thethe economic
                                                    economic loss     associated therewith.
                                                                 loss associated     therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                              and class
                                                                                                                   class
members base
members    base their
                 their claims     only on
                        claims only     on their
                                            their significant
                                                   significant exposure
                                                                exposure to to the
                                                                               the proven
                                                                                    proven hazardous
                                                                                             hazardous Foam
                                                                                                          Foam Toxins
                                                                                                                 Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                          Recalled Devices.
                                                      Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.


REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                              outweighs its   its likely  benefit.
                                                                                                                  likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects   to  this    Request     to the extent   it seeks   matters    immune       from    discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or   or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                        privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                                further objects
                                                                                                           objects toto the
                                                                                                                        the scope
                                                                                                                            scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                 claims or or defenses
                                                                                                                defenses ofof any
                                                                                                                               any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                     condition at   at issue.
                                                                                                                       issue. See
                                                                                                                               See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                       omitted) (the
                                                                                                      (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost ofof monitoring);
                                                                                                          monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.    Albright, 71
                                                                                                    v. Albright,         A.3d 30,
                                                                                                                      71 A.3d   30,
75-77  (Md.   2013)   (exposure       itself   and   the  need  for  medical    testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable      is the  compensable         injury
                                                                                                                       injury  in
                                                                                                                               in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                     (Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff to to have
                                                                                                         have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d       795, 823823 (Cal.   1993).
                                                                                                                     (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                  condition for       his medical
                                                                                                                 for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                            injury in   this case.
                                                                                                                     in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk       of disease
                                                                                               risk of    disease andand medical
                                                                                                                          medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and class
                                                                                                                             class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                    hazardous Foam Foam Toxins
                                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.



                                                               -- 13
                                                                  13
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       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare     of Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to   to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REQUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the



                                                              -- 14
                                                                 14
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injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                  injury in  this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes  but is not limited to Documents   Regarding   the costs associated  with Your  “need
includes but is not limited to Documents Regarding the costs associated with Your "need to incurto incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                     privilege, and/or
                                                                                  and/or because
                                                                                           because thethe burden
                                                                                                            burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                           objects toto this
                                                                                        this Request
                                                                                              Request to to the
                                                                                                             the extent
                                                                                                                  extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                     yet know
                                                                         know "all
                                                                                 “all damages"
                                                                                      damages” suffered
                                                                                                    suffered because
                                                                                                               because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                     testimony, such
                                                                                   such as
                                                                                         as the
                                                                                             the medical
                                                                                                  medical necessity
                                                                                                              necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, and and consultations,      because of
                                                                         consultations, because        of the
                                                                                                           the defect.
                                                                                                                 defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                       extent it
                                                                               it seeks
                                                                                  seeks information
                                                                                         information not  not relevant
                                                                                                               relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects   to this
                                                                  objects to  this Request
                                                                                    Request to to the
                                                                                                  the extent
                                                                                                       extent it   seeks
                                                                                                                it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                             privilege and/or
                                                                                         and/or thethe work
                                                                                                        work product
                                                                                                                product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                           damages thatthat Plaintiff
                                                                                             Plaintiff claims
                                                                                                        claims is  is the
                                                                                                                      the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                  and class
                                                                                      class members'
                                                                                              members’ significant
                                                                                                           significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foam foam inin the
                                                                                             the Recalled
                                                                                                 Recalled Devices.
                                                                                                              Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29



                                                         -- 15
                                                            15
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        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent   it seeks
                                                                                                 extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens
burdens onon  Plaintiff
              Plaintiff which   substantially  outweighs    its likely  benefit.
                        which substantially outweighs its likely benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REQUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.




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                                                          16
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                                the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product  doctrine,  or any  other privilege,
product doctrine, or any other privilege,    immunity,
                                             immunity,     or
                                                           or  protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                           unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative,   and/or  because   the  burden  or  expense  of  the  discovery outweighs    its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.       benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds   that it
                                                 grounds that   it seeks
                                                                   seeks matters
                                                                         matters immune
                                                                                  immune fromfrom discovery
                                                                                                    discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                  the work
                                                      work product
                                                              product doctrine,
                                                                        doctrine, or
                                                                                   or any
                                                                                      any other
                                                                                            other privilege,
                                                                                                    privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                 objects to
                                                         to this
                                                             this Request
                                                                  Request to
                                                                           to the
                                                                               the extent  that information
                                                                                   extent that   information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                       by Plaintiff.
                                                           Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.




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                                                        17
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REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary    difficulties of this  Request  are  compounded    by  the  fact that Defendant  seeks
unnecessary difficulties of this Request are compounded by the fact that Defendant seeks materials   materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because    the burden   or  expense   of the discovery     outweighs
and/or because the burden or expense of the discovery outweighs its likely   its likely  benefit.
                                                                                         benefit.  Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                  objects toto this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.



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                                                          18
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REQUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative,   and/or  because   the burden or  expense   of the discovery   outweighs   its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.     benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REQUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in the last five  years, including documents sufficient to show  the frequency  of such
participated in the last five years, including documents sufficient to show the frequency of such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                      monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                           burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of of the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                    outweighs its its likely  benefit.
                                                                                                      likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it   seeks matters
                                                               it seeks  matters immune
                                                                                  immune fromfrom discovery
                                                                                                    discovery under
                                                                                                                under
either  the  attorney-client    privilege    and/or  the   work    product   doctrine,    or
either the attorney-client privilege and/or the work product doctrine, or any other privilege,any   other   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                             physician-patient privilege.
                                                                    privilege. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                 privacy. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto the
                                                                                                            the scope
                                                                                                                scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not not relevant
                                                                   relevant toto any
                                                                                 any claims
                                                                                       claims oror defenses
                                                                                                    defenses ofof any
                                                                                                                  any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                  put present
                                                                       present physical
                                                                                physical condition
                                                                                           condition at at issue.
                                                                                                           issue. See
                                                                                                                   See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d    424,430 (W.Va.
                                                      S.E.2d 424,430               1999) (citations
                                                                          (W.Va. 1999)                  omitted) (the
                                                                                           (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires oneone to
                                                                       to incur  the cost
                                                                          incur the   cost of
                                                                                           of monitoring);
                                                                                               monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                              716 (Mo.   2007); Exxon
                                                                   Exxon Mobil
                                                                           Mobil Corp.
                                                                                   Corp. v.  Albright, 71
                                                                                          v. Albright,       A.3d 30,
                                                                                                         71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure      itself and
                                          and the
                                               the need   for medical
                                                    need for  medical testing
                                                                         testing is
                                                                                  is the
                                                                                     the compensable
                                                                                         compensable injuryinjury in
                                                                                                                  in aa
medical monitoring
medical   monitoring claim);     Sadler v.
                       claim); Sadler        PacifiCare of
                                          v. PacifiCare    of Nev.,
                                                              Nev., Inc.,  340 P.3d,
                                                                     Inc., 340  P.3d, 264,
                                                                                       264, 1270-72
                                                                                              1270-72 (Nev.     2014)
                                                                                                         (Nev. 2014)



                                                        -- 19
                                                           19
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(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact of
                                              of the
                                                 the defendant
                                                     defendant caused
                                                                 caused thethe plaintiff
                                                                               plaintiff to
                                                                                         to have
                                                                                            have aa medical
                                                                                                    medical need
                                                                                                             need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone   Tire && Rubber
                                                                Rubber Co.,    863 P.2d
                                                                          Co., 863  P.2d 795,
                                                                                           795, 823  (Cal. 1993).
                                                                                                823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                       privilege as
                                                                  as to
                                                                     to any
                                                                        any medical
                                                                              medical condition
                                                                                       condition for  his medical
                                                                                                  for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                              Plaintiff is
                                                        is not
                                                           not claiming
                                                               claiming present
                                                                           present physical
                                                                                    physical injury
                                                                                              injury in
                                                                                                     in this
                                                                                                        this case.
                                                                                                             case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                               significant exposure,
                                                            exposure, increased
                                                                        increased risk
                                                                                    risk of
                                                                                         of disease
                                                                                            disease and
                                                                                                     and medical
                                                                                                          medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and the
                                             the economic
                                                  economic loss    associated therewith.
                                                             loss associated     therewith. Plaintiff
                                                                                              Plaintiff and
                                                                                                        and class
                                                                                                             class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                 significant exposure
                                                             exposure to to the
                                                                            the proven
                                                                                proven hazardous
                                                                                        hazardous Foam
                                                                                                    Foam Toxins
                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                    Devices.


 Dated: January
 Dated:         3, 2024
        January 3, 2024

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                     /s/ Kelly
                                                          /s/ Kelly K
                                                                    K. Iverson
                                                                       Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                              Kelly K.
                                                          Kelly  K. Iverson,
                                                                    Iverson, Esquire
                                                                              Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                                /s/ Steven
                                                          /s/ Steven A.
                                                                     A. Schwartz
                                                                        Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                         Steven  A. Schwartz,
                                                          Steven A.  Schwartz, Esquire
                                                                               Esquire
 SEEGER     WEISS LLP
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                                                                                              &
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                                    Counsel for Plaintiffs
                                    Counselfor  Plaintiffs and
                                                           and the
                                                               the Class
                                                                   Class




                                                      -- 20
                                                         20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 389 of 654




                               CERTIFICATE OF SERVICE
                               CERTIFICATE OF SERVICE

       II hereby
          hereby certify
                 certify that,
                         that, on
                               on January 3, 2024,
                                  January 3, 2024, II served
                                                      served aa true
                                                                true and
                                                                     and correct
                                                                         correct copy of PLAINTIFF
                                                                                 copy of PLAINTIFF

SHARON CATHERS’S AMENDED
SHARON CATHERS'S AMENDED RESPONSES
                         RESPONSES AND
                                   AND OBJECTIONS
                                       OBJECTIONS TO PHILIPS RS'
                                                  TO PHILIPS RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
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                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 390 of 654




                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                       FRANKLIN &   & PROKOPIK
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 391 of 654




                    EXHIBIT Q
                    EXHIBIT Q
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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        PLAINTIFF
        PLAINTIFF SARAH
                  SARAH CLAUNCH’S
                        CLAUNCH'S SECOND    AMENDED RESPONSES
                                    SECOND AMENDED   RESPONSES AND
                                                               AND
         OBJECTIONS TO
         OBJECTIONS  TO PHILIPS RS’ FIRST
                        PHILIPS RS'       REQUEST FOR
                                    FIRST REQUEST FOR PRODUCTION
                                                      PRODUCTION
             OF DOCUMENTS
             OF DOCUMENTS TO
                           TO MEDICAL
                              MEDICAL MONITORING
                                        MONITORING PLAINTIFFS
                                                    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,  model number,
                                                          name, model            and serial
                                                                       number, and   serial number
                                                                                            number
of each
of      and every
   each and every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,  and the
                                                                                    it, and the date
                                                                                                date
on which
on which You
          You no  longer had
               no longer     possession of
                         had possession  of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Sarah
         Plaintiff        Claunch ("Plaintiff")
                   Sarah Claunch     (“Plaintiff”) objects   to this
                                                    objects to  this Request
                                                                     Request onon grounds
                                                                                    grounds that
                                                                                             that it
                                                                                                   it is
                                                                                                      is vague,
                                                                                                         vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                 and/or because
                                                                         because the
                                                                                   the burden
                                                                                       burden oror expense
                                                                                                    expense ofof
the discovery
the  discovery outweighs
                outweighs itsits likely
                                 likely benefit.
                                        benefit. Plaintiff
                                                 Plaintiff further
                                                           further objects
                                                                    objects to
                                                                             to this
                                                                                this Request
                                                                                     Request toto the
                                                                                                  the extent
                                                                                                       extent it
                                                                                                               it
seeks matters
seeks   matters immune
                immune fromfrom discovery
                                  discovery under
                                              under either
                                                     either the
                                                            the attorney-client
                                                                 attorney-client privilege
                                                                                  privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                           work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further  objects to
                                                                                       further objects    to the
                                                                                                             the
term "Acquired"
term  “Acquired” because
                    because as as defined
                                  defined it
                                           it seeks
                                              seeks to
                                                     to obtain
                                                        obtain information
                                                                information not
                                                                              not relevant
                                                                                   relevant to
                                                                                            to any
                                                                                                any claims
                                                                                                      claims or
                                                                                                              or
defenses of
defenses   of any
              any party.
                   party. Plaintiff
                          Plaintiff further
                                    further objects
                                             objects on
                                                      on grounds
                                                         grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                      seeks information
                                                                                             information that
                                                                                                            that
is already
is already in
            in Defendant's
               Defendant’s possession,
                              possession, custody,
                                            custody, and/or
                                                      and/or control.
                                                              control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMCLAUNCHSARAH00000001-
                                                     see MMCLAUNCHSARAH00000001-
MMCLAUNCHSARAH00000003.
MMCLAUNCHSARAH00000003.

REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMCLAUNCHSARAH00000002.
                                                         see MMCLAUNCHSARAH00000002.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:
                                                      - 11 -
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        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information already
information   already in
                       in the
                          the possession,
                               possession, custody,
                                           custody, and/or
                                                    and/or control
                                                             control of
                                                                      of Defendant.
                                                                         Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMCLAUNCHSARAH00000002.
                                                         see MMCLAUNCHSARAH00000002.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                                product doctrine,
                                                                          doctrine, oror any
                                                                                          any other   privilege,
                                                                                               other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request   seeks information   that is not relevant  to any  claims    or defenses  of any  party. Additionally,
Request seeks information that is not relevant to any claims or defenses of any party. Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REQUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                  discovery outweighs
                                                                              outweighs itsits likely benefit.
                                                                                               likely benefit.
Plaintiff further objects to  this Request  to the extent it seeks matters  immune    from   discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under     under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                              product doctrine,
                                                                       doctrine, oror any
                                                                                       any other    privilege,
                                                                                             other privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                               scope of
                                                                     of this
                                                                        this Request
                                                                             Request toto the
                                                                                          the extent
                                                                                               extent it
                                                                                                      it seeks
                                                                                                         seeks
information not
information   not relevant
                   relevant to
                             to any
                                any claims
                                      claims or
                                             or defenses
                                                 defenses ofof any
                                                               any party.
                                                                   party. Plaintiff
                                                                           Plaintiff further   objects to
                                                                                     further objects   to this
                                                                                                           this


                                                     -2-
                                                     -2
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Request on
Request on grounds
           grounds that
                   that it
                        it seeks
                           seeks information
                                 information already
                                             already in
                                                     in the
                                                        the possession,
                                                            possession, custody,
                                                                        custody, and/or
                                                                                 and/or control
                                                                                        control of
                                                                                                of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but  not limited to any
                                                                          limited to any Health
                                                                                         Health
Care Provider  or  DME   – who was involved in, or who You  consulted in connection  with,
Care Provider or DME — who was involved in, or who You consulted in connection with, Your  Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

          Plaintiff objects
          Plaintiff objects to
                            to this
                               this Request
                                    Request as
                                            as vague,
                                               vague, unduly
                                                      unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                    irrelevant,



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cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                 expense of  of the
                                                                the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad    scope and
                     and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                      of this
                                                           this Request
                                                                Request areare compounded
                                                                                compounded by   by the
                                                                                                    the fact
                                                                                                         fact that
                                                                                                               that
Defendant seeks
Defendant   seeks publicly
                    publicly available
                             available materials
                                         materials that
                                                   that are
                                                         are within
                                                              within its
                                                                     its possession,
                                                                         possession, custody,     and/or control
                                                                                       custody, and/or    control
or are
or are equally
       equally available
                 available to
                           to it.
                              it. Plaintiff
                                  Plaintiff has
                                            has already
                                                already produced
                                                          produced responsive
                                                                      responsive documents
                                                                                   documents to  to this
                                                                                                    this Request
                                                                                                         Request
for settlement purposes.
for settlement   purposes. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                        to the
                                                            the scope
                                                                scope ofof this
                                                                           this Request
                                                                                Request toto the
                                                                                             the extent
                                                                                                  extent it  seeks
                                                                                                          it seeks
information not
information    not relevant
                   relevant to
                             to any
                                 any claims   or defenses
                                      claims or  defenses of  of any
                                                                 any party.
                                                                      party. Plaintiff
                                                                              Plaintiff further
                                                                                        further objects    to this
                                                                                                  objects to   this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                    matters immune
                                              immune fromfrom discovery
                                                                discovery under
                                                                             under either   the attorney-client
                                                                                    either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,
                                        doctrine, or
                                                  or any
                                                     any other
                                                           other privilege,
                                                                  privilege, immunity,
                                                                              immunity, or or protection.
                                                                                              protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure        itself and
                                                                            (exposure itself      and thethe need
                                                                                                              need for     medical
                                                                                                                      for medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);         Sadler v.
                                                                                 claim); Sadler            PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST      9: All
                All Documents
                    Documents inin Your
                                   Your possession,
                                        possession, custody,
                                                    custody, oror control
                                                                  control Regarding
                                                                          Regarding Your
                                                                                       Your use
                                                                                            use of
                                                                                                of and
                                                                                                   and
storage of a Recalled Device.  This Request includes,  but is not limited to, all data Regarding Your
storage of a Recalled Device. This Request includes, but is not limited to, all data Regarding Your
Recalled Device
Recalled Device from   Care Orchestrator,
                 from Care  Orchestrator, DreamMapper,
                                          DreamMapper, and/or
                                                            and/or EncoreAnywhere,      which we
                                                                    EncoreAnywhere, which      we will
                                                                                                   will
obtain upon
obtain       your signing
       upon your  signing the
                          the attached
                              attached Authorization
                                       Authorization to
                                                      to Disclose
                                                         Disclose Health
                                                                    Health Information.
                                                                            Information.



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                                                               -4
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims or
                                                                                                     or defenses
                                                                                                         defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit
             limit the
                   the scope
                        scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product   doctrine, or
                     or any
                         any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden or or expense
                                                   expense ofof the
                                                                the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                             that the
                                                  the information
                                                      information sought
                                                                    sought inin this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control of of Defendant.
                                                Defendant. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” isis undefined
                                               undefined and
                                                           and that
                                                                 that it
                                                                       it is
                                                                          is not   apparent to
                                                                             not apparent     to Plaintiff
                                                                                                  Plaintiff what
                                                                                                              what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards    and what
                                                what information
                                                       information Defendant
                                                                     Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant  to any  claims  or defenses   of  any
relevant to any claims or defenses of any party. party. Plaintiff
                                                        Plaintiff further  objects  to this Request   on  grounds
                                                                  further objects to this Request on grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is    not within
                                                   is not within the
                                                                  the possession,
                                                                      possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from his
                                                                                               his
Recalled Device(s).
Recalled Device(s).

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to which its condition changed over
extent to which its condition changed over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects toto this
                                 this Request
                                      Request as   as vague,
                                                      vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or  or expense
                                                    expense of
                                                             of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects   to the
                                the scope
                                     scope of of this
                                                  this Request
                                                       Request on on grounds
                                                                     grounds that
                                                                                that it
                                                                                      it seeks
                                                                                         seeks information
                                                                                                 information notnot
relevant to
relevant  to any
             any claims
                  claims oror defenses
                              defenses ofof any
                                            any party.
                                                  party. Plaintiff
                                                         Plaintiff further
                                                                   further objects
                                                                            objects that
                                                                                     that the
                                                                                           the term
                                                                                               term "condition"
                                                                                                       “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff           objects to
                          further objects  to this
                                               this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                             that the
                                                                                  the burden
                                                                                      burden oror expense
                                                                                                   expense ofof the
                                                                                                                the
requested    discovery    outweighs    its  likely   benefit,  and/or
requested discovery outweighs its likely benefit, and/or that the       that  the  information
                                                                                   information      is
                                                                                                    is  already
                                                                                                        already  in
                                                                                                                 in
Defendant’s possession,
Defendant's     possession, custody,    and/or control.
                              custody, and/or     control. Plaintiff
                                                           Plaintiff further   objects to
                                                                      further objects    to this
                                                                                            this Request
                                                                                                  Request to to the
                                                                                                                the
extent Plaintiff
extent  Plaintiff has
                   has already
                        already provided
                                  provided information
                                              information responsive
                                                              responsive toto this
                                                                               this Request.
                                                                                    Request. Plaintiff
                                                                                                 Plaintiff further
                                                                                                            further


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objects to
objects to this
            this Request
                 Request to
                          to the
                             the extent
                                 extent it
                                        it seeks
                                           seeks matters
                                                 matters immune
                                                         immune from
                                                                  from discovery
                                                                        discovery under
                                                                                   under either
                                                                                         either the
                                                                                                the
attorney-client privilege
attorney-client  privilege and/or
                           and/or the
                                  the work
                                      work product
                                            product doctrine,
                                                    doctrine, or
                                                              or any
                                                                 any other
                                                                     other privilege,
                                                                           privilege, immunity,
                                                                                      immunity, or
                                                                                                 or
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REQUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative,    and/or  because   the burden  or  expense   of the  discovery   outweighs     its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.   likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly        seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not    limited to
                                                                                            not limited    to any
                                                                                                              any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                          further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                     possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent    Plaintiff
                                                                                                 extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects toto this
                                                                                                              this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the    attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative,   and/or  because  the  burden  or  expense   of the  discovery outweighs    its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.      benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 14:
REOUEST 14: All
            All Documents
                Documents Regarding
                          Regarding your
                                    your Acquisition
                                         Acquisition or
                                                     or use
                                                        use of
                                                            of any
                                                               any cleaners
                                                                   cleaners or
                                                                            or cleaning
                                                                               cleaning



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                                                       6-
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devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                            cleaning devices
                                                                                     devices and
                                                                                             and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs its its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further  objects  to  the  scope  of this Request   to the extent   it seeks  information
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant  not  relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                      difficulties of
                                                                                                    of this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible forfor administering
                                                                                                      administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                       sought inin this
                                                                                                    this Request
                                                                                                          Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                 Plaintiff further
                                                                                           further objects
                                                                                                     objects toto this
                                                                                                                  this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either    the attorney-client
                                                                                       either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, or or protection.
                                                                                                 protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 16:
REQUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                     Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                             irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense of
                                                        of the
                                                           the discovery
                                                                discovery outweighs
                                                                          outweighs its
                                                                                     its likely benefit.
                                                                                         likely benefit.
Plaintiff further
Plaintiff further objects
                  objects to
                          to the
                             the extent
                                 extent this
                                        this Request
                                              Request seeks
                                                      seeks aa concession
                                                               concession that
                                                                          that evidence
                                                                               evidence of
                                                                                        of degradation
                                                                                            degradation
can be
can be seen
        seen by
              by the
                  the naked
                      naked eye.
                             eye. Plaintiff
                                   Plaintiff further
                                             further objects
                                                     objects to
                                                             to this
                                                                this Request
                                                                     Request on
                                                                             on grounds
                                                                                 grounds that
                                                                                          that the
                                                                                               the term
                                                                                                   term


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                                                        -7
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“particulate” and
"particulate"   and "dark
                     “dark matter"
                             matter” areare undefined.
                                              undefined. Plaintiff
                                                             Plaintiff further   objects to
                                                                        further objects    to the
                                                                                               the use
                                                                                                   use ofof the
                                                                                                            the term
                                                                                                                  term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on on grounds
                                      grounds that
                                                 that it
                                                      it is
                                                         is overbroad,
                                                            overbroad, vague,
                                                                         vague, ambiguous,
                                                                                  ambiguous, and and impermissibly
                                                                                                      impermissibly
seeks information
seeks information notnot relevant
                         relevant to to any
                                         any claims    or defenses
                                               claims or    defenses ofof any
                                                                          any party.
                                                                               party. Plaintiff
                                                                                       Plaintiff further
                                                                                                  further objects
                                                                                                           objects toto
this Request
this Request onon grounds
                   grounds that
                             that it
                                   it is
                                      is duplicative
                                          duplicative of  of Request
                                                             Request No.No. 11.
                                                                             11. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                      objects to
                                                                                                               to this
                                                                                                                   this
Request to
Request   to the
             the extent
                 extent that
                         that the
                               the burden
                                    burden or  or expense
                                                   expense of of the
                                                                 the requested
                                                                      requested discovery
                                                                                  discovery outweighs
                                                                                               outweighs itsits likely
                                                                                                                likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is  is already
                                              already in in Defendant's
                                                             Defendant’s possession,
                                                                           possession, custody,
                                                                                          custody, and/or
                                                                                                     and/or control.
                                                                                                              control.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request to  to the
                                                     the extent
                                                           extent Plaintiff
                                                                   Plaintiff has
                                                                              has already
                                                                                   already provided
                                                                                             provided information
                                                                                                         information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                             further objects
                                                      objects toto this
                                                                    this Request
                                                                         Request to to the
                                                                                       the extent
                                                                                            extent it
                                                                                                    it seeks
                                                                                                       seeks matters
                                                                                                              matters
immune from
immune    from discovery
                discovery under
                            under either
                                    either the
                                            the attorney-client
                                                 attorney-client privilege
                                                                    privilege and/or
                                                                               and/or the
                                                                                       the work
                                                                                            work product
                                                                                                  product doctrine,
                                                                                                            doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or   or protection.
                                            protection. Plaintiff
                                                            Plaintiff further
                                                                      further objects
                                                                               objects to
                                                                                        to the
                                                                                           the extent
                                                                                                extent this
                                                                                                        this Request
                                                                                                             Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                              irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its  its likely   benefit.
                                                                                                         likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                     Request to to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                           information not  not relevant
                                                                                                                 relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited     to Communications
                                                                                       Communications with     with Any
                                                                                                                     Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties ofof this
                                                                                                      this Request
                                                                                                            Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                   seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                             available to  to it.
                                                                                                               it. As
                                                                                                                   As the
                                                                                                                       the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                    Defendant is   is in    the position
                                                                       in the    position to to obtain
                                                                                                 obtain information
                                                                                                            information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                           extent that
                                                                                                    that the
                                                                                                          the burden
                                                                                                               burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                        that the
                                                                                             the information       sought
                                                                                                  information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                        objects to to this
                                                                                                                      this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                      responsive to   to this
                                                                                                          this Request.
                                                                                                                Request.
Plaintiff further
Plaintiff further objects  to this
                  objects to   this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune fromfrom discovery
                                                                                                       discovery under
                                                                                                                    under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, or or any
                                                                                                any other      privilege,
                                                                                                       other privilege,
immunity, or
immunity,    or protection.
                protection.

         Without waiving
         Without waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, see MMCLAUNCHSARAH00000001.
                                                          see MMCLAUNCHSARAH00000001.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

         Plaintiff objects
         Plaintiff objects to
                           to this
                              this Request
                                   Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                            burdensome, overbroad,
                                                                        overbroad, irrelevant,
                                                                                   irrelevant,


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cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request areare compounded
                                                                              compounded by    by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                             and/or control.
                                                                                    control. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                        grounds that
                                                                                 that it
                                                                                      it is overbroad, vague,
                                                                                         is overbroad,   vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant toto any
                                                                             any claims
                                                                                  claims oror defenses
                                                                                               defenses of
                                                                                                         of any
                                                                                                            any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it
                                                                   it seeks
                                                                      seeks matters
                                                                            matters immune
                                                                                     immune fromfrom discovery
                                                                                                      discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                            doctrine, or
                                                                                      or any
                                                                                          any other
                                                                                                other privilege,
                                                                                                      privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request  includes but
                                                                           but is
                                                                                is not
                                                                                   not limited  to the
                                                                                        limited to the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in  Paragraphs
                                                                                         in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring C CSAC.
                                       SAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 20:
                                20:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A claim
party. A  claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.  See
                                                                                                         issue. See



                                                       - 99 -
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e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430                1999) (citations
                                                                           (W.Va. 1999)       (citations omitted)
                                                                                                         omitted) (the
                                                                                                                   (the
injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                  monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                        physical injury
                                                                                                   injury in
                                                                                                          in this
                                                                                                             this case.
                                                                                                                  case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased riskrisk of
                                                                                             of disease
                                                                                                 disease and
                                                                                                          and medical
                                                                                                               medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REQUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff   objects toto this
                                   this Request
                                          Request as  as vague,
                                                           vague, unduly
                                                                    unduly burdensome,
                                                                              burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,     and/or because
                        because the the burden
                                         burden or or expense
                                                       expense of of the
                                                                      the discovery
                                                                           discovery outweighs
                                                                                       outweighs itsits likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
           further objects   to this
                                this Request
                                       Request to to the
                                                     the extent
                                                          extent it
                                                                  it seeks
                                                                     seeks matters
                                                                            matters immune
                                                                                     immune from
                                                                                               from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either  the attorney-client
              attorney-client privilege
                                  privilege and/or
                                               and/or thethe work
                                                               work product
                                                                      product doctrine,
                                                                                doctrine, oror any
                                                                                                any other     privilege,
                                                                                                      other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                 including physician-patient
                                               physician-patient privilege.
                                                                       privilege. Plaintiff
                                                                                   Plaintiff further
                                                                                             further objects
                                                                                                       objects to to this
                                                                                                                      this
Request on
Request   on grounds
               grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                             Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                    privacy. Plaintiff
                                                                              Plaintiff further
                                                                                        further objects
                                                                                                 objects toto the
                                                                                                              the scope
                                                                                                                   scope
of this
of  this Request
         Request to to the
                       the extent
                            extent it it seeks
                                         seeks information
                                                 information not not relevant
                                                                      relevant toto any
                                                                                    any claims
                                                                                         claims oror defenses
                                                                                                      defenses of of any
                                                                                                                      any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                  monitoring costscosts does
                                                         does not
                                                                not put
                                                                     put present
                                                                          present physical
                                                                                   physical condition
                                                                                             condition at at issue.
                                                                                                             issue. See
                                                                                                                      See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.        Corp., 522
                                   Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430               1999) (citations
                                                                             (W.Va. 1999)                 omitted) (the
                                                                                             (citations omitted)      (the
injury in
injury  in question   is the
            question is  the increase
                              increase in  in risk
                                              risk that
                                                    that requires
                                                          requires one
                                                                     one to
                                                                          to incur  the cost
                                                                             incur the  cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716
                                                  716 (Mo.      2007); Exxon
                                                        (Mo. 2007);     Exxon Mobil
                                                                                Mobil Corp.
                                                                                        Corp. v.   Albright, 71
                                                                                                v. Albright,         A.3d
                                                                                                                71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
             (Md. 2013)    (exposure itself      and the
                                          itself and   the need
                                                             need for
                                                                   for medical
                                                                       medical testing
                                                                                 testing is
                                                                                         is the
                                                                                            the compensable
                                                                                                 compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                              claim); Sadler
                                          Sadler v.   PacifiCare of
                                                   v. PacifiCare     of Nev.,  Inc., 340
                                                                        Nev., Inc.,       P.3d, 264,
                                                                                     340 P.3d,   264, 1270-72
                                                                                                       1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether    the negligent
                                      negligent actact of
                                                       of the
                                                            the defendant
                                                                defendant caused
                                                                            caused the
                                                                                     the plaintiff
                                                                                         plaintiff to
                                                                                                   to have
                                                                                                       have aa medical
                                                                                                                medical



                                                          -- 10
                                                             10
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need to
need  to undergo
         undergo monitoring);
                   monitoring); Potter
                                    Potter v.  Firestone Tire
                                            v. Firestone    Tire && Rubber     Co., 863
                                                                     Rubber Co.,         P.2d 795,
                                                                                    863 P.2d   795, 823
                                                                                                     823 (Cal.
                                                                                                           (Cal.
1993). Plaintiff
1993).  Plaintiff has
                  has not
                      not waived
                           waived the
                                    the physician-patient
                                         physician-patient privilege
                                                              privilege as
                                                                         as to
                                                                            to any
                                                                                any medical
                                                                                    medical condition
                                                                                             condition for   his
                                                                                                        for his
medical monitoring
medical  monitoring claims
                      claims inin this
                                  this case
                                       case since
                                             since Plaintiff
                                                    Plaintiff is
                                                              is not
                                                                 not claiming
                                                                     claiming present
                                                                                present physical
                                                                                        physical injury
                                                                                                  injury in
                                                                                                         in this
                                                                                                            this
case. The
case.       injury that
      The injury   that Plaintiff
                         Plaintiff claims
                                    claims isis the
                                                 the significant
                                                     significant exposure,
                                                                  exposure, increased
                                                                               increased risk
                                                                                          risk of
                                                                                               of disease
                                                                                                   disease and
                                                                                                            and
medical necessity
medical  necessity of
                    of diagnostic
                        diagnostic testing
                                     testing and
                                              and the
                                                   the economic
                                                        economic loss    associated therewith.
                                                                    loss associated  therewith. Plaintiff
                                                                                                  Plaintiff and
                                                                                                            and
class members
class members base
                 base their
                       their claims
                             claims only
                                      only on
                                            on their
                                                their significant
                                                      significant exposure
                                                                   exposure toto the
                                                                                 the proven
                                                                                     proven hazardous
                                                                                             hazardous Foam
                                                                                                          Foam
Toxins  released by
Toxins released   by PE-PUR
                      PE-PUR foamfoam inin the
                                           the Recalled
                                               Recalled Devices.
                                                          Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,
                                                                                 endoscopies, and
                                                                                                and other
                                                                                                     other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                 matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                            under
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                  and/or the the work
                                                                   work product
                                                                          product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other     privilege,
                                                                                                              other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request    on  grounds    that  it  violates    Plaintiff’s    right to privacy.    Plaintiff  further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope  objects   to the   scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                              present physical
                                                                                        physical condition
                                                                                                     condition at at issue.
                                                                                                                     issue. See
                                                                                                                              See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations     omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,    71 A.3d
                                                                                                                             A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical     testing is
                                                                                                is the
                                                                                                    the compensable
                                                                                                         compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                         264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the   the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                 Rubber Co.,Co., 863    P.2d 795,
                                                                                                 863 P.2d             823 (Cal.
                                                                                                               795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition forfor his
                                                                                                                               his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                           not claiming      present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                            increased risk
                                                                                                         risk of
                                                                                                               of disease
                                                                                                                   disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                  proven hazardous
                                                                                                             hazardous Foam Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.

REQUEST 23:
REQUEST      23: All
                  All Documents
                      Documents and
                                  and Communications
                                      Communications related
                                                        related to
                                                                to any
                                                                   any tissue
                                                                       tissue specimens,
                                                                              specimens, tissue
                                                                                         tissue
slides, biopsy
slides, biopsy specimens,
               specimens, and
                          and any
                              any other
                                  other pathologic
                                        pathologic material
                                                   material taken
                                                            taken from
                                                                  from You
                                                                       You by
                                                                            by any
                                                                               any Health
                                                                                   Health Care
                                                                                           Care



                                                              - 11
                                                              -11
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 404 of 654




Provider related
Provider related to
                 to the
                     the "subcellular
                         “subcellular injury
                                      injury or
                                             or other
                                                other physiological
                                                      physiological changes"
                                                                    changes” You
                                                                             You allege
                                                                                 allege in
                                                                                        in
Paragraphs 26-88
Paragraphs 26-88 of
                 of the
                    the Medical
                        Medical Monitoring
                                Monitoring CSAC.
                                            CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

          Plaintiff objects
          Plaintiff   objects to to this
                                     this Request
                                              Request as  as vague,
                                                               vague, unduly
                                                                          unduly burdensome,
                                                                                     burdensome, overbroad,
                                                                                                         overbroad, irrelevant,
                                                                                                                         irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                             burden or or expense
                                                           expense of  of the
                                                                           the discovery
                                                                                 discovery outweighs
                                                                                                outweighs its   its likely  benefit.
                                                                                                                    likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff  further  objects   to  this    Request     to the  extent   it seeks   matters    immune       from    discovery   under
either the
either   the attorney-client
              attorney-client privilege
                                    privilege and/orand/or the
                                                             the work
                                                                   work product
                                                                            product doctrine,
                                                                                       doctrine, or   or any
                                                                                                           any other
                                                                                                                  other privilege,
                                                                                                                          privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                    physician-patient privilege.
                                                                            privilege. Plaintiff
                                                                                          Plaintiff further
                                                                                                        further objects
                                                                                                                   objects toto this
                                                                                                                                 this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                   violates Plaintiffs
                                                 Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                          privacy. Plaintiff
                                                                                     Plaintiff further
                                                                                                  further objects
                                                                                                             objects toto the
                                                                                                                          the scope
                                                                                                                              scope
of this
of  this Request
          Request to to the
                        the extent
                             extent it   it seeks
                                            seeks information
                                                     information not  not relevant
                                                                            relevant toto any
                                                                                           any claims
                                                                                                   claims or or defenses
                                                                                                                  defenses ofof any
                                                                                                                                 any
party. A
party.  A claim
           claim for
                   for medical
                        medical monitoring
                                    monitoring costs  costs does
                                                             does not
                                                                    not put
                                                                          put present
                                                                               present physical
                                                                                          physical condition
                                                                                                       condition at   at issue.
                                                                                                                         issue. See
                                                                                                                                 See
e.g. Bower
e.g. Bower v. v. Westinghouse
                 Westinghouse Elec.  Elec. Corp.,
                                              Corp., 522522 S.E.2d     424,430 (W.Va.
                                                             S.E.2d 424,430        (W.Va. 1999)
                                                                                              1999) (citations        omitted) (the
                                                                                                        (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in   in risk
                                                  risk that
                                                        that requires
                                                              requires oneone toto incur
                                                                                    incur the
                                                                                           the cost
                                                                                                 cost ofof monitoring);
                                                                                                            monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                             714, 716716 (Mo.
                                                          (Mo. 2007);      Exxon Mobil
                                                                  2007); Exxon       Mobil Corp.
                                                                                              Corp. v.    Albright, 71
                                                                                                      v. Albright,         A.3d 30,
                                                                                                                        71 A.3d   30,
75-77   (Md.   2013)   (exposure       itself   and   the  need   for  medical    testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable        is the  compensable         injury
                                                                                                                         injury  in
                                                                                                                                 in aa
medical monitoring
medical    monitoring claim);        Sadler v.
                         claim); Sadler             PacifiCare of
                                                 v. PacifiCare     of Nev.,
                                                                      Nev., Inc.,    340 P.3d,
                                                                              Inc., 340   P.3d, 264,
                                                                                                   264, 1270-72
                                                                                                           1270-72 (Nev.
                                                                                                                       (Nev. 2014)
                                                                                                                              2014)
(inquiry is
(inquiry   is whether
              whether thethe negligent
                              negligent act   act ofof the
                                                       the defendant
                                                            defendant caused
                                                                           caused thethe plaintiff
                                                                                          plaintiff to to have
                                                                                                           have aa medical
                                                                                                                     medical need
                                                                                                                                need
to undergo
to             monitoring); Potter
   undergo monitoring);          Potter v.       Firestone Tire
                                             v. Firestone      Tire && Rubber
                                                                         Rubber Co., Co., 863    P.2d 795,
                                                                                          863 P.2d       795, 823823 (Cal.   1993).
                                                                                                                       (Cal. 1993).
Plaintiff has
Plaintiff  has not   waived the
                not waived     the physician-patient
                                     physician-patient privilege
                                                               privilege as as to
                                                                               to any
                                                                                  any medical
                                                                                        medical condition
                                                                                                    condition for       his medical
                                                                                                                   for his  medical
monitoring claims
monitoring     claims inin this
                            this case      since Plaintiff
                                  case since        Plaintiff isis not
                                                                   not claiming      present physical
                                                                        claiming present        physical injury
                                                                                                              injury in   this case.
                                                                                                                       in this case.
The   injury that
The injury    that Plaintiff
                    Plaintiff claims
                                claims is       the significant
                                            is the   significant exposure,
                                                                    exposure, increased
                                                                                  increased risk       of disease
                                                                                                 risk of    disease andand medical
                                                                                                                            medical
necessity of
necessity    of diagnostic     testing and
                diagnostic testing          and thethe economic
                                                        economic loss        associated therewith.
                                                                      loss associated       therewith. Plaintiff
                                                                                                              Plaintiff and
                                                                                                                          and class
                                                                                                                               class
members base
members     base their
                  their claims
                         claims onlyonly on on their
                                                their significant
                                                       significant exposure
                                                                      exposure to  to the
                                                                                      the proven
                                                                                           proven hazardous
                                                                                                      hazardous Foam Foam Toxins
                                                                                                                             Toxins
released by
released   by PE-PUR
               PE-PUR foam foam in  in the
                                        the Recalled
                                              Recalled Devices.
                                                          Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative,    and/or  because    the  burden   or  expense   of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. its  likely  benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                               under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects to to the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses of of any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at  at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                         (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                 Corp. v.  Albright, 71
                                                                                        v. Albright,        A.3d 30,
                                                                                                        71 A.3d   30,



                                                                -- 12
                                                                   12
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75-77  (Md. 2013)
75-77 (Md.    2013) (exposure
                     (exposure itself
                                   itself and
                                           and the
                                                 the need
                                                     need for
                                                            for medical
                                                                 medical testing
                                                                          testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                          injury in
                                                                                                                 in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                        (Nev. 2014)
                                                                                                               2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                       medical need
                                                                                                                need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber
                                                                  Rubber Co.,    863 P.2d
                                                                            Co., 863    P.2d 795,
                                                                                              795, 823
                                                                                                   823 (Cal.  1993).
                                                                                                        (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for  his medical
                                                                                                     for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                       physical injury
                                                                                                 injury in
                                                                                                        in this
                                                                                                           this case.
                                                                                                                case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased risk
                                                                                       risk of
                                                                                            of disease
                                                                                               disease and
                                                                                                        and medical
                                                                                                             medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                 Plaintiff and
                                                                                                           and class
                                                                                                                class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                       Foam Toxins
                                                                                                              Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes”  You allege
                                                  changes" You   allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical  Monitoring   CSAC.
Medical Monitoring CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST 26: All
            All other Documents Regarding
                other Documents Regarding any
                                          any and
                                              and all
                                                  all additional
                                                      additional diagnosed
                                                                 diagnosed medical
                                                                           medical



                                                              -- 13
                                                                 13
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 406 of 654




conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last
                                            last 10
                                                 10 years
                                                    years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                         unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                        overbroad, irrelevant,
                                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                               outweighs its  its likely  benefit.
                                                                                                                  likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff further  objects   to  this    Request     to the  extent   it seeks   matters    immune       from   discovery   under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or   or any
                                                                                                          any other
                                                                                                                other privilege,
                                                                                                                        privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                       further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                         privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                 further objects
                                                                                                           objects toto the
                                                                                                                        the scope
                                                                                                                            scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                  claims or or defenses
                                                                                                                defenses ofof any
                                                                                                                               any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                      condition at  at issue.
                                                                                                                       issue. See
                                                                                                                               See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)         (citations omitted)
                                                                                                                    omitted) (the
                                                                                                                               (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost ofof monitoring);
                                                                                                           monitoring); Meyer
                                                                                                                            Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.    Albright, 71
                                                                                                     v. Albright,        A.3d 30,
                                                                                                                      71 A.3d   30,
75-77  (Md.   2013)   (exposure       itself   and   the  need   for  medical    testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable       is the  compensable        injury
                                                                                                                       injury  in
                                                                                                                               in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare     of Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                  264, 1270-72
                                                                                                          1270-72 (Nev.
                                                                                                                     (Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff to to have
                                                                                                          have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d       795, 823
                                                                                                               823 (Cal.   1993).
                                                                                                                     (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                   condition for      his medical
                                                                                                                 for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                            injury in   this case.
                                                                                                                     in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased risk risk of
                                                                                                      of disease
                                                                                                          disease andand medical
                                                                                                                          medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and class
                                                                                                                             class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to   to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                     hazardous FoamFoam Toxins
                                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                        that it
                             it violates
                                 violates Plaintiffs
                                           Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                  privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                 objects toto the
                                                                                                              the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.             Exxon Mobil
                                                          2007); Exxon      Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                           71 A.3d    30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                           (Nev. 2014)
                                                                                                                  2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need



                                                               -- 14
                                                                  14
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to undergo
to undergo monitoring);
             monitoring); Potter
                              Potter v.    Firestone Tire
                                       v. Firestone   Tire && Rubber
                                                               Rubber Co.,    863 P.2d
                                                                         Co., 863  P.2d 795,
                                                                                         795, 823   (Cal. 1993).
                                                                                               823 (Cal.  1993).
Plaintiff has
Plaintiff has not
              not waived
                  waived thethe physician-patient
                                 physician-patient privilege
                                                      privilege as
                                                                 as to
                                                                    to any
                                                                       any medical
                                                                             medical condition
                                                                                      condition for  his medical
                                                                                                 for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                               case since
                                     since Plaintiff
                                             Plaintiff is
                                                       is not
                                                          not claiming
                                                              claiming present
                                                                          present physical
                                                                                   physical injury
                                                                                            injury in
                                                                                                    in this
                                                                                                       this case.
                                                                                                            case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims isis the
                                          the significant
                                              significant exposure,
                                                           exposure, increased
                                                                       increased risk
                                                                                   risk of
                                                                                        of disease
                                                                                           disease and
                                                                                                    and medical
                                                                                                         medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                      and the
                                            the economic
                                                 economic loss    associated therewith.
                                                            loss associated     therewith. Plaintiff
                                                                                             Plaintiff and
                                                                                                       and class
                                                                                                            class
members base
members    base their
                their claims
                      claims only
                                only on
                                      on their
                                          their significant
                                                significant exposure
                                                            exposure to to the
                                                                           the proven
                                                                               proven hazardous
                                                                                       hazardous Foam
                                                                                                   Foam Toxins
                                                                                                          Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam in in the
                                   the Recalled
                                        Recalled Devices.
                                                   Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                     privilege, and/or
                                                                                  and/or because
                                                                                           because thethe burden
                                                                                                            burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                           objects toto this
                                                                                        this Request
                                                                                              Request to to the
                                                                                                             the extent
                                                                                                                  extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                     yet know
                                                                         know "all
                                                                                 “all damages"
                                                                                      damages” suffered
                                                                                                    suffered because
                                                                                                               because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                     testimony, such
                                                                                   such as
                                                                                         as the
                                                                                             the medical
                                                                                                  medical necessity
                                                                                                              necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, and and consultations,      because of
                                                                         consultations, because        of the
                                                                                                           the defect.
                                                                                                                 defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                       extent it
                                                                               it seeks
                                                                                  seeks information
                                                                                         information not  not relevant
                                                                                                               relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects   to this
                                                                  objects to  this Request
                                                                                    Request to to the
                                                                                                  the extent
                                                                                                       extent it   seeks
                                                                                                                it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                             privilege and/or
                                                                                         and/or thethe work
                                                                                                        work product
                                                                                                                product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                           damages thatthat Plaintiff
                                                                                             Plaintiff claims
                                                                                                        claims is  is the
                                                                                                                      the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                  and class
                                                                                      class members'
                                                                                              members’ significant
                                                                                                           significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foam foam inin the
                                                                                             the Recalled
                                                                                                 Recalled Devices.
                                                                                                              Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REQUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, attorney
cumulative,   attorney client
                        client and
                               and attorney
                                     attorney work
                                                work product
                                                      product privilege,
                                                                privilege, and/or
                                                                            and/or because
                                                                                    because the
                                                                                              the burden
                                                                                                   burden or
                                                                                                           or
expense   of the discovery   outweighs   its likely benefit.  Plaintiff further objects to the  scope
expense of the discovery outweighs its likely benefit. Plaintiff further objects to the scope of this of this
Request to
Request   to the
             the extent
                 extent it
                         it seeks
                            seeks information
                                   information notnot relevant
                                                      relevant toto any
                                                                    any claims
                                                                         claims or
                                                                                 or defenses
                                                                                    defenses ofof any
                                                                                                  any party.
                                                                                                       party.
Plaintiff further
Plaintiff further objects  to this
                  objects to  this Request
                                   Request to to the
                                                 the extent
                                                     extent that
                                                             that information
                                                                  information sought
                                                                                sought in  this Request
                                                                                        in this  Request has
                                                                                                         has


                                                         -- 15
                                                            15
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already been
already been provided
              provided byby Plaintiff.
                            Plaintiff. Plaintiff
                                       Plaintiff further
                                                 further objects
                                                         objects to
                                                                 to this
                                                                    this Request
                                                                          Request to
                                                                                   to the
                                                                                      the extent
                                                                                           extent it
                                                                                                  it seeks
                                                                                                     seeks
matters immune
matters immune from     discovery under
                  from discovery          either the
                                   under either  the attorney-client
                                                     attorney-client privilege
                                                                     privilege and/or
                                                                                and/or the
                                                                                       the work
                                                                                            work product
                                                                                                  product
doctrine, or
doctrine, or any
             any other
                  other privilege,
                        privilege, immunity,
                                   immunity, oror protection.
                                                   protection. Plaintiff
                                                               Plaintiff further objects to
                                                                         further objects  to this
                                                                                             this Request
                                                                                                  Request
as duplicative
as duplicative of
               of many
                  many ofof Defendant's
                            Defendant’s Requests.
                                          Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further  objects to this Request   to the  extent it seeks  matters   immune    from   discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under           under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.



                                                       -- 16
                                                          16
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Plaintiff further
Plaintiff  further objects
                   objects to
                           to this
                              this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                             that information
                                                                   information sought
                                                                                sought in
                                                                                        in this
                                                                                           this Request
                                                                                                Request has
                                                                                                          has
already been
already  been provided
               provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects   to this
                                                                       this Request
                                                                            Request on
                                                                                    on grounds
                                                                                       grounds that
                                                                                                that it seeks
                                                                                                     it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                               attorney-client privilege
                                                                                privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                        work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                              protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REQUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already  been   provided by  Plaintiff.
already been provided by Plaintiff.     Plaintiff
                                        Plaintiff further  objects   to this Request on grounds   that it
                                                  further objects to this Request on grounds that it seeksseeks
matters immune
matters             from discovery
          immune from                   under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that   information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.




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                                                        17
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

        Plaintiff objects
        Plaintiff objects to
                          to this
                             this Request
                                  Request as
                                          as unduly
                                             unduly burdensome,
                                                    burdensome, overbroad,
                                                                overbroad, disproportionate,
                                                                           disproportionate, and
                                                                                             and



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                                                          18
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not relevant
not           to any
     relevant to any parties'
                     parties’ claims
                              claims or
                                      or defenses. Plaintiff further
                                         defenses. Plaintiff further objects
                                                                     objects to
                                                                             to this
                                                                                this Request
                                                                                     Request to
                                                                                             to the
                                                                                                the extent
                                                                                                    extent
it seeks
it seeks matters
         matters immune
                  immune from
                           from discovery
                                  discovery under
                                             under either
                                                   either the
                                                          the attorney-client
                                                               attorney-client privilege
                                                                                privilege and/or
                                                                                          and/or the
                                                                                                 the work
                                                                                                     work
product doctrine,
product   doctrine, or
                    or any
                       any other
                           other privilege,
                                  privilege, immunity,
                                             immunity, or
                                                        or protection.
                                                            protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded     by the fact that  Defendant seeks  materials  that are equally  available
compounded by the fact that Defendant seeks materials that are equally available to it.   to it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REQUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five
                         five years,
                               years, including
                                      including documents sufficient to
                                                documents sufficient to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as as vague,
                                                         vague, unduly
                                                                   unduly burdensome,
                                                                              burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden oror expense
                                                      expense of of the
                                                                     the discovery
                                                                           discovery outweighs
                                                                                       outweighs its  its likely  benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request toto the
                                                    the extent
                                                        extent it   seeks matters
                                                                 it seeks   matters immune
                                                                                     immune from from discovery
                                                                                                        discovery under
                                                                                                                    under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                               and/or the
                                                       the work
                                                             work product
                                                                      product doctrine,
                                                                                doctrine, or or any
                                                                                                  any other
                                                                                                        other privilege,
                                                                                                                privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                               physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                         objects toto this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                            Plaintiff’s right
                                                         right to
                                                               to privacy.
                                                                   privacy. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                    scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                information not not relevant
                                                                      relevant toto any
                                                                                    any claims
                                                                                          claims or or defenses
                                                                                                        defenses ofof any
                                                                                                                       any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                 costs does
                                                        does not
                                                              not put
                                                                    put present
                                                                         present physical
                                                                                   physical condition
                                                                                              condition at  at issue.
                                                                                                               issue. See
                                                                                                                       See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                   omitted) (the
                                                                                               (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                              increase in in risk
                                             risk that
                                                   that requires
                                                        requires oneone toto incur  the cost
                                                                             incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716   (Mo. 2007);
                                                716 (Mo.    2007); Exxon
                                                                     Exxon Mobil
                                                                              Mobil Corp.
                                                                                      Corp. v.   Albright, 71
                                                                                             v. Albright,        A.3d 30,
                                                                                                              71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure        itself and
                                            and the
                                                 the need   for medical
                                                      need for  medical testing
                                                                            testing is
                                                                                     is the
                                                                                        the compensable
                                                                                            compensable injury injury in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,   340 P.3d,
                                                                        Inc., 340  P.3d, 264,
                                                                                          264, 1270-72
                                                                                                  1270-72 (Nev.     2014)
                                                                                                             (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act of
                                               of the
                                                  the defendant
                                                       defendant caused       the plaintiff
                                                                     caused the    plaintiff to
                                                                                              to have
                                                                                                  have aa medical
                                                                                                           medical need
                                                                                                                      need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                         v. Firestone    Tire && Rubber
                                                                   Rubber Co.,Co., 863   P.2d 795,
                                                                                   863 P.2d     795, 823
                                                                                                       823 (Cal.   1993).
                                                                                                             (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                         privilege as as to
                                                                         to any
                                                                            any medical
                                                                                 medical condition
                                                                                           condition for      his medical
                                                                                                         for his  medical
monitoring claims
monitoring    claims in
                      in this
                          this case     since Plaintiff
                                case since     Plaintiff is
                                                          is not
                                                             not claiming     present physical
                                                                  claiming present      physical injury
                                                                                                    injury in   this case.
                                                                                                             in this case.



                                                           -- 19
                                                              19
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The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                            claims is the significant
                                   is the significant exposure,
                                                      exposure, increased
                                                                 increased risk   of disease
                                                                             risk of          and medical
                                                                                     disease and  medical
necessity of
necessity  of diagnostic
              diagnostic testing
                           testing and
                                   and the
                                        the economic
                                             economic loss
                                                        loss associated
                                                             associated therewith.
                                                                          therewith. Plaintiff
                                                                                       Plaintiff and
                                                                                                 and class
                                                                                                     class
members base
members   base their
               their claims
                     claims only
                              only on
                                   on their
                                      their significant
                                            significant exposure
                                                        exposure to
                                                                  to the
                                                                     the proven
                                                                         proven hazardous
                                                                                 hazardous Foam
                                                                                            Foam Toxins
                                                                                                   Toxins
released by
released by PE-PUR
             PE-PUR foam
                       foam inin the
                                 the Recalled
                                     Recalled Devices.
                                               Devices.


 Dated: December
 Dated: December 14,
                 14, 2023
                     2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                 /s/ Kelly
                                                      /s/ Kelly K
                                                                K. Iverson
                                                                   Iverson
 Sandra  L. Duggan,
 Sandra L.  Duggan, Esquire
                     Esquire                          Kelly K.
                                                      Kelly  K. Iverson,
                                                                Iverson, Esquire
                                                                          Esquire
 LEVIN SEDRAN
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                            /s/ Steven
                                                      /s/ Steven A.
                                                                 A. Schwartz
                                                                    Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                     Steven  A. Schwartz,
                                                      Steven A.  Schwartz, Esquire
                                                                           Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                              CHIMICLES       SCHWARTZ 'MINER
                                                      CHIMICLES SCHWARTZ           KRINER &
                                                                                          &
                        th
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                      07660                           361  West Lancaster
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                                 Counsel for Plaintiffs
                                 Counselfor  Plaintiffs and
                                                        and the
                                                            the Class
                                                                Class




                                                  -- 20
                                                     20
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                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify
                 certify that,
                         that, on
                               on December
                                  December 14,
                                           14, 2023,
                                               2023, II served
                                                        served aa true
                                                                  true and
                                                                       and correct
                                                                           correct copy
                                                                                   copy of
                                                                                        of PLAINTIFF
                                                                                           PLAINTIFF

SARAH CLAUNCH’S AMENDED
SARAH CLAUNCH'S AMENDED RESPONSES
                        RESPONSES AND
                                  AND OBJECTIONS
                                      OBJECTIONS TO PHILIPS RS'
                                                 TO PHILIPS RS’ FIRST
                                                                FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                                                       Philips
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                                             America, LLC
                                                       LLC

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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 414 of 654




                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                    EXHIBIT R
                    EXHIBIT R
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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PLAINTIFF DANNY DAVID'S
PLAINTIFF DANNY DAVID’S SECOND
                         SECOND AMENDED
                                  AMENDED RESPONSES
                                          RESPONSES AND
                                                    AND OBJECTIONS
                                                         OBJECTIONS
            TO PHILIPS
            TO PHILIPS RS'
                       RS’ FIRST REQUEST FOR
                           FIRST REQUEST FOR PRODUCTION
                                             PRODUCTION
          OF DOCUMENTS
          OF DOCUMENTS TOTO MEDICAL  MONITORING PLAINTIFFS
                             MEDICAL MONITORING  PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Danny
         Plaintiff Danny David
                            David ("Plaintiff")
                                    (“Plaintiff”) objects
                                                  objects toto this
                                                                this Request
                                                                      Request onon grounds
                                                                                    grounds that
                                                                                             that itit is vague,
                                                                                                       is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                  and/or because
                                                                          because the
                                                                                    the burden
                                                                                        burden oror expense
                                                                                                     expense ofof
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                     objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request toto the
                                                                                                   the extent
                                                                                                        extent it
                                                                                                                it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                    either the
                                                            the attorney-client
                                                                  attorney-client privilege
                                                                                   privilege and/or
                                                                                              and/or the
                                                                                                       the work
                                                                                                            work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, or or protection.
                                                                 protection. Plaintiff
                                                                              Plaintiff further  objects to
                                                                                        further objects    to the
                                                                                                              the
term  “Acquired”    because    as defined  it seeks to obtain   information    not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims or  any   claims  or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                        grounds thatthat this
                                                                         this Request
                                                                              Request seeks
                                                                                       seeks information
                                                                                              information that
                                                                                                             that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                     and/or control.
                                                              control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMDAVIDDANNY00000001 --
                                                     see MMDAVIDDANNY00000001
MMDAVIDDANNY00000002.
MMDAVIDDANNY00000002.

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMDAVIDDANNY00000001 --
                                                     see MMDAVIDDANNY00000001
MMDAVIDDANNY00000003.
MMDAVIDDANNY00000003.

REQUEST 3:
REQUEST       3: All
                 All Documents
                     Documents and
                                and Communications
                                     Communications Regarding
                                                         Regarding any
                                                                    any payments
                                                                        payments or
                                                                                  or reimbursements
                                                                                     reimbursements
for aa Recalled
for    Recalled Device,
                Device, including
                        including but
                                  but not
                                      not limited
                                          limited to
                                                  to payments
                                                     payments made
                                                                made by
                                                                     by You
                                                                        You and
                                                                            and any
                                                                                 any payments
                                                                                      payments made
                                                                                               made
on Your
on  Your behalf
          behalf by
                  by any
                     any government
                          government entity,
                                       entity, insurer, health savings
                                               insurer, health savings account,
                                                                       account, or
                                                                                or flexible
                                                                                   flexible spending
                                                                                            spending
account.
account.

                                                      - 11 -
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 3:
                                3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMDAVIDDANNY00000001 --
                                                     see MMDAVIDDANNY00000001
MMDAVIDDANNY00000003.
MMDAVIDDANNY00000003.

REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                                product doctrine,
                                                                          doctrine, oror any
                                                                                          any other   privilege,
                                                                                               other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                            prescription for
                                                                                          for the
                                                                                              the Recalled
                                                                                                  Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient   to show
                                                                                                  show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                        You aa Recalled
                                                                                 Recalled Device
                                                                                          Device andand the
                                                                                                         the
name  and   address   of any  DME   involved   in Your  Acquisition  of a Recalled  Device,
name and address of any DME involved in Your Acquisition of a Recalled Device, as well as allas well  as  all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                             frequency of of
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                          the Recalled
                                                                               Recalled Device,
                                                                                         Device, and
                                                                                                   and any
                                                                                                        any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request asas vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                 discovery outweighs
                                                                             outweighs its
                                                                                         its likely benefit.
                                                                                             likely benefit.
Plaintiff further objects to this Request  to the extent it seeks matters  immune   from   discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                      work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                           other privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                      further objects
                                              objects to
                                                      to the
                                                         the scope
                                                              scope of
                                                                    of this
                                                                       this Request
                                                                            Request to
                                                                                     to the
                                                                                        the extent
                                                                                             extent it
                                                                                                    it seeks
                                                                                                       seeks


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                                                     -2
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information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or          of any
                                            defenses of  any party.
                                                             party. Plaintiff
                                                                    Plaintiff further
                                                                              further objects to this
                                                                                      objects to this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                              already in
                                                      in the
                                                         the possession,
                                                             possession, custody,
                                                                         custody, and/or
                                                                                   and/or control
                                                                                          control of
                                                                                                   of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REOUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either   the   attorney-client        privilege    and/or    the  work    product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,      or   any    other    privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMDAVIDDANNY00000001 --
                                                     see MMDAVIDDANNY00000001
MMDAVIDDANNY00000003.
MMDAVIDDANNY00000003.

REQUEST 7:
REOUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.




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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                 Request areare compounded
                                                                                 compounded by   by the
                                                                                                     the fact   that
                                                                                                          fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its  possession, custody,
                                                                       its possession,             and/or control
                                                                                        custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                       responsive documents
                                                                                    documents to  to this
                                                                                                     this Request
                                                                                                          Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                 scope ofof this
                                                                            this Request
                                                                                 Request toto the
                                                                                              the extent
                                                                                                   extent it
                                                                                                           it seeks
                                                                                                              seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses
                                        claims or  defenses of of any
                                                                  any party.
                                                                       party. Plaintiff
                                                                               Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                 discovery under
                                                                              under either   the attorney-client
                                                                                     either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                   privilege, immunity,
                                                                               immunity, or or protection.
                                                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly        burdensome, overbroad,
                                                                        unduly burdensome,                              irrelevant,
                                                                                                       overbroad, irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


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                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit
             limit the
                   the scope
                        scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product   doctrine, or
                     or any
                         any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from his
                                                                                               his
Recalled Device(s).
Recalled Device(s).

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative,   and/or  because  the  burden  or  expense   of the  discovery outweighs    its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.      benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 14:
REOUEST 14: All
            All Documents
                Documents Regarding
                          Regarding your
                                    your Acquisition
                                         Acquisition or
                                                     or use
                                                        use of
                                                            of any
                                                               any cleaners
                                                                   cleaners or
                                                                            or cleaning
                                                                               cleaning



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                                                       6-
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devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                            cleaning devices
                                                                                     devices and
                                                                                             and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs its its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further  objects  to  the  scope  of this Request   to the extent   it seeks  information
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant  not  relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                      difficulties of
                                                                                                    of this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible forfor administering
                                                                                                      administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                       sought inin this
                                                                                                    this Request
                                                                                                          Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                 Plaintiff further
                                                                                           further objects
                                                                                                     objects toto this
                                                                                                                  this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either    the attorney-client
                                                                                       either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, or or protection.
                                                                                                 protection.

REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 16:
REQUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                     Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                            outweighs its
                                                                                        its likely benefit.
                                                                                            likely benefit.
Plaintiff further objects to the extent this  Request seeks  a  concession  that evidence  of  degradation
Plaintiff further objects to the extent this Request seeks a concession that evidence of degradation
can be
can be seen
        seen by
              by the
                  the naked
                      naked eye.
                             eye. Plaintiff
                                   Plaintiff further
                                             further objects
                                                     objects to
                                                              to this
                                                                  this Request
                                                                       Request on
                                                                               on grounds
                                                                                   grounds that
                                                                                             that the
                                                                                                  the term
                                                                                                      term
“particulate” and
"particulate"  and "dark
                    “dark matter"
                           matter” are
                                     are undefined.
                                         undefined. Plaintiff
                                                      Plaintiff further  objects to
                                                                 further objects  to the
                                                                                     the use
                                                                                          use of
                                                                                               of the
                                                                                                  the term
                                                                                                      term


                                                        -7-
                                                        -7
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“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on on grounds
                                      grounds that
                                                 that it
                                                      it is
                                                         is overbroad,
                                                            overbroad, vague,
                                                                         vague, ambiguous,
                                                                                 ambiguous, andand impermissibly
                                                                                                    impermissibly
seeks information
seeks information notnot relevant
                         relevant to to any
                                         any claims
                                              claims oror defenses
                                                            defenses ofof any
                                                                          any party.
                                                                              party. Plaintiff
                                                                                      Plaintiff further
                                                                                                further objects
                                                                                                         objects toto
this Request
this Request onon grounds
                   grounds that
                             that it
                                   it is
                                      is duplicative
                                          duplicative of  of Request
                                                             Request No.No. 11.
                                                                            11. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects
                                                                                                    objects to
                                                                                                             to this
                                                                                                                 this
Request to
Request   to the
             the extent
                 extent that
                         that the
                               the burden
                                    burden or or expense
                                                   expense of of the
                                                                 the requested
                                                                      requested discovery
                                                                                 discovery outweighs
                                                                                             outweighs itsits likely
                                                                                                              likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is  is already
                                              already in in Defendant's
                                                             Defendant’s possession,
                                                                           possession, custody,
                                                                                         custody, and/or
                                                                                                   and/or control.
                                                                                                            control.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request to  to the
                                                     the extent
                                                           extent Plaintiff
                                                                   Plaintiff has
                                                                             has already
                                                                                  already provided
                                                                                           provided information
                                                                                                       information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                             further objects
                                                      objects toto this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it  seeks matters
                                                                                                  it seeks  matters
immune from
immune    from discovery
                discovery under
                            under either
                                    either the
                                            the attorney-client
                                                attorney-client privilege
                                                                    privilege and/or
                                                                              and/or the
                                                                                      the work
                                                                                          work product
                                                                                                product doctrine,
                                                                                                          doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or   or protection.
                                            protection. Plaintiff
                                                            Plaintiff further
                                                                      further objects
                                                                              objects to
                                                                                       to the
                                                                                          the extent
                                                                                              extent this
                                                                                                      this Request
                                                                                                           Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications     with  any Person Regarding     the recall;
to Communications with any Person Regarding the recall; Your     Your  Communications
                                                                       Communications   with
                                                                                        with  any
                                                                                              any  Health
                                                                                                  Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                                Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                              irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its  its likely   benefit.
                                                                                                         likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                     Request to to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                           information not  not relevant
                                                                                                                 relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited     to Communications
                                                                                       Communications with     with Any
                                                                                                                     Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties ofof this
                                                                                                      this Request
                                                                                                            Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                   seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                             available to  to it.
                                                                                                               it. As
                                                                                                                   As the
                                                                                                                       the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                    Defendant is   is in    the position
                                                                       in the    position to to obtain
                                                                                                 obtain information
                                                                                                            information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                           extent that
                                                                                                    that the
                                                                                                          the burden
                                                                                                               burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                        that the
                                                                                             the information       sought
                                                                                                  information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                        objects to to this
                                                                                                                      this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                      responsive to   to this
                                                                                                          this Request.
                                                                                                                Request.
Plaintiff further
Plaintiff further objects  to this
                  objects to   this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune fromfrom discovery
                                                                                                       discovery under
                                                                                                                    under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, or or any
                                                                                                any other      privilege,
                                                                                                       other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


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                                                           8-
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The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                        difficulties of
                                                      of this
                                                         this Request
                                                              Request areare compounded
                                                                             compounded by   by the
                                                                                                 the fact
                                                                                                     fact that
                                                                                                          that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                   are within
                                       within its
                                               its possession,
                                                   possession, custody,
                                                                 custody, and/or
                                                                            and/or control.
                                                                                   control. Plaintiff
                                                                                             Plaintiff further
                                                                                                       further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in in this
                                                    this Request
                                                         Request on on grounds
                                                                       grounds that
                                                                                that it
                                                                                     it is overbroad, vague,
                                                                                        is overbroad,  vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                    seeks information
                                           information notnot relevant
                                                              relevant toto any
                                                                            any claims
                                                                                 claims oror defenses
                                                                                             defenses of
                                                                                                       of any
                                                                                                          any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                 to this
                                    this Request
                                         Request toto the
                                                      the extent
                                                          extent it  seeks matters
                                                                  it seeks matters immune
                                                                                    immune from     discovery
                                                                                              from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                   privilege and/or
                                              and/or the
                                                       the work
                                                           work product
                                                                 product doctrine,   or any
                                                                           doctrine, or  any other  privilege,
                                                                                              other privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents and
                                  and Communications
                                      Communications relating   to any
                                                       relating to any injuries
                                                                       injuries You
                                                                                You allege
                                                                                     allege You
                                                                                            You have
                                                                                                 have
suffered  from   the  use  of a Recalled Device.  This request  includes  but  is not  limited
suffered from the use of a Recalled Device. This request includes but is not limited to the    to the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                               physiological changes"
                                             changes” You
                                                      You allege
                                                           allege You
                                                                   You have
                                                                        have suffered
                                                                              suffered in  Paragraphs
                                                                                        in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CCSAC.
                                      SAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 20:
                                20:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request   on  grounds  that it  violates  Plaintiff’s  right to privacy.  Plaintiff further  objects
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scopeto the scope
of this
of  this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party.  A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.  See
                                                                                                         issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse     Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d
                                         Corp., 522           424,430 (W.Va.
                                                      S.E.2d 424,430     (W.Va. 1999)
                                                                                 1999) (citations
                                                                                         (citations omitted)
                                                                                                      omitted) (the
                                                                                                                (the
injury in
injury  in question
           question is
                     is the
                        the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur
                                                                         incur the
                                                                               the cost
                                                                                    cost of
                                                                                         of monitoring);
                                                                                             monitoring); Meyer
                                                                                                              Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220             712, 714,
                       S.W.3d 712,      714, 716
                                             716 (Mo.
                                                   (Mo. 2007);
                                                         2007); Exxon
                                                                  Exxon Mobil
                                                                          Mobil Corp.
                                                                                 Corp. v.  Albright, 71
                                                                                        v. Albright,       A.3d 30,
                                                                                                       71 A.3d   30,


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75-77  (Md. 2013)
75-77 (Md.    2013) (exposure
                     (exposure itself
                                   itself and
                                           and the
                                                 the need
                                                     need for
                                                            for medical
                                                                 medical testing
                                                                          testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                          injury in
                                                                                                                 in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                        (Nev. 2014)
                                                                                                               2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                       medical need
                                                                                                                need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber
                                                                  Rubber Co.,    863 P.2d
                                                                            Co., 863    P.2d 795,
                                                                                              795, 823  (Cal. 1993).
                                                                                                   823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for  his medical
                                                                                                     for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                       physical injury
                                                                                                 injury in
                                                                                                        in this
                                                                                                           this case.
                                                                                                                case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased risk
                                                                                       risk of
                                                                                            of disease
                                                                                               disease and
                                                                                                        and medical
                                                                                                             medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                 Plaintiff and
                                                                                                           and class
                                                                                                                class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                       Foam Toxins
                                                                                                              Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                           Request as  as vague,
                                                            vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the the burden
                                          burden or or expense
                                                        expense of of the
                                                                       the discovery
                                                                            discovery outweighs
                                                                                         outweighs itsits likely   benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
           further objects    to this
                                 this Request
                                        Request to to the
                                                      the extent
                                                           extent it
                                                                   it seeks
                                                                      seeks matters
                                                                             matters immune
                                                                                       immune from
                                                                                                 from discovery
                                                                                                        discovery under
                                                                                                                      under
either the
either  the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or thethe work
                                                                work product
                                                                       product doctrine,
                                                                                  doctrine, oror any
                                                                                                  any other     privilege,
                                                                                                        other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects to to this
                                                                                                                        this
Request on
Request   on grounds
               grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                              Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                      scope
of this
of  this Request
         Request to to the
                        the extent
                             extent it it seeks
                                          seeks information
                                                  information not not relevant
                                                                        relevant to
                                                                                  to any
                                                                                      any claims
                                                                                           claims oror defenses
                                                                                                        defenses of of any
                                                                                                                        any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                 not put
                                                                      put present
                                                                           present physical
                                                                                    physical condition
                                                                                               condition at at issue.
                                                                                                               issue. See
                                                                                                                        See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.         Corp., 522
                                    Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                1999) (citations
                                                                              (W.Va. 1999)                  omitted) (the
                                                                                               (citations omitted)      (the
injury in
injury  in question
            question isis the
                          the increase
                               increase in  in risk
                                               risk that
                                                     that requires
                                                           requires one
                                                                      one to
                                                                           to incur  the cost
                                                                              incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220     S.W.3d 712, 712, 714,
                                             714, 716
                                                   716 (Mo.      2007); Exxon
                                                         (Mo. 2007);      Exxon Mobil
                                                                                  Mobil Corp.
                                                                                          Corp. v.   Albright, 71
                                                                                                  v. Albright,         A.3d
                                                                                                                  71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
             (Md. 2013)     (exposure itself      and the
                                           itself and   the need
                                                              need for
                                                                    for medical
                                                                         medical testing
                                                                                  testing is
                                                                                           is the
                                                                                              the compensable
                                                                                                   compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                               claim); Sadler
                                           Sadler v.   PacifiCare of
                                                    v. PacifiCare     of Nev.,  Inc., 340
                                                                          Nev., Inc.,       P.3d, 264,
                                                                                       340 P.3d,   264, 1270-72
                                                                                                         1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether     the negligent
                                       negligent actact of
                                                        of the
                                                             the defendant
                                                                 defendant caused
                                                                              caused the
                                                                                       the plaintiff
                                                                                           plaintiff to
                                                                                                     to have
                                                                                                         have aa medical
                                                                                                                  medical
need to
need   to undergo
          undergo monitoring);
                      monitoring); PotterPotter v.   Firestone Tire
                                                  v. Firestone     Tire &              Co., 863
                                                                             Rubber Co.,
                                                                         & Rubber                 P.2d 795,
                                                                                            863 P.2d     795, 823
                                                                                                                823 (Cal.
                                                                                                                       (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not    waived the
                         not waived      the physician-patient
                                              physician-patient privilege
                                                                     privilege asas to
                                                                                    to any
                                                                                        any medical
                                                                                            medical condition
                                                                                                       condition for     his
                                                                                                                    for his
medical monitoring
medical   monitoring claims
                         claims in     this case
                                   in this        since Plaintiff
                                             case since   Plaintiff is
                                                                     is not claiming present
                                                                        not claiming    present physical
                                                                                                 physical injury
                                                                                                            injury in   this
                                                                                                                     in this



                                                           -- 10
                                                              10
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case. The
case. The injury that Plaintiff
          injury that Plaintiff claims
                                claims isis the
                                             the significant
                                                 significant exposure,
                                                              exposure, increased
                                                                         increased risk
                                                                                    risk of
                                                                                         of disease
                                                                                             disease and
                                                                                                      and
medical necessity
medical necessity of
                  of diagnostic  testing and
                     diagnostic testing   and the
                                               the economic
                                                    economic loss   associated therewith.
                                                               loss associated therewith. Plaintiff
                                                                                            Plaintiff and
                                                                                                      and
class members
class members base
               base their
                    their claims
                          claims only
                                  only on
                                        on their
                                            their significant
                                                  significant exposure
                                                              exposure to
                                                                        to the
                                                                           the proven
                                                                               proven hazardous
                                                                                       hazardous Foam
                                                                                                   Foam
Toxins released by
Toxins released by PE-PUR
                   PE-PUR foam     in the
                             foam in   the Recalled
                                           Recalled Devices.
                                                      Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications fromfrom the
                                                                     the past
                                                                         past 10
                                                                              10 years
                                                                                  years Relating
                                                                                         Relating to
                                                                                                  to any
                                                                                                      any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                even if  unrelated to
                                                                                     if unrelated  to the
                                                                                                      the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes”    You allege
                                             changes" You    allege in  Paragraphs 26-88
                                                                     in Paragraphs        of the
                                                                                   26-88 of  the Medical
                                                                                                 Medical
Monitoring CSAC.
Monitoring   CSAC. This
                      This request
                            request includes  but is
                                     includes but  is not limited to
                                                      not limited  to any
                                                                      any "testing
                                                                          “testing and
                                                                                   and screening;
                                                                                        screening; blood
                                                                                                   blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;     imaging; colonoscopies,
                                   examinations; imaging;      colonoscopies, endoscopies,     and other
                                                                                endoscopies, and    other
similar methods
similar  methods for    examination; biopsies;
                   for examination;    biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                            and oncologic
                                                                                 oncologic evaluations;
                                                                                             evaluations;
oncologic, histologic,
oncologic,                surgical, and
            histologic, surgical,   and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                      and medical
                                                                                            medical and
                                                                                                      and
surgical procedures
surgical procedures necessary
                      necessary for
                                 for diagnosis  and treatment."
                                     diagnosis and   treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                  burdensome, overbroad,
                                                                                                    overbroad, irrelevant,
                                                                                                                   irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs itsits likely   benefit.
                                                                                                              likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                matters immune
                                                                                          immune fromfrom discovery
                                                                                                            discovery under
                                                                                                                          under
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                  and/or the the work
                                                                   work product
                                                                          product doctrine,
                                                                                     doctrine, or or any
                                                                                                      any other
                                                                                                            other privilege,
                                                                                                                    privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                   further objects
                                                                                                             objects to to this
                                                                                                                            this
Request on
Request    on grounds
               grounds that
                          that it   violates Plaintiff's
                                it violates     Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                              further objects
                                                                                                       objects toto the
                                                                                                                    the scope
                                                                                                                          scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it    seeks information
                                        it seeks    information not   not relevant
                                                                           relevant to
                                                                                     to any
                                                                                         any claims
                                                                                               claims oror defenses
                                                                                                            defenses of of any
                                                                                                                            any
party. A
party.  A claim
           claim for   medical monitoring
                  for medical        monitoring costscosts does     not put
                                                             does not    put present
                                                                              present physical
                                                                                       physical condition
                                                                                                   condition at at issue.   See
                                                                                                                   issue. See
e.g.  Bower   v. Westinghouse         Elec.  Corp.,    522   S.E.2d    424,430   (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the   (citations   omitted)    (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                 incur the
                                                                                         the cost
                                                                                              cost of
                                                                                                   of monitoring);
                                                                                                       monitoring); Meyer
                                                                                                                        Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                     Mobil Corp.
                                                                                              Corp. v.   Albright, 71
                                                                                                      v. Albright,    71 A.3d
                                                                                                                           A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical    testing is
                                                                                               is the
                                                                                                  the compensable
                                                                                                       compensable injuryinjury
in aa medical
in    medical monitoring
                 monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,   340 P.3d,
                                                                                   Inc., 340    P.3d, 264,
                                                                                                       264, 1270-72
                                                                                                             1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the  the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                 caused thethe plaintiff
                                                                                               plaintiff to
                                                                                                         to have
                                                                                                             have aa medical
                                                                                                                      medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                Rubber Co.,Co., 863   P.2d 795,
                                                                                                863 P.2d            823 (Cal.
                                                                                                             795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege as
                                                                                    as to
                                                                                        to any
                                                                                            any medical
                                                                                                medical condition
                                                                                                           condition for     his
                                                                                                                        for his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not claiming present
                                                                           not claiming     present physical
                                                                                                     physical injury
                                                                                                                injury in   this
                                                                                                                         in this
case. The
case.  The injury     that Plaintiff
             injury that     Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                           increased risk
                                                                                                       risk of
                                                                                                             of disease
                                                                                                                 disease andand
medical necessity
medical    necessity ofof diagnostic       testing and
                            diagnostic testing        and the
                                                            the economic
                                                                  economic loss     associated therewith.
                                                                              loss associated    therewith. Plaintiff
                                                                                                                Plaintiff and
                                                                                                                            and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to to the
                                                                                             the proven
                                                                                                 proven hazardous
                                                                                                           hazardous Foam Foam
Toxins
Toxins released
         released byby PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.

REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.




                                                             - 11
                                                             -11
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request   on  grounds    that  it  violates     Plaintiff’s  right to  privacy.     Plaintiff  further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope   objects   to the scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340    P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo    monitoring);      Potter      v.  Firestone    Tire  &   Rubber      Co., 863
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).  P.2d   795,    823   (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                       medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                  case since       Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                     the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                        that it
                             it violates
                                 violates Plaintiffs
                                           Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                  privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                 objects toto the
                                                                                                              the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.             Exxon Mobil
                                                          2007); Exxon      Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                           71 A.3d    30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                           (Nev. 2014)
                                                                                                                  2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need



                                                              -- 12
                                                                 12
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to undergo
to undergo monitoring);
             monitoring); Potter
                              Potter v.    Firestone Tire
                                       v. Firestone   Tire && Rubber
                                                               Rubber Co.,    863 P.2d
                                                                         Co., 863  P.2d 795,
                                                                                         795, 823   (Cal. 1993).
                                                                                               823 (Cal.  1993).
Plaintiff has
Plaintiff has not
              not waived
                  waived thethe physician-patient
                                 physician-patient privilege
                                                      privilege as
                                                                 as to
                                                                    to any
                                                                       any medical
                                                                             medical condition
                                                                                      condition for  his medical
                                                                                                 for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                               case since
                                     since Plaintiff
                                             Plaintiff is
                                                       is not
                                                          not claiming
                                                              claiming present
                                                                          present physical
                                                                                   physical injury
                                                                                            injury in
                                                                                                    in this
                                                                                                       this case.
                                                                                                            case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims isis the
                                          the significant
                                              significant exposure,
                                                           exposure, increased
                                                                       increased risk
                                                                                   risk of
                                                                                        of disease
                                                                                           disease and
                                                                                                    and medical
                                                                                                         medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                      and the
                                            the economic
                                                 economic loss    associated therewith.
                                                            loss associated     therewith. Plaintiff
                                                                                             Plaintiff and
                                                                                                       and class
                                                                                                            class
members base
members    base their
                their claims
                      claims only
                                only on
                                      on their
                                          their significant
                                                significant exposure
                                                            exposure to to the
                                                                           the proven
                                                                               proven hazardous
                                                                                       hazardous Foam
                                                                                                   Foam Toxins
                                                                                                          Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam in in the
                                   the Recalled
                                        Recalled Devices.
                                                   Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members    base  their  claims     only    on  their  significant   exposure     to the  proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxins   hazardous      Foam    Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other   Documents Regarding
                        other Documents      Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.




                                                              -- 13
                                                                 13
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                       doctrine, or or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request   on  grounds    that  it  violates     Plaintiff’s   right to  privacy.     Plaintiff  further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope   objects   to the scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant to to any
                                                                                           any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare     of Nev., Inc.,    340 P.3d,
                                                                             Inc., 340    P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo    monitoring);      Potter      v.  Firestone    Tire   &   Rubber      Co., 863
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).   P.2d   795,   823   (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                        medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                  case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to   to the
                                                                                      the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as as vague,
                                                         vague, unduly
                                                                   unduly burdensome,
                                                                              burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden oror expense
                                                      expense of of the
                                                                     the discovery
                                                                           discovery outweighs
                                                                                       outweighs its  its likely  benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request toto the
                                                    the extent
                                                        extent it   seeks matters
                                                                 it seeks   matters immune
                                                                                     immune from from discovery
                                                                                                        discovery under
                                                                                                                    under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                               and/or the
                                                       the work
                                                             work product
                                                                      product doctrine,
                                                                                doctrine, or or any
                                                                                                  any other
                                                                                                        other privilege,
                                                                                                                privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                               physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                         objects toto this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                            Plaintiff’s right
                                                         right to
                                                               to privacy.
                                                                   privacy. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                    scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                information not not relevant
                                                                      relevant toto any
                                                                                    any claims
                                                                                          claims or or defenses
                                                                                                        defenses ofof any
                                                                                                                       any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                 costs does
                                                        does not
                                                              not put
                                                                    put present
                                                                         present physical
                                                                                   physical condition
                                                                                              condition at  at issue.
                                                                                                               issue. See
                                                                                                                       See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                   omitted) (the
                                                                                               (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                              increase in in risk
                                             risk that
                                                   that requires
                                                        requires oneone toto incur  the cost
                                                                             incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716   (Mo. 2007);
                                                716 (Mo.             Exxon Mobil
                                                            2007); Exxon      Mobil Corp.
                                                                                      Corp. v.   Albright, 71
                                                                                             v. Albright,     71 A.3d
                                                                                                                 A.3d 30,
                                                                                                                        30,
75-77 (Md.
75-77  (Md. 2013)
              2013) (exposure
                     (exposure itselfitself and
                                            and the
                                                 the need   for medical
                                                      need for  medical testing
                                                                            testing is
                                                                                     is the
                                                                                        the compensable
                                                                                            compensable injury injury in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                        Inc., 340  P.3d, 264,
                                                                                          264, 1270-72
                                                                                                  1270-72 (Nev.     2014)
                                                                                                             (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act of
                                               of the
                                                  the defendant
                                                       defendant caused       the plaintiff
                                                                     caused the    plaintiff to
                                                                                              to have
                                                                                                  have aa medical
                                                                                                           medical need
                                                                                                                      need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                         v. Firestone    Tire && Rubber
                                                                   Rubber Co.,Co., 863   P.2d 795,
                                                                                   863 P.2d     795, 823
                                                                                                       823 (Cal.   1993).
                                                                                                             (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                         privilege as as to
                                                                         to any
                                                                            any medical
                                                                                 medical condition
                                                                                           condition for      his medical
                                                                                                         for his  medical
monitoring claims
monitoring    claims in
                      in this
                          this case     since Plaintiff
                                case since     Plaintiff is
                                                          is not
                                                             not claiming     present physical
                                                                  claiming present      physical injury
                                                                                                    injury in   this case.
                                                                                                             in this case.



                                                              -- 14
                                                                 14
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The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                            claims is the significant
                                   is the significant exposure,
                                                      exposure, increased
                                                                 increased risk   of disease
                                                                             risk of          and medical
                                                                                     disease and  medical
necessity of
necessity  of diagnostic
              diagnostic testing
                           testing and
                                   and the
                                        the economic
                                             economic loss
                                                        loss associated
                                                             associated therewith.
                                                                          therewith. Plaintiff
                                                                                       Plaintiff and
                                                                                                 and class
                                                                                                     class
members base
members   base their
               their claims
                     claims only
                              only on
                                   on their
                                      their significant
                                            significant exposure
                                                        exposure to
                                                                  to the
                                                                     the proven
                                                                         proven hazardous
                                                                                 hazardous Foam
                                                                                            Foam Toxins
                                                                                                   Toxins
released by
released by PE-PUR
             PE-PUR foam
                       foam inin the
                                 the Recalled
                                     Recalled Devices.
                                               Devices.

REQUEST 28:
REQUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                  work product
                                                          product privilege,
                                                                     privilege, and/or
                                                                                  and/or because
                                                                                           because thethe burden
                                                                                                            burden or  or
expense   of the  discovery   outweighs   its likely  benefit.  Plaintiff  objects   to this  Request
expense of the discovery outweighs its likely benefit. Plaintiff objects to this Request to the extent   to  the  extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                     yet know
                                                                         know "all
                                                                                 “all damages"
                                                                                      damages” suffered
                                                                                                    suffered because
                                                                                                               because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may be
                                           be subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                     testimony, such
                                                                                   such as
                                                                                         as the
                                                                                             the medical
                                                                                                  medical necessity
                                                                                                              necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                 examinations, and  and consultations,      because of
                                                                         consultations, because        of the
                                                                                                           the defect.
                                                                                                                 defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                       extent it
                                                                               it seeks
                                                                                  seeks information
                                                                                         information not  not relevant
                                                                                                               relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects   to this
                                                                  objects to  this Request
                                                                                    Request to to the
                                                                                                  the extent
                                                                                                       extent it   seeks
                                                                                                                it seeks
matters immune
matters  immune from       discovery under
                    from discovery            either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                             privilege and/or
                                                                                         and/or thethe work
                                                                                                        work product
                                                                                                                product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                           damages thatthat Plaintiff
                                                                                             Plaintiff claims
                                                                                                        claims is  is the
                                                                                                                      the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                  and class
                                                                                      class members'
                                                                                              members’ significant
                                                                                                           significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foam foam inin the
                                                                                             the Recalled
                                                                                                 Recalled Devices.
                                                                                                              Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 29
                                29

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent   it seeks
                                                                                                 extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.


                                                         -- 15
                                                            15
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    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMDAVIDDANNY00000001 --
                                                     see MMDAVIDDANNY00000001
MMDAVIDDANNY00000003.
MMDAVIDDANNY00000003.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.




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                                                          16
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      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                           unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative,   and/or  because   the  burden  or  expense  of  the  discovery outweighs    its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.       benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds   that it
                                                 grounds that   it seeks
                                                                   seeks matters
                                                                         matters immune
                                                                                  immune fromfrom discovery
                                                                                                    discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                  the work
                                                      work product
                                                              product doctrine,
                                                                        doctrine, or
                                                                                   or any
                                                                                      any other     privilege,
                                                                                            other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                 objects to
                                                         to this
                                                             this Request
                                                                  Request to
                                                                           to the
                                                                               the extent  that information
                                                                                   extent that   information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                       by Plaintiff.
                                                           Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 35:
REQUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                           unduly burdensome,
                                                                     burdensome, andand cumulative.
                                                                                         cumulative. The
                                                                                                      The
unnecessary difficulties
unnecessary                of this
              difficulties of this Request
                                    Request are
                                            are compounded
                                                 compounded byby the
                                                                  the fact that Defendant
                                                                      fact that Defendant seeks
                                                                                           seeks materials
                                                                                                 materials
that are
that are equally   available to
         equally available   to it
                                it and/or
                                   and/or are
                                          are already
                                              already within
                                                      within its possession, custody,
                                                             its possession,   custody, and/or
                                                                                        and/or control.
                                                                                               control. As
                                                                                                        As
the manufacturer
the  manufacturer of of the
                         the Recalled
                              Recalled Devices,
                                         Devices, Defendant
                                                   Defendant is is in
                                                                   in the
                                                                       the better
                                                                            better position
                                                                                   position to
                                                                                            to obtain
                                                                                                obtain the
                                                                                                        the



                                                     -- 17
                                                        17
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information this
information  this Request
                  Request seeks.
                           seeks. Plaintiff
                                   Plaintiff further  objects to
                                             further objects  to this
                                                                 this Request
                                                                      Request on
                                                                              on grounds
                                                                                 grounds that
                                                                                         that it
                                                                                              it seeks
                                                                                                 seeks
matters immune
matters  immune from     discovery under
                   from discovery    under the
                                             the attorney-client
                                                  attorney-client privilege
                                                                   privilege and/or
                                                                             and/or the
                                                                                    the work
                                                                                        work product
                                                                                              product
doctrine, or
doctrine, or any
             any other
                 other privilege,
                       privilege, immunity,
                                  immunity, or or protection.
                                                  protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                          overbroad, cumulative,
                                                                                                        cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                              its likely
                                                                                  likely benefit.
                                                                                          benefit. Plaintiff
                                                                                                    Plaintiff further
                                                                                                              further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by  by calling
                                                                                  calling for
                                                                                           for aa legal conclusion.
                                                                                                  legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                  immune from
                                                                                            from discovery
                                                                                                    discovery under
                                                                                                                under
either the   attorney-client    privilege   and/or   the  work     product  doctrine,    or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,      other  privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request as as premature
                                                                                     premature because
                                                                                                   because itit seeks
                                                                                                                seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                             the assistance
                                                                                   assistance of
                                                                                               of experts.
                                                                                                   experts. Plaintiff
                                                                                                            Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                           of Civil
                                                                               Civil Procedure,
                                                                                      Procedure, andand the
                                                                                                         the Federal
                                                                                                             Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                            and evidence.
                                                                                   evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.



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                                                          18
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.    2007); Exxon
                                                                         Exxon Mobil
                                                                                   Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)     (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.      2014)
                                                                                                                    (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                             /s/ Kelly
                                                                  /s/ Kelly K
                                                                            K. Iverson
                                                                               Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan, Esquire                                       Kelly K.
                                                                  Kelly  K. Iverson,
                                                                            Iverson, Esquire
                                                                                     Esquire



                                                              -- 19
                                                                 19
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                                                                       th
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                                                 Pittsburgh, PA 15222
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                                                 kelly@lcllp.com
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/s/ Christopher
/s/             A. Seeger
    Christopher A. Seeger                        /s/ Steven
                                                 /s/ Steven A.
                                                            A. Schwartz
                                                               Schwartz
Christopher A.
Christopher  A. Seeger,
                Seeger, Esquire
                         Esquire                 Steven  A. Schwartz,
                                                 Steven A.  Schwartz, Esquire
                                                                      Esquire
SEEGER     WEISS LLP
SEEGER WEISS        LLP                          CHIMICLES       SCHWARTZ 'MINER
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                                                                                     &
                       th
55  Challenger Road,
55 Challenger  Road, 66th Floor
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Ridgefield Park,
Ridgefield  Park, NJ
                  NJ 07660
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                                                 361 West             Avenue
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      639-9100 (phone)                           One Haverford
                                                 One   Haverford Centre
                                                                 Centre
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                                                 Haverford,  PA 19041
                                                                 19041
                                                 (610)
                                                 (610) 642-8500   (phone)
                                                        642-8500 (phone)
                                                 steveschwartz@chimicles.com
                                                 steveschwartz@chimicles.com


                              Counsel for Plaintiffs'
                              Counselfor  Plaintiffs and
                                                      and the
                                                          the Class
                                                              Class




                                              -- 20
                                                 20
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                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

DANNY DAVID'S
DANNY DAVID’S AMENDED
              AMENDED RESPONSES
                      RESPONSES AND
                                AND OBJECTIONS
                                    OBJECTIONS TO PHILIPS RS'
                                               TO PHILIPS RS’ FIRST
                                                              FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO
                                    TO MEDICAL
                                       MEDICAL MONITORING
                                               MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
                           MORGAN,    LEWIS &
                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
                                                           LLP
                                    1701 Market
                                    1701 Market Street
                                                 Street
                              Philadelphia, PA
                              Philadelphia, PA 19103-2921
                                                19103-2921
                                      T 215.963.5000
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                             john.lavelle@morganlewis.com
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                                 Wendy West
                                 Wendy    West Feinstein
                                               Feinstein
                           MORGAN,   LEWIS &
                           MORGAN, LEWIS     & BOCKIUS
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                             One  Oxford Center,
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                                                  32nd Floor
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                                 Counsel for Defendant
                                 Counselfor  Defendant Philips
                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

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                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                                        PROKOPIK
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                      500 Creek View
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                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                    EXHIBIT
                    EXHIBIT S
                            S
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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       PLAINTIFF BRUCE GINSBERG’S
       PLAINTIFF BRUCE GINSBERG'S SECOND   AMENDED RESPONSES
                                   SECOND AMENDED   RESPONSES AND
                                                              AND
         OBJECTIONS TO
         OBJECTIONS TO PHILIPS RS’ FIRST
                       PHILIPS RS'       REQUEST FOR
                                   FIRST REQUEST FOR PRODUCTION
                                                     PRODUCTION
            OF DOCUMENTS
            OF DOCUMENTS TO
                          TO MEDICAL    MONITORING PLAINTIFFS
                             MEDICAL MONITORING    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Bruce
         Plaintiff Bruce Ginsberg
                           Ginsberg ("Plaintiff")
                                      (“Plaintiff”) objects
                                                    objects toto this
                                                                 this Request
                                                                      Request onon grounds
                                                                                    grounds that
                                                                                              that it is vague,
                                                                                                   it is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                 and/or because
                                                                         because the
                                                                                   the burden
                                                                                       burden oror expense
                                                                                                   expense of of
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                    objects to
                                                                             to this
                                                                                this Request
                                                                                     Request toto the
                                                                                                  the extent
                                                                                                       extent it
                                                                                                               it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                    either the
                                                            the attorney-client
                                                                 attorney-client privilege
                                                                                  privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                           work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further  objects to
                                                                                       further objects    to the
                                                                                                             the
term  “Acquired”    because    as defined  it seeks to obtain   information   not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims or any   claims  or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                        grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                      seeks information
                                                                                             information that
                                                                                                            that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                     and/or control.
                                                             control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see BRUCEGINSBERG000001.
                                                         see BRUCEGINSBERG00000 1.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:
                                                      - 11 -
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        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information already
information   already in
                       in the
                          the possession,
                               possession, custody,
                                           custody, and/or
                                                    and/or control
                                                             control of
                                                                      of Defendant.
                                                                         Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see BRUCEGINSBERG000001.
                                                         see BRUCEGINSBERG00000 1.

REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                                product doctrine,
                                                                          doctrine, oror any
                                                                                          any other   privilege,
                                                                                               other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                           for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to              sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                  Recalled Device
                                                                                           Device andand the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                     Device, as
                                                                                              as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                               recommended frequency
                                                                                              frequency ofof
use for  the  Recalled    Device,  recommended      duration  of use  for  the  Recalled
use for the Recalled Device, recommended duration of use for the Recalled Device, and any Device,   and  any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                        from discovery
                                                                                               discovery under
                                                                                                           under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, oror any
                                                                                         any other    privilege,
                                                                                               other privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request toto the
                                                                                            the extent
                                                                                                 extent it
                                                                                                        it seeks
                                                                                                           seeks
information not
information   not relevant
                   relevant to
                             to any
                                any claims
                                      claims or
                                             or defenses
                                                 defenses ofof any
                                                                any party.
                                                                     party. Plaintiff
                                                                             Plaintiff further   objects to
                                                                                       further objects   to this
                                                                                                             this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                              and/or control
                                                                                                      control of
                                                                                                               of


                                                     -2-
                                                     -2
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Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REOUEST     6: All
                All Communications
                    Communications with
                                    with any
                                         any Person
                                             Person —
                                                    – including but not
                                                      including but not limited  to any
                                                                         limited to any Health
                                                                                        Health
Care Provider
Care Provider or
               or DME
                  DME — – who
                          who was
                              was involved
                                  involved in,
                                           in, or
                                               or who
                                                  who You
                                                      You consulted
                                                           consulted in
                                                                     in connection
                                                                        connection with,
                                                                                    with, Your
                                                                                          Your
Acquisition of a Recalled Device.
Acquisition of a Recalled Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                     this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request     on  grounds     that  it  violates   Plaintiff’s  right to  privacy.   Plaintiff   further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope    objects    to the  scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber    Co.,   863  P.2d    795,   823
Rubber Co., 863 P.2d 795, 823 (Cal. 1993). (Cal.  1993).   Plaintiff
                                                           Plaintiff   has
                                                                      has   not
                                                                            not waived
                                                                                waived     the
                                                                                           the physician-patient
                                                                                               physician-patient          privilege
                                                                                                                          privilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REOUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.



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The  broad scope
The broad    scope and
                     and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                      of this
                                                          this Request
                                                               Request areare compounded
                                                                               compounded by  by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                             that
Defendant seeks
Defendant   seeks publicly
                    publicly available
                             available materials
                                         materials that
                                                   that are
                                                        are within
                                                             within its  possession, custody,
                                                                     its possession,             and/or control
                                                                                      custody, and/or    control
or are
or are equally
       equally available
                available to
                           to it.
                              it. Plaintiff
                                  Plaintiff has
                                            has already
                                                already produced
                                                         produced responsive
                                                                     responsive documents
                                                                                  documents to to this
                                                                                                   this Request
                                                                                                        Request
for settlement purposes.
for settlement   purposes. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                           the scope
                                                               scope ofof this
                                                                          this Request
                                                                               Request toto the
                                                                                            the extent
                                                                                                extent it  seeks
                                                                                                        it seeks
information not
information    not relevant
                   relevant to
                             to any
                                 any claims   or defenses
                                      claims or  defenses ofof any
                                                                any party.
                                                                     party. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                objects toto this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                    matters immune
                                              immune from
                                                        from discovery
                                                               discovery under
                                                                            under either
                                                                                   either the
                                                                                           the attorney-client
                                                                                                attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                        doctrine, or any other   privilege, immunity,
                                                          other privilege,   immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REQUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly        burdensome, overbroad,
                                                                        unduly burdensome,                              irrelevant,
                                                                                                       overbroad, irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                     this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request     on  grounds     that  it  violates   Plaintiff’s  right to  privacy.   Plaintiff   further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope    objects    to the  scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents inin Your
                                    Your possession,
                                         possession, custody,
                                                     custody, oror control
                                                                   control Regarding
                                                                           Regarding Your
                                                                                        Your use
                                                                                             use of
                                                                                                 of and
                                                                                                    and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                                This Request
                                     Request includes,
                                             includes, but
                                                        but is
                                                            is not
                                                               not limited to, all
                                                                   limited to, all data
                                                                                   data Regarding
                                                                                        Regarding Your
                                                                                                  Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                             and/or EncoreAnywhere,      which we
                                                                     EncoreAnywhere, which      we will
                                                                                                    will
obtain upon
obtain        your signing
       upon your   signing the
                           the attached
                               attached Authorization
                                        Authorization to
                                                       to Disclose
                                                          Disclose Health
                                                                     Health Information.
                                                                             Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:


                                                               -4-
                                                               -4
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        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                      outweighs its
                                                                                                  its likely   benefit.
                                                                                                      likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as  as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request on on grounds
                                                                                                  grounds that
                                                                                                             that it
                                                                                                                  it is
                                                                                                                      is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant toto any
                                                                                         any claims
                                                                                              claims or
                                                                                                      or defenses
                                                                                                          defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                             “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                          undefined andand make
                                                                                                             make no no
attempt  to  limit the  scope   of  this  Request.   Plaintiff further   objects   to  this Request  to
attempt to limit the scope of this Request. Plaintiff further objects to this Request to the extent it   the  extent  it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                         privilege and/or
                                                                                                    and/or the
                                                                                                             the work
                                                                                                                 work
product doctrine,
product   doctrine, or
                     or any
                         any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                             further objects
                                                                                                      objects toto this
                                                                                                                   this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                         custody, and/or
                                                                                                   and/or control
                                                                                                            control of
                                                                                                                     of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REQUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely  benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought inin this
                                                                               this Request
                                                                                     Request is   already in
                                                                                               is already      the
                                                                                                            in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further   objects to
                                                                        further objects    to this
                                                                                              this Request
                                                                                                     Request on on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” is
                                          is undefined
                                              undefined and
                                                          and that
                                                                that it
                                                                      it is
                                                                         is not   apparent to
                                                                            not apparent     to Plaintiff
                                                                                                 Plaintiff what
                                                                                                             what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                 seeks in  this Request
                                                                                        in this  Request that
                                                                                                           that is
                                                                                                                 is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects   to this
                                                                          objects to  this Request
                                                                                           Request onon grounds
                                                                                                         grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                    custody, and/or
                                                                                              and/or control    of
                                                                                                       control of
Plaintiff.
Plaintiff.

       Without waiving
       Without  waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff has
                                                                   has already
                                                                       already returned
                                                                               returned his Recalled
                                                                                        his Recalled
Device, including
Device, including any
                  any SD card, to
                      SD card, to Philips.
                                  Philips.

REQUEST 11:
REOUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                  this Request
                                        Request as   as vague,
                                                        vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                       burden or  or expense
                                                      expense of
                                                               of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                    outweighs itsits likely  benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                  the scope
                                       scope of of this
                                                    this Request
                                                         Request onon grounds
                                                                       grounds that
                                                                                  that it
                                                                                        it seeks
                                                                                           seeks information
                                                                                                   information notnot
relevant to
relevant  to any
              any claims
                  claims oror defenses
                               defenses of of any
                                              any party.
                                                    party. Plaintiff
                                                           Plaintiff further
                                                                     further objects
                                                                              objects that
                                                                                       that the
                                                                                             the term
                                                                                                 term "condition"
                                                                                                        “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff             objects to
                          further objects    to this
                                                 this Request
                                                       Request to
                                                               to the
                                                                  the extent
                                                                      extent that
                                                                               that the
                                                                                    the burden
                                                                                        burden oror expense
                                                                                                     expense ofof the
                                                                                                                  the
requested discovery
requested                 outweighs its
             discovery outweighs         its likely    benefit, and/or
                                              likely benefit,   and/or that
                                                                          that the
                                                                                the information
                                                                                     information is      already in
                                                                                                      is already   in
Defendant’s     possession,   custody,    and/or    control. Plaintiff  further  objects   to this
Defendant's possession, custody, and/or control. Plaintiff further objects to this Request to the   Request    to the
extent Plaintiff
extent  Plaintiff has
                   has already
                        already provided
                                    provided information
                                                information responsive
                                                               responsive to to this
                                                                                 this Request.
                                                                                      Request. Plaintiff
                                                                                                   Plaintiff further
                                                                                                              further
objects to
objects  to this
             this Request
                  Request to to the
                                 the extent
                                      extent itit seeks
                                                   seeks matters
                                                          matters immune
                                                                   immune fromfrom discovery
                                                                                     discovery under
                                                                                                  under either
                                                                                                          either the
                                                                                                                  the


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attorney-client privilege
attorney-client privilege and/or
                          and/or the
                                 the work
                                     work product
                                          product doctrine,
                                                  doctrine, or
                                                            or any
                                                               any other
                                                                   other privilege,
                                                                         privilege, immunity,
                                                                                    immunity, or
                                                                                              or
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff  further   objects  to  the  scope  of  this  Request    to  the  extent  it  impermissibly
Plaintiff further objects to the scope of this Request to the extent it impermissibly seeks                seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REOUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                    overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                             outweighs itsits likely  benefit.
                                                                                              likely benefit.
Plaintiff objects to this Request  to the extent  that  the information  sought in  this Request   is
Plaintiff objects to this Request to the extent that the information sought in this Request is alreadyalready
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                        Defendant. TheThe broad
                                                                           broad scope
                                                                                  scope and
                                                                                          and unnecessary
                                                                                                unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                       the fact  that Defendant
                                                            fact that Defendant seeks
                                                                                 seeks materials
                                                                                         materials that
                                                                                                    that it
                                                                                                          it is
                                                                                                             is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 14:
REQUEST     14: All
                All Documents
                    Documents Regarding
                               Regarding your
                                          your Acquisition
                                                Acquisition or
                                                            or use
                                                               use of
                                                                   of any
                                                                      any cleaners
                                                                           cleaners or
                                                                                    or cleaning
                                                                                       cleaning
devices for
devices     Your Recalled
        for Your Recalled Device,
                          Device, including
                                  including but
                                            but not
                                                not limited
                                                    limited to
                                                            to any
                                                               any ozone
                                                                   ozone cleaning
                                                                          cleaning devices
                                                                                   devices and
                                                                                            and



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any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.

REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition  of any  accessory   to be used  in combination with  a Recalled Device,   including
Acquisition of any accessory to be used in combination with a Recalled Device, including but not but   not
limited to any
limited to any humidifier,
                humidifier, cleaner,   wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

         Without waiving
         Without waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, see BRUCEGINSBERG000001.
                                                          see BRUCEGINSBERG000001.

REQUEST 16:
REQUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but  not limited to any photos or videos of the Recalled  Device   and any other evidence
including but not limited to any photos or videos of the Recalled Device and any other evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 16:
                                16:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of  of the
                                                                the discovery
                                                                     discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff further objects
                  objects to
                          to the
                              the extent
                                  extent this
                                          this Request
                                               Request seeks
                                                          seeks aa concession
                                                                    concession that
                                                                                that evidence
                                                                                     evidence ofof degradation
                                                                                                    degradation
can be
can be seen
        seen by
              by the
                  the naked
                       naked eye.
                              eye. Plaintiff
                                    Plaintiff further
                                              further objects
                                                         objects to
                                                                  to this
                                                                      this Request
                                                                           Request on
                                                                                    on grounds
                                                                                       grounds that
                                                                                                  that the
                                                                                                       the term
                                                                                                           term
“particulate”  and  “dark   matter”   are  undefined.     Plaintiff  further objects  to the
"particulate" and "dark matter" are undefined. Plaintiff further objects to the use of the termuse  of the term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request onon grounds
                                    grounds that
                                              that it
                                                   it is
                                                      is overbroad,
                                                         overbroad, vague,
                                                                       vague, ambiguous,
                                                                              ambiguous, andand impermissibly
                                                                                                 impermissibly
seeks information
seeks information notnot relevant  to any
                         relevant to   any claims   or defenses
                                            claims or    defenses ofof any
                                                                        any party.
                                                                            party. Plaintiff
                                                                                   Plaintiff further
                                                                                             further objects
                                                                                                      objects to
                                                                                                              to


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this Request
this Request onon grounds
                   grounds that
                             that it
                                   it is
                                      is duplicative
                                          duplicative ofof Request
                                                           Request No.No. 11.
                                                                          11. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                  objects to
                                                                                                           to this
                                                                                                               this
Request to
Request   to the
             the extent
                 extent that
                         that the
                               the burden
                                    burden or or expense
                                                  expense ofof the
                                                               the requested
                                                                    requested discovery
                                                                               discovery outweighs
                                                                                           outweighs itsits likely
                                                                                                            likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is  is already
                                              already in
                                                       in Defendant's
                                                           Defendant’s possession,
                                                                         possession, custody,
                                                                                       custody, and/or
                                                                                                and/or control.
                                                                                                          control.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request to to the
                                                    the extent
                                                         extent Plaintiff
                                                                 Plaintiff has
                                                                           has already
                                                                                already provided
                                                                                         provided information
                                                                                                     information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                             further objects
                                                     objects to
                                                              to this
                                                                  this Request
                                                                       Request toto the
                                                                                    the extent
                                                                                        extent it  seeks matters
                                                                                               it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                    either the
                                            the attorney-client
                                                attorney-client privilege
                                                                  privilege and/or
                                                                            and/or the
                                                                                    the work
                                                                                        work product
                                                                                              product doctrine,
                                                                                                        doctrine,
or any
or any other  privilege, immunity,
        other privilege,  immunity, or   or protection.
                                            protection. Plaintiff
                                                          Plaintiff further objects to
                                                                    further objects  to the
                                                                                        the extent  this Request
                                                                                            extent this  Request
seeks premature    expert  testimony.
seeks premature expert testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in the recall; and Documents     sufficient  to  show when   and how  You  became
participate in the recall; and Documents sufficient to show when and how You became aware of    aware  of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REQUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

       Plaintiff objects
      Plaintiff  objects to
                         to this
                            this Request
                                  Request asas vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                 burdensome, overbroad,
                                                                               overbroad, irrelevant,
                                                                                            irrelevant,
cumulative, and/or  because  the burden  or  expense   of the discovery outweighs   its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. benefit.
The broad scope
The broad  scope and
                  and unnecessary
                      unnecessary difficulties
                                    difficulties of
                                                  of this
                                                     this Request
                                                          Request are
                                                                   are compounded
                                                                       compounded by  by the
                                                                                          the fact  that
                                                                                               fact that
Defendant seeks
Defendant  seeks materials
                 materials that
                           that are
                                are within
                                    within its
                                            its possession,
                                                possession, custody,
                                                             custody, and/or
                                                                      and/or control.
                                                                             control. Plaintiff
                                                                                      Plaintiff further
                                                                                                 further


                                                         -8
                                                          8-
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objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in
                                               in this
                                                  this Request
                                                       Request onon grounds
                                                                    grounds that
                                                                             that it
                                                                                  it is overbroad, vague,
                                                                                     is overbroad,  vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                    seeks information
                                          information not
                                                        not relevant  to any
                                                            relevant to  any claims
                                                                              claims oror defenses
                                                                                          defenses of
                                                                                                    of any
                                                                                                       any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                 to this
                                    this Request
                                         Request to
                                                 to the
                                                    the extent
                                                        extent it seeks matters
                                                               it seeks matters immune
                                                                                 immune from     discovery
                                                                                           from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                   privilege and/or
                                             and/or the
                                                     the work
                                                         work product
                                                               product doctrine,
                                                                        doctrine, or
                                                                                  or any
                                                                                      any other
                                                                                           other privilege,
                                                                                                 privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                           other CPAP,
                                                                                 CPAP, BiPAP
                                                                                        BiPAP or
                                                                                              or
ventilator device that You used prior to, or after, Your Acquisition of a Recalled Device.
ventilator device that You used prior to, or after, Your Acquisition of a Recalled Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request  includes but
                                                                           but is
                                                                                is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in  Paragraphs
                                                                                         in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

          Plaintiff objects
          Plaintiff  objects to
                              to this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, and/or
cumulative,     and/or because
                        because thethe burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its its likely  benefit.
                                                                                                       likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects  to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune fromfrom discovery
                                                                                                     discovery under
                                                                                                                 under
either the
either   the attorney-client
              attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                    product doctrine,
                                                                              doctrine, or or any
                                                                                               any other
                                                                                                     other privilege,
                                                                                                             privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                      objects toto this
                                                                                                                   this
Request on
Request    on grounds
               grounds that
                        that it
                             it violates
                                 violates Plaintiffs
                                           Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                  privacy. Plaintiff
                                                                            Plaintiff further
                                                                                       further objects
                                                                                                objects toto the
                                                                                                             the scope
                                                                                                                 scope
of this
of  this Request
          Request toto the
                       the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                    relevant toto any
                                                                                  any claims
                                                                                        claims oror defenses
                                                                                                     defenses ofof any
                                                                                                                   any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition      at issue.
                                                                                            condition at issue. See See
e.g. Bower
e.g. Bower v. v. Westinghouse     Elec. Corp.,
                 Westinghouse Elec.               522 S.E.2d
                                          Corp., 522            424,430 (W.Va.
                                                       S.E.2d 424,430      (W.Va. 1999)
                                                                                    1999) (citations
                                                                                            (citations omitted)
                                                                                                         omitted) (the
                                                                                                                   (the
injury in
injury  in question
            question is
                      is the
                         the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur
                                                                           incur the
                                                                                  the cost
                                                                                       cost of
                                                                                            of monitoring);
                                                                                                monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220             712, 714,
                        S.W.3d 712,      714, 716
                                               716 (Mo.
                                                    (Mo. 2007);
                                                          2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.  Albright, 71
                                                                                           v. Albright,       A.3d 30,
                                                                                                          71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.     2013) (exposure
                      (exposure itself
                                    itself and
                                           and the
                                                the need
                                                     need for  medical testing
                                                           for medical    testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injuryinjury in
                                                                                                                   in aa
medical monitoring
medical    monitoring claim);
                        claim); Sadler
                                  Sadler v.   PacifiCare of
                                           v. PacifiCare    of Nev.,
                                                               Nev., Inc.,  340 P.3d,
                                                                      Inc., 340  P.3d, 264,
                                                                                        264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)


                                                         - 99 -
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(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact of
                                              of the
                                                 the defendant
                                                     defendant caused
                                                                 caused thethe plaintiff
                                                                               plaintiff to
                                                                                         to have
                                                                                            have aa medical
                                                                                                    medical need
                                                                                                             need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone   Tire && Rubber
                                                                Rubber Co.,    863 P.2d
                                                                          Co., 863  P.2d 795,
                                                                                           795, 823  (Cal. 1993).
                                                                                                823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                       privilege as
                                                                  as to
                                                                     to any
                                                                        any medical
                                                                              medical condition
                                                                                       condition for  his medical
                                                                                                  for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                              Plaintiff is
                                                        is not
                                                           not claiming
                                                               claiming present
                                                                           present physical
                                                                                    physical injury
                                                                                              injury in
                                                                                                     in this
                                                                                                        this case.
                                                                                                             case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                               significant exposure,
                                                            exposure, increased
                                                                        increased risk
                                                                                    risk of
                                                                                         of disease
                                                                                            disease and
                                                                                                     and medical
                                                                                                          medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and the
                                             the economic
                                                  economic loss    associated therewith.
                                                             loss associated     therewith. Plaintiff
                                                                                              Plaintiff and
                                                                                                        and class
                                                                                                             class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                 significant exposure
                                                             exposure to to the
                                                                            the proven
                                                                                proven hazardous
                                                                                        hazardous Foam
                                                                                                    Foam Toxins
                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                    Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed   to  You   by   a Health   Care   Provider  relating  to  the  “subcellular
prescribed to You by a Health Care Provider relating to the "subcellular injury or other  injury  or  other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;    biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                           Request as  as vague,
                                                            vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the the burden
                                          burden or or expense
                                                        expense of of the
                                                                       the discovery
                                                                            discovery outweighs
                                                                                         outweighs itsits likely   benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
           further objects    to this
                                 this Request
                                        Request to to the
                                                      the extent
                                                           extent it
                                                                   it seeks
                                                                      seeks matters
                                                                             matters immune
                                                                                       immune from
                                                                                                 from discovery
                                                                                                        discovery under
                                                                                                                      under
either the
either  the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or thethe work
                                                                work product
                                                                       product doctrine,
                                                                                  doctrine, oror any
                                                                                                  any other     privilege,
                                                                                                        other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects to to this
                                                                                                                        this
Request on
Request   on grounds
               grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                              Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                      scope
of this
of  this Request
         Request to to the
                        the extent
                             extent it it seeks
                                          seeks information
                                                  information not not relevant
                                                                        relevant to
                                                                                  to any
                                                                                      any claims
                                                                                           claims oror defenses
                                                                                                        defenses of of any
                                                                                                                        any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                 not put
                                                                      put present
                                                                           present physical
                                                                                    physical condition
                                                                                               condition at at issue.
                                                                                                               issue. See
                                                                                                                        See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.         Corp., 522
                                    Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                1999) (citations
                                                                              (W.Va. 1999)                  omitted) (the
                                                                                               (citations omitted)      (the
injury in
injury  in question
            question isis the
                          the increase
                               increase in  in risk
                                               risk that
                                                     that requires
                                                           requires one
                                                                      one to
                                                                           to incur  the cost
                                                                              incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220     S.W.3d 712, 712, 714,
                                             714, 716
                                                   716 (Mo.      2007); Exxon
                                                         (Mo. 2007);      Exxon Mobil
                                                                                  Mobil Corp.
                                                                                          Corp. v.   Albright, 71
                                                                                                  v. Albright,         A.3d
                                                                                                                  71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
             (Md. 2013)     (exposure itself      and the
                                           itself and   the need
                                                              need for
                                                                    for medical
                                                                         medical testing
                                                                                  testing is
                                                                                           is the
                                                                                              the compensable
                                                                                                   compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                               claim); Sadler
                                           Sadler v.   PacifiCare of
                                                    v. PacifiCare     of Nev.,  Inc., 340
                                                                          Nev., Inc.,       P.3d, 264,
                                                                                       340 P.3d,   264, 1270-72
                                                                                                         1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether     the negligent
                                       negligent actact of
                                                        of the
                                                             the defendant
                                                                 defendant caused
                                                                              caused the
                                                                                       the plaintiff
                                                                                           plaintiff to
                                                                                                     to have
                                                                                                         have aa medical
                                                                                                                  medical
need to
need   to undergo
          undergo monitoring);
                      monitoring); PotterPotter v.   Firestone Tire
                                                  v. Firestone     Tire &              Co., 863
                                                                             Rubber Co.,
                                                                         & Rubber                 P.2d 795,
                                                                                            863 P.2d     795, 823
                                                                                                                823 (Cal.
                                                                                                                       (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not    waived the
                         not waived      the physician-patient
                                              physician-patient privilege
                                                                     privilege asas to
                                                                                    to any
                                                                                        any medical
                                                                                            medical condition
                                                                                                       condition for     his
                                                                                                                    for his
medical monitoring
medical   monitoring claims
                         claims in     this case
                                   in this        since Plaintiff
                                             case since   Plaintiff is
                                                                     is not claiming present
                                                                        not claiming    present physical
                                                                                                 physical injury
                                                                                                            injury in   this
                                                                                                                     in this
case. The
case.        injury that
       The injury     that Plaintiff
                            Plaintiff claims
                                         claims is is the
                                                      the significant
                                                            significant exposure,
                                                                          exposure, increased
                                                                                       increased risk
                                                                                                   risk of
                                                                                                         of disease
                                                                                                             disease andand
medical necessity
medical   necessity of of diagnostic
                           diagnostic testing
                                          testing and
                                                    and the
                                                         the economic
                                                               economic loss
                                                                           loss associated
                                                                                associated therewith.
                                                                                             therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and



                                                           -- 10
                                                              10
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class members
class members base
               base their
                    their claims
                          claims only
                                 only on
                                      on their
                                         their significant
                                               significant exposure
                                                           exposure to
                                                                    to the
                                                                       the proven
                                                                           proven hazardous
                                                                                  hazardous Foam
                                                                                            Foam
Toxins released by
Toxins released by PE-PUR
                   PE-PUR foam    in the
                             foam in the Recalled
                                         Recalled Devices.
                                                   Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                              10 years
                                                                                  years Relating
                                                                                         Relating to
                                                                                                   to any
                                                                                                       any
treatment  and/or  testing  prescribed  to You   by  a Health  Care   Provider  even if  unrelated
treatment and/or testing prescribed to You by a Health Care Provider even if unrelated to the       to the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes”    You allege
                                             changes" You    allege in  Paragraphs 26-88
                                                                     in Paragraphs        of the
                                                                                   26-88 of  the Medical
                                                                                                 Medical
Monitoring CSAC.
Monitoring   CSAC. This
                      This request
                            request includes  but is
                                     includes but  is not limited to
                                                      not limited  to any
                                                                      any "testing
                                                                          “testing and
                                                                                   and screening;
                                                                                        screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;     imaging; colonoscopies,
                                   examinations; imaging;      colonoscopies, endoscopies,     and other
                                                                                endoscopies, and     other
similar methods
similar  methods for    examination; biopsies;
                   for examination;    biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                            and oncologic
                                                                                 oncologic evaluations;
                                                                                             evaluations;
oncologic, histologic,
oncologic,                surgical, and
            histologic, surgical,   and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                      and medical
                                                                                            medical andand
surgical procedures
surgical procedures necessary
                      necessary for
                                 for diagnosis  and treatment."
                                     diagnosis and   treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                 matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                            under
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                  and/or the the work
                                                                   work product
                                                                          product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other     privilege,
                                                                                                              other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                    violates Plaintiffs
                                                Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                            scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                              present physical
                                                                                        physical condition
                                                                                                     condition at at issue.
                                                                                                                     issue. See
                                                                                                                              See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations     omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,    71 A.3d
                                                                                                                             A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical     testing is
                                                                                                is the
                                                                                                    the compensable
                                                                                                         compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                         264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the  the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                 Rubber Co.,Co., 863    P.2d 795,
                                                                                                 863 P.2d             823 (Cal.
                                                                                                               795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition forfor his
                                                                                                                               his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                           not claiming      present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                            increased risk
                                                                                                         risk of
                                                                                                               of disease
                                                                                                                   disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class  members     base   their   claims    only   on   their   significant   exposure     to the
class members base their claims only on their significant exposure to the proven hazardous Foam   proven     hazardous      Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.

REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 23:
                                23:




                                                              - 11
                                                              -11
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          Plaintiff objects
          Plaintiff   objects to to this
                                     this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                       irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its   its likely  benefit.
                                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                          Request to  to the
                                                         the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                                discovery under
                                                                                                                            under
either the
either   the attorney-client
              attorney-client privilege
                                    privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                        privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                    physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                   violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                           objects toto the
                                                                                                                        the scope
                                                                                                                            scope
of this
of  this Request
          Request to to the
                        the extent
                             extent it   it seeks
                                            seeks information
                                                     information not not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                                defenses ofof any
                                                                                                                               any
party. A
party.  A claim
           claim for
                   for medical
                        medical monitoring
                                    monitoring costs  costs does
                                                             does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at   at issue.
                                                                                                                       issue. See
                                                                                                                               See
e.g. Bower
e.g. Bower v. v. Westinghouse
                 Westinghouse Elec.  Elec. Corp.,
                                              Corp., 522522 S.E.2d    424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations       omitted) (the
                                                                                                      (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in   in risk
                                                  risk that
                                                        that requires
                                                             requires oneone toto incur
                                                                                   incur the
                                                                                          the cost
                                                                                               cost ofof monitoring);
                                                                                                          monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                             714, 716716 (Mo.
                                                          (Mo. 2007);     Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,         A.3d 30,
                                                                                                                      71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.             (exposure itself
               2013) (exposure         itself and
                                                and the
                                                      the need
                                                           need for   medical testing
                                                                 for medical     testing isis the
                                                                                              the compensable
                                                                                                   compensable injury  injury in
                                                                                                                               in aa
medical monitoring
medical    monitoring claim);        Sadler v.
                         claim); Sadler             PacifiCare ofNev.,
                                                 v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                     (Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry   is whether
              whether thethe negligent
                              negligent act   act ofof the
                                                       the defendant
                                                            defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to             monitoring); Potter
   undergo monitoring);          Potter v.       Firestone Tire
                                             v. Firestone     Tire && Rubber
                                                                        Rubber Co., Co., 863   P.2d 795,
                                                                                         863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                     (Cal. 1993).
Plaintiff has
Plaintiff  has not   waived the
                not waived     the physician-patient
                                     physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for       his medical
                                                                                                                 for his  medical
monitoring claims
monitoring     claims inin this
                            this case      since Plaintiff
                                  case since        Plaintiff is
                                                               is not
                                                                  not claiming      present physical
                                                                       claiming present       physical injury
                                                                                                            injury in   this case.
                                                                                                                     in this case.
The   injury that
The injury    that Plaintiff
                    Plaintiff claims
                                claims is       the significant
                                            is the   significant exposure,
                                                                   exposure, increased
                                                                                 increased risk      of disease
                                                                                               risk of    disease andand medical
                                                                                                                          medical
necessity of
necessity    of diagnostic     testing and
                diagnostic testing          and thethe economic
                                                        economic lossloss associated
                                                                            associated therewith.
                                                                                           therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and class
                                                                                                                             class
members base
members     base their
                  their claims
                         claims onlyonly on on their
                                                their significant
                                                       significant exposure
                                                                    exposure to   to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous Foam Foam Toxins
                                                                                                                           Toxins
released by
released   by PE-PUR
               PE-PUR foam foam in  in the
                                        the Recalled
                                              Recalled Devices.
                                                          Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as as vague,
                                                         vague, unduly
                                                                   unduly burdensome,
                                                                              burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden oror expense
                                                      expense of of the
                                                                     the discovery
                                                                           discovery outweighs
                                                                                       outweighs its  its likely  benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request toto the
                                                    the extent
                                                        extent it   seeks matters
                                                                 it seeks   matters immune
                                                                                     immune from from discovery
                                                                                                        discovery under
                                                                                                                    under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                               and/or the
                                                       the work
                                                             work product
                                                                      product doctrine,
                                                                                doctrine, or or any
                                                                                                  any other
                                                                                                        other privilege,
                                                                                                                privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                               physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                         objects toto this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                            Plaintiff’s right
                                                         right to
                                                               to privacy.
                                                                   privacy. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                    scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                information not not relevant
                                                                      relevant toto any
                                                                                    any claims
                                                                                          claims or or defenses
                                                                                                        defenses ofof any
                                                                                                                       any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                 costs does
                                                        does not
                                                              not put
                                                                    put present
                                                                         present physical
                                                                                   physical condition
                                                                                              condition at  at issue.
                                                                                                               issue. See
                                                                                                                       See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                   Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                   omitted) (the
                                                                                               (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                              increase in in risk
                                             risk that
                                                   that requires
                                                        requires oneone toto incur  the cost
                                                                             incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716   (Mo. 2007);
                                                716 (Mo.             Exxon Mobil
                                                           2007); Exxon       Mobil Corp.
                                                                                      Corp. v.   Albright, 71
                                                                                             v. Albright,        A.3d 30,
                                                                                                              71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure        itself and
                                            and the
                                                 the need   for medical
                                                      need for  medical testing
                                                                            testing is
                                                                                     is the
                                                                                        the compensable
                                                                                            compensable injury injury in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                        Inc., 340  P.3d, 264,
                                                                                          264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev. 2014)
                                                                                                                    2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act of
                                               of the
                                                  the defendant
                                                       defendant caused       the plaintiff
                                                                     caused the    plaintiff to
                                                                                              to have
                                                                                                  have aa medical
                                                                                                           medical need
                                                                                                                      need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                         v. Firestone    Tire && Rubber
                                                                   Rubber Co.,Co., 863   P.2d 795,
                                                                                   863 P.2d     795, 823
                                                                                                       823 (Cal.   1993).
                                                                                                             (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                         privilege as as to
                                                                         to any
                                                                            any medical
                                                                                 medical condition
                                                                                           condition for      his medical
                                                                                                         for his  medical



                                                               -- 12
                                                                  12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 453 of 654




monitoring claims
monitoring   claims in
                     in this
                         this case  since Plaintiff
                              case since   Plaintiff is
                                                     is not
                                                        not claiming   present physical
                                                            claiming present    physical injury
                                                                                         injury in  this case.
                                                                                                 in this case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims is  the significant
                                     is the significant exposure,
                                                         exposure, increased
                                                                    increased risk   of disease
                                                                                risk of          and medical
                                                                                        disease and   medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                     and the
                                          the economic
                                               economic loss    associated therewith.
                                                          loss associated    therewith. Plaintiff
                                                                                          Plaintiff and
                                                                                                    and class
                                                                                                         class
members base
members   base their
                their claims
                      claims only
                               only on
                                     on their
                                        their significant
                                              significant exposure
                                                          exposure toto the
                                                                        the proven
                                                                            proven hazardous
                                                                                    hazardous Foam
                                                                                               Foam Toxins
                                                                                                       Toxins
released by
released by PE-PUR
             PE-PUR foamfoam inin the
                                  the Recalled
                                      Recalled Devices.
                                                 Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.


AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                              outweighs its   its likely  benefit.
                                                                                                                  likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                            under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or   or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                        privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                                further objects
                                                                                                           objects toto the
                                                                                                                        the scope
                                                                                                                            scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                 claims or or defenses
                                                                                                                defenses ofof any
                                                                                                                               any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                     condition at   at issue.
                                                                                                                       issue. See
                                                                                                                               See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                       omitted) (the
                                                                                                      (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost ofof monitoring);
                                                                                                          monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.    Albright, 71
                                                                                                    v. Albright,         A.3d 30,
                                                                                                                      71 A.3d   30,
75-77  (Md.   2013)   (exposure       itself   and   the  need  for  medical    testing
75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable      is the  compensable         injury
                                                                                                                       injury  in
                                                                                                                               in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                     (Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff to to have
                                                                                                         have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d       795, 823823 (Cal.   1993).
                                                                                                                     (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                  condition for       his medical
                                                                                                                 for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                            injury in   this case.
                                                                                                                     in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk       of disease
                                                                                               risk of    disease andand medical
                                                                                                                          medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                            Plaintiff and
                                                                                                                        and class
                                                                                                                             class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                    hazardous Foam Foam Toxins
                                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other   Documents Regarding
                        other Documents      Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:



                                                               -- 13
                                                                  13
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         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare     of Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to   to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                           Request as  as vague,
                                                           vague, unduly
                                                                     unduly burdensome,
                                                                                burdensome, overbroad,
                                                                                                  overbroad, irrelevant,
                                                                                                                  irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden or  or expense
                                                        expense of of the
                                                                       the discovery
                                                                             discovery outweighs
                                                                                         outweighs its   its likely  benefit.
                                                                                                             likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request to  to the
                                                      the extent
                                                          extent it   seeks matters
                                                                   it seeks   matters immune
                                                                                       immune from from discovery
                                                                                                           discovery under
                                                                                                                       under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                                 and/or the
                                                         the work
                                                               work product
                                                                        product doctrine,
                                                                                  doctrine, or or any
                                                                                                    any other
                                                                                                           other privilege,
                                                                                                                   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                                 physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                 further objects
                                                                                                            objects toto this
                                                                                                                          this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                              Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects
                                                                                                      objects toto the
                                                                                                                   the scope
                                                                                                                       scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                  information not not relevant
                                                                        relevant toto any
                                                                                      any claims
                                                                                            claims or or defenses
                                                                                                           defenses ofof any
                                                                                                                          any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                      put present
                                                                           present physical
                                                                                     physical condition
                                                                                                condition at   at issue.
                                                                                                                  issue. See
                                                                                                                          See
e.g. Bower   v. Westinghouse       Elec.   Corp.,    522  S.E.2d   424,430     (W.Va.   1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the (citations    omitted)   (the
injury in
injury  in question  is the
           question is   the increase
                              increase in  in risk
                                               risk that
                                                     that requires
                                                          requires oneone toto incur  the cost
                                                                               incur the   cost of
                                                                                                 of monitoring);
                                                                                                     monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716     (Mo. 2007);
                                                  716 (Mo.             Exxon Mobil
                                                              2007); Exxon      Mobil Corp.
                                                                                        Corp. v.   Albright, 71
                                                                                               v. Albright,         A.3d 30,
                                                                                                                 71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure        itself and
                                             and the
                                                   the need   for medical
                                                        need for  medical testing
                                                                              testing is
                                                                                       is the
                                                                                          the compensable
                                                                                              compensable injury  injury in
                                                                                                                          in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler            PacifiCare ofNev.,
                                              v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                          Inc., 340  P.3d, 264,
                                                                                            264, 1270-72
                                                                                                    1270-72 (Nev.
                                                                                                                (Nev. 2014)
                                                                                                                       2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act ofof the
                                                    the defendant
                                                         defendant caused       the plaintiff
                                                                       caused the    plaintiff to
                                                                                                to have
                                                                                                    have aa medical
                                                                                                              medical need
                                                                                                                         need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.      Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                     Rubber Co.,Co., 863   P.2d 795,
                                                                                     863 P.2d     795, 823823 (Cal.   1993).
                                                                                                                (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                           privilege as as to
                                                                           to any
                                                                              any medical
                                                                                   medical condition
                                                                                             condition for       his medical
                                                                                                            for his  medical
monitoring claims
monitoring    claims in
                      in this
                          this case     since Plaintiff
                                case since       Plaintiff is
                                                            is not
                                                               not claiming     present physical
                                                                    claiming present      physical injury
                                                                                                       injury in   this case.
                                                                                                                in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is      the significant
                                         is the   significant exposure,
                                                                exposure, increased
                                                                              increased risk    of disease
                                                                                          risk of    disease andand medical
                                                                                                                     medical



                                                              -- 14
                                                                 14
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 455 of 654




necessity of
necessity of diagnostic
             diagnostic testing
                          testing and
                                  and the
                                       the economic
                                            economic loss
                                                       loss associated
                                                            associated therewith.
                                                                        therewith. Plaintiff
                                                                                   Plaintiff and
                                                                                             and class
                                                                                                 class
members base
members   base their
               their claims
                     claims only
                             only on
                                  on their
                                     their significant
                                           significant exposure
                                                       exposure to
                                                                to the
                                                                   the proven
                                                                       proven hazardous
                                                                              hazardous Foam
                                                                                        Foam Toxins
                                                                                               Toxins
released by
released by PE-PUR
            PE-PUR foam      in the
                       foam in  the Recalled
                                    Recalled Devices.
                                              Devices.


REQUEST 28:
REQUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                  work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense   of the  discovery   outweighs   its likely  benefit.  Plaintiff objects   to this  Request
expense of the discovery outweighs its likely benefit. Plaintiff objects to this Request to the extent  to  the  extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may be
                                           be subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                 examinations, and and consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery            either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 29
                                29

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent   it seeks
                                                                                                 extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.


                                                         -- 15
                                                            15
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      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.




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                                                          16
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      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without  waiving and
                        and subject
                            subject to
                                     to these
                                        these objections,
                                               objections, Plaintiff
                                                           Plaintiff does
                                                                     does not
                                                                          not possess
                                                                              possess any
                                                                                       any
responsive documents.
responsive documents.
REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                       acquired aa replacement
                                                   replacement device
                                                                device not
                                                                        not manufactured
                                                                            manufactured byby Philips,
                                                                                                Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                            device, including  but not
                                                     including but  not limited to receipts,
                                                                        limited to receipts, insurance
                                                                                             insurance
payments, co-payments,
payments,  co-payments, and
                         and explanations
                               explanations of
                                             of benefits;
                                                 benefits; and
                                                           and Documents
                                                                Documents sufficient
                                                                              sufficient to
                                                                                         to show
                                                                                             show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                            serial number,
                                                   number, purchase
                                                            purchase date,
                                                                      date, and
                                                                            and amount
                                                                                amount paid
                                                                                         paid for  such
                                                                                               for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                      by any
                                         any third-party
                                              third-party payor.
                                                          payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further
Plaintiff         objects to  this  Request  on grounds  that it seeks matters  immune     from
          further objects to this Request on grounds that it seeks matters immune from discovery   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                    referenced in
                                                                                               in
Counts IX, X and XI of the Medical Monitoring  CSAC,  including but not limited to a copy of such
Counts IX, X and XI of the Medical Monitoring CSAC, including but not limited to a copy of such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                       burdensome, andand cumulative.
                                                                                           cumulative. TheThe
unnecessary difficulties
unnecessary                of this
              difficulties of this Request
                                    Request are
                                            are compounded
                                                 compounded by by the
                                                                   the fact  that Defendant
                                                                        fact that Defendant seeks
                                                                                             seeks materials
                                                                                                   materials
that are
that are equally   available to
         equally available   to it
                                it and/or
                                   and/or are
                                          are already
                                              already within
                                                       within its possession, custody,
                                                              its possession,    custody, and/or
                                                                                          and/or control.
                                                                                                 control. As
                                                                                                           As
the manufacturer
the  manufacturer of of the
                         the Recalled
                              Recalled Devices,
                                         Devices, Defendant
                                                    Defendant is is in
                                                                     in the
                                                                         the better
                                                                              better position
                                                                                     position to
                                                                                              to obtain
                                                                                                  obtain the
                                                                                                           the
information this
information   this Request
                    Request seeks.
                             seeks. Plaintiff
                                     Plaintiff further objects to
                                               further objects  to this
                                                                    this Request
                                                                          Request onon grounds
                                                                                       grounds that
                                                                                                that it
                                                                                                     it seeks
                                                                                                        seeks



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                                                        17
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matters immune
matters  immune from     discovery under
                  from discovery    under the
                                          the attorney-client
                                               attorney-client privilege
                                                               privilege and/or
                                                                         and/or the
                                                                                the work
                                                                                    work product
                                                                                         product
doctrine, or
doctrine, or any
             any other
                 other privilege,
                       privilege, immunity,
                                  immunity, or
                                            or protection.
                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 36:
REQUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REQUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.




                                                       -- 18
                                                          18
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded     by the fact that  Defendant seeks  materials  that are equally  available
compounded by the fact that Defendant seeks materials that are equally available to it.   to it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

          Plaintiff objects
          Plaintiff   objects to to this
                                     this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                          Request to  to the
                                                         the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either   the attorney-client
              attorney-client privilege
                                    privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                    physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                   violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of  this Request
          Request to to the
                        the extent
                             extent it   it seeks
                                            seeks information
                                                     information not not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party.  A claim
           claim for
                   for medical
                        medical monitoring
                                    monitoring costs  costs does
                                                             does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower    v. Westinghouse        Elec.    Corp.,    522  S.E.2d   424,430     (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the      (citations   omitted)   (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in   in risk
                                                  risk that
                                                        that requires
                                                             requires oneone toto incur
                                                                                   incur the
                                                                                          the cost
                                                                                                cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                             714, 716716 (Mo.
                                                          (Mo. 2007);
                                                                 2007); Exxon
                                                                          Exxon Mobil
                                                                                    Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77 (Md.
75-77   (Md. 2013)     (exposure itself
               2013) (exposure         itself and
                                                and the
                                                      the need   for medical
                                                           need for   medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical    monitoring claim);        Sadler v.
                         claim); Sadler             PacifiCare of
                                                 v. PacifiCare    of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.     2014)
                                                                                                                    (Nev. 2014)
(inquiry is
(inquiry   is whether
              whether thethe negligent
                              negligent act   act ofof the
                                                       the defendant
                                                            defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to             monitoring); Potter
   undergo monitoring);          Potter v.       Firestone Tire
                                             v. Firestone     Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff  has not   waived the
                not waived     the physician-patient
                                     physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring     claims inin this
                            this case      since Plaintiff
                                  case since        Plaintiff is
                                                               is not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The   injury that
The injury    that Plaintiff
                    Plaintiff claims
                                claims is       the significant
                                            is the   significant exposure,
                                                                   exposure, increased
                                                                                 increased risk      of  disease    and  medical
                                                                                               risk of disease and medical
necessity of
necessity    of diagnostic     testing and
                 diagnostic testing         and thethe economic
                                                        economic loss       associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members     base their
                  their claims
                         claims onlyonly on on their
                                                their significant
                                                       significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released   by PE-PUR
               PE-PUR foam foam in  in the
                                        the Recalled
                                              Recalled Devices.
                                                          Devices.

 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                             /s/ Kelly
                                                                  /s/ Kelly K
                                                                            K. Iverson
                                                                               Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan, Esquire                                       Kelly K.
                                                                  Kelly  K. Iverson,
                                                                            Iverson, Esquire
                                                                                     Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &  & BERMAN LLP
                      BERMAN LLP                                  LYNCH CARPENTER,
                                                                  LYNCH      CARPENTER, LLP  LLP



                                                              -- 19
                                                                 19
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                    Suite 500
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                                                   Pittsburgh, PA 15222
                                                                  15222
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                                                   kelly@lcllp.com
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sduggan@lfsblaw.com

/s/ Christopher
/s/             A. Seeger
    Christopher A. Seeger                          /s/ Steven
                                                   /s/ Steven A.
                                                              A. Schwartz
                                                                 Schwartz
Christopher A. Seeger, Esquire
Christopher  A. Seeger,  Esquire                   Steven
                                                   Steven A. Schwartz, Esquire
                                                           A. Schwartz, Esquire
SEEGER     WEISS LLP
SEEGER WEISS        LLP                            CHIMICLES       SCHWARTZ 'MINER
                                                   CHIMICLES SCHWARTZ           KRINER &
                                                                                       &
                       th
55  Challenger Road,
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                          Floor                    DONALDSON-SMITH LLP
                                                   DONALDSON-SMITH          LLP
Ridgefield Park,
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                  NJ 07660
                     07660                         361  West Lancaster
                                                   361 West             Avenue
                                                              Lancaster Avenue
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                                                   One   Haverford Centre
                                                                   Centre
cseeger@seegerweiss.com
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                                                   Haverford,  PA 19041
                                                                   19041
                                                   (610)
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                                                          642-8500 (phone)
                                                   steveschwartz@chimicles.com
                                                   steveschwartz@chimicles.com

                                Counsel for Plaintiffs'
                                Counselfor  Plaintiffs and
                                                        and the
                                                            the Class
                                                                Class




                                                -- 20
                                                   20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 461 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

BRUCE GINSBERG'S
BRUCE GINSBERG’S AMENDED
                 AMENDED RESPONSES
                         RESPONSES AND
                                   AND OBJECTIONS
                                       OBJECTIONS TO PHILIPS RS'
                                                  TO PHILIPS RS’ FIRST
                                                                 FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO
                                    TO MEDICAL
                                       MEDICAL MONITORING
                                               MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
                           MORGAN,    LEWIS &
                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
                                                           LLP
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                                    1701 Market Street
                                                 Street
                              Philadelphia, PA
                              Philadelphia, PA 19103-2921
                                                19103-2921
                                      T 215.963.5000
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                                 Wendy West
                                 Wendy    West Feinstein
                                               Feinstein
                           MORGAN,   LEWIS &
                           MORGAN, LEWIS     & BOCKIUS
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                             One  Oxford Center,
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                                 Counselfor  Defendant Philips
                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

                                    Michael H.
                                    Michael H. Steinberg
                                                Steinberg
                              SULLIVAN &
                              SULLIVAN    & CROMWELL
                                            CROMWELL LLP   LLP
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                                   1888  Century Park
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                                                      East
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                                   William B. Monahan
                                              Monahan
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                                               Street
                                   New York,
                                   New  York, NY
                                              NY 10004
                                                 10004
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                           Counsel for Defendants
                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
                       FRANKLIN
                       FRANKLIN &   & PROKOPIK
                                        PROKOPIK
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                      500 Creek View
                                View Road,
                                       Road, Suite 502
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                            Newark, DE
                            Newark,   DE 19711
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 463 of 654




                    EXHIBIT
                    EXHIBIT T
                            T
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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    PLAINTIFF
    PLAINTIFF CHRISTOPHER
              CHRISTOPHER GLAUB’S    SECOND AMENDED
                           GLAUB'S SECOND   AMENDED RESPONSES
                                                     RESPONSES AND
                                                               AND
       OBJECTIONS TO
       OBJECTIONS  TO PHILIPS RS’ FIRST
                      PHILIPS RS'       REQUEST FOR
                                  FIRST REQUEST FOR PRODUCTION
                                                    PRODUCTION
           OF DOCUMENTS
           OF DOCUMENTS TO
                         TO MEDICAL    MONITORING PLAINTIFFS
                            MEDICAL MONITORING    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Christopher
         Plaintiff Christopher Glaub
                                  Glaub ("Plaintiff')
                                         (“Plaintiff”) objects
                                                       objects to
                                                               to this
                                                                   this Request
                                                                        Request on
                                                                                 on grounds
                                                                                     grounds that
                                                                                              that it
                                                                                                   it is
                                                                                                      is vague,
                                                                                                         vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                 and/or because
                                                                         because the
                                                                                   the burden
                                                                                       burden oror expense
                                                                                                   expense of of
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                    objects to
                                                                             to this
                                                                                this Request
                                                                                     Request toto the
                                                                                                  the extent
                                                                                                       extent it
                                                                                                               it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                     either the
                                                            the attorney-client
                                                                 attorney-client privilege
                                                                                  privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                           work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further  objects to
                                                                                       further objects    to the
                                                                                                             the
term  “Acquired”    because    as defined  it seeks to  obtain  information   not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims or any  claims   or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                         grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                      seeks information
                                                                                             information that
                                                                                                            that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                      and/or control.
                                                             control.

    Without
    Without  waiving
             waiving  and
                      and    subject
                             subject to
                                     to   these
                                          these   objections,
                                                  objections,                                               see
                                                                                                            see
MMGLAUBCHRISTOPHER00000001-MMGLAUBCHRISTOPHER00000005.
MMGLAUBCHRISTOPHER00000001-MMGLAUBCHRISTOPHER00000005.

REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

    Without
    Without  waiving
             waiving  and
                      and    subject
                             subject to
                                     to   these
                                          these   objections,
                                                  objections,                                               see
                                                                                                            see
MMGLAUBCHRISTOPHER00000001-MMGLAUBCHRISTOPHER00000004.
MMGLAUBCHRISTOPHER00000001-MMGLAUBCHRISTOPHER00000004.

AMENDED REOUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

    Without
    Without  waiving
             waiving  and
                      and    subject
                             subject to
                                     to   these
                                          these   objections,
                                                  objections,                                               see
                                                                                                            see
MMGLAUBCHRISTOPHER00000001-MMGLAUBCHRISTOPHER00000004.
MMGLAUBCHRISTOPHER00000001-MMGLAUBCHRISTOPHER00000004.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly        burdensome, overbroad,
                                                                        unduly burdensome,                              irrelevant,
                                                                                                       overbroad, irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


                                                               -4-
                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit
             limit the
                   the scope
                        scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product   doctrine, or
                     or any
                         any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff will
                                                                   will submit
                                                                        submit the
                                                                               the SD card from
                                                                                   SD card from
his Recalled
his Recalled Device(s).
             Device(s).

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

    Without
    Without  waiving
             waiving  and
                      and    subject
                             subject to
                                     to   these
                                          these   objections,
                                                  objections,                                                    see
                                                                                                                 see
MMGLAUBCHRISTOPHER00000001-MMGLAUBCHRISTOPHER00000005
MMGLAUBCHRISTOPHER00000001-MMGLAUBCHRISTOPHER00000005

REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


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                                                        -7
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Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                        concession that
                                                                                      that evidence
                                                                                           evidence of of degradation
                                                                                                           degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                             objects to
                                                                      to this
                                                                          this Request
                                                                               Request onon grounds
                                                                                              grounds that
                                                                                                         that the
                                                                                                               the term
                                                                                                                    term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to the
                                                                                                the use
                                                                                                    use of of the
                                                                                                              the term
                                                                                                                    term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                       it is
                                                          is overbroad,
                                                             overbroad, vague,
                                                                           vague, ambiguous,
                                                                                   ambiguous, and and impermissibly
                                                                                                       impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims    or defenses
                                                claims or    defenses ofof any
                                                                            any party.
                                                                                party. Plaintiff
                                                                                        Plaintiff further
                                                                                                   further objects
                                                                                                             objects toto
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                              Request No.No. 11.
                                                                              11. Plaintiff
                                                                                  Plaintiff further
                                                                                              further objects
                                                                                                       objects toto this
                                                                                                                     this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of of the
                                                                   the requested
                                                                       requested discovery
                                                                                   discovery outweighs
                                                                                                outweighs its its likely
                                                                                                                  likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                             possession, custody,
                                                                                           custody, and/or
                                                                                                      and/or control.
                                                                                                                control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                      the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                               has already
                                                                                    already provided
                                                                                              provided information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                       objects to to this
                                                                     this Request
                                                                           Request toto the
                                                                                        the extent
                                                                                             extent it  seeks matters
                                                                                                     it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                     privilege and/or
                                                                                and/or the
                                                                                        the work
                                                                                             work product
                                                                                                   product doctrine,
                                                                                                              doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                       further objects
                                                                                objects to
                                                                                         to the
                                                                                            the extent
                                                                                                 extent this
                                                                                                          this Request
                                                                                                                Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.



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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information     not relevant    to any  claims   or  defenses
                                            information not relevant to any claims or defenses of          of any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                           other CPAP,
                                                                                 CPAP, BiPAP
                                                                                        BiPAP or
                                                                                              or
ventilator device that You used prior to, or after, Your Acquisition of a Recalled Device.
ventilator device that You used prior to, or after, Your Acquisition of a Recalled Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular  injury  or other  physiological changes” You  allege  You  have  suffered  in Paragraphs
"subcellular injury or other physiological changes" You allege You have suffered in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                         Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                 discovery outweighs
                                                                            outweighs its
                                                                                        its likely benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks  matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                     under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other
                                                                                          other privilege,
                                                                                                 privilege,
immunity, or
immunity,    or protection,
                protection, including
                             including physician-patient
                                        physician-patient privilege.
                                                             privilege. Plaintiff
                                                                        Plaintiff further
                                                                                  further objects
                                                                                           objects to
                                                                                                    to this
                                                                                                       this



                                                      - 99 -
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Request on
Request   on grounds
              grounds that
                         that it  violates Plaintiff's
                               it violates    Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                    privacy. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects  to the
                                                                                                    objects to the scope
                                                                                                                   scope
of this
of  this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant to to any
                                                                                      any claims    or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                           Corp., 522522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430     (W.Va. 1999)
                                                                                        1999) (citations
                                                                                                (citations omitted)
                                                                                                           omitted) (the
                                                                                                                      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur
                                                                              incur the
                                                                                     the cost
                                                                                           cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716716 (Mo.
                                                       (Mo. 2007);
                                                              2007); Exxon
                                                                      Exxon Mobil
                                                                               Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                             and the
                                                   the need
                                                        need for   medical testing
                                                              for medical   testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.     PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340    P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,     863 P.2d
                                                                               Co., 863    P.2d 795,
                                                                                                 795, 823   (Cal. 1993).
                                                                                                       823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                   medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                        since Plaintiff
                                                 Plaintiff is
                                                            is not
                                                               not claiming
                                                                   claiming present
                                                                               present physical
                                                                                          physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this case.
                                                                                                                    case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is is the
                                             the significant
                                                  significant exposure,
                                                                exposure, increased
                                                                            increased riskrisk of
                                                                                                of disease
                                                                                                   disease and
                                                                                                            and medical
                                                                                                                 medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing andand thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims
                        claims only
                                  only onon their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                 the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                           burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative,    and/or  because    the  burden   or  expense    of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.  its  likely   benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                       extent it
                                                               it seeks
                                                                  seeks matters
                                                                         matters immune
                                                                                 immune fromfrom discovery
                                                                                                   discovery under
                                                                                                                 under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                             doctrine, oror any
                                                                                             any other      privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                    privilege. Plaintiff
                                                                               Plaintiff further
                                                                                          further objects
                                                                                                     objects to to this
                                                                                                                   this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                 privacy. Plaintiff
                                                                           Plaintiff further
                                                                                     further objects
                                                                                              objects to to the
                                                                                                            the scope
                                                                                                                 scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not not relevant
                                                                   relevant to
                                                                             to any
                                                                                any claims
                                                                                      claims oror defenses
                                                                                                   defenses of  of any
                                                                                                                   any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                             not put
                                                                  put present
                                                                       present physical
                                                                               physical condition
                                                                                          condition at  at issue.
                                                                                                           issue. See
                                                                                                                   See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d    424,430 (W.Va.
                                                      S.E.2d 424,430              1999) (citations
                                                                          (W.Va. 1999)                  omitted) (the
                                                                                          (citations omitted)      (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                       requires one
                                                                  one to
                                                                       to incur the cost
                                                                          incur the cost of
                                                                                          of monitoring);
                                                                                              monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712,712, 714,
                                         714, 716
                                               716 (Mo.     2007); Exxon
                                                     (Mo. 2007);     Exxon Mobil
                                                                             Mobil Corp.
                                                                                     Corp. v.   Albright, 71
                                                                                             v. Albright,         A.3d
                                                                                                              71 A.3d



                                                          -- 10
                                                             10
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30, 75-77
30,  75-77 (Md.
            (Md. 2013)    (exposure itself
                   2013) (exposure            and the
                                       itself and   the need
                                                        need for
                                                               for medical
                                                                   medical testing
                                                                             testing is
                                                                                     is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                            injury
in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                               v. PacifiCare     of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,   264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.  Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,          P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                           physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                             risk of
                                                                                                  of disease
                                                                                                      disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated   therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and
class members
class  members base
                  base their
                        their claims
                              claims only
                                       only on
                                             on their
                                                 their significant
                                                        significant exposure
                                                                     exposure toto the
                                                                                   the proven
                                                                                        proven hazardous
                                                                                                hazardous Foam
                                                                                                             Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                Recalled Devices.
                                                            Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the    past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury  or other physiological  changes”   You  allege  in Paragraphs  26-88  of the
"subcellular injury or other physiological changes" You allege in Paragraphs 26-88 of the Medical Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,      and other
                                                                                 endoscopies, and    other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                        consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                         unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                           the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff  further  objects    to  this  Request     to the   extent  it seeks   matters   immune
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under   from   discovery     under
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                  and/or the the work
                                                                   work product
                                                                           product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other     privilege,
                                                                                                              other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                            privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                    violates Plaintiffs
                                                Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                         privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                            scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                               present physical
                                                                                        physical condition
                                                                                                     condition at at issue.
                                                                                                                     issue. See
                                                                                                                              See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations     omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one toto incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,    71 A.3d
                                                                                                                             A.3d
30,  75-77   (Md.   2013)    (exposure      itself  and    the   need  for  medical    testing
30, 75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable injuryis  the  compensable       injury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare       of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                         264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the  the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire & & Rubber
                                                                                 Rubber Co.,Co., 863    P.2d 795,
                                                                                                 863 P.2d             823 (Cal.
                                                                                                               795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition forfor his
                                                                                                                               his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                            not claiming     present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                              exposure, increased
                                                                                            increased risk
                                                                                                         risk of
                                                                                                               of disease
                                                                                                                   disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                   proven hazardous
                                                                                                             hazardous Foam Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.



                                                              - 11
                                                              -11
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 476 of 654




REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower   v. Westinghouse        Elec.    Corp.,    522  S.E.2d   424,430     (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the     (citations    omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
                diagnostic testing         and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members    base  their  claims     only    on  their  significant   exposure     to the  proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxins   hazardous      Foam    Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 477 of 654




e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.Elec. Corp.,
                                         Corp., 522522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430     (W.Va. 1999)
                                                                                      1999) (citations   omitted) (the
                                                                                              (citations omitted)  (the
injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                   injury in this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, Plaintiff
                                                           Plaintiff has
                                                                     has not
                                                                         not been
                                                                             been diagnosed
                                                                                  diagnosed with
                                                                                            with



                                                              -- 13
                                                                 13
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 478 of 654




subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last
                                            last 10
                                                 10 years
                                                    years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower   v. Westinghouse        Elec.    Corp.,    522  S.E.2d    424,430     (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the      (citations   omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
                diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members    base  their  claims     only    on  their  significant    exposure     to the  proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxins    hazardous     Foam    Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REQUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative,    and/or  because    the  burden   or  expense   of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. its  likely  benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                               under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects to to the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses of of any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at  at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                         (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                 Corp. v.  Albright, 71
                                                                                        v. Albright,        A.3d 30,
                                                                                                        71 A.3d   30,



                                                              -- 14
                                                                 14
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75-77  (Md. 2013)
75-77 (Md.    2013) (exposure
                     (exposure itself
                                   itself and
                                           and the
                                                 the need
                                                     need for
                                                            for medical
                                                                 medical testing
                                                                          testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                          injury in
                                                                                                                 in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                        (Nev. 2014)
                                                                                                               2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                       medical need
                                                                                                                need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber
                                                                  Rubber Co.,    863 P.2d
                                                                            Co., 863    P.2d 795,
                                                                                              795, 823
                                                                                                   823 (Cal.  1993).
                                                                                                        (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for  his medical
                                                                                                     for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                       physical injury
                                                                                                 injury in
                                                                                                        in this
                                                                                                           this case.
                                                                                                                case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased risk
                                                                                       risk of
                                                                                            of disease
                                                                                               disease and
                                                                                                        and medical
                                                                                                             medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                 Plaintiff and
                                                                                                           and class
                                                                                                                class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                       Foam Toxins
                                                                                                              Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                           Regarding thethe costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations   for the early detection of illness, disease,  and  disease  processes”  as described
consultations for the early detection of illness, disease, and disease processes" as described in     in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

      Plaintiff objects
      Plaintiff  objects to
                          to this
                             this Request
                                  Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                             burdensome, overbroad,
                                                                           overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, attorney
cumulative, attorney client
                      client and
                             and attorney
                                  attorney work
                                           work product
                                                product privilege,
                                                        privilege, and/or
                                                                   and/or because
                                                                          because the
                                                                                  the burden
                                                                                      burden or
                                                                                              or


                                                         -- 15
                                                            15
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expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                         it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided by
                          by Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                 extent it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                         privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many of
                          of Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:



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                                                          16
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        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REQUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                              device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents Regarding  that replacement  device,  including but not limited to receipts, insurance
all Documents Regarding that replacement device, including but not limited to receipts, insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further objects to  this  Request  on grounds  that it seeks matters  immune     from
Plaintiff further objects to this Request on grounds that it seeks matters immune from discovery   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REOUEST 35: All
            All Documents
                Documents Regarding
                          Regarding the
                                    the "express
                                        “express warranty"
                                                 warranty” or
                                                           or "warranties"
                                                              “warranties” referenced
                                                                           referenced in
                                                                                      in



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                                                        17
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Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                              CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                  this Request
                                       Request as  as vague,
                                                      vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                    expense ofof the
                                                 the discovery
                                                     discovery outweighs
                                                                   outweighs its
                                                                              its likely
                                                                                  likely benefit.
                                                                                          benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to  this  Request  as  it  seeks  a premature    legal concession    by   calling  for a legal
objects to this Request as it seeks a premature legal concession by calling for a legal conclusion.    conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                     Request toto the
                                                  the extent
                                                       extent it
                                                              it seeks
                                                                  seeks matters
                                                                        matters immune
                                                                                  immune from
                                                                                            from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                             and/or the
                                                      the work
                                                           work product
                                                                    product doctrine,
                                                                            doctrine, or or any
                                                                                             any other    privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                          further objects
                                                    objects to
                                                             to this
                                                                  this Request
                                                                       Request asas premature
                                                                                     premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto bebe elicited
                                      elicited from
                                               from and
                                                      and developed
                                                           developed with
                                                                        with the
                                                                             the assistance
                                                                                   assistance of
                                                                                               of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                              Order, the
                                                      the Federal
                                                          Federal Rules
                                                                     Rules of
                                                                           of Civil
                                                                               Civil Procedure,
                                                                                      Procedure, and
                                                                                                   and the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding the the disclosure
                                        disclosure ofof expert
                                                        expert testimony
                                                                 testimony and
                                                                            and evidence.
                                                                                   evidence.

REQUEST 38:
REQUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.




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                                                          18
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters  immune    from  discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under  under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five
                         five years,
                               years, including
                                      including documents sufficient to
                                                documents sufficient to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                        that it
                             it violates
                                 violates Plaintiffs
                                           Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                  privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                 objects toto the
                                                                                                              the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.   2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                           71 A.3d    30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.     2014)
                                                                                                           (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need



                                                          -- 19
                                                             19
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to undergo
to undergo monitoring);
             monitoring); Potter
                              Potter v.    Firestone Tire
                                       v. Firestone   Tire && Rubber
                                                               Rubber Co.,    863 P.2d
                                                                         Co., 863  P.2d 795,
                                                                                         795, 823   (Cal. 1993).
                                                                                               823 (Cal.  1993).
Plaintiff has
Plaintiff has not
              not waived
                  waived thethe physician-patient
                                 physician-patient privilege
                                                      privilege as
                                                                 as to
                                                                    to any
                                                                       any medical
                                                                             medical condition
                                                                                      condition for  his medical
                                                                                                 for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                               case since
                                     since Plaintiff
                                             Plaintiff is
                                                       is not
                                                          not claiming
                                                              claiming present
                                                                          present physical
                                                                                   physical injury
                                                                                            injury in
                                                                                                    in this
                                                                                                       this case.
                                                                                                            case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims isis the
                                          the significant
                                              significant exposure,
                                                           exposure, increased
                                                                       increased risk
                                                                                   risk of
                                                                                        of disease
                                                                                           disease and
                                                                                                    and medical
                                                                                                         medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                      and the
                                            the economic
                                                 economic loss    associated therewith.
                                                            loss associated     therewith. Plaintiff
                                                                                             Plaintiff and
                                                                                                       and class
                                                                                                            class
members base
members    base their
                their claims
                      claims only
                                only on
                                      on their
                                          their significant
                                                significant exposure
                                                            exposure to to the
                                                                           the proven
                                                                               proven hazardous
                                                                                       hazardous Foam
                                                                                                   Foam Toxins
                                                                                                          Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam in in the
                                   the Recalled
                                        Recalled Devices.
                                                   Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                    /s/ Kelly
                                                         /s/ Kelly K
                                                                   K. Iverson
                                                                      Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                             Kelly K.
                                                         Kelly  K. Iverson,
                                                                   Iverson, Esquire
                                                                             Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
                       BERMAN LLP                        LYNCH CARPENTER,
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                                                                                th
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                               /s/ Steven
                                                         /s/ Steven A.
                                                                    A. Schwartz
                                                                       Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                        Steven  A. Schwartz,
                                                         Steven A.  Schwartz, Esquire
                                                                              Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                 CHIMICLES       SCHWARTZ 'MINER
                                                         CHIMICLES SCHWARTZ           KRINER &
                                                                                             &
                        th
 55  Challenger Road,
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                      07660                              361  West Lancaster
                                                         361 West             Avenue
                                                                    Lancaster Avenue
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                                                                         19041
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                                                         steveschwartz@chimicles.com


                                   Counsel for Plaintiffs
                                   Counselfor  Plaintiffs and
                                                          and the
                                                              the Class
                                                                  Class




                                                      -- 20
                                                         20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 485 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

CHRISTOPHER GLAUB'S
CHRISTOPHER GLAUB’S AMENDED
                    AMENDED RESPONSES
                            RESPONSES AND
                                      AND OBJECTIONS
                                          OBJECTIONS TO PHILIPS RS'
                                                     TO PHILIPS RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
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                                   RS North America,
                                             America, LLC
                                                       LLC

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                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 486 of 654




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                           Eric       Thompson
                                Scott Thompson
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                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 487 of 654




                    EXHIBIT U
                    EXHIBIT U
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 489 of 654



PLAINTIFF DEANNA
PLAINTIFF DEANNA KING'S
                  KING’S SECOND
                         SECOND AMENDED
                                  AMENDED RESPONSES
                                          RESPONSES AND
                                                    AND OBJECTIONS
                                                         OBJECTIONS
            TO PHILIPS
            TO PHILIPS RS'
                       RS’ FIRST REQUEST FOR
                           FIRST REQUEST FOR PRODUCTION
                                             PRODUCTION
          OF DOCUMENTS
          OF DOCUMENTS TOTO MEDICAL  MONITORING PLAINTIFFS
                             MEDICAL MONITORING  PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

        Plaintiff Deana
        Plaintiff Deana King
                          King ("Plaintiff")
                                (“Plaintiff”) objects
                                               objects to
                                                        to this
                                                           this Request
                                                                Request on
                                                                         on grounds
                                                                             grounds that
                                                                                       that it
                                                                                            it is vague, unduly
                                                                                               is vague,   unduly
burdensome, overbroad,
burdensome,    overbroad, irrelevant,
                             irrelevant, cumulative,
                                          cumulative, and/or
                                                          and/or because
                                                                  because thethe burden
                                                                                  burden oror expense
                                                                                                expense of  of the
                                                                                                                the
discovery outweighs
discovery  outweighs its
                       its likely benefit. Plaintiff
                           likely benefit.  Plaintiff further  objects to
                                                      further objects  to this
                                                                           this Request
                                                                                Request to
                                                                                         to the
                                                                                             the extent
                                                                                                  extent it
                                                                                                          it seeks
                                                                                                             seeks
matters immune
matters immune from      discovery under
                  from discovery      under either
                                            either the
                                                   the attorney-client
                                                        attorney-client privilege
                                                                         privilege and/or
                                                                                     and/or the
                                                                                              the work
                                                                                                   work product
                                                                                                          product
doctrine, or
doctrine, or any
              any other
                   other privilege,
                           privilege, immunity,
                                       immunity, or or protection.
                                                        protection. Plaintiff
                                                                     Plaintiff further    objects to
                                                                                 further objects    to the
                                                                                                        the term
                                                                                                              term
“Acquired”   because  as  defined  it seeks to obtain  information   not  relevant  to any  claims
"Acquired" because as defined it seeks to obtain information not relevant to any claims or defenses  or defenses
of any
of any party.
       party. Plaintiff
              Plaintiff further
                        further objects
                                 objects on
                                         on grounds
                                             grounds that
                                                       that this
                                                             this Request
                                                                  Request seeks
                                                                            seeks information
                                                                                  information thatthat is
                                                                                                       is already
                                                                                                          already
in Defendant's
in Defendant’s possession,
                 possession, custody,
                               custody, and/or
                                         and/or control.
                                                 control.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMKINGDEANA00000001-
                                                         see MMKINGDEANA00000001-
        MMKINGDEANA00000003.
        MMKINGDEANA00000003.

REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMKINGDEANA00000004.
                                                         see MMKINGDEANA00000004.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:
                                                       - 11 -
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        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information already
information   already in
                       in the
                          the possession,
                               possession, custody,
                                           custody, and/or
                                                    and/or control
                                                             control of
                                                                      of Defendant.
                                                                         Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMKINGDEANA00000004.
                                                         see MMKINGDEANA00000004.

REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                                product doctrine,
                                                                          doctrine, oror any
                                                                                          any other   privilege,
                                                                                               other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                           for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to              sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                  Recalled Device
                                                                                           Device andand the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                     Device, as
                                                                                              as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                               recommended frequency
                                                                                              frequency ofof
use for  the  Recalled    Device,  recommended      duration  of use  for  the  Recalled
use for the Recalled Device, recommended duration of use for the Recalled Device, and any Device,   and  any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                        from discovery
                                                                                               discovery under
                                                                                                           under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, oror any
                                                                                         any other    privilege,
                                                                                               other privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request toto the
                                                                                            the extent
                                                                                                 extent it
                                                                                                        it seeks
                                                                                                           seeks
information not
information   not relevant
                   relevant to
                             to any
                                any claims
                                      claims or
                                             or defenses
                                                 defenses ofof any
                                                                any party.
                                                                     party. Plaintiff
                                                                             Plaintiff further   objects to
                                                                                       further objects   to this
                                                                                                             this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                              and/or control
                                                                                                      control of
                                                                                                               of


                                                     -2-
                                                     -2
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Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but  not limited to any
                                                                          limited to any Health
                                                                                         Health
Care Provider  or  DME   – who was involved in, or who You  consulted in connection  with,
Care Provider or DME — who was involved in, or who You consulted in connection with, Your  Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.       2007); Exxon
                                                                                                                             Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

          Plaintiff objects
          Plaintiff objects to
                            to this
                               this Request
                                    Request as
                                            as vague,
                                               vague, unduly
                                                      unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                    irrelevant,



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cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                 expense of  of the
                                                                the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad    scope and
                     and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                      of this
                                                           this Request
                                                                Request areare compounded
                                                                                compounded by   by the
                                                                                                    the fact
                                                                                                         fact that
                                                                                                               that
Defendant seeks
Defendant   seeks publicly
                    publicly available
                             available materials
                                         materials that
                                                   that are
                                                         are within
                                                              within its
                                                                     its possession,
                                                                         possession, custody,     and/or control
                                                                                       custody, and/or    control
or are
or are equally
       equally available
                 available to
                           to it.
                              it. Plaintiff
                                  Plaintiff has
                                            has already
                                                already produced
                                                          produced responsive
                                                                      responsive documents
                                                                                   documents to  to this
                                                                                                    this Request
                                                                                                         Request
for settlement purposes.
for settlement   purposes. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                        to the
                                                            the scope
                                                                scope ofof this
                                                                           this Request
                                                                                Request toto the
                                                                                             the extent
                                                                                                  extent it  seeks
                                                                                                          it seeks
information not
information    not relevant
                   relevant to
                             to any
                                 any claims   or defenses
                                      claims or  defenses of  of any
                                                                 any party.
                                                                      party. Plaintiff
                                                                              Plaintiff further
                                                                                        further objects    to this
                                                                                                  objects to   this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                    matters immune
                                              immune fromfrom discovery
                                                                discovery under
                                                                             under either   the attorney-client
                                                                                    either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,
                                        doctrine, or
                                                  or any
                                                     any other
                                                           other privilege,
                                                                  privilege, immunity,
                                                                              immunity, or or protection.
                                                                                              protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST      9: All
                All Documents
                    Documents inin Your
                                   Your possession,
                                        possession, custody,
                                                    custody, oror control
                                                                  control Regarding
                                                                          Regarding Your
                                                                                       Your use
                                                                                            use of
                                                                                                of and
                                                                                                   and
storage of a Recalled Device.  This Request includes,  but is not limited to, all data Regarding Your
storage of a Recalled Device. This Request includes, but is not limited to, all data Regarding Your
Recalled Device
Recalled Device from   Care Orchestrator,
                 from Care  Orchestrator, DreamMapper,
                                          DreamMapper, and/or
                                                            and/or EncoreAnywhere,      which we
                                                                    EncoreAnywhere, which      we will
                                                                                                   will
obtain upon
obtain       your signing
       upon your  signing the
                          the attached
                              attached Authorization
                                       Authorization to
                                                      to Disclose
                                                         Disclose Health
                                                                    Health Information.
                                                                            Information.



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                                                               -4
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims or
                                                                                                     or defenses
                                                                                                         defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden or or expense
                                                   expense ofof the
                                                                the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                             that the
                                                  the information
                                                      information sought
                                                                    sought inin this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control of of Defendant.
                                                Defendant. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” isis undefined
                                               undefined and
                                                           and that
                                                                 that it
                                                                       it is
                                                                          is not   apparent to
                                                                             not apparent     to Plaintiff
                                                                                                  Plaintiff what
                                                                                                              what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards    and what
                                                what information
                                                       information Defendant
                                                                     Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant  to any  claims  or defenses   of  any
relevant to any claims or defenses of any party. party. Plaintiff
                                                        Plaintiff further  objects  to this Request   on  grounds
                                                                  further objects to this Request on grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is    not within
                                                   is not within the
                                                                  the possession,
                                                                      possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without  waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, Plaintiff
                                                         Plaintiff has
                                                                   has already
                                                                       already returned
                                                                               returned his Recalled
                                                                                        his Recalled
Device, including
Device, including any
                  any SD card, to
                      SD card, to Philips.
                                  Philips.


REQUEST 11:
REOUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects toto this
                                 this Request
                                      Request as   as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or  or expense
                                                    expense of
                                                             of the
                                                                the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects   to the
                                the scope
                                     scope of of this
                                                  this Request
                                                       Request onon grounds
                                                                     grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant to
relevant  to any
             any claims
                  claims oror defenses
                              defenses ofof any
                                            any party.
                                                  party. Plaintiff
                                                         Plaintiff further
                                                                   further objects
                                                                           objects that
                                                                                    that the
                                                                                          the term
                                                                                              term "condition"
                                                                                                     “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff           objects to
                          further objects  to this
                                               this Request
                                                     Request to
                                                             to the
                                                                the extent
                                                                    extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs       its likely    benefit, and/or
                                            likely benefit,   and/or that
                                                                       that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in
Defendant’s possession,
Defendant's     possession, custody,    and/or control.
                              custody, and/or     control. Plaintiff
                                                           Plaintiff further  objects to
                                                                      further objects   to this
                                                                                           this Request
                                                                                                 Request toto the
                                                                                                              the


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extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive   to this
                                                       responsive to   this Request.
                                                                            Request. Plaintiff
                                                                                      Plaintiff further
                                                                                                further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                          immune from
                                                                    from discovery
                                                                           discovery under
                                                                                      under either
                                                                                             either the
                                                                                                    the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                     doctrine, or
                                                               or any
                                                                  any other
                                                                        other privilege,
                                                                              privilege, immunity,
                                                                                         immunity, oror
protection.
protection.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMKINGDEANA00000001-
                                                         see MMKINGDEANA00000001-
        MMKINGDEANA00000003.
        MMKINGDEANA00000003.

REQUEST 12:
REQUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative,    and/or  because   the burden  or  expense   of the  discovery   outweighs     its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.   likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly        seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not    limited to
                                                                                            not limited    to any
                                                                                                              any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                          further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                     possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent    Plaintiff
                                                                                                 extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects toto this
                                                                                                              this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the    attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMKINGDEANA00000004.
                                                         see MMKINGDEANA00000004.

REQUEST 13:
REOUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                    overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs its its likely  benefit.
                                                                                              likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in   this Request
                                                                                in this  Request isis already
                                                                                                      already
in  the possession,   custody,  and/or   control   of  Defendant.    The  broad   scope
in the possession, custody, and/or control of Defendant. The broad scope and unnecessary  and   unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                 seeks materials
                                                                                         materials that
                                                                                                    that it
                                                                                                          it is
                                                                                                             is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.



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                                                       6-
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                         Request as
                                                  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                        burden or
                                                or expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded       by the fact   that Defendant    seeks  materials  that it is
are compounded by the fact that Defendant seeks materials that it is responsible  responsible   for
                                                                                                for  administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,     or any
                                          doctrine, or  any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,   and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further  objects  to  the   scope  of this Request  to the  extent  it seeks  information
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant  not  relevant
to any
to any claims
        claims or
               or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,   custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information   sought in   this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

         Without waiving
         Without waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, see MMKINGDEANA00000004.
                                                          see MMKINGDEANA00000004.

REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                 expense of  of the
                                                                the discovery
                                                                     discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff further objects
                  objects to
                          to the
                              the extent
                                  extent this
                                         this Request
                                               Request seeks
                                                          seeks aa concession
                                                                    concession that
                                                                                that evidence
                                                                                     evidence ofof degradation
                                                                                                    degradation
can be
can be seen
        seen by
              by the
                  the naked
                       naked eye.
                              eye. Plaintiff
                                    Plaintiff further
                                              further objects
                                                         objects to
                                                                  to this
                                                                      this Request
                                                                           Request on
                                                                                    on grounds
                                                                                       grounds that
                                                                                                  that the
                                                                                                       the term
                                                                                                           term
“particulate” and
"particulate"  and "dark
                    “dark matter"
                            matter” are
                                      are undefined.
                                          undefined. Plaintiff
                                                          Plaintiff further  objects to
                                                                     further objects  to the
                                                                                         the use
                                                                                               use of
                                                                                                    of the
                                                                                                       the term
                                                                                                           term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request onon grounds
                                    grounds that
                                              that it
                                                   it is
                                                      is overbroad,
                                                         overbroad, vague,
                                                                       vague, ambiguous,
                                                                              ambiguous, andand impermissibly
                                                                                                 impermissibly
seeks information
seeks information notnot relevant  to any
                         relevant to   any claims
                                           claims oror defenses
                                                         defenses ofof any
                                                                        any party.
                                                                            party. Plaintiff
                                                                                   Plaintiff further
                                                                                             further objects
                                                                                                      objects to
                                                                                                              to


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                                                        -7
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this Request
this Request onon grounds
                   grounds that
                             that it
                                   it is
                                      is duplicative
                                          duplicative ofof Request
                                                           Request No.No. 11.
                                                                          11. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                  objects to
                                                                                                           to this
                                                                                                               this
Request to
Request   to the
             the extent
                 extent that
                         that the
                               the burden
                                    burden or or expense
                                                  expense ofof the
                                                               the requested
                                                                    requested discovery
                                                                               discovery outweighs
                                                                                           outweighs itsits likely
                                                                                                            likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is  is already
                                              already in
                                                       in Defendant's
                                                           Defendant’s possession,
                                                                         possession, custody,
                                                                                       custody, and/or
                                                                                                and/or control.
                                                                                                          control.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request to to the
                                                    the extent
                                                         extent Plaintiff
                                                                 Plaintiff has
                                                                           has already
                                                                                already provided
                                                                                         provided information
                                                                                                     information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                             further objects
                                                     objects to
                                                              to this
                                                                  this Request
                                                                       Request toto the
                                                                                    the extent
                                                                                        extent it  seeks matters
                                                                                               it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                    either the
                                            the attorney-client
                                                attorney-client privilege
                                                                  privilege and/or
                                                                            and/or the
                                                                                    the work
                                                                                        work product
                                                                                              product doctrine,
                                                                                                        doctrine,
or any
or any other  privilege, immunity,
        other privilege,  immunity, or   or protection.
                                            protection. Plaintiff
                                                          Plaintiff further objects to
                                                                    further objects  to the
                                                                                        the extent  this Request
                                                                                            extent this  Request
seeks premature    expert  testimony.
seeks premature expert testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further  objects to  the  scope  of  this Request     to the  extent  it seeks  information
Plaintiff further objects to the scope of this Request to the extent it seeks information not relevant     not  relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

         Without waiving
         Without waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, see MMKINGDEANA00000004.
                                                          see MMKINGDEANA00000004.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

       Plaintiff objects
      Plaintiff  objects to
                         to this
                            this Request
                                  Request as
                                           as vague,
                                               vague, unduly
                                                       unduly burdensome,
                                                                burdensome, overbroad,
                                                                              overbroad, irrelevant,
                                                                                           irrelevant,
cumulative, and/or
cumulative, and/or because
                    because the
                             the burden
                                 burden or
                                         or expense
                                            expense ofof the
                                                         the discovery
                                                             discovery outweighs
                                                                       outweighs its
                                                                                   its likely  benefit.
                                                                                       likely benefit.
The broad scope
The broad  scope and
                  and unnecessary
                      unnecessary difficulties
                                    difficulties of
                                                 of this
                                                    this Request
                                                         Request are
                                                                  are compounded
                                                                      compounded by  by the
                                                                                         the fact  that
                                                                                              fact that
Defendant seeks
Defendant  seeks materials
                 materials that
                           that are
                                are within
                                    within its
                                           its possession,
                                               possession, custody,
                                                            custody, and/or
                                                                     and/or control.
                                                                            control. Plaintiff
                                                                                     Plaintiff further
                                                                                                further


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objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in
                                               in this
                                                  this Request
                                                       Request onon grounds
                                                                    grounds that
                                                                             that it
                                                                                  it is overbroad, vague,
                                                                                     is overbroad,  vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                    seeks information
                                          information not
                                                        not relevant  to any
                                                            relevant to  any claims
                                                                              claims oror defenses
                                                                                          defenses of
                                                                                                    of any
                                                                                                       any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                 to this
                                    this Request
                                         Request to
                                                 to the
                                                    the extent
                                                        extent it seeks matters
                                                               it seeks matters immune
                                                                                 immune from     discovery
                                                                                           from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                   privilege and/or
                                             and/or the
                                                     the work
                                                         work product
                                                               product doctrine,
                                                                        doctrine, or
                                                                                  or any
                                                                                      any other
                                                                                           other privilege,
                                                                                                 privilege,
immunity, or
immunity,   or protection.
               protection.

         Without waiving
         Without waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, see MMKINGDEANA00000004.
                                                          see MMKINGDEANA00000004.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request  includes but
                                                                           but is
                                                                                is not
                                                                                   not limited  to the
                                                                                        limited to the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in  Paragraphs
                                                                                         in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

          Plaintiff objects
          Plaintiff  objects to
                              to this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, and/or
cumulative,     and/or because
                        because thethe burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its its likely  benefit.
                                                                                                       likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects  to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune fromfrom discovery
                                                                                                     discovery under
                                                                                                                 under
either the
either   the attorney-client
              attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                    product doctrine,
                                                                              doctrine, or or any
                                                                                               any other
                                                                                                     other privilege,
                                                                                                             privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                      objects toto this
                                                                                                                   this
Request on
Request    on grounds
               grounds that
                        that it
                             it violates
                                 violates Plaintiffs
                                           Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                  privacy. Plaintiff
                                                                            Plaintiff further
                                                                                       further objects
                                                                                                objects toto the
                                                                                                             the scope
                                                                                                                 scope
of this
of  this Request
          Request toto the
                       the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                    relevant toto any
                                                                                  any claims
                                                                                        claims oror defenses
                                                                                                     defenses ofof any
                                                                                                                   any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition      at issue.
                                                                                            condition at issue. See See
e.g. Bower
e.g. Bower v. v. Westinghouse     Elec. Corp.,
                 Westinghouse Elec.               522 S.E.2d
                                          Corp., 522            424,430 (W.Va.
                                                       S.E.2d 424,430      (W.Va. 1999)
                                                                                    1999) (citations
                                                                                            (citations omitted)
                                                                                                         omitted) (the
                                                                                                                   (the
injury in
injury  in question
            question is
                      is the
                         the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur
                                                                           incur the
                                                                                  the cost
                                                                                       cost of
                                                                                            of monitoring);
                                                                                                monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220             712, 714,
                        S.W.3d 712,      714, 716
                                               716 (Mo.
                                                    (Mo. 2007);
                                                          2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.  Albright, 71
                                                                                           v. Albright,       A.3d 30,
                                                                                                          71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.            (exposure itself
               2013) (exposure      itself and
                                           and the
                                                the need
                                                     need for  medical testing
                                                           for medical    testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injuryinjury in
                                                                                                                   in aa
medical monitoring
medical    monitoring claim);     Sadler v.
                        claim); Sadler        PacifiCare of
                                           v. PacifiCare    of Nev.,
                                                               Nev., Inc.,  340 P.3d,
                                                                      Inc., 340  P.3d, 264,
                                                                                        264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)


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(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact of
                                              of the
                                                 the defendant
                                                     defendant caused
                                                                 caused thethe plaintiff
                                                                               plaintiff to
                                                                                         to have
                                                                                            have aa medical
                                                                                                    medical need
                                                                                                             need
to undergo
to undergo monitoring);
              monitoring); Potter
                               Potter v.    Firestone Tire
                                        v. Firestone   Tire && Rubber
                                                                Rubber Co.,    863 P.2d
                                                                          Co., 863  P.2d 795,
                                                                                           795, 823  (Cal. 1993).
                                                                                                823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                       privilege as
                                                                  as to
                                                                     to any
                                                                        any medical
                                                                              medical condition
                                                                                       condition for  his medical
                                                                                                  for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                              Plaintiff is
                                                        is not
                                                           not claiming
                                                               claiming present
                                                                           present physical
                                                                                    physical injury
                                                                                              injury in
                                                                                                     in this
                                                                                                        this case.
                                                                                                             case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                               significant exposure,
                                                            exposure, increased
                                                                        increased risk
                                                                                    risk of
                                                                                         of disease
                                                                                            disease and
                                                                                                     and medical
                                                                                                          medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and the
                                             the economic
                                                  economic loss    associated therewith.
                                                             loss associated     therewith. Plaintiff
                                                                                              Plaintiff and
                                                                                                        and class
                                                                                                             class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                 significant exposure
                                                             exposure to to the
                                                                            the proven
                                                                                proven hazardous
                                                                                        hazardous Foam
                                                                                                    Foam Toxins
                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                    Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed   to  You   by   a Health   Care   Provider  relating  to  the  “subcellular
prescribed to You by a Health Care Provider relating to the "subcellular injury or other  injury  or  other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;    biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                           Request as  as vague,
                                                            vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                                 overbroad, irrelevant,
                                                                                                                irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the the burden
                                          burden or or expense
                                                        expense of of the
                                                                       the discovery
                                                                            discovery outweighs
                                                                                         outweighs its its likely   benefit.
                                                                                                           likely benefit.
Plaintiff further
Plaintiff          objects to
           further objects    to this
                                 this Request
                                        Request to to the
                                                      the extent
                                                           extent it
                                                                   it seeks
                                                                      seeks matters
                                                                             matters immune
                                                                                       immune fromfrom discovery
                                                                                                         discovery under
                                                                                                                       under
either the
either  the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or thethe work
                                                                work product
                                                                       product doctrine,
                                                                                  doctrine, oror any
                                                                                                   any other     privilege,
                                                                                                         other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                further objects
                                                                                                          objects to to this
                                                                                                                         this
Request on
Request   on grounds
               grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                              Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto the
                                                                                                                 the scope
                                                                                                                       scope
of this
of  this Request
         Request to to the
                        the extent
                             extent it it seeks
                                          seeks information
                                                  information not not relevant
                                                                        relevant to
                                                                                  to any
                                                                                      any claims
                                                                                           claims or or defenses
                                                                                                         defenses of of any
                                                                                                                         any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                 not put
                                                                      put present
                                                                           present physical
                                                                                    physical condition
                                                                                                condition at at issue.
                                                                                                                issue. See
                                                                                                                         See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.         Corp., 522
                                    Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                1999) (citations
                                                                              (W.Va. 1999)                   omitted) (the
                                                                                                (citations omitted)      (the
injury in
injury  in question
            question isis the
                          the increase
                               increase in  in risk
                                               risk that
                                                     that requires
                                                           requires one
                                                                      one to
                                                                           to incur   the cost
                                                                              incur the   cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                     Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220     S.W.3d 712, 712, 714,
                                             714, 716
                                                   716 (Mo.      2007); Exxon
                                                         (Mo. 2007);      Exxon Mobil
                                                                                  Mobil Corp.
                                                                                          Corp. v.    Albright, 71
                                                                                                   v. Albright,         A.3d
                                                                                                                   71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
             (Md. 2013)     (exposure itself      and the
                                           itself and   the need
                                                              need for
                                                                    for medical
                                                                         medical testing
                                                                                   testing is
                                                                                           is the
                                                                                               the compensable
                                                                                                    compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                               claim); Sadler
                                           Sadler v.   PacifiCare of
                                                    v. PacifiCare     of Nev.,  Inc., 340
                                                                          Nev., Inc.,       P.3d, 264,
                                                                                       340 P.3d,    264, 1270-72
                                                                                                          1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether     the negligent
                                       negligent actact of
                                                        of the
                                                             the defendant
                                                                 defendant caused
                                                                              caused the
                                                                                       the plaintiff
                                                                                           plaintiff to
                                                                                                      to have
                                                                                                          have aa medical
                                                                                                                   medical
need to
need   to undergo
          undergo monitoring);
                      monitoring); PotterPotter v.   Firestone Tire
                                                  v. Firestone     Tire &              Co., 863
                                                                             Rubber Co.,
                                                                         & Rubber                  P.2d 795,
                                                                                            863 P.2d      795, 823
                                                                                                                 823 (Cal.
                                                                                                                        (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not    waived the
                         not waived      the physician-patient
                                              physician-patient privilege
                                                                     privilege asas to
                                                                                    to any
                                                                                        any medical
                                                                                            medical condition
                                                                                                        condition for     his
                                                                                                                     for his
medical monitoring
medical   monitoring claims
                         claims in     this case
                                   in this        since Plaintiff
                                             case since   Plaintiff is
                                                                     is not claiming present
                                                                        not claiming    present physical
                                                                                                  physical injury
                                                                                                             injury in   this
                                                                                                                      in this
case. The
case.        injury that
       The injury     that Plaintiff
                            Plaintiff claims
                                         claims is is the
                                                      the significant
                                                            significant exposure,
                                                                          exposure, increased
                                                                                       increased risk
                                                                                                    risk of
                                                                                                          of disease
                                                                                                              disease andand
medical necessity
medical   necessity of of diagnostic
                           diagnostic testing
                                          testing and
                                                    and the
                                                         the economic
                                                               economic loss     associated therewith.
                                                                           loss associated    therewith. Plaintiff
                                                                                                             Plaintiff and
                                                                                                                         and



                                                           -- 10
                                                              10
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class members
class members base
               base their
                    their claims
                          claims only
                                 only on
                                      on their
                                         their significant
                                               significant exposure
                                                           exposure to
                                                                    to the
                                                                       the proven
                                                                           proven hazardous
                                                                                  hazardous Foam
                                                                                            Foam
Toxins released by
Toxins released by PE-PUR
                   PE-PUR foam    in the
                             foam in the Recalled
                                         Recalled Devices.
                                                   Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                              10 years
                                                                                  years Relating
                                                                                         Relating to
                                                                                                   to any
                                                                                                       any
treatment  and/or  testing  prescribed  to You   by  a Health  Care   Provider  even if  unrelated
treatment and/or testing prescribed to You by a Health Care Provider even if unrelated to the       to the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes”    You allege
                                             changes" You    allege in  Paragraphs 26-88
                                                                     in Paragraphs        of the
                                                                                   26-88 of  the Medical
                                                                                                 Medical
Monitoring CSAC.
Monitoring   CSAC. This
                      This request
                            request includes  but is
                                     includes but  is not limited to
                                                      not limited  to any
                                                                      any "testing
                                                                          “testing and
                                                                                   and screening;
                                                                                        screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;     imaging; colonoscopies,
                                   examinations; imaging;      colonoscopies, endoscopies,     and other
                                                                                endoscopies, and     other
similar methods
similar  methods for    examination; biopsies;
                   for examination;    biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                            and oncologic
                                                                                 oncologic evaluations;
                                                                                             evaluations;
oncologic, histologic,
oncologic,                surgical, and
            histologic, surgical,   and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                      and medical
                                                                                            medical andand
surgical procedures
surgical procedures necessary
                      necessary for
                                 for diagnosis  and treatment."
                                     diagnosis and   treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                     overbroad, irrelevant,
                                                                                                                    irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs itsits likely   benefit.
                                                                                                               likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                 matters immune
                                                                                           immune fromfrom discovery
                                                                                                             discovery under
                                                                                                                           under
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                  and/or the the work
                                                                   work product
                                                                          product doctrine,
                                                                                      doctrine, or or any
                                                                                                       any other
                                                                                                             other privilege,
                                                                                                                     privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                    further objects
                                                                                                              objects to to this
                                                                                                                             this
Request on
Request    on grounds
               grounds that
                          that it   violates Plaintiff's
                                it violates     Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                        objects toto the
                                                                                                                     the scope
                                                                                                                           scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it    seeks information
                                        it seeks    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims oror defenses
                                                                                                             defenses of of any
                                                                                                                             any
party. A
party.  A claim
           claim for   medical monitoring
                  for medical        monitoring costscosts does     not put
                                                             does not    put present
                                                                              present physical
                                                                                        physical condition
                                                                                                    condition at at issue.   See
                                                                                                                    issue. See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations    omitted) (the
                                                                                                    (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                    of monitoring);
                                                                                                        monitoring); Meyer
                                                                                                                         Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.   Albright, 71
                                                                                                       v. Albright,    71 A.3d
                                                                                                                            A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical     testing is
                                                                                                is the
                                                                                                   the compensable
                                                                                                        compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                        264, 1270-72
                                                                                                              1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the  the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                          to have
                                                                                                              have aa medical
                                                                                                                       medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                 Rubber Co.,Co., 863   P.2d 795,
                                                                                                 863 P.2d            823 (Cal.
                                                                                                              795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                            condition for     his
                                                                                                                         for his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                           not claiming      present physical
                                                                                                      physical injury
                                                                                                                 injury in   this
                                                                                                                          in this
case. The
case.  The injury     that Plaintiff
             injury that     Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                            increased risk
                                                                                                        risk of
                                                                                                              of disease
                                                                                                                  disease andand
medical necessity
medical    necessity ofof diagnostic       testing and
                            diagnostic testing        and the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated    therewith. Plaintiff
                                                                                                                 Plaintiff and
                                                                                                                             and
class  members     base   their   claims    only   on   their   significant   exposure     to the
class members base their claims only on their significant exposure to the proven hazardous Foam   proven    hazardous      Foam
Toxins
Toxins released
         released byby PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.

REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 23:
                                23:




                                                             - 11
                                                             -11
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 500 of 654




         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the   cost ofof monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.    2007); Exxon
                                                                         Exxon Mobil
                                                                                   Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,      71 A.3d
                                                                                                                        A.3d 30,
                                                                                                                               30,
75-77 (Md.
75-77  (Md. 2013)
              2013) (exposure
                      (exposure itselfitself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing isis the
                                                                                             the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.      2014)
                                                                                                                    (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863   P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present       physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic lossloss associated
                                                                           associated therewith.
                                                                                          therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as as vague,
                                                         vague, unduly
                                                                   unduly burdensome,
                                                                              burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden oror expense
                                                      expense of of the
                                                                     the discovery
                                                                           discovery outweighs
                                                                                       outweighs its  its likely  benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request toto the
                                                    the extent
                                                        extent it   seeks matters
                                                                 it seeks   matters immune
                                                                                     immune from from discovery
                                                                                                        discovery under
                                                                                                                    under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                               and/or the
                                                       the work
                                                             work product
                                                                      product doctrine,
                                                                                doctrine, or or any
                                                                                                  any other
                                                                                                        other privilege,
                                                                                                                privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                               physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                         objects toto this
                                                                                                                       this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                            Plaintiff’s right
                                                         right to
                                                               to privacy.
                                                                   privacy. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                    scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                information not not relevant
                                                                      relevant toto any
                                                                                    any claims
                                                                                          claims or or defenses
                                                                                                        defenses ofof any
                                                                                                                       any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                 costs does
                                                        does not
                                                              not put
                                                                    put present
                                                                         present physical
                                                                                   physical condition
                                                                                              condition at  at issue.
                                                                                                               issue. See
                                                                                                                       See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                   Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                   omitted) (the
                                                                                               (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                              increase in in risk
                                             risk that
                                                   that requires
                                                        requires oneone toto incur  the cost
                                                                             incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716   (Mo. 2007);
                                                716 (Mo.             Exxon Mobil
                                                           2007); Exxon       Mobil Corp.
                                                                                      Corp. v.   Albright, 71
                                                                                             v. Albright,        A.3d 30,
                                                                                                              71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure        itself and
                                            and the
                                                 the need   for medical
                                                      need for  medical testing
                                                                            testing is
                                                                                     is the
                                                                                        the compensable
                                                                                            compensable injury injury in
                                                                                                                       in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                        Inc., 340  P.3d, 264,
                                                                                          264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev. 2014)
                                                                                                                    2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act of
                                               of the
                                                  the defendant
                                                       defendant caused       the plaintiff
                                                                     caused the    plaintiff to
                                                                                              to have
                                                                                                  have aa medical
                                                                                                           medical need
                                                                                                                      need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                         v. Firestone    Tire && Rubber
                                                                   Rubber Co.,Co., 863   P.2d 795,
                                                                                   863 P.2d     795, 823
                                                                                                       823 (Cal.   1993).
                                                                                                             (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                         privilege as as to
                                                                         to any
                                                                            any medical
                                                                                 medical condition
                                                                                           condition for      his medical
                                                                                                         for his  medical



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 501 of 654




monitoring claims
monitoring   claims in
                     in this
                         this case  since Plaintiff
                              case since   Plaintiff is
                                                     is not
                                                        not claiming   present physical
                                                            claiming present    physical injury
                                                                                         injury in  this case.
                                                                                                 in this case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims is  the significant
                                     is the significant exposure,
                                                         exposure, increased
                                                                    increased risk   of disease
                                                                                risk of          and medical
                                                                                        disease and   medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                     and the
                                          the economic
                                               economic loss    associated therewith.
                                                          loss associated    therewith. Plaintiff
                                                                                          Plaintiff and
                                                                                                    and class
                                                                                                         class
members base
members   base their
                their claims
                      claims only
                               only on
                                     on their
                                        their significant
                                              significant exposure
                                                          exposure toto the
                                                                        the proven
                                                                            proven hazardous
                                                                                    hazardous Foam
                                                                                               Foam Toxins
                                                                                                       Toxins
released by
released by PE-PUR
             PE-PUR foamfoam inin the
                                  the Recalled
                                      Recalled Devices.
                                                 Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                       irrelevant,
cumulative,    and/or   because      the    burden    or  expense    of  the   discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.              its  likely  benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                            under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                        privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                 objects toto this
                                                                                                                               this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects to to the
                                                                                                                        the scope
                                                                                                                            scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses of of any
                                                                                                                               any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at    at issue.
                                                                                                                       issue. See
                                                                                                                               See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                       omitted) (the
                                                                                                     (citations omitted)       (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,          A.3d 30,
                                                                                                                      71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury   injury in
                                                                                                                               in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.(Nev. 2014)
                                                                                                                            2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                   medical need
                                                                                                                              need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.    1993).
                                                                                                                     (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for        his medical
                                                                                                                 for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in    this case.
                                                                                                                     in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease and and medical
                                                                                                                          medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff andand class
                                                                                                                             class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam  Foam Toxins
                                                                                                                           Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other   Documents Regarding
                        other Documents      Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 26:
                                26:




                                                               -- 13
                                                                  13
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 502 of 654




         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its  its likely  benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                          under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                              other privilege,
                                                                                                                      privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                               objects toto this
                                                                                                                             this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                          scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                              defenses ofof any
                                                                                                                             any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at  at issue.
                                                                                                                     issue. See
                                                                                                                             See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)        (citations omitted)
                                                                                                                  omitted) (the
                                                                                                                             (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the   cost ofof monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.    2007); Exxon
                                                                         Exxon Mobil
                                                                                   Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,     71 A.3d
                                                                                                                       A.3d 30,
                                                                                                                              30,
75-77 (Md.
75-77  (Md. 2013)
              2013) (exposure
                      (exposure itselfitself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing isis the
                                                                                             the compensable
                                                                                                  compensable injury injury in
                                                                                                                             in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                   (Nev. 2014)
                                                                                                                          2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                 medical need
                                                                                                                            need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863   P.2d 795,
                                                                                        863 P.2d      795, 823
                                                                                                             823 (Cal.   1993).
                                                                                                                   (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for      his medical
                                                                                                               for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present       physical injury
                                                                                                          injury in   this case.
                                                                                                                   in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                  exposure, increased
                                                                                increased riskrisk of
                                                                                                    of disease
                                                                                                        disease andand medical
                                                                                                                        medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic lossloss associated
                                                                           associated therewith.
                                                                                          therewith. Plaintiff
                                                                                                          Plaintiff and
                                                                                                                      and class
                                                                                                                           class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous FoamFoam Toxins
                                                                                                                         Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REQUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                           Request as  as vague,
                                                           vague, unduly
                                                                     unduly burdensome,
                                                                                burdensome, overbroad,
                                                                                                   overbroad, irrelevant,
                                                                                                                   irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden or  or expense
                                                        expense of of the
                                                                       the discovery
                                                                             discovery outweighs
                                                                                          outweighs its   its likely  benefit.
                                                                                                              likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request to  to the
                                                      the extent
                                                          extent it   seeks matters
                                                                   it seeks   matters immune
                                                                                        immune from from discovery
                                                                                                            discovery under
                                                                                                                        under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                                 and/or the
                                                         the work
                                                               work product
                                                                        product doctrine,
                                                                                  doctrine, or  or any
                                                                                                     any other
                                                                                                            other privilege,
                                                                                                                    privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                                 physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                  further objects
                                                                                                             objects toto this
                                                                                                                           this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                              Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                            further objects
                                                                                                       objects toto the
                                                                                                                    the scope
                                                                                                                        scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                  information not not relevant
                                                                        relevant toto any
                                                                                      any claims
                                                                                             claims or or defenses
                                                                                                            defenses ofof any
                                                                                                                           any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                      put present
                                                                           present physical
                                                                                     physical condition
                                                                                                 condition at   at issue.
                                                                                                                   issue. See
                                                                                                                           See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,      522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                 1999) (citations
                                                                               (W.Va. 1999)                     omitted) (the
                                                                                                  (citations omitted)      (the
injury in
injury  in question  is the
           question is   the increase
                              increase in  in risk
                                               risk that
                                                     that requires
                                                          requires oneone toto incur  the cost
                                                                               incur the    cost of
                                                                                                  of monitoring);
                                                                                                      monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716     (Mo. 2007);
                                                  716 (Mo.             Exxon Mobil
                                                              2007); Exxon      Mobil Corp.
                                                                                         Corp. v.   Albright, 71
                                                                                                v. Albright,         A.3d 30,
                                                                                                                  71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure        itself and
                                             and the
                                                   the need   for medical
                                                        need for   medical testing
                                                                              testing isis the
                                                                                           the compensable
                                                                                               compensable injury  injury in
                                                                                                                           in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler            PacifiCare ofNev.,
                                              v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                          Inc., 340  P.3d, 264,
                                                                                             264, 1270-72
                                                                                                     1270-72 (Nev.
                                                                                                                 (Nev. 2014)
                                                                                                                        2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act ofof the
                                                    the defendant
                                                         defendant caused       the plaintiff
                                                                       caused the    plaintiff toto have
                                                                                                     have aa medical
                                                                                                               medical need
                                                                                                                          need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.      Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                     Rubber Co.,Co., 863    P.2d 795,
                                                                                     863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                 (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                           privilege as as to
                                                                           to any
                                                                              any medical
                                                                                   medical condition
                                                                                              condition for       his medical
                                                                                                             for his  medical
monitoring claims
monitoring    claims in
                      in this
                          this case     since Plaintiff
                                case since       Plaintiff is
                                                            is not
                                                               not claiming     present physical
                                                                    claiming present       physical injury
                                                                                                        injury in   this case.
                                                                                                                 in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is      the significant
                                         is the   significant exposure,
                                                                exposure, increased
                                                                              increased risk     of disease
                                                                                           risk of    disease andand medical
                                                                                                                      medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing        and thethe economic
                                                     economic loss       associated therewith.
                                                                  loss associated      therewith. Plaintiff
                                                                                                        Plaintiff and
                                                                                                                    and class
                                                                                                                         class



                                                              -- 14
                                                                 14
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members base
members   base their
               their claims
                     claims only
                            only on
                                 on their
                                    their significant
                                          significant exposure
                                                      exposure to
                                                               to the
                                                                  the proven
                                                                      proven hazardous
                                                                             hazardous Foam
                                                                                       Foam Toxins
                                                                                            Toxins
released by
released by PE-PUR
            PE-PUR foam     in the
                       foam in the Recalled
                                   Recalled Devices.
                                             Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent   it seeks
                                                                                                 extent it seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.



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                                                            15
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         Without waiving
         Without waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, see MMKINGDEANA00000004.
                                                          see MMKINGDEANA00000004.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens   on  Plaintiff which   substantially  outweighs    its likely
burdens on Plaintiff which substantially outweighs its likely benefit.  benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request asas vague,
                                                 vague, unduly
                                                         unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                               irrelevant,
cumulative,   and/or  because  the burden  or  expense of the   discovery outweighs   its  likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.   benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds   that it
                                               grounds that  it seeks
                                                                seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                                discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                         other privilege,
                                                                                                privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REQUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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                                                          16
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REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,    and/or because   the burden   or  expense    of the   discovery  outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REQUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that   information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                    referenced in
                                                                                               in
Counts IX, X and XI of the Medical Monitoring  CSAC,  including but not limited to a copy of such
Counts IX, X and XI of the Medical Monitoring CSAC, including but not limited to a copy of such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                       burdensome, andand cumulative.
                                                                                           cumulative. TheThe
unnecessary difficulties
unnecessary                of this
              difficulties of this Request
                                    Request are
                                            are compounded
                                                 compounded by by the
                                                                   the fact  that Defendant
                                                                        fact that Defendant seeks
                                                                                             seeks materials
                                                                                                   materials
that are
that are equally   available to
         equally available   to it
                                it and/or
                                   and/or are
                                          are already
                                              already within
                                                       within its possession, custody,
                                                              its possession,    custody, and/or
                                                                                          and/or control.
                                                                                                 control. As
                                                                                                           As
the manufacturer
the  manufacturer of of the
                         the Recalled
                              Recalled Devices,
                                         Devices, Defendant
                                                    Defendant is is in
                                                                     in the
                                                                         the better
                                                                              better position
                                                                                     position to
                                                                                              to obtain
                                                                                                  obtain the
                                                                                                           the
information this
information   this Request
                    Request seeks.
                             seeks. Plaintiff
                                     Plaintiff further objects to
                                               further objects  to this
                                                                    this Request
                                                                          Request onon grounds
                                                                                       grounds that
                                                                                                that it
                                                                                                     it seeks
                                                                                                        seeks



                                                     -- 17
                                                        17
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matters immune
matters  immune from     discovery under
                  from discovery    under the
                                          the attorney-client
                                               attorney-client privilege
                                                               privilege and/or
                                                                         and/or the
                                                                                the work
                                                                                    work product
                                                                                         product
doctrine, or
doctrine, or any
             any other
                 other privilege,
                       privilege, immunity,
                                  immunity, or
                                            or protection.
                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST     39: Any
                Any attorney
                     attorney advertisements
                               advertisements appearing
                                                appearing on
                                                          on television,
                                                             television, the
                                                                         the Internet  (including
                                                                             Internet (including
social media
social media such
             such as
                  as Facebook
                     Facebook or or Twitter),
                                     Twitter), received
                                               received by
                                                        by mail
                                                            mail or
                                                                  or other
                                                                     other delivery
                                                                            delivery service,
                                                                                      service, or
                                                                                               or
information communicated
information communicated toto you
                              you in
                                   in any
                                      any other
                                           other medium,
                                                  medium, You
                                                           You reviewed
                                                                reviewed which
                                                                           which solicited
                                                                                  solicited your
                                                                                             your



                                                       -- 18
                                                          18
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participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                          by the
                                                             the attorneys
                                                                 attorneys You
                                                                           You retained.
                                                                               retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the  attorney-client   privilege and/or  the work    product   doctrine,  or  any  other
either the attorney-client privilege and/or the work product doctrine, or any other privilege,    privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in the last five  years, including documents sufficient to show  the frequency  of such
participated in the last five years, including documents sufficient to show the frequency of such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                      monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff further objects
                   objects toto this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request   on  grounds    that  it  violates     Plaintiff’s  right to  privacy.     Plaintiff  further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope   objects   to the scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.    2007); Exxon
                                                                         Exxon Mobil
                                                                                   Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77 (Md.
75-77  (Md. 2013)     (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340    P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.      2014)
                                                                                                                    (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo    monitoring);      Potter      v.  Firestone    Tire  &   Rubber      Co., 863
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).  P.2d   795,    823   (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                       medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                  case since       Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                     the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023



                                                              -- 19
                                                                 19
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/s/ Sandra
Is/ Sandra L.
           L. Duggan
              Duggan                             /s/ Kelly
                                                 /s/ Kelly K
                                                           K. Iverson
                                                              Iverson
Sandra
Sandra L.  Duggan, Esquire
        L. Duggan,  Esquire                      Kelly K.
                                                 Kelly  K. Iverson,
                                                           Iverson, Esquire
                                                                     Esquire
LEVIN SEDRAN
LEVIN    SEDRAN &   & BERMAN  LLP
                      BERMAN LLP                 LYNCH CARPENTER,
                                                 LYNCH      CARPENTER, LLP    LLP
                                                                        th
510  Walnut Street,
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                          500                    1133 Penn
                                                 1133  Penn Avenue,
                                                             Avenue, 55th  Floor
                                                                           Floor
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Philadelphia, PA 19106
                 19106                           Pittsburgh, PA
                                                 Pittsburgh,  PA 15222
                                                                  15222
(215)592-1500
(215)592-1500 (phone)
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                                                 (412) 322-9243 (phone)
                                                                   (phone)
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                                                 kelly@lcllp.com
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/s/ Christopher
/s/             A. Seeger
    Christopher A. Seeger                        /s/ Steven
                                                 /s/ Steven A.
                                                            A. Schwartz
                                                               Schwartz
Christopher A.
Christopher  A. Seeger,
                Seeger, Esquire
                         Esquire                 Steven  A. Schwartz,
                                                 Steven A.  Schwartz, Esquire
                                                                      Esquire
SEEGER     WEISS LLP
SEEGER WEISS        LLP                          CHIMICLES       SCHWARTZ 'MINER
                                                 CHIMICLES SCHWARTZ           KRINER &
                                                                                     &
                       th
55  Challenger Road,
55 Challenger  Road, 66th Floor
                          Floor                  DONALDSON-SMITH LLP
                                                 DONALDSON-SMITH          LLP
Ridgefield Park,
Ridgefield  Park, NJ
                  NJ 07660
                     07660                       361  West Lancaster
                                                 361 West             Avenue
                                                            Lancaster Avenue
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(973) 639-9100   (phone)
      639-9100 (phone)                           One Haverford
                                                 One   Haverford Centre
                                                                 Centre
cseeger@seegerweiss.com
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                                                 Haverford,  PA 19041
                                                                 19041
                                                 (610)
                                                 (610) 642-8500   (phone)
                                                        642-8500 (phone)
                                                 steveschwartz@chimicles.com
                                                 steveschwartz@chimicles.com


                              Counsel for Plaintiffs'
                              Counselfor  Plaintiffs and
                                                      and the
                                                          the Class
                                                              Class




                                              -- 20
                                                 20
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                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

DEANA KING'S
DEANA KING’S AMENDED
             AMENDED RESPONSES
                     RESPONSES AND
                               AND OBJECTIONS
                                   OBJECTIONS TO PHILIPS RS'
                                              TO PHILIPS RS’ FIRST
                                                             FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
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                              Philadelphia, PA 19103-2921
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                                 Counselfor  Defendant Philips
                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

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                                                Steinberg
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                              SULLIVAN    & CROMWELL
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                                               Street
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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                       FRANKLIN &   & PROKOPIK
                                        PROKOPIK
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                      500 Creek View
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                    EXHIBIT V
                    EXHIBIT V
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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       PLAINTIFF
       PLAINTIFF ELIZABETH LEMUS’S SECOND
                 ELIZABETH LEMUS'S           AMENDED RESPONSES
                                     SECOND AMENDED   RESPONSES AND
                                                                AND
         OBJECTIONS TO
         OBJECTIONS  TO PHILIPS RS’ FIRST
                        PHILIPS RS'       REQUEST FOR
                                    FIRST REQUEST FOR PRODUCTION
                                                      PRODUCTION
            OF DOCUMENTS TO
            OF DOCUMENTS   TO MEDICAL
                              MEDICAL MONITORING
                                        MONITORING PLAINTIFFS
                                                    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,  model number,
                                                          name, model            and serial
                                                                       number, and   serial number
                                                                                            number
of each
of      and every
   each and every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,  and the
                                                                                    it, and the date
                                                                                                date
on which
on which You
          You no  longer had
               no longer     possession of
                         had possession  of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Elizabeth
         Plaintiff Elizabeth Lemus
                               Lemus ("Plaintiff')
                                        (“Plaintiff”) objects
                                                      objects to
                                                               to this
                                                                  this Request
                                                                       Request onon grounds   that it
                                                                                    grounds that   it is vague,
                                                                                                      is vague,
unduly burdensome,
unduly   burdensome, overbroad,       irrelevant, cumulative,
                        overbroad, irrelevant,                   and/or because
                                                   cumulative, and/or    because the
                                                                                   the burden
                                                                                       burden oror expense
                                                                                                   expense of of
the discovery
the  discovery outweighs
                outweighs its    likely benefit.
                             its likely  benefit. Plaintiff
                                                  Plaintiff further
                                                            further objects
                                                                    objects to
                                                                             to this
                                                                                this Request
                                                                                     Request toto the
                                                                                                  the extent
                                                                                                       extent it
                                                                                                               it
seeks matters
seeks   matters immune
                immune fromfrom discovery
                                  discovery under
                                              under either   the attorney-client
                                                     either the  attorney-client privilege
                                                                                  privilege and/or
                                                                                             and/or the
                                                                                                      the work
                                                                                                           work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, or or protection.
                                                                protection. Plaintiff
                                                                             Plaintiff further  objects to
                                                                                       further objects    to the
                                                                                                             the
term "Acquired"
term  “Acquired” because
                    because as as defined
                                  defined it
                                           it seeks
                                              seeks to
                                                     to obtain
                                                        obtain information
                                                                information not
                                                                              not relevant
                                                                                   relevant to
                                                                                            to any
                                                                                                any claims
                                                                                                      claims or
                                                                                                              or
defenses of
defenses   of any
              any party.
                   party. Plaintiff
                          Plaintiff further
                                    further objects
                                             objects on
                                                      on grounds
                                                         grounds that
                                                                   that this
                                                                        this Request
                                                                             Request seeks
                                                                                      seeks information
                                                                                             information that
                                                                                                            that
is already
is already in
            in Defendant's
               Defendant’s possession,
                              possession, custody,
                                            custody, and/or
                                                      and/or control.
                                                              control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMLEMUSELIZABETH00000001-
                                                     see MMLEMUSELIZABETH00000001-
MMLEMUSELIZABETH00000002.
MMLEMUSELIZABETH00000002.

REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMLEMUSELIZABETH00000001-
                                                     see MMLEMUSELIZABETH00000001-
MMLEMUSELIZABETH00000002.
MMLEMUSELIZABETH00000002.

AMENDED REOUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

                                                      - 11 -
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMLEMUSELIZABETH00000001-
                                                     see MMLEMUSELIZABETH00000001-
MMLEMUSELIZABETH00000002.
MMLEMUSELIZABETH00000002.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



                                                               - 33 -
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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


                                                               -4-
                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either    the attorney-client
                                                        either the   attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,     and/or control
                                                                                        custody, and/or    control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections, Plaintiff will
                                            objections, Plaintiff will submit
                                                                       submit the
                                                                              the SD
                                                                                  SD card
                                                                                     card from her
                                                                                          from her
Recalled Devices.
Recalled Devices.

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


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Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                        concession that
                                                                                      that evidence
                                                                                           evidence of of degradation
                                                                                                           degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                             objects to
                                                                      to this
                                                                          this Request
                                                                               Request onon grounds
                                                                                              grounds that
                                                                                                         that the
                                                                                                               the term
                                                                                                                    term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to the
                                                                                                the use
                                                                                                    use of of the
                                                                                                              the term
                                                                                                                    term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                       it is
                                                          is overbroad,
                                                             overbroad, vague,
                                                                           vague, ambiguous,
                                                                                   ambiguous, and and impermissibly
                                                                                                       impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims    or defenses
                                                claims or    defenses ofof any
                                                                            any party.
                                                                                party. Plaintiff
                                                                                        Plaintiff further
                                                                                                   further objects
                                                                                                             objects toto
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                              Request No.No. 11.
                                                                              11. Plaintiff
                                                                                  Plaintiff further
                                                                                              further objects
                                                                                                       objects toto this
                                                                                                                     this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of of the
                                                                   the requested
                                                                       requested discovery
                                                                                   discovery outweighs
                                                                                                outweighs its its likely
                                                                                                                  likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                             possession, custody,
                                                                                           custody, and/or
                                                                                                      and/or control.
                                                                                                                control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                      the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                               has already
                                                                                    already provided
                                                                                              provided information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                       objects to to this
                                                                     this Request
                                                                           Request toto the
                                                                                        the extent
                                                                                             extent it  seeks matters
                                                                                                     it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                     privilege and/or
                                                                                and/or the
                                                                                        the work
                                                                                             work product
                                                                                                   product doctrine,
                                                                                                              doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                       further objects
                                                                                objects to
                                                                                         to the
                                                                                            the extent
                                                                                                 extent this
                                                                                                          this Request
                                                                                                                Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.



                                                         -8
                                                          8-
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information     not relevant    to any  claims   or  defenses
                                            information not relevant to any claims or defenses of          of any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as  as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,   and/or because   the burden    or  expense    of the  discovery   outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties ofof this
                                                          this Request
                                                               Request areare compounded
                                                                               compounded by by the
                                                                                                  the fact
                                                                                                      fact that
                                                                                                           that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available toto it.
                                                               it. Plaintiff
                                                                   Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                             to the
                                                                                                 the use
                                                                                                     use of
                                                                                                         of the
                                                                                                            the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in     this Request
                                                    in this Request on on grounds
                                                                           grounds that
                                                                                    that they
                                                                                         they are
                                                                                               are overbroad,
                                                                                                    overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek      information not not relevant  to any
                                                                      relevant to  any claims
                                                                                       claims or
                                                                                               or defenses
                                                                                                   defenses of
                                                                                                             of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                  Request to to the
                                                                 the extent
                                                                     extent it
                                                                             it seeks
                                                                                seeks matters
                                                                                      matters immune
                                                                                                immune from
                                                                                                          from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                           and/or the
                                                                   the work
                                                                        work product
                                                                              product doctrine,   or any
                                                                                       doctrine, or  any other
                                                                                                          other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REQUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in
                                                                                         in Paragraphs
                                                                                            Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                 this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs itsits likely  benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it  seeks matters
                                                           it seeks  matters immune
                                                                             immune fromfrom discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                         any other
                                                                                              other privilege,
                                                                                                      privilege,
immunity, or
immunity,    or protection,
                protection, including
                              including physician-patient
                                          physician-patient privilege.
                                                                privilege. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                      that it
                           it violates
                               violates Plaintiffs
                                        Plaintiff’s right
                                                    right to
                                                          to privacy.
                                                             privacy. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects
                                                                                          objects to
                                                                                                   to the
                                                                                                      the scope
                                                                                                          scope


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of this
of  this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                           Corp., 522522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430     (W.Va. 1999)
                                                                                        1999) (citations
                                                                                                (citations omitted)
                                                                                                           omitted) (the
                                                                                                                      (the
injury in
injury  in question
           question isis the
                         the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur
                                                                              incur the
                                                                                     the cost
                                                                                           cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716716 (Mo.
                                                       (Mo. 2007);
                                                             2007); Exxon
                                                                      Exxon Mobil
                                                                               Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                             and the
                                                   the need
                                                        need for   medical testing
                                                              for medical   testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.     PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,     863 P.2d
                                                                               Co., 863    P.2d 795,
                                                                                                 795, 823   (Cal. 1993).
                                                                                                       823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                        since Plaintiff
                                                 Plaintiff is
                                                           is not
                                                               not claiming
                                                                   claiming present
                                                                               present physical
                                                                                          physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this case.
                                                                                                                    case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is is the
                                             the significant
                                                  significant exposure,
                                                                exposure, increased
                                                                            increased riskrisk of
                                                                                                of disease
                                                                                                   disease and
                                                                                                            and medical
                                                                                                                 medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing andand thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims
                        claims only
                                  only onon their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REQUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination;   biopsies;   pathologic,  histologic, and  oncologic   evaluations;  oncologic,
examination; biopsies; pathologic, histologic, and oncologic evaluations; oncologic, histologic,histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as  as vague,
                                                          vague, unduly
                                                                    unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden or or expense
                                                      expense of of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                      outweighs itsits likely   benefit.
                                                                                                       likely benefit.
Plaintiff further  objects  to this   Request    to the  extent  it seeks  matters  immune    from
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under discovery    under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or thethe work
                                                              work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                               any other     privilege,
                                                                                                     other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                      objects to to this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                       that it
                             it violates
                                violates Plaintiffs
                                            Plaintiff’s right
                                                          right to
                                                                to privacy.
                                                                    privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                objects toto the
                                                                                                             the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                                information not not relevant
                                                                      relevant to
                                                                               to any
                                                                                   any claims
                                                                                        claims oror defenses
                                                                                                     defenses of of any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costscosts does
                                                        does not
                                                               not put
                                                                    put present
                                                                         present physical
                                                                                 physical condition
                                                                                            condition at at issue.
                                                                                                            issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                  Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430               1999) (citations
                                                                            (W.Va. 1999)                 omitted) (the
                                                                                            (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                             increase in  in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                         to incur  the cost
                                                                            incur the  cost of
                                                                                            of monitoring);
                                                                                                monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712, 712, 714,
                                           714, 716
                                                 716 (Mo.     2007); Exxon
                                                       (Mo. 2007);      Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.   Albright, 71
                                                                                               v. Albright,        A.3d
                                                                                                               71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
            (Md. 2013)    (exposure itself      and the
                                         itself and   the need
                                                            need for
                                                                  for medical
                                                                       medical testing
                                                                                testing is
                                                                                        is the
                                                                                           the compensable
                                                                                                compensable injuryinjury



                                                          -- 10
                                                             10
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 523 of 654




in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                               v. PacifiCare     of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,  264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.  Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,         P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                          physical injury
                                                                                                    injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                            risk of
                                                                                                  of disease
                                                                                                     disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated  therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                               and
class  members    base  their claims   only  on  their  significant  exposure   to the proven
class members base their claims only on their significant exposure to the proven hazardous Foam hazardous    Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                Recalled Devices.
                                                            Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,      and other
                                                                                 endoscopies, and    other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                   this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                 matters immune
                                                                                           immune from from discovery
                                                                                                              discovery under
                                                                                                                            under
either  the   attorney-client       privilege     and/or     the   work   product     doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,     or   any   other   privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                    violates Plaintiffs
                                                Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                            scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                              present physical
                                                                                        physical condition
                                                                                                     condition at at issue.
                                                                                                                     issue. See
                                                                                                                              See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.   Elec. Corp.,
                                             Corp., 522522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430       (W.Va. 1999)
                                                                                             1999) (citations     omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur
                                                                                  incur the
                                                                                          the cost
                                                                                               cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716      (Mo. 2007);
                                                     716 (Mo.       2007); Exxon
                                                                             Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,    71 A.3d
                                                                                                                             A.3d
30, 75-77
30,          (Md. 2013)
     75-77 (Md.     2013) (exposure
                             (exposure itself
                                            itself and
                                                    and thethe need
                                                                 need for   medical testing
                                                                       for medical     testing is
                                                                                                is the
                                                                                                    the compensable
                                                                                                         compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,
                                                                             Nev., Inc.,    340 P.3d,
                                                                                    Inc., 340    P.3d, 264,
                                                                                                         264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the  the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire && Rubber
                                                                                 Rubber Co.,Co., 863    P.2d 795,
                                                                                                 863 P.2d             823 (Cal.
                                                                                                               795, 823      (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition forfor his
                                                                                                                               his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                           not claiming      present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.        injury that
       The injury     that Plaintiff
                             Plaintiff claims
                                          claims is  is the
                                                         the significant
                                                               significant exposure,
                                                                             exposure, increased
                                                                                            increased risk
                                                                                                         risk of
                                                                                                               of disease
                                                                                                                   disease andand
medical necessity
medical    necessity ofof diagnostic
                            diagnostic testing
                                           testing andand the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                  proven hazardous
                                                                                                             hazardous Foam Foam
Toxins   released by
Toxins released     by PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.




                                                              - 11
                                                              -11
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 524 of 654




REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 525 of 654




injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                  injury in  this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.


REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, Plaintiff
                                                           Plaintiff has
                                                                     has not
                                                                         not been
                                                                             been diagnosed
                                                                                  diagnosed with
                                                                                            with



                                                              -- 13
                                                                 13
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subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower   v. Westinghouse        Elec.    Corp.,    522  S.E.2d    424,430     (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the      (citations   omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
                diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members    base  their  claims     only    on  their  significant    exposure     to the  proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxins    hazardous     Foam    Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REQUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative,    and/or  because    the  burden   or  expense   of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. its  likely  benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                               under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects to to the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses of of any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at  at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                         (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                 Corp. v.  Albright, 71
                                                                                        v. Albright,        A.3d 30,
                                                                                                        71 A.3d   30,



                                                              -- 14
                                                                 14
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 527 of 654




75-77  (Md. 2013)
75-77 (Md.    2013) (exposure
                     (exposure itself
                                   itself and
                                           and the
                                                 the need
                                                     need for
                                                            for medical
                                                                 medical testing
                                                                          testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                          injury in
                                                                                                                 in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                        (Nev. 2014)
                                                                                                               2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                       medical need
                                                                                                                need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber
                                                                  Rubber Co.,    863 P.2d
                                                                            Co., 863    P.2d 795,
                                                                                              795, 823
                                                                                                   823 (Cal.  1993).
                                                                                                        (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for  his medical
                                                                                                     for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                       physical injury
                                                                                                 injury in
                                                                                                        in this
                                                                                                           this case.
                                                                                                                case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased risk
                                                                                       risk of
                                                                                            of disease
                                                                                               disease and
                                                                                                        and medical
                                                                                                             medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                 Plaintiff and
                                                                                                           and class
                                                                                                                class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                       Foam Toxins
                                                                                                              Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                           Regarding thethe costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations   for the early detection of illness, disease,  and  disease  processes”  as described
consultations for the early detection of illness, disease, and disease processes" as described in     in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

      Plaintiff objects
      Plaintiff  objects to
                          to this
                             this Request
                                  Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                             burdensome, overbroad,
                                                                           overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, attorney
cumulative, attorney client
                      client and
                             and attorney
                                  attorney work
                                           work product
                                                product privilege,
                                                        privilege, and/or
                                                                   and/or because
                                                                          because the
                                                                                  the burden
                                                                                      burden or
                                                                                              or


                                                         -- 15
                                                            15
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expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                         it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided by
                          by Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                 extent it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                         privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many of
                          of Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:



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                                                          16
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        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REQUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                              device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents Regarding  that replacement  device,  including but not limited to receipts, insurance
all Documents Regarding that replacement device, including but not limited to receipts, insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further objects to  this  Request  on grounds  that it seeks matters  immune     from
Plaintiff further objects to this Request on grounds that it seeks matters immune from discovery   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REOUEST 35: All
            All Documents
                Documents Regarding
                          Regarding the
                                    the "express
                                        “express warranty"
                                                 warranty” or
                                                           or "warranties"
                                                              “warranties” referenced
                                                                           referenced in
                                                                                      in



                                                     -- 17
                                                        17
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Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                              CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                  this Request
                                       Request as  as vague,
                                                      vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                    expense ofof the
                                                 the discovery
                                                     discovery outweighs
                                                                   outweighs its
                                                                              its likely
                                                                                  likely benefit.
                                                                                          benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to  this  Request  as  it  seeks  a premature    legal concession    by   calling  for a legal
objects to this Request as it seeks a premature legal concession by calling for a legal conclusion.    conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                     Request toto the
                                                  the extent
                                                       extent it
                                                              it seeks
                                                                  seeks matters
                                                                        matters immune
                                                                                  immune from
                                                                                            from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                             and/or the
                                                      the work
                                                           work product
                                                                    product doctrine,
                                                                            doctrine, or or any
                                                                                             any other    privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                          further objects
                                                    objects to
                                                             to this
                                                                  this Request
                                                                       Request asas premature
                                                                                     premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto bebe elicited
                                      elicited from
                                               from and
                                                      and developed
                                                           developed with
                                                                        with the
                                                                             the assistance
                                                                                   assistance of
                                                                                               of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                              Order, the
                                                      the Federal
                                                          Federal Rules
                                                                     Rules of
                                                                           of Civil
                                                                               Civil Procedure,
                                                                                      Procedure, and
                                                                                                   and the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding the the disclosure
                                        disclosure ofof expert
                                                        expert testimony
                                                                 testimony and
                                                                            and evidence.
                                                                                   evidence.

REQUEST 38:
REQUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.




                                                       -- 18
                                                          18
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters  immune    from  discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under  under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five
                         five years,
                               years, including
                                      including documents sufficient to
                                                documents sufficient to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                        that it
                             it violates
                                 violates Plaintiffs
                                           Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                  privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                 objects toto the
                                                                                                              the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.   2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                           71 A.3d    30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.     2014)
                                                                                                           (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need



                                                          -- 19
                                                             19
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to undergo
to undergo monitoring);
             monitoring); Potter
                              Potter v.    Firestone Tire
                                       v. Firestone   Tire && Rubber
                                                               Rubber Co.,    863 P.2d
                                                                         Co., 863  P.2d 795,
                                                                                         795, 823   (Cal. 1993).
                                                                                               823 (Cal.  1993).
Plaintiff has
Plaintiff has not
              not waived
                  waived thethe physician-patient
                                 physician-patient privilege
                                                      privilege as
                                                                 as to
                                                                    to any
                                                                       any medical
                                                                             medical condition
                                                                                      condition for  his medical
                                                                                                 for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                               case since
                                     since Plaintiff
                                             Plaintiff is
                                                       is not
                                                          not claiming
                                                              claiming present
                                                                          present physical
                                                                                   physical injury
                                                                                            injury in
                                                                                                    in this
                                                                                                       this case.
                                                                                                            case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims isis the
                                          the significant
                                              significant exposure,
                                                           exposure, increased
                                                                       increased risk
                                                                                   risk of
                                                                                        of disease
                                                                                           disease and
                                                                                                    and medical
                                                                                                         medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                      and the
                                            the economic
                                                 economic loss    associated therewith.
                                                            loss associated     therewith. Plaintiff
                                                                                             Plaintiff and
                                                                                                       and class
                                                                                                            class
members base
members    base their
                their claims
                      claims only
                                only on
                                      on their
                                          their significant
                                                significant exposure
                                                            exposure to to the
                                                                           the proven
                                                                               proven hazardous
                                                                                       hazardous Foam
                                                                                                   Foam Toxins
                                                                                                          Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam in in the
                                   the Recalled
                                        Recalled Devices.
                                                   Devices.


 Dated: December
 Dated: December 14,
                 14, 2023
                     2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                    /s/ Kelly
                                                         /s/ Kelly K
                                                                   K. Iverson
                                                                      Iverson
 Sandra  L. Duggan,
 Sandra L.  Duggan, Esquire
                     Esquire                             Kelly K.
                                                         Kelly  K. Iverson,
                                                                   Iverson, Esquire
                                                                             Esquire
 LEVIN SEDRAN
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                               /s/ Steven
                                                         /s/ Steven A.
                                                                    A. Schwartz
                                                                       Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                        Steven  A. Schwartz,
                                                         Steven A.  Schwartz, Esquire
                                                                              Esquire
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                                                                                             &
                        th
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                                                         One   Haverford Centre
                                                                         Centre
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                                                                         19041
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                                                         steveschwartz@chimicles.com


                                   Counsel for Plaintiffs
                                   Counselfor  Plaintiffs and
                                                          and the
                                                              the Class
                                                                  Class




                                                      -- 20
                                                         20
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                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify
                 certify that,
                         that, on
                               on December
                                  December 14,
                                           14, 2023,
                                               2023, II served
                                                        served aa true
                                                                  true and
                                                                       and correct
                                                                           correct copy
                                                                                   copy of
                                                                                        of PLAINTIFF
                                                                                           PLAINTIFF

ELIZABETH
ELIZABETH LEMUS’S AMENDED RESPONSES
          LEMUS'S AMENDED RESPONSES AND
                                    AND OBJECTIONS
                                        OBJECTIONS TO PHILIPS RS'
                                                   TO PHILIPS RS’

FIRST REQUEST
FIRST REQUEST FOR
              FOR PRODUCTION
                  PRODUCTION OF
                             OF DOCUMENTS
                                DOCUMENTS TO MEDICAL MONITORING
                                          TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                                 Counselfor  Defendant Philips
                                                       Philips
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                                   RS North America,
                                             America, LLC
                                                       LLC

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                                   William B. Monahan
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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
                       FRANKLIN
                       FRANKLIN &   & PROKOPIK
                                        PROKOPIK
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                      500 Creek View
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                                       Road, Suite 502
                                             Suite 502
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                              (302) 594-9780
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                   EXHIBIT
                   EXHIBIT W
                           W
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 537 of 654



        PLAINTIFF AARON TAYLOR'S
        PLAINTIFF AARON TAYLOR’S SECOND    AMENDED RESPONSES
                                   SECOND AMENDED  RESPONSES AND
                                                              AND
         OBJECTIONS TO
         OBJECTIONS TO PHILIPS RS’ FIRST
                       PHILIPS RS'       REQUEST FOR
                                   FIRST REQUEST FOR PRODUCTION
                                                     PRODUCTION
            OF DOCUMENTS
            OF DOCUMENTS TO
                          TO MEDICAL    MONITORING PLAINTIFFS
                             MEDICAL MONITORING    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Aaron
         Plaintiff Aaron Taylor     (“Plaintiff”) objects
                            Taylor ("Plaintiff")   objects to
                                                            to this
                                                               this Request
                                                                    Request onon grounds
                                                                                  grounds that
                                                                                           that itit is vague,
                                                                                                     is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                and/or because
                                                                        because the
                                                                                  the burden
                                                                                      burden oror expense
                                                                                                   expense ofof
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                    objects to
                                                                            to this
                                                                               this Request
                                                                                    Request toto the
                                                                                                 the extent
                                                                                                      extent it
                                                                                                              it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                    either the
                                                            the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                               protection. Plaintiff
                                                                            Plaintiff further  objects to
                                                                                      further objects    to the
                                                                                                            the
term  “Acquired”    because    as defined  it seeks to obtain  information   not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims orany   claims  or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                        grounds that
                                                                  that this
                                                                       this Request
                                                                            Request seeks
                                                                                     seeks information
                                                                                            information that
                                                                                                           that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                     and/or control.
                                                             control.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMTAYLORAARON00000001-
                                                         see MMTAYLORAARON00000001-
        MMTAYLORAARON00000003.
        MMTAYLORAARON00000003.

REQUEST 2:
REOUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited
                             limited to
                                     to receipts,
                                         receipts, insurance
                                                   insurance payments,
                                                              payments, explanations
                                                                          explanations of
                                                                                        of benefits,
                                                                                            benefits, or
                                                                                                       or
prescriptions for
prescriptions     the Recalled
              for the Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited
           limited to,
                    to, all
                        all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute the allegation
                                                         refute the allegation in
                                                                                in Paragraph
                                                                                   Paragraph 2222 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune
                                                                              immune from
                                                                                       from discovery
                                                                                              discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                extent it
                                                                                                       it seeks
                                                                                                          seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,    and/or control
                                                                                  custody, and/or    control of
                                                                                                              of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

AMENDED REOUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 6:
REOUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative,      and/or    because      the  burden    or  expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.               its  likely  benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since       Plaintiff isis not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REOUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.




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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                 Request areare compounded
                                                                                 compounded by   by the
                                                                                                     the fact   that
                                                                                                          fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its  possession, custody,
                                                                       its possession,             and/or control
                                                                                        custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                       responsive documents
                                                                                    documents to  to this
                                                                                                     this Request
                                                                                                          Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                 scope ofof this
                                                                            this Request
                                                                                 Request toto the
                                                                                              the extent
                                                                                                   extent it
                                                                                                           it seeks
                                                                                                              seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses
                                        claims or  defenses of of any
                                                                  any party.
                                                                       party. Plaintiff
                                                                               Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                 discovery under
                                                                              under either   the attorney-client
                                                                                     either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                   privilege, immunity,
                                                                               immunity, or or protection.
                                                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative,      and/or    because      the  burden    or  expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.               its  likely  benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since       Plaintiff isis not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REQUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your


                                                               -4-
                                                               -4
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Recalled Device
Recalled Device from
                from Care
                      Care Orchestrator,
                           Orchestrator, DreamMapper,
                                         DreamMapper, and/or
                                                        and/or EncoreAnywhere,    which we
                                                                EncoreAnywhere, which   we will
                                                                                           will
obtain upon
obtain      your signing
       upon your signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims or
                                                                                                     or defenses
                                                                                                         defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REQUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought inin this
                                                                               this Request
                                                                                     Request is    already in
                                                                                                is already      the
                                                                                                             in the
possession,    custody,  and/or   control   of Defendant.    Plaintiff  further  objects   to
possession, custody, and/or control of Defendant. Plaintiff further objects to this Request on this   Request    on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” is
                                          is undefined
                                              undefined and
                                                          and that
                                                                that it
                                                                      it is
                                                                         is not   apparent to
                                                                            not apparent      to Plaintiff
                                                                                                  Plaintiff what
                                                                                                              what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                 seeks in  this Request
                                                                                        in this   Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects   to this
                                                                          objects to  this Request
                                                                                           Request on on grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                    custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from his
                                                                                               his
Recalled Device(s).
Recalled Device(s).

REQUEST 11:
REOUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of
                                                           of the
                                                              the discovery
                                                                  discovery outweighs
                                                                              outweighs itsits likely benefit.
                                                                                               likely benefit.
Plaintiff  further  objects  to the  scope  of  this  Request  on  grounds  that  it seeks   information
Plaintiff further objects to the scope of this Request on grounds that it seeks information not            not
relevant to
relevant  to any
             any claims
                  claims oror defenses
                              defenses of
                                        of any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                         objects that
                                                                                 that the
                                                                                       the term
                                                                                           term "condition"
                                                                                                  “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff           objects to
                          further objects to this
                                             this Request
                                                   Request to
                                                           to the
                                                              the extent
                                                                  extent that
                                                                         that the
                                                                              the burden
                                                                                  burden oror expense
                                                                                               expense of
                                                                                                        of the
                                                                                                           the


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requested discovery
requested               outweighs its
            discovery outweighs     its likely  benefit, and/or
                                        likely benefit,   and/or that
                                                                   that the
                                                                         the information
                                                                              information is   already in
                                                                                            is already   in
Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                              control. Plaintiff
                                                       Plaintiff further
                                                                 further objects
                                                                          objects to
                                                                                   to this
                                                                                      this Request
                                                                                           Request toto the
                                                                                                        the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                           information responsive
                                                        responsive to to this
                                                                          this Request.
                                                                               Request. Plaintiff
                                                                                          Plaintiff further
                                                                                                    further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                          it seeks
                                             seeks matters
                                                   matters immune
                                                            immune fromfrom discovery
                                                                              discovery under
                                                                                         under either
                                                                                                 either the
                                                                                                        the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                              product doctrine,
                                                       doctrine, or
                                                                  or any
                                                                     any other
                                                                           other privilege,
                                                                                 privilege, immunity,
                                                                                             immunity, oror
protection.
protection.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMTAYLORAARON00000001-
                                                         see MMTAYLORAARON00000001-
        MMTAYLORAARON00000003.
        MMTAYLORAARON00000003.

REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

         Plaintiff objects
         Plaintiff objects to
                           to this
                              this Request
                                   Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                            burdensome, overbroad,
                                                                        overbroad, irrelevant,
                                                                                   irrelevant,


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cumulative, and/or
cumulative,   and/or because
                      because the the burden
                                       burden or  or expense
                                                      expense of  of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                       outweighs itsits likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                         concession that
                                                                                       that evidence
                                                                                            evidence of of degradation
                                                                                                            degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                              objects to
                                                                       to this
                                                                           this Request
                                                                                Request onon grounds
                                                                                               grounds that
                                                                                                          that the
                                                                                                                the term
                                                                                                                     term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                               Plaintiff further   objects to
                                                                          further objects    to the
                                                                                                 the use
                                                                                                      use ofof the
                                                                                                               the term
                                                                                                                     term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                        it is
                                                           is overbroad,
                                                              overbroad, vague,
                                                                            vague, ambiguous,
                                                                                    ambiguous, and and impermissibly
                                                                                                        impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims
                                                claims oror defenses
                                                              defenses ofof any
                                                                             any party.
                                                                                 party. Plaintiff
                                                                                         Plaintiff further    objects to
                                                                                                    further objects     to
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                               Request No.No. 11.
                                                                               11. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                        objects toto this
                                                                                                                      this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of  of the
                                                                   the requested
                                                                        requested discovery
                                                                                    discovery outweighs
                                                                                                 outweighs its its likely
                                                                                                                   likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                              possession, custody,
                                                                                            custody, and/or
                                                                                                       and/or control.
                                                                                                                 control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                       the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                                has already
                                                                                     already provided
                                                                                               provided information
                                                                                                            information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                        objects toto this
                                                                      this Request
                                                                            Request toto the
                                                                                         the extent
                                                                                              extent it  seeks matters
                                                                                                      it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                      privilege and/or
                                                                                 and/or the
                                                                                         the work
                                                                                              work product
                                                                                                    product doctrine,
                                                                                                               doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                        further objects
                                                                                 objects to
                                                                                          to the
                                                                                             the extent
                                                                                                  extent this
                                                                                                           this Request
                                                                                                                 Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 18:
REOUEST 18: All
            All Documents
                Documents Regarding
                          Regarding Your
                                    Your registration,
                                         registration, if
                                                       if any,
                                                          any, for
                                                               for the
                                                                   the Philips
                                                                       Philips RS
                                                                               RS repair or
                                                                                  repair or


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replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant   seeks  materials  that  are within  its possession,   custody,    and/or
Defendant seeks materials that are within its possession, custody, and/or control.   control.   Plaintiff
                                                                                                Plaintiff  further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant to to any
                                                                              any claims
                                                                                   claims oror defenses
                                                                                                defenses ofof any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMTAYLORAARON00000004.
                                                         see MMTAYLORAARON00000004.

REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request  includes but
                                                                           but is
                                                                                is not
                                                                                   not limited  to the
                                                                                        limited to the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in  Paragraphs
                                                                                         in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring C CSAC.
                                       SAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                 discovery outweighs
                                                                            outweighs its
                                                                                        its likely benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks  matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                     under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other
                                                                                          other privilege,
                                                                                                 privilege,
immunity, or
immunity,    or protection,
                protection, including
                             including physician-patient
                                        physician-patient privilege.
                                                             privilege. Plaintiff
                                                                        Plaintiff further
                                                                                  further objects
                                                                                           objects to
                                                                                                    to this
                                                                                                       this


                                                      - 99 -
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Request on
Request   on grounds
              grounds that
                         that it  violates Plaintiff's
                               it violates    Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                    privacy. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects  to the
                                                                                                    objects to the scope
                                                                                                                   scope
of this
of  this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant to to any
                                                                                      any claims    or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                           Corp., 522522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430     (W.Va. 1999)
                                                                                        1999) (citations
                                                                                                (citations omitted)
                                                                                                           omitted) (the
                                                                                                                      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur
                                                                              incur the
                                                                                     the cost
                                                                                           cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716716 (Mo.
                                                       (Mo. 2007);
                                                              2007); Exxon
                                                                      Exxon Mobil
                                                                               Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                             and the
                                                   the need
                                                        need for   medical testing
                                                              for medical   testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.     PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340    P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,     863 P.2d
                                                                               Co., 863    P.2d 795,
                                                                                                 795, 823   (Cal. 1993).
                                                                                                       823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                   medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                        since Plaintiff
                                                 Plaintiff is
                                                            is not
                                                               not claiming
                                                                   claiming present
                                                                               present physical
                                                                                          physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this case.
                                                                                                                    case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is is the
                                             the significant
                                                  significant exposure,
                                                                exposure, increased
                                                                            increased riskrisk of
                                                                                                of disease
                                                                                                   disease and
                                                                                                            and medical
                                                                                                                 medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing andand thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims
                        claims only
                                  only onon their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                 the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                           burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative,    and/or  because    the  burden   or  expense    of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.  its  likely   benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                       extent it
                                                               it seeks
                                                                  seeks matters
                                                                         matters immune
                                                                                 immune fromfrom discovery
                                                                                                   discovery under
                                                                                                                 under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                             doctrine, oror any
                                                                                             any other      privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                    privilege. Plaintiff
                                                                               Plaintiff further
                                                                                          further objects
                                                                                                     objects to to this
                                                                                                                   this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                 privacy. Plaintiff
                                                                           Plaintiff further
                                                                                     further objects
                                                                                              objects to to the
                                                                                                            the scope
                                                                                                                 scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not not relevant
                                                                   relevant to
                                                                             to any
                                                                                any claims
                                                                                      claims oror defenses
                                                                                                   defenses of  of any
                                                                                                                   any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                             not put
                                                                  put present
                                                                       present physical
                                                                               physical condition
                                                                                          condition at  at issue.
                                                                                                           issue. See
                                                                                                                   See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d    424,430 (W.Va.
                                                      S.E.2d 424,430              1999) (citations
                                                                          (W.Va. 1999)                  omitted) (the
                                                                                          (citations omitted)      (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                       requires one
                                                                  one to
                                                                       to incur the cost
                                                                          incur the cost of
                                                                                          of monitoring);
                                                                                              monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712,712, 714,
                                         714, 716
                                               716 (Mo.     2007); Exxon
                                                     (Mo. 2007);     Exxon Mobil
                                                                             Mobil Corp.
                                                                                     Corp. v.   Albright, 71
                                                                                             v. Albright,         A.3d
                                                                                                              71 A.3d



                                                          -- 10
                                                             10
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30, 75-77
30,  75-77 (Md.
            (Md. 2013)    (exposure itself
                   2013) (exposure            and the
                                       itself and   the need
                                                        need for
                                                               for medical
                                                                   medical testing
                                                                             testing is
                                                                                     is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                            injury
in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                               v. PacifiCare     of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,   264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.  Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,          P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                           physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                             risk of
                                                                                                  of disease
                                                                                                      disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated   therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and
class members
class  members base
                  base their
                        their claims
                              claims only
                                       only on
                                             on their
                                                 their significant
                                                        significant exposure
                                                                     exposure toto the
                                                                                   the proven
                                                                                        proven hazardous
                                                                                                hazardous Foam
                                                                                                             Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                Recalled Devices.
                                                            Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the    past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury  or other physiological  changes”   You  allege  in Paragraphs  26-88  of the
"subcellular injury or other physiological changes" You allege in Paragraphs 26-88 of the Medical Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,      and other
                                                                                 endoscopies, and    other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                        consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                      this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                         unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                           the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff  further  objects    to  this  Request     to the   extent  it seeks   matters   immune
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under   from   discovery     under
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                  and/or the the work
                                                                   work product
                                                                           product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other     privilege,
                                                                                                              other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                            privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                    violates Plaintiffs
                                                Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                         privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                            scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it it seeks
                                           seeks information
                                                    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                     monitoring costscosts does
                                                             does not
                                                                    not put
                                                                         put present
                                                                               present physical
                                                                                        physical condition
                                                                                                     condition at at issue.   See
                                                                                                                     issue. See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.          Corp., 522
                                      Elec. Corp.,     522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430                  1999) (citations
                                                                                  (W.Va. 1999)                    omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716
                                                     716 (Mo.       2007); Exxon
                                                            (Mo. 2007);      Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,         A.3d
                                                                                                                        71 A.3d
30,  75-77   (Md.   2013)    (exposure      itself  and    the   need  for  medical    testing
30, 75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable       is  the  compensable       injury
                                                                                                                           injury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare       of Nev.,  Inc., 340
                                                                             Nev., Inc.,         P.3d, 264,
                                                                                            340 P.3d,    264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether      the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire &     Rubber Co.,
                                                                             & Rubber       Co., 863    P.2d 795,
                                                                                                 863 P.2d      795, 823
                                                                                                                      823 (Cal.
                                                                                                                             (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition for     his
                                                                                                                          for his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                     in this        since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                            not claiming     present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.  The injury     that Plaintiff
             injury that     Plaintiff claims
                                          claims is      the significant
                                                     is the    significant exposure,        increased risk
                                                                              exposure, increased              of disease
                                                                                                         risk of   disease andand
medical necessity
medical    necessity ofof diagnostic       testing and
                            diagnostic testing        and the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                   proven hazardous
                                                                                                             hazardous Foam Foam
Toxins
Toxins released
         released byby PE-PUR
                         PE-PUR foam   foam in in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.



                                                              - 11
                                                              -11
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 548 of 654




REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower   v. Westinghouse        Elec.    Corp.,    522  S.E.2d   424,430     (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the     (citations    omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
                diagnostic testing         and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members    base  their  claims     only    on  their  significant   exposure     to the  proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxins   hazardous      Foam    Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 549 of 654




e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.Elec. Corp.,
                                         Corp., 522522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430     (W.Va. 1999)
                                                                                      1999) (citations   omitted) (the
                                                                                              (citations omitted)  (the
injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                   injury in this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.


REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either  the  attorney-client       privilege       and/or  the   work     product    doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,     or   any    other   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.




                                                              -- 13
                                                                 13
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       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A  claim   for  medical     monitoring        costs  does   not   put  present    physical
party. A claim for medical monitoring costs does not put present physical condition at issue. See    condition     at issue.  See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); Meyer
                                                                                                              Meyer



                                                              -- 14
                                                                 14
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v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon     Mobil Corp.
                                                                                     Corp. v.  Albright, 71
                                                                                            v. Albright,     A.3d 30,
                                                                                                          71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                           injury in
                                                                                                                  in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                         (Nev. 2014)
                                                                                                                2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                        medical need
                                                                                                                 need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber     Co., 863
                                                                  Rubber Co.,           P.2d 795,
                                                                                 863 P.2d     795, 823
                                                                                                    823 (Cal.  1993).
                                                                                                         (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for   his medical
                                                                                                      for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present      physical injury
                                                                                                 injury in  this case.
                                                                                                         in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk    of  disease  and  medical
                                                                                       risk of disease and medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                  Plaintiff and
                                                                                                            and class
                                                                                                                 class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                        Foam Toxins
                                                                                                               Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REQUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                    Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the  cost  of  medically   necessary  monitoring,    diagnostic  testing,
the cost of medically necessary monitoring, diagnostic testing, clinical   clinical examinations,
                                                                                    examinations,    and
                                                                                                     and
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling  Order,  the Federal Rules   of  Civil Procedure,  and  the  Federal Rules  of
scheduling Order, the Federal Rules of Civil Procedure, and the Federal Rules of Evidence Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff further
         Plaintiff further responds,     MMTAYLORAARON00000004.
                                     see MMTAYLORAARON00000004.
                           responds, see

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

         Plaintiff objects
         Plaintiff objects to
                           to this
                              this Request
                                   Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                            burdensome, overbroad,
                                                                        overbroad, irrelevant,
                                                                                   irrelevant,


                                                         -- 15
                                                            15
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cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                 extent it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:



                                                       -- 16
                                                          16
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        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REQUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                              device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents Regarding  that replacement  device,  including but not limited to receipts, insurance
all Documents Regarding that replacement device, including but not limited to receipts, insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further objects to  this  Request  on grounds  that it seeks matters  immune     from
Plaintiff further objects to this Request on grounds that it seeks matters immune from discovery   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMTAYLORAARON00000004.
                                                         see MMTAYLORAARON00000004.

REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.



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                                                        17
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REQUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at trial.
or at trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                          overbroad, cumulative,
                                                                                                        cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                              its likely
                                                                                  likely benefit.
                                                                                          benefit. Plaintiff
                                                                                                    Plaintiff further
                                                                                                              further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by  by calling
                                                                                  calling for
                                                                                           for aa legal conclusion.
                                                                                                  legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                  immune from
                                                                                            from discovery
                                                                                                    discovery under
                                                                                                                under
either the   attorney-client    privilege   and/or   the  work     product  doctrine,    or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,      other  privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request as as premature
                                                                                     premature because
                                                                                                   because itit seeks
                                                                                                                seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                             the assistance
                                                                                   assistance of
                                                                                               of experts.
                                                                                                   experts. Plaintiff
                                                                                                            Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                           of Civil
                                                                               Civil Procedure,
                                                                                      Procedure, andand the
                                                                                                         the Federal
                                                                                                             Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                            and evidence.
                                                                                   evidence.

REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 38:
                        38:




                                                       -- 18
                                                          18
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         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

          Plaintiff objects
          Plaintiff  objects to to this
                                    this Request
                                           Request as as vague,
                                                           vague, unduly
                                                                     unduly burdensome,
                                                                                burdensome, overbroad,
                                                                                                  overbroad, irrelevant,
                                                                                                                 irrelevant,
cumulative, and/or
cumulative,     and/or because
                        because the  the burden
                                          burden oror expense
                                                       expense of  of the
                                                                       the discovery
                                                                             discovery outweighs
                                                                                         outweighs its  its likely  benefit.
                                                                                                            likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects   to this
                                 this Request
                                        Request toto the
                                                     the extent
                                                          extent it   seeks matters
                                                                   it seeks   matters immune
                                                                                       immune from from discovery
                                                                                                          discovery under
                                                                                                                      under
either the
either   the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or the
                                                         the work
                                                               work product
                                                                        product doctrine,
                                                                                  doctrine, or or any
                                                                                                    any other
                                                                                                          other privilege,
                                                                                                                  privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                 further objects
                                                                                                           objects toto this
                                                                                                                         this
Request on
Request    on grounds
               grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                             Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects
                                                                                                     objects toto the
                                                                                                                  the scope
                                                                                                                      scope
of this
of  this Request
          Request toto the
                       the extent
                            extent it  it seeks
                                          seeks information
                                                 information not  not relevant
                                                                        relevant toto any
                                                                                      any claims
                                                                                            claims or or defenses
                                                                                                          defenses ofof any
                                                                                                                         any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                   monitoring costs
                                                  costs does
                                                         does not
                                                                not put
                                                                      put present
                                                                           present physical
                                                                                     physical condition
                                                                                                condition at  at issue.
                                                                                                                 issue. See
                                                                                                                         See
e.g. Bower
e.g. Bower v. v. Westinghouse
                 Westinghouse Elec. Elec. Corp.,    522 S.E.2d
                                            Corp., 522             424,430 (W.Va.
                                                         S.E.2d 424,430        (W.Va. 1999)
                                                                                        1999) (citations      omitted) (the
                                                                                                 (citations omitted)     (the
injury in
injury  in question
            question is
                      is the
                          the increase
                               increase in in risk
                                              risk that
                                                    that requires
                                                          requires oneone toto incur
                                                                               incur the
                                                                                      the cost
                                                                                           cost of
                                                                                                 of monitoring);
                                                                                                     monitoring); Meyer
                                                                                                                      Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712, 712, 714,
                                           714, 716
                                                 716 (Mo.
                                                      (Mo. 2007);
                                                             2007); Exxon
                                                                       Exxon Mobil
                                                                                Mobil Corp.
                                                                                        Corp. v.   Albright, 71
                                                                                               v. Albright,        A.3d 30,
                                                                                                                71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.            (exposure itself
               2013) (exposure        itself and
                                             and the
                                                  the need
                                                       need for   medical testing
                                                              for medical     testing is
                                                                                       is the
                                                                                          the compensable
                                                                                              compensable injury injury in
                                                                                                                         in aa
medical monitoring
medical    monitoring claim);       Sadler v.
                        claim); Sadler          PacifiCare of
                                             v. PacifiCare     of Nev.,
                                                                  Nev., Inc.,   340 P.3d,
                                                                          Inc., 340  P.3d, 264,
                                                                                            264, 1270-72
                                                                                                    1270-72 (Nev.
                                                                                                               (Nev. 2014)
                                                                                                                      2014)
(inquiry is
(inquiry   is whether
              whether the
                        the negligent
                             negligent act  act of
                                                of the
                                                   the defendant
                                                        defendant caused        the plaintiff
                                                                       caused the    plaintiff to
                                                                                                to have
                                                                                                    have aa medical
                                                                                                             medical need
                                                                                                                        need
to undergo
to             monitoring); Potter
   undergo monitoring);         Potter v.    Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                     Rubber Co.,Co., 863   P.2d 795,
                                                                                     863 P.2d     795, 823
                                                                                                         823 (Cal.   1993).
                                                                                                               (Cal. 1993).
Plaintiff has
Plaintiff  has not
                not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                           privilege as as to
                                                                           to any
                                                                              any medical
                                                                                   medical condition
                                                                                             condition for      his medical
                                                                                                           for his  medical



                                                            -- 19
                                                               19
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monitoring claims
monitoring   claims in
                     in this
                         this case  since Plaintiff
                              case since   Plaintiff is
                                                     is not
                                                        not claiming   present physical
                                                            claiming present    physical injury
                                                                                         injury in  this case.
                                                                                                 in this case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims is  the significant
                                     is the significant exposure,
                                                         exposure, increased
                                                                    increased risk   of disease
                                                                                risk of          and medical
                                                                                        disease and   medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                     and the
                                          the economic
                                               economic loss    associated therewith.
                                                          loss associated    therewith. Plaintiff
                                                                                          Plaintiff and
                                                                                                    and class
                                                                                                         class
members base
members   base their
                their claims
                      claims only
                               only on
                                     on their
                                        their significant
                                              significant exposure
                                                          exposure toto the
                                                                        the proven
                                                                            proven hazardous
                                                                                    hazardous Foam
                                                                                               Foam Toxins
                                                                                                       Toxins
released by
released by PE-PUR
             PE-PUR foamfoam inin the
                                  the Recalled
                                      Recalled Devices.
                                                 Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                   /s/ Kelly
                                                        /s/ Kelly K
                                                                  K. Iverson
                                                                     Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                            Kelly K.
                                                        Kelly  K. Iverson,
                                                                  Iverson, Esquire
                                                                            Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
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 /s/             A. Seeger
     Christopher A. Seeger                              /s/ Steven
                                                        /s/ Steven A.
                                                                   A. Schwartz
                                                                      Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                       Steven  A. Schwartz,
                                                        Steven A.  Schwartz, Esquire
                                                                             Esquire
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 SEEGER WEISS        LLP                                CHIMICLES       SCHWARTZ 'MINER
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                                                                                            &
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                                                                   Lancaster Avenue
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                                                        Haverford,  PA 19041
                                                                        19041
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                                  Counsel for Plaintiffs
                                  Counselfor  Plaintiffs and
                                                         and the
                                                             the Class
                                                                 Class




                                                    -- 20
                                                       20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 557 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

AARON TAYLOR’S
AARON          AMENDED RESPONSES
      TAYLOR'S AMENDED RESPONSES AND
                                 AND OBJECTIONS
                                     OBJECTIONS TO PHILIPS RS'
                                                TO PHILIPS RS’ FIRST
                                                               FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
                           MORGAN,    LEWIS &
                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
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                                   1701  Market Street
                                                 Street
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                              Philadelphia, PA 19103-2921
                                                19103-2921
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                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

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                                    Michael H. Steinberg
                                                Steinberg
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                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 558 of 654




                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 559 of 654




                    EXHIBIT X
                    EXHIBIT X
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 561 of 654



 PLAINTIFF CHAD WELLS'S
 PLAINTIFF CHAD  WELLS’S SECOND    AMENDED RESPONSES
                         SECOND AMENDED    RESPONSES AND
                                                     AND OBJECTIONS
                                                         OBJECTIONS
             TO
             TO PHILIPS RS’ FIRST
                PHILIPS RS'       REQUEST FOR
                            FIRST REQUEST FOR PRODUCTION
                                              PRODUCTION
          OF DOCUMENTS
          OF DOCUMENTS TO TO MEDICAL  MONITORING PLAINTIFFS
                              MEDICAL MONITORING  PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

        Plaintiff Chad
        Plaintiff Chad Wells
                        Wells ("Plaintiff')
                                (“Plaintiff”) objects
                                               objects to
                                                        to this
                                                           this Request
                                                                Request on
                                                                         on grounds
                                                                             grounds that
                                                                                       that it
                                                                                            it is
                                                                                               is vague,
                                                                                                  vague, unduly
                                                                                                           unduly
burdensome, overbroad,
burdensome,    overbroad, irrelevant,
                             irrelevant, cumulative,
                                          cumulative, and/or
                                                          and/or because
                                                                  because thethe burden
                                                                                  burden oror expense
                                                                                                expense of  of the
                                                                                                                the
discovery outweighs
discovery  outweighs its
                       its likely benefit. Plaintiff
                           likely benefit.  Plaintiff further  objects to
                                                      further objects  to this
                                                                           this Request
                                                                                Request to
                                                                                         to the
                                                                                             the extent
                                                                                                  extent it
                                                                                                          it seeks
                                                                                                             seeks
matters immune
matters immune from      discovery under
                  from discovery      under either
                                            either the
                                                   the attorney-client
                                                        attorney-client privilege
                                                                         privilege and/or
                                                                                     and/or the
                                                                                              the work
                                                                                                   work product
                                                                                                          product
doctrine, or
doctrine, or any
              any other
                   other privilege,
                           privilege, immunity,
                                       immunity, or or protection.
                                                         protection. Plaintiff
                                                                     Plaintiff further    objects to
                                                                                 further objects    to the
                                                                                                        the term
                                                                                                              term
“Acquired”   because  as  defined  it seeks to obtain  information   not  relevant  to any  claims
"Acquired" because as defined it seeks to obtain information not relevant to any claims or defenses  or defenses
of any
of any party.
       party. Plaintiff
              Plaintiff further
                        further objects  on grounds
                                 objects on  grounds that
                                                       that this
                                                             this Request
                                                                  Request seeks
                                                                            seeks information
                                                                                  information thatthat is
                                                                                                       is already
                                                                                                          already
in Defendant's
in Defendant’s possession,
                 possession, custody,
                               custody, and/or
                                         and/or control.
                                                 control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see CHADWELLS000001-
                                                     see CHADWELLS000001-
CHADWELLS000005.
CHADWELL S000005.

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see CHADWELLS000001-
                                                     see CHADWELLS000001-
CHADWELLS000005.
CHADWELLS000005.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see CHADWELLS000001-
                                                     see CHADWELLS000001-
CHADWELLS000005.
CHADWELL S000005.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:



                                                               - 33 -
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         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                  the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely  benefit.
                                                                                                    likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                  Request areare compounded
                                                                                  compounded by   by the
                                                                                                      the fact   that
                                                                                                           fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its   possession, custody,
                                                                        its possession,             and/or control
                                                                                         custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                        responsive documents
                                                                                     documents to  to this
                                                                                                      this Request
                                                                                                           Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                  scope ofof this
                                                                             this Request
                                                                                  Request toto the
                                                                                               the extent
                                                                                                    extent it
                                                                                                            it seeks
                                                                                                               seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses    of  any
                                        claims or defenses of any party.party.  Plaintiff
                                                                                Plaintiff further   objects   to
                                                                                          further objects to thisthis
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                    privilege, immunity,
                                                                                immunity, or or protection.
                                                                                                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly        burdensome, overbroad,
                                                                        unduly burdensome,                              irrelevant,
                                                                                                       overbroad, irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under
Plaintiff   further   objects    to this   Request    to the  extent it seeks   matters    immune       from    discovery     under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor           220 S.W.3d
                                                              Corp., 220    S.W.3d 712,712, 714,
                                                                                              714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                           (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                         whether the the negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                      has not   waived the
                                                                           not waived      the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this   case. The     injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released     by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your
Recalled Device
Recalled Device from    Care Orchestrator,
                  from Care  Orchestrator, DreamMapper,
                                           DreamMapper, and/or
                                                           and/or EncoreAnywhere,      which we
                                                                   EncoreAnywhere, which      we will
                                                                                                  will


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                                                               -4
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obtain upon
obtain upon your
            your signing
                 signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad,    vague,  and  impermissibly       seeks  information     not  relevant  to any  claims
overbroad, vague, and impermissibly seeks information not relevant to any claims or defenses of      or  defenses   of
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit
             limit the
                   the scope
                        scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product   doctrine, or
                     or any
                         any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                            that the
                                                 the information
                                                     information sought
                                                                   sought in in this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further    objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds    that  the  term  “SD    card”  is  undefined   and   that  it  is not   apparent
grounds that the term "SD card" is undefined and that it is not apparent to Plaintiff what    to  Plaintiff   what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects    to this
                                                                           objects to  this Request
                                                                                            Request onon grounds
                                                                                                          grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from his
                                                                                               his
Recalled Device(s).
Recalled Device(s).

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to to this
                                 this Request
                                       Request as   as vague,
                                                       vague, unduly
                                                               unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or  or expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects    to the
                                 the scope
                                      scope of of this
                                                   this Request
                                                        Request onon grounds
                                                                      grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant  to any  claims   or  defenses   of  any  party. Plaintiff further objects that  the term
relevant to any claims or defenses of any party. Plaintiff further objects that the term "condition" “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff            objects to
                          further objects    to this
                                                this Request
                                                      Request to
                                                              to the
                                                                 the extent
                                                                     extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs        its likely    benefit, and/or
                                             likely benefit,   and/or that
                                                                        that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in


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Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                     and/or control.
                                             control. Plaintiff
                                                      Plaintiff further
                                                                further objects
                                                                         objects to
                                                                                  to this
                                                                                     this Request
                                                                                          Request toto the
                                                                                                       the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive
                                                       responsive to to this
                                                                         this Request.
                                                                              Request. Plaintiff
                                                                                         Plaintiff further
                                                                                                   further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                           immune fromfrom discovery
                                                                             discovery under
                                                                                        under either
                                                                                                either the
                                                                                                       the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                      doctrine, or
                                                                 or any
                                                                    any other
                                                                          other privilege,
                                                                                privilege, immunity,
                                                                                            immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REQUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.



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                                                       6-
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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see CHADWELLS000001-
                                                     see CHADWELLS000001-
CHADWELLS000004.
CHADWELLS000004.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

         Plaintiff objects
         Plaintiff objects to
                           to this
                              this Request
                                   Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                            burdensome, overbroad,
                                                                        overbroad, irrelevant,
                                                                                   irrelevant,


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                                                        -7
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cumulative, and/or
cumulative,   and/or because
                      because the the burden
                                       burden or  or expense
                                                      expense of  of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                       outweighs itsits likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                         concession that
                                                                                       that evidence
                                                                                            evidence of of degradation
                                                                                                            degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                              objects to
                                                                       to this
                                                                           this Request
                                                                                Request onon grounds
                                                                                               grounds that
                                                                                                          that the
                                                                                                                the term
                                                                                                                     term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                               Plaintiff further   objects to
                                                                          further objects    to the
                                                                                                 the use
                                                                                                      use ofof the
                                                                                                               the term
                                                                                                                     term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                        it is
                                                           is overbroad,
                                                              overbroad, vague,
                                                                            vague, ambiguous,
                                                                                    ambiguous, and and impermissibly
                                                                                                        impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims
                                                claims oror defenses
                                                              defenses ofof any
                                                                             any party.
                                                                                 party. Plaintiff
                                                                                         Plaintiff further    objects to
                                                                                                    further objects     to
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                               Request No.No. 11.
                                                                               11. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                        objects toto this
                                                                                                                      this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of  of the
                                                                   the requested
                                                                        requested discovery
                                                                                    discovery outweighs
                                                                                                 outweighs its its likely
                                                                                                                   likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                              possession, custody,
                                                                                            custody, and/or
                                                                                                       and/or control.
                                                                                                                 control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                       the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                                has already
                                                                                     already provided
                                                                                               provided information
                                                                                                            information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                        objects toto this
                                                                      this Request
                                                                            Request toto the
                                                                                         the extent
                                                                                              extent it  seeks matters
                                                                                                      it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                      privilege and/or
                                                                                 and/or the
                                                                                         the work
                                                                                              work product
                                                                                                    product doctrine,
                                                                                                               doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                        further objects
                                                                                 objects to
                                                                                          to the
                                                                                             the extent
                                                                                                  extent this
                                                                                                           this Request
                                                                                                                 Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REQUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.


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                                                           8-
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant to to any
                                                                              any claims
                                                                                   claims oror defenses
                                                                                                defenses ofof any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REQUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as as vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                     because the
                               the burden
                                   burden or or expense
                                                expense of of the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its
                                                                                          its likely benefit.
                                                                                              likely benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                              Request areare compounded
                                                                              compounded by by the
                                                                                                the fact
                                                                                                    fact that
                                                                                                         that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available to
                                                           to it.
                                                              it. Plaintiff
                                                                  Plaintiff further
                                                                            further objects
                                                                                    objects to
                                                                                            to the
                                                                                               the use
                                                                                                   use of
                                                                                                       of the
                                                                                                          the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in    this Request
                                                   in this Request on on grounds
                                                                          grounds that
                                                                                   that they
                                                                                        they are
                                                                                             are overbroad,
                                                                                                  overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek     information not not relevant  to any
                                                                     relevant to  any claims
                                                                                      claims or
                                                                                              or defenses
                                                                                                 defenses of
                                                                                                           of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                 Request to to the
                                                                the extent
                                                                    extent it
                                                                            it seeks
                                                                               seeks matters
                                                                                     matters immune
                                                                                              immune from
                                                                                                        from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                          and/or the
                                                                  the work
                                                                       work product
                                                                             product doctrine,  or any
                                                                                      doctrine, or any other
                                                                                                        other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in
                                                                                         in Paragraphs
                                                                                            Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                 discovery outweighs
                                                                            outweighs its
                                                                                        its likely benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks  matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                     under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other
                                                                                          other privilege,
                                                                                                 privilege,
immunity, or
immunity,    or protection,
                protection, including
                             including physician-patient
                                        physician-patient privilege.
                                                             privilege. Plaintiff
                                                                        Plaintiff further
                                                                                  further objects
                                                                                           objects to
                                                                                                    to this
                                                                                                       this


                                                      - 99 -
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Request on
Request   on grounds
              grounds that
                         that it  violates Plaintiff's
                               it violates    Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                    privacy. Plaintiff
                                                                                Plaintiff further
                                                                                           further objects  to the
                                                                                                    objects to the scope
                                                                                                                   scope
of this
of  this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant to to any
                                                                                      any claims    or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                           Corp., 522522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430     (W.Va. 1999)
                                                                                        1999) (citations
                                                                                                (citations omitted)
                                                                                                           omitted) (the
                                                                                                                      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur
                                                                              incur the
                                                                                     the cost
                                                                                           cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716716 (Mo.
                                                       (Mo. 2007);
                                                              2007); Exxon
                                                                      Exxon Mobil
                                                                               Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                             and the
                                                   the need
                                                        need for   medical testing
                                                              for medical   testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.     PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340    P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,     863 P.2d
                                                                               Co., 863    P.2d 795,
                                                                                                 795, 823   (Cal. 1993).
                                                                                                       823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                   medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                        since Plaintiff
                                                 Plaintiff is
                                                            is not
                                                               not claiming
                                                                   claiming present
                                                                               present physical
                                                                                          physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this case.
                                                                                                                    case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is is the
                                             the significant
                                                  significant exposure,
                                                                exposure, increased
                                                                            increased riskrisk of
                                                                                                of disease
                                                                                                   disease and
                                                                                                            and medical
                                                                                                                 medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing andand thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims
                        claims only
                                  only onon their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                 the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REOUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;   biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                           burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative,    and/or  because    the  burden   or  expense    of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.  its  likely   benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                       extent it
                                                               it seeks
                                                                  seeks matters
                                                                         matters immune
                                                                                 immune fromfrom discovery
                                                                                                   discovery under
                                                                                                                 under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                             doctrine, oror any
                                                                                             any other      privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                    privilege. Plaintiff
                                                                               Plaintiff further
                                                                                          further objects
                                                                                                     objects to to this
                                                                                                                   this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                 privacy. Plaintiff
                                                                           Plaintiff further
                                                                                     further objects
                                                                                              objects to to the
                                                                                                            the scope
                                                                                                                 scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not not relevant
                                                                   relevant to
                                                                             to any
                                                                                any claims
                                                                                      claims oror defenses
                                                                                                   defenses of  of any
                                                                                                                   any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                             not put
                                                                  put present
                                                                       present physical
                                                                               physical condition
                                                                                          condition at  at issue.
                                                                                                           issue. See
                                                                                                                   See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d    424,430 (W.Va.
                                                      S.E.2d 424,430              1999) (citations
                                                                          (W.Va. 1999)                  omitted) (the
                                                                                          (citations omitted)      (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                       requires one
                                                                  one to
                                                                       to incur the cost
                                                                          incur the cost of
                                                                                          of monitoring);
                                                                                              monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712,712, 714,
                                         714, 716
                                               716 (Mo.     2007); Exxon
                                                     (Mo. 2007);     Exxon Mobil
                                                                             Mobil Corp.
                                                                                     Corp. v.   Albright, 71
                                                                                             v. Albright,         A.3d
                                                                                                              71 A.3d



                                                          -- 10
                                                             10
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30, 75-77
30,  75-77 (Md.
            (Md. 2013)    (exposure itself
                   2013) (exposure            and the
                                       itself and   the need
                                                        need for
                                                               for medical
                                                                   medical testing
                                                                             testing is
                                                                                     is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                            injury
in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                               v. PacifiCare     of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,   264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.  Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,          P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                           physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                             risk of
                                                                                                  of disease
                                                                                                      disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated   therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and
class members
class  members base
                  base their
                        their claims
                              claims only
                                       only on
                                             on their
                                                 their significant
                                                        significant exposure
                                                                     exposure toto the
                                                                                   the proven
                                                                                        proven hazardous
                                                                                                hazardous Foam
                                                                                                             Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                Recalled Devices.
                                                            Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the    past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury  or other physiological  changes”   You  allege  in Paragraphs  26-88  of the
"subcellular injury or other physiological changes" You allege in Paragraphs 26-88 of the Medical Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,
                                                                                 endoscopies, and
                                                                                                and other
                                                                                                     other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                        consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                     this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                         unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                     irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                           the discovery
                                                                                discovery outweighs
                                                                                              outweighs its its likely   benefit.
                                                                                                                likely benefit.
Plaintiff  further  objects    to this   Request     to the   extent  it seeks   matters   immune
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under   from   discovery     under
either the
either  the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                  and/or the the work
                                                                   work product
                                                                           product doctrine,
                                                                                      doctrine, or or any
                                                                                                        any other     privilege,
                                                                                                              other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                            privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                     further objects
                                                                                                               objects to to this
                                                                                                                              this
Request on
Request    on grounds
               grounds that
                          that it  violates Plaintiff's
                                it violates     Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                         privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects toto the
                                                                                                                      the scope
                                                                                                                            scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it    seeks information
                                        it seeks    information not   not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                claims or or defenses
                                                                                                              defenses of of any
                                                                                                                              any
party. A
party.  A claim
           claim for   medical monitoring
                  for medical       monitoring costs costs does     not put
                                                             does not    put present
                                                                               present physical
                                                                                        physical condition
                                                                                                     condition at at issue.   See
                                                                                                                     issue. See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.          Corp., 522
                                     Elec. Corp.,      522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430                  1999) (citations
                                                                                  (W.Va. 1999)                    omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); Meyer
                                                                                                                          Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716
                                                     716 (Mo.       2007); Exxon
                                                            (Mo. 2007);      Exxon Mobil
                                                                                      Mobil Corp.
                                                                                               Corp. v.    Albright, 71
                                                                                                        v. Albright,         A.3d
                                                                                                                        71 A.3d
30,  75-77   (Md.  2013)     (exposure      itself  and    the   need  for  medical    testing
30, 75-77 (Md. 2013) (exposure itself and the need for medical testing is the compensable       is  the  compensable       injury
                                                                                                                           injury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare       of Nev.,  Inc., 340
                                                                             Nev., Inc.,         P.3d, 264,
                                                                                            340 P.3d,    264, 1270-72
                                                                                                               1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether      the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                  caused thethe plaintiff
                                                                                                plaintiff to
                                                                                                           to have
                                                                                                               have aa medical
                                                                                                                        medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire &     Rubber Co.,
                                                                             & Rubber       Co., 863    P.2d 795,
                                                                                                 863 P.2d      795, 823
                                                                                                                      823 (Cal.
                                                                                                                             (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege asas to
                                                                                         to any
                                                                                             any medical
                                                                                                 medical condition
                                                                                                             condition for     his
                                                                                                                          for his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                    in this         since Plaintiff
                                              case since     Plaintiff is
                                                                        is not  claiming present
                                                                            not claiming     present physical
                                                                                                       physical injury
                                                                                                                  injury in   this
                                                                                                                           in this
case. The
case.  The injury     that Plaintiff
             injury that     Plaintiff claims
                                          claims is      the significant
                                                     is the    significant exposure,        increased risk
                                                                              exposure, increased              of disease
                                                                                                         risk of   disease andand
medical necessity
medical    necessity ofof diagnostic       testing and
                            diagnostic testing        and the
                                                            the economic
                                                                  economic loss      associated therewith.
                                                                               loss associated     therewith. Plaintiff
                                                                                                                  Plaintiff and
                                                                                                                              and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to  to the
                                                                                              the proven
                                                                                                   proven hazardous
                                                                                                             hazardous Foam Foam
Toxins
Toxins released
         released byby PE-PUR
                         PE-PUR foam  foam in  in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.



                                                              - 11
                                                              -11
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 572 of 654




REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower   v. Westinghouse        Elec.    Corp.,    522  S.E.2d   424,430     (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the     (citations    omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
                diagnostic testing         and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members    base  their  claims     only    on  their  significant   exposure     to the  proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxins   hazardous      Foam    Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REOUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 573 of 654




e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.Elec. Corp.,
                                         Corp., 522522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430     (W.Va. 1999)
                                                                                      1999) (citations   omitted) (the
                                                                                              (citations omitted)  (the
injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                   injury in this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.


REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either  the  attorney-client       privilege       and/or  the   work     product    doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,     or   any    other   privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.




                                                              -- 13
                                                                 13
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 574 of 654




       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A  claim   for  medical     monitoring        costs  does   not   put  present    physical
party. A claim for medical monitoring costs does not put present physical condition at issue. See    condition     at issue.  See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); Meyer
                                                                                                              Meyer



                                                              -- 14
                                                                 14
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v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon     Mobil Corp.
                                                                                     Corp. v.  Albright, 71
                                                                                            v. Albright,     A.3d 30,
                                                                                                          71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                           injury in
                                                                                                                  in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                         (Nev. 2014)
                                                                                                                2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                        medical need
                                                                                                                 need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber     Co., 863
                                                                  Rubber Co.,           P.2d 795,
                                                                                 863 P.2d     795, 823
                                                                                                    823 (Cal.  1993).
                                                                                                         (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for   his medical
                                                                                                      for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present      physical injury
                                                                                                 injury in  this case.
                                                                                                         in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk    of  disease  and  medical
                                                                                       risk of disease and medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                  Plaintiff and
                                                                                                            and class
                                                                                                                 class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                        Foam Toxins
                                                                                                               Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REQUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                    Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the  cost  of  medically   necessary  monitoring,    diagnostic  testing,
the cost of medically necessary monitoring, diagnostic testing, clinical   clinical examinations,
                                                                                    examinations,    and
                                                                                                     and
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling  Order,  the Federal Rules   of  Civil Procedure,  and  the  Federal Rules  of
scheduling Order, the Federal Rules of Civil Procedure, and the Federal Rules of Evidence Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

         Plaintiff objects
         Plaintiff objects to
                           to this
                              this Request
                                   Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                            burdensome, overbroad,
                                                                        overbroad, irrelevant,
                                                                                   irrelevant,


                                                         -- 15
                                                            15
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cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided byby Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                 extent it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other  privilege, immunity,
                   other privilege,   immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see CHADWELLS000001-
                                                     see CHADWELLS000001-
CHADWELLS000005.
CHADWELLS000005.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:



                                                       -- 16
                                                          16
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        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMTOSCANOJOSE00000019 --
                                                     see MMTOSCANOJOSE00000019
MMTOSCANOJOSE00000086.
MMTOSCANOJOSE00000086.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 34:
REQUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                              device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents Regarding  that replacement  device,  including but not limited to receipts, insurance
all Documents Regarding that replacement device, including but not limited to receipts, insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further objects to  this  Request  on grounds  that it seeks matters  immune     from
Plaintiff further objects to this Request on grounds that it seeks matters immune from discovery   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 35:
REOUEST 35: All
            All Documents
                Documents Regarding
                          Regarding the
                                    the "express
                                        “express warranty"
                                                 warranty” or
                                                           or "warranties"
                                                              “warranties” referenced
                                                                           referenced in
                                                                                      in



                                                     -- 17
                                                        17
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Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                              CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                  this Request
                                       Request as  as vague,
                                                      vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                    expense ofof the
                                                 the discovery
                                                     discovery outweighs
                                                                   outweighs its
                                                                              its likely
                                                                                  likely benefit.
                                                                                          benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to  this  Request  as  it  seeks  a premature    legal concession    by   calling  for a legal
objects to this Request as it seeks a premature legal concession by calling for a legal conclusion.    conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                     Request toto the
                                                  the extent
                                                       extent it
                                                              it seeks
                                                                  seeks matters
                                                                        matters immune
                                                                                  immune from
                                                                                            from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                             and/or the
                                                      the work
                                                           work product
                                                                    product doctrine,
                                                                            doctrine, or or any
                                                                                             any other    privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                          further objects
                                                    objects to
                                                             to this
                                                                  this Request
                                                                       Request asas premature
                                                                                     premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto bebe elicited
                                      elicited from
                                               from and
                                                      and developed
                                                           developed with
                                                                        with the
                                                                             the assistance
                                                                                   assistance of
                                                                                               of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                              Order, the
                                                      the Federal
                                                          Federal Rules
                                                                     Rules of
                                                                           of Civil
                                                                               Civil Procedure,
                                                                                      Procedure, and
                                                                                                   and the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding the the disclosure
                                        disclosure ofof expert
                                                        expert testimony
                                                                 testimony and
                                                                            and evidence.
                                                                                   evidence.

REQUEST 38:
REQUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.




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                                                          18
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters  immune    from  discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under  under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                        that it
                             it violates
                                 violates Plaintiffs
                                           Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                  privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                 objects toto the
                                                                                                              the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.   2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                           71 A.3d    30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.     2014)
                                                                                                           (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need



                                                          -- 19
                                                             19
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to undergo
to undergo monitoring);
             monitoring); Potter
                              Potter v.    Firestone Tire
                                       v. Firestone   Tire && Rubber
                                                               Rubber Co.,    863 P.2d
                                                                         Co., 863  P.2d 795,
                                                                                         795, 823   (Cal. 1993).
                                                                                               823 (Cal.  1993).
Plaintiff has
Plaintiff has not
              not waived
                  waived thethe physician-patient
                                 physician-patient privilege
                                                      privilege as
                                                                 as to
                                                                    to any
                                                                       any medical
                                                                             medical condition
                                                                                      condition for  his medical
                                                                                                 for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                               case since
                                     since Plaintiff
                                             Plaintiff is
                                                       is not
                                                          not claiming
                                                              claiming present
                                                                          present physical
                                                                                   physical injury
                                                                                            injury in
                                                                                                    in this
                                                                                                       this case.
                                                                                                            case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims isis the
                                          the significant
                                              significant exposure,
                                                           exposure, increased
                                                                       increased risk
                                                                                   risk of
                                                                                        of disease
                                                                                           disease and
                                                                                                    and medical
                                                                                                         medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                      and the
                                            the economic
                                                 economic loss    associated therewith.
                                                            loss associated     therewith. Plaintiff
                                                                                             Plaintiff and
                                                                                                       and class
                                                                                                            class
members base
members    base their
                their claims
                      claims only
                                only on
                                      on their
                                          their significant
                                                significant exposure
                                                            exposure to to the
                                                                           the proven
                                                                               proven hazardous
                                                                                       hazardous Foam
                                                                                                   Foam Toxins
                                                                                                          Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam in in the
                                   the Recalled
                                        Recalled Devices.
                                                   Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                    /s/ Kelly
                                                         /s/ Kelly K
                                                                   K. Iverson
                                                                      Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                             Kelly K.
                                                         Kelly  K. Iverson,
                                                                   Iverson, Esquire
                                                                             Esquire
 LEVIN SEDRAN
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                               /s/ Steven
                                                         /s/ Steven A.
                                                                    A. Schwartz
                                                                       Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                        Steven  A. Schwartz,
                                                         Steven A.  Schwartz, Esquire
                                                                              Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                 CHIMICLES       SCHWARTZ 'MINER
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                                                                                             &
                        th
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                                                                         19041
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                                   Counsel for Plaintiffs
                                   Counselfor  Plaintiffs and
                                                          and the
                                                              the Class
                                                                  Class




                                                      -- 20
                                                         20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 581 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

CHAD WELLS'S
CHAD WELLS’S AMENDED
             AMENDED RESPONSES
                     RESPONSES AND
                               AND OBJECTIONS
                                   OBJECTIONS TO PHILIPS RS'
                                              TO PHILIPS RS’ FIRST
                                                             FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                                                       Philips
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                                   RS North America,
                                             America, LLC
                                                      LLC

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                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 582 of 654




                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 583 of 654




                    EXHIBIT Y
                    EXHIBIT Y
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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         PLAINTIFF DEBRA WILSON'S
         PLAINTIFF DEBRA WILSON’S SECOND
                                   SECOND AMENDED
                                           AMENDED RESPONSES
                                                    RESPONSES AND
                                                              AND
          OBJECTIONS TO
          OBJECTIONS TO PHILIPS RS’ FIRST
                        PHILIPS RS'       REQUEST FOR
                                    FIRST REQUEST     PRODUCTION
                                                  FOR PRODUCTION
             OF DOCUMENTS
             OF DOCUMENTS TO
                           TO MEDICAL    MONITORING PLAINTIFFS
                              MEDICAL MONITORING    PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 1:
                                1:

         Plaintiff Debra
         Plaintiff Debra Wilson
                           Wilson ("Plaintiff')
                                     (“Plaintiff”) objects
                                                   objects to
                                                            to this
                                                               this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                            that it
                                                                                                  it is vague,
                                                                                                     is vague,
unduly burdensome,
unduly   burdensome, overbroad,
                        overbroad, irrelevant,
                                      irrelevant, cumulative,
                                                  cumulative, and/or
                                                                and/or because
                                                                        because the
                                                                                  the burden
                                                                                      burden oror expense
                                                                                                   expense ofof
the discovery
the  discovery outweighs
                outweighs itsits likely benefit. Plaintiff
                                 likely benefit. Plaintiff further
                                                           further objects
                                                                    objects to
                                                                            to this
                                                                               this Request
                                                                                    Request toto the
                                                                                                 the extent
                                                                                                      extent it
                                                                                                              it
seeks matters
seeks   matters immune
                immune from       discovery under
                           from discovery     under either
                                                    either the
                                                            the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                    privilege, immunity,
                                                immunity, oror protection.
                                                               protection. Plaintiff
                                                                            Plaintiff further  objects to
                                                                                      further objects    to the
                                                                                                            the
term  “Acquired”    because    as defined  it seeks to obtain  information   not  relevant to
term "Acquired" because as defined it seeks to obtain information not relevant to any claims orany   claims  or
defenses of
defenses      any party.
           of any  party. Plaintiff
                          Plaintiff further  objects on
                                    further objects  on grounds
                                                        grounds that
                                                                  that this
                                                                       this Request
                                                                            Request seeks
                                                                                     seeks information
                                                                                            information that
                                                                                                           that
is already
is already in  Defendant’s possession,
            in Defendant's    possession, custody,
                                            custody, and/or
                                                     and/or control.
                                                             control.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMWILSONDEBRA00000001-
                                                     see MMWILSONDEBRA00000001-
MMWILSONDEBRA00000002.
MMWILSONDEBRA00000002.

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMWILSONDEBRA00000001-
                                                         see MMWILSONDEBRA00000001-
        MMWILSONDEBRA00000005.
        MMWILSONDEBRA00000005.

AMENDED REOUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

                                                     - 11 -
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:

        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information   already  in the  possession, custody, and/or   control  of Defendant.
information already in the possession, custody, and/or control of Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the  attorney-client   privilege   and/or  the  work     product   doctrine,   or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege, other  privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request seeks
Request   seeks information
                information that
                              that is
                                   is not
                                      not relevant
                                          relevant to
                                                    to any
                                                       any claims
                                                            claims or or defenses
                                                                         defenses of
                                                                                   of any
                                                                                      any party.
                                                                                           party. Additionally,
                                                                                                  Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REOUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                 overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                discovery outweighs
                                                                           outweighs its
                                                                                      its likely benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                         immune from
                                                                                  from discovery
                                                                                        discovery under
                                                                                                   under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                     doctrine, or
                                                                               or any
                                                                                   any other   privilege,
                                                                                        other privilege,


                                                     -2-
                                                     -2
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immunity, or
immunity, or protection.
             protection. Plaintiff
                         Plaintiff further
                                   further objects
                                           objects to
                                                   to the
                                                      the scope
                                                          scope of
                                                                 of this
                                                                    this Request
                                                                         Request toto the
                                                                                      the extent
                                                                                          extent it seeks
                                                                                                 it seeks
information not
information not relevant
                relevant to
                          to any
                             any claims  or defenses
                                  claims or            of any
                                             defenses of  any party.
                                                               party. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects  to this
                                                                                          objects to  this
Request on
Request on grounds
           grounds that
                    that it
                         it seeks
                            seeks information
                                  information already
                                               already in
                                                        in the
                                                           the possession,
                                                               possession, custody,
                                                                            custody, and/or
                                                                                       and/or control
                                                                                              control ofof
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 6:
REOUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but not limited  to any
                                                                          limited to any Health
                                                                                         Health
Care Provider
Care Provider or
               or DME
                   DME — – who
                           who was
                               was involved
                                   involved in,
                                            in, or
                                                or who
                                                   who You
                                                       You consulted
                                                            consulted in
                                                                      in connection
                                                                         connection with,
                                                                                     with, Your
                                                                                           Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative,      and/or    because      the  burden    or  expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.               its  likely  benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.       2007); Exxon
                                                                                                                             Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since       Plaintiff isis not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REOUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.




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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                        Request asas vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                   expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
The  broad scope
The broad    scope andand unnecessary
                          unnecessary difficulties
                                           difficulties of
                                                        of this
                                                            this Request
                                                                 Request areare compounded
                                                                                 compounded by   by the
                                                                                                     the fact   that
                                                                                                          fact that
Defendant seeks
Defendant   seeks publicly
                     publicly available
                               available materials
                                           materials that
                                                     that are
                                                          are within
                                                               within its  possession, custody,
                                                                       its possession,             and/or control
                                                                                        custody, and/or     control
or are
or are equally
       equally available
                 available to
                            to it.
                                it. Plaintiff
                                    Plaintiff has
                                              has already
                                                  already produced
                                                           produced responsive
                                                                       responsive documents
                                                                                    documents to  to this
                                                                                                     this Request
                                                                                                          Request
for settlement purposes.
for settlement   purposes. Plaintiff
                             Plaintiff further
                                         further objects
                                                 objects to
                                                         to the
                                                             the scope
                                                                 scope ofof this
                                                                            this Request
                                                                                 Request toto the
                                                                                              the extent
                                                                                                   extent it
                                                                                                           it seeks
                                                                                                              seeks
information not
information    not relevant
                    relevant toto any
                                   any claims   or defenses
                                        claims or  defenses of of any
                                                                  any party.
                                                                       party. Plaintiff
                                                                               Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                      matters immune
                                                immune from
                                                          from discovery
                                                                 discovery under
                                                                              under either   the attorney-client
                                                                                     either the   attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                                product doctrine,
                                          doctrine, or
                                                    or any
                                                       any other
                                                            other privilege,
                                                                   privilege, immunity,
                                                                               immunity, or or protection.
                                                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative,      and/or    because      the  burden    or  expense    of  the  discovery     outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.               its  likely  benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                  objects toto this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since       Plaintiff isis not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REQUEST       9: All
                 All Documents
                     Documents in
                                in Your
                                   Your possession,
                                        possession, custody,
                                                    custody, or
                                                              or control
                                                                 control Regarding
                                                                         Regarding Your
                                                                                      Your use
                                                                                           use of
                                                                                               of and
                                                                                                  and
storage of
storage of aa Recalled
              Recalled Device.
                       Device. This
                               This Request
                                    Request includes,
                                            includes, but
                                                      but is
                                                          is not
                                                             not limited to, all
                                                                 limited to, all data
                                                                                 data Regarding
                                                                                      Regarding Your
                                                                                                Your


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                                                               -4
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Recalled Device
Recalled Device from
                from Care
                      Care Orchestrator,
                           Orchestrator, DreamMapper,
                                         DreamMapper, and/or
                                                        and/or EncoreAnywhere,    which we
                                                                EncoreAnywhere, which   we will
                                                                                           will
obtain upon
obtain      your signing
       upon your signing the
                         the attached
                             attached Authorization
                                      Authorization to
                                                    to Disclose
                                                       Disclose Health
                                                                Health Information.
                                                                       Information.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims or
                                                                                                     or defenses
                                                                                                         defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit  the scope
             limit the  scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product              or any
          doctrine, or   any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.


REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request asas vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden oror expense
                                                  expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely  benefit.
                                                                                                  likely benefit.
Plaintiff further objects to the extent that the information sought in this Request is already in
Plaintiff  further objects  to the  extent  that the information   sought   in this  Request   is already      the
                                                                                                            in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control ofof Defendant.
                                               Defendant. Plaintiff
                                                             Plaintiff further   objects to
                                                                        further objects    to this
                                                                                              this Request
                                                                                                     Request on on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” is
                                          is undefined
                                              undefined and
                                                          and that
                                                                that it
                                                                      it is
                                                                         is not   apparent to
                                                                            not apparent     to Plaintiff
                                                                                                  Plaintiff what
                                                                                                             what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards   and what
                                               what information
                                                      information Defendant
                                                                    Defendant seeks
                                                                                 seeks in  this Request
                                                                                        in this  Request that
                                                                                                           that is
                                                                                                                 is
relevant to
relevant  to any
             any claims   or defenses
                  claims or  defenses ofof any
                                           any party.
                                                party. Plaintiff
                                                       Plaintiff further
                                                                 further objects   to this
                                                                          objects to  this Request
                                                                                           Request onon grounds
                                                                                                         grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is   not within
                                                  is not within the
                                                                 the possession,
                                                                     possession, custody,
                                                                                    custody, and/or
                                                                                              and/or control    of
                                                                                                       control of
Plaintiff.
Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff will
                                                                  will submit
                                                                       submit the
                                                                              the SD card from
                                                                                  SD card from his
                                                                                               his
Recalled Device(s).
Recalled Device(s).

REQUEST 11:
REQUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request asas vague,
                                                   vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative,    and/or because   the burden  or  expense  of the discovery  outweighs     its likely
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.     benefit.
Plaintiff further
Plaintiff          objects to
           further objects  to the
                               the scope
                                    scope of
                                           of this
                                              this Request
                                                    Request on
                                                             on grounds
                                                                 grounds that
                                                                          that it
                                                                                it seeks
                                                                                   seeks information
                                                                                           information not
                                                                                                        not
relevant to
relevant  to any
             any claims
                  claims or
                         or defenses
                             defenses of
                                       of any
                                          any party.
                                              party. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                       objects that
                                                                               that the
                                                                                     the term
                                                                                         term "condition"
                                                                                                “condition”


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is undefined.
is             Plaintiff further
   undefined. Plaintiff          objects to
                         further objects to this
                                             this Request
                                                  Request to
                                                          to the
                                                             the extent
                                                                 extent that
                                                                         that the
                                                                              the burden
                                                                                  burden or
                                                                                          or expense
                                                                                             expense of
                                                                                                      of the
                                                                                                         the
requested discovery
requested                outweighs its
            discovery outweighs      its likely   benefit, and/or
                                         likely benefit,   and/or that
                                                                    that the
                                                                          the information
                                                                               information is    already in
                                                                                              is already  in
Defendant’s possession,
Defendant's   possession, custody,
                            custody, and/or
                                      and/or control.
                                               control. Plaintiff
                                                        Plaintiff further
                                                                  further objects
                                                                           objects to
                                                                                    to this
                                                                                       this Request
                                                                                            Request toto the
                                                                                                         the
extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                 provided information
                                            information responsive
                                                          responsive toto this
                                                                           this Request.
                                                                                Request. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                   extent it
                                           it seeks
                                              seeks matters
                                                    matters immune
                                                              immune from
                                                                        from discovery
                                                                               discovery under
                                                                                           under either
                                                                                                  either the
                                                                                                         the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                    the work
                                        work product
                                                product doctrine,
                                                        doctrine, or
                                                                   or any
                                                                      any other
                                                                            other privilege,
                                                                                   privilege, immunity,
                                                                                              immunity, oror
protection.
protection.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMWILSONDEBRA00000001-
                                                         see MMWILSONDEBRA00000001-
        MMWILSONDEBRA00000002.
        MMWILSONDEBRA00000002.

REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REOUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMWILSONDEBRA00000003-
                                                         see MMWILSONDEBRA00000003-



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MMWILSONDEBRA00000005.
MMWILSONDEBRA00000005.

REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request asas vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely   benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties of
                                                                                                   of this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 16:
                                16:



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                                                        -7
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         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                          Request as  as vague,
                                                          vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                               overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                         burden or or expense
                                                       expense of  of the
                                                                      the discovery
                                                                           discovery outweighs
                                                                                        outweighs itsits likely    benefit.
                                                                                                         likely benefit.
Plaintiff further
Plaintiff  further objects
                   objects toto the
                                 the extent
                                     extent this
                                               this Request
                                                     Request seeks
                                                                seeks aa concession
                                                                          concession that
                                                                                        that evidence
                                                                                             evidence of of degradation
                                                                                                             degradation
can be
can  be seen
        seen byby the
                   the naked
                        naked eye.
                                 eye. Plaintiff
                                        Plaintiff further
                                                    further objects
                                                               objects to
                                                                        to this
                                                                            this Request
                                                                                 Request onon grounds
                                                                                                grounds that
                                                                                                           that the
                                                                                                                  the term
                                                                                                                       term
“particulate” and
"particulate"    and "dark
                      “dark matter"
                               matter” areare undefined.
                                                undefined. Plaintiff
                                                                Plaintiff further   objects to
                                                                           further objects    to the
                                                                                                  the use
                                                                                                       use ofof the
                                                                                                                 the term
                                                                                                                       term
“Regarding,” in
"Regarding,"    in this
                   this Request
                        Request on  on grounds
                                        grounds that
                                                   that it
                                                         it is
                                                            is overbroad,
                                                               overbroad, vague,
                                                                             vague, ambiguous,
                                                                                     ambiguous, and and impermissibly
                                                                                                         impermissibly
seeks information
seeks  information notnot relevant
                          relevant to  to any
                                           any claims
                                                 claims oror defenses
                                                               defenses ofof any
                                                                              any party.
                                                                                  party. Plaintiff
                                                                                          Plaintiff further     objects to
                                                                                                     further objects      to
this Request    on  grounds    that  it is  duplicative     of  Request    No.  11. Plaintiff   further
this Request on grounds that it is duplicative of Request No. 11. Plaintiff further objects to this      objects    to  this
Request to
Request    to the
              the extent
                  extent that
                          that the
                                 the burden
                                      burden or  or expense
                                                     expense of  of the
                                                                    the requested
                                                                         requested discovery
                                                                                     discovery outweighs
                                                                                                  outweighs its  its likely
                                                                                                                     likely
benefit, and/or
benefit,  and/or that
                  that the
                       the information
                            information is   is already
                                                already in in Defendant's
                                                               Defendant’s possession,
                                                                               possession, custody,
                                                                                             custody, and/or
                                                                                                        and/or control.
                                                                                                                   control.
Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                        Request to  to the
                                                        the extent
                                                             extent Plaintiff
                                                                      Plaintiff has
                                                                                 has already
                                                                                      already provided
                                                                                                provided information
                                                                                                             information
responsive to
responsive    to this
                 this Request.
                      Request. Plaintiff
                                   Plaintiff further
                                               further objects
                                                         objects toto this
                                                                       this Request
                                                                             Request toto the
                                                                                          the extent
                                                                                               extent it
                                                                                                       it seeks
                                                                                                          seeks matters
                                                                                                                   matters
immune from
immune    from discovery
                 discovery under
                             under either
                                      either the
                                              the attorney-client
                                                   attorney-client privilege
                                                                       privilege and/or
                                                                                  and/or the
                                                                                          the work
                                                                                               work product
                                                                                                     product doctrine,
                                                                                                                 doctrine,
or any
or any other
        other privilege,
               privilege, immunity,
                           immunity, or    or protection.
                                              protection. Plaintiff
                                                              Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent this
                                                                                                            this Request
                                                                                                                   Request
seeks premature
seeks premature expert
                    expert testimony.
                            testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in the recall; and Documents     sufficient  to  show when   and how  You  became
participate in the recall; and Documents sufficient to show when and how You became aware of    aware  of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.




                                                           -8
                                                            8-
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REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely benefit.
                                                                                                  likely benefit.
The  broad  scope   and  unnecessary     difficulties  of this Request     are compounded
The broad scope and unnecessary difficulties of this Request are compounded by the fact that    by  the fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                          further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,   vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information
                                            information notnot relevant
                                                               relevant to to any
                                                                              any claims
                                                                                   claims oror defenses
                                                                                                defenses of
                                                                                                          of any
                                                                                                             any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden or or expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                           its likely benefit.
                                                                                               likely benefit.
The  broad scope
The broad    scope and
                    and unnecessary
                         unnecessary difficulties
                                        difficulties of
                                                      of this
                                                          this Request
                                                                Request are
                                                                          are compounded
                                                                               compounded by by the
                                                                                                 the fact
                                                                                                     fact that
                                                                                                          that
Defendant seeks
Defendant    seeks materials
                   materials that
                              that are
                                   are equally
                                       equally available
                                                 available to
                                                            to it.
                                                               it. Plaintiff
                                                                   Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                             to the
                                                                                                the use
                                                                                                    use of
                                                                                                        of the
                                                                                                           the
terms "Communications"
terms  “Communications” and   and "Acquisition"
                                   “Acquisition” in    this Request
                                                    in this Request on on grounds
                                                                           grounds that
                                                                                    that they
                                                                                         they are
                                                                                              are overbroad,
                                                                                                   overbroad,
vague, ambiguous,
vague,  ambiguous, andand impermissibly     seek information
                           impermissibly seek     information not not relevant  to any
                                                                      relevant to  any claims
                                                                                       claims or
                                                                                               or defenses
                                                                                                  defenses of
                                                                                                            of
any  party.   Plaintiff further  objects to  this Request    to  the extent  it seeks matters
any party. Plaintiff further objects to this Request to the extent it seeks matters immune fromimmune    from
discovery under
discovery   under either  the attorney-client
                   either the attorney-client privilege
                                                privilege and/or
                                                           and/or the
                                                                   the work
                                                                        work product
                                                                              product doctrine,  or any
                                                                                       doctrine, or any other
                                                                                                         other
privilege, immunity,
privilege, immunity, or or protection.
                           protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REOUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request  includes but
                                                                           but is
                                                                                is not
                                                                                   not limited  to the
                                                                                        limited to the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in  Paragraphs
                                                                                         in Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring C CSAC.
                                       SAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


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Plaintiff further
Plaintiff           objects to
           further objects    to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                              discovery under
                                                                                                                         under
either the
either   the attorney-client
              attorney-client privilege
                                    privilege and/or
                                                   and/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                       doctrine, or or any
                                                                                                         any other
                                                                                                              other privilege,
                                                                                                                     privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                               objects to
                                                                                                                        to this
                                                                                                                            this
Request on
Request    on grounds
               grounds that
                          that it
                                it violates
                                   violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                     Plaintiff further
                                                                                                further objects
                                                                                                          objects to
                                                                                                                  to the
                                                                                                                     the scope
                                                                                                                         scope
of this
of  this Request
          Request to to the
                        the extent
                             extent it  it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant to to any
                                                                                           any claims
                                                                                                 claims or or defenses  of any
                                                                                                              defenses of   any
party. A
party.  A claim
           claim for
                   for medical
                        medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition atat issue.  See
                                                                                                                    issue. See
e.g. Bower
e.g. Bower v. v. Westinghouse
                 Westinghouse Elec.  Elec. Corp.,
                                             Corp., 522522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430        (W.Va. 1999)
                                                                                             1999) (citations
                                                                                                      (citations omitted)
                                                                                                                 omitted) (the
                                                                                                                            (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur
                                                                                   incur the
                                                                                          the cost
                                                                                                cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                        Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716716 (Mo.
                                                         (Mo. 2007);
                                                                 2007); Exxon
                                                                          Exxon Mobil
                                                                                    Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,      A.3d 30,
                                                                                                                   71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.             (exposure itself
               2013) (exposure        itself and
                                               and the
                                                     the need
                                                          need for    medical testing
                                                                 for medical     testing is is the
                                                                                               the compensable
                                                                                                   compensable injury
                                                                                                                    injury in
                                                                                                                            in aa
medical monitoring
medical    monitoring claim);        Sadler v.
                         claim); Sadler            PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340    P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                  (Nev. 2014)
                                                                                                                         2014)
(inquiry is
(inquiry   is whether
              whether thethe negligent
                              negligent act  act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                 medical need
                                                                                                                           need
to undergo
to undergo monitoring);
               monitoring); Potter
                                 Potter v.      Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co.,      863 P.2d
                                                                                    Co., 863    P.2d 795,
                                                                                                       795, 823   (Cal. 1993).
                                                                                                             823 (Cal.  1993).
Plaintiff has
Plaintiff  has not
                not waived
                     waived thethe physician-patient
                                     physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                        medical condition
                                                                                                  condition for    his medical
                                                                                                               for his medical
monitoring claims
monitoring     claims inin this
                            this case
                                  case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming
                                                                       claiming present
                                                                                    present physical
                                                                                               physical injury
                                                                                                           injury in
                                                                                                                  in this
                                                                                                                     this case.
                                                                                                                          case.
The   injury that
The injury    that Plaintiff
                    Plaintiff claims
                                claims is  is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease and
                                                                                                                  and medical
                                                                                                                       medical
necessity of
necessity    of diagnostic
                diagnostic testing
                               testing and and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                     and class
                                                                                                                          class
members base
members     base their
                  their claims
                         claims onlyonly onon their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                      the proven
                                                                                          proven hazardous
                                                                                                    hazardous Foam
                                                                                                                 Foam Toxins
                                                                                                                        Toxins
released by
released   by PE-PUR
               PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REQUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed   to  You   by   a Health   Care   Provider  relating  to  the  “subcellular
prescribed to You by a Health Care Provider relating to the "subcellular injury or other  injury  or  other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination; biopsies;
examination;    biopsies; pathologic,
                           pathologic, histologic,
                                        histologic, and
                                                    and oncologic
                                                         oncologic evaluations;
                                                                     evaluations; oncologic,
                                                                                   oncologic, histologic,
                                                                                                histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it
                                                              it seeks
                                                                 seeks matters
                                                                        matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other     privilege,
                                                                                                  other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See



                                                             -- 10
                                                                10
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e.g. Bower
e.g.  Bower v.v. Westinghouse     Elec. Corp.,
                 Westinghouse Elec.      Corp., 522522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430     (W.Va. 1999)
                                                                                     1999) (citations   omitted) (the
                                                                                             (citations omitted)   (the
injury in
injury  in question
           question isis the
                         the increase
                             increase in in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                        to incur
                                                                            incur the
                                                                                  the cost
                                                                                       cost of
                                                                                             of monitoring);
                                                                                                monitoring); Meyer
                                                                                                               Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220    S.W.3d 712,
                                   712, 714,     716 (Mo.
                                          714, 716      (Mo. 2007);
                                                               2007); Exxon
                                                                       Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.               71 A.3d
                                                                                                   Albright, 71
                                                                                               v. Albright,       A.3d
30, 75-77
30,  75-77 (Md.
            (Md. 2013)     (exposure itself
                   2013) (exposure              and the
                                        itself and     the need
                                                           need for
                                                                  for medical
                                                                      medical testing
                                                                                testing is
                                                                                        is the
                                                                                            the compensable
                                                                                                compensable injury
                                                                                                                injury
in aa medical
in    medical monitoring
                monitoring claim);
                              claim); Sadler
                                        Sadler v.     PacifiCare of
                                                  v. PacifiCare     of Nev.,  Inc., 340
                                                                       Nev., Inc.,       P.3d, 264,
                                                                                    340 P.3d,    264, 1270-72
                                                                                                      1270-72 (Nev.
                                                                                                                 (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                               the negligent
                                    negligent act act of
                                                       of the
                                                          the defendant
                                                               defendant caused
                                                                           caused the
                                                                                    the plaintiff
                                                                                        plaintiff to
                                                                                                   to have
                                                                                                      have aa medical
                                                                                                              medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                      Potter v.    Firestone Tire
                                                v. Firestone     Tire && Rubber     Co., 863
                                                                          Rubber Co.,           P.2d 795,
                                                                                         863 P.2d     795, 823
                                                                                                            823 (Cal.
                                                                                                                  (Cal.
1993).
1993).   Plaintiff
         Plaintiff has  not  waived   the   physician-patient      privilege  as to  any medical    condition
                   has not waived the physician-patient privilege as to any medical condition for his          for  his
medical monitoring
medical   monitoring claims
                        claims inin this
                                    this case
                                          case since
                                                since Plaintiff
                                                         Plaintiff is
                                                                   is not
                                                                      not claiming
                                                                          claiming present
                                                                                     present physical
                                                                                              physical injury
                                                                                                         injury in
                                                                                                                in this
                                                                                                                   this
case. The
case.        injury that
       The injury    that Plaintiff
                           Plaintiff claims
                                      claims is  is the
                                                     the significant
                                                          significant exposure,
                                                                       exposure, increased
                                                                                    increased risk
                                                                                                 risk of
                                                                                                      of disease
                                                                                                          disease and
                                                                                                                   and
medical necessity
medical   necessity ofof diagnostic
                          diagnostic testing
                                       testing andand the
                                                        the economic
                                                             economic loss
                                                                        loss associated
                                                                              associated therewith.
                                                                                           therewith. Plaintiff
                                                                                                         Plaintiff and
                                                                                                                   and
class members
class  members base
                  base their
                        their claims
                               claims only
                                        only onon their
                                                    their significant
                                                           significant exposure
                                                                        exposure toto the
                                                                                      the proven
                                                                                           proven hazardous
                                                                                                    hazardous Foam
                                                                                                                 Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foam foam in in the
                                              the Recalled
                                                   Recalled Devices.
                                                                Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,      and other
                                                                                 endoscopies, and    other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                           Request as  as vague,
                                                            vague, unduly
                                                                     unduly burdensome,
                                                                               burdensome, overbroad,
                                                                                                overbroad, irrelevant,
                                                                                                               irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the the burden
                                          burden or or expense
                                                        expense of of the
                                                                       the discovery
                                                                            discovery outweighs
                                                                                         outweighs itsits likely   benefit.
                                                                                                          likely benefit.
Plaintiff further
Plaintiff          objects to
           further objects    to this
                                 this Request
                                        Request to to the
                                                      the extent
                                                           extent it
                                                                   it seeks
                                                                      seeks matters
                                                                             matters immune
                                                                                       immune from
                                                                                                 from discovery
                                                                                                        discovery under
                                                                                                                      under
either the
either  the attorney-client
              attorney-client privilege
                                   privilege and/or
                                                and/or thethe work
                                                                work product
                                                                       product doctrine,
                                                                                  doctrine, oror any
                                                                                                  any other     privilege,
                                                                                                        other privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                  including physician-patient
                                                physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                    Plaintiff further
                                                                                               further objects
                                                                                                         objects to to this
                                                                                                                        this
Request on
Request    on grounds
               grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                              Plaintiff’s right
                                                            right to
                                                                  to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                   objects toto the
                                                                                                                the scope
                                                                                                                      scope
of this
of  this Request
         Request to to the
                        the extent
                             extent it it seeks
                                          seeks information
                                                  information not not relevant
                                                                        relevant to
                                                                                  to any
                                                                                      any claims
                                                                                           claims oror defenses
                                                                                                        defenses of of any
                                                                                                                        any
party. A
party.  A claim
           claim for
                  for medical
                       medical monitoring
                                   monitoring costscosts does
                                                          does not
                                                                 not put
                                                                      put present
                                                                           present physical
                                                                                    physical condition
                                                                                               condition at at issue.   See
                                                                                                               issue. See
e.g.  Bower   v. Westinghouse       Elec.   Corp.,   522  S.E.2d   424,430    (W.Va.    1999)  (citations
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the            omitted)    (the
injury in
injury  in question
            question isis the
                          the increase
                               increase in  in risk
                                               risk that
                                                     that requires
                                                           requires one
                                                                      one to
                                                                           to incur  the cost
                                                                              incur the   cost of
                                                                                               of monitoring);
                                                                                                   monitoring); Meyer
                                                                                                                    Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220     S.W.3d 712, 712, 714,
                                             714, 716
                                                   716 (Mo.      2007); Exxon
                                                         (Mo. 2007);      Exxon Mobil
                                                                                  Mobil Corp.
                                                                                          Corp. v.   Albright, 71
                                                                                                  v. Albright,         A.3d
                                                                                                                  71 A.3d
30, 75-77
30,  75-77 (Md.
             (Md. 2013)     (exposure itself
                   2013) (exposure                and the
                                           itself and   the need
                                                              need for   medical testing
                                                                    for medical   testing is
                                                                                           is the
                                                                                              the compensable
                                                                                                   compensable injuryinjury
in aa medical
in    medical monitoring
                 monitoring claim);
                               claim); Sadler
                                           Sadler v.   PacifiCare of
                                                    v. PacifiCare     of Nev.,  Inc., 340
                                                                          Nev., Inc.,       P.3d, 264,
                                                                                       340 P.3d,   264, 1270-72
                                                                                                         1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether     the negligent
                                       negligent actact of
                                                        of the
                                                             the defendant
                                                                 defendant caused
                                                                              caused the
                                                                                       the plaintiff
                                                                                           plaintiff to
                                                                                                     to have
                                                                                                         have aa medical
                                                                                                                  medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); PotterPotter v.   Firestone Tire
                                                  v. Firestone     Tire &              Co., 863
                                                                             Rubber Co.,
                                                                         & Rubber                 P.2d 795,
                                                                                            863 P.2d     795, 823
                                                                                                                823 (Cal.
                                                                                                                       (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                               waived the the physician-patient
                                               physician-patient privilege
                                                                      privilege as
                                                                                 as to
                                                                                    to any
                                                                                        any medical
                                                                                            medical condition
                                                                                                       condition for     his
                                                                                                                    for his
medical monitoring
medical    monitoring claims
                         claims in     this case
                                   in this        since Plaintiff
                                             case since   Plaintiff is
                                                                     is not claiming present
                                                                        not claiming    present physical
                                                                                                 physical injury
                                                                                                            injury in   this
                                                                                                                     in this
case. The
case.  The injury     that Plaintiff
             injury that    Plaintiff claims
                                         claims is    the significant
                                                   is the   significant exposure,      increased risk
                                                                          exposure, increased            of disease
                                                                                                   risk of   disease andand



                                                           - 11
                                                           -11
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 596 of 654




medical necessity
medical necessity of
                  of diagnostic  testing and
                     diagnostic testing   and the
                                              the economic
                                                   economic loss   associated therewith.
                                                              loss associated therewith. Plaintiff
                                                                                         Plaintiff and
                                                                                                   and
class members
class members base
               base their
                    their claims
                          claims only
                                  only on
                                        on their
                                           their significant
                                                 significant exposure
                                                             exposure to
                                                                       to the
                                                                          the proven
                                                                              proven hazardous
                                                                                     hazardous Foam
                                                                                                Foam
Toxins released by
Toxins released by PE-PUR
                   PE-PUR foam     in the
                             foam in   the Recalled
                                           Recalled Devices.
                                                     Devices.

REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs   26-88 of the
Paragraphs 26-88 of the   Medical
                          Medical Monitoring  CSAC.
                                  Monitoring CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                     this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request   on  grounds    that  it  violates     Plaintiff’s  right to  privacy.    Plaintiff   further
Request on grounds that it violates Plaintiffs right to privacy. Plaintiff further objects to the scope   objects   to the scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                    monitoring costs costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                  case since       Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense of
                                                        of the
                                                            the discovery
                                                                 discovery outweighs
                                                                            outweighs its
                                                                                        its likely benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it seeks matters
                                                        it seeks  matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                     under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other
                                                                                          other privilege,
                                                                                                 privilege,
immunity, or
immunity,    or protection,
                protection, including
                             including physician-patient
                                        physician-patient privilege.
                                                             privilege. Plaintiff
                                                                        Plaintiff further
                                                                                  further objects
                                                                                           objects to
                                                                                                    to this
                                                                                                       this



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 597 of 654




Request on
Request   on grounds
              grounds that
                         that it  violates Plaintiff's
                               it violates    Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                    privacy. Plaintiff
                                                                               Plaintiff further
                                                                                           further objects  to the
                                                                                                    objects to the scope
                                                                                                                   scope
of this
of this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party. A claim
          claim for   medical monitoring
                  for medical      monitoring costscosts does   not put
                                                          does not   put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,      522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                1999) (citations
                                                                             (W.Va. 1999)                  omitted) (the
                                                                                                (citations omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur   the cost
                                                                              incur the    cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716     (Mo. 2007);
                                                  716 (Mo.            Exxon Mobil
                                                              2007); Exxon     Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure       itself and
                                             and the
                                                   the need   for medical
                                                        need for   medical testing
                                                                            testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                        claim); Sadler           PacifiCare ofNev.,
                                              v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,Co., 863    P.2d 795,
                                                                                    863 P.2d     795, 823
                                                                                                       823 (Cal.  1993).
                                                                                                            (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case    since Plaintiff
                                 case since      Plaintiff is
                                                            is not
                                                               not claiming    present physical
                                                                   claiming present       physical injury
                                                                                                     injury in this case.
                                                                                                            in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is     the significant
                                         is the   significant exposure,
                                                                exposure, increased
                                                                            increased risk      of disease
                                                                                          risk of           and medical
                                                                                                   disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing        and thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims     only on
                        claims only      on their
                                             their significant
                                                    significant exposure
                                                                 exposure to to the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.


REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff  objects to to this
                                   this Request
                                           Request as  as vague,
                                                           vague, unduly
                                                                     unduly burdensome,
                                                                                burdensome, overbroad,
                                                                                                   overbroad, irrelevant,
                                                                                                                   irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the  the burden
                                         burden or  or expense
                                                        expense of of the
                                                                       the discovery
                                                                             discovery outweighs
                                                                                          outweighs its   its likely  benefit.
                                                                                                              likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                       Request to  to the
                                                      the extent
                                                          extent it   seeks matters
                                                                   it seeks   matters immune
                                                                                        immune from from discovery
                                                                                                            discovery under
                                                                                                                        under
either the
either  the attorney-client
             attorney-client privilege
                                  privilege and/or
                                                 and/or the
                                                         the work
                                                               work product
                                                                        product doctrine,
                                                                                  doctrine, or  or any
                                                                                                     any other
                                                                                                            other privilege,
                                                                                                                    privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                 including physician-patient
                                                 physician-patient privilege.
                                                                        privilege. Plaintiff
                                                                                     Plaintiff further
                                                                                                  further objects
                                                                                                             objects toto this
                                                                                                                           this
Request on
Request   on grounds
              grounds that
                        that it
                              it violates
                                 violates Plaintiffs
                                              Plaintiff’s right
                                                           right to
                                                                 to privacy.
                                                                     privacy. Plaintiff
                                                                                Plaintiff further
                                                                                            further objects
                                                                                                       objects toto the
                                                                                                                    the scope
                                                                                                                        scope
of this
of this Request
         Request toto the
                      the extent
                           extent it  it seeks
                                         seeks information
                                                  information not not relevant
                                                                        relevant toto any
                                                                                      any claims
                                                                                             claims or or defenses
                                                                                                            defenses ofof any
                                                                                                                           any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                      put present
                                                                           present physical
                                                                                     physical condition
                                                                                                 condition at   at issue.
                                                                                                                   issue. See
                                                                                                                           See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.         Corp., 522
                                   Elec. Corp.,      522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430                 1999) (citations
                                                                               (W.Va. 1999)                     omitted) (the
                                                                                                  (citations omitted)      (the
injury in
injury  in question  is the
           question is   the increase
                              increase in  in risk
                                               risk that
                                                     that requires
                                                          requires oneone toto incur  the cost
                                                                               incur the    cost of
                                                                                                  of monitoring);
                                                                                                      monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712, 712, 714,
                                          714, 716     (Mo. 2007);
                                                  716 (Mo.             Exxon Mobil
                                                              2007); Exxon      Mobil Corp.
                                                                                         Corp. v.   Albright, 71
                                                                                                v. Albright,         A.3d 30,
                                                                                                                  71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure        itself and
                                             and the
                                                   the need   for medical
                                                        need for   medical testing
                                                                              testing isis the
                                                                                           the compensable
                                                                                               compensable injury  injury in
                                                                                                                           in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                       claim); Sadler            PacifiCare ofNev.,
                                              v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                          Inc., 340  P.3d, 264,
                                                                                             264, 1270-72
                                                                                                     1270-72 (Nev.
                                                                                                                 (Nev. 2014)
                                                                                                                        2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act  act ofof the
                                                    the defendant
                                                         defendant caused       the plaintiff
                                                                       caused the    plaintiff toto have
                                                                                                     have aa medical
                                                                                                               medical need
                                                                                                                          need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.      Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                     Rubber Co.,Co., 863    P.2d 795,
                                                                                     863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                 (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                   physician-patient privilege
                                                           privilege as as to
                                                                           to any
                                                                              any medical
                                                                                   medical condition
                                                                                              condition for       his medical
                                                                                                             for his  medical
monitoring claims
monitoring    claims in
                      in this
                          this case     since Plaintiff
                                case since       Plaintiff is
                                                            is not
                                                               not claiming     present physical
                                                                    claiming present       physical injury
                                                                                                        injury in   this case.
                                                                                                                 in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is      the significant
                                         is the   significant exposure,
                                                                exposure, increased
                                                                              increased risk     of disease
                                                                                           risk of    disease andand medical
                                                                                                                      medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing        and thethe economic
                                                     economic loss       associated therewith.
                                                                  loss associated      therewith. Plaintiff
                                                                                                        Plaintiff and
                                                                                                                    and class
                                                                                                                         class



                                                             -- 13
                                                                13
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 598 of 654




members base
members   base their
               their claims
                     claims only
                            only on
                                 on their
                                    their significant
                                          significant exposure
                                                      exposure to
                                                               to the
                                                                  the proven
                                                                      proven hazardous
                                                                             hazardous Foam
                                                                                       Foam Toxins
                                                                                            Toxins
released by
released by PE-PUR
            PE-PUR foam     in the
                       foam in the Recalled
                                   Recalled Devices.
                                             Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding anyany and
                                                               and all
                                                                   all additional
                                                                       additional diagnosed
                                                                                  diagnosed medical
                                                                                              medical
conditions or injuries suffered within  the last 10 years  and any medications or treatments that You
conditions or injuries suffered within the last 10 years and any medications or treatments that You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d     424,430 (W.Va.
                                                            S.E.2d 424,430                   1999) (citations
                                                                                  (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                     exposure to  to the
                                                                                     the proven
                                                                                          proven hazardous
                                                                                                    hazardous FoamFoam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REOUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                      vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense of
                                                             of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                 outweighs its its likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it seeks matters
                                                             it seeks  matters immune
                                                                               immune fromfrom discovery
                                                                                                 discovery under
                                                                                                             under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                         privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                  privilege. Plaintiff
                                                                             Plaintiff further
                                                                                        further objects
                                                                                                  objects toto this
                                                                                                               this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                      right to
                                                            to privacy.
                                                                privacy. Plaintiff
                                                                         Plaintiff further
                                                                                   further objects
                                                                                            objects toto the
                                                                                                         the scope
                                                                                                             scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information not
                                                            not relevant
                                                                  relevant to
                                                                           to any
                                                                              any claims
                                                                                    claims oror defenses
                                                                                                 defenses ofof any
                                                                                                               any



                                                              -- 14
                                                                 14
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 599 of 654




party. A
party. A claim
          claim for
                  for medical
                      medical monitoring
                                  monitoring costscosts does
                                                         does not
                                                               not put
                                                                    put present
                                                                        present physical
                                                                                   physical condition
                                                                                              condition atat issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                   Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                         S.E.2d 424,430                1999) (citations
                                                                            (W.Va. 1999)                  omitted) (the
                                                                                               (citations omitted)   (the
injury in
injury in question
           question isis the
                         the increase
                               increase inin risk
                                              risk that
                                                    that requires
                                                         requires one
                                                                    one to
                                                                         to incur   the cost
                                                                             incur the    cost of
                                                                                               of monitoring);
                                                                                                  monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                         714, 716     (Mo. 2007);
                                                 716 (Mo.            Exxon Mobil
                                                            2007); Exxon      Mobil Corp.
                                                                                       Corp. v.  Albright, 71
                                                                                              v. Albright,     A.3d 30,
                                                                                                            71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure       itself and
                                            and the
                                                  the need   for medical
                                                       need for   medical testing
                                                                           testing is is the
                                                                                         the compensable
                                                                                             compensable injury
                                                                                                             injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);       Sadler v.
                        claim); Sadler          PacifiCare ofNev.,
                                             v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                       Inc., 340   P.3d, 264,
                                                                                           264, 1270-72
                                                                                                 1270-72 (Nev.
                                                                                                           (Nev. 2014)
                                                                                                                  2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent actact ofof the
                                                   the defendant
                                                        defendant caused
                                                                    caused thethe plaintiff
                                                                                   plaintiff to
                                                                                              to have
                                                                                                 have aa medical
                                                                                                          medical need
                                                                                                                    need
to undergo    monitoring);      Potter   v.  Firestone    Tire  &  Rubber     Co., 863    P.2d
to undergo monitoring); Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823 (Cal. 1993).   795,  823  (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                   physician-patient privilege
                                                          privilege as
                                                                     as to
                                                                        to any
                                                                           any medical
                                                                                 medical condition
                                                                                            condition for   his medical
                                                                                                        for his medical
monitoring claims
monitoring    claims inin this
                           this case   since Plaintiff
                                 case since     Plaintiff is
                                                          is not
                                                              not claiming    present physical
                                                                  claiming present       physical injury
                                                                                                    injury in this case.
                                                                                                           in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is    the significant
                                        is the   significant exposure,
                                                               exposure, increased
                                                                           increased risk     of disease
                                                                                         risk of           and medical
                                                                                                  disease and   medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing       and thethe economic
                                                    economic loss     associated therewith.
                                                                 loss associated     therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                              and class
                                                                                                                   class
members base
members    base their
                 their claims     only on
                        claims only     on their
                                            their significant
                                                   significant exposure
                                                                exposure to to the
                                                                               the proven
                                                                                    proven hazardous
                                                                                             hazardous Foam
                                                                                                          Foam Toxins
                                                                                                                 Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                          Recalled Devices.
                                                      Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                            Regarding the
                                                        the costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations for
consultations   for the
                    the early
                        early detection
                              detection of
                                        of illness,
                                           illness, disease,
                                                    disease, and
                                                              and disease
                                                                   disease processes"
                                                                            processes” as
                                                                                        as described
                                                                                           described in
                                                                                                      in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                   All Communications
                       Communications Regarding
                                      Regarding (i)
                                                (i) any
                                                    any CPAP,
                                                         CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator  device  manufactured or marketed by Philips; (ii) a Recalled
ventilator device manufactured or marketed by Philips; (ii) a Recalled   Device;
                                                                         Device;  or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.



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                                                             15
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request as as vague,
                                                     vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, attorney
cumulative,    attorney client
                         client and
                                 and attorney
                                      attorney work
                                                 work product
                                                       product privilege,
                                                                 privilege, and/or
                                                                              and/or because
                                                                                      because thethe burden
                                                                                                      burden oror
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already  been   provided   by  Plaintiff.
already been provided by Plaintiff.       Plaintiff
                                          Plaintiff further objects   to this  Request  to the   extent it
                                                    further objects to this Request to the extent it seeks seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many ofof Defendant's
                              Defendant’s Requests.
                                             Requests.

    Without waiving
    Without waiving and
                    and subject
                        subject to
                                to these
                                   these objections,
                                         objections, see MMWILSONDEBRA00000003-
                                                     see MMWILSONDEBRA00000003-
MMWILSONDEBRA00000005.
MMWILSONDEBRA00000005.

REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any Philips entity.
or any Philips entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST 32: All
            All Documents
                Documents and
                          and Communications
                              Communications with
                                             with Your
                                                  Your insurance
                                                       insurance provider
                                                                 provider or
                                                                          or broker
                                                                             broker



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                                                          16
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Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already  been   provided by  Plaintiff.
already been provided by Plaintiff.     Plaintiff
                                        Plaintiff further  objects   to this Request on grounds   that it
                                                  further objects to this Request on grounds that it seeksseeks
matters immune
matters             from discovery
          immune from                   under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REOUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                               device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents
all Documents Regarding
              Regarding that
                         that replacement
                              replacement device,
                                           device, including  but not
                                                    including but not limited to receipts,
                                                                      limited to receipts, insurance
                                                                                           insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to  this Request
                                    Request on
                                             on grounds  that it
                                                grounds that  it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other     privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that   information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.



                                                     -- 17
                                                        17
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REQUEST 35:
REOUEST     35: All
                All Documents
                    Documents Regarding
                                Regarding the
                                           the "express
                                               “express warranty"
                                                        warranty” or
                                                                  or "warranties"
                                                                     “warranties” referenced
                                                                                     referenced in
                                                                                                in
Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                               CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 36:
REQUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden oror expense
                                 expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request asas premature
                             premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed   with  the assistance of experts.
and developed with the assistance of experts.     Plaintiff
                                                  Plaintiff will adhere to the Court’s  scheduling   Order,
                                                            will adhere to the Court's scheduling Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                              Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                 this Request
                                      Request as  as vague,
                                                     vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                   expense ofof the
                                                the discovery
                                                    discovery outweighs
                                                                  outweighs its
                                                                             its likely
                                                                                 likely benefit.
                                                                                         benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to
objects to this
            this Request
                  Request as
                           as it  seeks aa premature
                               it seeks    premature legal
                                                        legal concession
                                                              concession by by calling
                                                                                 calling for
                                                                                          for aa legal conclusion.
                                                                                                 legal conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                    Request toto the
                                                 the extent
                                                      extent it
                                                             it seeks
                                                                 seeks matters
                                                                       matters immune
                                                                                 immune from
                                                                                           from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                   product doctrine,
                                                                           doctrine, or or any
                                                                                            any other     privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                         further objects
                                                   objects to
                                                            to this
                                                                 this Request
                                                                      Request asas premature
                                                                                    premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto be
                                  be elicited
                                     elicited from
                                              from and
                                                     and developed
                                                          developed with
                                                                       with the
                                                                            the assistance
                                                                                  assistance of
                                                                                              of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                             Order, the
                                                     the Federal
                                                         Federal Rules
                                                                    Rules of
                                                                          of Civil
                                                                              Civil Procedure,
                                                                                     Procedure, andand the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding thethe disclosure
                                       disclosure ofof expert
                                                       expert testimony
                                                                testimony and
                                                                           and evidence.
                                                                                  evidence.



                                                       -- 18
                                                          18
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REQUEST 38:
REOUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request to
                                          to the
                                             the extent
                                                 extent it
                                                        it seeks
                                                           seeks matters
                                                                 matters immune
                                                                          immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other
                                                                                          other privilege,
                                                                                                  privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties     of this
                                                                       difficulties of  this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact that Defendant
                      fact that  Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative,    and/or  because    the  burden   or  expense   of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. its  likely  benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                               under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects to to the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses of of any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at  at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                         (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.    2007); Exxon
                                                                  Exxon Mobil
                                                                          Mobil Corp.
                                                                                 Corp. v.  Albright, 71
                                                                                        v. Albright,        A.3d 30,
                                                                                                        71 A.3d   30,



                                                       -- 19
                                                          19
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75-77  (Md. 2013)
75-77 (Md.    2013) (exposure
                     (exposure itself
                                   itself and
                                           and the
                                                 the need
                                                     need for
                                                            for medical
                                                                 medical testing
                                                                          testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                          injury in
                                                                                                                 in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                        (Nev. 2014)
                                                                                                               2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                       medical need
                                                                                                                need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber
                                                                  Rubber Co.,    863 P.2d
                                                                            Co., 863    P.2d 795,
                                                                                              795, 823
                                                                                                   823 (Cal.  1993).
                                                                                                        (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for  his medical
                                                                                                     for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                       physical injury
                                                                                                 injury in
                                                                                                        in this
                                                                                                           this case.
                                                                                                                case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased risk
                                                                                       risk of
                                                                                            of disease
                                                                                               disease and
                                                                                                        and medical
                                                                                                             medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                 Plaintiff and
                                                                                                           and class
                                                                                                                class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                       Foam Toxins
                                                                                                              Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                       /s/ Kelly
                                                            /s/ Kelly K
                                                                      K. Iverson
                                                                         Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                                Kelly K.
                                                            Kelly  K. Iverson,
                                                                      Iverson, Esquire
                                                                                Esquire
 LEVIN SEDRAN & BERMAN
 LEVIN    SEDRAN     &         LLP
                       BERMAN LLP                           LYNCH      CARPENTER,
                                                            LYNCH CARPENTER, LLP         LLP
                                                                                   th
 510  Walnut Street,
 510 Walnut  Street, Suite
                     Suite 500
                           500                              1133 Penn
                                                            1133  Penn Avenue,
                                                                        Avenue, 55th Floor
                                                                                      Floor
 Philadelphia, PA
 Philadelphia, PA 19106
                  19106                                     Pittsburgh, PA
                                                            Pittsburgh,  PA 15222
                                                                             15222
 (215)592-1500
 (215)592-1500 (phone)
                (phone)                                     (412) 322-9243
                                                            (412) 322-9243 (phone)
                                                                              (phone)
 (215)592-4633
 (215)592-4633 (fax)
                (fax)                                       kelly@lcllp.com
                                                            kelly@lcllp.com
 sduggan@lfsblaw.com
 sduggan@lfsblaw.com

 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                                  /s/ Steven
                                                            /s/ Steven A.
                                                                       A. Schwartz
                                                                          Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                           Steven  A. Schwartz,
                                                            Steven A.  Schwartz, Esquire
                                                                                 Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                    CHIMICLES       SCHWARTZ 'MINER
                                                            CHIMICLES SCHWARTZ           KRINER &
                                                                                                &
                        th
 55  Challenger Road,
 55 Challenger  Road, 66th Floor
                           Floor                            DONALDSON-SMITH LLP
                                                            DONALDSON-SMITH          LLP
 Ridgefield Park,
 Ridgefield  Park, NJ
                   NJ 07660
                      07660                                 361  West Lancaster
                                                            361 West             Avenue
                                                                       Lancaster Avenue
 (973)
 (973) 639-9100   (phone)
       639-9100 (phone)                                     One Haverford
                                                            One   Haverford Centre
                                                                            Centre
 cseeger@seegerweiss.com
 cseeger@seegerweiss.com                                    Haverford, PA
                                                            Haverford,  PA 19041
                                                                            19041
                                                            (610)
                                                            (610) 642-8500   (phone)
                                                                   642-8500 (phone)
                                                            steveschwartz@chimicles.com
                                                            steveschwartz@chimicles.com


                                     Counsel for Plaintiffs
                                     Counselfor  Plaintiffs and
                                                            and the
                                                                the Class
                                                                    Class




                                                        -- 20
                                                           20
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                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

DEBRA WILSON'S
DEBRA WILSON’S AMENDED
               AMENDED RESPONSES
                       RESPONSES AND
                                 AND OBJECTIONS
                                     OBJECTIONS TO PHILIPS RS'
                                                TO PHILIPS RS’ FIRST
                                                               FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic
               electronic mail
                          mail on
                               on the
                                  the following
                                      following recipients:
                                                recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
                           MORGAN,    LEWIS &
                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
                                                           LLP
                                    1701 Market
                                    1701 Market Street
                                                 Street
                              Philadelphia, PA
                              Philadelphia, PA 19103-2921
                                                19103-2921
                                      T 215.963.5000
                                      T 215.963.5000
                             john.lavelle@morganlewis.com
                             john.lavelle@morganlewis.com

                                 Wendy West
                                 Wendy         Feinstein
                                          West Feinstein
                           MORGAN,   LEWIS &
                           MORGAN, LEWIS     & BOCKIUS
                                                BOCKIUS LLP  LLP
                             One Oxford
                             One  Oxford Center,
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                                                       Philips
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                                   RS North America,
                                             America, LLC
                                                      LLC

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                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
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                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
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                    EXHIBIT Z
                    EXHIBIT Z
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                  IN
                  IN THE UNITED STATES
                     THE UNITED STATES DISTRICT
                                       DISTRICT COURT
                                                COURT
               FOR
               FOR THE WESTERN DISTRICT
                   THE WESTERN  DISTRICT OF
                                         OF PENNSYLVANIA
                                            PENNSYLVANIA


                                               )
IN RE: PHILIPS
IN RE:         RECALLED CPAP,
       PHILIPS RECALLED  CPAP, BI-LEVEL
                               BI-LEVEL        )
PAP, AND MECHANICAL
         MECHANICAL VENTILATOR
                       VENTILATOR              )
PAP, AND                                         Case No. 2:21-mc-1230-JFC
                                                 Case No. 2:21-mc-1230-JFC
PRODUCTS   LIABILITY LITIGATION
                     LITIGATION                )
PRODUCTS LIABILITY                               MDL  No. 3014
                                                 MDL No.   3014
                                               )
THIS  DOCUMENT RELATES
                   RELATES TO:
                             TO: All
                                 All Actions
                                     Actions   )
THIS DOCUMENT                                    Honorable Joy
                                                 Honorable  Joy Flowers
                                                                Flowers Conti
                                                                        Conti
Asserting Medical
Asserting Medical Monitoring
                  Monitoring                   )
                                               )
                                               )
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PLAINTIFF JIM WOLFF'S
PLAINTIFF JIM WOLFF’S SECOND
                       SECOND AMENDED
                                AMENDED RESPONSES
                                        RESPONSES AND
                                                  AND OBJECTIONS
                                                      OBJECTIONS TO
                                                                 TO
              PHILIPS RS’ FIRST
              PHILIPS RS'       REQUEST FOR
                          FIRST REQUEST     PRODUCTION
                                        FOR PRODUCTION
          OF DOCUMENTS
          OF DOCUMENTS TO TO MEDICAL MONITORING PLAINTIFFS
                             MEDICAL MONITORING  PLAINTIFFS


REQUEST 1:
REQUEST      1: Documents
                Documents sufficient
                           sufficient to
                                      to show
                                         show the
                                               the model
                                                   model name,
                                                          name, model
                                                                model number,
                                                                       number, and
                                                                                 and serial
                                                                                     serial number
                                                                                            number
of each
of each and
        and every
            every Recalled
                  Recalled Device
                           Device You
                                   You Acquired,
                                         Acquired, the
                                                   the date
                                                       date on
                                                            on which
                                                               which You
                                                                     You Acquired
                                                                          Acquired it,
                                                                                    it, and
                                                                                        and the
                                                                                            the date
                                                                                                date
on which
on which You
          You no
               no longer had possession
                  longer had possession of
                                         of the
                                            the Recalled
                                                Recalled Device
                                                         Device (if
                                                                (if applicable).
                                                                    applicable).

AMENDED RESPONSE
AMENDED RESPONSE TO REQUEST NO.
                 TO REQUEST NO. 1:
                                1:

        Plaintiff Jim
        Plaintiff     Wolff ("Plaintiff")
                  Jim Wolff    (“Plaintiff”) objects
                                             objects to
                                                      to this
                                                         this Request
                                                              Request on
                                                                       on grounds
                                                                            grounds that
                                                                                      that it
                                                                                           it is  vague, unduly
                                                                                               is vague,   unduly
burdensome, overbroad,
burdensome,    overbroad, irrelevant,
                             irrelevant, cumulative,
                                          cumulative, and/or
                                                         and/or because
                                                                 because thethe burden
                                                                                 burden or or expense
                                                                                                expense of  of the
                                                                                                                the
discovery outweighs
discovery  outweighs its
                       its likely benefit. Plaintiff
                           likely benefit.  Plaintiff further objects to
                                                      further objects to this
                                                                          this Request
                                                                               Request toto the
                                                                                            the extent
                                                                                                  extent it
                                                                                                          it seeks
                                                                                                             seeks
matters immune
matters immune from      discovery under
                  from discovery      under either
                                            either the
                                                   the attorney-client
                                                        attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or thethe work
                                                                                                   work product
                                                                                                          product
doctrine, or
doctrine, or any
              any other
                   other privilege,
                           privilege, immunity,
                                       immunity, or or protection.
                                                        protection. Plaintiff
                                                                    Plaintiff further    objects to
                                                                                further objects     to the
                                                                                                        the term
                                                                                                              term
“Acquired”   because  as  defined  it seeks to obtain  information  not  relevant  to  any claims
"Acquired" because as defined it seeks to obtain information not relevant to any claims or defenses  or defenses
of any
of any party.
       party. Plaintiff
              Plaintiff further
                        further objects  on grounds
                                 objects on  grounds that
                                                       that this
                                                            this Request
                                                                 Request seeks
                                                                           seeks information
                                                                                 information that that is
                                                                                                       is already
                                                                                                          already
in Defendant's
in Defendant’s possession,
                 possession, custody,
                               custody, and/or
                                         and/or control.
                                                 control.

   Without waiving
   Without waiving and
                   and subject
                       subject to
                               to these
                                  these objections,
                                        objections, see MMWOLFFJIM00000001-
                                                    see MMWOLFFJIM00000001-
MMWOLFFJIM00000003.
MMWOLFFJIM00000003.

REQUEST 2:
REQUEST      2: All
                All Documents
                      Documents and
                                  and Communications
                                      Communications Regarding
                                                          Regarding Your
                                                                      Your Acquisition
                                                                            Acquisition ofof aa Recalled
                                                                                                Recalled
Device, including
Device,  including but
                     but not
                         not limited to receipts,
                             limited to  receipts, insurance
                                                   insurance payments,
                                                              payments, explanations    of benefits,
                                                                          explanations of   benefits, or
                                                                                                       or
prescriptions for the
prescriptions for the Recalled
                      Recalled Device
                                Device by
                                       by any
                                           any Health
                                               Health Care
                                                       Care Provider
                                                            Provider or
                                                                      or DME.
                                                                         DME. This    Request includes,
                                                                                 This Request   includes,
but is
but is not
       not limited  to, all
           limited to,  all Documents
                            Documents that
                                        that support
                                             support or
                                                      or refute
                                                         refute the
                                                                the allegation
                                                                    allegation in  Paragraph 22
                                                                                in Paragraph   22 of
                                                                                                   of the
                                                                                                      the
Medical Monitoring
Medical   Monitoring CSAC
                        CSAC that
                               that each
                                    each of
                                          of the
                                             the Medical
                                                  Medical Monitoring
                                                            Monitoring Plaintiffs
                                                                         Plaintiffs "used
                                                                                    “used the
                                                                                           the Recalled
                                                                                                Recalled
Devices.”
Devices."

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 2:
                                2:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense   of the
                                                 expense of    the discovery
                                                                    discovery outweighs
                                                                                outweighs its
                                                                                            its likely benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it
                                                          it seeks
                                                             seeks matters
                                                                     matters immune    from discovery
                                                                              immune from     discovery under
                                                                                                          under
either the  attorney-client    privilege  and/or  the  work    product   doctrine,  or  any
either the attorney-client privilege and/or the work product doctrine, or any other privilege,other  privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                                scope of
                                                                       of this
                                                                          this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent  it seeks
                                                                                                extent it seeks
information not
information   not relevant
                   relevant to
                             to the
                                 the claims
                                     claims or
                                             or defenses
                                                 defenses of
                                                           of any
                                                                any party.
                                                                     party. Plaintiff
                                                                            Plaintiff further   objects to
                                                                                      further objects   to this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                       that it
                            it seeks
                               seeks information
                                      information already
                                                   already inin the
                                                                 the possession,
                                                                     possession, custody,
                                                                                  custody, and/or
                                                                                             and/or control
                                                                                                     control of
                                                                                                              of
Defendant.
Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMWOLFFJIM00000001.
                                                         see MMWOLFFJIM00000001.

AMENDED REQUEST
AMENDED       REQUEST 3:   3: All
                               All Documents
                                   Documents and
                                               and Communications
                                                    Communications Regarding
                                                                       Regarding any
                                                                                   any payments
                                                                                        payments or
                                                                                                  or
reimbursements for
reimbursements  for aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited to payments
                                                          limited to payments made
                                                                               made by
                                                                                     by You
                                                                                        You and
                                                                                            and any
                                                                                                any
payments made
payments   made on
                 on Your
                     Your behalf
                           behalf by
                                   by any
                                      any government
                                           government entity,
                                                        entity, insurer,
                                                                insurer, health
                                                                         health savings
                                                                                savings account,
                                                                                         account, or
                                                                                                  or
flexible spending account.
flexible spending account.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 3:
                        3:
                                                       - 11 -
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        Plaintiff objects
        Plaintiff  objects toto this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                              the discovery
                                                                  discovery outweighs
                                                                             outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects  to this
                              this Request
                                   Request to
                                           to the
                                              the extent
                                                  extent it
                                                         it seeks
                                                            seeks matters
                                                                   matters immune
                                                                           immune from
                                                                                    from discovery
                                                                                          discovery under
                                                                                                      under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                              product doctrine,
                                                                       doctrine, or
                                                                                 or any
                                                                                     any other   privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                               Plaintiff further
                                         further objects
                                                  objects toto this
                                                                this Request
                                                                     Request on
                                                                              on grounds
                                                                                  grounds that
                                                                                             that it
                                                                                                   it seeks
                                                                                                      seeks
information already
information   already in
                       in the
                          the possession,
                               possession, custody,
                                           custody, and/or
                                                    and/or control
                                                             control of
                                                                      of Defendant.
                                                                         Defendant.

        Without waiving
        Without waiving and
                        and subject
                            subject to
                                    to these
                                       these objections,
                                             objections, see MMWOLFFJIM00000001.
                                                         see MMWOLFFJIM00000001.


REQUEST 4:
REOUEST      4: All
                All Documents
                      Documents that
                                  that You
                                       You reviewed,
                                            reviewed, relied
                                                       relied upon,
                                                              upon, oror considered
                                                                         considered in  making the
                                                                                     in making the
decision to
decision to Acquire
            Acquire aa Recalled
                       Recalled Device,
                                Device, including
                                        including but
                                                  but not
                                                      not limited
                                                          limited to
                                                                  to Documents
                                                                     Documents that
                                                                                that You
                                                                                     You reviewed,
                                                                                         reviewed,
relied upon,
relied       or considered
       upon, or considered andand contend
                                  contend contain
                                           contain any
                                                   any misrepresentation
                                                        misrepresentation concerning
                                                                            concerning aa Recalled
                                                                                          Recalled
Device.
Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 4:
                                4:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense ofof the
                                                                the discovery
                                                                    discovery outweighs
                                                                                outweighs itsits likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                             this Request
                                  Request toto the
                                               the extent
                                                   extent it
                                                           it seeks
                                                              seeks matters
                                                                      matters immune
                                                                              immune fromfrom discovery
                                                                                               discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                                product doctrine,
                                                                          doctrine, oror any
                                                                                          any other   privilege,
                                                                                               other privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                 objects to
                                                          to the
                                                              the scope
                                                                   scope ofof this
                                                                              this request
                                                                                    request to
                                                                                             to the
                                                                                                the extent
                                                                                                     extent this
                                                                                                            this
Request   seeks information   that is not relevant  to any  claims    or defenses  of any  party. Additionally,
Request seeks information that is not relevant to any claims or defenses of any party. Additionally,
the broad
the broad scope
            scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties of
                                                     of this
                                                         this Request
                                                               Request areare compounded
                                                                               compounded by   by the
                                                                                                   the fact
                                                                                                       fact that
                                                                                                            that
Defendant seeks
Defendant    seeks materials
                    materials that
                               that are
                                    are equally
                                         equally available
                                                   available toto it,
                                                                  it, and
                                                                       and that
                                                                           that is
                                                                                is already
                                                                                    already in
                                                                                             in its
                                                                                                its possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control.
                  control.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 5:
REQUEST        5: All
                  All Documents
                      Documents andand Communications
                                       Communications Regarding
                                                           Regarding Your
                                                                       Your prescription
                                                                             prescription for
                                                                                          for the
                                                                                               the Recalled
                                                                                                   Recalled
Device by
Device  by any
            any Health
                 Health Care
                          Care Provider,
                               Provider, including
                                          including but
                                                     but not
                                                         not limited to documents
                                                             limited to             sufficient to
                                                                        documents sufficient    to show
                                                                                                   show the
                                                                                                         the
name and
name  and address
            address ofof the
                          the Health
                              Health Care
                                      Care Provider
                                             Provider who
                                                       who prescribed
                                                            prescribed You
                                                                         You aa Recalled
                                                                                 Recalled Device
                                                                                          Device and and the
                                                                                                         the
name and
name  and address
            address ofof any
                         any DME
                              DME involved
                                    involved inin Your
                                                  Your Acquisition
                                                        Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device,
                                                                                    Device, as
                                                                                             as well
                                                                                                 well as
                                                                                                       as all
                                                                                                          all
Documents reflecting
Documents     reflecting the
                          the instructions
                              instructions for
                                            for using
                                                using the
                                                      the Recalled
                                                          Recalled Device,
                                                                    Device, recommended
                                                                              recommended frequency
                                                                                              frequency ofof
use for
use for the
         the Recalled
              Recalled Device,
                          Device, recommended
                                   recommended duration
                                                    duration of
                                                              of use
                                                                 use for
                                                                      for the
                                                                           the Recalled
                                                                               Recalled Device,
                                                                                         Device, andand any
                                                                                                         any
changes to
changes   to Your
             Your prescription
                   prescription over
                                  over time.
                                       time.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 5:
                                5:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request asas vague,
                                                   vague, unduly
                                                             unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                     overbroad, irrelevant,
                                                                                                   irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                  discovery outweighs
                                                                              outweighs itsits likely benefit.
                                                                                               likely benefit.
Plaintiff further objects to  this Request  to the extent it seeks matters  immune    from   discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under     under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                              product doctrine,
                                                                       doctrine, oror any
                                                                                       any other    privilege,
                                                                                             other privilege,
immunity, or
immunity,   or protection.
               protection. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                       to the
                                                          the scope
                                                               scope of
                                                                     of this
                                                                        this Request
                                                                             Request toto the
                                                                                          the extent
                                                                                               extent it
                                                                                                      it seeks
                                                                                                         seeks
information not
information   not relevant
                   relevant to
                             to any
                                any claims
                                      claims or
                                             or defenses
                                                 defenses ofof any
                                                               any party.
                                                                   party. Plaintiff
                                                                           Plaintiff further   objects to
                                                                                     further objects   to this
                                                                                                           this


                                                     -2-
                                                     -2
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Request on
Request on grounds
           grounds that
                   that it
                        it seeks
                           seeks information
                                 information already
                                             already in
                                                     in the
                                                        the possession,
                                                            possession, custody,
                                                                        custody, and/or
                                                                                 and/or control
                                                                                        control of
                                                                                                of
Defendant.
Defendant.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 6:
REQUEST     6: All
                 All Communications
                     Communications with
                                     with any
                                          any Person
                                              Person —
                                                     – including but not
                                                       including but  not limited to any
                                                                          limited to any Health
                                                                                         Health
Care Provider  or  DME   – who was involved in, or who You  consulted in connection  with,
Care Provider or DME — who was involved in, or who You consulted in connection with, Your  Your
Acquisition of
Acquisition of aa Recalled
                  Recalled Device.
                           Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 6:
                                6:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure
                                                                            (exposure itself
                                                                                          itself and
                                                                                                  and thethe need
                                                                                                              need forfor medical
                                                                                                                           medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);
                                                                                 claim); Sadler
                                                                                            Sadler v.      PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 7:
REQUEST        Documents and
            7: Documents   and Communications
                                Communications Regarding
                                                  Regarding any
                                                             any other CPAP or
                                                                 other CPAP  or BiPAP
                                                                                BiPAP device     that
                                                                                        device that
You Acquired
You  Acquired or
               or considered
                   considered Acquiring,
                               Acquiring, or
                                          or that
                                              that was
                                                   was proposed
                                                        proposed to
                                                                  to you
                                                                     you as
                                                                         as an
                                                                            an alternative
                                                                                alternative for
                                                                                            for the
                                                                                                  the
Recalled Device,
Recalled  Device, before
                  before Your
                         Your Acquisition
                               Acquisition of
                                           of aa Recalled
                                                 Recalled Device.
                                                          Device. This
                                                                   This Request
                                                                        Request includes
                                                                                includes but
                                                                                          but is
                                                                                              is not
                                                                                                  not
limited to marketing
limited to marketing materials
                     materials for
                               for any
                                   any CPAP
                                       CPAP or or BiPAP
                                                  BiPAP device
                                                         device that
                                                                that You
                                                                     You received.
                                                                         received.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO
                            NO 7:
                               7:

          Plaintiff objects
          Plaintiff objects to
                            to this
                               this Request
                                    Request as
                                            as vague,
                                               vague, unduly
                                                      unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                    irrelevant,



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cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                 expense of  of the
                                                                the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad    scope and
                     and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                      of this
                                                           this Request
                                                                Request areare compounded
                                                                                compounded by   by the
                                                                                                    the fact
                                                                                                         fact that
                                                                                                               that
Defendant seeks
Defendant   seeks publicly
                    publicly available
                             available materials
                                         materials that
                                                   that are
                                                         are within
                                                              within its
                                                                     its possession,
                                                                         possession, custody,     and/or control
                                                                                       custody, and/or    control
or are
or are equally
       equally available
                 available to
                           to it.
                              it. Plaintiff
                                  Plaintiff has
                                            has already
                                                already produced
                                                          produced responsive
                                                                      responsive documents
                                                                                   documents to  to this
                                                                                                    this Request
                                                                                                         Request
for settlement purposes.
for settlement   purposes. Plaintiff
                            Plaintiff further
                                       further objects
                                               objects to
                                                        to the
                                                            the scope
                                                                scope ofof this
                                                                           this Request
                                                                                Request toto the
                                                                                             the extent
                                                                                                  extent it  seeks
                                                                                                          it seeks
information not
information    not relevant
                   relevant to
                             to any
                                 any claims   or defenses
                                      claims or  defenses of  of any
                                                                 any party.
                                                                      party. Plaintiff
                                                                              Plaintiff further
                                                                                        further objects    to this
                                                                                                  objects to   this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                    matters immune
                                              immune fromfrom discovery
                                                                discovery under
                                                                             under either   the attorney-client
                                                                                    either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,
                                        doctrine, or
                                                  or any
                                                     any other
                                                           other privilege,
                                                                  privilege, immunity,
                                                                              immunity, or or protection.
                                                                                              protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 8:
REOUEST       8: All
                 All Documents,
                      Documents, including    medical records,
                                    including medical           Regarding the
                                                      records, Regarding  the use of the
                                                                              use of the Recalled
                                                                                         Recalled
Device, including
Device,  including from
                    from any
                          any Health
                              Health Care
                                      Care Provider
                                           Provider who
                                                    who treated
                                                        treated You
                                                                You concerning
                                                                    concerning any
                                                                               any condition
                                                                                   condition You
                                                                                             You
claim is
claim is related
         related to
                 to the
                    the use
                        use of
                            of the
                               the Recalled
                                   Recalled Device.
                                            Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 8:
                        8:

          Plaintiff objects
          Plaintiff    objects to  to this
                                        this Request
                                              Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                        irrelevant,
cumulative, and/or
cumulative,      and/or because
                           because the  the burden
                                             burden or or expense
                                                           expense of of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs its    its likely   benefit.
                                                                                                                   likely benefit.
Plaintiff further
Plaintiff             objects to
            further objects      to this
                                    this Request
                                           Request to to the
                                                         the extent
                                                              extent it  seeks matters
                                                                      it seeks  matters immune
                                                                                           immune from  from discovery
                                                                                                                discovery under
                                                                                                                              under
either the
either   the attorney-client
               attorney-client privilege
                                      privilege and/or
                                                   and/or thethe work
                                                                  work product
                                                                          product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                                other privilege,
                                                                                                                         privilege,
immunity, or
immunity,       or protection,
                    protection, including
                                     including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                      further objects
                                                                                                                 objects to to this
                                                                                                                                this
Request on
Request     on grounds
                grounds thatthat it
                                  it violates
                                     violates Plaintiffs
                                                 Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                           objects to to the
                                                                                                                         the scope
                                                                                                                              scope
of this
of this Request
          Request to  to the
                          the extent
                                extent it it seeks
                                             seeks information
                                                     information not not relevant
                                                                          relevant to to any
                                                                                          any claims
                                                                                                claims or   or defenses
                                                                                                                defenses of  of any
                                                                                                                                any
party, including
party,  including but but not
                            not limited
                                 limited to to all
                                                all Communications
                                                    Communications with   with any
                                                                                 any Person
                                                                                      Person Plaintiff
                                                                                                 Plaintiff consulted
                                                                                                              consulted withwith in
                                                                                                                                  in
the Acquisition
the Acquisition of    of aa Recalled
                            Recalled Device.
                                          Device. A   A claim
                                                         claim for   medical monitoring
                                                                 for medical     monitoring costscosts does
                                                                                                          does not
                                                                                                                 not put
                                                                                                                       put present
                                                                                                                            present
physical condition
physical     condition at  at issue.
                               issue. See See e.g.    Bower v.
                                                e.g. Bower     v. Westinghouse
                                                                   Westinghouse Elec.         Corp., 522
                                                                                      Elec. Corp.,        522 S.E.2d       424,430
                                                                                                                S.E.2d 424,430
(W.Va. 1999)
(W.Va.     1999) (citations
                    (citations omitted)
                                  omitted) (the(the injury   in question
                                                     injury in  question is is the
                                                                               the increase
                                                                                    increase in in risk    that requires
                                                                                                    risk that    requires oneone to
                                                                                                                                  to
incur the
incur  the cost    of monitoring);
             cost of  monitoring); Meyer  Meyer v.    Fluor Corp.,
                                                   v. Fluor            220 S.W.3d
                                                              Corp., 220               712, 714,
                                                                             S.W.3d 712,      714, 716      (Mo. 2007);
                                                                                                     716 (Mo.                Exxon
                                                                                                                    2007); Exxon
Mobil Corp.
Mobil    Corp. v.    Albright, 71
                  v. Albright,          A.3d 30,
                                   71 A.3d     30, 75-77    (Md. 2013)
                                                    75-77 (Md.     2013) (exposure        itself and
                                                                            (exposure itself      and thethe need
                                                                                                              need for     medical
                                                                                                                      for medical
testing is
testing   is the
              the compensable
                   compensable injury  injury inin aa medical
                                                      medical monitoring
                                                                 monitoring claim);         Sadler v.
                                                                                 claim); Sadler            PacifiCare of
                                                                                                      v. PacifiCare        of Nev.,
                                                                                                                               Nev.,
       340 P.3d,
Inc., 340
Inc.,        P.3d, 264,
                     264, 1270-72
                             1270-72 (Nev.(Nev. 2014)
                                                   2014) (inquiry
                                                           (inquiry isis whether
                                                                          whether thethe negligent
                                                                                           negligent act  act of
                                                                                                               of the
                                                                                                                   the defendant
                                                                                                                        defendant
caused the
caused    the plaintiff
                plaintiff toto have
                                have aa medical
                                           medical needneed toto undergo
                                                                 undergo monitoring);
                                                                             monitoring); Potter
                                                                                               Potter v.     Firestone Tire
                                                                                                          v. Firestone      Tire &&
Rubber Co.,
Rubber     Co., 863   P.2d 795,
                 863 P.2d     795, 823
                                     823 (Cal.    1993). Plaintiff
                                           (Cal. 1993).    Plaintiff has
                                                                       has not  waived the
                                                                            not waived     the physician-patient
                                                                                               physician-patient privilegeprivilege
as to
as to any
       any medical
              medical condition
                          condition for  for his   medical monitoring
                                              his medical     monitoring claims
                                                                             claims in     this case
                                                                                       in this           since Plaintiff
                                                                                                 case since      Plaintiff is is not
                                                                                                                                 not
claiming present
claiming     present physical
                        physical injury
                                      injury in    this case.
                                               in this  case. The      injury that
                                                                 The injury     that Plaintiff
                                                                                      Plaintiff claims
                                                                                                   claims is      the significant
                                                                                                              is the   significant
exposure, increased
exposure,     increased riskrisk ofof disease
                                       disease andand medical
                                                       medical necessity
                                                                  necessity of of diagnostic
                                                                                   diagnostic testing
                                                                                                  testing andand thethe economic
                                                                                                                         economic
loss  associated therewith.
loss associated      therewith. Plaintiff
                                      Plaintiff and
                                                  and class    members base
                                                       class members       base their
                                                                                  their claims     only on
                                                                                         claims only       on their
                                                                                                                their significant
                                                                                                                       significant
exposure to
exposure     to the
                the proven
                     proven hazardous
                                hazardous Foam Foam Toxins      released by
                                                       Toxins released      by PE-PUR
                                                                               PE-PUR foam  foam in in the
                                                                                                        the Recalled
                                                                                                             Recalled Devices.
                                                                                                                          Devices.

REQUEST 9:
REOUEST      9: All
                All Documents
                    Documents inin Your
                                   Your possession,
                                        possession, custody,
                                                    custody, oror control
                                                                  control Regarding
                                                                          Regarding Your
                                                                                       Your use
                                                                                            use of
                                                                                                of and
                                                                                                   and
storage of a Recalled Device.  This Request includes,  but is not limited to, all data Regarding Your
storage of a Recalled Device. This Request includes, but is not limited to, all data Regarding Your
Recalled Device
Recalled Device from   Care Orchestrator,
                 from Care  Orchestrator, DreamMapper,
                                          DreamMapper, and/or
                                                            and/or EncoreAnywhere,      which we
                                                                    EncoreAnywhere, which      we will
                                                                                                   will
obtain upon
obtain       your signing
       upon your  signing the
                          the attached
                              attached Authorization
                                       Authorization to
                                                      to Disclose
                                                         Disclose Health
                                                                    Health Information.
                                                                            Information.



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                                                               -4
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 9:
                        9:

        Plaintiff objects
        Plaintiff   objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                 unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                            overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense ofof the
                                                                   the discovery
                                                                        discovery outweighs
                                                                                     outweighs its
                                                                                                 its likely   benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects
                    objects toto the
                                  the term
                                       term "Regarding,"
                                              “Regarding,” as as used
                                                                  used in in this
                                                                              this Request
                                                                                   Request onon grounds
                                                                                                 grounds that
                                                                                                            that it
                                                                                                                 it is
                                                                                                                     is
overbroad, vague,
overbroad,    vague, and
                      and impermissibly
                           impermissibly seeks seeks information
                                                      information not not relevant
                                                                           relevant to
                                                                                     to any
                                                                                        any claims
                                                                                             claims or
                                                                                                     or defenses
                                                                                                         defenses ofof
any party.
any party. Plaintiff
             Plaintiff further
                       further objects
                                 objects toto the
                                              the terms
                                                  terms "data,"
                                                          “data,” "Care
                                                                  “Care Orchestrator,"
                                                                            Orchestrator,” "DreamMapper,"
                                                                                            “DreamMapper,” and    and
“EncoreAnywhere” as
"EncoreAnywhere"         as used
                             used inin this
                                        this Request
                                              Request on on grounds
                                                            grounds thatthat they
                                                                               they are
                                                                                     are undefined
                                                                                         undefined andand make
                                                                                                            make no no
attempt to
attempt  to limit
             limit the
                   the scope
                        scope ofof this
                                    this Request.
                                          Request. Plaintiff
                                                     Plaintiff further
                                                               further objects
                                                                         objects toto this
                                                                                      this Request
                                                                                           Request to
                                                                                                    to the
                                                                                                        the extent
                                                                                                             extent it
                                                                                                                     it
seeks matters
seeks  matters immune
                 immune fromfrom discovery
                                    discovery under
                                                under either
                                                        either the
                                                                the attorney-client
                                                                     attorney-client privilege
                                                                                        privilege and/or
                                                                                                   and/or the
                                                                                                            the work
                                                                                                                work
product doctrine,
product   doctrine, or
                     or any
                         any other
                              other privilege,
                                      privilege, immunity,
                                                   immunity, or or protection.
                                                                    protection. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                     objects toto this
                                                                                                                  this
Request on
Request   on grounds
              grounds that
                        that it
                              it seeks
                                 seeks information
                                         information already
                                                       already inin the
                                                                     the possession,
                                                                         possession, custody,
                                                                                        custody, and/or
                                                                                                  and/or control
                                                                                                           control of
                                                                                                                    of
Defendant.
Defendant.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, the
                                                           the Care
                                                               Care Orchestrator
                                                                    Orchestrator release
                                                                                 release is
                                                                                         is attached
                                                                                            attached
hereto.
hereto.

REQUEST 10:
REOUEST 10: The
            The SD card or
                SD card or cards
                           cards that
                                 that you
                                      you used
                                          used with
                                               with Your
                                                    Your Recalled
                                                         Recalled Device.
                                                                  Device.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 10:
                        10:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                       irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                      burden or or expense
                                                   expense ofof the
                                                                the discovery
                                                                     discovery outweighs
                                                                                 outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to  the extent
                                    extent that
                                             that the
                                                  the information
                                                      information sought
                                                                    sought inin this
                                                                                this Request
                                                                                      Request is   already in
                                                                                                is already      the
                                                                                                             in the
possession, custody,
possession,    custody, and/or
                         and/or control
                                  control of of Defendant.
                                                Defendant. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to this
                                                                                               this Request
                                                                                                      Request on on
grounds that
grounds    that the
                 the term
                      term "SD
                            “SD card"
                                   card” isis undefined
                                               undefined and
                                                           and that
                                                                 that it
                                                                       it is
                                                                          is not   apparent to
                                                                             not apparent     to Plaintiff
                                                                                                  Plaintiff what
                                                                                                              what
information is
information    is held
                  held on
                       on the
                          the SD    cards and
                               SD cards    and what
                                                what information
                                                       information Defendant
                                                                     Defendant seeks
                                                                                  seeks in  this Request
                                                                                         in this  Request that
                                                                                                            that is
                                                                                                                  is
relevant  to any  claims  or defenses   of  any
relevant to any claims or defenses of any party. party. Plaintiff
                                                        Plaintiff further  objects  to this Request   on  grounds
                                                                  further objects to this Request on grounds
that the
that the information
         information sought
                        sought in
                                in this
                                   this Request
                                        Request is    not within
                                                   is not within the
                                                                  the possession,
                                                                      possession, custody,
                                                                                     custody, and/or
                                                                                               and/or control    of
                                                                                                        control of
Plaintiff.
Plaintiff.

       Without waiving
       Without   waiving and
                         and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, Plaintiff
                                                           Plaintiff is
                                                                     is still
                                                                        still using
                                                                              using his
                                                                                    his Device
                                                                                        Device and
                                                                                               and is
                                                                                                   is
unable to
unable to return
          return the
                 the SD Card.
                     SD Card.


REQUEST 11:
REOUEST     11: All
                  All Documents
                      Documents Regarding
                                 Regarding the
                                            the condition
                                                condition ofof Your
                                                               Your Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including the
                                                                                               the
extent to
extent to which
          which its
                its condition
                    condition changed
                              changed over
                                      over time,
                                           time, if
                                                 if at
                                                    at all.
                                                       all.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 11:
                                11:

        Plaintiff objects
        Plaintiff  objects toto this
                                 this Request
                                      Request as   as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or  or expense
                                                    expense of
                                                             of the
                                                                the discovery
                                                                    discovery outweighs
                                                                                 outweighs itsits likely benefit.
                                                                                                  likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects   to the
                                the scope
                                     scope of of this
                                                  this Request
                                                       Request onon grounds
                                                                     grounds that
                                                                               that it
                                                                                     it seeks
                                                                                        seeks information
                                                                                                information not
                                                                                                              not
relevant to
relevant  to any
             any claims
                  claims oror defenses
                              defenses ofof any
                                            any party.
                                                  party. Plaintiff
                                                         Plaintiff further
                                                                   further objects
                                                                           objects that
                                                                                    that the
                                                                                          the term
                                                                                              term "condition"
                                                                                                     “condition”
is undefined.
is              Plaintiff further
   undefined. Plaintiff           objects to
                          further objects  to this
                                               this Request
                                                     Request to
                                                             to the
                                                                the extent
                                                                    extent that
                                                                            that the
                                                                                 the burden
                                                                                     burden oror expense
                                                                                                  expense of
                                                                                                           of the
                                                                                                              the
requested discovery
requested                 outweighs its
             discovery outweighs       its likely    benefit, and/or
                                            likely benefit,   and/or that
                                                                       that the
                                                                             the information
                                                                                  information is      already in
                                                                                                   is already  in
Defendant’s possession,
Defendant's     possession, custody,    and/or control.
                              custody, and/or     control. Plaintiff
                                                           Plaintiff further  objects to
                                                                      further objects   to this
                                                                                           this Request
                                                                                                 Request toto the
                                                                                                              the


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extent Plaintiff
extent  Plaintiff has
                  has already
                       already provided
                                provided information
                                          information responsive   to this
                                                       responsive to   this Request.
                                                                            Request. Plaintiff
                                                                                      Plaintiff further
                                                                                                further
objects to
objects  to this
            this Request
                 Request toto the
                              the extent
                                  extent it
                                         it seeks
                                            seeks matters
                                                  matters immune
                                                          immune from
                                                                    from discovery
                                                                           discovery under
                                                                                      under either
                                                                                             either the
                                                                                                    the
attorney-client privilege
attorney-client  privilege and/or
                            and/or the
                                   the work
                                       work product
                                             product doctrine,
                                                     doctrine, or
                                                               or any
                                                                  any other
                                                                        other privilege,
                                                                              privilege, immunity,
                                                                                         immunity, oror
protection.
protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 12:
REOUEST         12: All
                     All Documents
                         Documents Regarding
                                      Regarding the
                                                the cleaning
                                                     cleaning of
                                                              of aa Recalled
                                                                    Recalled Device,
                                                                             Device, including
                                                                                     including but
                                                                                                 but not
                                                                                                     not
limited  to all
limited to  all Documents
                Documents reflecting
                             reflecting the
                                        the products
                                            products used
                                                     used to
                                                          to clean
                                                             clean aa Recalled
                                                                      Recalled Device,
                                                                               Device, the
                                                                                       the frequency  of
                                                                                           frequency of
the cleaning
the            of aa Recalled
     cleaning of     Recalled Device,
                              Device, or
                                       or any
                                          any Communication
                                              Communication with
                                                               with any
                                                                     any Person
                                                                         Person Regarding
                                                                                Regarding the
                                                                                            the cleaning
                                                                                                cleaning
of aa Recalled
of    Recalled Device.
                 Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 12:
                                12:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                      burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                              the discovery
                                                                   discovery outweighs
                                                                               outweighs its its likely benefit.
                                                                                                 likely benefit.
Plaintiff further
Plaintiff  further objects    to the
                     objects to   the scope
                                       scope of
                                              of this
                                                  this Request
                                                        Request to to the
                                                                       the extent
                                                                            extent it   impermissibly seeks
                                                                                    it impermissibly       seeks
information not
information    not relevant
                   relevant to
                             to any
                                any claims
                                     claims or
                                             or defenses
                                                defenses ofof any
                                                              any party,
                                                                   party, including
                                                                           including but
                                                                                       but not   limited to
                                                                                            not limited   to any
                                                                                                             any
Communication with
Communication       with any
                         any Person
                               Person Regarding
                                       Regarding thethe cleaning
                                                        cleaning ofof aa Recalled
                                                                         Recalled Device.
                                                                                    Device. Plaintiff
                                                                                               Plaintiff further
                                                                                                         further
objects to
objects  to the
             the extent
                 extent that
                         that the
                               the information
                                    information sought
                                                  sought inin this
                                                              this Request
                                                                    Request isis already
                                                                                 already inin the
                                                                                               the possession,
                                                                                                    possession,
custody, and/or
custody,  and/or control
                  control of
                           of Defendant.
                              Defendant. Plaintiff
                                           Plaintiff further
                                                     further objects
                                                             objects to
                                                                      to this
                                                                         this Request
                                                                              Request toto the
                                                                                           the extent   Plaintiff
                                                                                                extent Plaintiff
has already
has  already provided
               provided information
                          information responsive
                                         responsive toto this
                                                          this Request.
                                                               Request. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                                objects to
                                                                                                         to this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                          it seeks
                             seeks matters
                                     matters immune
                                             immune fromfrom discovery
                                                               discovery under
                                                                           under either    the attorney-client
                                                                                   either the   attorney-client
privilege and/or
privilege  and/or the
                   the work
                       work product
                              product doctrine,   or any
                                       doctrine, or  any other  privilege, immunity,
                                                          other privilege,  immunity, or or protection.
                                                                                             protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 13:
REOUEST     13: All
                 All user manuals and
                     user manuals and other
                                      other communications
                                            communications from any Philips
                                                           from any Philips entity
                                                                            entity that
                                                                                   that came
                                                                                        came
with the
with the Recalled
         Recalled Device
                  Device You
                          You Acquired.
                              Acquired.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 13:
                                13:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                     Request asas vague,
                                                   vague, unduly
                                                            unduly burdensome,
                                                                     burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                    burden or
                                            or expense
                                                expense ofof the
                                                             the discovery
                                                                  discovery outweighs
                                                                            outweighs itsits likely  benefit.
                                                                                             likely benefit.
Plaintiff objects
Plaintiff objects to
                  to this
                     this Request
                          Request to
                                   to the
                                      the extent  that the
                                          extent that  the information
                                                           information sought
                                                                        sought in  this Request
                                                                               in this  Request isis already
                                                                                                     already
in the
in  the possession,
        possession, custody,
                      custody, and/or
                                and/or control
                                         control ofof Defendant.
                                                       Defendant. TheThe broad
                                                                          broad scope
                                                                                 scope and
                                                                                         and unnecessary
                                                                                               unnecessary
difficulties of
difficulties of this
                this Request
                     Request are
                              are compounded
                                   compounded by   by the
                                                      the fact  that Defendant
                                                           fact that Defendant seeks
                                                                                seeks materials
                                                                                        materials that
                                                                                                   that it
                                                                                                         it is
                                                                                                            is
responsible for
responsible  for administering
                 administering toto Plaintiff.
                                    Plaintiff.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.




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REQUEST 14:
REOUEST      14: All
                  All Documents
                       Documents Regarding
                                  Regarding your
                                             your Acquisition
                                                   Acquisition or
                                                               or use
                                                                  use of
                                                                      of any
                                                                         any cleaners
                                                                              cleaners or
                                                                                       or cleaning
                                                                                          cleaning
devices for
devices      Your Recalled
         for Your  Recalled Device,
                             Device, including
                                     including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to any
                                                                  any ozone
                                                                      ozone cleaning
                                                                             cleaning devices
                                                                                      devices and
                                                                                               and
any ultraviolent
any ultraviolent light cleaning devices.
                 light cleaning devices.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 14:
                        14:

        Plaintiff objects
        Plaintiff    objects to
                              to this
                                   this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative,    and/or   because    the burden   or  expense   of the  discovery    outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. its  likely  benefit.
Plaintiff further
Plaintiff further objects   to the
                   objects to   the scope
                                     scope of
                                            of this
                                               this Request
                                                    Request toto the
                                                                 the extent
                                                                     extent itit seeks
                                                                                 seeks information
                                                                                       information not  not relevant
                                                                                                            relevant
to any
to any claims
       claims oror defenses
                   defenses ofof any
                                  any party.
                                       party. The  broad scope
                                              The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                       this Request
                                                                                                            Request
are compounded
are compounded by    by the
                        the fact
                            fact that
                                   that Defendant
                                        Defendant seeks
                                                     seeks materials
                                                            materials that
                                                                       that it
                                                                            it is
                                                                               is responsible
                                                                                  responsible for
                                                                                                for administering
                                                                                                     administering
to Plaintiff.
to Plaintiff. Plaintiff
               Plaintiff further
                          further objects    to the
                                    objects to  the extent   that the
                                                     extent that  the information
                                                                       information sought
                                                                                      sought inin this
                                                                                                   this Request
                                                                                                         Request isis
already in
already  in the
            the possession,
                 possession, custody,
                                 custody, and/or
                                           and/or control
                                                    control of
                                                             of Defendant.
                                                                 Defendant. Plaintiff
                                                                                Plaintiff further
                                                                                          further objects
                                                                                                    objects toto this
                                                                                                                 this
Request to
Request   to the
              the extent
                   extent it
                           it seeks
                              seeks matters
                                       matters immune
                                                immune fromfrom discovery
                                                                  discovery under
                                                                               under either   the attorney-client
                                                                                      either the    attorney-client
privilege and/or
privilege  and/or the
                    the work
                        work product
                               product doctrine,
                                         doctrine, oror any
                                                        any other  privilege, immunity,
                                                             other privilege,   immunity, oror protection.
                                                                                                protection.


REQUEST 15:
REOUEST       15: All
                    All Documents
                          Documents and and Communications
                                               Communications Regarding
                                                                 Regarding Your
                                                                              Your use,
                                                                                      use, purchase
                                                                                            purchase or or
Acquisition of
Acquisition  of any
                any accessory
                     accessory toto be
                                    be used
                                       used in  combination with
                                             in combination with aa Recalled
                                                                    Recalled Device,
                                                                             Device, including   but not
                                                                                       including but   not
limited to any
limited to any humidifier,
               humidifier, cleaner,    wipe, mask,
                            cleaner, wipe,    mask, headgear,
                                                    headgear, tubing
                                                              tubing hose,
                                                                     hose, filter
                                                                           filter (including inlet filters
                                                                                  (including inlet filters
and bacterial
and bacterial filters), adapter, or
              filters), adapter,  or nasal
                                     nasal cushion.
                                           cushion.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 15:
                                15:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                        burden oror expense
                                                     expense of
                                                              of the
                                                                 the discovery
                                                                      discovery outweighs
                                                                                   outweighs itsits likely    benefit.
                                                                                                     likely benefit.
Plaintiff further
Plaintiff  further objects  to the
                   objects to   the scope
                                      scope of
                                             of this
                                                this Request
                                                     Request to
                                                              to the
                                                                 the extent
                                                                      extent it
                                                                              it seeks
                                                                                 seeks information
                                                                                        information not not relevant
                                                                                                             relevant
to any
to any claims
        claims or
                or defenses
                   defenses ofof any
                                 any party.
                                        party. The  broad scope
                                               The broad   scope and
                                                                 and unnecessary
                                                                      unnecessary difficulties
                                                                                     difficulties ofof this
                                                                                                        this Request
                                                                                                             Request
are compounded
are compounded by    by the
                        the fact
                             fact that
                                   that Defendant
                                          Defendant seeks
                                                      seeks materials
                                                             materials that
                                                                        that are
                                                                             are within
                                                                                  within their
                                                                                           their control.
                                                                                                 control. Plaintiff
                                                                                                             Plaintiff
further  objects to
further objects    to this
                      this Request
                            Request to   to the
                                            the extent
                                                 extent that
                                                         that it seeks information
                                                              it seeks                   already in
                                                                         information already            Defendant’s
                                                                                                   in Defendant's
possession, custody,
possession,    custody, and/or
                         and/or control.
                                    control. Plaintiff
                                               Plaintiff further
                                                         further objects
                                                                 objects toto this
                                                                               this Request
                                                                                    Request to to the
                                                                                                   the extent     that
                                                                                                         extent that
information sought
information    sought in  this Request
                       in this Request has      already been
                                           has already   been provided
                                                               provided byby Plaintiff.
                                                                             Plaintiff. Plaintiff
                                                                                         Plaintiff further    objects
                                                                                                    further objects
to this
to this Request
         Request toto the
                      the extent
                           extent it    seeks matters
                                     it seeks  matters immune
                                                        immune from      discovery under
                                                                  from discovery             either the
                                                                                     under either      the attorney-
                                                                                                            attorney-
client privilege
client privilege and/or
                  and/or the
                           the work
                               work product
                                        product doctrine,
                                                 doctrine, or
                                                            or any
                                                               any other   privilege, immunity,
                                                                    other privilege,   immunity, or  or protection.
                                                                                                         protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 16:
REOUEST     16: All
                 All Documents
                     Documents Regarding
                                 Regarding any
                                            any particulate
                                                particulate or
                                                            or dark
                                                               dark matter
                                                                    matter in
                                                                           in Your
                                                                              Your Recalled
                                                                                   Recalled Device,
                                                                                            Device,
including but
including but not
               not limited
                   limited to
                           to any
                              any photos
                                  photos or
                                         or videos
                                            videos of
                                                   of the
                                                      the Recalled
                                                          Recalled Device
                                                                    Device and
                                                                             and any
                                                                                 any other
                                                                                     other evidence
                                                                                           evidence
showing that
showing  that the
              the foam  in Your
                  foam in  Your Recalled
                                Recalled Device
                                         Device actually
                                                 actually degraded.
                                                          degraded.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 16:
                                16:

      Plaintiff objects
      Plaintiff objects to
                        to this
                           this Request
                                 Request as
                                          as vague,
                                             vague, unduly
                                                    unduly burdensome,
                                                             burdensome, overbroad,
                                                                         overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, and/or
cumulative, and/or because
                   because the
                           the burden
                                burden or
                                       or expense
                                           expense of
                                                   of the
                                                      the discovery
                                                          discovery outweighs
                                                                    outweighs its
                                                                              its likely benefit.
                                                                                  likely benefit.


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Plaintiff further
Plaintiff further objects
                  objects toto the
                               the extent
                                    extent this
                                              this Request
                                                    Request seeks
                                                               seeks aa concession
                                                                        concession that
                                                                                      that evidence
                                                                                           evidence of of degradation
                                                                                                           degradation
can be
can  be seen
        seen by
              by the
                  the naked
                       naked eye.
                               eye. Plaintiff
                                      Plaintiff further
                                                   further objects
                                                             objects to
                                                                      to this
                                                                          this Request
                                                                               Request onon grounds
                                                                                              grounds that
                                                                                                         that the
                                                                                                               the term
                                                                                                                    term
“particulate” and
"particulate"   and "dark
                     “dark matter"
                              matter” areare undefined.
                                               undefined. Plaintiff
                                                              Plaintiff further   objects to
                                                                         further objects    to the
                                                                                                the use
                                                                                                    use of of the
                                                                                                              the term
                                                                                                                    term
“Regarding,” in
"Regarding,"   in this
                  this Request
                       Request on  on grounds
                                       grounds that
                                                  that it
                                                       it is
                                                          is overbroad,
                                                             overbroad, vague,
                                                                           vague, ambiguous,
                                                                                   ambiguous, and and impermissibly
                                                                                                       impermissibly
seeks information
seeks                not relevant
       information not   relevant to  to any
                                          any claims    or defenses
                                                claims or    defenses ofof any
                                                                            any party.
                                                                                party. Plaintiff
                                                                                        Plaintiff further
                                                                                                   further objects
                                                                                                             objects toto
this Request
this Request onon grounds
                   grounds that
                              that it
                                    it is
                                       is duplicative
                                           duplicative of  of Request
                                                              Request No.No. 11.
                                                                              11. Plaintiff
                                                                                  Plaintiff further
                                                                                              further objects
                                                                                                       objects toto this
                                                                                                                     this
Request to
Request   to the
             the extent
                 extent that
                         that the
                                the burden
                                     burden or  or expense
                                                    expense of of the
                                                                   the requested
                                                                       requested discovery
                                                                                   discovery outweighs
                                                                                                outweighs its its likely
                                                                                                                  likely
benefit, and/or
benefit, and/or that
                 that the
                      the information
                           information is   is already
                                               already in in Defendant's
                                                              Defendant’s possession,
                                                                             possession, custody,
                                                                                           custody, and/or
                                                                                                      and/or control.
                                                                                                                control.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                       Request to  to the
                                                      the extent
                                                            extent Plaintiff
                                                                     Plaintiff has
                                                                               has already
                                                                                    already provided
                                                                                              provided information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                  Plaintiff further
                                              further objects
                                                       objects to to this
                                                                     this Request
                                                                           Request toto the
                                                                                        the extent
                                                                                             extent it  seeks matters
                                                                                                     it seeks   matters
immune from
immune    from discovery
                discovery under
                            under either
                                     either the
                                             the attorney-client
                                                  attorney-client privilege
                                                                     privilege and/or
                                                                                and/or the
                                                                                        the work
                                                                                             work product
                                                                                                   product doctrine,
                                                                                                              doctrine,
or any
or any other
        other privilege,
              privilege, immunity,
                          immunity, or    or protection.
                                             protection. Plaintiff
                                                             Plaintiff further
                                                                       further objects
                                                                                objects to
                                                                                         to the
                                                                                            the extent
                                                                                                 extent this
                                                                                                          this Request
                                                                                                                Request
seeks premature
seeks premature expert
                   expert testimony.
                           testimony.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 17:
REOUEST      17: All
                  All Documents
                      Documents related
                                  related to
                                          to the
                                              the recall
                                                  recall of
                                                         of aa Recalled
                                                               Recalled Device,
                                                                        Device, including
                                                                                including but
                                                                                          but not
                                                                                              not limited
                                                                                                  limited
to Communications
to Communications withwith any
                            any Person
                                Person Regarding
                                       Regarding the the recall;
                                                         recall; Your
                                                                 Your Communications
                                                                       Communications with
                                                                                        with any
                                                                                              any Health
                                                                                                   Health
Care Provider
Care  Provider oror DME
                    DME Regarding
                           Regarding the
                                       the recall;
                                            recall; Documents
                                                     Documents regarding
                                                                   regarding Your
                                                                             Your decision
                                                                                    decision whether
                                                                                              whether to
                                                                                                       to
participate in
participate in the
               the recall;
                   recall; and
                           and Documents
                               Documents sufficient
                                             sufficient to
                                                         to show
                                                             show when
                                                                  when and
                                                                         and how
                                                                             how You
                                                                                  You became
                                                                                       became aware
                                                                                                aware of
                                                                                                       of
the recall.
the recall.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 17:
                                17:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                 unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                      burden or or expense
                                                    expense of  of the
                                                                   the discovery
                                                                         discovery outweighs
                                                                                      outweighs its its likely   benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff further objects  to the
                   objects to  the scope
                                    scope of
                                           of this
                                               this Request
                                                    Request to  to the
                                                                   the extent
                                                                        extent it
                                                                                it seeks
                                                                                   seeks information
                                                                                          information not  not relevant
                                                                                                                relevant
to any
to any claims
        claims oror defenses
                     defenses ofof any
                                    any party,
                                        party, including
                                                 including but but not    limited to
                                                                    not limited    to Communications
                                                                                       Communications with    with Any
                                                                                                                    Any
Person Regarding
Person  Regarding the the recall.
                          recall. The
                                    The broad
                                         broad scope
                                                  scope andand unnecessary
                                                                 unnecessary difficulties
                                                                                  difficulties of
                                                                                                of this
                                                                                                     this Request
                                                                                                           Request areare
compounded by
compounded      by the
                    the fact
                        fact that
                              that Defendant
                                     Defendant seeks
                                                  seeks materials
                                                           materials that
                                                                        that are
                                                                              are equally
                                                                                   equally available
                                                                                            available to  to it.  As the
                                                                                                              it. As  the
manufacturer of
manufacturer     of the
                     the Recalled
                          Recalled Devices,
                                       Devices, Defendant
                                                   Defendant is    is in    the position
                                                                       in the    position toto obtain
                                                                                                obtain information
                                                                                                           information
responsive to
responsive   to this
                this Request.
                     Request. Plaintiff
                                 Plaintiff further
                                           further objects
                                                     objects toto this
                                                                  this Request
                                                                        Request to to the
                                                                                      the extent
                                                                                          extent that
                                                                                                   that the
                                                                                                         the burden
                                                                                                              burden oror
expense of
expense   of the
             the requested
                 requested discovery      outweighs its
                             discovery outweighs        its likely
                                                            likely benefit,
                                                                    benefit, and/or
                                                                               and/or that
                                                                                       that the
                                                                                            the information       sought
                                                                                                 information sought
is already
is already inin Defendant's
                Defendant’s possession,
                                 possession, custody,       and/or control.
                                                custody, and/or       control. Plaintiff
                                                                                 Plaintiff further
                                                                                            further objects
                                                                                                       objects to to this
                                                                                                                     this
Request to
Request    to the
              the extent
                   extent Plaintiff
                           Plaintiff has     already provided
                                       has already      provided information
                                                                     information responsive
                                                                                     responsive to   to this
                                                                                                         this Request.
                                                                                                               Request.
Plaintiff further
Plaintiff further objects
                  objects to
                           to this
                               this Request
                                    Request toto the
                                                  the extent
                                                       extent it  seeks matters
                                                               it seeks   matters immune
                                                                                    immune from
                                                                                              from discovery
                                                                                                      discovery under
                                                                                                                   under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or thethe work
                                                           work product
                                                                   product doctrine,
                                                                               doctrine, oror any
                                                                                               any other      privilege,
                                                                                                      other privilege,
immunity, or
immunity,    or protection.
                protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 18:
REOUEST     18: All
                All Documents
                    Documents Regarding
                               Regarding Your
                                           Your registration,
                                                registration, if
                                                              if any,
                                                                 any, for
                                                                      for the
                                                                          the Philips
                                                                              Philips RS
                                                                                      RS repair or
                                                                                         repair or
replacement program
replacement program concerning
                    concerning aa Recalled
                                  Recalled Device.
                                           Device.



                                                         -8
                                                          8-
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AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 18:
                                18:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                        overbroad, irrelevant,
                                                                                                      irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                    discovery outweighs
                                                                                outweighs its its likely  benefit.
                                                                                                  likely benefit.
The  broad scope
The broad   scope and
                    and unnecessary
                         unnecessary difficulties
                                         difficulties of
                                                       of this
                                                          this Request
                                                               Request are are compounded
                                                                               compounded by    by the
                                                                                                    the fact  that
                                                                                                         fact that
Defendant seeks
Defendant   seeks materials
                   materials that
                              that are
                                    are within
                                        within its
                                                its possession,
                                                    possession, custody,
                                                                  custody, and/or
                                                                              and/or control.
                                                                                     control. Plaintiff
                                                                                                Plaintiff further
                                                                                                           further
objects to
objects to the
           the use
                use of
                    of the
                       the term
                           term "Regarding,"
                                 “Regarding,” in  in this
                                                     this Request
                                                          Request on on grounds
                                                                         grounds that
                                                                                  that it
                                                                                       it is overbroad, vague,
                                                                                          is overbroad,    vague,
ambiguous, and
ambiguous,    and impermissibly
                   impermissibly seeks
                                     seeks information     not relevant    to any  claims   or  defenses
                                            information not relevant to any claims or defenses of          of any
                                                                                                              any
party. Plaintiff
party. Plaintiff further
                 further objects
                         objects to
                                  to this
                                     this Request
                                          Request toto the
                                                       the extent
                                                           extent it  seeks matters
                                                                   it seeks  matters immune
                                                                                      immune from      discovery
                                                                                                 from discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                    privilege and/or
                                               and/or the
                                                        the work
                                                            work product
                                                                  product doctrine,
                                                                             doctrine, or
                                                                                       or any
                                                                                           any other
                                                                                                 other privilege,
                                                                                                       privilege,
immunity, or
immunity,   or protection.
               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 19:
REOUEST      19: All
                  All Documents
                       Documents and
                                  and Communications
                                        Communications relating
                                                          relating to
                                                                   to any
                                                                      any other
                                                                            other CPAP,
                                                                                  CPAP, BiPAP
                                                                                         BiPAP or
                                                                                               or
ventilator device
ventilator device that
                  that You
                       You used
                           used prior
                                prior to,
                                      to, or
                                          or after,
                                             after, Your
                                                    Your Acquisition
                                                         Acquisition of
                                                                     of aa Recalled
                                                                           Recalled Device.
                                                                                    Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 19:
                                19:

        Plaintiff objects
        Plaintiff objects to
                           to this
                               this Request
                                    Request as  as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative,   and/or because   the burden    or  expense    of the  discovery   outweighs  its
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit.likely  benefit.
The  broad scope
The broad   scope and
                   and unnecessary
                        unnecessary difficulties
                                       difficulties ofof this
                                                          this Request
                                                               Request areare compounded
                                                                               compounded by by the
                                                                                                  the fact
                                                                                                      fact that
                                                                                                           that
Defendant seeks
Defendant   seeks materials
                  materials that
                             that are
                                  are equally
                                      equally available
                                                available toto it.
                                                               it. Plaintiff
                                                                   Plaintiff further
                                                                             further objects
                                                                                     objects to
                                                                                             to the
                                                                                                 the use
                                                                                                     use of
                                                                                                         of the
                                                                                                            the
terms "Communications"
terms  “Communications” and  and "Acquisition"
                                  “Acquisition” in     this Request
                                                    in this Request on on grounds
                                                                           grounds that
                                                                                    that they
                                                                                         they are
                                                                                               are overbroad,
                                                                                                    overbroad,
vague, ambiguous,
vague,  ambiguous, and
                     and impermissibly     seek information
                          impermissibly seek      information not not relevant  to any
                                                                      relevant to  any claims
                                                                                       claims or
                                                                                               or defenses
                                                                                                   defenses of
                                                                                                             of
any party.
any  party. Plaintiff
             Plaintiff further  objects to
                       further objects  to this
                                            this Request
                                                  Request to to the
                                                                 the extent
                                                                     extent it
                                                                             it seeks
                                                                                seeks matters
                                                                                      matters immune
                                                                                                immune from
                                                                                                          from
discovery under
discovery  under either  the attorney-client
                  either the attorney-client privilege
                                               privilege and/or
                                                           and/or the
                                                                   the work
                                                                        work product
                                                                              product doctrine,   or any
                                                                                       doctrine, or  any other
                                                                                                          other
privilege, immunity,
privilege, immunity, oror protection.
                          protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 20:
REQUEST       20: All
                  All Documents
                      Documents andand Communications
                                       Communications relating   to any
                                                        relating to any injuries
                                                                        injuries You
                                                                                 You allege
                                                                                      allege You
                                                                                             You have
                                                                                                  have
suffered from
suffered  from the
                 the use
                      use of
                           of aa Recalled
                                 Recalled Device.
                                          Device. This  request includes
                                                   This request            but is
                                                                  includes but  is not  limited to
                                                                                   not limited  to the
                                                                                                   the
“subcellular injury
"subcellular  injury or
                      or other
                         other physiological
                                physiological changes"
                                              changes” You
                                                       You allege
                                                            allege You
                                                                    You have
                                                                         have suffered
                                                                               suffered in
                                                                                         in Paragraphs
                                                                                            Paragraphs
26-88 of
26-88  of the
          the Medical
              Medical Monitoring
                        Monitoring CSAC.
                                     CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 20:
                                20:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                 this Request
                                      Request asas vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                       burdensome, overbroad,
                                                                                       overbroad, irrelevant,
                                                                                                     irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because thethe burden
                                     burden or
                                             or expense
                                                 expense ofof the
                                                               the discovery
                                                                    discovery outweighs
                                                                               outweighs itsits likely  benefit.
                                                                                                likely benefit.
Plaintiff further
Plaintiff         objects to
          further objects to this
                              this Request
                                   Request to
                                            to the
                                               the extent
                                                   extent it  seeks matters
                                                           it seeks  matters immune
                                                                             immune fromfrom discovery
                                                                                              discovery under
                                                                                                          under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                          and/or the
                                                  the work
                                                       work product
                                                               product doctrine,
                                                                         doctrine, or
                                                                                    or any
                                                                                         any other
                                                                                              other privilege,
                                                                                                      privilege,
immunity, or
immunity,    or protection,
                protection, including
                              including physician-patient
                                          physician-patient privilege.
                                                                privilege. Plaintiff
                                                                           Plaintiff further
                                                                                      further objects
                                                                                               objects toto this
                                                                                                            this
Request on
Request   on grounds
             grounds that
                      that it
                           it violates
                               violates Plaintiffs
                                        Plaintiff’s right
                                                    right to
                                                          to privacy.
                                                             privacy. Plaintiff
                                                                       Plaintiff further
                                                                                 further objects
                                                                                          objects to
                                                                                                   to the
                                                                                                      the scope
                                                                                                          scope


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of this
of  this Request
         Request to to the
                       the extent
                            extent it    seeks information
                                      it seeks    information not not relevant
                                                                      relevant toto any
                                                                                     any claims     or defenses
                                                                                            claims or             of any
                                                                                                        defenses of   any
party. A
party.  A claim
          claim for
                  for medical
                       medical monitoring
                                  monitoring costs costs does
                                                          does not
                                                                not put
                                                                     put present
                                                                         present physical
                                                                                    physical condition     at issue.
                                                                                                condition at          See
                                                                                                              issue. See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec. Elec. Corp.,
                                           Corp., 522522 S.E.2d    424,430 (W.Va.
                                                          S.E.2d 424,430     (W.Va. 1999)
                                                                                        1999) (citations
                                                                                                (citations omitted)
                                                                                                           omitted) (the
                                                                                                                      (the
injury in
injury  in question
           question isis the
                         the increase
                               increase in in risk
                                               risk that
                                                     that requires
                                                          requires one
                                                                     one to
                                                                          to incur
                                                                              incur the
                                                                                     the cost
                                                                                           cost of
                                                                                                of monitoring);
                                                                                                    monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712,712, 714,
                                          714, 716716 (Mo.
                                                       (Mo. 2007);
                                                             2007); Exxon
                                                                      Exxon Mobil
                                                                               Mobil Corp.
                                                                                        Corp. v.  Albright, 71
                                                                                               v. Albright,     A.3d 30,
                                                                                                             71 A.3d   30,
75-77   (Md. 2013)
75-77 (Md.    2013) (exposure
                      (exposure itself
                                    itself and
                                             and the
                                                   the need
                                                        need for   medical testing
                                                              for medical   testing is is the
                                                                                          the compensable
                                                                                              compensable injury
                                                                                                              injury in
                                                                                                                      in aa
medical monitoring
medical   monitoring claim);
                        claim); Sadler
                                   Sadler v.     PacifiCare of
                                              v. PacifiCare    of Nev.,
                                                                  Nev., Inc.,  340 P.3d,
                                                                        Inc., 340   P.3d, 264,
                                                                                            264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                            (Nev. 2014)
                                                                                                                   2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act act ofof the
                                                    the defendant
                                                         defendant caused
                                                                     caused thethe plaintiff
                                                                                    plaintiff to
                                                                                               to have
                                                                                                   have aa medical
                                                                                                           medical need
                                                                                                                     need
to undergo
to undergo monitoring);
              monitoring); Potter
                                Potter v.     Firestone Tire
                                          v. Firestone     Tire && Rubber
                                                                    Rubber Co.,     863 P.2d
                                                                               Co., 863    P.2d 795,
                                                                                                 795, 823   (Cal. 1993).
                                                                                                       823 (Cal.  1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                   physician-patient privilege
                                                           privilege as
                                                                      as to
                                                                         to any
                                                                            any medical
                                                                                  medical condition
                                                                                             condition for   his medical
                                                                                                         for his medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                        since Plaintiff
                                                 Plaintiff is
                                                           is not
                                                               not claiming
                                                                   claiming present
                                                                               present physical
                                                                                          physical injury
                                                                                                     injury in
                                                                                                            in this
                                                                                                               this case.
                                                                                                                    case.
The   injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is is the
                                             the significant
                                                  significant exposure,
                                                                exposure, increased
                                                                            increased riskrisk of
                                                                                                of disease
                                                                                                   disease and
                                                                                                            and medical
                                                                                                                 medical
necessity of
necessity   of diagnostic
               diagnostic testing
                              testing andand thethe economic
                                                     economic loss     associated therewith.
                                                                  loss associated     therewith. Plaintiff
                                                                                                     Plaintiff and
                                                                                                               and class
                                                                                                                    class
members base
members    base their
                 their claims
                        claims only
                                  only onon their
                                             their significant
                                                    significant exposure
                                                                  exposure toto the
                                                                                the proven
                                                                                     proven hazardous
                                                                                               hazardous Foam
                                                                                                           Foam Toxins
                                                                                                                  Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in in the
                                     the Recalled
                                           Recalled Devices.
                                                       Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,
                                                  objections, Plaintiff
                                                              Plaintiff will
                                                                        will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not
                        not possess
                            possess any
                                    any responsive
                                        responsive documents.
                                                   documents.

REQUEST 21:
REQUEST       21: All
                   All Documents
                        Documents and and Communications
                                           Communications relating
                                                              relating to
                                                                        to any
                                                                           any treatment
                                                                                treatment and/or
                                                                                            and/or testing
                                                                                                    testing
prescribed to
prescribed   to You
                 You byby aa Health
                              Health Care
                                       Care Provider
                                              Provider relating
                                                        relating to
                                                                  to the
                                                                      the "subcellular
                                                                           “subcellular injury
                                                                                          injury or
                                                                                                  or other
                                                                                                      other
physiological changes"
physiological   changes” You
                           You allege
                                allege in
                                        in Paragraphs
                                           Paragraphs 26-88
                                                       26-88 ofof the
                                                                  the Medical
                                                                      Medical Monitoring
                                                                                Monitoring CSAC.
                                                                                              CSAC. This
                                                                                                       This
request includes
request  includes but
                    but is
                        is not
                            not limited
                                limited to
                                         to any
                                            any "testing
                                                 “testing and
                                                           and screening;
                                                                screening; blood
                                                                            blood and
                                                                                    and laboratory
                                                                                         laboratory tests;
                                                                                                      tests;
physical examinations;
physical   examinations; imaging;
                            imaging; colonoscopies,
                                       colonoscopies, endoscopies,
                                                        endoscopies, andand other
                                                                             other similar
                                                                                    similar methods
                                                                                              methods for
                                                                                                        for
examination;   biopsies;   pathologic,  histologic, and  oncologic   evaluations;  oncologic,
examination; biopsies; pathologic, histologic, and oncologic evaluations; oncologic, histologic,histologic,
surgical, and
surgical,  and other
                 other necessary     medical consultations;
                        necessary medical                      and medical
                                               consultations; and    medical and
                                                                               and surgical
                                                                                     surgical procedures
                                                                                               procedures
necessary for
necessary   for diagnosis
                diagnosis and
                            and treatment"
                                 treatment” that
                                             that You
                                                  You allege
                                                        allege are
                                                                are necessary
                                                                    necessary inin Paragraph
                                                                                   Paragraph 382
                                                                                               382 ofof the
                                                                                                        the
Medical Monitoring
Medical   Monitoring CSAC.
                       CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 21:
                                21:

         Plaintiff objects
         Plaintiff  objects toto this
                                  this Request
                                         Request as  as vague,
                                                          vague, unduly
                                                                    unduly burdensome,
                                                                             burdensome, overbroad,
                                                                                             overbroad, irrelevant,
                                                                                                            irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden or or expense
                                                      expense of of the
                                                                     the discovery
                                                                          discovery outweighs
                                                                                      outweighs itsits likely   benefit.
                                                                                                       likely benefit.
Plaintiff further  objects  to this   Request    to the  extent  it seeks  matters  immune    from
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under discovery    under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or thethe work
                                                              work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                               any other     privilege,
                                                                                                     other privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                      privilege. Plaintiff
                                                                                  Plaintiff further
                                                                                            further objects
                                                                                                      objects to to this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                       that it
                             it violates
                                violates Plaintiffs
                                            Plaintiff’s right
                                                          right to
                                                                to privacy.
                                                                    privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                objects toto the
                                                                                                             the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                                information not not relevant
                                                                      relevant to
                                                                               to any
                                                                                   any claims
                                                                                        claims oror defenses
                                                                                                     defenses of of any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costscosts does
                                                        does not
                                                               not put
                                                                    put present
                                                                         present physical
                                                                                 physical condition
                                                                                            condition at at issue.
                                                                                                            issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.        Corp., 522
                                  Elec. Corp.,     522 S.E.2d    424,430 (W.Va.
                                                        S.E.2d 424,430               1999) (citations
                                                                            (W.Va. 1999)                 omitted) (the
                                                                                            (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                             increase in  in risk
                                             risk that
                                                   that requires
                                                         requires one
                                                                    one to
                                                                         to incur  the cost
                                                                            incur the  cost of
                                                                                            of monitoring);
                                                                                                monitoring); Meyer
                                                                                                                 Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
           Corp., 220   S.W.3d 712, 712, 714,
                                           714, 716
                                                 716 (Mo.     2007); Exxon
                                                       (Mo. 2007);      Exxon Mobil
                                                                               Mobil Corp.
                                                                                       Corp. v.   Albright, 71
                                                                                               v. Albright,        A.3d
                                                                                                               71 A.3d
30, 75-77
30,  75-77 (Md.    2013) (exposure
            (Md. 2013)    (exposure itself      and the
                                         itself and   the need
                                                            need for
                                                                  for medical
                                                                       medical testing
                                                                                testing is
                                                                                        is the
                                                                                           the compensable
                                                                                                compensable injuryinjury



                                                          -- 10
                                                             10
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in aa medical
in    medical monitoring
                monitoring claim);
                             claim); Sadler
                                       Sadler v.   PacifiCare of
                                               v. PacifiCare     of Nev.,  Inc., 340
                                                                    Nev., Inc.,       P.3d, 264,
                                                                                 340 P.3d,  264, 1270-72
                                                                                                  1270-72 (Nev.
                                                                                                             (Nev.
2014) (inquiry
2014)   (inquiry is
                  is whether
                     whether the
                              the negligent
                                   negligent act
                                               act of
                                                    of the
                                                       the defendant
                                                            defendant caused
                                                                        caused the
                                                                                 the plaintiff
                                                                                     plaintiff to
                                                                                               to have
                                                                                                  have aa medical
                                                                                                          medical
need to
need   to undergo
          undergo monitoring);
                     monitoring); Potter
                                     Potter v.  Firestone Tire
                                             v. Firestone     Tire && Rubber     Co., 863
                                                                       Rubber Co.,         P.2d 795,
                                                                                      863 P.2d    795, 823
                                                                                                        823 (Cal.
                                                                                                              (Cal.
1993). Plaintiff
1993).   Plaintiff has
                   has not
                       not waived
                            waived the
                                     the physician-patient
                                          physician-patient privilege
                                                                privilege as
                                                                           as to
                                                                              to any
                                                                                  any medical
                                                                                      medical condition
                                                                                                condition for   his
                                                                                                           for his
medical monitoring
medical   monitoring claims
                        claims in
                                in this
                                   this case
                                        case since
                                              since Plaintiff
                                                      Plaintiff is
                                                                is not
                                                                   not claiming
                                                                       claiming present
                                                                                  present physical
                                                                                          physical injury
                                                                                                    injury in
                                                                                                            in this
                                                                                                               this
case. The
case.        injury that
       The injury    that Plaintiff
                          Plaintiff claims
                                     claims isis the
                                                  the significant
                                                       significant exposure,
                                                                    exposure, increased
                                                                                 increased risk
                                                                                            risk of
                                                                                                  of disease
                                                                                                     disease and
                                                                                                               and
medical necessity
medical   necessity ofof diagnostic
                         diagnostic testing
                                      testing and
                                               and the
                                                     the economic
                                                          economic loss    associated therewith.
                                                                      loss associated  therewith. Plaintiff
                                                                                                    Plaintiff and
                                                                                                               and
class  members    base  their claims   only  on  their  significant  exposure   to the proven
class members base their claims only on their significant exposure to the proven hazardous Foam hazardous    Foam
Toxins   released by
Toxins released     by PE-PUR
                       PE-PUR foamfoam inin the
                                            the Recalled
                                                Recalled Devices.
                                                            Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 22:
REQUEST       22: All
                   All Documents
                        Documents and and Communications
                                           Communications from       the past
                                                              from the   past 10
                                                                               10 years
                                                                                   years Relating
                                                                                          Relating to
                                                                                                   to any
                                                                                                       any
treatment and/or
treatment  and/or testing
                   testing prescribed
                            prescribed to
                                        to You
                                           You byby aa Health
                                                       Health Care
                                                               Care Provider
                                                                      Provider even
                                                                                 even if  unrelated to
                                                                                      if unrelated  to the
                                                                                                       the
“subcellular injury
"subcellular injury or
                     or other
                        other physiological
                              physiological changes"
                                             changes” You
                                                        You allege
                                                             allege in
                                                                     in Paragraphs
                                                                        Paragraphs 26-88
                                                                                    26-88 of
                                                                                           of the
                                                                                              the Medical
                                                                                                  Medical
Monitoring CSAC.
Monitoring   CSAC. This     request includes
                      This request   includes but
                                              but is
                                                   is not
                                                      not limited  to any
                                                          limited to  any "testing
                                                                           “testing and
                                                                                    and screening;
                                                                                         screening; blood
                                                                                                    blood
and laboratory
and              tests; physical
     laboratory tests;   physical examinations;
                                   examinations; imaging;
                                                    imaging; colonoscopies,
                                                               colonoscopies, endoscopies,
                                                                                 endoscopies, and
                                                                                                and other
                                                                                                     other
similar methods
similar  methods for
                   for examination;
                        examination; biopsies;
                                       biopsies; pathologic,
                                                  pathologic, histologic,
                                                                histologic, and
                                                                             and oncologic
                                                                                  oncologic evaluations;
                                                                                              evaluations;
oncologic, histologic,
oncologic,  histologic, surgical,
                          surgical, and
                                    and other
                                          other necessary
                                                necessary medical
                                                             medical consultations;
                                                                       consultations; and
                                                                                       and medical
                                                                                             medical and
                                                                                                       and
surgical procedures
surgical procedures necessary
                      necessary for  diagnosis and
                                 for diagnosis  and treatment."
                                                     treatment.”

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 22:
                                22:

         Plaintiff objects
         Plaintiff   objects to  to this
                                     this Request
                                            Request as    as vague,
                                                               vague, unduly
                                                                        unduly burdensome,
                                                                                  burdensome, overbroad,
                                                                                                    overbroad, irrelevant,
                                                                                                                   irrelevant,
cumulative, and/or
cumulative,     and/or because
                         because the  the burden
                                           burden or  or expense
                                                           expense of  of the
                                                                          the discovery
                                                                               discovery outweighs
                                                                                             outweighs itsits likely   benefit.
                                                                                                              likely benefit.
Plaintiff further
Plaintiff           objects to
           further objects     to this
                                  this Request
                                         Request to  to the
                                                        the extent
                                                              extent it
                                                                      it seeks
                                                                         seeks matters
                                                                                matters immune
                                                                                          immune fromfrom discovery
                                                                                                            discovery under
                                                                                                                          under
either  the   attorney-client       privilege     and/or     the   work   product    doctrine,
either the attorney-client privilege and/or the work product doctrine, or any other privilege,    or  any   other   privilege,
immunity, or
immunity,     or protection,
                  protection, including
                                   including physician-patient
                                                  physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                   further objects
                                                                                                             objects to to this
                                                                                                                            this
Request on
Request    on grounds
               grounds that
                          that it  violates Plaintiff's
                                it violates     Plaintiff’s right
                                                               right to
                                                                     to privacy.
                                                                        privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                              further objects
                                                                                                       objects toto the
                                                                                                                    the scope
                                                                                                                          scope
of this
of  this Request
         Request to to the
                        the extent
                              extent it    seeks information
                                        it seeks    information not   not relevant
                                                                           relevant to
                                                                                     to any
                                                                                         any claims
                                                                                               claims oror defenses
                                                                                                            defenses of of any
                                                                                                                            any
party. A
party.  A claim
           claim for   medical monitoring
                  for medical       monitoring costs costs does     not put
                                                             does not    put present
                                                                              present physical
                                                                                       physical condition
                                                                                                   condition at at issue.   See
                                                                                                                   issue. See
e.g. Bower
e.g.  Bower v.v. Westinghouse
                 Westinghouse Elec.          Corp., 522
                                     Elec. Corp.,      522 S.E.2d      424,430 (W.Va.
                                                             S.E.2d 424,430                 1999) (citations
                                                                                 (W.Va. 1999)                   omitted) (the
                                                                                                   (citations omitted)      (the
injury in
injury  in question
            question isis the
                           the increase
                                increase in  in risk
                                                 risk that
                                                       that requires
                                                              requires one
                                                                         one to
                                                                              to incur   the cost
                                                                                 incur the    cost of
                                                                                                   of monitoring);
                                                                                                       monitoring); Meyer
                                                                                                                        Meyer
v. Fluor Corp.,
v. Fluor            220 S.W.3d
           Corp., 220      S.W.3d 712, 712, 714,
                                              714, 716
                                                     716 (Mo.       2007); Exxon
                                                            (Mo. 2007);      Exxon Mobil
                                                                                     Mobil Corp.
                                                                                              Corp. v.   Albright, 71
                                                                                                      v. Albright,         A.3d
                                                                                                                      71 A.3d
30, 75-77
30,  75-77 (Md.
             (Md. 2013)      (exposure itself
                   2013) (exposure                  and the
                                            itself and     the need
                                                                 need for   medical testing
                                                                       for medical    testing is
                                                                                               is the
                                                                                                  the compensable
                                                                                                       compensable injuryinjury
in aa medical
in    medical monitoring
                monitoring claim);
                                claim); Sadler
                                            Sadler v.     PacifiCare of
                                                      v. PacifiCare      of Nev.,  Inc., 340
                                                                             Nev., Inc.,        P.3d, 264,
                                                                                           340 P.3d,   264, 1270-72
                                                                                                             1270-72 (Nev.(Nev.
2014) (inquiry
2014)   (inquiry is  whether the
                  is whether      the negligent
                                        negligent act act of
                                                           of the
                                                                the defendant
                                                                    defendant caused
                                                                                 caused thethe plaintiff
                                                                                               plaintiff to
                                                                                                         to have
                                                                                                             have aa medical
                                                                                                                      medical
need to
need   to undergo
           undergo monitoring);
                      monitoring); Potter Potter v.    Firestone Tire
                                                    v. Firestone      Tire &    Rubber Co.,
                                                                            & Rubber       Co., 863   P.2d 795,
                                                                                                863 P.2d     795, 823
                                                                                                                    823 (Cal.
                                                                                                                           (Cal.
1993). Plaintiff
1993).    Plaintiff has
                    has not
                          not waived
                                waived the the physician-patient
                                                 physician-patient privilege
                                                                         privilege as
                                                                                    as to
                                                                                        to any
                                                                                            any medical
                                                                                                medical condition
                                                                                                           condition for     his
                                                                                                                        for his
medical monitoring
medical    monitoring claims
                         claims in      this case
                                    in this         since Plaintiff
                                              case since     Plaintiff is
                                                                        is not claiming present
                                                                           not claiming     present physical
                                                                                                     physical injury
                                                                                                                injury in   this
                                                                                                                         in this
case. The
case.  The injury     that Plaintiff
             injury that     Plaintiff claims
                                          claims is      the significant
                                                     is the    significant exposure,       increased risk
                                                                             exposure, increased             of disease
                                                                                                       risk of   disease andand
medical necessity
medical    necessity ofof diagnostic       testing and
                            diagnostic testing        and the
                                                            the economic
                                                                  economic loss     associated therewith.
                                                                              loss associated    therewith. Plaintiff
                                                                                                                Plaintiff and
                                                                                                                            and
class members
class  members basebase their
                          their claims
                                  claims only
                                            only onon their
                                                        their significant
                                                                significant exposure
                                                                              exposure to to the
                                                                                             the proven
                                                                                                 proven hazardous
                                                                                                           hazardous Foam Foam
Toxins
Toxins released
         released byby PE-PUR
                         PE-PUR foam  foam in  in the
                                                  the Recalled
                                                       Recalled Devices.
                                                                     Devices.




                                                             - 11
                                                             -11
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REQUEST 23:
REOUEST       23: All
                   All Documents
                        Documents and
                                   and Communications
                                        Communications related
                                                          related to
                                                                  to any
                                                                     any tissue
                                                                         tissue specimens,
                                                                                specimens, tissue
                                                                                           tissue
slides, biopsy
slides, biopsy specimens,
                specimens, and
                           and any
                               any other
                                    other pathologic
                                          pathologic material
                                                     material taken
                                                              taken from
                                                                    from You
                                                                         You by
                                                                              by any
                                                                                 any Health
                                                                                     Health Care
                                                                                             Care
Provider related
Provider   related to
                   to the
                       the "subcellular
                           “subcellular injury
                                        injury or
                                                or other
                                                   other physiological
                                                         physiological changes"
                                                                        changes” You
                                                                                  You allege
                                                                                       allege in
                                                                                               in
Paragraphs 26-88
Paragraphs   26-88 of
                   of the
                      the Medical
                          Medical Monitoring
                                  Monitoring CSAC.
                                              CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 23:
                                23:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)        (citations omitted)
                                                                                                                   omitted) (the
                                                                                                                              (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare    of Nev.,
                                                                    Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                    exposure to  to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.

REQUEST 24:
REQUEST     24: All
                All records
                    records of
                            of any
                               any diagnostic
                                    diagnostic imaging
                                               imaging related
                                                       related to
                                                               to the
                                                                  the "subcellular
                                                                      “subcellular injury
                                                                                   injury or
                                                                                          or other
                                                                                             other
physiological changes"
physiological changes” You
                       You allege
                            allege in
                                   in Paragraphs
                                      Paragraphs 26-88
                                                 26-88 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 24
                                24

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                         irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because thethe burden
                                       burden oror expense
                                                    expense ofof the
                                                                  the discovery
                                                                       discovery outweighs
                                                                                  outweighs its its likely  benefit.
                                                                                                    likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                              under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                          privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                   objects toto this
                                                                                                                this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects toto the
                                                                                                          the scope
                                                                                                              scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses ofof any
                                                                                                                any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at at issue.
                                                                                                         issue. See
                                                                                                                 See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                 omitted) (the
                                                                                         (citations omitted)    (the



                                                              -- 12
                                                                 12
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 621 of 654




injury in
injury in question
           question is
                     is the
                        the increase
                              increase inin risk
                                             risk that
                                                   that requires
                                                        requires one
                                                                   one to
                                                                        to incur
                                                                            incur the
                                                                                   the cost
                                                                                         cost of
                                                                                              of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                        714, 716     (Mo. 2007);
                                                716 (Mo.            Exxon Mobil
                                                           2007); Exxon      Mobil Corp.
                                                                                      Corp. v.  Albright, 71
                                                                                             v. Albright,     A.3d 30,
                                                                                                           71 A.3d  30,
75-77  (Md. 2013)
75-77 (Md.           (exposure itself
              2013) (exposure      itself and
                                           and the
                                                 the need
                                                      need for   medical testing
                                                            for medical   testing is is the
                                                                                        the compensable
                                                                                            compensable injury
                                                                                                            injury in
                                                                                                                   in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare ofNev.,
                                            v. PacifiCare    of Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                          264, 1270-72
                                                                                                1270-72 (Nev.
                                                                                                          (Nev. 2014)
                                                                                                                 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                       defendant caused
                                                                   caused thethe plaintiff
                                                                                  plaintiff to
                                                                                             to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                  need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone     Tire && Rubber
                                                                  Rubber Co.,Co., 863    P.2d 795,
                                                                                  863 P.2d     795, 823
                                                                                                     823 (Cal.  1993).
                                                                                                          (Cal. 1993).
Plaintiff has
Plaintiff has not  waived the
               not waived    the physician-patient
                                  physician-patient privilege
                                                         privilege as
                                                                    as to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                           condition for   his medical
                                                                                                       for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case   since Plaintiff
                                case since     Plaintiff is
                                                         is not
                                                             not claiming    present physical
                                                                 claiming present       physical injury
                                                                                                  injury in  this case.
                                                                                                          in this case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims is    the significant
                                       is the   significant exposure,
                                                              exposure, increased
                                                                          increased risk     of disease
                                                                                        risk of           and medical
                                                                                                 disease and   medical
necessity of
necessity   of diagnostic    testing and
               diagnostic testing      and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated     therewith. Plaintiff
                                                                                                   Plaintiff and
                                                                                                             and class
                                                                                                                  class
members base
members    base their
                 their claims    only on
                       claims only     on their
                                           their significant
                                                  significant exposure
                                                               exposure to to the
                                                                              the proven
                                                                                   proven hazardous
                                                                                            hazardous Foam
                                                                                                         Foam Toxins
                                                                                                                Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.

       Without waiving
       Without   waiving and
                         and subject
                             subject to
                                     to these
                                        these objections,
                                              objections, Plaintiff
                                                          Plaintiff has
                                                                    has not
                                                                        not been
                                                                            been diagnosed
                                                                                 diagnosed with
                                                                                           with
subcellular injury.
subcellular injury.


REQUEST 25:
REOUEST      25: All
                 All Health
                     Health Care
                             Care Provider's
                                  Provider’s reports
                                             reports of
                                                     of any
                                                        any diagnostic
                                                            diagnostic radiologic
                                                                       radiologic procedure
                                                                                  procedure related
                                                                                            related
to the
to the "subcellular
       “subcellular injury
                    injury or
                           or other
                              other physiological
                                    physiological changes"
                                                  changes” You
                                                            You allege
                                                                 allege in
                                                                        in Paragraphs
                                                                           Paragraphs 26-88
                                                                                      26-88 of
                                                                                             of the
                                                                                                the
Medical Monitoring
Medical  Monitoring CSAC.
                      CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 25
                                25

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                             vague, unduly
                                                                       unduly burdensome,
                                                                                   burdensome, overbroad,
                                                                                                      overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of of the
                                                                         the discovery
                                                                               discovery outweighs
                                                                                             outweighs its   its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                            extent it   seeks matters
                                                                     it seeks   matters immune
                                                                                           immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                           the work
                                                                 work product
                                                                          product doctrine,
                                                                                     doctrine, or  or any
                                                                                                        any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                          privilege. Plaintiff
                                                                                        Plaintiff further
                                                                                                     further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                             right to
                                                                   to privacy.
                                                                       privacy. Plaintiff
                                                                                   Plaintiff further
                                                                                               further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not not relevant
                                                                          relevant toto any
                                                                                         any claims
                                                                                                claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                  not put
                                                                        put present
                                                                             present physical
                                                                                        physical condition
                                                                                                    condition at   at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.           Corp., 522
                                    Elec. Corp.,       522 S.E.2d    424,430 (W.Va.
                                                            S.E.2d 424,430                  1999) (citations
                                                                                 (W.Va. 1999)                      omitted) (the
                                                                                                     (citations omitted)      (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                            requires oneone toto incur   the cost
                                                                                  incur the    cost of
                                                                                                     of monitoring);
                                                                                                         monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.             Exxon Mobil
                                                                2007); Exxon       Mobil Corp.
                                                                                            Corp. v.   Albright, 71
                                                                                                   v. Albright,         A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need   for medical
                                                          need for   medical testing
                                                                                testing is is the
                                                                                              the compensable
                                                                                                  compensable injury  injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare ofNev.,
                                                v. PacifiCare    of Nev., Inc.,    340 P.3d,
                                                                            Inc., 340   P.3d, 264,
                                                                                                264, 1270-72
                                                                                                        1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                         caused thethe plaintiff
                                                                                        plaintiff toto have
                                                                                                        have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone     Tire && Rubber
                                                                       Rubber Co., Co., 863    P.2d 795,
                                                                                        863 P.2d      795, 823823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not   waived the
               not waived     the physician-patient
                                    physician-patient privilege
                                                             privilege as as to
                                                                             to any
                                                                                any medical
                                                                                      medical condition
                                                                                                 condition for       his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case      since Plaintiff
                                 case since        Plaintiff is
                                                              is not
                                                                 not claiming      present physical
                                                                      claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is       the significant
                                           is the   significant exposure,
                                                                  exposure, increased
                                                                                increased risk      of disease
                                                                                              risk of    disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic     testing and
               diagnostic testing          and thethe economic
                                                       economic loss       associated therewith.
                                                                    loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members base
members    base their
                 their claims
                        claims onlyonly on on their
                                               their significant
                                                      significant exposure
                                                                   exposure to   to the
                                                                                    the proven
                                                                                         proven hazardous
                                                                                                   hazardous Foam Foam Toxins
                                                                                                                          Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

          Without waiving
          Without waiving and
                          and subject
                              subject to
                                      to these
                                         these objections,
                                               objections, Plaintiff
                                                           Plaintiff has
                                                                     has not
                                                                         not been
                                                                             been diagnosed
                                                                                  diagnosed with
                                                                                            with



                                                              -- 13
                                                                 13
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subcellular injury.
subcellular injury.

REQUEST 26:
REQUEST       26: All
                   All other
                        other Documents
                               Documents Regarding
                                             Regarding any
                                                         any and
                                                              and all
                                                                  all additional
                                                                      additional diagnosed
                                                                                  diagnosed medical
                                                                                             medical
conditions or
conditions or injuries
              injuries suffered
                       suffered within
                                within the
                                        the last 10 years
                                            last 10 years and
                                                          and any
                                                              any medications
                                                                  medications or
                                                                              or treatments
                                                                                 treatments that
                                                                                            that You
                                                                                                 You
have been
have been prescribed
           prescribed within
                       within the
                              the last 10 years.
                                  last 10 years.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 26:
                                26:

         Plaintiff objects
         Plaintiff   objects to to this
                                    this Request
                                             Request as  as vague,
                                                              vague, unduly
                                                                        unduly burdensome,
                                                                                    burdensome, overbroad,
                                                                                                       overbroad, irrelevant,
                                                                                                                      irrelevant,
cumulative, and/or
cumulative,    and/or because
                        because the  the burden
                                            burden or or expense
                                                          expense of  of the
                                                                          the discovery
                                                                                discovery outweighs
                                                                                              outweighs its  its likely  benefit.
                                                                                                                 likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects    to this
                                 this Request
                                         Request to  to the
                                                        the extent
                                                             extent it   seeks matters
                                                                      it seeks   matters immune
                                                                                            immune from from discovery
                                                                                                               discovery under
                                                                                                                           under
either the
either  the attorney-client
             attorney-client privilege
                                   privilege and/orand/or the
                                                            the work
                                                                  work product
                                                                           product doctrine,
                                                                                      doctrine, or  or any
                                                                                                         any other
                                                                                                               other privilege,
                                                                                                                       privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                  including physician-patient
                                                   physician-patient privilege.
                                                                           privilege. Plaintiff
                                                                                         Plaintiff further
                                                                                                      further objects
                                                                                                                objects toto this
                                                                                                                              this
Request on
Request   on grounds
              grounds that
                         that it
                               it violates
                                  violates Plaintiffs
                                                Plaintiff’s right
                                                              right to
                                                                    to privacy.
                                                                        privacy. Plaintiff
                                                                                    Plaintiff further
                                                                                                further objects
                                                                                                          objects toto the
                                                                                                                       the scope
                                                                                                                           scope
of this
of this Request
         Request to to the
                       the extent
                            extent it   it seeks
                                           seeks information
                                                    information not  not relevant
                                                                           relevant toto any
                                                                                          any claims
                                                                                                 claims or or defenses
                                                                                                               defenses ofof any
                                                                                                                              any
party. A
party. A claim
          claim for
                  for medical
                       medical monitoring
                                   monitoring costs  costs does
                                                            does not
                                                                   not put
                                                                         put present
                                                                              present physical
                                                                                         physical condition
                                                                                                     condition at  at issue.
                                                                                                                      issue. See
                                                                                                                              See
e.g. Bower   v. Westinghouse        Elec.    Corp.,    522  S.E.2d    424,430     (W.Va.     1999)
e.g. Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424,430 (W.Va. 1999) (citations omitted) (the      (citations   omitted)   (the
injury in
injury  in question
           question isis the
                          the increase
                               increase in   in risk
                                                 risk that
                                                       that requires
                                                             requires oneone toto incur   the cost
                                                                                   incur the    cost of
                                                                                                      of monitoring);
                                                                                                          monitoring); Meyer
                                                                                                                           Meyer
v. Fluor Corp.,
v. Fluor           220 S.W.3d
          Corp., 220    S.W.3d 712, 712, 714,
                                            714, 716     (Mo. 2007);
                                                    716 (Mo.              Exxon Mobil
                                                                 2007); Exxon       Mobil Corp.
                                                                                             Corp. v.   Albright, 71
                                                                                                    v. Albright,        A.3d 30,
                                                                                                                     71 A.3d   30,
75-77  (Md. 2013)
75-77 (Md.            (exposure itself
              2013) (exposure         itself and
                                               and the
                                                     the need    for medical
                                                          need for    medical testing
                                                                                 testing is is the
                                                                                               the compensable
                                                                                                   compensable injury injury in
                                                                                                                              in aa
medical monitoring
medical   monitoring claim);        Sadler v.
                        claim); Sadler             PacifiCare of
                                                v. PacifiCare     of Nev.,
                                                                     Nev., Inc.,    340 P.3d,
                                                                             Inc., 340   P.3d, 264,
                                                                                                 264, 1270-72
                                                                                                         1270-72 (Nev.
                                                                                                                    (Nev. 2014)
                                                                                                                           2014)
(inquiry is
(inquiry  is whether
             whether thethe negligent
                             negligent act   act ofof the
                                                      the defendant
                                                           defendant caused
                                                                          caused thethe plaintiff
                                                                                         plaintiff toto have
                                                                                                         have aa medical
                                                                                                                  medical need
                                                                                                                             need
to undergo
to            monitoring); Potter
   undergo monitoring);         Potter v.       Firestone Tire
                                            v. Firestone      Tire && Rubber
                                                                        Rubber Co., Co., 863    P.2d 795,
                                                                                         863 P.2d      795, 823
                                                                                                              823 (Cal.   1993).
                                                                                                                    (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                    waived thethe physician-patient
                                    physician-patient privilege
                                                              privilege as as to
                                                                              to any
                                                                                 any medical
                                                                                       medical condition
                                                                                                  condition for      his medical
                                                                                                                for his  medical
monitoring claims
monitoring    claims inin this
                           this case
                                 case since
                                          since Plaintiff
                                                   Plaintiff isis not
                                                                  not claiming      present physical
                                                                       claiming present        physical injury
                                                                                                           injury in   this case.
                                                                                                                    in this case.
The  injury that
The injury   that Plaintiff
                   Plaintiff claims
                               claims is   is the
                                               the significant
                                                    significant exposure,
                                                                   exposure, increased
                                                                                 increased riskrisk of
                                                                                                     of disease
                                                                                                         disease andand medical
                                                                                                                         medical
necessity of
necessity   of diagnostic
                diagnostic testing
                              testing and  and thethe economic
                                                       economic loss        associated therewith.
                                                                     loss associated       therewith. Plaintiff
                                                                                                           Plaintiff and
                                                                                                                       and class
                                                                                                                            class
members    base  their  claims     only    on  their  significant    exposure     to the  proven
members base their claims only on their significant exposure to the proven hazardous Foam Toxins    hazardous     Foam    Toxins
released by
released  by PE-PUR
              PE-PUR foam foam in  in the
                                       the Recalled
                                             Recalled Devices.
                                                         Devices.

REQUEST 27:
REQUEST     27: All
                All Documents,
                    Documents, photographs,
                                  photographs, films,
                                               films, movies,
                                                      movies, or
                                                              or videotapes
                                                                 videotapes that
                                                                            that depict or refer
                                                                                 depict or refer to
                                                                                                 to
Your present
Your present condition,
             condition, injuries,
                        injuries, and/or
                                  and/or damages.
                                         damages.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 27:
                                27:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                  this Request
                                        Request as as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                          burdensome, overbroad,
                                                                                          overbroad, irrelevant,
                                                                                                          irrelevant,
cumulative,    and/or  because    the  burden   or  expense   of  the  discovery  outweighs
cumulative, and/or because the burden or expense of the discovery outweighs its likely benefit. its  likely  benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                               this Request
                                     Request toto the
                                                  the extent
                                                      extent it  seeks matters
                                                              it seeks  matters immune
                                                                                immune fromfrom discovery
                                                                                                  discovery under
                                                                                                               under
either the
either  the attorney-client
             attorney-client privilege
                                privilege and/or
                                            and/or the
                                                     the work
                                                          work product
                                                                  product doctrine,
                                                                            doctrine, oror any
                                                                                            any other
                                                                                                  other privilege,
                                                                                                           privilege,
immunity, or
immunity,    or protection,
                 protection, including
                               including physician-patient
                                            physician-patient privilege.
                                                                   privilege. Plaintiff
                                                                              Plaintiff further
                                                                                         further objects
                                                                                                    objects toto this
                                                                                                                 this
Request on
Request   on grounds
              grounds that
                       that it
                            it violates
                                violates Plaintiffs
                                          Plaintiff’s right
                                                       right to
                                                             to privacy.
                                                                privacy. Plaintiff
                                                                          Plaintiff further
                                                                                    further objects
                                                                                             objects to to the
                                                                                                           the scope
                                                                                                               scope
of this
of this Request
         Request toto the
                      the extent
                          extent it it seeks
                                       seeks information
                                              information notnot relevant
                                                                  relevant to
                                                                            to any
                                                                               any claims
                                                                                     claims oror defenses
                                                                                                  defenses of of any
                                                                                                                 any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                 monitoring costs
                                               costs does
                                                      does not
                                                            not put
                                                                 put present
                                                                      present physical
                                                                              physical condition
                                                                                         condition at  at issue.
                                                                                                          issue. See
                                                                                                                  See
e.g. Bower
e.g. Bower v.v. Westinghouse            Corp., 522
                                 Elec. Corp.,
                Westinghouse Elec.               522 S.E.2d   424,430 (W.Va.
                                                      S.E.2d 424,430             1999) (citations
                                                                         (W.Va. 1999)                  omitted) (the
                                                                                         (citations omitted)     (the
injury in
injury  in question  is the
           question is  the increase
                            increase in in risk
                                           risk that
                                                 that requires
                                                      requires one
                                                                 one to
                                                                      to incur the cost
                                                                         incur the cost of
                                                                                         of monitoring);
                                                                                             monitoring); MeyerMeyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,
                                 712, 714,
                                        714, 716   (Mo. 2007);
                                             716 (Mo.             Exxon Mobil
                                                         2007); Exxon     Mobil Corp.
                                                                                 Corp. v.  Albright, 71
                                                                                        v. Albright,        A.3d 30,
                                                                                                        71 A.3d   30,



                                                              -- 14
                                                                 14
     Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 623 of 654




75-77  (Md. 2013)
75-77 (Md.    2013) (exposure
                     (exposure itself
                                   itself and
                                           and the
                                                 the need
                                                     need for
                                                            for medical
                                                                 medical testing
                                                                          testing isis the
                                                                                       the compensable
                                                                                           compensable injury
                                                                                                          injury in
                                                                                                                 in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler          PacifiCare of
                                            v. PacifiCare    of Nev.,
                                                                Nev., Inc.,  340 P.3d,
                                                                      Inc., 340   P.3d, 264,
                                                                                         264, 1270-72
                                                                                               1270-72 (Nev.
                                                                                                        (Nev. 2014)
                                                                                                               2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent actact ofof the
                                                  the defendant
                                                      defendant caused
                                                                   caused thethe plaintiff
                                                                                 plaintiff to
                                                                                            to have
                                                                                               have aa medical
                                                                                                       medical need
                                                                                                                need
to undergo
to            monitoring); Potter
   undergo monitoring);        Potter v.    Firestone Tire
                                        v. Firestone    Tire & & Rubber
                                                                  Rubber Co.,    863 P.2d
                                                                            Co., 863    P.2d 795,
                                                                                              795, 823
                                                                                                   823 (Cal.  1993).
                                                                                                        (Cal. 1993).
Plaintiff has
Plaintiff has not
               not waived
                   waived thethe physician-patient
                                  physician-patient privilege
                                                        privilege asas to
                                                                       to any
                                                                          any medical
                                                                                medical condition
                                                                                          condition for  his medical
                                                                                                     for his medical
monitoring claims
monitoring    claims in
                      in this
                          this case
                                case since
                                      since Plaintiff
                                               Plaintiff is
                                                         is not
                                                             not claiming
                                                                 claiming present
                                                                             present physical
                                                                                       physical injury
                                                                                                 injury in
                                                                                                        in this
                                                                                                           this case.
                                                                                                                case.
The  injury that
The injury   that Plaintiff
                  Plaintiff claims
                              claims isis the
                                           the significant
                                                significant exposure,
                                                              exposure, increased
                                                                          increased risk
                                                                                       risk of
                                                                                            of disease
                                                                                               disease and
                                                                                                        and medical
                                                                                                             medical
necessity of
necessity   of diagnostic
               diagnostic testing
                             testing and
                                       and thethe economic
                                                   economic loss     associated therewith.
                                                                loss associated    therewith. Plaintiff
                                                                                                 Plaintiff and
                                                                                                           and class
                                                                                                                class
members base
members    base their
                 their claims
                       claims only
                                 only on
                                       on their
                                           their significant
                                                  significant exposure
                                                                exposure toto the
                                                                              the proven
                                                                                  proven hazardous
                                                                                           hazardous Foam
                                                                                                       Foam Toxins
                                                                                                              Toxins
released by
released  by PE-PUR
              PE-PUR foamfoam in in the
                                    the Recalled
                                         Recalled Devices.
                                                     Devices.


REQUEST 28:
REOUEST       28: All
                   All Documents
                       Documents Regarding
                                  Regarding thethe damages   You seek
                                                   damages You    seek in this Litigation.
                                                                       in this Litigation. This  request
                                                                                           This request
includes but
includes  but is
              is not
                 not limited to Documents
                     limited to Documents Regarding
                                           Regarding thethe costs
                                                            costs associated
                                                                  associated with
                                                                              with Your
                                                                                   Your "need
                                                                                         “need to
                                                                                                to incur
                                                                                                   incur
the cost
the  cost of
           of medically
               medically necessary
                           necessary monitoring,
                                      monitoring, diagnostic
                                                     diagnostic testing,
                                                                 testing, clinical
                                                                           clinical examinations,
                                                                                    examinations, andand
consultations   for the early detection of illness, disease,  and  disease  processes”  as described
consultations for the early detection of illness, disease, and disease processes" as described in     in
(among other
(among   other places)
               places) Paragraphs
                        Paragraphs 375,
                                   375, 379
                                        379 and
                                              and 385
                                                   385 of
                                                       of the
                                                          the Medical
                                                              Medical Monitoring
                                                                       Monitoring CSAC.
                                                                                    CSAC.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 28:
                                28:

         Plaintiff objects
         Plaintiff   objects to
                              to this
                                  this Request
                                       Request as  as vague,
                                                       vague, unduly
                                                                unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                           overbroad, irrelevant,
                                                                                                           irrelevant,
cumulative, attorney
cumulative,    attorney client
                          client and
                                  and attorney
                                       attorney work
                                                   work product
                                                          product privilege,
                                                                    privilege, and/or
                                                                                 and/or because
                                                                                          because thethe burden
                                                                                                           burden or  or
expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs itsits likely benefit. Plaintiff
                                               likely benefit.  Plaintiff objects
                                                                          objects toto this
                                                                                       this Request
                                                                                             Request to to the
                                                                                                            the extent
                                                                                                                 extent
it seeks
it seeks premature
         premature information       because Plaintiff
                       information because     Plaintiff does
                                                          does not
                                                                not yet
                                                                    yet know
                                                                        know "all
                                                                                “all damages"
                                                                                     damages” suffered
                                                                                                   suffered because
                                                                                                              because
of the
of  the defect.
        defect. Some     “damages” may
                Some "damages"        may bebe subject
                                                subject to
                                                         to expert
                                                            expert testimony,
                                                                    testimony, such
                                                                                  such as
                                                                                        as the
                                                                                            the medical
                                                                                                 medical necessity
                                                                                                             necessity
of monitoring,
of  monitoring, diagnostic      testing, clinic
                   diagnostic testing,   clinic examinations,
                                                  examinations, andand consultations,      because of
                                                                        consultations, because        of the
                                                                                                          the defect.
                                                                                                                defect.
Plaintiff further
Plaintiff further objects    to the
                    objects to  the scope
                                    scope ofof this
                                               this Request
                                                    Request to to the
                                                                  the extent
                                                                      extent it  seeks information
                                                                              it seeks  information not  not relevant
                                                                                                              relevant
to any
to  any claims
        claims or
                or defenses
                    defenses ofof any
                                  any party.
                                      party. Plaintiff
                                              Plaintiff further
                                                         further objects  to this
                                                                  objects to this Request
                                                                                   Request to to the
                                                                                                 the extent
                                                                                                      extent it   seeks
                                                                                                               it seeks
matters immune
matters  immune from       discovery under
                    from discovery             either the
                                       under either   the attorney-client
                                                           attorney-client privilege
                                                                            privilege and/or
                                                                                        and/or thethe work
                                                                                                       work product
                                                                                                              product
doctrine, or
doctrine,  or any
              any other
                    other privilege,
                           privilege, immunity,
                                      immunity, or  or protection.
                                                       protection. TheThe damages
                                                                          damages thatthat Plaintiff
                                                                                            Plaintiff claims
                                                                                                       claims is  is the
                                                                                                                     the
cost of
cost  of medically
         medically necessary
                      necessary diagnostic    testing caused
                                  diagnostic testing   caused byby Plaintiffs
                                                                    Plaintiff’s and
                                                                                 and class
                                                                                     class members'
                                                                                             members’ significant
                                                                                                          significant
exposure to
exposure   to the
              the proven
                  proven hazardous      Foam Toxins
                            hazardous Foam              released by
                                                Toxins released    by PE-PUR
                                                                       PE-PUR foamfoam inin the
                                                                                            the Recalled
                                                                                                Recalled Devices.
                                                                                                             Devices.

       Without waiving
       Without   waiving and
                          and subject
                               subject to
                                        to these
                                           these objections,  Plaintiff will
                                                  objections, Plaintiff will adhere
                                                                             adhere to
                                                                                    to the
                                                                                        the Court's
                                                                                            Court’s
scheduling Order,
scheduling  Order, the
                    the Federal
                        Federal Rules
                                Rules ofof Civil
                                            Civil Procedure,
                                                  Procedure, and
                                                              and the
                                                                   the Federal
                                                                        Federal Rules
                                                                                Rules of
                                                                                       of Evidence
                                                                                          Evidence
regarding the
regarding the disclosure
              disclosure of
                         of expert
                            expert testimony
                                   testimony and
                                              and evidence.
                                                  evidence.

         Plaintiff does
         Plaintiff does not possess any
                        not possess any responsive
                                        responsive documents.
                                                   documents.

REQUEST 29:
REOUEST       29: All
                  All Communications
                      Communications Regarding
                                     Regarding (i)
                                               (i) any
                                                   any CPAP,
                                                        CPAP, BiPAP,
                                                                 BiPAP, or
                                                                         or other mechanical
                                                                            other mechanical
ventilator device
ventilator  device manufactured
                   manufactured or
                                or marketed
                                   marketed by
                                            by Philips;
                                               Philips; (ii)
                                                        (ii) aa Recalled
                                                                Recalled Device;
                                                                         Device; or
                                                                                  or (iii) the
                                                                                     (iii) the
Litigation.
Litigation.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 29
                                29

      Plaintiff objects
      Plaintiff  objects to
                          to this
                             this Request
                                  Request as
                                           as vague,
                                              vague, unduly
                                                     unduly burdensome,
                                                             burdensome, overbroad,
                                                                           overbroad, irrelevant,
                                                                                      irrelevant,
cumulative, attorney
cumulative, attorney client
                      client and
                             and attorney
                                  attorney work
                                           work product
                                                product privilege,
                                                        privilege, and/or
                                                                   and/or because
                                                                          because the
                                                                                  the burden
                                                                                      burden or
                                                                                              or


                                                         -- 15
                                                            15
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expense of
expense   of the
             the discovery
                  discovery outweighs
                              outweighs its
                                          its likely
                                              likely benefit.
                                                     benefit. Plaintiff
                                                               Plaintiff further
                                                                         further objects
                                                                                  objects to
                                                                                          to the
                                                                                              the scope
                                                                                                   scope of
                                                                                                          of this
                                                                                                             this
Request to
Request   to the
              the extent
                  extent it
                         it seeks
                             seeks information
                                    information notnot relevant
                                                       relevant toto any
                                                                     any claims
                                                                          claims oror defenses
                                                                                      defenses of of any
                                                                                                     any party.
                                                                                                           party.
Plaintiff further
Plaintiff further objects   to this
                   objects to  this Request
                                    Request to to the
                                                  the extent
                                                      extent that
                                                              that information
                                                                   information sought
                                                                                  sought in   this Request
                                                                                          in this   Request has
                                                                                                              has
already been
already  been provided
                provided by
                          by Plaintiff.
                               Plaintiff. Plaintiff
                                          Plaintiff further
                                                    further objects
                                                            objects toto this
                                                                         this Request
                                                                               Request to
                                                                                        to the
                                                                                           the extent
                                                                                                 extent it
                                                                                                        it seeks
                                                                                                           seeks
matters immune
matters  immune from     discovery under
                   from discovery            either the
                                     under either   the attorney-client
                                                        attorney-client privilege
                                                                          privilege and/or
                                                                                     and/or the
                                                                                             the work
                                                                                                  work product
                                                                                                        product
doctrine, or
doctrine,  or any
               any other
                   other privilege,
                         privilege, immunity,
                                      immunity, or or protection.
                                                      protection. Plaintiff
                                                                   Plaintiff further
                                                                              further objects
                                                                                      objects toto this
                                                                                                   this Request
                                                                                                        Request
as duplicative
as duplicative ofof many
                    many of
                          of Defendant's
                              Defendant’s Requests.
                                             Requests.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does not possess
                                                                 does not possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 30:
REOUEST      30: All
                 All social
                       social media
                              media or
                                    or blog
                                       blog posts
                                            posts that
                                                  that You
                                                       You have
                                                           have made
                                                                made relating
                                                                     relating to
                                                                              to aa Recalled
                                                                                    Recalled Device
                                                                                             Device
or any
or any Philips
       Philips entity.
               entity.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 30:
                                30:

        Plaintiff objects
        Plaintiff   objects to
                             to this
                                 this Request
                                      Request as as vague,
                                                     vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                         overbroad, irrelevant,
                                                                                                        irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the
                                 the burden
                                     burden oror expense
                                                  expense of of the
                                                                 the discovery
                                                                     discovery outweighs
                                                                                  outweighs itsits likely  benefit.
                                                                                                   likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                   Request toto the
                                                the extent
                                                     extent it
                                                            it seeks
                                                               seeks matters
                                                                      matters immune
                                                                                immune from
                                                                                          from discovery
                                                                                                 discovery under
                                                                                                               under
either the
either the attorney-client
            attorney-client privilege
                               privilege and/or
                                           and/or the
                                                    the work
                                                         work product
                                                                 product doctrine,
                                                                           doctrine, oror any
                                                                                           any other     privilege,
                                                                                                 other privilege,
immunity, or
immunity,   or protection.
                protection. Plaintiff
                             Plaintiff further
                                       further objects
                                                objects to
                                                         to the
                                                            the scope
                                                                  scope of
                                                                         of this
                                                                            this Request
                                                                                  Request to
                                                                                           to the
                                                                                              the extent
                                                                                                   extent itit seeks
                                                                                                               seeks
information not
information    not relevant
                   relevant to
                             to the
                                the claims
                                    claims or
                                            or defenses
                                                defenses ofof any
                                                               any party.
                                                                    party. For
                                                                           For example,
                                                                                 example, this
                                                                                            this Request
                                                                                                 Request fails
                                                                                                             fails to
                                                                                                                   to
include language
include   language restricting
                      restricting the
                                   the scope
                                        scope of of this
                                                     this Request
                                                          Request to  to the
                                                                          the defects
                                                                               defects atat issue,
                                                                                             issue, and
                                                                                                      and instead
                                                                                                            instead
impermissibly seeks
impermissibly     seeks to
                         to discover
                             discover information
                                       information related
                                                       related toto any
                                                                    any Philips
                                                                          Philips entity.
                                                                                   entity. Moreover,
                                                                                            Moreover, Plaintiff
                                                                                                           Plaintiff
objects that
objects that the
              the burden
                  burden ofof combing
                              combing through
                                         through all
                                                   all social
                                                       social media
                                                               media oror blog
                                                                          blog posts
                                                                                 posts imposes
                                                                                       imposes additional
                                                                                                  additional time
                                                                                                                time
burdens on
burdens   on Plaintiff
             Plaintiff which
                        which substantially
                                substantially outweighs
                                               outweighs itsits likely
                                                                likely benefit.
                                                                        benefit.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 31:
REOUEST      31: All
                  All Documents
                      Documents and  and Communications
                                          Communications You
                                                         You reviewed
                                                             reviewed or
                                                                      or consulted
                                                                         consulted in
                                                                                   in the
                                                                                      the
preparation of
preparation of any
               any complaint
                   complaint in
                             in this
                                this Litigation.
                                     Litigation.

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 31:
                        31:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                              this Request
                                    Request as
                                             as vague,
                                                vague, unduly
                                                        unduly burdensome,
                                                                  burdensome, overbroad,
                                                                                overbroad, irrelevant,
                                                                                              irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                               the burden
                                   burden or
                                           or expense
                                              expense of
                                                       of the
                                                          the discovery
                                                               discovery outweighs
                                                                         outweighs its
                                                                                     its likely  benefit.
                                                                                          likely benefit.
Plaintiff further
Plaintiff further objects to this
                  objects to this Request
                                  Request on
                                           on grounds  that it
                                              grounds that  it seeks
                                                               seeks matters
                                                                     matters immune
                                                                             immune fromfrom discovery
                                                                                               discovery
under either
under  either the
              the attorney-client
                  attorney-client privilege
                                  privilege and/or
                                            and/or the
                                                   the work
                                                       work product
                                                             product doctrine,
                                                                      doctrine, or
                                                                                or any
                                                                                   any other
                                                                                        other privilege,
                                                                                               privilege,
immunity, or
immunity,   or protection.
               protection.

REQUEST 32:
REOUEST      32: All
                 All Documents
                     Documents and
                               and Communications
                                   Communications with
                                                  with Your
                                                       Your insurance
                                                            insurance provider
                                                                      provider or
                                                                               or broker
                                                                                  broker
Regarding aa Recalled
Regarding    Recalled Device.
                      Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 32:
                                32:



                                                       -- 16
                                                          16
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        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.

REQUEST 33:
REOUEST     33: All
                All Documents
                    Documents and
                                and Communications
                                     Communications with
                                                       with Your
                                                            Your insurance
                                                                  insurance provider
                                                                             provider or
                                                                                      or broker
                                                                                         broker
Regarding any
Regarding any claims
              claims associated
                     associated with
                                with the
                                     the injury
                                         injury You
                                                You allege
                                                    allege was
                                                           was caused
                                                               caused by
                                                                      by aa Recalled
                                                                            Recalled Device.
                                                                                     Device.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 33:
                                33:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as as vague,
                                                    vague, unduly
                                                             unduly burdensome,
                                                                        burdensome, overbroad,
                                                                                      overbroad, irrelevant,
                                                                                                    irrelevant,
cumulative, and/or
cumulative,    and/or because
                      because the
                                the burden
                                    burden oror expense
                                                 expense of of the
                                                               the discovery
                                                                     discovery outweighs
                                                                                outweighs its
                                                                                           its likely  benefit.
                                                                                               likely benefit.
Plaintiff further
Plaintiff  further objects to this
                   objects to this Request
                                   Request toto the
                                                 the extent
                                                     extent that
                                                              that information
                                                                    information sought
                                                                                 sought in
                                                                                         in this
                                                                                            this Request
                                                                                                 Request hashas
already been
already  been provided
                provided by
                         by Plaintiff.
                             Plaintiff. Plaintiff
                                        Plaintiff further  objects to
                                                  further objects    to this
                                                                        this Request
                                                                             Request on
                                                                                     on grounds
                                                                                        grounds that
                                                                                                  that it seeks
                                                                                                       it seeks
matters immune
matters             from discovery
          immune from                  under HIPAA,
                           discovery under     HIPAA, the the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                            and/or the
                                                                                                     the work
                                                                                                          work
product doctrine,
product  doctrine, or
                    or any
                       any other
                            other privilege,
                                  privilege, immunity,
                                             immunity, or  or protection.
                                                               protection.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.

REQUEST 34:
REQUEST     34: If You claim
                If You claim to
                              to have
                                 have acquired
                                      acquired aa replacement
                                                  replacement device
                                                              device not
                                                                      not manufactured
                                                                          manufactured byby Philips,
                                                                                              Philips,
all Documents Regarding  that replacement  device,  including but not limited to receipts, insurance
all Documents Regarding that replacement device, including but not limited to receipts, insurance
payments, co-payments,
payments, co-payments, and
                         and explanations
                               explanations of
                                            of benefits;
                                                benefits; and
                                                          and Documents
                                                               Documents sufficient
                                                                            sufficient to
                                                                                       to show
                                                                                           show thethe
manufacturer, model
manufacturer, model name,
                    name, model
                           model number,
                                  number, serial
                                           serial number,
                                                  number, purchase
                                                           purchase date,
                                                                    date, and
                                                                          and amount
                                                                              amount paid
                                                                                       paid for  such
                                                                                             for such
replacement device
replacement device both
                   both by
                        by You
                           You and
                                 and by
                                     by any
                                         any third-party
                                             third-party payor.
                                                         payor.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 34:
                                34:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                                this Request
                                      Request as
                                               as vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                    burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                  irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                     burden or
                                             or expense
                                                expense of
                                                         of the
                                                            the discovery
                                                                 discovery outweighs
                                                                           outweighs itsits likely   benefit.
                                                                                             likely benefit.
Plaintiff further objects to  this  Request  on grounds  that it seeks matters  immune     from
Plaintiff further objects to this Request on grounds that it seeks matters immune from discovery   discovery
under the
under  the attorney-client
            attorney-client privilege
                              privilege and/or
                                         and/or the
                                                 the work
                                                     work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                    any other
                                                                                          other privilege,
                                                                                                   privilege,
immunity, or
immunity,    or protection.
                protection. Plaintiff
                              Plaintiff further
                                        further objects
                                                objects to
                                                        to this
                                                           this Request
                                                                 Request to
                                                                         to the
                                                                             the extent  that information
                                                                                 extent that    information
sought in
sought  in this
           this Request
                Request has
                         has already
                              already been
                                       been provided
                                             provided by
                                                      by Plaintiff.
                                                          Plaintiff.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 35:
REOUEST 35: All
            All Documents
                Documents Regarding
                          Regarding the
                                    the "express
                                        “express warranty"
                                                 warranty” or
                                                           or "warranties"
                                                              “warranties” referenced
                                                                           referenced in
                                                                                      in



                                                     -- 17
                                                        17
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Counts IX,
Counts     X and
       IX, X and XI
                 XI of
                    of the
                       the Medical
                           Medical Monitoring
                                   Monitoring CSAC,
                                              CSAC, including
                                                      including but
                                                                but not
                                                                    not limited to aa copy
                                                                        limited to    copy of
                                                                                           of such
                                                                                              such
warranty and
warranty and any
             any Communications
                 Communications Regarding
                                   Regarding the
                                             the warranty.
                                                 warranty.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 35:
                                35:

         Plaintiff objects
         Plaintiff  objects to
                             to this
                                 this Request
                                       Request as as vague,
                                                      vague, unduly
                                                              unduly burdensome,
                                                                         burdensome, andand cumulative.
                                                                                              cumulative. The
                                                                                                            The
unnecessary difficulties
unnecessary                 of this
               difficulties of this Request
                                     Request are
                                              are compounded
                                                   compounded by by the
                                                                     the fact  that Defendant
                                                                          fact that Defendant seeks
                                                                                               seeks materials
                                                                                                     materials
that are
that are equally   available to
         equally available    to it
                                 it and/or
                                    and/or are
                                           are already
                                                already within
                                                         within its possession, custody,
                                                                its possession,    custody, and/or
                                                                                            and/or control.
                                                                                                   control. As
                                                                                                             As
the manufacturer
the  manufacturer of  of the
                         the Recalled
                               Recalled Devices,
                                          Devices, Defendant
                                                      Defendant is is in
                                                                       in the
                                                                           the better
                                                                                better position
                                                                                       position to
                                                                                                to obtain
                                                                                                    obtain the
                                                                                                             the
information this
information   this Request
                    Request seeks.
                              seeks. Plaintiff
                                       Plaintiff further  objects to
                                                 further objects  to this
                                                                      this Request
                                                                            Request onon grounds
                                                                                         grounds that
                                                                                                  that it
                                                                                                       it seeks
                                                                                                          seeks
matters immune
matters   immune from       discovery under
                     from discovery      under the
                                                 the attorney-client
                                                      attorney-client privilege
                                                                        privilege and/or
                                                                                    and/or the
                                                                                            the work
                                                                                                work product
                                                                                                       product
doctrine, or
doctrine,  or any
              any other
                   other privilege,
                          privilege, immunity,
                                      immunity, or or protection.
                                                      protection.

      Without waiving
      Without waiving and
                      and subject
                          subject to
                                  to these
                                     these objections,
                                           objections, Plaintiff
                                                       Plaintiff does
                                                                 does not
                                                                      not possess
                                                                          possess any
                                                                                  any responsive
                                                                                      responsive
documents.
documents.


REQUEST 36:
REOUEST 36: All
            All Documents
                Documents required
                          required to
                                   to be
                                      be produced
                                         produced under
                                                  under Federal
                                                        Federal Rule
                                                                Rule 26(a)(2)(b).
                                                                     26(a)(2)(b).

RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 36:
                        36:

        Plaintiff objects
        Plaintiff  objects to
                           to this
                               this Request
                                    Request asas vague,
                                                  vague, unduly
                                                          unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                  overbroad, cumulative,
                                                                                               cumulative,
and/or because
and/or because the
                 the burden
                     burden or
                             or expense
                                expense of
                                         of the
                                            the discovery
                                                 discovery outweighs
                                                            outweighs its
                                                                       its likely
                                                                           likely benefit.
                                                                                  benefit. Plaintiff
                                                                                           Plaintiff further
                                                                                                     further
objects to
objects to this
           this Request
                Request as
                         as premature
                            premature because
                                        because it   seeks information
                                                  it seeks              and evidence
                                                           information and             to be
                                                                             evidence to   be elicited
                                                                                              elicited from
                                                                                                       from
and developed
and developed with
                with the
                      the assistance
                          assistance of
                                     of experts.  Plaintiff will
                                        experts. Plaintiff  will adhere
                                                                 adhere to
                                                                        to the
                                                                           the Court's
                                                                               Court’s scheduling
                                                                                        scheduling Order,
                                                                                                     Order,
the Federal
the Federal Rules
             Rules of
                    of Civil
                       Civil Procedure,
                             Procedure, and
                                         and the
                                               the Federal
                                                    Federal Rules
                                                            Rules of
                                                                   of Evidence   regarding the
                                                                      Evidence regarding     the disclosure
                                                                                                 disclosure
of expert
of expert testimony
          testimony and
                      and evidence.
                           evidence.

REQUEST 37:
REOUEST      37: All
                 All Documents
                     Documents that
                               that You
                                    You intend
                                        intend to
                                               to use
                                                  use as
                                                      as an
                                                         an exhibit
                                                            exhibit in
                                                                    in support
                                                                       support of
                                                                               of class
                                                                                  class certification
                                                                                        certification
or at
or at trial.
      trial.


RESPONSE TO
RESPONSE    REQUEST NO.
         TO REQUEST NO. 37:
                        37:

        Plaintiff objects
        Plaintiff   objects to
                            to this
                                  this Request
                                       Request as  as vague,
                                                      vague, unduly
                                                               unduly burdensome,
                                                                         burdensome, overbroad,
                                                                                          overbroad, cumulative,
                                                                                                       cumulative,
and/or because
and/or because thethe burden
                      burden oror expense
                                    expense ofof the
                                                 the discovery
                                                     discovery outweighs
                                                                   outweighs its
                                                                              its likely
                                                                                  likely benefit.
                                                                                          benefit. Plaintiff
                                                                                                   Plaintiff further
                                                                                                             further
objects to  this  Request  as  it  seeks  a premature    legal concession    by   calling  for a legal
objects to this Request as it seeks a premature legal concession by calling for a legal conclusion.    conclusion.
Plaintiff further
Plaintiff          objects to
          further objects  to this
                              this Request
                                     Request toto the
                                                  the extent
                                                       extent it
                                                              it seeks
                                                                  seeks matters
                                                                        matters immune
                                                                                  immune from
                                                                                            from discovery
                                                                                                   discovery under
                                                                                                               under
either the
either the attorney-client
             attorney-client privilege
                                privilege and/or
                                             and/or the
                                                      the work
                                                           work product
                                                                    product doctrine,
                                                                            doctrine, or or any
                                                                                             any other    privilege,
                                                                                                   other privilege,
immunity, or
immunity,    or protection.
                 protection. Plaintiff
                              Plaintiff further
                                          further objects
                                                    objects to
                                                             to this
                                                                  this Request
                                                                       Request asas premature
                                                                                     premature because
                                                                                                  because itit seeks
                                                                                                               seeks
information and
information    and evidence
                   evidence toto bebe elicited
                                      elicited from
                                               from and
                                                      and developed
                                                           developed with
                                                                        with the
                                                                             the assistance
                                                                                   assistance of
                                                                                               of experts.
                                                                                                  experts. Plaintiff
                                                                                                           Plaintiff
will adhere
will adhere toto the
                 the Court's
                     Court’s scheduling
                              scheduling Order,
                                              Order, the
                                                      the Federal
                                                          Federal Rules
                                                                     Rules of
                                                                           of Civil
                                                                               Civil Procedure,
                                                                                      Procedure, and
                                                                                                   and the
                                                                                                        the Federal
                                                                                                            Federal
Rules of
Rules  of Evidence
          Evidence regarding
                      regarding the the disclosure
                                        disclosure ofof expert
                                                        expert testimony
                                                                 testimony and
                                                                            and evidence.
                                                                                   evidence.

REQUEST 38:
REQUEST 38: Any
            Any agreement
                agreement between
                          between You
                                  You and
                                      and Your
                                          Your attorneys
                                               attorneys concerning
                                                         concerning the
                                                                    the Litigation.
                                                                        Litigation.




                                                       -- 18
                                                          18
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RESPONSE TO
RESPONSE    REQUEST NO.
         TO REOUEST NO. 38:
                        38:

         Plaintiff objects
         Plaintiff  objects to
                            to this
                               this Request
                                    Request asas unduly
                                                 unduly burdensome,
                                                        burdensome, overbroad,
                                                                        overbroad, disproportionate,
                                                                                     disproportionate, and
                                                                                                       and
not relevant
not           to any
     relevant to any parties'
                      parties’ claims
                               claims or
                                       or defenses. Plaintiff further
                                          defenses. Plaintiff further objects
                                                                      objects to
                                                                              to this
                                                                                 this Request
                                                                                      Request to
                                                                                              to the
                                                                                                 the extent
                                                                                                     extent
it seeks
it seeks matters
         matters immune
                   immune from
                             from discovery
                                   discovery under
                                              under either
                                                    either the
                                                           the attorney-client
                                                                attorney-client privilege
                                                                                 privilege and/or
                                                                                           and/or the
                                                                                                  the work
                                                                                                      work
product doctrine,
product   doctrine, or
                     or any
                        any other
                             other privilege,
                                   privilege, immunity,
                                              immunity, or
                                                         or protection.
                                                             protection.

REQUEST 39:
REOUEST       39: Any
                   Any attorney
                         attorney advertisements
                                   advertisements appearing
                                                    appearing on
                                                              on television,
                                                                  television, the
                                                                              the Internet  (including
                                                                                   Internet (including
social media
social  media such
               such asas Facebook
                         Facebook or or Twitter),
                                         Twitter), received
                                                   received by
                                                            by mail
                                                                mail oror other
                                                                          other delivery
                                                                                 delivery service,
                                                                                           service, or
                                                                                                    or
information communicated
information   communicated to  to you
                                  you in
                                       in any
                                          any other
                                               other medium,
                                                      medium, You
                                                               You reviewed
                                                                     reviewed which
                                                                                which solicited
                                                                                        solicited your
                                                                                                  your
participation in
participation in the
                 the Litigation, including advertisements
                     Litigation, including advertisements by
                                                           by the
                                                              the attorneys
                                                                  attorneys You
                                                                            You retained.
                                                                                  retained.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REOUEST
                    REQUEST NO.
                            NO. 39:
                                39:

        Plaintiff objects
        Plaintiff  objects to
                            to this
                               this Request
                                     Request as
                                              as vague,
                                                 vague, unduly
                                                           unduly burdensome,
                                                                   burdensome, overbroad,
                                                                                   overbroad, irrelevant,
                                                                                                 irrelevant,
cumulative, and/or
cumulative,   and/or because
                      because the
                                the burden
                                    burden or
                                           or expense
                                               expense ofof the
                                                            the discovery
                                                                discovery outweighs
                                                                            outweighs its
                                                                                        its likely  benefit.
                                                                                            likely benefit.
Plaintiff further objects to this Request to the extent it seeks matters  immune    from  discovery
Plaintiff further objects to this Request to the extent it seeks matters immune from discovery under  under
either the
either the attorney-client
            attorney-client privilege
                              privilege and/or
                                        and/or the
                                                the work
                                                    work product
                                                            product doctrine,
                                                                      doctrine, or
                                                                                 or any
                                                                                     any other    privilege,
                                                                                          other privilege,
immunity, or
immunity,    or protection.
                protection. The     broad scope
                              The broad   scope and
                                                  and unnecessary
                                                        unnecessary difficulties
                                                                       difficulties of
                                                                                     of this
                                                                                        this Request
                                                                                              Request areare
compounded by
compounded     by the
                  the fact
                      fact that
                           that Defendant
                                 Defendant seeks
                                           seeks materials
                                                  materials that
                                                             that are
                                                                  are equally
                                                                      equally available
                                                                               available to
                                                                                          to it.
                                                                                             it.

       Without waiving
       Without waiving and
                       and subject
                           subject to
                                   to these
                                      these objections,
                                            objections, Plaintiff
                                                        Plaintiff does
                                                                  does not
                                                                       not possess
                                                                           possess any
                                                                                   any
responsive documents.
responsive documents.


REQUEST 40:
REOUEST             All Documents
              40: All    Documents Regarding
                                        Regarding any
                                                   any Medical
                                                       Medical Monitoring
                                                                 Monitoring in in which
                                                                                  which You
                                                                                          You have
                                                                                                have
participated in
participated in the
                the last
                    last five  years, including
                         five years,  including documents
                                                documents sufficient
                                                          sufficient to
                                                                     to show
                                                                        show the
                                                                              the frequency
                                                                                  frequency of
                                                                                             of such
                                                                                                such
Medical Monitoring,
Medical   Monitoring, the
                       the nature
                           nature of
                                   of the
                                      the Medical
                                          Medical Monitoring,
                                                  Monitoring, and
                                                              and the
                                                                  the condition(s) and/or diagnosed
                                                                      condition(s) and/or diagnosed
illness for
illness for which
            which You
                  You are
                        are or
                            or were
                               were monitored.
                                     monitored.

AMENDED RESPONSE
AMENDED RESPONSE TO
                 TO REQUEST
                    REQUEST NO.
                            NO. 40:
                                40:

         Plaintiff objects
         Plaintiff  objects toto this
                                   this Request
                                         Request as as vague,
                                                        vague, unduly
                                                                  unduly burdensome,
                                                                            burdensome, overbroad,
                                                                                              overbroad, irrelevant,
                                                                                                             irrelevant,
cumulative, and/or
cumulative,    and/or because
                       because the the burden
                                        burden oror expense
                                                     expense of of the
                                                                    the discovery
                                                                         discovery outweighs
                                                                                     outweighs its  its likely  benefit.
                                                                                                        likely benefit.
Plaintiff further
Plaintiff          objects to
          further objects   to this
                                this Request
                                      Request toto the
                                                   the extent
                                                       extent it   seeks matters
                                                                it seeks  matters immune
                                                                                   immune from from discovery
                                                                                                      discovery under
                                                                                                                  under
either the
either  the attorney-client
             attorney-client privilege
                                 privilege and/or
                                              and/or the
                                                      the work
                                                            work product
                                                                     product doctrine,
                                                                               doctrine, oror any
                                                                                                any other
                                                                                                      other privilege,
                                                                                                              privilege,
immunity, or
immunity,    or protection,
                 protection, including
                                including physician-patient
                                              physician-patient privilege.
                                                                     privilege. Plaintiff
                                                                                 Plaintiff further
                                                                                             further objects
                                                                                                       objects toto this
                                                                                                                     this
Request on
Request   on grounds
              grounds that
                        that it
                             it violates
                                 violates Plaintiffs
                                           Plaintiff’s right
                                                        right to
                                                              to privacy.
                                                                  privacy. Plaintiff
                                                                             Plaintiff further
                                                                                       further objects
                                                                                                 objects toto the
                                                                                                              the scope
                                                                                                                  scope
of this
of this Request
         Request toto the
                      the extent
                           extent it it seeks
                                        seeks information
                                               information not not relevant
                                                                     relevant to
                                                                               to any
                                                                                  any claims
                                                                                        claims or or defenses
                                                                                                      defenses ofof any
                                                                                                                     any
party. A
party. A claim
          claim for
                 for medical
                      medical monitoring
                                  monitoring costs
                                                costs does
                                                       does not
                                                             not put
                                                                   put present
                                                                        present physical
                                                                                 physical condition
                                                                                            condition at  at issue.
                                                                                                             issue. See
                                                                                                                     See
e.g. Bower
e.g. Bower v.v. Westinghouse
                Westinghouse Elec.       Corp., 522
                                  Elec. Corp.,    522 S.E.2d    424,430 (W.Va.
                                                       S.E.2d 424,430               1999) (citations
                                                                           (W.Va. 1999)                   omitted) (the
                                                                                             (citations omitted)     (the
injury in
injury  in question  is the
           question is   the increase
                             increase in in risk
                                            risk that
                                                  that requires
                                                       requires oneone to
                                                                        to incur  the cost
                                                                           incur the   cost of
                                                                                             of monitoring);
                                                                                                 monitoring); Meyer
                                                                                                                  Meyer
v. Fluor Corp.,
v. Fluor          220 S.W.3d
          Corp., 220   S.W.3d 712,712, 714,
                                         714, 716   (Mo. 2007);
                                               716 (Mo.   2007); Exxon
                                                                    Exxon Mobil
                                                                            Mobil Corp.
                                                                                    Corp. v.   Albright, 71
                                                                                           v. Albright,        A.3d 30,
                                                                                                           71 A.3d    30,
75-77 (Md.
75-77  (Md. 2013)    (exposure itself
              2013) (exposure       itself and
                                           and the
                                                the need   for medical
                                                     need for  medical testing
                                                                          testing is
                                                                                   is the
                                                                                      the compensable
                                                                                          compensable injury injury in
                                                                                                                     in aa
medical monitoring
medical   monitoring claim);      Sadler v.
                       claim); Sadler         PacifiCare ofNev.,
                                           v. PacifiCare    of Nev., Inc.,   340 P.3d,
                                                                       Inc., 340 P.3d, 264,
                                                                                        264, 1270-72
                                                                                                1270-72 (Nev.     2014)
                                                                                                           (Nev. 2014)
(inquiry is
(inquiry  is whether
             whether the
                       the negligent
                            negligent act act of
                                              of the
                                                 the defendant
                                                      defendant caused       the plaintiff
                                                                    caused the   plaintiff to
                                                                                            to have
                                                                                                have aa medical
                                                                                                         medical need
                                                                                                                    need



                                                          -- 19
                                                             19
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to undergo
to undergo monitoring);
             monitoring); Potter
                              Potter v.    Firestone Tire
                                       v. Firestone   Tire && Rubber
                                                               Rubber Co.,    863 P.2d
                                                                         Co., 863  P.2d 795,
                                                                                         795, 823   (Cal. 1993).
                                                                                               823 (Cal.  1993).
Plaintiff has
Plaintiff has not
              not waived
                  waived thethe physician-patient
                                 physician-patient privilege
                                                      privilege as
                                                                 as to
                                                                    to any
                                                                       any medical
                                                                             medical condition
                                                                                      condition for  his medical
                                                                                                 for his medical
monitoring claims
monitoring   claims in
                     in this
                         this case
                               case since
                                     since Plaintiff
                                             Plaintiff is
                                                       is not
                                                          not claiming
                                                              claiming present
                                                                          present physical
                                                                                   physical injury
                                                                                            injury in
                                                                                                    in this
                                                                                                       this case.
                                                                                                            case.
The  injury that
The injury  that Plaintiff
                 Plaintiff claims
                             claims isis the
                                          the significant
                                              significant exposure,
                                                           exposure, increased
                                                                       increased risk
                                                                                   risk of
                                                                                        of disease
                                                                                           disease and
                                                                                                    and medical
                                                                                                         medical
necessity of
necessity  of diagnostic
              diagnostic testing
                            testing and
                                      and the
                                            the economic
                                                 economic loss    associated therewith.
                                                            loss associated     therewith. Plaintiff
                                                                                             Plaintiff and
                                                                                                       and class
                                                                                                            class
members base
members    base their
                their claims
                      claims only
                                only on
                                      on their
                                          their significant
                                                significant exposure
                                                            exposure to to the
                                                                           the proven
                                                                               proven hazardous
                                                                                       hazardous Foam
                                                                                                   Foam Toxins
                                                                                                          Toxins
released by
released  by PE-PUR
             PE-PUR foamfoam in in the
                                   the Recalled
                                        Recalled Devices.
                                                   Devices.


 Dated: December
 Dated: December 8,
                 8, 2023
                    2023

 /s/ Sandra
 Is/ Sandra L.
            L. Duggan
               Duggan                                    /s/ Kelly
                                                         /s/ Kelly K
                                                                   K. Iverson
                                                                      Iverson
 Sandra
 Sandra L.  Duggan, Esquire
         L. Duggan,  Esquire                             Kelly K.
                                                         Kelly  K. Iverson,
                                                                   Iverson, Esquire
                                                                             Esquire
 LEVIN SEDRAN
 LEVIN    SEDRAN &   & BERMAN  LLP
                       BERMAN LLP                        LYNCH CARPENTER,
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                                                                                th
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                     Suite 500
                           500                           1133 Penn
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                                                                                   Floor
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 (215)592-1500
 (215)592-1500 (phone)
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                                                         (412) 322-9243 (phone)
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                                                         kelly@lcllp.com
 sduggan@lfsblaw.com
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 /s/ Christopher
 /s/             A. Seeger
     Christopher A. Seeger                               /s/ Steven
                                                         /s/ Steven A.
                                                                    A. Schwartz
                                                                       Schwartz
 Christopher A.
 Christopher  A. Seeger,
                 Seeger, Esquire
                          Esquire                        Steven  A. Schwartz,
                                                         Steven A.  Schwartz, Esquire
                                                                              Esquire
 SEEGER     WEISS LLP
 SEEGER WEISS        LLP                                 CHIMICLES       SCHWARTZ 'MINER
                                                         CHIMICLES SCHWARTZ           KRINER &
                                                                                             &
                        th
 55  Challenger Road,
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                           Floor                         DONALDSON-SMITH LLP
                                                         DONALDSON-SMITH          LLP
 Ridgefield Park,
 Ridgefield  Park, NJ
                   NJ 07660
                      07660                              361  West Lancaster
                                                         361 West             Avenue
                                                                    Lancaster Avenue
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       639-9100 (phone)                                  One Haverford
                                                         One   Haverford Centre
                                                                         Centre
 cseeger@seegerweiss.com
 cseeger@seegerweiss.com                                 Haverford, PA
                                                         Haverford,  PA 19041
                                                                         19041
                                                         (610)
                                                         (610) 642-8500   (phone)
                                                                642-8500 (phone)
                                                         steveschwartz@chimicles.com
                                                         steveschwartz@chimicles.com


                                   Counsel for Plaintiffs
                                   Counselfor  Plaintiffs and
                                                          and the
                                                              the Class
                                                                  Class




                                                      -- 20
                                                         20
    Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 629 of 654




                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify that, on
                 certify that, on December
                                  December 8,
                                           8, 2023,
                                              2023, II served
                                                       served aa true
                                                                 true and
                                                                      and correct
                                                                          correct copy
                                                                                  copy of
                                                                                       of PLAINTIFF
                                                                                          PLAINTIFF

JIM WOLFF’S AMENDED
JIM WOLFF'S AMENDED RESPONSES
                    RESPONSES AND
                              AND OBJECTIONS
                                  OBJECTIONS TO PHILIPS RS'
                                             TO PHILIPS RS’ FIRST
                                                            FIRST

REQUEST FOR
REQUEST FOR PRODUCTION
            PRODUCTION OF
                       OF DOCUMENTS
                          DOCUMENTS TO MEDICAL MONITORING
                                    TO MEDICAL MONITORING

PLAINTIFFS via
PLAINTIFFS via electronic mail on
               electronic mail on the
                                  the following recipients:
                                      following recipients:

                                    John P. Lavelle,
                                    John P. Lavelle, Jr.
                                                     Jr.
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                           MORGAN, LEWIS      & BOCKIUS
                                                 BOCKIUS LLP
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                                          West Feinstein
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                                 Counselfor  Defendant Philips
                                                       Philips
                                   RS North
                                   RS North America,
                                             America, LLC
                                                      LLC

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                                                Steinberg
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                           Counsel for Defendants
                           Counselfor  Defendants Koninklijke
                                                  Koninklijke Philips
                                                              Philips
                       NV, Philips
                       NV,  Philips North
                                    North America
                                          America LLC,
                                                  LLC, Philips
                                                       Philips Holding
                                                               Holding
                 USA Inc., and
                 USA Inc., and Philips
                               Philips RS
                                       RS North
                                          North America
                                                America Holding
                                                        Holding Corporation
                                                                  Corporation
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                           Eric Scott
                           Eric       Thompson
                                Scott Thompson
                       FRANKLIN
                       FRANKLIN &   & PROKOPIK
                                        PROKOPIK
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                      500 Creek View
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                                       Road, Suite 502
                                             Suite 502
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                            Newark,   DE 19711
                                         19711
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                        ethompson@fandpnet.com
                        ethompson@fandpnet.com

                   Counsel for Polymer
                   Counselfor  Polymer Technologies, Inc.
                                       Technologies, Inc.


                                         /s/ Kelly
                                         /s/ Kelly K
                                                   K. Iverson
                                                      Iverson
                                         Kelly K.
                                         Kelly  K. Iverson
                                                   Iverson
Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 631 of 654




                 EXHIBIT AA
                 EXHIBIT AA
             Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 632 of 654



From:
From:                               Elizabeth Pollock
                                    Elizabeth  Pollock Avery
                                                        Avery <Elizabeth@lcllp.com>
                                                               <Elizabeth@lcIlp.com>
Sent:
Sent                                Tuesday,
                                    Tuesday,  November
                                              November    21,
                                                           21, 2023
                                                               2023 2:11  PM
                                                                     2:11 PM
To:
To:                                 Attridge, Elise
                                    Attridge, Elise M.; Kevin Hannon;
                                                    M.; Kevin  Hannon; CSchaffer@lfsblaw.com;
                                                                        CSchaffer@lfsblaw.com; Michael
                                                                                                   Michael Ram
                                                                                                           Ram x20021;
                                                                                                                x20021; Kelly
                                                                                                                        Kelly
                                    Iverson
                                    Iverson
Cc:
Cc:                                 Feinstein, Wendy
                                    Feinstein, Wendy West;
                                                        West; Zwang-Weissman,
                                                               Zwang-Weissman, Yardena
                                                                                  Yardena R.;
                                                                                            R.; Baiocco, Dana; Hunchuck,
                                                                                                Baiocco, Dana; Hunchuck, Steven
                                                                                                                         Steven
                                    N.;
                                    N.; Kuzma,  William; Hanratty,
                                        Kuzma, William;   Hanratty, Judith
                                                                     Judith A.;
                                                                            A.; Hamilton,
                                                                                Hamilton, Matthew;
                                                                                          Matthew; steinbergm@sullcrom.com;
                                                                                                     steinbergm@sullcrom.com;
                                    monahanw@sullcrom.com;         Hight-sullcrom.com
                                    monahanw@sullcrom.com; Hight-sullcrom.com
Subject:
Subject                             RE: Philips
                                    RE: Philips CPAP
                                                CPAP MDL
                                                      MDL -- Meet
                                                               Meet and
                                                                     and Confer
                                                                          Confer After
                                                                                 After Oral
                                                                                       Oral Argument
                                                                                            Argument


[EXTERNAL EMAIL]
[EXTERNAL EMAIL]
Elise,
Elise,

We
We agree to your
   agree to your proposed
                 proposed dates. Do the
                          dates. Do the releases
                                        releases need to have
                                                 need to have wet signatures, or
                                                              wet signatures, or will
                                                                                 will docusigns suffice?
                                                                                      docusigns suffice?

ELIZABETH POLLOCK
ELIZABETH    POLLOCK AVERY
                      AVERY
Partner
(she/her/hers)
Lynch Carpenter
Lynch   Carpenter LLP
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Direct: 412.489.4383
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elizabeth@lcllp.com
elizabeth@lcIlp.com
lynchcarpenter.com




From: Attridge,
From:  Attridge, Elise
                 Elise M.
                       M. <elise.attridge@morganlewis.com>
                          <elise.attridge@morganlewis.com>
Sent: Friday,
Sent: Friday, November
              November 17,17, 2023  10:33 AM
                              2023 10:33   AM
To: Elizabeth
To: Elizabeth Pollock
               Pollock Avery
                       Avery <Elizabeth@lcIlp.com>;
                             <Elizabeth@lcllp.com>; Kevin
                                                      Kevin Hannon
                                                            Hannon <khannon@hannonlaw.com>;
                                                                     <khannon@hannonlaw.com>;
CSchaffer@lfsblaw.com;     Michael Ram
CSchaffer@lfsblaw.com; Michael      Ram x20021
                                         x20021 <MRam@forthepeople.com>;
                                                 <MRam@forthepeople.com>; Kelly
                                                                              Kelly Iverson
                                                                                    Iverson <Kelly@lcIlp.com>
                                                                                            <Kelly@lcllp.com>
Cc: Feinstein,
Cc: Feinstein, Wendy
               Wendy West
                       West <wendy.feinstein@morganlewis.com>;
                             <wendy.feinstein@morganlewis.com>; Zwang-Weissman,
                                                                      Zwang-Weissman, Yardena
                                                                                        Yardena R.
                                                                                                R. <yardena.zwang-
                                                                                                   <yardena.zwang-
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                                            Dana <dana.baiocco@morganlewis.com>;
                                                 <dana.baiocco@morganlewis.com>; Hunchuck,
                                                                                      Hunchuck, Steven
                                                                                                 Steven N.
                                                                                                        N.
<steven.hunchuck@morganlewis.com>; Kuzma,
<steven.hunchuck@morganlewis.com>;          Kuzma, William <william.kuzma@morganlewis.com>; Hanratty,
                                                   William <william.kuzma@morganlewis.com>;     Hanratty, Judith
                                                                                                          Judith A.
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<judith.hanratty@morganlewis.com>; Hamilton,
<judith.hanratty@morganlewis.com>;        Hamilton, Matthew
                                                    Matthew <matthew.hamilton@morganlewis.com>;
                                                             <matthew.hamilton@morganlewis.com>;
steinbergm@sullcrom.com; monahanw@sullcrom.com;
steinbergm@sullcrom.com;      monahanw@sullcrom.com; Hight-sullcrom.com
                                                           Hight-sullcrom.com <Hight@sullcrom.com>
                                                                              <Hight@sullcrom.com>
Subject: RE:
Subject: RE: Philips
             Philips CPAP  MDL -- Meet
                     CPAP MDL     Meet and   Confer After
                                         and Confer After Oral Argument
                                                          Oral Argument

Liz:
Liz:

Yes, regarding
Yes, regarding paragraph
                paragraph 3
                          3 in
                            in my
                               my November 9 email
                                  November 9 email below,
                                                   below, advance
                                                          advance notice
                                                                  notice will
                                                                         will be
                                                                              be provided to counsel
                                                                                 provided to         for MM
                                                                                             counsel for MM Plaintiffs,
                                                                                                            Plaintiffs,
not the plaintiffs themselves.
not the plaintiffs themselves.

Per your
Per your request,
         request, attached
                   attached please  find aa further
                             please find    further revised
                                                    revised Care
                                                            Care Orchestrator
                                                                   Orchestrator release for MM
                                                                                release for MM Plaintiffs'
                                                                                                Plaintiffs’ execution. Please
                                                                                                            execution. Please
have MM Plaintiffs
have MM   Plaintiffs sign
                     sign and
                          and return this release
                              return this          (per the
                                           release (per the instructions
                                                            instructions on the form),
                                                                         on the  form), and
                                                                                        and respond  to RFP
                                                                                            respond to  RFP No.  10, by
                                                                                                             No. 10, by
December 8.
December   8.
                                                                 1
                                                                 1
              Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 633 of 654
To confirm,
To confirm, and
            and as
                as we
                   we discussed
                      discussed during
                                 during our
                                         our meet
                                             meet and
                                                  and confers,
                                                       confers, any
                                                                any information
                                                                    information that    Philips RS
                                                                                   that Philips    obtains through
                                                                                                RS obtains through Care
                                                                                                                   Care
Orchestrator and/or
Orchestrator and/or the
                    the SD
                         SD cards
                            cards will
                                  will be
                                       be provided to counsel
                                          provided to counsel for
                                                              for MM   Plaintiffs.
                                                                  MM Plaintiffs.

Finally, during
Finally, during our
                our October
                    October 30
                            30 meet
                               meet and
                                     and confer
                                         confer with
                                                 with Carole,
                                                      Carole, MM Plaintiffs agreed
                                                              MM Plaintiffs agreed to
                                                                                   to serve
                                                                                      serve second amended responses
                                                                                            second amended           to
                                                                                                           responses to
RFP Nos.
RFP       21, 23,
    Nos. 21,  23, 24,
                  24, and
                      and 25.
                          25. Please
                              Please serve
                                     serve these
                                           these amended
                                                 amended responses
                                                           responses by
                                                                     by December
                                                                        December 8  8 as
                                                                                      as well.
                                                                                         well.

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Morgan Lewis                             YEARS



150 YEARS OF RAISING THE BAR

C Learn More )



From: Elizabeth
From:  Elizabeth Pollock
                  Pollock Avery  <Elizabeth@lcllp.com>
                          Avery <Elizabeth@klID.oarn>
Sent: Monday,
Sent:            November 13,
      Monday, November      13, 202311:06
                                2023 11:06 AMAM
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To:           Elise M.
    Attridge, Elise M. celise.attridge@morganlewis.oam>;
                       <elise.attridge@morganlewis.com>; Kevin
                                                             Kevin Hannon  <khannon@hannonlaw.com>;
                                                                    Hannon <kha n nun ha n nonlaw.com>;
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Cc: Feinstein, Wendy
               Wendy West
                       West <we
                             <wendy.feinstein@morganlewis.com>;        Zwang-Weissman, Yardena
                                  ndvfeinstein @monzanlewiscom>; Avang-Weissman,                 R. <va
                                                                                         Yardena R. <yardena.zwang-
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                                            Dana <dana.baioo;o@monganlewis.com>;       Hunchuck, Steven
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                                            Kuzma, William <william.kuzma@morganlewis.com>; Ha   Hanratty,
                                                                                                    nratty, Judith   A.
                                                                                                             Judith A.
<judith.hanratty@morganlewis.com>; Hamilton,
<iudith.hanrattv@morganlewis.wm>;         Hamilton, Matthew<matthew.hamiltw@monzanlewis.opm>;
                                                    Matthew <matthew.hamilton@morganlewis.com>;
steinbergm@sullcrom.com; monahanw@sullcrom.com; Hight-sullcrom.com <Hight@sullcrom.com>
fleinbergm@sullcrom.own•rnonahanw@sullcrom.oam;Hight-sullcromcom<Hight@sullcromcom>
Subject: RE:
Subject:  RE: Philips
              Philips CPAP
                      CPAP MDL
                            MDL -- Meet
                                   Meet and
                                         and Confer
                                             Confer After
                                                    After Oral
                                                          Oral Argument
                                                               Argument

[EXTERNAL EMAIL]
[EXTERNAL EMAIL]
Elise,
Elise,

To clarify
To clarify Paragraph
           Paragraph 33 below,
                        below, the
                               the advance
                                   advance notice
                                           notice will
                                                  will be
                                                       be provided
                                                          provided to counsel for
                                                                   to counsel     MM Plaintiffs,
                                                                              for MM             not the
                                                                                     Plaintiffs, not the plaintiffs
                                                                                                         plaintiffs
themselves.
themselves.

II believe
   believe we
           we confirmed
              confirmed this
                         this during
                              during the call, but
                                     the call, but please
                                                   please also
                                                           also confirm
                                                                confirm that  any information
                                                                         that any  information Defendants
                                                                                               Defendants obtain
                                                                                                          obtain through
                                                                                                                 through the
                                                                                                                         the
 Care Orchestrator
Care   Orchestrator releases
                    releases and/or
                              and/or the
                                     the SD
                                         SD cards
                                             cards will
                                                    will be
                                                         be provided
                                                            provided to
                                                                      to counsel
                                                                         counsel for
                                                                                  for MM
                                                                                      MM Plaintiffs.
                                                                                          Plaintiffs.

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ELIZABETH             AVERY
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              POLLOCK
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                                                                  2
             Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 634 of 654
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From: Elizabeth
From:  Elizabeth Pollock
                  Pollock Avery
                          Avery
Sent: Monday,
Sent: Monday, November
                 November 13,
                            13, 2023  10:44 AM
                                2023 10:44  AM
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To: Attridge, Elise
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                       <elise.attridge@morganlewis.com>; Kevin     Hannon <khannon@hannonlaw.com>;
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CSchaffer@lfsblaw.com;     Michael Ram
                                    Ram x20021
                                         x20021 <MRam@forthepeople.com>;
                                                 <MRam@forthepeople.com>; Kelly      Iverson <Kelly@lcIlp.com>
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Cc: Feinstein, Wendy
               Wendy West
                       West <wendy.feinstein@morganlewis.com>;
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weissman@morganlewis.com>; Baiocco,         Dana <dana.baiocco@morganlewis.com>;
                                   Baiocco, Dana <dana.baiocco@morganlewis.com>; Hunchuck,
                                                                                       Hunchuck, Steven
                                                                                                  Steven N.
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                                                  William <william.kuzma@morganlewis.com>;       Hanratty, Judith
                                                                                                           Judith A.
                                                                                                                  A.
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                                                   Matthew <matthew.hamilton@morganlewis.com>;
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steinbergm@sullcrom.com; monahanw@sullcrom.com;
steinbergm@sullcrom.com;      monahanw@sullcrom.com; Hight-sullcrom.com
                                                           Hight-sullcrom.com <Hight@sullcrom.com>
                                                                              <Hight@sullcrom.com>
Subject: RE:
Subject:  RE: Philips
              Philips CPAP
                      CPAP MDL
                           MDL -- Meet
                                   Meet and  Confer After
                                        and Confer  After Oral Argument
                                                          Oral Argument

Elise,
Elise,

Thank you
Thank you for
          for confirming those three
              confirming those three points.
                                     points.

Yes, MM
Yes, MM Plaintiffs
         Plaintiffs intend
                    intend to
                           to respond
                              respond toto RFP
                                           RFP 10.
                                               10. We
                                                   We believe  the release
                                                       believe the  release needs  to be
                                                                            needs to  be revised- Paragraph 1
                                                                                         revised- Paragraph 1 refers
                                                                                                              refers to
                                                                                                                     to aa
medical provider
medical provider and
                  and wewe believe this needs
                           believe this        to be
                                        needs to  be reworded
                                                     reworded toto accurately reflect the
                                                                   accurately reflect the relationship
                                                                                          relationship between  Philips RS
                                                                                                       between Philips  RS
North America
North America LLC
               LLC and   MM Plaintiffs.
                     and MM   Plaintiffs.

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From: Attridge,
From:  Attridge, Elise
                 Elise M.
                       M. <elise.attridge@morganlewis.com>
                          <elise.attridge@morganlewis.com>
Sent: Thursday,
Sent: Thursday, November
                 November 9, 9, 2023  11:02 AM
                                2023 11:02   AM
To: Elizabeth
To: Elizabeth Pollock
               Pollock Avery
                       Avery <Elizabeth@lcIlp.com>;
                             <Elizabeth@lcllp.com>; Kevin
                                                       Kevin Hannon
                                                             Hannon <khannon@hannonlaw.com>;
                                                                      <khannon@hannonlaw.com>;
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CSchaffer@lfsblaw.com;     Michael Ram
                                    Ram x20021
                                          x20021 <MRam@forthepeople.com>;
                                                 <MRam@forthepeople.com>; Kelly      Iverson <Kelly@lcIlp.com>
                                                                               Kelly Iverson <Kelly@lcllp.com>
Cc: Feinstein,
Cc: Feinstein, Wendy
               Wendy West
                       West <wendy.feinstein@morganlewis.com>;
                             <wendy.feinstein@morganlewis.com>; Zwang-Weissman,          Yardena R.
                                                                       Zwang-Weissman, Yardena      <yardena.zwang-
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                                   Baiocco, Dana  <dana.baiocco@morganlewis.com>; Hunchuck,
                                                                                       Hunchuck, Steven
                                                                                                  Steven N.
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<steven.hunchuck@morganlewis.com>; Kuzma,
<steven.hunchuck@morganlewis.com>;          Kuzma, William  <william.kuzma@morganlewis.com>; Hanratty,
                                                   William <william.kuzma@morganlewis.com>;      Hanratty, Judith
                                                                                                           Judith A.
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<judith.hanratty@morganlewis.com>;        Hamilton, Matthew
                                                     Matthew <matthew.hamilton@morganlewis.com>;
                                                              <matthew.hamilton@morganlewis.com>;
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steinbergm@sullcrom.com;      monahanw@sullcrom.com; Hight-sullcrom.com
                                                            Hight-sullcrom.com <Hight@sullcrom.com>
                                                                               <Hight@sullcrom.com>
Subject: RE: Philips CPAP  MDL   - Meet  and  Confer After Oral Argument
Subject: RE: Philips CPAP MDL - Meet and Confer After Oral Argument

                                                               3
                                                               3
                Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 635 of 654
Liz:
Liz:

In follow-up
In           to our
   follow-up to our October
                    October 30
                            30 meet
                               meet and
                                    and confer
                                        confer with
                                               with Carole,
                                                    Carole, here
                                                            here are
                                                                 are responses to MM
                                                                     responses to    Plaintiffs’ questions
                                                                                  MM Plaintiffs' questions regarding
                                                                                                           regarding
Care Orchestrator
Care  Orchestrator and
                   and SD
                       SD cards.
                          cards.

       1. You
       1. You asked:
              asked: Regarding the three
                     Regarding the three PDF reports for
                                         PDF reports for Care
                                                         Care Orchestrator,
                                                              Orchestrator, is
                                                                            is the
                                                                               the 'Patient
                                                                                   “Patient ID” different than
                                                                                            ID. different than aa social
                                                                                                                  social
          security number?
          security number? Yes.
                           Yes.

       2. You
       2. You asked:
              asked: Regarding the three
                     Regarding the  three PDF  reports for
                                           PDF reports   for Care
                                                             Care Orchestrator,
                                                                  Orchestrator, what     type of
                                                                                  what type    of information
                                                                                                  information is
                                                                                                              is contained
                                                                                                                 contained in
                                                                                                                           in the
                                                                                                                              the
          “Care Team” section?
          "Care Team.  section? This  information reflects
                                 This information  reflects the  device user’s
                                                             the device         healthcare professional
                                                                        user's healthcare                  and the
                                                                                             professional and       name, address,
                                                                                                                the name, address,
          and phone
          and        number of
              phone number   of the
                                the RCP's
                                    HCP’s practice,   as well
                                            practice, as well as
                                                              as some
                                                                 some or
                                                                       or all
                                                                          all of
                                                                              of this info for
                                                                                 this info for the  DME.
                                                                                               the DME.

       3. You
       3. You asked:
              asked: Before
                     Before Philips
                            Philips RS attempts to
                                    RS attempts  to convert
                                                    convert any
                                                            any non-human-readable
                                                                non-human-readable data  from the
                                                                                    data from     SD cards
                                                                                              the SD cards into
                                                                                                           into human-
                                                                                                                human-
          readable form,
          readable form, can
                         can Philips
                             Philips RS
                                     RS provide advance notice
                                        provide advance  notice to
                                                                to plaintiffs?
                                                                   plaintiffs? Yes.
                                                                               Yes.

Please confirm
Please confirm that
                that MM
                     MM Plaintiffs
                          Plaintiffs will execute aa revised
                                     will execute    revised Care
                                                              Care Orchestrator
                                                                    Orchestrator release
                                                                                   release in
                                                                                           in connection
                                                                                               connection with
                                                                                                           with RFP
                                                                                                                 RFP No. 9, as
                                                                                                                     No. 9, as
discussed to
discussed  to date (attached). If
              date (attached).  If so,
                                   so, please have MM
                                       please have  MM Plaintiffs
                                                          Plaintiffs do
                                                                     do so on aa rolling
                                                                        so on    rolling basis
                                                                                         basis within
                                                                                               within the
                                                                                                      the next
                                                                                                          next two  weeks (not
                                                                                                                two meks    (not
including the
including the upcoming
               upcoming Thanksgiving
                         Thanksgiving holiday).
                                         holiday). Additionally,
                                                    Additionally, please
                                                                   please confirm
                                                                           confirm whether
                                                                                     whether MMMM Plaintiffs  intend to
                                                                                                   Plaintiffs intend to respond  to
                                                                                                                        respond to
RFP No.
RFP     10 regarding
     No.10             their SD
            regarding their  SD cards.
                                cards.

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Igoe   M. Attridge
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                    Bockius LLP
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150 YEARS OF RAISING THE BAR


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From:  Elizabeth Pollock
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                          Avery <Elizabeth  @k Ilo.oarn>
Sent: Thursday,
Soot              October 19,
      Thursday, October    19, 2023
                               2023 5:02 PM
                                          PM
To: Attridge,
To: Attridge, Elise
              Elise M.
                    M. <elise.attridge@monxanlewis.com>;
                       <elise.attridge@morganlewis.com>; KevinKevin Hannon
                                                                    Hannon <khan
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CSchaffer@lfsblaw.com; Michael
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                                          x20021 <MRam@forthepeople.com>; KellyKelly Iverson
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Cc; Feinstein, Wendy
               Wendy West
                       West <wendv.feinstein
                             <wendy.feinstein@morganlewis.com>;       Zwang-Weissman, Yardena
                                                @monxanlewiscom>; Avang-Weissman,                R. <vardena.rwanw
                                                                                         Yardena R. <yardena.zwang-
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<steven.hunchuck@morganlewis.com>; steinbenxm@sullcrom.oam;
gteven.hunchuck@monxanlewis.corn>;          steinbergm@sullcrom.com; Tnonahanw@sullcromicom;
                                                                       monahanw@sullcrom.com; llight-sullcromicom
                                                                                                    Hight-sullcrom.com
<Hight@sullcrom.com>
<Hight@sullcrornicom>
Subject: RE:
Subject;  RE: Philips
              Philips CPAP
                      CPAP MDL
                            MDL -- Meet
                                   Meet and
                                         and Confer
                                              Confer After
                                                     After Oral
                                                           Oral Argument
                                                                Argument

[EXTERNAL EMAIL]
[EXTERNAL EMAIL]
Elise,
Elise,

Per our
Per our earlier
        earlier conversation,
                conversation, wewe will
                                    will provide the identifying
                                         provide the identifying information
                                                                  information for
                                                                              for the
                                                                                  the prescribing doctor and
                                                                                      prescribing doctor and DME  in response
                                                                                                             DME in  response
to ROG
to ROG 1(e).
        1(e). We
              We will
                  will provide
                       provide information
                                information regarding
                                              regarding advice
                                                        advice from
                                                                from the
                                                                      the prescribing doctor of
                                                                          prescribing doctor of the
                                                                                                the Recalled Device(s),
                                                                                                    Recalled Device(s),
provided
provided within  in the
          within in the past  five years,
                         past five        in response
                                   years, in response to
                                                       to ROG
                                                          ROG 6.
                                                               6.
                                                                  4
              Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 636 of 654
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ELIZABETH    POLLOCK AVERY
                      AVERY
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From: Elizabeth
From:  Elizabeth Pollock
                  Pollock Avery
                          Avery
Sent: Tuesday,
Sent: Tuesday, October    17, 2023
                 October 17,         10:35 AM
                              2023 10:35   AM
To: 'Attridge,
To:            Elise M.'
    'Attridge, Elise M.' <elise.attridge@morganlewis.com>;
                         <elise.attridge@morganlewis.com>; Kevin
                                                               Kevin Hannon
                                                                     Hannon <khannon@hannonlaw.com>;
                                                                            <khannon@hannonlaw.com>;
CSchaffer@lfsblaw.com; Michael
CSchaffer@lfsblaw.com;     Michael Ram
                                     Ram x20021
                                          x20021 <MRam@forthepeople.com>;
                                                  <MRam@forthepeople.com>; Kelly     Iverson <Kelly@lcIlp.com>
                                                                               Kelly Iverson <Kelly@lcllp.com>
Cc: Feinstein,
Cc: Feinstein, Wendy
               Wendy West
                       West <wendy.feinstein@morganlewis.com>;
                              <wendy.feinstein@morganlewis.com>; Zwang-Weissman,         Yardena R.
                                                                      Zwang-Weissman, Yardena       <yardena.zwang-
                                                                                                 R. <yardena.zwang-
weissman@morganlewis.com>;
weissman@morganlewis.com>; Baiocco,          Dana <dana.baiocco@morganlewis.com>;
                                    Baiocco, Dana <dana.baiocco@morganlewis.com>; Hunchuck,
                                                                                       Hunchuck, Steven
                                                                                                  Steven N.
                                                                                                         N.
<steven.hunchuck@morganlewis.com>; steinbergm@sullcrom.com;
<steven.hunchuck@morganlewis.com>;                                      monahanw@sullcrom.com; Hight-sullcrom.com
                                            steinbergm@sullcrom.com; monahanw@sullcrom.com;         Hight-sullcrom.com
<Hight@sullcrom.com>
<Hight@sullcrom.com>
Subject: RE:
Subject:  RE: Philips
              Philips CPAP
                      CPAP MDL
                            MDL -- Meet
                                   Meet and   Confer After
                                         and Confer  After Oral Argument
                                                           Oral Argument

Elise,
Elise,

As discussed,
As discussed, please
              please see MM Plaintiffs'
                     see MM Plaintiffs’ written responses to
                                        written responses to your
                                                             your email
                                                                  email below
                                                                        below as
                                                                              as well
                                                                                 well as your 9/29/2023
                                                                                      as your 9/29/2023 email.
                                                                                                        email.

First Set
First Set of
           of Interrogatories
              Interrogatories
Plaintiffs will
Plaintiffs      amend their
           will amend   their responses
                              responses toto Interrogatory
                                             Interrogatory 1(e),
                                                             1(e), 6,
                                                                   6, and 9. Responses
                                                                      and 9. Responses toto Interrogatories
                                                                                            Interrogatories 1(e)1(e) and
                                                                                                                     and 66 will
                                                                                                                            will provide
                                                                                                                                 provide
information
information regarding     the doctor(s)
               regarding the             that prescribed
                               doctor(s) that              the Recalled
                                               prescribed the   Recalled Device(s),
                                                                          Device(s), limited
                                                                                     limited to
                                                                                             to the
                                                                                                 the past
                                                                                                      past 5   years. MM
                                                                                                            5 years.  MM Plaintiffs
                                                                                                                           Plaintiffs will
                                                                                                                                      will
respond   to  Interrogatory  9  to the extent  they have  received   a diagnosis of subcellular   injury. It is MM   Plaintiffs’
respond to Interrogatory 9 to the extent they have received a diagnosis of subcellular injury. It is MM Plaintiffs' position     position
that they
that  they have
            have already
                  already responded
                           responded toto ROG   11. Plaintiffs
                                          ROG 11.   Plaintiffs do
                                                               do not  intend to
                                                                  not intend  to amend
                                                                                 amend their
                                                                                          their responses
                                                                                                responses to  to ROGS   12-17.
                                                                                                                 ROGS 12-17.

Second Set
Second Set of
            of Interrogatories
                Interrogatories
MM Plaintiffs'
MM  Plaintiffs’ served
                served responses
                       responses to
                                 to these
                                    these Interrogatories
                                          Interrogatories on
                                                          on October
                                                             October 2,
                                                                     2, 2023.
                                                                        2023.

First Set
First Set of
           of RFPs
              RFPs
MM Plaintiffs
MM    Plaintiffs have   already agreed
                 have already    agreed to,
                                         to, and
                                             and produced
                                                  produced documents
                                                              documents for,for, RFPs
                                                                                 RFPs 5-7,  12. For
                                                                                       5-7, 12. For RFPs
                                                                                                     RFPs 8-9,
                                                                                                           8-9, 22,
                                                                                                                22, 26,
                                                                                                                    26, 27,  MM Plaintiffs
                                                                                                                         27, MM    Plaintiffs
will
will provide   medical records
     provide medical     records from
                                  from the
                                        the doctor(s)    that prescribed
                                             doctor(s) that                the Recalled
                                                              prescribed the   Recalled Device(s)
                                                                                          Device(s) for
                                                                                                     for the
                                                                                                         the past  five years.
                                                                                                             past five  years. For
                                                                                                                                For RFP   10,
                                                                                                                                     RFP 10,
during   the October
during the              12th meet
             October 12th     meet and
                                    and confer,
                                         confer, we
                                                  we inquired
                                                       inquired as  to what
                                                                 as to  what data
                                                                              data is stored on
                                                                                   is stored      the SD
                                                                                              on the  SD card,
                                                                                                          card, and
                                                                                                                 and how,   if at
                                                                                                                      how, if  at all, that
                                                                                                                                  all, that
data
data would
      would differ   from the
              differ from   the data
                                data collected
                                     collected by   Care Orchestrator.
                                                 by Care   Orchestrator. YouYou agreed   to look
                                                                                 agreed to  look into
                                                                                                  into this
                                                                                                       this question.   For RFP
                                                                                                            question. For         14, we
                                                                                                                            RFP 14,    we
continue   to object   to this request,  but will produce    receipts  to the extent  that  any  are in MM   Plaintiffs’
continue to object to this request, but will produce receipts to the extent that any are in MM Plaintiffs' custody and   custody   and
control.  For RFPs
control. For   RFPs 21,
                    21, 23-25,    MM Plaintiffs
                          23-25, MM   Plaintiffs will
                                                  will produce
                                                       produce any
                                                                any documents      related to
                                                                     documents related      to any
                                                                                               any diagnosis
                                                                                                    diagnosis identified   in response
                                                                                                                identified in  response to to
ROG 9.
ROG   9.

For RFPs
For  RFPs 2, 15, 17,
          2, 15, 17, MM
                     MM Plaintiffs
                           Plaintiffs will
                                      will provide medical records
                                           provide medical           from the
                                                            records from   the doctor(s)  that prescribed
                                                                                doctor(s) that              the Recalled
                                                                                               prescribed the   Recalled Device(s)
                                                                                                                         Device(s)
for the
for the past  five years.
        past five  years. For
                          For RFPs
                              RFPs 19,
                                     19, 29,
                                         29, 34, MM Plaintiffs
                                             34, MM   Plaintiffs stand
                                                                 stand by their objections
                                                                       by their objections but
                                                                                            but did
                                                                                                did provide
                                                                                                     provide documents
                                                                                                              documents inin
response  to these
response to   these requests   to the
                     requests to   the extent  that any
                                       extent that  any documents
                                                        documents exist
                                                                     exist and
                                                                           and are
                                                                                are in MM Plaintiffs'
                                                                                    in MM   Plaintiffs’ custody
                                                                                                        custody or
                                                                                                                or control.
                                                                                                                   control.

                                                                      5
                                                                      5
                Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 637 of 654
For RFP
For RFP 30, MM Plaintiffs
        30, MM Plaintiffs stand
                          stand by their objections
                                by their objections but
                                                      but did
                                                          did provide
                                                              provide documents
                                                                      documents inin response to this
                                                                                     response to this request
                                                                                                       request to
                                                                                                               to the
                                                                                                                  the extent
                                                                                                                      extent
that any
that any documents
         documents exist
                   exist and
                          and are
                              are in MM Plaintiffs'
                                  in MM   Plaintiffs’ custody
                                                      custody or
                                                              or control. For RFP
                                                                 control. For RFP 38, MM Plaintiffs
                                                                                  38, MM  Plaintiffs stand
                                                                                                     stand by their
                                                                                                           by their
objections.
objections.

Medical Records
Medical  Records Releases
                     Releases
MM Plaintiffs
MM   Plaintiffs will  not sign
                 will not sign the
                                the medical
                                    medical records
                                              records releases.   First and
                                                       releases. First      foremost, Defendant
                                                                        and foremost,   Defendant did
                                                                                                   did not  serve these
                                                                                                        not serve these
authorizations
authorizations pursuant
                 pursuant to to the
                                 the Federal
                                     Federal Rules
                                               Rules of
                                                     of Civil Procedure as
                                                        Civil Procedure   as either
                                                                             either interrogatories
                                                                                    interrogatories or
                                                                                                     or as
                                                                                                        as requests for production
                                                                                                           requests for production
(although it
(although  it is MM Plaintiffs'
              is MM    Plaintiffs’ position  that any
                                   position that  any attempt
                                                      attempt toto do  so would
                                                                    do so would bebe improper).  Rather, Defendant
                                                                                     improper). Rather,   Defendant included   the
                                                                                                                      included the
releases
releases in
         in aa letter
               letter to
                       to MM
                          MM Plaintiffs'
                                Plaintiffs’ counsel. Secondly, Defendant
                                            counsel. Secondly,   Defendant has
                                                                             has provided
                                                                                  provided no
                                                                                            no basis for requiring
                                                                                               basis for           signed releases
                                                                                                         requiring signed  releases
rather than
rather than permitting     Plaintiffs to
              permitting Plaintiffs   to request
                                          request and
                                                   and review   the records
                                                        review the   records and   then produce
                                                                              and then           the records
                                                                                        produce the   records to
                                                                                                              to Defendant.
                                                                                                                 Defendant.

Care Orchestrator
Care Orchestrator Releases
                       Releases
MM Plaintiffs
MM   Plaintiffs continue
                continue toto object
                              object toto the
                                          the broad
                                               broad release
                                                      release requested
                                                              requested by  Defendant. Having
                                                                        by Defendant.   Having reviewed
                                                                                               reviewed the
                                                                                                         the data
                                                                                                             data dictionary,
                                                                                                                  dictionary,
MM Plaintiffs
MM   Plaintiffs will  agree to
                will agree  to aa limited
                                  limited release  for the
                                           release for  the TherapyTableDB,
                                                            TherapyTableDB, lines
                                                                             lines 3226 through 3393
                                                                                   3226 through  3393 of the data
                                                                                                      of the data dictionary. MM
                                                                                                                  dictionary. MM
Plaintiffs request   that Defendant    clarify what  the  three PDF reports summarizing   the data contain—is the information
Plaintiffs request that Defendant clarify what the three PDF reports summarizing the data contain—is the information in        in
these reports
these           limited to
       reports limited   to the
                            the data
                                 data contained
                                       contained within    the TherapyTableDB?
                                                   within the  TherapyTableDB?

We
We look forward to
   look forward to your
                   your response.
                        response.


ELIZABETH POLLOCK
ELIZABETH    POLLOCK AVERY
                      AVERY
Partner
(she/her/hers)
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From: Attridge,
From:  Attridge, Elise
                 Elise M.
                       M. <elise.attridge@morganlewis.com>
                          <elise.attridge@morganlewis.com>
Sent: Wednesday,
Sent: Wednesday, October
                     October 4,
                             4, 2023
                                2023 5:57   PM
                                       5:57 PM
To: Elizabeth
To: Elizabeth Pollock
               Pollock Avery
                       Avery <Elizabeth@lcIlp.com>;
                             <Elizabeth@lcllp.com>; Kevin
                                                       Kevin Hannon
                                                             Hannon <khannon@hannonlaw.com>;
                                                                     <khannon@hannonlaw.com>;
CSchaffer@lfsblaw.com; Michael
CSchaffer@lfsblaw.com;     Michael Ram
                                    Ram x20021
                                          x20021 <MRam@forthepeople.com>;
                                                  <MRam@forthepeople.com>; Kelly   Iverson <Kelly@lcIlp.com>
                                                                             Kelly Iverson <Kelly@lcllp.com>
Cc: Feinstein,
Cc: Feinstein, Wendy
               Wendy West
                       West <wendy.feinstein@morganlewis.com>;
                             <wendy.feinstein@morganlewis.com>; Zwang-Weissman,        Yardena R.
                                                                      Zwang-Weissman, Yardena     <yardena.zwang-
                                                                                               R. <yardena.zwang-
weissman@morganlewis.com>;
weissman@morganlewis.com>; Baiocco,          Dana <dana.baiocco@morganlewis.com>;
                                   Baiocco, Dana  <dana.baiocco@morganlewis.com>; Hunchuck,
                                                                                     Hunchuck, Steven
                                                                                                Steven N.
                                                                                                       N.
<steven.hunchuck@morganlewis.com>; steinbergm@sullcrom.com;
<steven.hunchuck@morganlewis.com>;                                     monahanw@sullcrom.com; Hight-sullcrom.com
                                            steinbergm@sullcrom.com; monahanw@sullcrom.com;       Hight-sullcrom.com
<Hight@sullcrom.com>
<Hight@sullcrom.com>
Subject: RE:
Subject: RE: Philips
             Philips CPAP
                     CPAP MDL
                           MDL -- Meet
                                  Meet and    Confer After
                                         and Confer  After Oral Argument
                                                           Oral Argument

Liz:
Liz:

We
We are
   are available
       available during the following
                 during the following dates/times to reschedule
                                      dates/times to reschedule the
                                                                the meet
                                                                    meet and
                                                                         and confer
                                                                             confer and
                                                                                    and would
                                                                                        would appreciate
                                                                                              appreciate doing so at
                                                                                                         doing so at
your earliest
your earliest opportunity:
              opportunity:

       •   Tuesday (Oct.
            Tuesday (Oct. 10)
                          10) —– any time except
                                 any time        12 pm
                                          except 12    to 11 pm
                                                    pm to    pm ET
                                                                ET

                                                                  6
                                                                  6
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    •   Wednesday (Oct.
         Wednesday    (Oct. 11)—
                            11) – any
                                  any time
                                      time except
                                           except 12
                                                   12 pm
                                                      pm tot
                                                         to 2 pm ET
                                                              pm ET
    •   Thursday (Oct.
         Thursday  (Oct. 12)
                         12) —
                             – any
                               any time
                                   time before
                                         before 3
                                                3 pm  ET
                                                  p.m ET
    •   Friday (Oct.
         Friday (Oct. 13)
                      13) —anytime
                          – any time after
                                     after 11
                                           11 am
                                              am FT
                                                  ET

In the
In     meantime, so
   the meantime,   so as
                       as not
                          not to
                              to delay
                                 delay Philips
                                        Philips RS’s receipt of
                                                RS's receipt of critical
                                                                critical discovery
                                                                         discovery any
                                                                                   any further,
                                                                                        further, by
                                                                                                 by the end of
                                                                                                    the end  of next
                                                                                                                next week,
                                                                                                                     week, please
                                                                                                                            please
have all
have  all MM
          MM Plaintiffs
              Plaintiffs execute
                         execute the
                                  the following
                                      following aauthorizations
                                                   uthoatations transmitted    to you
                                                                  transmitted to   you on
                                                                                       on August
                                                                                           August 18
                                                                                                   18 (reattached
                                                                                                      (reattached here):
                                                                                                                   here): (1)
                                                                                                                          (1)
Limited Authorization
Limited   Authorization to
                         to Disclose Health Information;
                            Disclose Health   Information; (2)
                                                           (2) Authorization
                                                               Authorization for
                                                                               for Release  of Insurance
                                                                                    Release of Insurance Records;   (3) Medicare
                                                                                                          Records; (3)  Medicare
Authorization Form;
Authorization  Form; and
                       and (4)
                            (4) HIPAA  Compliant Author-
                                HIPAACompliant     Authorization   Form Pursuant
                                                          Ration Form     Pursuant to
                                                                                    to 45
                                                                                       45 CFR
                                                                                          CFR §§ 164.508
                                                                                                 164.508 Workers'
                                                                                                          Workers’ Compensation
                                                                                                                     Compensation
Authorization.
Authorization.

Special Master
Special Master Katz has     already addressed
                        has already   addressed thethe relevance
                                                       relevance ofof MM
                                                                      MM Plaintiffs’
                                                                          Plaintiffs' medical  records and
                                                                                      medical records     and health-related
                                                                                                               health-related
information, so
information,  so the
                   the time  is ripe
                       time is  ripe for  MM Plaintiffs
                                     for MM               to execute
                                               Plaintiffs to execute these
                                                                      these authorisations.
                                                                             authorizations. As
                                                                                              As indicated
                                                                                                  indicated in in my
                                                                                                                  my email
                                                                                                                      email below,
                                                                                                                             below,
Philips RS
Philips RS will
           will reduce
                reduce the    time period
                         the time           associated with
                                    period associated     with these
                                                               these authorisations
                                                                      authorizations from   10 years
                                                                                      from 10   years toto 77 years, consistent with
                                                                                                              wars, consistent   with
Special Master
Special Master Katt's
                  Katz’s comments
                         comments during
                                       during oral
                                               oral argument.
                                                     argument. Philips
                                                                 Philips RS is agreeing
                                                                         RS is agreeing to
                                                                                         to reduce
                                                                                            reduce this    time period
                                                                                                     this time           in good
                                                                                                                 period in        faith and
                                                                                                                            gaud faith  and
without prejudice
without              and resents
         prejudice and    reserves all
                                     all rights
                                         rights to
                                                to pursue   additional responsive
                                                    pursue additional  responsive information
                                                                                    information and
                                                                                                  and documents
                                                                                                         documents from     earlier time
                                                                                                                      from earlier  time
periods, given Special
periods, given   Special Master
                          Master Katz’s    comments that
                                   Katt's comments      that Philips
                                                             Philips RS may seek
                                                                     RS may   seek documents
                                                                                   documents in in aa “tiered”   approach.
                                                                                                      'tiered' approach.

In response
In response to to your
                  your October
                        October 2 2 email
                                    email regarding
                                          regarding Care
                                                    Care Orchestrator,
                                                          Orchestrator, as as we have stated
                                                                              we have  stated many
                                                                                              many times
                                                                                                     times before,
                                                                                                           before, MM   Plaintiffs
                                                                                                                   MM Plaintiffs
need to
need    to execute
           execute aa release
                      release for
                               for their
                                   their Care
                                         Care Orchestrator
                                              Orchestrator data
                                                            data that
                                                                  that is
                                                                       is commensurate
                                                                          commensurate with     their status
                                                                                           with their status as
                                                                                                             as named
                                                                                                                named plaintiffs  in
                                                                                                                       plaintiffs in
this litigation
this litigation (asthe
                (as the PI  Plaintiffs have
                         PI Plaintiffs have done),
                                            done), not
                                                   not the
                                                       the release
                                                           release provided
                                                                    provided toto Census
                                                                                  Census Registry
                                                                                          Registry potential
                                                                                                   potential claimants.
                                                                                                              claimants. There
                                                                                                                         There is
                                                                                                                                is
no basis
no  basis for
           for MM
               MM Plaintiffs   to provide
                    Plaintiffs to          an authorisation
                                  provide an  authorization for
                                                            for aa more
                                                                   more limited
                                                                          limited data
                                                                                  data set.
                                                                                       set.

Contrary to
Contrary to your
            your assertions,
                  assertions, Philips
                               Philips RS
                                       RS has
                                          has informed
                                               informed Plaintiffs
                                                         Plaintiffs about
                                                                    about the
                                                                          the type
                                                                               type of
                                                                                    of data
                                                                                       data collected  through Care
                                                                                            collected through   Care Orchestrator
                                                                                                                     Orchestrator
by providing
by           Plaintiffs with the
   providing Plaintiffswith   the Care
                                  Care Orchestrator
                                        Orchestrator data
                                                      data dictionary  (more than
                                                           dictionary (more    than one
                                                                                    one year
                                                                                         year aEp).
                                                                                              ago). This
                                                                                                     This information
                                                                                                          information was
                                                                                                                       was
adequate for
adequate  for PI Plaintiffs to
              PI Plaintiffs to execute
                               execute their  Care Orchestrator
                                        their Care  Orchestrator releases.
                                                                  releases. It
                                                                            It should
                                                                               should equally
                                                                                       equally suffice
                                                                                               suffice for
                                                                                                       for MM  Plaintiffs.
                                                                                                           MM Plaintiffs.

Additionally, during
Additionally,  during our
                        our September
                              September 12  18 meet
                                               meet and
                                                      and confer,
                                                           confer, II specifically
                                                                      specifically directed
                                                                                   directed you    to the
                                                                                              you to   the TherapyTableDB
                                                                                                           TherapyTableDB in     in the
                                                                                                                                    the data
                                                                                                                                         data
dictionary (see
dictionary  (see tab
                  tab 22 of
                         of the
                             the data
                                  data dictionary   starting at
                                       dictionary starting   at row
                                                                 row 3226).
                                                                       3226). Upon
                                                                               Upon MM      Plaintiffs’ execution
                                                                                       MM Plaintiffs'    execution of
                                                                                                                    of the
                                                                                                                        the Care
                                                                                                                              Care
Orchestrator release,
Orchestrator    release, Philips
                          Philips RS   will collect
                                    RS will collect the
                                                    the data
                                                         data fields
                                                              fields reflected
                                                                      reflected in
                                                                                 in the
                                                                                    the TherapyTableDB,
                                                                                         TherapyTableDB, as   as well
                                                                                                                 well as
                                                                                                                       as three
                                                                                                                           three PDF
                                                                                                                                   PDF reports
                                                                                                                                         reports
summarizing this
summarbing      this data.
                     data. The
                             The TherapyTableDB
                                   TherapyTableDB clearly
                                                      clearly sets
                                                              sets forth
                                                                    forth the   data to
                                                                           the data   to be
                                                                                         be collected—for
                                                                                             collected—for example,
                                                                                                              example, listlist of
                                                                                                                                of devices
                                                                                                                                   devices
assigned to
assigned  to the
              the patient,
                   patient, time    that the
                              time that  the patient
                                              patient equipment
                                                       equipment record
                                                                     record was    added or
                                                                             was added     or updated,    start hour
                                                                                               updated, start   hour of
                                                                                                                      of therapy
                                                                                                                          therapy dayday for
                                                                                                                                           for
patient, internal code
patient, internal   code used
                          used to to determine    sleep device
                                     determine sleep     device type,   serial number
                                                                 type, serial  number of of the
                                                                                            the sleep   device, average
                                                                                                 sleep device,   average roomroom relative
                                                                                                                                    relative
humidity during
humidity            sleep, average
           during sleep,    average room
                                      room temperature       during sleep,
                                             temperature durirg       sleep, average
                                                                             average total
                                                                                        total leak, the percentage
                                                                                              leak, the  percentage of of the   session/day
                                                                                                                           the session/day
spent with
spent        good mask
       with good    mask fit,
                           fit, and
                                and more.
                                     more. WeWe trust   that this
                                                  trust that this responds
                                                                   responds toto your
                                                                                  your request
                                                                                        request for
                                                                                                  for “more   clarity ...
                                                                                                      'more clarity   … regarding
                                                                                                                          regarding what
                                                                                                                                       what
other information
other information beyond
                      beyond usage,
                                 usage, temperature,
                                        temperature, and and humidity
                                                              humidity data
                                                                          data Philips
                                                                                Philips would
                                                                                         would bebe able
                                                                                                    able to
                                                                                                          to access
                                                                                                             access using
                                                                                                                     using thethe full  release.”
                                                                                                                                   full release..

Finally, please
Finally,        confirm whether
         please confirm whether MM MM Plaintiffs   served their
                                        Plaintiffs served their responses
                                                                responses to
                                                                          to Philips
                                                                             Philips RS’s Second Set
                                                                                     RS's Second Set of
                                                                                                     of IInterrogatories on
                                                                                                          nterrogatories on
October 22 (the
October     (the due
                 due date),
                     date), and
                            and if
                                if so,
                                   so, please send tome.
                                       please send   to me.

Elise
Si& M. Attridge
Morgan,
Mem                  Bockius LIP
       on, Lewis & lloddua    LLP
1111 Itnnsytranla
1111   Pennsylvania Avenue, Nov
                             NW I| W-
                                    Washington,    20004-2541
                                     ashhgeen, DC 20004-2541
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                                                       crystal.moses@morganlewis.com




Morgan Lewis                              V A()
                                             I
                                            YEARS



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From: Elizabeth
From:  Elizabeth Pollock
                  Pollock Avery
                          Avery <Elizabeth@lcIlp.com>
                                <Elizabeth@lcllp.com>
Sent: Wednesday,
Sent: Wednesday, October     04, 2023
                     October 04,       12:06 PM
                                  2023 12:06 PM
To: Attridge,
To: Attridge, Elise
              Elise M.
                    M. <elise.attridge@morganlewis.com>;
                       <elise.attridge@morganlewis.com>; Kevin     Hannon <khannon@hannonlaw.com>;
                                                            Kevin Hannon  <khannon@hannonlaw.com>;
CSchaffer@lfsblaw.com; Michael
CSchaffer@lfsblaw.com;     Michael Ram
                                    Ram x20021
                                         x20021 <MRam@forthepeople.com>;
                                                 <MRam@forthepeople.com>; Kelly     Iverson <Kelly@lcIlp.com>
                                                                              Kelly Iverson <Kelly@lcllp.com>
Cc: Feinstein,
Cc: Feinstein, Wendy
               Wendy West
                       West <wendy.feinstein@morganlewis.com>;
                             <wendy.feinstein@morganlewis.com>; Zwang-Weissman,         Yardena R.
                                                                     Zwang-Weissman, Yardena       <yardena.zwang-
                                                                                                R. <yardena.zwang-
weissman@morganlewis.com>;
weissman@morganlewis.com>; Baiocco,         Dana <dana.baiocco@morganlewis.com>;
                                   Baiocco, Dana <dana.baiocco@morganlewis.com>; Hunchuck,
                                                                                      Hunchuck, Steven
                                                                                                 Steven N.
                                                                                                        N.
<steven.hunchuck@morganlewis.com>; steinbergm@sullcrom.com;
<steven.hunchuck@morganlewis.com>;                                    monahanw@sullcrom.com; Hight-sullcrom.com
                                           steinbergm@sullcrom.com; monahanw@sullcrom.com;         Hight-sullcrom.com
<Hight@sullcrom.com>
<Hight@sullcrom.com>
Subject: RE:
Subject:  RE: Philips
              Philips CPAP
                      CPAP MDL
                           MDL -- Meet
                                   Meet and  Confer After
                                        and Confer  After Oral Argument
                                                          Oral Argument

[EXTERNAL EMAIL]
[EXTERNAL EMAIL]
Elise,
Elise,

Due to
Due  to illness,
        illness, we
                 we need  to reschedule
                     need to            the meet
                             reschedule the meet and
                                                 and confer
                                                     confer presently scheduled for
                                                            presently scheduled for Friday
                                                                                    Friday at
                                                                                           at 3pm. Please provide
                                                                                              3pm. Please         your
                                                                                                          provide your
availability for aa meet
availability for    meet and
                         and confer
                             confer next
                                    next week. Thanks in
                                         week. Thanks in advance for your
                                                         advance for your understanding.
                                                                          understanding.

ELIZABETH POLLOCK
ELIZABETH    POLLOCK AVERY
                      AVERY
Partner
(she/her/hers)
Lynch Carpenter
Lynch   Carpenter LLP
1133 Penn Avenue
5th Floor
5th
Pittsburgh, PA 15222
Direct: 412.489.4383
Office: 412.322.9243
Fax:     412.231.0246
elizabeth@lcllp.com
elizabeth@lcIlp.com
lynchcarpenter.com




From: Elizabeth
From:  Elizabeth Pollock
                  Pollock Avery
                          Avery
Sent: Monday,
Sent: Monday, October
                 October 2,
                          2, 2023  1:48 PM
                             2023 1:48  PM
To: 'Attridge,
To:            Elise M.'
    'Attridge, Elise M.' <elise.attridge@morganlewis.com>;
                         <elise.attridge@morganlewis.com>; Kevin
                                                               Kevin Hannon
                                                                     Hannon <khannon@hannonlaw.com>;
                                                                            <khannon@hannonlaw.com>;
CSchaffer@lfsblaw.com; Michael
CSchaffer@lfsblaw.com;     Michael Ram
                                     Ram x20021
                                          x20021 <MRam@forthepeople.com>;
                                                  <MRam@forthepeople.com>; Kelly     Iverson <Kelly@lcIlp.com>
                                                                               Kelly Iverson <Kelly@lcllp.com>
Cc: Feinstein,
Cc: Feinstein, Wendy
               Wendy West
                       West <wendy.feinstein@morganlewis.com>;
                              <wendy.feinstein@morganlewis.com>; Zwang-Weissman,         Yardena R.
                                                                      Zwang-Weissman, Yardena       <yardena.zwang-
                                                                                                 R. <yardena.zwang-
weissman@morganlewis.com>;
weissman@morganlewis.com>; Baiocco,          Dana <dana.baiocco@morganlewis.com>;
                                    Baiocco, Dana <dana.baiocco@morganlewis.com>; Hunchuck,
                                                                                       Hunchuck, Steven
                                                                                                  Steven N.
                                                                                                         N.
<steven.hunchuck@morganlewis.com>; steinbergm@sullcrom.com;
<steven.hunchuck@morganlewis.com>;                                      monahanw@sullcrom.com; Hight-sullcrom.com
                                            steinbergm@sullcrom.com; monahanw@sullcrom.com;         Hight-sullcrom.com
<Hight@sullcrom.com>
<Hight@sullcrom.com>
Subject: RE:
Subject:  RE: Philips
              Philips CPAP
                      CPAP MDL
                            MDL -- Meet
                                   Meet and   Confer After
                                         and Confer  After Oral Argument
                                                           Oral Argument

Elise,
Elise,

Are you
Are you still
        still available at 33 pm
              available at       ET on
                              pm ET    Friday? We
                                    on Friday? We intend to respond
                                                  intend to         to your
                                                            respond to your proposal
                                                                            proposal below
                                                                                     below at the meet
                                                                                           at the meet and
                                                                                                       and confer.
                                                                                                           confer.

In addition,
In addition, during
              during our
                     our call
                         call on September 18,
                              on September    18, you
                                                  you indicated  that Philips
                                                       indicated that Philips believes  it is
                                                                              believes it  is entitled to the
                                                                                              entitled to the broadest
                                                                                                                broadest possible
                                                                                                                          possible
release
release from all medical monitoring Plaintiffs. During that discussion, you specifically referenced the fact that usage
         from  all medical monitoring  Plaintiffs. During  that discussion, you  specifically  referenced    the fact that  usage data
                                                                                                                                  data
is
is relevant to the
   relevant to the medical
                    medical monitoring
                             monitoring claims.   We have
                                         claims. We   have repeatedly   stated that
                                                            repeatedly stated   that we  may be
                                                                                     we may     be amenable
                                                                                                   amenable to  to executing
                                                                                                                   executing releases
                                                                                                                              releases
for the
for the CareOrchestrator
         CareOrchestrator data   related to
                            data related to usage,
                                             usage, ambient   temperature, and
                                                     ambient temperature,         ambient humidity.
                                                                              and ambient                Philips has
                                                                                              humidity. Philips   has not
                                                                                                                      not explained
                                                                                                                           explained
what   other information
what other   information can
                           can and
                               and would
                                   would bebe collected  if medical
                                               collected if medical monitoring   Plaintiffs executed
                                                                    monitoring Plaintiffs    executed full
                                                                                                        full releases  for the
                                                                                                             releases for  the

                                                                  8
                                                                  8
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information. It is
information. It is not
                   not Plaintiffs'
                        Plaintiffs’ burden to show
                                    burden to show that
                                                   that this
                                                        this information is not
                                                             information is not relevant;
                                                                                relevant; Philips
                                                                                          Philips has the burden
                                                                                                  has the        to show
                                                                                                          burden to show how
                                                                                                                         how
the information
the information isis relevant.
                     relevant.

The CareOrchestrator
The CareOrchestrator data
                     data dictionary
                          dictionary provides
                                     provides an  incomplete picture
                                              an incomplete            of the
                                                              picture of  the information
                                                                              information collected.  For example,
                                                                                           collected. For example, on the
                                                                                                                   on the
MongoDBInstanceFields tab,
MongoDBInstanceFields  tab, the
                            the description for line
                                description for      1553, which
                                                line 1553, which appears
                                                                  appears toto be related to
                                                                               be related to patient
                                                                                             patient communications,
                                                                                                     communications,
merely states
merely states “UNSURE.” By way
              "UNSURE." By way of  further example,
                                of further            the descriptions
                                           example, the                for lines
                                                          descriptions for lines 2384-2409
                                                                                 2384-2409 are
                                                                                             are completely
                                                                                                 completely blank.
                                                                                                            blank.

Lastly, you
Lastly, you had  indicated that
            had indicated  that Philips
                                 Philips has
                                         has produced    the CareOrchestrator
                                              produced the    CareOrchestrator data    for 346
                                                                                data for        of the
                                                                                           346 of  the personal   injury plaintiffs.
                                                                                                       personal injury               As
                                                                                                                         plaintiffs. As
you are
you  are aware,  the personal
         aware, the  personal injury
                               injury plaintiffs
                                       plaintiffs are
                                                  are not
                                                      not represented
                                                          represented by
                                                                       by lead
                                                                          lead class
                                                                                class counsel   for their
                                                                                       counsel for  their individual
                                                                                                          individual personal
                                                                                                                      personal injury
                                                                                                                                injury
claims.
claims. We
         We cannot   simply demand
            cannot simply             that the
                            demand that     the individual
                                                 individual personal injury plaintiffs
                                                            personal injury plaintiffs provide   their personal
                                                                                        provide their  personal records   to the
                                                                                                                 records to  the
team handling
team  handling the
                the discovery   responses for
                     discovery responses    for the
                                                 the medical
                                                     medical monitoring  track Plaintiffs,
                                                              monitoring track  Plaintiffs, as the medical
                                                                                            as the  medical monitoring
                                                                                                             monitoring track
                                                                                                                          track is
                                                                                                                                 is
unrelated  to the  personal injury plaintiffs’  individual claims.
unrelated to the personal injury plaintiffs' individual claims.

We
We anticipate   more clarity
     anticipate more         from you
                     clarity from  you regarding
                                       regarding what
                                                   what other  information beyond
                                                         other information  beyond usage,   temperature, and
                                                                                     usage, temperature,  and humidity
                                                                                                              humidity data
                                                                                                                       data
Philips would  be able to access using  the full release in order to continue this discussion regarding the appropriate scope
Philips would be able to access using the full release in order to continue this discussion regarding the appropriate scope
of the CareOrchestrator
of the  CareOrchestrator release.
                          release.


ELIZABETH POLLOCK
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                      AVERY
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lynchcarpenter.com
lynchcarpentercom




From: Attridge,
From:  Attridge, Elise
                 Elise M.
                       M. <elise.attridge@morganlewis.com>
                          <elise.attridge@morganlewis.com>
Sent: Friday,
Sent: Friday, September
              September 29,
                          29, 2023
                               2023 5:46  PM
                                     5:46 PM
To: Kevin
To: Kevin Hannon
          Hannon <khannon@hannonlaw.com>;
                    <khannon@hannonlaw.com>; Elizabeth
                                                    Elizabeth Pollock
                                                              Pollock Avery
                                                                      Avery <Elizabeth@lcIlp.com>
                                                                            <Elizabeth@lcllp.com>
Cc: Feinstein,
Cc: Feinstein, Wendy
               Wendy West
                       West <wendy.feinstein@morganlewis.com>;
                             <wendy.feinstein@morganlewis.com>; Zwang-Weissman,         Yardena R.
                                                                      Zwang-Weissman, Yardena      <yardena.zwang-
                                                                                                R. <yardena.zwang-
weissman@morganlewis.com>;
weissman@morganlewis.com>; Baiocco,         Dana <dana.baiocco@morganlewis.com>;
                                   Baiocco, Dana <dana.baiocco@morganlewis.com>; Hunchuck,
                                                                                      Hunchuck, Steven
                                                                                                 Steven N.
                                                                                                        N.
<steven.hunchuck@morganlewis.com>; steinbergm@sullcrom.com;
<steven.hunchuck@morganlewis.com>;                                      monahanw@sullcrom.com; Hight-sullcrom.com
                                           steinbergm@sullcrom.com; monahanw@sullcrom.com;         Hight-sullcrom.com
<Hight@sullcrom.com>
<Hight@sullcrom.com>
Subject: RE:
Subject: RE: Philips
             Philips CPAP
                     CPAP MDL
                           MDL -- Meet
                                  Meet and   Confer After
                                         and Confer After Oral Argument
                                                          Oral Argument

Kevin and
Kevin and Liz:
          Liz:

In light
In light of Special Master
         of Special Master Katz’s
                             Katz's comments
                                    comments and   instructions during
                                               and instructions         our September
                                                                during our  September 26    oral argument,
                                                                                         26 oral argument, wewe believe  the time
                                                                                                                 believe the time
is
is ripe to resolve
   ripe to resolve all
                    all outstanding
                        outstanding discovery
                                     discovery disputes
                                               disputes regarding Philips RS's
                                                        regarding Philips RS’s First
                                                                               First and Second Sets
                                                                                     and Second   Sets of Interrogatories and
                                                                                                       of Interrogatories and
RFPs. Accordingly,
RFPs.   Accordingly, atat your
                          your earliest
                               earliest convenience,
                                        convenience, please respond to
                                                     please respond  to my
                                                                        my Sept.
                                                                            Sept. 28
                                                                                   28 email (below) requesting
                                                                                      email (below)  requesting toto schedule
                                                                                                                     schedule aa
meet and
meet   and confer.
            confer.

Additionally, to
Additionally, to help facilitate our
                 help facilitate our discussion and to
                                     discussion and to ensure
                                                        ensure our meet and
                                                               our meet and confer
                                                                            confer is
                                                                                   is most
                                                                                      most productive,
                                                                                            productive, below
                                                                                                        below please  find
                                                                                                               please find
Philips RS's
Philips RS’s proposal for compromise,
             proposal for compromise, which     takes into
                                         which takes  into account Special Master
                                                           account Special Master Katz’s
                                                                                  Katz's preliminary findings.
                                                                                         preliminary findings.

                                                                   9
                                                                   9
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Philips RS's
Philips RS’s First
             First Set
                   Set of
                       of Interrogatories
                          Interrogatories

    •   In light
         In light of Special Master
                  of Special  Master Katz’s
                                      Katz's preliminary   findings that
                                             preliminary findings     that MM
                                                                           MM Plaintiffs'
                                                                                Plaintiffs’ medical
                                                                                            medical records
                                                                                                    records and
                                                                                                             and medical  information
                                                                                                                  medical information
         is
         is relevant  to, at
            relevant to,     least, the
                          at least, the elements
                                        elements of
                                                  of (1)
                                                     (1) causation
                                                         causation andand (2)
                                                                           (2) proof that the
                                                                               proof that  the medical
                                                                                               medical monitoring  sought is
                                                                                                       monitoring sought    is
         different  than what
         different than   what would
                                would have
                                        have been
                                             been prescribed
                                                    prescribed in    the absence
                                                                  in the absence ofof exposure,  MM Plaintiffs
                                                                                      exposure, MM    Plaintiffs must
                                                                                                                 must substantively
                                                                                                                      substantively
         respond
         respond toto Interrogatory
                       Interrogatory Nos.   1(e), 1(f),
                                       Nos. 1(e), 1(f), 6,
                                                        6, 9,
                                                           9, 11,
                                                              11, 12,
                                                                   12, 13,
                                                                       13, 14,
                                                                           14, 15,
                                                                               15, 16,
                                                                                   16, and
                                                                                       and 17
                                                                                            17 as
                                                                                               as currently
                                                                                                  currently drafted.
                                                                                                            drafted.

Philips RS's
Philips RS’s Second
             Second Set
                    Set of
                        of Interrogatories
                           Interrogatories

    •   Though MM
         Though  MM Plaintiffs
                      Plaintiffs have
                                 have not
                                       not yet
                                           yet served
                                               served their
                                                       their objections
                                                             objections and
                                                                        and responses
                                                                            responses toto the
                                                                                           the Second
                                                                                               Second Set
                                                                                                       Set of Interrogatories
                                                                                                           of Interrogatories
         (due Monday,
         (due Monday, October
                        October 2),   MM Plaintiffs
                                  2), MM   Plaintiffs must
                                                      must respond  to them
                                                           respond to  them in
                                                                             in accordance
                                                                                accordance with   Special Master
                                                                                             with Special         Katz’s
                                                                                                          Master Katz's
         preliminary findings that
         preliminary findings  that MM
                                    MM Plaintiffs'
                                         Plaintiffs’ medical
                                                     medical records and medical
                                                             records and  medical information   are relevant.
                                                                                   information are  relevant.

Philips RS's
Philips RS’s First
             First Set
                   Set of
                       of RFPs
                          RFPs

    •   In light
         In light of Special Master
                  of Special    Master Katz’s
                                         Katz's preliminary   findings that
                                                preliminary findings      that MM
                                                                               MM Plaintiffs'
                                                                                    Plaintiffs’ medical
                                                                                                medical records
                                                                                                          records and
                                                                                                                    and medical   information
                                                                                                                         medical information
         is
         is relevant  to, at
            relevant to,      least, the
                           at least,  the elements
                                          elements ofof (1)
                                                        (1) causation
                                                            causation and  and (2)
                                                                               (2) proof  that the
                                                                                   proof that  the medical
                                                                                                     medical monitoring     sought is
                                                                                                              monitoring sought     is
         different  than what
         different than    what would
                                   would have
                                           have been
                                                been prescribed
                                                       prescribed in     the absence
                                                                     in the  absence of of exposure,
                                                                                           exposure, MMMM Plaintiffs
                                                                                                             Plaintiffs must
                                                                                                                        must produce
                                                                                                                              produce
         documents
         documents in   in response
                           response to to RFP
                                          RFP Nos.
                                               Nos. 5,  6, 7,
                                                     5, 6, 7, 8,
                                                              8, 9,
                                                                 9, 10,
                                                                    10, 12,
                                                                          12, 14,
                                                                              14, 21,
                                                                                  21, 22,
                                                                                      22, 23,
                                                                                           23, 24,
                                                                                               24, 25,
                                                                                                    25, 26,
                                                                                                        26, 27, and 40.
                                                                                                            27, and   40. For
                                                                                                                           For RFP
                                                                                                                               RFP Nos.
                                                                                                                                    Nos. 22,
                                                                                                                                          22,
         26,  and 27
         26, and       (with respect
                   27 (with    respect toto "Your
                                            “Your present
                                                  present condition"
                                                             condition” only),
                                                                            only), Philips
                                                                                   Philips RS
                                                                                            RS will
                                                                                               will reduce   the requested
                                                                                                    reduce the                time period
                                                                                                                 requested time     period
         from 10
         from   10 years
                   years toto 77 years,
                                 years, consistent
                                         consistent with   Special Master
                                                     with Special   Master Katz's
                                                                               Katz’s comments
                                                                                      comments during
                                                                                                    during oral  argument. Philips
                                                                                                            oral argument.    Philips RS
                                                                                                                                       RS is
                                                                                                                                          is
         agreeing
         agreeing toto reduce     this time
                        reduce this    time period
                                             period in good faith
                                                    in good   faith and
                                                                     and without
                                                                            without prejudice
                                                                                    prejudice and
                                                                                                and reserves
                                                                                                      reserves all
                                                                                                                all rights to pursue
                                                                                                                    rights to pursue
         additional
         additional responsive
                      responsive information      and documents
                                     information and    documents from from earlier   time periods,
                                                                              earlier time             given Special
                                                                                            periods, given    Special Master
                                                                                                                       Master Katz's
                                                                                                                                Katz’s
         comments
         comments that that Philips
                             Philips RS
                                      RS may   seek documents
                                          may seek  documents in   in aa “tiered”
                                                                         "tiered" approach.
                                                                                   approach.

    •   In their
         In their amended
                  amended responses
                            responses to to the
                                            the First
                                                First Set
                                                       Set of RFPs, Medical
                                                           of RFPs,  Medical Monitoring
                                                                                Monitoring Plaintiffs
                                                                                             Plaintiffs (except
                                                                                                        (except for
                                                                                                                for Sharon
                                                                                                                    Sharon Cathers
                                                                                                                            Cathers
         and  Patricia Ragland
         and Patricia  Ragland who
                               who have     not served
                                     have not   served amended
                                                          amended responses
                                                                     responses despite     the August
                                                                                  despite the   August 3030 deadline  to do
                                                                                                            deadline to     so), purport
                                                                                                                         do so), purport
         to respond
         to respond toto RFP Nos. 2,
                         RFP Nos.     15, 17,
                                   2, 15, 17, 19,
                                              19, 29,   and 34.
                                                  29, and    34. Because
                                                                  Because MM MM Plaintiffs
                                                                                  Plaintiffs included   these RFP
                                                                                             included these   RFP in the parties’
                                                                                                                  in the  parties'
         dispute
         dispute concerning   medical records
                  concerning medical    records and    medical information,
                                                 and medical     information, please
                                                                                 please confirm   that each
                                                                                        confirm that         MM Plaintiffs'
                                                                                                        each MM   Plaintiffs’
         productions   are complete
         productions are   complete with    respect to
                                      with respect    to these
                                                         these RFP,
                                                                RFP, in
                                                                      in light
                                                                         light of Special Master
                                                                               of Special          Katz’s preliminary
                                                                                           Master Katz's                findings that
                                                                                                           preliminary findings  that
         MM Plaintiffs'
         MM   Plaintiffs’ medical records and
                          medical records   and medical
                                                medical information
                                                           information are are relevant.
                                                                               relevant.

    •   We
         We also
             also would
                  would like to further
                        like to further discuss MM Plaintiffs'
                                        discuss MM Plaintiffs’ production
                                                               production of
                                                                          of documents in response
                                                                             documents in response to
                                                                                                   to RFP
                                                                                                      RFP Nos.
                                                                                                          Nos. 30
                                                                                                               30 and
                                                                                                                  and
         38.
         38.

Philips RS's
Philips RS’s Second
             Second Set
                    Set of
                        of RFPs
                           RFPs

    •   For RFP
         For   RFP Nos.
                    Nos. 41
                          41 and
                             and 42,
                                 42, Philips
                                      Philips RS
                                              RS will
                                                 will reduce the requested
                                                      reduce the              time period
                                                                   requested time           from 10
                                                                                    period from  10 years
                                                                                                    years to
                                                                                                          to 7
                                                                                                             7 years,
                                                                                                               years, consistent
                                                                                                                       consistent
         with   Special Master
         with Special            Katz’s comments
                         Master Katz's   comments during
                                                     during oral
                                                            oral argument.    Philips RS
                                                                 argument. Philips    RS is
                                                                                         is agreeing to reduce
                                                                                            agreeing to         this time
                                                                                                        reduce this  time period  in
                                                                                                                          period in
         good faith
         good    faith and
                       and without
                           without prejudice
                                     prejudice and
                                                and reserves
                                                    reserves all  rights to
                                                              all rights to pursue
                                                                            pursue additional
                                                                                    additional responsive  information and
                                                                                               responsive information    and
         documents
         documents from from earlier  time periods,
                              earlier time  periods, given Special Master
                                                     given Special   Master Katz's
                                                                             Katz’s comments   that Philips
                                                                                    comments that   Philips RS may seek
                                                                                                            RS may   seek documents
                                                                                                                          documents
         in
         in aa “tiered”
               "tiered" approach.
                         approach.

Other Topics
Other Topics for
             for Meet
                 Meet and
                      and Confer
                          Confer

    1. As
    1. As you
          you know,   Sharon Cathers
               know, Sharon    Cathers and    Patricia Ragland
                                        and Patricia   Ragland have
                                                                have failed
                                                                     failed to
                                                                             to serve
                                                                                serve amended
                                                                                       amended responses
                                                                                                 responses toto Philips
                                                                                                                Philips RS's
                                                                                                                        RS’s First
                                                                                                                             First
       Sets of
       Sets of Interrogatories
               Interrogatories and   RFPs in
                                and RFPs    in accordance
                                               accordance with   the August
                                                            with the August 3030 deadline—a
                                                                                  deadline—a consistent
                                                                                              consistent issue
                                                                                                          issue with   many
                                                                                                                  with many
       Medical Monitoring
       Medical  Monitoring Plaintiffs,
                             Plaintiffs, as
                                         as we
                                             we have   noted in
                                                 have noted  in our
                                                                our numerous
                                                                    numerous prior
                                                                                 prior correspondence
                                                                                       correspondence on    this topic.
                                                                                                        on this  topic. As
                                                                                                                         As
       recommended     by  Special  Master   Katz during  the parties’ Sept.  18  weekly teleconference,  we   are requesting
       recommended by Special Master Katz during the parties' Sept. 18 weekly teleconference, we are requesting that            that
       we
       we meet
           meet and
                 and confer   to discuss
                      confer to           the ramifications
                                 discuss the   ramifications for
                                                             for MM
                                                                 MM Plaintiffs
                                                                       Plaintiffs who
                                                                                  who continue  to disregard
                                                                                       continue to             their obligations
                                                                                                   disregard their                to
                                                                                                                     obligations to
       timely respond
       timely respond toto discovery
                           discovery requests.
                                      requests.

    2. Philips RS
    2. Philips RS would
                  would like to further
                        like to further discuss MM Plaintiffs'
                                        discuss MM Plaintiffs’ position
                                                               position on
                                                                        on whether they must
                                                                           whether they must and
                                                                                             and intend to produce
                                                                                                 intend to produce aa
       privilege log.
       privilege log.
                                                                     10
                                                                     10
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    3.
    3.   Philips RS's
         Philips RS’s RFPs expressly request
                      RFPs expressly request the
                                             the production of texts
                                                 production of texts and
                                                                     and emails.
                                                                         emails. We
                                                                                 We would like to
                                                                                    would like to discuss
                                                                                                  discuss MM Plaintiffs’
                                                                                                          MM Plaintiffs'
         efforts to
         efforts to preserve, search, and
                    preserve, search, and produce
                                          produce these
                                                   these responsive  documents.
                                                         respons-rve documents.



Elise
SP& M.      Attridge
       M. Attridge
Morgan, Lowly
Morgan,     Lewis && &addax
                      Bockius LLP
                               LLP
1111 Itnresytranta
11.11 Pennsylvania Avenue,
                      Avenue, NW
                              NW I| W-
                                     Washington,
                                      ashhgtcn, DCDC 27304-2541
                                                      20004-2541
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                             Main: +1.202.739.3000
                                    +1.202.739.3000 I| Par.
                                                        Fax: +1.202.7393001
                                                             +1.202.739.3001 I| Mobile:
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                                                                                        +1.610.608.8325
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effseattridgeematjanlewfsccrn        www.morganlewis.com
                                            ,ii=„mIentA5.0:en
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                                     +1.202.373.6551 I| cryslarnmes&notganlews-orn
                                                         crystal.moses@morganlewis.com




Morgan Lewis                           1
                                       !YEARS/



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C Learn More )




From: Attri
From:  Attridge,
           dge, Elise  M.
                 Elise M.
Sent: Thursday,
Sent:            September 28,20232:48
      Thursday,September     28, 2023 2:48 PMPM
To: 'Kevin
To: 'Kevin Hannon'   <khannon@hannonlaw.com>;
           Hannon' <khannon    @hannonlaw.com>; 'Elizabeth      Pollock Avery'
                                                     'Elizabeth Pollock Avery' <FI-
                                                                               <Elizabeth@lcllp.com>
                                                                                  FUttth@kIlDicom>
Cc: Feinstein,
Cc: Feinstein, Wendy
               Wendy West
                       West <we
                            <wendy.feinstein@morganlewis.com>;         Zwang-Weissman, Yardena
                                 rpdv.feinstein @monganlewis.com>; Avang-Weissman,                R. <vardena.nvang-
                                                                                          Yardena R. <yardena.zwang-
weissman@morganlewis.com>;        Baiocco,  Dana  <dana.baiocco@morganlewis.com>;       Hunchuck,
weissman@monganlewispom>; Baiocco, Dana <dana.baiooPo@monganlewis.com>; Hunchuck, Steven N.       Steven  N.
<steven.hunchuck@morganlewis.com>;
Steven  .hunch uc k@monganlewis.com>; 'steinbergm@sullcrom.com'          <steinbergm@sullcrom.com>;
                                           'steinbergm@sullcrom orn' <,tein     bengm@sulkrom.com>;
'monahanw@sullcrom.com' <mona
imonahanw@sullcrom.com'       <monahanw@sullcrom.com>;
                                     ha nw@sul krom.com>; Hight-sullcrom.com        <Hight@sullcrom.com>
                                                               Hight-sulkrom.com <Hight@sulkrom.com>
Subject: Philips
Subject: Philips CPAP
                 CPAP MDL-
                       MDL - Meet
                             Meet and
                                    and Confer
                                         Confer After
                                                 After Oral
                                                       Oral Argument
                                                            Argument

Kevin and
Kevin and Liz:
          Urz:

In follow
In        up to
   follow up to Special
                Special Master
                        Master Katz’s comments and
                               Katz's comments  and instructions
                                                     instructions during
                                                                   during the
                                                                          the September
                                                                              September 26
                                                                                         26 oral
                                                                                             oral argument,
                                                                                                  argument, we
                                                                                                            we are
                                                                                                               are writing
                                                                                                                   writing
to schedule
to schedule aa meet
               meet and
                    and confer
                         confer for next week
                                for next      regarding Philips
                                         week regarding  Philips RS's
                                                                 RS’s outstanding
                                                                      outstanding discovery
                                                                                  discovery inquiries.
                                                                                            inquiries.

Please let
Please let us
           us know
              know your
                   your availability
                        availability on
                                     on the
                                        the following dates/times. To
                                            following dates/times  To aid
                                                                      aid our
                                                                          our discussion,
                                                                              discussion, we
                                                                                          we will send you
                                                                                             will send you Philips
                                                                                                           Philips RS’s
                                                                                                                   RS's
proposal  for compromise
proposal for  compromise at
                         at least
                            least one
                                   one business  day before
                                        business day        the meet
                                                     before the      and confer.
                                                                meet and  confer.

    •   Monday, Oct.
         Monday, Oct. 2:
                      2: any
                         any time before noon
                             time before noon ET
                                              ET
    •   Tuesday, Oct.
         Tuesday, Oct. 3:3-4
                       3: 3 – 4 pm
                                pm ET
                                   ET
    •   Thursday, Oct.
         Thursday, Oct. 5:2-3
                         5: 2 – 3 pm
                                  pm ET
                                     ET
    •   Friday, Oct
         Friday, Oct. 6:
                      6: anytime
                         any time during
                                   during 99 am
                                             am —2
                                                – 2 pm
                                                    pm ET or 3
                                                       ET or 3 pm-4
                                                               pm – 4 pm
                                                                      pm ET
                                                                         ET

Elise M.
MP&         Attridge
       M. Attridge
Morgan,
Mum         Lewis &
      oI, Lewis    & &addax
                      Bockius LLP
                               LLP
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                      Avenue, NW
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                                      Washington, DC
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                                                             +1.202.739.3001 I| MOUIC:
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                                                                   11
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                                     and viruses,
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                                spam and
                                     and viruses.
                                         viruses. Click
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                                spam and
                                     and viruses.
                                         viruses. Click
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                                                                                     spam.




                                                           12
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                  EXHIBIT BB
                  EXHIBIT BB
                Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 645 of 654



From:
From:                                   Attridge, Elise
                                        Attridge,  Elise M.
                                                         M.
Sent:
Sent                                    Friday,
                                        Friday,  January
                                                 January  5,
                                                          5, 2024
                                                             2024 2:17  PM
                                                                   2:17 PM
To:
To:                                     Elizabeth Pollock
                                        Elizabeth  Pollock Avery;
                                                             Avery; Lavelle,
                                                                    Lavelle, Jr.,
                                                                             Jr., John
                                                                                  John P.;  Feinstein, Wendy
                                                                                        P.; Feinstein, Wendy West;
                                                                                                                West; Dykstra,
                                                                                                                      Dykstra, Lisa
                                                                                                                               Lisa C.;
                                                                                                                                    C.;
                                        Michael H.
                                        Michael   H. Steinberg  (steinbergm@sullcrom.com); William
                                                     Steinberg (steinbergm@sullcrom.com);           William B.
                                                                                                             B. Monahan
                                                                                                                Monahan
                                        (monahanw@sullcrom.com); Hight-sullcrom.com;
                                        (monahanw@sullcrom.com);         Hight-sullcrom.com; laurenm@hbsslaw.com;
                                                                                                   laurenm@hbsslaw.com; Schutte,
                                                                                                                            Schutte, Scott
                                                                                                                                       Scott
                                        T.; Baiocco,
                                        T.; Baiocco, Dana
                                                      Dana
Cc:
Cc:                                     Kelly Iverson;
                                        Kelly Iverson; S  Duggan; cseeger@seegerweiss.com;
                                                        S Duggan;   cseeger@seegerweiss.com; Steve    Steve Schwartz;
                                                                                                            Schwartz;
                                        DBuchanan@seegerweiss.com; sitri@seegerweiss.com;
                                        DBuchanan@seegerweiss.com;          sitri@seegerweiss.com; dstellings@lchb.com;
                                                                                                         dstellings@lchb.com;
                                        vbuchanan@levinlaw.com; waudet@audetlaw.com;
                                        vbuchanan@levinlaw.com;        waudet@audetlaw.com; CSchaffer@lfsblaw.com;
                                                                                                     CSchaffer@lfsblaw.com; Kevin
                                                                                                                               Kevin
                                        Hannon; Michael
                                        Hannon;              Ram x20021
                                                   Michael Ram    x20021
Subject:
Subject                                 RE: Philips
                                        RE:  Philips CPAP
                                                     CPAP Medical
                                                           Medical Monitoring
                                                                     Monitoring Plaintiffs'
                                                                                    Plaintiffs' Second
                                                                                                Second Amended
                                                                                                         Amended Responses
                                                                                                                   Responses toto First
                                                                                                                                   First Set
                                                                                                                                         Set
                                        of RFPs
                                        of  RFPs


Liz,
Liz,

MM Plaintiffs'
MM    Plaintiffs’ tardy
                  tardy discovery   responses, missing
                         discovery responses,   missing or
                                                        or deficient
                                                           deficient interrogatory
                                                                     interrogatory verifications,
                                                                                    verifications, and  failure to
                                                                                                   and failure  to timely
                                                                                                                   timely execute
                                                                                                                          execute
the agreed-upon
the  agreed-upon release      for their
                     release for  their Care
                                        Care Orchestrator
                                             Orchestrator data
                                                           data (among
                                                                (among other    things) continues
                                                                          other things)            to put
                                                                                        continues to       the schedule
                                                                                                      put the  schedule atat
risk. Therefore, we
risk. Therefore,        intend to
                    we intend   to escalate the below
                                   escalate the        issues to
                                                below issues  to Special
                                                                 Special Master
                                                                          Master Katz
                                                                                  Katz during  the parties’
                                                                                       during the           regularly-scheduled
                                                                                                   parties' regularly-scheduled
conference
conference on     Monday, January
              on Monday,     January 8.
                                      8. By
                                         By way
                                             way of further response
                                                 of further response toto your
                                                                          your January
                                                                               January 33 email:
                                                                                          email:

       1. We
       1. We expect   to receive
              expect to          your long-promised
                         receive your               revisions to
                                      long-promised revisions to the
                                                                 the consent motion on
                                                                     consent motion on or
                                                                                       or before Monday. If
                                                                                          before Monday. If not,
                                                                                                            not, we
                                                                                                                 we will
                                                                                                                    will
          raise
          raise with Special Master
                with Special Master Katz.
                                    Katz.

       2. More than
       2. More  than two
                     two months
                          months past  the deadline,
                                  past the           MM Plaintiffs'
                                           deadline, MM  Plaintiffs’ second
                                                                     second amended      responses to
                                                                             amended responses       to Philips
                                                                                                        Philips RS’s First
                                                                                                                RS's First
          Interrogatories continue
          Interrogatories          to be
                          continue to    tardy, improperly
                                      be tardy, improperly verified,
                                                           verified, or
                                                                      or not
                                                                         not verified
                                                                             verified at all. Specifically:
                                                                                      at all. Specifically:

               a. Despite raising
               a. Despite          the issue
                           raising the issue with  you more
                                             with you   more than
                                                              than 33 weeks
                                                                      weeks ago,   there are
                                                                              ago, there are still
                                                                                             still twenty
                                                                                                   twenty (20)
                                                                                                          (20) MM
                                                                                                               MM Plaintiffs
                                                                                                                    Plaintiffs who
                                                                                                                               who
                  served responses
                  served              that are
                          responses that   are improperly   verified in
                                                improperly verified     that the
                                                                     in that the purported   verification merely
                                                                                 purported verification   merely contains
                                                                                                                  contains aa typed
                                                                                                                              typed
                  signature that
                  signature  that is not DocuSigned
                                  is not DocuSigned (Steve    Abarr, Paul
                                                       (Steve Abarr,  Paul Bailey,
                                                                           Bailey, Danny
                                                                                   Danny Baran,
                                                                                          Baran, Danny
                                                                                                   Danny David,
                                                                                                          David, Sonia
                                                                                                                 Sonia Diaz,
                                                                                                                       Diaz,
                  Christine DiJohn, Andrew
                  Christine DiJohn,   Andrew Fisher,
                                               Fisher, Christopher  Glaub, Madaline
                                                       Christopher Glaub,   Madaline Harbor,
                                                                                       Harbor, Jose
                                                                                                Jose Lopez,
                                                                                                     Lopez, Diane
                                                                                                            Diane Lamontagne,
                                                                                                                   Lamontagne,
                  David Martin,
                  David  Martin, Doris
                                 Doris Margoles,
                                        Margoles, Deanna
                                                    Deanna Melcher,     Paul Panzera,
                                                             Melcher, Paul   Panzera, Antonio
                                                                                       Antonio Perez
                                                                                                Perez Bonano,   Sean Purdy,
                                                                                                       Bonano, Sean   Purdy,
                  Cameron    Rose, Chad
                  Cameron Rose,     Chad Wells,
                                          Wells, and  Jim Wolff).
                                                  and Jim Wolff).

               b. To date,
               b. To       the verifications
                     date, the verifications of
                                             of three
                                                three (3) MM Plaintiffs
                                                       3 MM  Plaintiffs are
                                                                        are missing
                                                                            missing completely
                                                                                    completely (Susan Bakaitis, Elizabeth
                                                                                               (Susan Bakaitis, Elizabeth
                  Heilman, and
                  Heilman,      Sabrina Malone).
                            and Sabrina   Malone).

               c. To date,
               c. To       eight (8)
                     date, eight (8) MM
                                     MM Plaintiffs
                                          Plaintiffs have failed to
                                                     have failed to serve
                                                                    serve second
                                                                          second amended
                                                                                 amended responses
                                                                                           responses at
                                                                                                     at all,
                                                                                                        all, which
                                                                                                             which were
                                                                                                                   were due
                                                                                                                        due
                  months  ago on  November    2 (Bruce  Ginsberg,   Arthur Hibbard, Martin Humphries, Jill Leavenworth,
                  months ago on November 2 (Bruce Ginsberg, Arthur Hibbard, Martin Humphries, Jill Leavenworth,
                  Robert Peebles,
                  Robert Peebles, Patricia
                                   Patricia Ragland,
                                            Ragland, Aaron
                                                      Aaron Taylor,
                                                              Taylor, and Michael Wheeler).
                                                                      and Michael Wheeler).

       3.
       3. II do not have
             do not have aa record
                            record of you serving
                                   of you serving Mr.
                                                  Mr. Purdy's
                                                      Purdy’s responses
                                                              responses to
                                                                         to Philips
                                                                            Philips RS's
                                                                                    RS’s Second
                                                                                         Second Interrogatories
                                                                                                 Interrogatories on
                                                                                                                 on October
                                                                                                                    October 2,
                                                                                                                            2,
           as you state.
           as you state. Please
                          Please confirm
                                 confirm who   you sent
                                          who you  sent the
                                                        the responses to and
                                                            responses to and send
                                                                              send me
                                                                                    me the
                                                                                        the original
                                                                                            original correspondence.
                                                                                                     correspondence.

       4. MM
       4. MM Plaintiffs
              Plaintiffs agreed to serve
                         agreed to        second amended
                                   serve second    amended responses      to RFP
                                                               responses to  RFP Nos. 9, 10,
                                                                                 Nos. 9, 10, 21,
                                                                                             21, 23,
                                                                                                 23, 24,
                                                                                                     24, and
                                                                                                         and 25
                                                                                                              25 by December
                                                                                                                 by December
          8. To
          8. To date, three (3)
                date, three     MM Plaintiffs
                             3 MM    Plaintiffs still
                                                still have failed to
                                                      have failed to do so (Hugo
                                                                     do so (Hugo Barragan,
                                                                                 Barragan, Dennis
                                                                                             Dennis Caling,  and Patricia
                                                                                                     Caling, and Patricia Ragland).
                                                                                                                          Ragland).

       5. Although the
       5. Although  the parties
                        parties agreed
                                agreed upon
                                         upon aa release
                                                 release form
                                                          form for
                                                                for MM
                                                                    MM Plaintiffs'
                                                                          Plaintiffs’ Care
                                                                                      Care Orchestrator
                                                                                           Orchestrator data   (to the
                                                                                                         data (to  the extent  this
                                                                                                                       extent this
          data
          data exists)
               exists) on November 21,
                       on November     21, 25% of MM
                                           25% of  MM Plaintiffs
                                                        Plaintiffs have  failed to
                                                                   have failed  to execute
                                                                                   execute this
                                                                                             this Care
                                                                                                  Care Orchestrator
                                                                                                       Orchestrator release—
                                                                                                                     release—
          contrary to MM
          contrary to  MM Plaintiffs'
                           Plaintiffs’ December
                                       December 2121 representation
                                                     representation to to the
                                                                           the Court.
                                                                               Court. Currently,   these MM
                                                                                        Currently, these MM Plaintiffs
                                                                                                               Plaintiffs include: (1)
                                                                                                                          include: (1)
          Susan Bakaitis;
          Susan Bakaitis; (2) Hugo Barragan;
                          (2) Hugo             (3) Jeffrey
                                    Barragan; (3)  Jeffrey Bartalo;
                                                            Bartalo; (4) Peter Bellotti;
                                                                     (4) Peter  Bellotti; (5)
                                                                                          (5) Dennis
                                                                                              Dennis Caling;
                                                                                                     Caling; (6) Sarah Claunch;
                                                                                                             (6) Sarah  Claunch; (7)
                                                                                                                                  (7)
                                                                     1
                                                                     1
              Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 646 of 654
        Joe David
        Joe David Dennett;
                    Dennett; (8)
                              (8) Michael    Dusza; (9)
                                  Michael Dus2a;    (9) Brent
                                                        Brent Hamlin;  (10) Sabrina
                                                               Hamlin; (10) Sabrina Malone;
                                                                                    Malone; (11)
                                                                                              (11) Sylvia
                                                                                                   Sylvia McDaniel;
                                                                                                          McDaniel; (12)
                                                                                                                    (12) Boniface
                                                                                                                         Boniface
        Mills; (13)
        Mills; (13) Dennis
                     Dennis Morris;   (14) Patricia
                            Morris; (14)   Patricia Ragland;   (15) Marilyn
                                                    Ragland; (15)   Marilyn Sweeney;
                                                                            Sweeney; and
                                                                                       and (16)
                                                                                           (16) Debra  Wilson. Additionally,
                                                                                                Debra Wilson.   Additionally,
        please  note that
        please note        the following
                      that the following MM MM Plaintiffs'
                                                 Plaintiffs’ executed
                                                             executed releases
                                                                      releases are
                                                                               are deficient
                                                                                   deficient and
                                                                                             and must
                                                                                                  must be
                                                                                                        be corrected
                                                                                                           corrected and
                                                                                                                     and re-sent:
                                                                                                                          re-sent:
        (1) Stephen
        (1) Stephen Flannery
                      Flannery (listed
                                (listed his
                                         his birthday
                                             birthday as
                                                      as 2/13/2023,
                                                          2/13/2023, which
                                                                      which must   be incorrect);
                                                                             must be  incorrect); (2)
                                                                                                  (2) Bruce Ginsberg (incomplete
                                                                                                      Bruce Ginsberg (incomplete
        SSN); and
        SSN);  and (3)
                    (3) Beth
                        Beth Rodgers
                             Rodgers (missing
                                        (missing SSN).
                                                  SSN).

    6. We
    6. We are
          are generally
              generally available
                        available fora
                                  for a meet
                                        meet and
                                             and confer
                                                 confer regarding Request Nos.
                                                        regarding Request      14, 31,
                                                                          Nos. 14, 31, and
                                                                                       and 38
                                                                                           38 and
                                                                                              and SD
                                                                                                  SD card
                                                                                                     card issue
                                                                                                          issue on
                                                                                                                on
       Tuesday, January
       Tuesday, January 9.
                        9. Please
                           Please let
                                   let us know what
                                       us know what time works best
                                                    time works best for
                                                                    for you.
                                                                        you.

Elise M.
Sic         Attridge
       M. Attridge
Morgan, Lewis & Boddao
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Med:    +1.202.739.5704 | Main: +1.202.739.3000 I| Pax:
                                                      Fax: +1.202.73930M
                                                           +1.202.739.3001 I| Mobile:
                                                                              Mobile: +1.610.60&8325
                                                                                      +1.610.608.8325
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                   Perkins Noses
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                                    +1.202.373.6551 I| crystarnmescitolorqzolowlsocro
                                                       crystal.moses@morganlewis.com




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From: Elbabeth
From:  Elizabeth Pollock
                   Pollock Avery <Elizabeth@lcllp.com>
                           Avery <E    bah@kl1p.com>
Sent: Wednesday,
Sett:                January 03,
      Wednesday, January      03, 2024
                                  2024 6:02
                                       6:02 PMPM
To: Attridge,
To:            Elise M.
    Attridge, Elise  M. <elise.attridge@morganlewis.com>;
                        <elise.attridge@morganlewis.com>; Lavelle,
                                                                Lavelle, Jr., John P.
                                                                         Jr., John P. lohn.lavelle@morganlewis.com>;
                                                                                      <john.lavelle@morganlewis.com>;
Feinstein, Wendy
Feinstein,  Wendy West
                     West <wendy.feinstein@morganlewis.00m>;
                           <wendy.feinstein@morganlewis.com>; Dykstra,
                                                                     Dykstra, Lisa   C. Cisa.ctykstra@morganlewis.com>;
                                                                                Lisa C. <lisa.dykstra@morganlewis.com>;
Michael H.
Michael      Steinberg (steinbergm@sullcrom.com)<steinbergm@sullcrom.com>;
          H. Steinberg  (steinbergm@sullcrom.com) <steinbergm@sullcrom.com>; William       William B.
                                                                                                    B. Monahan
                                                                                                        Monahan
(monahanw@sullcrom.com) <monahanw@sulkrormcom>;
(monahanw@sullcrormcom)         <monahanw@sullcrom.com>; Hight-sullcrom.com              <Hight@sullcrom.com>;
                                                                 Hight-sulkrom.com <Hight@sulkrom.com>;
laurenm@hbsslaw.com; Schulte,
laurenm@hbsslawycom;        Schutte, Scott
                                     Scott T.
                                           T. <scott.schutte@morganlewis.com>;
                                              <scott.schutte@morganlewis.com>; Baiocco, Baiocco, Dana
                                                                                                 Dana
<dana.baiocco@morganlewis.com>
<dana.baiocco@morganlewis.com>
Cc: Kelly
Co: Kelly Iverson
          Iverson <Kelly@kllp.com>;
                   <Kelly@lcllp.com>; S S Duggan   <sduggan@lfsblaw.com>; cseeger@seegenseiss.com;
                                          Duggan <sduggan@ffsblaw.com>;          cseeger@seegerweiss.com; Steve Steve Schwartz
                                                                                                                      Schwartz
<steveschwartz@chimicles.com>; DBuchanan@seegerweiss.com;
<steveschwartt@chimicles.com>;        DBuchanan@seegerweiss.com; sitri@seegenveissgom;
                                                                         sitri@seegerweiss.com; dstellings@lchb.com;
                                                                                                     dstellings@lchb.com;
vbuchanan@levinlaw.com; waudet@audetlaw.com;
vbuchanan@levinlaw.com;        waudet@audetlaw.com; CSchaffer@lfsblaw.com;
                                                          CSchaffer@lfsblaw.com; Kevin Kevin Hannon
                                                                                              Hannon
<khannon@hannonlaw.com>; Michael
<khannon@hannonlaw.com>;          Michael Ram
                                           Ram x20021
                                                 x2O021<<MRam@forthepeople.com>
                                                           MR? m @forthepeople.00m>
Subject: RE:
Subject:  RE: Philips
              Philips CPAP
                      CPAP Medical    Monitoring Plaintiffs'
                             Medical Monitoring               Second Amended
                                                  Plaintiffs' Second Amended Responses
                                                                                  Responses to to First
                                                                                                  First Set
                                                                                                        Set of
                                                                                                            of RFPs
                                                                                                               RFPs

[EXTERNAL EMAIL]
[EXTERNAL EMAIL]
Elise,
Elise,

With respect
With respect to
             to your
                your December 20th email:
                     December 20th email:

    1. We
    1. We will
           will send our revisions
                send our  revisions toto the
                                         the consent
                                             consent motion
                                                       motion inin the next day
                                                                   the next  day or
                                                                                 or two.
                                                                                    two.
    2.
    2.
           a. We
          a.    We are
                   are continuing
                         continuing to to work on providing
                                          work on              updated verifications.
                                                   providing updated     verifications.
           b. Randy
           b.   Randy Paris's
                       Paris’s and
                               and Jeffrey
                                     Jeffrey Boyle’s  verifications are
                                             Boyle's verifications   are attached.
                                                                         attached.
           c. We
           c.   We will  address in
                    will address   in revisions
                                      revisions to
                                                 to the
                                                    the consent   motion.
                                                        consent motion.
           d. Resolved.
           d.   Resolved.
    3. Sean
    3. Sean Purdy's
             Purdy’s responses
                     responses to to the  second set
                                      the second   set of
                                                       of interrogatories
                                                          interrogatories were
                                                                            were served
                                                                                  served on
                                                                                         on October
                                                                                            October 2.
                                                                                                    2.
    4. Second
    4. Second Amended
                Amended RFPRFP responses
                                responses forfor Goodall
                                                 Goodall and
                                                           and Cathers
                                                                Cathers are
                                                                         are attached.
                                                                             attached.
    5. Care
    5. Care Orchestrator
            Orchestrator data
                           data releases
                                 releases for   Sharon Cathers
                                            for Sharon   Cathers and
                                                                  and Quinton
                                                                       Quinton Goodall
                                                                                 Goodall are
                                                                                         are attached.
                                                                                             attached.
                                                                  2
                                                                  2
               Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 647 of 654
       6. Plaintiffs are
       6. Plaintiffs     not available
                     are not            tomorrow to
                             available tomorrow   to meet
                                                     meet and
                                                          and confer
                                                              confer re: Request Nos.
                                                                     re: Request Nos. 14,
                                                                                      14, 31,
                                                                                          31, and
                                                                                              and 38
                                                                                                  38 and SD card
                                                                                                     and SD card issue. Do
                                                                                                                 issue. Do
          you have
          you        any availability
               have any   availability next
                                       next week?
                                            week?

                                         th
With respect
With   respect to
                to your
                    your December
                         December 29  29th  email:
                                            email:
We   take issue
We take    issue with  your suggestion
                  with your  suggestion that
                                           that we
                                                 we have
                                                     have been
                                                           been inaccurate
                                                                  inaccurate in in our  submission to
                                                                                    our submission    to the
                                                                                                         the Court.
                                                                                                              Court. We
                                                                                                                     We dodo not     agree that
                                                                                                                               not agree     that
an amended/corrected response
an amended/corrected        response to to Philips
                                            Philips RS's
                                                    RS’s objections,   nor aa reply
                                                          objections, nor     reply by   Philips RS
                                                                                      by Philips     to our
                                                                                                 RS to   our response,
                                                                                                             response, isis necessary
                                                                                                                             necessary nor  nor do
                                                                                                                                                do
we
we consent
    consent to to the
                  the same.
                      same. WeWe correctly    told the
                                   correctly told   the Court   that Plaintiffs
                                                         Court that  Plaintiffs agreed
                                                                                 agreed toto and
                                                                                              and have
                                                                                                   have produced
                                                                                                         produced certain
                                                                                                                     certain categories
                                                                                                                               categories of  of
documents
documents in  in response
                 response toto discovery
                                discovery requests     that are
                                            requests that    are not
                                                                 not currently
                                                                      currently inin dispute
                                                                                     dispute before     the Court.
                                                                                               before the           It appears
                                                                                                            Court. It  appears thatthat you
                                                                                                                                          you
believe  there are
believe there    are deficiencies
                     deficiencies with
                                    with respect
                                          respect toto those
                                                       those requests.   This is
                                                              requests. This       the first
                                                                                is the first that
                                                                                             that Defendants
                                                                                                  Defendants havehave raised
                                                                                                                       raised thethe issue
                                                                                                                                      issue and
                                                                                                                                             and
any
any disagreement
     disagreement regarding       the extent
                      regarding the   extent of of documents
                                                   documents produced
                                                                 produced is is not  ripe for
                                                                                not ripe  for resolution
                                                                                               resolution by   the Court
                                                                                                           by the  Court nor
                                                                                                                           nor aa subject
                                                                                                                                    subject ofof
the R&R
the R&R being
           being objected    to. Furthermore,
                  objected to.   Furthermore, Plaintiffs
                                                  Plaintiffs have
                                                             have provided
                                                                    provided releases     for Philips
                                                                               releases for    Philips to
                                                                                                       to access  Care Orchestrator
                                                                                                          access Care   Orchestrator data   data
that  Philips already
that Philips  already has
                       has in
                            in its
                               its custody.
                                   custody. You
                                              You complain
                                                   complain about
                                                               about our  verbiage: data
                                                                      our verbiage:           rather than
                                                                                        data rather   than release,
                                                                                                            release, but   it is
                                                                                                                      but it      really aa
                                                                                                                              is really
distinction
distinction without
              without aa difference.
                         difference. ToTo the
                                           the extent
                                                extent the
                                                        the Court
                                                             Court misapprehends
                                                                    misapprehends exactly
                                                                                        exactly what
                                                                                                 what information
                                                                                                        information was
                                                                                                                      was provided,
                                                                                                                             provided, thatthat
potential   misapprehension can
potential misapprehension        can be
                                     be resolved
                                         resolved at at oral
                                                        oral argument
                                                             argument on     January 25.
                                                                         on January     25.




ELIZABETH POLLOCK
ELIZABETH    POLLOCK AVERY
                      AVERY
Partner
(she/her/hers)
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From: Attridge,
From:  Attridge, Elise
                  Elise M.
                        M. <elise.attridge@morganlewis.com>
                           <elise.attridge@morganlewis.com>
Sent: Wednesday, January 3,
Sent: Wednesday,      January 3, 2024  10:25 AM
                                 2024 10:25  AM
To: Elizabeth
To: Elizabeth Pollock
                Pollock Avery
                        Avery <Elizabeth@lcIlp.com>;
                               <Elizabeth@lcllp.com>; Lavelle,
                                                        Lavelle, Jr.,
                                                                 Jr., John
                                                                      John P.
                                                                            P. <john.lavelle@morganlewis.com>;
                                                                               <john.lavelle@morganlewis.com>; Feinstein,
                                                                                                                    Feinstein,
Wendy
Wendy West      <wendy.feinstein@morganlewis.com>; Dykstra,
         West <wendy.feinstein@morganlewis.com>;          Dykstra, Lisa
                                                                    Lisa C.
                                                                         C. <lisa.dykstra@morganlewis.com>;
                                                                            <lisa.dykstra@morganlewis.com>; Michael
                                                                                                                  Michael H.
                                                                                                                          H.
Steinberg (steinbergm@sullcrom.com)
Steinberg                                  <steinbergm@sullcrom.com>; William
            (steinbergm@sullcrom.com) <steinbergm@sullcrom.com>;              William B.
                                                                                       B. Monahan
                                                                                          Monahan (monahanw@sullcrom.com)
                                                                                                    (monahanw@sullcrom.com)
<monahanw@sullcrom.com>; Hight-sullcrom.com
<monahanw@sullcrom.com>;          Hight-sullcrom.com <Hight@sullcrom.com>;
                                                       <Hight@sullcrom.com>; laurenm@hbsslaw.com;
                                                                                    laurenm@hbsslaw.com; Schutte,
                                                                                                              Schutte, Scott
                                                                                                                       Scott T.
                                                                                                                             T.
<scott.schutte@morganlewis.com>; Baiocco,
<scott.schutte@morganlewis.com>;         Baiocco, Dana
                                                  Dana <dana.baiocco@morganlewis.com>
                                                        <dana.baiocco@morganlewis.com>
Cc: Kelly
Cc: Kelly Iverson
          Iverson <Kelly@lcIlp.com>;
                    <Kelly@lcllp.com>; SS Duggan
                                          Duggan <sduggan@lfsblaw.com>;
                                                  <sduggan@lfsblaw.com>; cseeger@seegerweiss.com;
                                                                                 cseeger@seegerweiss.com; SteveSteve Schwartz
                                                                                                                     Schwartz
<steveschwartz@chimicles.com>; DBuchanan@seegerweiss.com;
<steveschwartz@chimicles.com>;        DBuchanan@seegerweiss.com; sitri@seegerweiss.com;
                                                                         sitri@seegerweiss.com; dstellings@lchb.com;
                                                                                                   dstellings@lchb.com;
vbuchanan@levinlaw.com; waudet@audetlaw.com;
vbuchanan@levinlaw.com;                                   CSchaffer@lfsblaw.com; Kevin
                               waudet@audetlaw.com; CSchaffer@lfsblaw.com;            Kevin Hannon
                                                                                            Hannon
<khannon@hannonlaw.com>; Michael
<khannon@hannonlaw.com>;          Michael Ram
                                           Ram x20021
                                                x20021 <MRam@forthepeople.com>
                                                         <MRam@forthepeople.com>
Subject: RE:
Subject:  RE: Philips
               Philips CPAP
                       CPAP Medical
                            Medical Monitoring    Plaintiffs' Second
                                      Monitoring Plaintiffs'  Second Amended
                                                                       Amended Responses
                                                                                  Responses to
                                                                                             to First
                                                                                                First Set
                                                                                                      Set of
                                                                                                          of RFPs
                                                                                                             RFPs

Liz,
Liz,

II am following up
   am following up on
                   on my December 20
                      my December 20 and December 29
                                     and December 29 emails,
                                                     emails, below. What is
                                                             below. What    Plaintiffs’ response?
                                                                         is Plaintiffs' response?

Thanks,
Thanks,


                                                                         3
                                                                         3
                Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 648 of 654
Elise M.
IMIO   M. Attridge
Morgan, Lewis & noddtio
Mprpon,              Bockius LIP
                             LLP
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1111  Pennsylvania Avenue, NW I| W- Washington,   20004-2541
                                     ashhgeen, DC 20004-2541
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                            Main: +1.202.739.3000 I| Pax:
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                                                       crystal.moses@morganlewis.com


                                         (440# (

Morgan Lewis                           'YEARS/



150 YEARS OF RAISING THE BAR

C Learn More )



From: Attridge, Elise
FromAttridge,           M.
                  Elise M.
Sent: Friday,
Soot           December 29,
       Friday, December    29, 20233:28
                               2023 3:28 PMPM
To: 'Elizabeth
To:             Pollock Avery'
     'Elizabeth Pollock  Avery' <Eltubeth@kllp.oam>;
                                <Elizabeth@lcllp.com>; Lavelle,
                                                           Lavelle, Jr.,
                                                                    Jr., John
                                                                         John P.
                                                                              P. <iohn.lavelle@morganlewiscom>;
                                                                                  <john.lavelle@morganlewis.com>; Feinstein,
                                                                                                                          Feinstein,
Wendy West <wendv.feinstein @monganlewis.00m>; Dykstra, Lisa C. <lisaidylotra@monganlewisioam>; 'Michael H.
Wendy     West  <wendy.feinstein@morganlewis.com>;          Dykstra,  Lisa C. <lisa.dykstra@morganlewis.com>;          'Michael H.
Steinberg
Stein       (steinbergm@sullcrom.com)'
      berg {stein                            <steinbergm@sullcrom.com>;
                  ben:cm @sullcrom.cornr gteinbengm                             'William B.
                                                          @sulk nom.com>; William         B. Monahan
                                                                                             Monahan
(monahanw@sullcrom.com)' <monahanw@sullcrom.com>; Hight-sullcrom.com <Hight@sulkrormoorn>;
{monahanw@sulkrornicornr<rnonahanw@sullcnam.00m>;Hight-sulkrornicorn                       <Hight@sullcrom.com>;
'laurenm@hbsslaw.com' <Lauren
laurenm@hbsslaw.com'        <LaurenM@hbsslaw.com>;         Schutte, Scott
                                     M @hbsslaw.com>; Schutte,        Scott T.
                                                                            T. goottischutte@monganlewis.com>;
                                                                               <scott.schutte@morganlewis.com>; Baiocco,  Baiocco, Dana
                                                                                                                                   Dana
<dana.baiocco@morganlewis.com>
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Cc: 'Kelly
Cc  'Kelly Iverson'
           Iverson' <Kellv@Icll
                     <Kelly@lcllp.com>;
                                I:warp; 'S'S Duggan' <sduggan@lfsblaw.com>; 'cseeger@seegerweiss.com'
                                             Duggan' <sdorscan@lfsblaw.00m>;         'cseeger@seegerweiss.com'
<cseeger@seegerweiss.com>; 'Stew
<csemer@seeFierweiss,00m>;        'Steve Schwartz'
                                          Schwartz' <stevesctrovartz@chimicles.00m>;
                                                    <steveschwartz@chimicles.com>; 'DBuchanan@seegerweiss.com'
                                                                                             'DBuchanan@seegerweiss.com'
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<DBuchanan@semerweissicom>;                                       <sitri@seegerweiss.com>; 'dstellings@lchb.com'
                                      isitri@seegerweissicom'<sitri@semerweiss.00rn>;            ldste Ili ngs@lchb.com'
<dstellings@lchb.com>; 'vbuchanan@levinlaw.com'<vinchanan@levinlaw.00m>;
<dstellings@khb.corn>;     'vbuchanan@levinlaw.com' <vbuchanan@levinlaw.com>; 'waudet@audetlaw.com'
                                                                                              'waudet@audetlaw.com'
<waudet@audetlaw.com>; II:Schaffer@tfsblaw.com'<CSchaffer@lfsblaw.corn>;
<waudet@audetlaW,CIPM>;        'CSchaffer@lfsblaw.com' <CSchaffer@lfsblaw.com>; 'Kevin     'Kevin Hannon'
                                                                                                   Hannon'
<khannon@hannonlaw.com>;
<lcha nnon @ ha nnonlaw.00rri>; 'Michael     Ram x2O321'
                                  'Michael Ram    x20021' <MRa
                                                            <MRam@forthepeople.com>
                                                                  m @fortheoeoole.00m>
Subject: RE:
Subject:   RE: Philips
               Philips CPAP
                       CPAP Medical   Monitoring Plaintiffs'
                             Medical Monitoring                Second Amended
                                                   Plaintiffs' Second   Amended Responses
                                                                                    Responses toto First
                                                                                                   First Set
                                                                                                           Set of
                                                                                                               of RFPs
                                                                                                                  RFPs

Liz:
Liz:

We are
We are still
       still waiting
             waiting for
                     for aa response
                            response to
                                     to my
                                        my December 20 email
                                           December 20 email below.
                                                             below.

In the
In     meantime, however,
   the meantime,   however, wewe write
                                   write to address inaccuracies
                                         to address inaccuracies in
                                                                 in Plaintiffs’
                                                                    Plaintiffs' Response  in Opposition
                                                                                Response in  Opposition to
                                                                                                        to Defendant
                                                                                                           Defendant Philips
                                                                                                                     Philips
RS’ Objections
RS' Objections to
               to Special
                  Special Discovery
                            Discovery Master’s  Report and
                                       Master's Report  and Recommendation
                                                             Recommendation (ECF (ECF No.  2402) ("Response,
                                                                                      No. 2402)  (“Response”) that
                                                                                                              that need
                                                                                                                   need to
                                                                                                                        to be
                                                                                                                           be
corrected. Specifically,
corrected.  Specifically, Plaintiff?
                          Plaintiffs’ Response
                                      Response asserts
                                               asserts the following:
                                                       the following:

       1. Request
       1. Request Nos.  2, 7,
                   Nos. 2,  7, 12,15,
                               12, 15, 17,
                                       17, 19,
                                           19, and
                                               and 34
                                                   34 “are duplicative, especially
                                                      'are duplicative, especially because
                                                                                   because Plaintiffs
                                                                                           Plaintiffs have
                                                                                                      have already
                                                                                                           already produced
                                                                                                                   produced
          responsive documents
          responsive documents, including
                                    including purchase
                                               purchase receipts
                                                         receipts for
                                                                  for Recalled and other
                                                                      Recalled and other CPAP
                                                                                         CPAP devices,
                                                                                               devices, prescription
                                                                                                        prescription
          information for
          information for Recalled   Devices, cleaning
                           Recalled Devices,   cleaning instructions,
                                                        instructions, accessory
                                                                      accessory information
                                                                                information and
                                                                                            and receipts,
                                                                                                 receipts, etc..
                                                                                                           etc.” See
                                                                                                                 See ECF
                                                                                                                     ECF No.
                                                                                                                         No.
          2402 at
          2402 at 8.
                  8. This
                     This is
                           is incorrect:
                              incorrect:

               a. To
               a. To date,
                     date, 55 out
                              out of
                                  of 63
                                     63 MM
                                        MM Plaintiffs
                                           Plaintiffs have
                                                      have not
                                                           not produced any documents
                                                               produced any documents specific
                                                                                      specific to
                                                                                               to their
                                                                                                  their claims.
                                                                                                        claims.

               b. Of
               b. Of the
                     the MM    Plaintiffs who
                         MM Plaintiffs    who have
                                               have produced documents, approximately
                                                    produced documents,   approximately 30%
                                                                                         30% have
                                                                                              have not
                                                                                                   not produced
                                                                                                        produced “purchase
                                                                                                                  'purchase
                  receipts for Recalled   and other CPAP devices, prescription information for Recalled Devices, cleaning
                  receipts for Recalled and other CPAP devices, prescription information for Recalled Devices, cleaning
                  instructions, accessory
                  instructions, accessory information
                                            information and
                                                        and receipts..
                                                            receipts.”

               c. By
               c. By way
                     way of
                         of further
                            further example,
                                    example, approximately
                                             approximately 87%
                                                           87% have
                                                               have not
                                                                    not produced
                                                                        produced “prescription information”
                                                                                 'prescription information.
                  documents.
                  documents.
                                                                   4
                                                                   4
                Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 649 of 654
       2. The
       2. The documents
              documents requested  in Request
                         requested in Request No.
                                              No. 22 are
                                                     are “similarly irrelevant …
                                                         'similarly irrelevant ... particularly
                                                                                   particularly when   Plaintiffs have
                                                                                                  when Plaintiffs have already
                                                                                                                       already
          produced
          produced the Care Orchestrator
                   the Care Orchestrator data..
                                         data.” See
                                                See ECF
                                                     ECF No.2402
                                                          No. 2402 atat 8.
                                                                        8. Again,  this is
                                                                           Again, this  is false:
                                                                                           false:

               a. To
               a. To date,
                     date, zero
                           zero MM
                                MM Plaintiffs have produced
                                   Plaintiffs have          Care Orchestrator
                                                   produced Care Orchestrator data.
                                                                              data.

               b. Some, but
               b. Some,       not all,
                          but not all, MM
                                       MM Plaintiffs
                                            Plaintiffs have
                                                       have executed
                                                             executed releases    for their
                                                                       releases for         Care Orchestrator
                                                                                      their Care Orchestrator data
                                                                                                               data (to
                                                                                                                    (to the
                                                                                                                        the extent
                                                                                                                            extent it
                                                                                                                                   it
                  even exists),
                  even  exists), but
                                 but those  releases only
                                     those releases   only enable
                                                           enable Philips   to start
                                                                    Philips to start the
                                                                                     the laborious
                                                                                         laborious process  of searching
                                                                                                   process of  searching for
                                                                                                                          for and
                                                                                                                              and
                  pulling this data.
                  pulling this data. Besides,
                                       Besides, 14
                                                14 MM    Plaintiffs haven't
                                                   MM Plaintiffs    haven’t even
                                                                             even executed
                                                                                   executed releases
                                                                                             releases yet,
                                                                                                      yet, which  were due
                                                                                                           which were   due on
                                                                                                                             on
                  December 8.
                  December    8.

       3. Plaintiffs
       3. Plaintiffs shouldn't
                     shouldn’t bebe compelled
                                     compelled to
                                                to produce   medical records
                                                   produce medical    records relating
                                                                                relating to
                                                                                         to the  recall and
                                                                                            the recall  and MM
                                                                                                            MM Plaintiffs’
                                                                                                                 Plaintiffs' notice of
                                                                                                                             notice of
          the recall
          the recall “especially   because Plaintiffs
                      'especially because   Plaintiffs produced   documents in
                                                       produced documents      in response
                                                                                   response to
                                                                                             to this
                                                                                                this request,
                                                                                                     request, including
                                                                                                               including recall
                                                                                                                         recall notices
                                                                                                                                notices
          issued by
          issued  by Philips
                      Philips itself."
                              itself.” See
                                       See ECF
                                           ECF No.
                                               No. 2402
                                                    2402 at
                                                          at 10.
                                                             10. Only
                                                                  Only aa small
                                                                          small fraction  of MM
                                                                                 fraction of      Plaintiffs have
                                                                                             MM Plaintiffs   have produced
                                                                                                                   produced recall-
                                                                                                                              recalE
          related documents
          related  documents (approximately
                                 (approximately 25%),
                                                  25%), so
                                                         so this
                                                            this argument
                                                                 argument isis misleading.
                                                                               misleading.

Therefore, we
Therefore, we request
               request that
                       that Plaintiffs
                            Plaintiffs either
                                       either (a)
                                              (a) file
                                                  file an
                                                        an amended/corrected
                                                            amended/corrected response
                                                                                 response with
                                                                                          with the   Court by
                                                                                                the Court     January 44 or
                                                                                                           by January    or (b)
                                                                                                                             (b)
consent to
consent to aa motion
              motion for
                     for ;caw
                         leave for
                               for Philips
                                   Philips RS
                                           RS to
                                               to file
                                                  file aa reply
                                                          reply to
                                                                to address
                                                                   address these issues. Please
                                                                           these issues          let us
                                                                                         Please let  us know
                                                                                                        know on
                                                                                                             on January
                                                                                                                January 2.2.

Elise M. Attridge
Me          Attridge
Morgan, Lewis & Hoddtio
Murgon,              Bockius LIP
                             LLP
1111 Itnnsytranra
1111  Pennsylvania Avenue, NW I| washhgtze,
                                    Washington, DC 20004-2541
                                                   20004-2541
Direct: +1.202.7395704
Orrect  +1.202.739.5704 I| Main:   +1.202.739.3000 I| Pax:
                            Win: +1.202.7393000       Fax: +1.202.7393031
                                                           +1.202.739.3001 I| Motile:
                                                                              Mobile: +1.610.60&8325
                                                                                      +1.610.608.8325
elise.attridge@morganlewis.com I| wiew.magarilewis.czrn
eirseattridgeezncrgazilewis.ccrn    www.morganlewis.com
Assistant: Crystal Itnctis
Assistant          Perkins Moses I| +1202373.6551
                                    +1.202.373.6551 I| crystarno5e5UnionpriewisArn
                                                       crystal.moses@morganlewis.com




Morgan Lewis                             'YEARS/



150 YEARS OF RAISING THE BAR


C      Learn More



From: Attridge, Elise
From:Attridge,          M.
                  Elise M.
Sent: Wednesday,
Sent:  Wednesday, December       20, 2023 4:57 PM
                      December 20,20234:57      PM
To: 'Elizabeth
To:             Pollock Avery'
    'Elizabeth Pollock   Avery' <Errizbeth@klIci,com>;
                                <Elizabeth@lcllp.com>; Lavelle,
                                                         Lavelle, Jr.,
                                                                  Jr., John
                                                                       John P.
                                                                             P. <iohn.lavelle@monganletvis,00m>;
                                                                                <john.lavelle@morganlewis.com>; Feinstein,
                                                                                                                      Feinstein,
Wendy    West   <wendy.feinstein@morganlewis.com>;        Dykstra,  Lisa C. <lisa.dykstra@morganlewis.com>;
Wendy West <wendv.feinstein @monganletvisioom>; Dykstra, Lisa C. <lisaidylotra@monganlewis.00m>; Michael H.        Michael  H.
Steinberg Isteinbengm
Steinberg   (steinbergm@sullcrom.com)      <steinbergm@sullcrom.com>;
                          @sullcrom.com) gteinbengm                           William Et.
                                                        @sulkrorn.com>; William        B. Monahan
                                                                                          Monahan frrPonahanw@sulkrom.com)
                                                                                                     (monahanw@sullcrom.com)
<monahanw@sullcrom.com>; Hight-sullcrom.com
<Tnonahantv@sullcrom.00m>;                            <Hight@sullcrom.com>;
                                  Hight-sulkrom.com <Hight@sul                      Schutte, Scott T.
                                                                     krom.com>; Schutte,Scott       T.
<scott.schutte@morganlewis.com>; laurenm@hbsslaw.00m
cscottischutte@monganletvisioom>;       laurenm@hbsslaw.com
Cc: Kelly
Cc: Kelly Iverson
          Iverson <Kellv@kllo.com>;S
                    <Kelly@lcllp.com>; S Duggan
                                          Duggan <sdorstan@lfsblaw.corn>;
                                                  <sduggan@lfsblaw.com>; cseeger@seegerweissicom
                                                                                 cseeger@seegerweiss.com;• SteveSteve Schwartz
                                                                                                                      Schwartz
<steveschwartz@chimicles.com>; Dfluchanan@seeRertseiss.00m;
csteveschwartz@chimicles.00m>;        DBuchanan@seegerweiss.com; sitri@seegerweis,s.00rn•
                                                                         sitri@seegerweiss.com; dstellings@lch
                                                                                                    dstellings@lchb.com;
                                                                                                                    bicom •
vbuchanan@levinlaw.com; waudet@audetlaw.00m;
vbuchanan@levinlaw.com;        waudet@audetlaw.com; CSchaffer@ffsblaw.00m;
                                                         CSchaffer@lfsblaw.com; Kevin Kevin Hannon
                                                                                             Hannon
<khannon@hannonlaw.com>;
<lchannon                         Michael Ram
            @hannonlaw.cor0; Michael       Ram x20321
                                                x20021 41Ram@forthe
                                                        <MRam@forthepeople.com>
                                                                            people .com>

Subject: RE:
Subject;  RE: Philips
               Philips CPAP
                       CPAP Medical   Monitoring Plaintiffs'
                            Medical Monitoring               Second Amended
                                                 Plaintiffs' Second   Amended Responses
                                                                                  Responses toto First
                                                                                                 First Set
                                                                                                       Set of
                                                                                                           of RFPs
                                                                                                              RFPs

Liz:
Liz:

The characterization
The                   of MM
     cha ractertution of       Plaintiffs’ course
                         MM Plaintiffs'    course of
                                                   of conduct
                                                      conduct in
                                                              in my  December 11
                                                                 my December   11 email
                                                                                   email is
                                                                                         is accurate,
                                                                                            accurate, given
                                                                                                      given that
                                                                                                            that no
                                                                                                                 we are
                                                                                                                      are still
                                                                                                                          still
missing  discovery responses
missing discovery              and/or verifications
                   responses and/or     verifications from
                                                       from multiple MM Plaintiffs—in
                                                            multiple MM                some cases,
                                                                         Plaintiffs—in some   cases, months
                                                                                                     months after
                                                                                                              after the deadline
                                                                                                                    the deadline
to serve
to serve them.
          them. By
                By way
                    way of
                         of further
                            further response
                                    response to to your
                                                   your December   14 email:
                                                         December 14  email:

                                                                    5
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    1. We
    1. We are
          are still
              still waiting to receive
                    waiting to         your edits
                               receive your edits to
                                                  to the joint consent
                                                     the joint consent motion
                                                                         motion and
                                                                                  and proposed  order. Please
                                                                                       proposed order.   Please let
                                                                                                                let us know
                                                                                                                    us know
       when we
       when we can
                can expect
                     expect to
                             to receive
                                receive them.
                                        them. We
                                               We would    like to
                                                    would like  to get
                                                                   get this
                                                                       this on
                                                                            on file
                                                                               file as
                                                                                    as sr
                                                                                       soon as
                                                                                            as possible.
                                                                                               possible.

    2. a)
    2. a) and
          and b) We are
              b) We are still
                        still waiting
                              waiting to
                                      to receive
                                         receive proper
                                                 proper verifications for twenty-fag
                                                        verifications for twenty-four MM  Plaintiffs’ second
                                                                                      MM Plaintiffs'  second amended
                                                                                                             amended
       interrogatory responses,
       interrogatory responses, which
                                  which were   due on
                                         were due  on November
                                                      November 2. 2. Please let us
                                                                     Please let us know
                                                                                   know when we can
                                                                                        when we  can expect
                                                                                                       expect to receive
                                                                                                              to =the
       them.
       them.

         c) On
         c) On December
                December 11,11, we informed you
                                we informed   you that
                                                  that nine
                                                       nine MM   Plaintiffs failed
                                                            MM Plaintiffs   failed to  serve second
                                                                                    to suite second amended
                                                                                                       amended responses,
                                                                                                                  responses, which
                                                                                                                              which
         were due
         were   due on
                     on November
                        November 2.    Since then,
                                    2. Since then, you
                                                   you served
                                                       served second
                                                              second amended
                                                                       amended responses
                                                                                    responses for
                                                                                               for one
                                                                                                    one MM
                                                                                                         MM Plaintiff.
                                                                                                               Plaintiff. Eight
                                                                                                                          Eight are
                                                                                                                                are
         still outstanding.
         still outstanding. Please  serve them
                             Please serve       as soon
                                          them as  soon as
                                                         as possible, or include
                                                            possible, or include these
                                                                                   these plaintiffs  in our
                                                                                          plaintiffs in our joint
                                                                                                            joint consent
                                                                                                                  consent motion.
                                                                                                                            motion.

         d) We
         d)    are able
            We are able to open Mr.
                        to open Mr. Nielson’s second amended
                                    Nielson's second amended responses. Thank you
                                                             responses. Thank you for
                                                                                  for re-sending
                                                                                      re-sending them.
                                                                                                 them.

    3. On
    3. On December
          December 11, 11, we
                           we informed
                              informed you
                                         you that
                                             that it
                                                  it appears
                                                     appears that  Sean Purdy
                                                              that Sean Purdy has
                                                                               has not
                                                                                    not served
                                                                                        served responses
                                                                                                responses to to Philips
                                                                                                                Philips RS's
                                                                                                                        RS’s
       Second Set
       Second  Set of
                   of Interrogatories.
                      Interrogatories. Mr.
                                        Mr. Purdy's
                                             Purdy’s amended
                                                      amended responses    to Philips
                                                                responses to  Philips RS's
                                                                                      RS’s First
                                                                                           First Set
                                                                                                 Set of
                                                                                                      of Interrogatories
                                                                                                         Interrogatories were
                                                                                                                          were
       served on
       served on October
                 October 26.26. Again,
                                Again, if
                                       if we
                                          we missed   his responses
                                             missed his             to the
                                                          responses to the Second
                                                                           Second Set,
                                                                                    Set, please  let us
                                                                                         please let  us know
                                                                                                        know and
                                                                                                               and provide   the
                                                                                                                    provide the
       date they
       date they were
                 were served.
                        served.

    4. We
    4. We are
           are still
                still waiting to receive
                      waiting to         second amended
                                 =the second    amended responses
                                                         responses toto RFP Nos. 9,10,
                                                                        RFP Nos. 9, 10, 21,
                                                                                        21, 23,
                                                                                            23, 24,
                                                                                                 24, and
                                                                                                     and 25
                                                                                                         25 from
                                                                                                            from five
                                                                                                                 Ave MM
                                                                                                                      MM
       Plaintiffs, which
       Plaintiffs, which were    due on
                           were due  on December
                                        December 8.
                                                  8. Please let us
                                                     Please let    know when
                                                                us know       we can
                                                                         when we  can expect
                                                                                       expect to   receive them.
                                                                                                to receive them.

    5. MM
    5. MM Plaintiffs
            Plaintiffs agreed
                       agreed to
                              to provide executed Care
                                 provide executed Care Orchestrator
                                                       Orchestrator releases
                                                                      releases by December 8.
                                                                               by December    8. We
                                                                                                 We are
                                                                                                    are still
                                                                                                        still waiting
                                                                                                              waiting to
                                                                                                                      to
       receive executed
       receive executed releases
                          releases from
                                   from thittm
                                        thirteen MM
                                                 MM Plaintiffs
                                                     Plaintiffs. Please provide us
                                                                 Please provide us with
                                                                                   with aa status
                                                                                           status update.
                                                                                                  update.

We are
We   are still
          still waiting  to receive
                waiting to          your availability
                            receive your  availability for
                                                       for aa meet
                                                              meet and
                                                                   and confer
                                                                       confer regarding
                                                                              regarding Requests
                                                                                        Requests No   14, 31,
                                                                                                   No 14, 31, and
                                                                                                              and 38,
                                                                                                                  38, but
                                                                                                                      but propose
                                                                                                                           propose
the following
the  following dates/times:
                   dates/times: January
                                January 33 between
                                            between 10 10 am
                                                          am and
                                                               and 12
                                                                   12 pm ET and January
                                                                      pm ETand   January 44 between
                                                                                            between 12
                                                                                                     12 pm
                                                                                                        pm and
                                                                                                            and 2
                                                                                                                2 pm
                                                                                                                  pm ET.
                                                                                                                       ET. Please
                                                                                                                           Please
let us  know    if anything  within these  windows    works.   Regarding your question about   SD cards below, let’s
let us know if anything within these windows works. Regarding your question about SD cards below, let's add that as  add that as aa
topic for
topic  for our
           our next
                  next meet
                       meet and
                              and confer.
                                  confer.

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Ease        Attridge
                     Bockius LLP
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                   Perkins Moses I| +1202373.6551
Assistant: Crystal ItrIctis         +1.202.373.6551 |1 crystal
                                                       crystal.moses@morganlewis.com
                                                               mxsescitfoorgaoleihis.arn


                                         A7 11 (
Morgan Lewis                           'YEARS/



150 YEARS OF RAISING THE BAR

C Learn More )



From: Elbabeth
From:  Elizabeth Pollock
                   Pollock Avery  <Elizabeth@lcllp.com>
                           Avery <Elizabeth@klID.00m>
Sent: Thursday,
Sent:              December 14,2023
      Thursday, December      14, 2023 4:26
                                        4:26 PM
                                              PM
To: Attridge,
To:            Elise M.
    Attridge, Elise  M. <elise.attridge@monganlewis.00rn>;
                        <elise.attridge@morganlewis.com>; Lavelle,    Jr., John
                                                             Lavelle, Jr,  John P.
                                                                                P. <iohn.lavelle@monganlewis.corn>;
                                                                                   <john.lavelle@morganlewis.com>;
Feinstein, Wendy
Feinstein,  Wendy West
                     West <wendy.feinstein
                           <wendy.feinstein@morganlewis.com>;     Dykstra, Lisa
                                             @monganlewis.com>; Dykstra,     Lisa C.
                                                                                  C. <lisa
                                                                                     <lisa.dykstra@morganlewis.com>;
                                                                                           .dvIcstra@monganlewis.corn>;
Michael H.
Michael      Steinberg {stein
          H. Steinberg  (steinbergm@sullcrom.com)     <steinbergm@sullcrom.com>;
                              be rgm @suIlcrom.com) <stein                              William B.
                                                            bergm @sul krom.oam>; William        B. Monahan
                                                                                                    Monahan
(monahanw@sullcrom.com) <rnonahanw@sullcrom.00m>;
Wonahanw@sulkrom.com)           <monahanw@sullcrom.com>; Hight-sullcrom.00m
                                                               Hight-sullcrom.com <Hight@
                                                                                      <Hight@sullcrom.com>;     Schutte, Scott
                                                                                                sullcrornicom>; Schutte, Scott T.
                                                                                                                               T.
<scott.schutte@morganlewis.com>; la
csoottischutte@monganlevoisioom>;        laurenm@hbsslaw.com
                                           urenm @hbsslaw.00m
Cc: Kelly
Cc: Kelly Iverson
          Iverson <Kellv@klIghcorn>;S
                   <Kelly@lcllp.com>; S Duggan
                                           Duggan <sdugstan@lfsblaw.corn>;
                                                  <sduggan@lfsblaw.com>; cseeger@seegerweissioorn
                                                                              cseeger@seegerweiss.com;• Steve
                                                                                                            Steve Schwartz
                                                                  6
              Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 651 of 654
<steveschwartz@chimicles.com>; DBuchanan@seegerweiss.com;
<steveschwartz@chimicles.com>;    DBuchanan@seegerweiss.com; sitri@seegerweiss.com;
                                                                  sitri@seegerweiss.com; dstellings@lchb.com;
                                                                                          dstellings@lchb.com;
vbuchanan@levinlaw.com; waudet@audetlaw.com;
vbuchanan@levinlaw.com;                              CSchaffer@lfsblaw.com; Kevin
                           waudet@audetlaw.com; CSchaffer@lfsblaw.com;       Kevin Hannon
                                                                                   Hannon
<khannon@hannonlaw.com>; Michael
<khannon@hannonlaw.com>;      Michael Ram
                                      Ram x20021
                                           x20021 <MRam@forthepeople.com>
                                                    <MRam@forthepeople.com>
Subject: RE:
Subject: RE: Philips
             Philips CPAP
                     CPAP Medical
                          Medical Monitoring Plaintiffs' Second
                                  Monitoring Plaintiffs' Second Amended
                                                                Amended Responses
                                                                         Responses to
                                                                                    to First
                                                                                       First Set
                                                                                             Set of
                                                                                                 of RFPs
                                                                                                    RFPs

[EXTERNAL EMAIL]
[EXTERNAL EMAIL]
Elise,
Elise,

Your characterization
Your characterization of MM Plaintiffs'
                      of MM Plaintiffs’ course of conduct
                                        course of conduct is
                                                          is inaccurate and unnecessary.
                                                             inaccurate and unnecessary.

MM Plaintiffs
MM Plaintiffs further
              further respond
                       respond as    follows:
                                  as follows:
  1. We are continuing to work on
  1.  We    are continuing    to work   on reviewing   your revisions
                                           reviewing your   revisions toto the
                                                                           the consent
                                                                                 consent motion
                                                                                          motion andand will have our
                                                                                                        will have      edits to
                                                                                                                   our edits to your
                                                                                                                                your
      shortly.
      shortly.
  2.
  2. a)   We will
      a) We    will provide   updated verifications
                    provide updated     verifications for
                                                      for these
                                                          these plaintiffs.
                                                                  plaintiffs.
      b)  Verifications   for Boyle,  Bartalo, Caling,  Claunch,   Dennett, Hamlin,
       b) Verifications for Boyle, Bartalo, Caling, Claunch, Dennett,         Hamlin, and    Morris are
                                                                                        and Morris   are attached.
                                                                                                          attached. We
                                                                                                                     We will
                                                                                                                         will provide
                                                                                                                              provide
      the remainder
      the   remainder of    the verifications.
                         of the  verifications.
      c)  Elizabeth Lemus’s
       c) Elizabeth             Second Amended
                      Lemus's Second     Amended ROG ROG responses
                                                          responses areare attached.
                                                                            attached. WeWe will
                                                                                             will address  the inclusion
                                                                                                  address the  inclusion of the other
                                                                                                                         of the  other
      plaintiffs  in the
       plaintiffs in the motion
                         motion when
                                   when wewe respond
                                              respond toto your
                                                           your revisions.
                                                                 revisions.
      d)  I’ve attached
       d) I've attached Nielson’s
                           Nielson's responses
                                      responses again.   Please let
                                                  again. Please  let me
                                                                     me know
                                                                          know if if you
                                                                                     you are
                                                                                         are unable
                                                                                             unable toto open  these.
                                                                                                         open these.
  3.  Sean Purdy's
  3. Sean     Purdy’s responses
                       responses were     served on
                                    were served    on October
                                                      October 26,
                                                                26, 2023.
                                                                    2023.
  4. Second
  4.  Second Amended
                Amended RFP  RFP responses
                                  responses for
                                              for Bakaitis,
                                                  Bakaitis, Bartalo,
                                                            Bartalo, Bellotti,
                                                                      Bellotti, Claunch,
                                                                                 Claunch, Dennett,
                                                                                           Dennett, Dusza,
                                                                                                       Dusza, Hamlin,
                                                                                                              Hamlin, Lemus,    Malone,
                                                                                                                       Lemus, Malone,
      McDaniel, Morris,
      McDaniel,     Morris, and   Sweeney are
                             and Sweeney     are attached.
                                                  attached.
  5.
  5. 50    Care Orchestrator
      50 Care   Orchestrator releases
                                 releases were   served earlier
                                           were served            today. II will
                                                          earlier today.    will continue
                                                                                 continue toto send
                                                                                               send these
                                                                                                     these to
                                                                                                            to you
                                                                                                               you as
                                                                                                                    as we receive them.
                                                                                                                       we receive  them.

II will get back
   will get      to you
            back to you regarding
                        regarding our availability for
                                  our availability for aa meet
                                                          meet and
                                                               and confer
                                                                   confer regarding Requests No
                                                                          regarding Requests    14, 31,
                                                                                             No 14, 31, and
                                                                                                        and 38 shortly.
                                                                                                            38 shortly.

Lastly, an
Lastly, an issue   has arisen
             issue has         regarding the
                       arisen regarding   the SD
                                               SD cards  for several
                                                   cards for several of the MM
                                                                     of the MM Plaintiffs
                                                                                 Plaintiffs which
                                                                                            which II believe
                                                                                                     believe requires
                                                                                                               requires aa discussion
                                                                                                                           discussion
between
between the the parties.  For these
                 parties. For these Plaintiffs,
                                     Plaintiffs, when  they received
                                                 when they   received their
                                                                      their replacement
                                                                            replacement devices,
                                                                                           devices, which    they are
                                                                                                     which they    are currently
                                                                                                                       currently using,
                                                                                                                                  using,
they were
they were instructed      to remove
              instructed to           their SD
                             remove their   SD cards  from their
                                                cards from  their recalled
                                                                  recalled devices and use
                                                                           devices and  use the
                                                                                             the cards
                                                                                                 cards with     the replacement
                                                                                                         with the   replacement
devices.
devices. WeWe can
                can either
                    either add  this topic
                            add this topic to
                                            to the
                                               the meet
                                                   meet and
                                                          and confer
                                                               confer regarding RFPs 14,
                                                                      regarding RFPs  14, 31,
                                                                                           31, and
                                                                                               and 38,  or II am
                                                                                                    38, or    am happy
                                                                                                                  happy toto discuss
                                                                                                                             discuss
sooner if
sooner   if you
            you would
                 would prefer.
                        prefer.

ELIZABETH POLLOCK
ELIZABETH    POLLOCK AVERY
                      AVERY
Partner
(she/her/hers)
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Lynch   Carpenter LLP
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Pittsburgh, PA 15222
Direct: 412.489.4383
Office: 412.322.9243
Fax:     412.231.0246
elizabeth@lcllp.com
elizabeth@lcIlp.com
lynchcarpenter.com
lynchcarpentercom




From: Attridge,
From:  Attridge, Elise
                 Elise M.
                       M. <elise.attridge@morganlewis.com>
                          <elise.attridge@morganlewis.com>
Sent: Monday,
Sent: Monday, December
                 December 11,
                            11, 2023   9:17 PM
                                2023 9:17   PM
To: Elizabeth
To: Elizabeth Pollock
               Pollock Avery
                       Avery <Elizabeth@lcIlp.com>;
                             <Elizabeth@lcllp.com>; Lavelle,
                                                      Lavelle, Jr.,
                                                               Jr., John
                                                                    John P.
                                                                          P. <john.lavelle@morganlewis.com>;
                                                                             <john.lavelle@morganlewis.com>; Feinstein,
                                                                                                             Feinstein,
Wendy
Wendy West     <wendy.feinstein@morganlewis.com>; Dykstra,
         West <wendy.feinstein@morganlewis.com>;        Dykstra, Lisa
                                                                  Lisa C.
                                                                       C. <lisa.dykstra@morganlewis.com>;
                                                                          <lisa.dykstra@morganlewis.com>; Michael
                                                                                                          Michael H.
                                                                                                                   H.
Steinberg (steinbergm@sullcrom.com)
Steinberg                                  <steinbergm@sullcrom.com>; William
           (steinbergm@sullcrom.com) <steinbergm@sullcrom.com>;             William B.
                                                                                     B. Monahan
                                                                                        Monahan (monahanw@sullcrom.com)
                                                                                                (monahanw@sullcrom.com)
                                                                    7
                                                                    7
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<monahanw@sullcrom.com>; Hight-sullcrom.com
<monahanw@sullcrom.com>;         Hight-sullcrom.com <Hight@sullcrom.com>;
                                                     <Hight@sullcrom.com>; Schutte,
                                                                              Schutte, Scott
                                                                                       Scott T.
                                                                                             T.
<scott.schutte@morganlewis.com>; laurenm@hbsslaw.com
<scott.schutte@morganlewis.com>;       laurenm@hbsslaw.com
Cc: Kelly
Cc: Kelly Iverson
          Iverson <Kelly@lcIlp.com>;
                   <Kelly@lcllp.com>; SS Duggan
                                         Duggan <sduggan@lfsblaw.com>;
                                                <sduggan@lfsblaw.com>; cseeger@seegerweiss.com;
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                                                                                                               Schwartz
<steveschwartz@chimicles.com>; DBuchanan@seegerweiss.com;
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                                                                     sitri@seegerweiss.com; dstellings@lchb.com;
                                                                                             dstellings@lchb.com;
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vbuchanan@levinlaw.com;                                 CSchaffer@lfsblaw.com; Kevin
                              waudet@audetlaw.com; CSchaffer@lfsblaw.com;       Kevin Hannon
                                                                                      Hannon
<khannon@hannonlaw.com>; Michael
<khannon@hannonlaw.com>;         Michael Ram
                                          Ram x20021
                                              x20021 <MRam@forthepeople.com>
                                                       <MRam@forthepeople.com>
Subject: RE:
Subject:  RE: Philips
              Philips CPAP
                      CPAP Medical
                           Medical Monitoring   Plaintiffs' Second
                                    Monitoring Plaintiffs'  Second Amended
                                                                   Amended Responses
                                                                            Responses to
                                                                                       to First
                                                                                          First Set
                                                                                                Set of
                                                                                                    of RFPs
                                                                                                       RFPs

Liz,
Liz,

Consistent with
Consistent       MM Plaintiffs'
            with MM Plaintiffs’ course
                                course of
                                       of conduct  for the
                                          conduct for  the past ten months,
                                                           past ten months, MM
                                                                            MM Plaintiffs
                                                                                Plaintiffs continue to serve
                                                                                           continue to serve discovery
                                                                                                             discovery
responses  in piecemeal, incomplete,  and  tardy fashion.  Your December 8  email below  is no exception.
responses in piecemeal, incomplete, and tardy fashion. Your December 8 email below is no exception.

Specifically, here
Specifically,      is aa list
              here is    list of
                              of deficiencies that we
                                 deficiencies that we ask MM Plaintiffs
                                                      ask MM Plaintiffs to
                                                                        to resolve
                                                                           resolve as soon as
                                                                                   as soon as possible:
                                                                                              possible:

       1) After
       1) After Philips
                 Philips RS
                         RS raised  the issue
                             raised the issue with Special Master
                                              with Special Master Katz,
                                                                   Katz, MM
                                                                         MM Plaintiffs
                                                                                Plaintiffs agreed
                                                                                            agreed to
                                                                                                   to serve
                                                                                                      serve amended
                                                                                                              amended responses
                                                                                                                         responses to to
          Philips RS's
          Philips RS’s First
                        First Request
                              Request for
                                       for Production
                                           Production of  Documents and
                                                       of Documents        to Interrogatory
                                                                      and to   Interrogatory Nos.
                                                                                                Nos. 2,
                                                                                                     2, 3,
                                                                                                        3, 4,
                                                                                                           4, 5,
                                                                                                              5, 7,
                                                                                                                 7, and 8 of
                                                                                                                    and 8     Philips
                                                                                                                           of Philips
          RS’s First
          RS's First Interrogatories,
                     Interrogatories, by   August 30,
                                        by August 30, 2023.  As you
                                                      2023. As  you know,
                                                                     know, toto date,   Sharon Cathers
                                                                                 date, Sharon   Cathers and    Patricia Ragland
                                                                                                         and Patricia   Ragland have
                                                                                                                                  have
          failed to
          failed to do  so. Accordingly,
                    do so.   Accordingly, we  are attaching
                                           we are attaching the
                                                            the consent   motion and
                                                                 consent motion      and proposed    order that
                                                                                          proposed order    that you
                                                                                                                  you proposed,
                                                                                                                      proposed, along
                                                                                                                                   along
          with  Philips RS’s
          with Philips        revisions thereto.
                        RS's revisions  thereto. We
                                                 We would
                                                      would like to get
                                                            like to     this on
                                                                    get this      file this
                                                                             on file   this week.
                                                                                            week.

       2) MM Plaintiffs
       2) MM   Plaintiffs also
                          also agreed to serve
                               agreed to serve second
                                               second amended responses to
                                                      amended responses to Interrogatory
                                                                           Interrogatory Nos. 1(e), 6,
                                                                                         Nos. 1(e), 6, and 9 by
                                                                                                       and 9    November
                                                                                                             by November
          2,
          2, 2023.
             2023. Numerous
                    Numerous issues
                                issues must
                                       must be
                                             be remedied:
                                                remedied:

                a.
                a. While
                   While we  received some
                          we received       responses that
                                       some responses   that are
                                                             are properly verified, twenty
                                                                 properly verified, twenty (20)
                                                                                            (20) MM
                                                                                                 MM Plaintiffs
                                                                                                     Plaintiffs served
                                                                                                                served
                   responses  that are
                   responses that      improperly verified
                                   are improperly verified in
                                                           in that
                                                              that the
                                                                   the purported  verification merely
                                                                       purported verification  merely contains
                                                                                                      contains aa typed
                                                                                                                  typed
                   signature that
                   signature that is not DocuSigned
                                  is not DocuSigned (Steve  Abarr, Paul
                                                     (Steve Abarr,  Paul Bailey,
                                                                         Bailey, Danny
                                                                                 Danny Baran,
                                                                                        Baran, Danny
                                                                                               Danny David,
                                                                                                      David, Sonia
                                                                                                             Sonia Diaz,
                                                                                                                    Diaz,
                   Christine DiJohn,
                   Christine DiJohn, Andrew
                                      Andrew Fisher,
                                             Fisher, Christopher  Glaub, Madaline
                                                     Christopher Glaub,   Madaline Harbor,
                                                                                    Harbor, Jose
                                                                                             Jose Lopez,
                                                                                                  Lopez, Diane
                                                                                                         Diane Lamontagne,
                                                                                                                Lamontagne,
                   David Martin,
                   David  Martin, Doris
                                  Doris Margoles,
                                        Margoles, Deanna
                                                  Deanna Melcher,    Paul Panzera,
                                                           Melcher, Paul  Panzera, Antonio
                                                                                    Antonio Perez
                                                                                             Perez Bonano,  Sean Purdy,
                                                                                                   Bonano, Sean    Purdy,
                   Cameron Rose,
                   Cameron   Rose, Chad
                                    Chad Wells,
                                         Wells, and Jim Wolff).
                                                and Jim  Wolff).

                b. Eleven (11)
                b. Eleven (11) Medical
                               Medical Monitoring
                                         Monitoring Plaintiffs
                                                      Plaintiffs served
                                                                 served second
                                                                        second amended    responses with
                                                                               amended responses           no verification
                                                                                                      with no verification at
                                                                                                                           at all
                                                                                                                              all
                   (Susan Bakaitis, Jeffrey
                   (Susan Bakaitis, Jeffrey Bartalo,
                                            Bartalo, Jeffrey
                                                     Jeffrey Boyle,
                                                              Boyle, Dennis
                                                                     Dennis Caling, Sarah Claunch,
                                                                            Caling, Sarah          Joe David
                                                                                          Claunch, Joe  David Dennett,
                                                                                                              Dennett, Brent
                                                                                                                         Brent
                   Hamlin, Elizabeth
                   Hamlin, Elizabeth Heilman,
                                      Heilman, Sabrina
                                                Sabrina Malone,
                                                         Malone, Dennis
                                                                    Dennis Morris,
                                                                           Morris, and Randy Paris).
                                                                                   and Randy  Paris).

                c. To date,
                c. To        nine (9)
                      date, nine   (9) Medical
                                       Medical Monitoring
                                               Monitoring Plaintiffs
                                                           Plaintiffs have failed to
                                                                      have failed  to serve second amended
                                                                                      serve second  amended responses
                                                                                                               responses at
                                                                                                                          at all
                                                                                                                             all
                   (Bruce Ginsberg,
                   (Bruce              Arthur Hibbard,
                           Ginsberg, Arthur   Hibbard, Martin
                                                       Martin Humphries,
                                                               Humphries, Jill
                                                                            Jill Leavenworth,
                                                                                 Leavenworth, Elizabeth
                                                                                               Elizabeth Lemus,
                                                                                                          Lemus, Robert
                                                                                                                  Robert Peebles,
                                                                                                                          Peebles,
                   Patricia Ragland,
                   Patricia Ragland, Aaron
                                       Aaron Taylor,
                                             Taylor, and Michael Wheeler).
                                                     and Michael  Wheeler). Given     the lengthy
                                                                               Given the  lengthy passage
                                                                                                   passage of  time since
                                                                                                            of time since the
                                                                                                                          the
                   November 22 deadline,
                   November       deadline, we
                                            we have  revised the
                                                have revised the consent   motion and
                                                                 consent motion     and proposed
                                                                                         proposed order   to include
                                                                                                    order to         these
                                                                                                             include these
                   plaintiffs’
                   plaintiffs' second
                               second amended
                                       amended responses.
                                                 responses.

                d. One (1)
                d. One  (1) Medical
                            Medical Monitoring
                                    Monitoring Plaintiff
                                               Plaintiff served
                                                         served second
                                                                second amended
                                                                       amended responses that we
                                                                               responses that we are unable to
                                                                                                 are unable to open
                                                                                                               open
                   (Patrick Nielson).
                   (Patrick Nielson).

       3) It appears
       3) It appears that
                     that we never received
                          we never            responses to
                                     received responses to Philips
                                                           Philips RS's
                                                                   RS’s Second
                                                                        Second Interrogatories
                                                                                Interrogatories from
                                                                                                from Sean
                                                                                                     Sean Purdy.
                                                                                                          Purdy. If
                                                                                                                 If we
                                                                                                                    we
          missed these, please
          missed these,         let us
                         please let us know
                                       know and
                                             and provide the date
                                                 provide the       they were
                                                             date they        served.
                                                                         were served.

       4) MM
       4) MM Plaintiffs
              Plaintiffs agreed to serve
                         agreed to       second amended
                                   serve second   amended responses     to RFP
                                                              responses to RFP Nos.  9, 10,
                                                                                Nos. 9, 10, 21,
                                                                                            21, 23,
                                                                                                 23, 24,
                                                                                                     24, and
                                                                                                         and 25
                                                                                                              25 by December
                                                                                                                 by December
          8. Seventeen
          8. Seventeen (17)
                         (17) MM
                              MM Plaintiffs
                                  Plaintiffs failed
                                             failed to
                                                    to do so (Susan
                                                       do so         Bakaitis, Hugo
                                                              (Susan Bakaitis, Hugo Barragan,
                                                                                    Barragan, Jeffrey
                                                                                                Jeffrey Bartalo,
                                                                                                         Bartalo, Peter
                                                                                                                  Peter Bellotti,
                                                                                                                        Bellotti,
          Dennis Caling,
          Dennis Caling, Sharon
                          Sharon Cathers,
                                 Cathers, Sarah
                                           Sarah Claunch,   Joe David
                                                  Claunch, Joe  David Dennett,
                                                                      Dennett, Michael
                                                                                Michael Dusza,
                                                                                         Dusza, Quinton     Goodall, Brent
                                                                                                  Quinton Goodall,   Brent
          Hamlin, Elizabeth
          Hamlin, Elizabeth Lemus,
                             Lemus, Sabrina
                                    Sabrina Malone,
                                              Malone, Sylvia
                                                        Sylvia McDaniel, Dennis Morris,
                                                               McDaniel, Dennis  Morris, Patricia
                                                                                         Patricia Ragland,
                                                                                                   Ragland, and   Marilyn
                                                                                                             and Marilyn
          Sweeney).
          Sweeney).



                                                                     8
                                                                     8
              Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 653 of 654
    5) MM
    5) MM Plaintiffs
            Plaintiffs also
                       also agreed
                            agreed toto provide
                                        provide executed
                                                 executed releases
                                                            releases for
                                                                     for their
                                                                         their Care
                                                                               Care Orchestrator
                                                                                     Orchestrator data
                                                                                                    data by
                                                                                                          by December  8. AR
                                                                                                             December 8.   All
       sixty-three (631
       ,bets-three  (63) MM
                         MM Plaintiffs
                              Plaintiffs have  failed to
                                         have failed      do so.
                                                      to do  so. Though
                                                                 Though the
                                                                          the MM
                                                                              MM Plaintiffs
                                                                                    Plaintiffs who  served second
                                                                                               who served  second amended
                                                                                                                   amended
       responses  to RFP
       responses to   RFP No.
                           No. 99 state
                                  state that
                                        that their
                                             their Care
                                                   Care Orchestrator
                                                         Orchestrator release   is attached
                                                                       release is  attached to   their response,
                                                                                              to their response, nothing
                                                                                                                 nothing is
                                                                                                                         is
       attached. MM
       attached.  MM Plaintiffs
                        Plaintiffs have
                                   have not
                                         not uploaded
                                             uploaded them
                                                         them to
                                                               to MDL  Centrality, either.
                                                                  MDL Centrality,   either.

Philips RS
Philips RS resents
           reserves all
                      all rights
                          rights to
                                 to seek
                                    seek schedule
                                          schedule relief
                                                    relief should
                                                           should MM
                                                                  MM Plaintiffs'
                                                                      Plaintiffs’ failure
                                                                                  failure to
                                                                                          to timely
                                                                                             timely participate in discovery
                                                                                                    participate in discovery impact
                                                                                                                             impact
Philips RS's
Philips RS’s ability
             ability to
                     to comply
                        comply with    its disc:cowry
                                  with its discovery or
                                                      or expert
                                                         expert deadlines.
                                                                deadlines.

Finally, as
Finally, as discussed
            discussed during
                      during the
                             the October
                                  October 30  meet and
                                           30 meet  and confer
                                                        confer with  Special Master
                                                                with Special Master Katz,
                                                                                      Katz, Philips
                                                                                            Philips RS
                                                                                                    RS would like to
                                                                                                       would like to schedule
                                                                                                                     schedule
an additional
an additional meet
                meet and
                     and confer
                         confer to
                                 to discuss
                                    discuss the deficiencies with
                                            the deficiencies with MM   Plaintiffs’ responsesto
                                                                  MM Plaintiff?    responses to Request
                                                                                                 Request Nos
                                                                                                         Nos. 14,
                                                                                                               14, 31,
                                                                                                                   31, and
                                                                                                                       and
38. Please
38. Please provide
             provide your availability to
                     your availability to meet
                                          meet and
                                               and confer
                                                    confer during
                                                           during the
                                                                  the weeks
                                                                      weeks ofof January
                                                                                 January 22 and
                                                                                            and January
                                                                                                 January 8.
                                                                                                         8.

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        M. Attridge
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Morgan Lewis
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150 YEARS OF RAISING THE BAR

C Learn More )



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From:  Elizabeth Pollock
                   Pollock Avery  <Elizabeth@lcllp.com>
                           Avery <Elizabeth  @klID.00rrp,
Sent: Friday,
Sent:          December 08,
      Friday, December     08, 2023
                               2023 5:11
                                     5:11 PM
                                           PM
To: Lavelle,
To: Lavelle, Jr., John P.
             Jr., John P. <iohniavelle@monaanlevois,00m>;
                          <john.lavelle@morganlewis.com>; Feinstein,
                                                                   Feinstein, Wendy
                                                                              Wendy West
                                                                                       West
<wendy.feinstein@morganlewis.com>;
<wendv.feinstein                            Dykstra, Lisa
                    @mownlevoisioom>; Dykstra,       Lisa C.
                                                           C. <lisa
                                                              <lisa.dykstra@morganlewis.com>;          Michael H.
                                                                     Avkstra@monaa nlevois,com>; Michael         H. Steinberg
                                                                                                                    Steinberg
(steinbergm@sullcrom.com) <steinbergm@sullcrom.com>; William
btejnberprn@sullcrorn.com)<stejnbcnam@sullcromoom>;                 William B.
                                                                             B. Monahan     (monahanw@sullcrom.com)
                                                                                 Monahan imonahanw@sullcromicom)
<monahanw@sullcrom.com>; Hight-sullcrom.com
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                                            krom.com <Hight@sullcrom                   Schutte,
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                                                                                           utte, Scott T.
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goottischutte@monganlevoiszoom>; laurenm@hbsslaw.00m; Attridge, Elise M. <elise.attricke @rnonaanlewisioom>
Cc: Kelly
Cc: Kelly Iverson
          Iverson <Kellv@kllo.com>;S
                    <Kelly@lcllp.com>; S Duggan
                                           Duggan <sdorstan@lfsblaw.com>;
                                                  <sduggan@lfsblaw.com>; csenger@seegerweissicom;
                                                                                   cseeger@seegerweiss.com; Steve  Steve Schwartz
                                                                                                                         Schwartz
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                                                                                                        dstellings@lchb.com;
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                                                                                                Hannon
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<lthannon@hannonlaw.corO;         Michael Ram
                                            Ram x2O321
                                                x20021 <PA<MRam@forthepeople.com>
                                                               fta m@forthe peopIceewn>
Subject: Philips
Subject;  Philips CPAP
                   CPAP Medical
                         Medical Monitoring
                                  Monitoring Plaintiffs'
                                              Plaintiffs' Second
                                                          Second Amended
                                                                    Amended Responses
                                                                                Responses to to First Set of
                                                                                                First Set of RFPs
                                                                                                             RFPs

[EXTERNAL EMAIL]
[EXTERNAL EMAIL]
Counsel,
Counsel,

Please see
Please see attached
           attached the
                    the first rolling production
                        first rolling production of
                                                 of Medical
                                                    Medical Monitoring Plaintiffs’ Second
                                                            Monitoring Plaintiffs' Second Amended
                                                                                          Amended RFP Responses.
                                                                                                  RFP Responses.

ELIZABETH POLLOCK
ELIZABETH    POLLOCK AVERY
                     AVERY
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(she/her/hers)
(shefterThens)
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            Case 2:21-mc-01230-JFC Document 2419-2 Filed 01/08/24 Page 654 of 654
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               been scanned for spam
                                spam and viruses. Click
                                     and viruses. Click ..,...
                                                        here toto report this email
                                                                  report this email as spam.
                                                                                    as spam.




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               been scanned for spam
                                spam and viruses. Click
                                     and viruses. Click here to report
                                                        here to        this email
                                                                report this email as spam.
                                                                                  as spam.




                                                            10
